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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:                                         )
                                               )   Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC, et al.,              )
                                               )   Chapter 11
                    Debtors.                   )
                                               )   Jointly Administered
                                               )



        SECOND AMENDED JOINT CHAPTER 11 PLAN PROPOSED BY
   RESIDENTIAL CAPITAL, LLC, et al. AND THE OFFICIAL COMMITTEE OF
                     UNSECURED CREDITORS


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Possession                              Creditors


Dated: December 6, 2013
       New York, New York
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                                                 INTRODUCTION

       The Debtors and the Creditors’ Committee together propose this Joint Chapter 11
Plan1 for resolution and satisfaction of all Claims against and Equity Interests in the
Debtors. Each Debtor and the Creditors’ Committee is a proponent of the Plan within the
meaning of section 1129 of the Bankruptcy Code.

       Reference is made to the Disclosure Statement accompanying the Plan, including the
exhibits thereto, for a discussion of the Debtors’ history, business, properties, and operations
and risk factors, together with a summary and analysis of the Plan and a description of the
settlements agreed to by the Debtors, the Creditors’ Committee and certain other parties
pursuant to the Global Settlement. All holders of Claims entitled to vote on the Plan are
encouraged to consult the Disclosure Statement and to read the Plan carefully before voting
to accept or reject the Plan.

     NO SOLICITATION MATERIALS, OTHER THAN THE DISCLOSURE
STATEMENT AND RELATED MATERIALS TRANSMITTED THEREWITH AS
APPROVED BY THE BANKRUPTCY COURT, HAVE BEEN AUTHORIZED BY THE
BANKRUPTCY COURT FOR USE IN SOLICITING ACCEPTANCES OR REJECTIONS
OF THIS PLAN.

                                                      ARTICLE I.

                        DEFINED TERMS, RULES OF CONSTRUCTION,
                       COMPUTATION OF TIME, AND GOVERNING LAW

A.         Defined Terms

        1.     “Accrued Professional Compensation” means, at any date, and regardless of
whether such amounts are billed or unbilled, all of a Professional’s accrued and unpaid fees
(including success fees) and reimbursable expenses for services rendered in the Chapter 11
Cases through and including such date, whether or not such Professional has filed a fee
application for payment of such fees and expenses, (i) all to the extent that any such fees and
expenses have not been previously paid (regardless of whether a fee application has been
filed for any such amount) and (ii) after applying any retainer that has been provided by the
Debtors to such Professional and not previously applied. No amount of a Professional’s fees
and expenses denied under a Final Order shall constitute Accrued Professional
Compensation.

       2.   “Additional Settling RMBS Trusts” means all RMBS Trusts other than the
Original RMBS Settling Trusts.

       3.     “Ad Hoc Group” means that certain Ad Hoc Group of Junior Secured Noteholders
represented by White & Case LLP and Milbank, Tweed, Hadley & McCloy LLP in connection


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    All capitalized terms not defined in this introduction have the meanings ascribed to them in Article I of this Plan.
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with the Chapter 11 Cases. For purposes of this Plan, where the consent of the Ad Hoc Group is
required, it will be satisfied by a majority (by amount of holdings) of the Ad Hoc Group.

       4.      “Administrative Claim” means any Claim for costs and expenses of
administration under sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses incurred after the Petition Date
through the Effective Date of preserving the Estates and operating the businesses of the
Debtors; (b) Professional Claims; (c) all fees and charges assessed against the Estates
pursuant to section 1930 of chapter 123 of title 28 of the United States Code; (d) any
indebtedness or obligations assumed by the Debtors in connection with the conduct of their
businesses; and (e) any Claim for goods delivered to the Debtors within twenty (20) days of
the Petition Date and entitled to administrative priority pursuant to section 503(b)(9) of the
Bankruptcy Code.

       5.    “Administrative Claim Bar Date” means the deadline for filing requests for
payment of Administrative Claims, which shall be the first Business Day that is thirty (30)
days following the Effective Date, unless otherwise ordered by the Bankruptcy Court,
except with respect to Professional Claims which shall be subject to the provisions of
Article II.

        6.      “Administrative, Priority, Secured and Convenience Distribution Reserve” means
the reserve of the Liquidating Trust established for maintaining Cash or other assets from time to
time necessary to satisfy payments after the Effective Date to holders of certain Allowed Claims
as provided in Article VI.D.

       7.    “Affiliate” means an “affiliate” as such term is defined in section 101(2) of
the Bankruptcy Code.

       8.      “AFI” means Ally Financial Inc.

       9.      “AFI/JSN Cash Collateral Order” means the Final Order Under Sections 105,
361, 362, 363, and 364 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 6004, and
9014 (I) Authorizing the Debtors to Obtain Postpetition Financing on a Secured Superpriority
Basis, (II) Authorizing the Debtors to Use Cash Collateral, and (III) Granting Adequate
Protection to Adequate Protection Parties, entered June 25, 2012 [Docket No. 491].

         10.     “AIG” means AIG Asset Management (U.S.), LLC, on behalf of itself and its
affiliates, as investment advisor for certain affiliated entities that have filed proofs of claim in the
Chapter 11 Cases.

        11.    “Allowed” means, with respect to a Claim against any Debtor, except as
otherwise provided herein, (a) a Claim that is (i) listed in the Schedules as of the Effective
Date as neither disputed, contingent nor unliquidated, and for which no Proof of Claim has
been timely filed, or (ii) evidenced by a valid Proof of Claim or request for payment of
Administrative Claim, as applicable, Filed by the applicable Bar Date, and as to which the
Debtors or other parties-in-interest have not Filed an objection to the allowance thereof by
the Claims Objection Deadline, or (b) a Claim that is Allowed under the Plan or any
stipulation or settlement approved by, or Final Order of, the Bankruptcy Court; provided,
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however, that any Claims allowed solely for the purpose of voting to accept or reject the
Plan pursuant to an order of the Bankruptcy Court will not be considered “Allowed Claims”
under the Plan, provided further, however, any Claims expunged or disallowed under the
Plan or otherwise shall not be Allowed Claims. If a Claim is Allowed only in part,
references to Allowed Claims include and are limited to the Allowed portion of such Claim.
Notwithstanding anything to the contrary herein, no Claim that is disallowed in accordance
with Bankruptcy Rule 3003 or section 502(d) of the Bankruptcy Code is Allowed and each
such Claim shall be expunged without further action by the Debtors and without further
notice to any party or action, approval, or order of the Bankruptcy Court.

        12.    “Allowed Fee Claim” means 5.7% of the Allowed RMBS Trust Claims,
which shall be distributed to counsel to the Institutional Investors as fees via direct
allocation to counsel for the Institutional Investors and without conveyance to the RMBS
Claims Trust, the RMBS Trustees, or the RMBS Trusts.

       13.    “Allowed Kessler Claim” means a non-subordinated Allowed Borrower Claim for
voting and distribution purposes in an amount to be determined under the Kessler Settlement
Agreement.

        14.   “Allstate” means Allstate Insurance Company and its subsidiaries and
affiliates.

        15.     “Ally” means, collectively, AFI and its direct and indirect subsidiaries and
affiliates, excluding the Debtors and their direct and indirect subsidiaries.

     16.      “Ally Bank” means AFI’s indirect banking subsidiary (f/k/a GMAC Bank), a
commercial state chartered bank regulated by the FDIC and the State of Utah.

        17.     “Ally Contract Claim” means any and all amounts owed to Ally as of the
Effective Date by any of the Debtors pursuant to (i) orders of the Bankruptcy Court and (ii) the
Debtors’ performance of the Ally Contracts following the Petition Date, provided, no Revolving
Credit Facility Claim is an Ally Contract Claim.

      18.    “Ally Contracts” means the contracts listed in Annex IV to Exhibit B of the Plan
Support Agreement.

        19.    “Ally Contribution” means Ally’s contribution to the Estates of (a)
$1,950,000,000 in Cash on the Effective Date, and (b) promptly after receipt on or after the
Effective Date, the first $150,000,000 received by Ally for any directors and officers or errors
and omissions insurance policy claims it pursues against its insurance carriers related to the
Claims released in connection with this Plan, provided that Ally guarantees that the Liquidating
Trust will receive such $150,000,000 on account of such insurance, which guarantee shall be
payable without defense, setoff or objection on September 30, 2014.

        20.    “Ally Indemnity Escrow Account” means the escrow account created pursuant to
the Stipulation and Order Reserving Rights with Respect to Debtors’ Motion for Interim and
Final Orders under Bankruptcy Code Section 105(a) and 363 Authorizing the Debtors to


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Continue to Perform under the Ally Bank Servicing Agreement in the Ordinary Course of
Business [Docket No. 1420].

        21.     “Ally Released Parties” means (a) Ally, and each of Ally’s and the Debtors’
respective members, shareholders, partners, non-Debtor affiliates, and Representatives, including
Cap Re of Vermont, LLC and its current and former members, officers, and directors and (b)
each of Ally’s successors and assigns, each Entity in clause (a) and (b) solely in its capacity as
such. For the avoidance of doubt, and without limiting the foregoing, the Ally Released Parties
shall not include (i) any purchaser of any assets relating to the Debtors’ servicing business that is
not Ally or a Debtor, (ii) any assignee of a Servicing Agreement that is not Ally or a Debtor, (iii)
notwithstanding any status as a shareholder of any Ally Released Party, and solely in their
capacity as such, any underwriter of RMBS that is unaffiliated with Ally, and the
Representatives of such underwriter, against which an Investor has a pending or tolled Cause of
Action, (iv) the FHFA, (v) the FDIC, (vi) any assignee of executory contracts that were assumed
by the Debtors that is not Ally, (vii) any insurer that is not Ally that sold any directors & officers
or errors & omissions insurance policies that cover Debtors, (viii) any party that is not Ally
against whom RFC may have indemnity rights arising out of the Kessler Class Action,
specifically, any successors in interest to CBNV and GNBT, (ix) the Plan Trustees, and (x)
Fannie Mae.

       22.      “Ally Securities” means Ally Securities, LLC.

      23.    “Ambac” means, collectively, Ambac Assurance Corporation and the
Segregated Account of Ambac Assurance Corporation.

      24.     “Ambac Cure Stipulation” means that certain stipulation and order currently
being negotiated between the Plan Proponents and Ambac regarding (i) the resolution of
Ambac’s objection to sale of certain Ambac agreements to Ocwen pursuant to the Ocwen
APA, (ii) the fixing of Ambac’s cure claims in connection therewith, (iii) the amount of
Ambac’s General Unsecured Claims to be allowed pursuant to the Plan.

       25.     “Assumption Schedule” means the schedule in the Plan Supplement setting
forth certain Executory Contracts and Unexpired Leases for assumption under section 365
of the Bankruptcy Code.

      26.   “Assured” means Assured Guaranty Municipal Corp., f/k/a Financial Security
Assurance Inc., and its affiliates including AG Financial Products Inc. and Assured
Guaranty Corp.

       27.     “Available Assets” means all the assets of the Estates, including all Equity
Interests in the Non-Debtor Subsidiaries, the Ally Contribution, and the Liquidating Trust
Causes of Action, which are not (a) Excluded Assets or (b) otherwise excluded pending the
resolution of legal or logistical issues; provided, however, that any proceeds relating to the
assets which are excluded pursuant to clause (b) will belong to the Liquidating Trust.

        28.     “Ballot” means each of the ballot forms distributed to each holder of a Claim
that is entitled to vote to accept or reject this Plan and on which the holder is to indicate,
among other things, acceptance or rejection of this Plan.
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      29.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101 et seq., as in effect as of the date hereof.

       30.   “Bankruptcy Court” means the United States Bankruptcy Court for the
Southern District of New York, or any other court having jurisdiction over the Chapter 11
Cases.

        31.   “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Cases, promulgated under 28 U.S.C. § 2075 and the general,
local, and chambers rules of the Bankruptcy Court, as the context may require.

        32.    “Bar Date” means, collectively, the Administrative Claim Bar Date, the
Rejection Damages Claim Bar Date, and any deadline by which a Proof of Claim must be
filed under the Bar Date Order, as applicable.

       33.  “Bar Date Order” means the Order Establishing Deadline for Filing Proofs of
Claim and Approving the Form and Manner of Notice Thereof, entered by the Bankruptcy
Court on August 29, 2012 [Docket No. 1309], as amended, supplemented, or modified.

        34.     “Berkshire” means Berkshire Hathaway Inc., solely in its capacity as a holder of
certain Junior Secured Notes and a former holder of Senior Unsecured Notes, and its former,
present, and future parents, Affiliates, member firms, associated entities, shareholders,
principals, members, limited partners, general partners, equity investors, managed entities, and
their respective attorneys, financial advisors, investment advisors, employees, officers, directors,
managers, agents and other authorized personnel, in their capacity as such.

       35.    “Berkshire APA” means that certain Asset Purchase Agreement, dated as of
November 2, 2012, as amended and supplemented, entered into by and among Berkshire,
ResCap, RFC, GMACM, GMACM Borrower LLC, and RFC Borrower LLC [Docket No.
2247, Ex. 1].

       36.    “Berkshire Sale Order” means the Order under 11 U.S.C. §§ 105, 363, and 365
and Fed. R. Bankr. P. 2002, 6004, 6006, and 9014, (I) Approving (A) Sale of Debtors Assets
Pursuant to Asset Purchase Agreement With Berkshire Hathaway, Inc.; (B) Sale of Purchased
Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests; and (C) Related
Agreements; and (II) Granting Related Relief [Docket No. 2247].

        37.   “BNY Mellon” means The Bank of New York Mellon and The Bank of New
York Mellon Trust Company, N.A., each solely in its capacity as trustee, indenture trustee,
securities administrator, co-administrator, paying agent, grantor trustee, master servicer,
custodian and/or similar agency capacities in respect of certain of the RMBS Trusts.

       38.      “Borrower” means an individual whose current or former mortgage loan was
originated, serviced, sold, consolidated, or owned by any of the Debtors.

       39.    “Borrower-Related Cause of Action” means a Cause of Action of any of the
Debtors that has been or could be asserted, including by way of setoff, recoupment, defense,
counterclaim or cross-claim with respect to any Borrower Claim, by any of the Debtors

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against a Borrower as of the Effective Date; provided, however, that on the Effective Date
the Debtors waive and release any Claim or Cause of Action to recover transfers to any
Entity made by the Debtors to or for the benefit of a Borrower arising under chapter 5 of the
Bankruptcy Code, except by way of setoff, recoupment, defense, counterclaim, or cross-
claim.

        40.     “Borrower Claims” means (i) Claims of a Borrower arising from or relating to
any alleged act or omission or any other basis of liability of any Debtor (or any predecessor)
in connection with the origination, sale, and/or servicing of a mortgage loan originated, sold,
consolidated, purchased, and/or serviced by any Debtor, (ii) Claims filed for or on behalf of
a Borrower by such Person’s attorney or agent, including as part of a proof of claim filed on
behalf of a putative class of Borrowers, and (iii) claims that have become Allowed as a
result of settlement of Borrower litigation commenced against Ally and the Debtors. For the
avoidance of doubt, Borrower Claims shall include Allowed Claims held by the Kessler
Class Claimants (to the extent that the Kessler Class Claimants are certified as a class action
for settlement or allowance purposes), and shall not include the: (a) Senior Unsecured Notes
Claims; (b) Junior Secured Notes Claims; (c) RMBS Trust Claims; (d) Private Securities
Claims; (e) General Unsecured Claims; (f) General Unsecured Convenience Claims; or (g)
Intercompany Balances. For the further avoidance of doubt, no Claim described in
subsection (ii) hereof shall be considered an Allowed Borrower Claim unless such Claim is
either certified under Bankruptcy Rule 7023 or by Final Order for purposes of settlement or
allowance.

       41.    “Borrower Claims Trust” means the trust established for the benefit of the
holders of Allowed Borrower Claims.

        42.    “Borrower Claims Trust Agreement” means that certain trust agreement, the
form of which shall be included in the Plan Supplement, that, among other things, sets forth
the methodology and procedures for resolving Disputed Borrower Claims and making
distributions to holders of Allowed Borrower Claims.

        43.   “Borrower Claims Trust Assets” means (i) Cash transferred to the Borrower
Claims Trust by the Liquidating Trust as of the Effective Date in the amount of $57,600,000
less any amounts paid by the Debtors to or on behalf of holders of Borrower Claims prior to
the Effective Date pursuant to (a) the Order Approving Debtors’ Motion Pursuant to 11
U.S.C. §§ 105(a) and (d), Bankruptcy Rules 1015(c), 2002(m), 7016, and 9007 and Local
Bankruptcy Rule 2002-2 for Entry of an Order Approving (A) Supplement to Case
Management Order Establishing Mandatory Procedures for Management of Adversary
Proceedings Commenced by Borrowers and Former Borrowers and (B) Related Relief
[Docket No. 3304], as amended by the Amended Order Approving Debtors' Motion
Pursuant to 11 U.S.C. §§ 105(a) and (d), Bankruptcy Rules 1015(c), 2002(m), 7016, and
9007 and Local Bankruptcy Rule 2002-2 for Entry of an Order Approving (A) Supplemental
to Case Management Order Establishing Mandatory Procedures for Management of
Adversary Proceedings Commenced by Borrowers and Former Borrowers and (B) Related
Relief [Docket No. 3490], or (b) any other order of the Bankruptcy Court plus the amount of
the Borrower Trust True-Up, and (ii) all Borrower-Related Causes of Action.


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        44.     “Borrower Claims Trust Committee” means (i) counsel for the Kessler
Settlement Class, and (ii) those Borrowers or the representatives of Borrowers appointed by
the Kessler Settlement Class, with the consent of the Plan Proponents, which consent shall
not be unreasonably withheld, to oversee the administration of the Borrower Claims Trust
and the disposition of the Borrower Claims Trust Assets. The identities of the initial
Persons to serve on the Borrower Claims Trust Committee as of the Effective Date will be
set forth in the Plan Supplement.

       45.     “Borrower Claims Trustee” means the Person selected to serve as the trustee
of the Borrower Claims Trust. The identity of the Person to serve as the Borrower Claims
Trustee as of the Effective Date will be set forth in the Plan Supplement.

       46.     “Borrower Trust True-Up” means the additional Cash, if any, required to be
added to the Borrower Claims Trust Assets such that distributions, estimated as of the
Confirmation Date, made from the Borrower Claims Trust on account of an Allowed
Borrower Claim will be comparable to the recovery that a holder of an Allowed Claim of
the same amount against the same Debtor Group would realize from distributions made by
the Liquidating Trust on Units issued in respect of such Allowed Claim, based on the value
of the assets in the Liquidating Trust available for distribution to holders of Units as of the
Effective Date (without in each case giving effect to any insurance proceeds, including
proceeds from the GM Policies, that may be received in respect of the Allowed Borrower
Claims in accordance with the Plan or to the time delay in receipt of distributions in respect
of the Units from the Liquidating Trust). For the avoidance of doubt, to the extent
necessary, there shall only be a single Borrower Trust True-Up.

       47.    “Business Day” means any day other than Saturday, Sunday and any day that
is a legal holiday or a day on which banking institutions in New York, New York are
required or authorized by law or governmental action to close.

       48.    “Cash” means legal tender of the United States of America or the equivalent
thereof.

        49.    “Cash Management Order” means the Final Order Under Bankruptcy Code
Sections 105(a), 345, 363, 364, and 503(b)(1) and Bankruptcy Rules 6003 and 6004
Authorizing (I) Continued Use of Cash Management Services and Practices, (II) Continued Use
of Existing Bank Accounts, Checks, and Business Forms, (III) Implementation of Modified Cash
Management Procedures and Use of Certain Bank Accounts Established in Connection with
Use of Pre-And Post-Petition Lenders Financing Facilities and Cash Collateral, (IV) Waiver of
the Investment and Deposit Requirements of Bankruptcy Code Section 345, (V) Debtors to
Honor Specified Outstanding Prepetition Payment Obligations, and (VI) Continuation of
Intercompany Transactions and Granting Administrative Expense Status to Intercompany
Balances, entered by the Bankruptcy Court on June 11, 2012 [Docket No. 309], as amended,
supplemented, or modified.

       50.    “Cause of Action” means any and all Claims, actions, causes of action, choses
in action, rights, demands, suits, claims, liabilities, encumbrances, lawsuits, adverse
consequences, debts, damages, dues, sums of money, accounts, reckonings, deficiencies,

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bonds, bills, disbursements, expenses, losses, specialties, covenants, contracts,
controversies, agreements, promises, variances, trespasses, judgments, remedies, rights of
set-off, third-party claims, subrogation claims, contribution claims, reimbursement claims,
indemnity claims, counterclaims, and cross-claims (including those of the Debtors, and/or
the bankruptcy estate of any Debtor created pursuant to sections 301 and 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Cases), including, without
limitation, any claims, causes of action, objections, rights, remedies arising under Chapter 5
of the Bankruptcy Code pursuant to, among others, sections 502, 510, 542 through 545 and
547 through 553 or 558 thereof, whether known or unknown, foreseen or unforeseen,
suspected or unsuspected, liquidated or unliquidated, fixed or contingent, matured or
unmatured, disputed or undisputed, whether held in a personal or representative capacity,
that are or may be pending as of the date hereof or instituted hereafter against any entity,
based in law or equity, including under the Bankruptcy Code, whether direct, indirect,
derivative, or otherwise and whether asserted or unasserted as of the date hereof.

       51.    “Centerview” means Centerview Partners LLC.

       52.    “Chapter 11 Cases” means the chapter 11 cases commenced by the Debtors,
which are jointly administered, styled In re Residential Capital, LLC, et al., Case No. 12-
12020 (MG), and currently pending before the Bankruptcy Court, or any of such cases as
applicable.

      53.   “Claim” means a “claim” as such term is defined in section 101(5) of the
Bankruptcy Code.

       54.    “Claims Objection Deadline” means (i) two hundred seventy (270) days
following the Effective Date or (ii) such other later date the Bankruptcy Court may establish
upon a motion by the Liquidating Trust, which motion may be approved without a hearing
and without notice to any party.

       55.    “Claims Record Date” means the Voting Deadline, which is the date on which
the transfer register for each Class of Claims or Equity Interests, as maintained by the
Debtors or their agents, shall be deemed closed.

       56.     “Claims Register” means the official register of Claims in these Chapter 11
Cases maintained by Kurtzman Carson Consultants LLC, in its capacity as the Debtors’
notice and claims agent.

       57.    “Class” means a group of holders of Claims or Equity Interests classified
together under this Plan.

       58.    “CBNV” means Community Bank of Northern Virginia.

       59.    “Compensation Order” means the Amended Order Under Bankruptcy Code
Sections 105(a), 363, 503(b)(1), 507(a)(2), 1107(a) and 1108 and Bankruptcy Rule 9019 to the
Final Wages Order (I) Authorizing and Directing the Debtors to Reimburse Ally Financial Inc.
for Payments Made to the Debtors Employees on Account of Compensation Issued on or After
the Petition Date; (II) Granting Ally Financial Inc. an Administrative Expense Claim on

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Account of Such Payments; (III) Granting Ally Financial Inc. a Limited Release; and (IV)
Authorizing the Debtors to Establish and Fund an Escrow Account for the Benefit of Ally
Financial Inc. on Account of Such Administrative Expense Claims, including Additional
Amounts to the Escrow Account as Necessary [Docket No. 2548].

      60.    “Confirmation” means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

      61.    “Confirmation Date” means the date upon which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases.

      62.     “Confirmation Hearing” means the hearing before the Bankruptcy Court
under section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as the
same may be continued from time to time.

        63.    “Confirmation Order” means the order of the Bankruptcy Court confirming
this Plan, as amended, supplemented, or modified, under, among others, section 1129 of the
Bankruptcy Code.

       64.    “Consent Order” means the Board of Governors of the Federal Reserve
System Consent Order, dated April 13, 2011, by and among AFI, Ally Bank, ResCap,
GMACM, the Board of Governors of the Federal Reserve System, and the Federal Deposit
Insurance Corporation, as amended.

        65.   “Consent Order Borrower Claims” means claims held by Borrowers arising
from residential mortgage foreclosure actions (including judicial and non-judicial
foreclosures and related bankruptcy proceedings, and other related litigation) or proceedings
(including foreclosures that were in process or completed) for loans serviced by the
Mortgage Servicing Companies (as defined in the Consent Order), whether brought in the
name of Ally Bank, the Mortgage Servicing Companies, the investor, or any agent for the
mortgage note holder (including Mortgage Electronic Registration Systems, Inc.), that have
been pending at any time from January 1, 2009 to December 31, 2010, as well as claims
arising from residential foreclosure sales that occurred during this time period.

        66.    “Consenting Claimants” means, collectively, AIG, Allstate, FGIC, the Kessler
Class Claimants, MassMutual, MBIA, Prudential, the RMBS Trustees, the Steering
Committee Consenting Claimants, the Talcott Franklin Consenting Claimants, the
Supporting Senior Unsecured Noteholders, Wilmington Trust, Paulson, and any other
parties (other than Ally) that agree to be bound by the terms of the Plan Support Agreement.
Each of the foregoing parties is a Consenting Claimant.

        67.     “Consenting JSNs” means, collectively, the Junior Secured Noteholders that have
voted in favor of the Plan, or have changed their vote or do change their vote to a vote in favor
of this Plan by the Confirmation Date, in exchange for the treatment of the Junior Secured Notes
Claims under the Plan, and each such Junior Secured Noteholder’s respective former, present
and future parents, affiliates, member firms, associated entities, shareholders, principals,
members, limited partners, general partners, equity investors, management companies,
investment managers, managed entities, and their respective attorneys, financial advisors,
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investment advisors, employees, officers, directors, managers, agents and other authorized, each
solely in their capacities as such.


       68.     “Consummation” means the occurrence of the Effective Date.

      69.    “Creditor” means a “creditor” as defined in section 101(10) of the
Bankruptcy Code.

      70.     “Creditors’ Committee” means the statutory committee of unsecured creditors
appointed in the Chapter 11 Cases.

        71.   “Cure Claim” means a Claim based upon a monetary default, if any, by a
Debtor under an Executory Contract or Unexpired Lease as of the time such contract or
lease is assumed by such Debtor under sections 365 or 1123 of the Bankruptcy Code, to the
extent such obligations are enforceable under the Bankruptcy Code and applicable non-
bankruptcy law.

        72.     “DB” means Deutsche Bank Trust Company Americas and Deutsche Bank
National Trust Company each solely in its capacity as trustee, indenture trustee, securities
administrator, co-administrator, paying agent, grantor trustee, custodian, and/or similar agency
capacities in respect of certain of the RMBS Trusts.

    73.   “Debtor Group” means, individually or collectively, the ResCap Debtors, the
GMACM Debtors or the RFC Debtors.

       74.     “Debtor Group Unit Distribution” means each of the GMACM Debtors Unit
Distribution, the ResCap Debtors Unit Distribution and the RFC Debtors Unit Distribution.

        75.     “Debtor Released Parties” means the Ally Released Parties, the Creditors’
Committee, the Consenting Claimants, the Junior Secured Notes Indenture Trustee, the
Junior Secured Notes Predecessor Indenture Trustee, the Junior Secured Notes Collateral
Agent, the Consenting JSNs, the Ad Hoc Group, and their respective successors and assigns,
members (except any such member of the Ad Hoc Group that voted to reject the Plan and
has not changed its vote to accept the Plan by the Confirmation Date), partners, non-Debtor
affiliates, and Representatives, each in its capacity as such. For the avoidance of doubt, and
without limiting the foregoing, the Debtor Released Parties shall not include (i) any
purchaser of any assets relating to the Debtors’ servicing business that is not Ally,
Berkshire, or a Debtor, (ii) any assignee of a Servicing Agreement that is not Ally, Berkshire, or
a Debtor, (iii) any underwriter of RMBS that is unaffiliated with the Debtors or Ally, and the
Representatives of such underwriter, against which an Investor has a pending or tolled
Cause of Action, (iv) any assignee of executory contracts that were assumed by the Debtors
that is not Ally or Berkshire, (v) any insurer that is not Ally that sold any directors &
officers or errors & omissions insurance policies that cover the Debtors in their capacity as
insurers, or (vi) any party that is not Ally against whom RFC may have indemnity rights
arising out of the Kessler Class Action, specifically, any successors in interest to CBNV and
GNBT.


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       76.     “Debtors” means ditech, LLC; DOA Holding Properties, LLC; DOA Properties
IX (Lots-Other), LLC; EPRE LLC; Equity Investment I, LLC; ETS of Virginia, Inc.; ETS of
Washington, Inc.; ETS; GMAC Model Home Finance I, LLC; GMAC Mortgage USA
Corporation; GMAC RH Settlement Services, LLC; GMACM; GMACM Borrower LLC;
GMACM Holding; GMACM REO LLC; GMACR Mortgage Products, LLC; HFN REO SUB II,
LLC; Home Connects Lending Services, LLC; Homecomings Financial Real Estate Holdings,
LLC; Homecomings Financial, LLC; Ladue Associates, Inc.; Passive Asset Transactions, LLC;
PATI A, LLC; PATI B, LLC; PATI Real Estate Holdings, LLC; RAHI A, LLC; RAHI B, LLC;
RAHI Real Estate Holdings, LLC; RCSFJV2004, LLC; Residential Accredit Loans, Inc.;
Residential Asset Mortgage Products, Inc.; Residential Asset Securities Corporation; ResCap;
Residential Consumer Services of Alabama, LLC; Residential Consumer Services of Ohio, LLC;
Residential Consumer Services of Texas, LLC; Residential Consumer Services, LLC;
Residential Funding Mortgage Exchange, LLC; Residential Funding Mortgage Securities I, Inc.;
Residential Funding Mortgage Securities II, Inc.; Residential Funding Real Estate Holdings,
LLC; Residential Mortgage Real Estate Holdings, LLC; RFC; RFC Asset Holdings II, LLC;
RFC Asset Management, LLC; RFC Borrower LLC; RFC Construction Funding, LLC; RFC
Holding; RFC REO LLC; RFC SFJV-2002, LLC; and RFC–GSAP Servicer Advance, LLC.

       77.    “Debtor Release” means the release set forth in Article IX.C.

       78.    “Delaware Trustee” means the trustee, or its successor, appointed in accordance
with the Liquidating Trust Agreement to comply with the requirement of Section 3807 of the
Delaware Statutory Trust Act.

       79.    “Disbursing Agent” means the Liquidating Trust, or any Person engaged by
the Liquidating Trust, to perform the function of a disbursing agent.

      80.    “Disclosure Statement” means the disclosure statement for this Plan, as
amended, supplemented, or modified in accordance with the provisions of the Bankruptcy
Code and the Bankruptcy Rules.

         81.     “Disputed Borrower Claim” means any Borrower Claim that is not Allowed,
until it is disallowed or expunged by Final Order, written agreement, or under the Plan.

      82.    “Disputed Claim” means any Claim that is not Allowed until it is disallowed
or expunged by Final Order, written agreement, or under the Plan, other than Disputed
Borrower Claims and Disputed Private Securities Claims.

       83.     “Disputed Claims Reserve” means the reserve of Units, Cash distributed thereon
and other assets, if any, maintained by the Liquidating Trust for distribution to the Liquidating
Trust Unit Beneficiaries that are holders of Disputed Claims, if and when such Disputed Claims
become Allowed.

       84.   “Disputed Private Securities Claims” means any Private Securities Claim that is
not Allowed until it is disallowed or expunged by Final Order or under the Plan.

       85.     “Distributable Cash” means the Cash to be distributed to holders of Units,
including the Disputed Claims Reserve, on any Distribution Date.

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       86.    “Distribution Date” means a date or dates, as determined by the Liquidating
Trust Board in accordance with the Liquidating Trust Agreement, on which the Liquidating
Trust makes a distribution, or causes a distribution to be made, of Distributable Cash to the
Unitholders.

       87.    “District Court” means the United States District Court for the Southern
District of New York.

        88.    “DOJ” means the United States Department of Justice and any component
thereof, including but not limited to the United States Attorney’s Office for any district.

       89.     “DOJ/AG Settlement” means the Consent Judgment filed by the United States
District Court for the District of Columbia (Case: 1:12-cv-00361-RMC) on April 4, 2012.

       90.      “DOJ/AG Settling States” means the District of Columbia and the states that
are parties to the DOJ/AG Settlement.

       91.     “DOJ-Represented Agency” means the United States of America and any of
its agencies, departments, offices or agents to the extent that they are represented by the
DOJ, whether or not the DOJ has entered an appearance on behalf of that agency,
department, office or agent in this proceeding. For the avoidance of doubt, the term “DOJ-
Represented Agency” shall not apply to any agency, department, office or agent of the
United States that has appeared in these Chapter 11 Cases or filed a notice pursuant to
Bankruptcy Rule 2002 in these Chapter 11 Cases, in each case through non-DOJ counsel.

       92.    “DTC” means the Depository Trust Company.

       93.    “Duff” means Duff & Phelps, LLC, financial advisor to certain of the RMBS
Trustees.

       94.    “Effective Date” means the first Business Day after the Confirmation Date on
which no stay of the Confirmation Order is in effect and all of the conditions precedent to
the Effective Date specified in Article X.B have been satisfied or waived pursuant to Article
X.C.

      95.   “Entity” means an “entity” as such term is defined in section 101(15) of the
Bankruptcy Code.

       96.     “Equity Interest” means any “equity security” as defined in section 101(16) of
the Bankruptcy Code, of a Debtor existing immediately prior to the Effective Date, or any
other instrument evidencing an ownership interest in any of the Debtors, whether or not
transferable, and any option, warrant, or right, contractual or otherwise, to acquire, sell, or
subscribe for any such interest.

       97.    “ERISA” means the Employee Retirement Income Security Act.

      98.   “Estates” means the estates of the Debtors created under section 541 of the
Bankruptcy Code.

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       99.     “ETS” means the Debtor entity, Executive Trustee Services, LLC.

       100.    “ETS Unsecured Claims” means all General Unsecured Claims against ETS.

        101. “Excluded Assets” means (i) those noneconomic “residual” interests in various
REMICs and an interest in a passive foreign investment company (collectively, “NERDS”) held
by a Debtor which are identified in Schedule 5, (ii) those interests in owner trusts, entities, or
other financing or securitization entities held by a Debtor which are identified in Schedule 6,
(iii) common land which is owned by a Debtor and which is identified in Schedule 7, and (iv)
home equity lines of credit having no outstanding balances.

        102. “Exculpated Party” means each of the following in its capacity as such: (a) the
Debtors; (b) the Consenting Claimants; (c) Ally; (d) the Creditors’ Committee and the
members thereof; (e) the Consenting JSNs, (f) the Junior Secured Notes Indenture Trustee
and the Junior Secured Notes Predecessor Indenture Trustee, (g) the Junior Secured Notes
Collateral Agent, (h) the Ad Hoc Group, and (i) with respect to each of the foregoing
Entities in clauses (a) through (h), such Entity’s successors and assigns, members (except
any such member of the Ad Hoc Group that voted to reject the Plan and has not changed its
vote to accept the Plan by the Confirmation Date), affiliates, subsidiaries, officers, directors,
partners, principals, employees, and Representatives; provided, however, without limiting
the foregoing, the following shall not be an Exculpated Party: (i) any purchaser of any assets
relating to the Debtors’ servicing business that is not Ally, Berkshire, or a Debtor, (ii) any
assignee of a Servicing Agreement that is not Ally, Berkshire, or a Debtor, (iii) any
underwriter of RMBS that is unaffiliated with the Debtors or Ally, and the Representatives
of such underwriter, against which an Investor has a pending or tolled Cause of Action, (iv)
any assignee of executory contracts that were assumed by the Debtors that is not Ally or
Berkshire, (v) any insurer that is not Ally that sold any directors & officers or errors &
omissions insurance policies that cover the Debtors, in their capacity as insurers, or (vi) any
party that is not Ally against whom RFC may have indemnity rights arising out of the
Kessler Class Action, specifically, any successors in interest to CBNV and GNBT.

       103.    “Exculpation” means the exculpation provision set forth in Article IX.H.

       104. “Executory Contract” means a contract to which one or more of the Debtors is
a party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

       105. “Fannie Mae” means Fannie Mae (f/k/a The Federal National Mortgage
Association).

       106. “Fannie Mae Contract” means that certain Mortgage Selling and Servicing
Contract dated March 29, 2007, including the incorporated Fannie Mae Selling and Servicing
Guides and various Master Agreements, including but not limited to the Master Agreement,
dated August 3, 2012, between Fannie Mae and Ally Bank, each as may have been amended
from time to time.

       107.    “FDIC” means the Federal Deposit Insurance Corporation.



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         108.   “FGIC” means Financial Guaranty Insurance Company and its subsidiaries and
affiliates.

     109. “FGIC Policies” means insurance policies issued by FGIC in connection with the
RMBS Trusts insured by FGIC.

        110. “FGIC Rehabilitation Court” means the New York State Supreme Court with
jurisdiction over FGIC’s rehabilitation proceeding.

       111. “FGIC Settlement Agreement” means that certain settlement agreement dated, as
of May 23, 2013, among the Debtors, FGIC, BNY Mellon, U.S. Bank and WFB, each in its
capacity as RMBS Trustee, and the Institutional Investors.

      112. “FGIC Settlement Appeal” means the appeal to the Southern District of New
York of the Memorandum Decision and Order, and Findings of Fact and Conclusions of Law,
Approving the FGIC Settlement Motion [Docket No. 5042] and the Order Granting Debtors’
Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the Settlement Agreement Among
FGIC, the Debtors, the Trustees and the Institutional Investors [Docket No. 5125], filed by the
Ad Hoc Group, Case No. 13-08024 (LAK).

        113.    “FHFA” means Federal Housing Finance Agency.

       114. “FHFA Claims” means Claims held by FHFA in its capacity as Conservator for
the Federal Home Loan Mortgage Corporation related solely to Proofs of Claim Nos. 6296,
6297, 6298, 6299, 6300, and 6301.

       115. “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases, or, in the case of a Proof of Claim,
with the Debtors’ notice and claims agent.

        116. “Final Order” means an order or judgment of the Bankruptcy Court, or any
other court of competent jurisdiction, which has not been modified, amended, reversed,
vacated, or stayed, and as to which (a) the time to appeal, petition for certiorari, or move for
a new trial, stay, reargument, or rehearing has expired and as to which no appeal, petition
for certiorari, or motion for new trial, stay, reargument, or rehearing shall then be pending or
(b) if an appeal, writ of certiorari, new trial, stay, reargument, or rehearing thereof has been
sought, such order or judgment of the Bankruptcy Court, or other court of competent
jurisdiction, shall have been affirmed by the highest court to which such order was appealed,
or certiorari shall have been denied, or a new trial, stay, reargument, or rehearing shall have
been denied or resulted in no modification of such order, and the time to take any further
appeal, petition for certiorari, or move for a new trial, stay, reargument, or rehearing shall
have expired, as a result of which such order shall have become final in accordance with
Rule 8002 of the Federal Rules of Bankruptcy Procedure; provided, that the possibility that
a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under
the Bankruptcy Rules, may be Filed relating to such order, shall not cause an order not to be
a Final Order.



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        117. “First Priority Collateral Agent” means Wells Fargo Bank, N.A., as collateral
agent and collateral control agent under the First Priority Security Agreement, together with
its respective successors and assigns in such capacity.

       118. “First Priority Collateral Agent Fees and Expenses” means the reasonable
fees, costs, and expenses and indemnity claims of the First Priority Collateral Agent,
including but not limited to, the fees, costs, and expenses of the First Priority Collateral
Agent’s counsel.

       119. “First Priority Collateral Agent Lien” means the Liens and other priority in
payment and rights of the First Priority Collateral Agent under the First Priority Security
Agreement, the Intercreditor Agreement, and related documents, or otherwise available to
the First Priority Collateral Agent under applicable law, for the payment of First Priority
Collateral Agent Fees and Expenses.

       120. “First Priority Security Agreement” means that certain security agreement,
dated as of December 30, 2009, among RFC and GMACM and certain of their affiliates,
GMAC Inc., and the First Priority Collateral Agent.

       121.   “FTI” means FTI Consulting, Inc.

       122. “General Unsecured Claim” means any Claim against a Debtor that is not
a/an: (a) Administrative Claim; (b) Priority Tax Claim; (c) Other Priority Claim;
(d) Borrower Claim; (e) Revolving Credit Facility Claim; (f) Junior Secured Notes Claim;
(g) Other Secured Claim; (h) Senior Unsecured Notes Claim; (i) RMBS Trust Claim; (j)
Intercompany Balance; (k) Professional Claim; (l) General Unsecured Convenience Claim;
(m) Private Securities Claim; (n) Postpetition Intercompany Balance; (o) NJ Carpenters
Claim, except as otherwise provided herein; or (p) FHFA Claim.

       123. “General Unsecured Convenience Claim” means Claims that would otherwise
be classified as General Unsecured Claims but, with respect to each Claim either (i) the
aggregate amount of such Claim is less than $30,000, or (ii) the aggregate amount of such
Claim is reduced to $30,000 by agreement of the holder of such Claim. For the avoidance
of doubt, General Unsecured Convenience Claims do not include Borrower Claims.

        124. “Global Settlement” means the settlements among the Debtors, the Creditors’
Committee, Ally, the Consenting Claimants, and certain other parties-in-interest, as set forth in
Article IV of the Plan.

        125. “GM Insurance Rights” means any and all of the Debtors’ rights, titles,
privileges, interests, claims, demands, or entitlements to any proceeds, payments, causes of
action, and choses in action under, for, or related to the GM Policies with respect to a
particular item of loss under the GM Policies, including the rights (1) to recover insurance
proceeds for an item of loss covered under the GM Policies and (2) to recover from the
insurers that issued the GM Policies for breach of contract or breach of other duty or
obligation owed by such insurer under the GM Policies, as applicable, including the duty to
settle, together with any extra contractual or tort claim arising therefrom, including bad
faith, breach of implied covenant of good faith and fair dealing, fraud, or violation of any
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statutory or common law duty owed by the insurer under the GM Policies, as applicable, and
all with respect to a particular item of loss under the GM Policies.

      126. “GM Policies” means the General Motors Combined Specialty Insurance
Program 12/15/00 – 12/15/03, with the policy numbers as set forth in the Plan Supplement.

       127.   “GMACM” means GMAC Mortgage, LLC.

      128. “GMACM Debtors” means each of following Debtor subsidiaries of
GMACM Holding: GMACM; ditech, LLC; ETS; ETS of Virginia, Inc.; ETS of
Washington, Inc.; GMAC Mortgage USA Corporation; GMAC RH Settlement Services,
LLC; GMACM Borrower LLC; GMACM REO LLC; GMACR Mortgage Products, LLC;
Home Connects Lending Services, LLC; Ladue Associates, Inc.; Passive Asset
Transactions, LLC; PATI A, LLC; PATI B, LLC; PATI Real Estate Holdings, LLC;
Residential Consumer Services of Alabama, LLC; Residential Consumer Services of Ohio,
LLC; Residential Consumer Services of Texas, LLC; Residential Consumer Services, LLC;
and Residential Mortgage Real Estate Holdings, LLC.

      129. “GMACM Debtors Unit Distribution” means 27,045,339 Units, representing
27.05% of the Total Initial Units Outstanding, subject to the adjustment as provided in Article
IV.K.

       130.   “GMACM Holding” means GMAC Residential Holding Company, LLC.

       131.   “GMACM Pool” has the meaning set forth in Article IV.C.2(a).

      132. “GMACM Unsecured Claims” means the RMBS Trust Claims and General
Unsecured Claims, in each case, against the GMACM Debtors.

       133.   “GMACM Weighted Claim” has the meaning set forth in Article IV.C.3(c).

       134.   “GNBT” means Guaranty National Bank of Tallahassee.

       135. “Governmental Unit” means “governmental unit” as such term is defined in
section 101(27) of the Bankruptcy Code.

        136. “HSBC” means HSBC Bank USA, N.A. solely in its capacity as trustee in respect
of certain of the RMBS Trusts.

        137. “Impaired” means, with respect to any Class, a Class that is impaired as set
forth in section 1124 of the Bankruptcy Code.

       138. “Indenture Trustees” means the Junior Secured Notes Indenture Trustee and
the Senior Unsecured Notes Indenture Trustee.

      139. “Indentures” means the Junior Secured Notes Indenture and the Senior
Unsecured Notes Indenture.


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      140. “Initial Unit Distribution Date” means the date on which the Liquidating Trust
makes, or causes to be made, the initial distribution of Units.

       141. “Initial Unit Distribution Record Date” means the date as of which the
Disputed Claims are to be estimated pursuant to the motion for an order establishing the
Disputed Claims Reserve with respect to unliquidated and/or Disputed Claims, which is the
record date for determining the Liquidating Trust Unit Beneficiaries holding Allowed
Claims that are entitled to receive a distribution of Units on the Initial Unit Distribution
Date.

       142. “Institutional Investors” means the Steering Committee Consenting Claimants
and the Talcott Franklin Consenting Claimants.

       143.   “Insured Exception” has the meaning set forth in Article IV.C.

      144.    “Insured RMBS Trust” means any RMBS Trust that has an insurance policy with
a Monoline.

       145. “Intercompany Balance” means any prepetition Claim of a Debtor against
another Debtor, or any prepetition Claim held by a Non-Debtor Subsidiary against a Debtor,
including any subrogation claims and fraudulent conveyance claims related to the
forgiveness of intercompany debt, and any other subrogation claims owed by any Debtor to
any other Debtor. For the avoidance of doubt, Intercompany Balances do not include any
Claim that Ally may assert against a Debtor.

       146. “Intercreditor Agreement” means the intercreditor agreement, dated as of June 6,
2008, by and among WFB, GMAC LLC, USB, RFC, GMACM, ResCap, Homecomings
Financial, LLC, GMAC-RFC Holding Company, LLC, GMAC Residential Holding Company,
LLC, GMAC Model Home Finance, LLC, Developers of Hidden Springs, LLC, DOA Holding
Properties, LLC, RFC Asset Holdings II, LLC, Passive Asset Transactions, LLC, Residential
Mortgage Real Estate Holdings, LLC, Residential Funding, Real Estate Holdings, LLC,
Homecomings Financial Real Estate Holdings, LLC and Equity Investment I, LLC
[Docket No. 1866, Ex. A].

       147.   “Investor” means a current or former holder of RMBS, in such capacity.

       148. “JSN Adversary Proceeding” means the adversary proceeding which
consolidates the adversary proceeding commenced against the Junior Secured Noteholders by
the Creditors’ Committee in the proceeding Official Committee of Unsecured Creditors v. UMB
Bank, N.A. et al., Case No. 13-01277(MG) and the adversary proceeding commenced by the
Debtors in the proceeding Residential Capital, et al. v. UMB Bank, N.A., Case No. 13-
01343(MG) seeking a determination of the Allowed amount and collateral of the Junior Secured
Notes Claims.

       149. “JSN Documents” means the Junior Secured Notes, the Junior Secured Notes
Indenture, the Junior Secured Notes Security Agreement, and the Intercreditor Agreement, and
any respective amendments, supplements or related documents in connection therewith.


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         150.    “Junior Secured Noteholders” means the beneficial holders of Junior Secured
Notes.

       151. “Junior Secured Notes” means the 9.625% junior secured notes due 2015
issued by ResCap pursuant to the Junior Secured Notes Indenture.

       152. “Junior Secured Notes Claims” means any and all Claims, including any
Secured Claim or unsecured Claim, of the Junior Secured Noteholders, the Ad Hoc Group, the
Junior Secured Notes Indenture Trustee, the Junior Secured Notes Predecessor Indenture
Trustee, and the Junior Secured Notes Collateral Agent, under, evidenced by, or related to any of
the JSN Documents, including, but not limited to, any claims for principal, interest, fees and
expenses (including the Junior Secured Notes Collateral Agent Fees and Expenses and the Junior
Secured Notes Indenture Trustee Fees), indemnification claims, and other charges.

        153. “Junior Secured Notes Collateral Agent” means Wells Fargo Bank, N.A., as
collateral agent and collateral control agent under the Junior Secured Notes Security
Agreement, together with its respective successors and assigns in such capacity.

       154. “Junior Secured Notes Collateral Agent Fees and Expenses” means the
reasonable compensation, fees, expenses, liabilities, disbursements and indemnity claims,
including, without limitation, attorneys’ and agents’ fees, expenses and disbursements, incurred
by the Junior Secured Notes Collateral Agent, whether prior to or after the Petition Date and
whether prior to or after the consummation of the Plan.

        155. “Junior Secured Notes Distribution” means an indefeasible and irrevocable
distribution without offset or recoupment of any kind in the amount of $1,247,506,575.83,
in Cash, in full and final satisfaction and release of the Junior Secured Notes Claims, which
amount represents $2,222,506,575.83 of principal, interest, and fees owing as of the Petition
Date plus $125,000,000.00, in settlement of all Claims for postpetition interest and unpaid
fees and other charges2 under the JSN Documents less $1,100,000,000.00 previously paid
under the Paydown Orders, which amounts previously paid under the Paydown Orders have
been finally and indefeasibly paid. No Person shall be entitled to seek to disgorge or
recharacterize any fees previously paid or reimbursed under the AFI/JSN Cash Collateral
Order, which amounts shall be deemed indefeasibly paid and finally allowed.

        156. “Junior Secured Notes Distribution Record Date” means the date on which the
distributions under this Plan on account of the Junior Secured Notes Claim are made to the
Junior Secured Notes Indenture Trustee.

       157. “Junior Secured Notes Indenture” means that certain Indenture, dated as of
June 6, 2008, among ResCap, as issuer, GMAC Holding, GMAC-RFC Holding Company,
LLC, GMACM, RFC, and Homecoming Financial, LLC as guarantors, and the Junior
Secured Notes Indenture Trustee.



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         The remaining unpaid fees and charges are estimated to be in a range between $54 million and $56 million.

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       158. “Junior Secured Notes Indenture Trustee” means UMB Bank, N.A., as
indenture trustee or successor indenture trustee under the Junior Secured Notes Indenture,
together with its respective successors and assigns in such capacity.

       159. “Junior Secured Notes Indenture Trustee Charging Lien” means any Lien or
other priority in payment to which the Junior Secured Notes Indenture Trustee is entitled,
pursuant to the Junior Secured Notes Indenture, against distributions to be made to holders of
Junior Secured Notes Claims for payment of any Junior Secured Notes Indenture Trustee Fees
and Junior Secured Notes Collateral Agent Fees and Expenses.

        160. “Junior Secured Notes Indenture Trustee Fees” means the reasonable
compensation, fees, expenses, liabilities, disbursements and indemnity claims, including,
without limitation, attorneys’ and agents’ fees, expenses and disbursements, incurred by the
Junior Secured Notes Indenture Trustee, whether prior to or after the Petition Date and whether
prior to or after the consummation of the Plan.

       161. “Junior Secured Notes Predecessor Indenture Trustee” means U.S. Bank National
Association, in its capacity as predecessor indenture trustee under the Junior Secured Notes
Indenture.

       162. “Junior Secured Notes Security Agreement” means that certain Amended and
Restated Third Priority Pledge and Security Agreement and Irrevocable Proxy, dated as of
December 30, 2009, among ResCap and certain of its affiliates, the Junior Secured Notes
Indenture Trustee and the Junior Secured Notes Collateral Agent.

       163. “Kessler Class Action” means the consolidated class action entitled In re
Community Bank of Northern Virginia Second Mortgage Lending Practice Litigation,
consolidated in the United States District Court for the Western District of Pennsylvania, MDL
No. 1674, Case Nos. 03-0425, 02-01201, 05-0688, 05-1386.

       164. “Kessler Class Claimants” means the putative class of Persons represented in the
Kessler Class Action, asserting claims against the Debtors.

        165. “Kessler Settlement Agreement” means that certain Settlement Agreement
between the Debtors and the representatives of the Kessler Class Claimants, attached as Exhibit
5 to the Joint Motion Pursuant to 11 U.S.C. 105 and Fed. R. Bankr. P. 7023 and 9019 for an
Order (1) Granting Class Certification for Purposes of Settlement Only, (2) Appointment Class
Representative and Class Counsel for Purposes of Settlement Only, (3) Preliminarily Approving
the Settlement Agreement Between Plaintiffs, On Their Own Behalf and On Behalf of the Class of
Similarly Situated Persons, and the Debtors, (4) Approving the Form and Manner of Notice to
the Class, (5) Scheduling a Fairness Hearing to Consider Approval of the Settlement on a Final
Basis and Related Relief and (6) Approving the Settlement Agreement on a Final Basis and
Granting Related Relief [Docket No. 4451].

       166. “Kessler Settlement Approval Orders” means the preliminary and final orders
approving the certification of the Kessler Class Claimants as a settlement class under Bankruptcy
Rule 7023 and approving the Kessler Settlement Agreement under section 105(a) of the
Bankruptcy Code and Bankruptcy Rules 9019 and 7023.
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       167. “Kessler Settlement Class” means the settlement class comprised of the Kessler
Class Claimants certified pursuant to the Kessler Settlement Approval Orders.

       168. “LDTC” means Law Debenture Trust Company of New York solely in its
capacity as separate trustee in respect of certain of the RMBS Trusts.

      169. “Lien” means a “lien” as such term is defined in section 101(37) of the
Bankruptcy Code.

       170. “Liquidating Trust” means that certain Delaware statutory trust continued on
or about the Effective Date as successor by conversion of a common law trust in accordance
with the provisions of Article VI of the Plan and the Liquidating Trust Agreement.

        171. “Liquidating Trust Expenses Set Aside” means an amount of Cash or other assets
set aside from time to time by or under the direction of the Liquidating Trust Board for paying
costs, fees, and expenses, and reserving for liabilities, of the Liquidating Trust, including costs,
fees, and expenses of the Estates payable after the Effective Date.

       172. “Liquidating Trust Agreement” means that certain trust agreement, the form
of which shall be included in the Plan Supplement, that, among other things: (a) establishes
and governs the Liquidating Trust; (b) describes the powers, duties and responsibilities of
the Liquidating Trustees; and (c) provides for the liquidation and distribution of proceeds of
the Liquidating Trust Assets.

       173. “Liquidating Trust Assets” means all property held from time to time by the
Liquidating Trust, including the Available Assets transferred to the Liquidating Trust on the
Effective Date.

       174. “Liquidating Trust Board” means the board of trustees appointed to oversee
the administration of the Liquidating Trust and the disposition of the Liquidating Trust
Assets. The identities of the Persons to serve on the Liquidating Trust Board as of the
Effective Date will be set forth in the Plan Supplement.

      175. “Liquidating Trust Budget” means the annual budget of expenses for
administering the Liquidating Trust.

        176. “Liquidating Trust Causes of Action” means the Claims and Causes of Action
transferred to the Liquidating Trust on the Effective Date, including those Claims and Causes of
Action set forth in the Plan Supplement.

       177.    “Liquidating Trust Management” means those Persons designated by the
Liquidating Trust Board to manage the Liquidating Trust. The identities of the Persons to
serve as Liquidating Trust Management as of the Effective Date will be set forth in the Plan
Supplement.

      178. “Liquidating Trust Unit Beneficiaries” means (i) the holders of ResCap
Unsecured Claims, GMACM Unsecured Claims, and RFC Unsecured Claims (in each case,
whether Allowed or Disputed), other than holders of RMBS Trust Claims and ETS

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Unsecured Claims, (ii) the RMBS Claims Trust, and (iii) the Private Securities Claims Trust
(and those Private Securities Claimants holding Units). For the avoidance of doubt,
Liquidating Trust Unit Beneficiaries includes Wilmington Trust, on behalf of the Senior
Unsecured Noteholders, until such time as Wilmington Trust causes the distribution of Units
received by it to the Senior Unsecured Noteholders.

       179.    “Liquidating Trustee” means a member of the Liquidating Trust Board.

       180. “Loan Group” means any group of loans established by the governing agreements
for an RMBS Trust so that only a particular class or classes of securities issued by such RMBS
Trust benefit from the proceeds of such loans.

       181. “MassMutual” means Massachusetts Mutual Life Insurance Company and its
subsidiaries and affiliates.

       182. “MBIA” means MBIA Insurance Corporation and its subsidiaries and affiliates
but excluding Cutwater Holdings, LLC and its subsidiaries Cutwater Investor Services Corp.,
Cutwater Asset Management Corp. and Trifinium Advisors (UK) Limited.

        183. “Misdirected Funds” means the approximately $2.6 million of funds that were
misdirected to the Debtors’ tri-party account with Bank of New York Mellon prior to the
Petition Date.

       184.    “Moelis” means Moelis & Company LLC.

       185. “Monolines” means FGIC, MBIA, and the other insurers who provided
financial guaranty insurance policies insuring amounts payable to RMBS in connection with
certain of the RMBS Trusts, but does not include insurers of particular mortgage loans or
groups of mortgage loans held by an RMBS Trust, for the purposes of the RMBS Trust
Allocation Protocol.

       186. “Monoline Claims Settlement” means the settlement of the Allowed amount
and allocation among Debtor Groups of the Claims held by MBIA, and FGIC.

       187. “Monoline Reservation” means the reservation of rights of each Insured RMBS
Trustee (excluding the RMBS Trusts insured by FGIC) as set forth in Article IV herein.

       188. “NJ Carpenters Approval” means the approvals of the NJ Carpenters
Settlement from the Bankruptcy Court (which may be the Confirmation Order or a separate
order of the Bankruptcy Court), and the District Court.

         189.    “NJ Carpenters Claims” means any and all claims, demands, rights,
liabilities, and causes of action of every nature and description, known or Unknown,
suspected or unsuspected, contingent or non-contingent, matured or unmatured, whether or
not concealed or hidden, which now exist, or heretofore have existed, whether arising under
federal, state, common, or foreign law, that any NJ Carpenters Class Member (a) asserted in
the NJ Carpenters Class Action, or (b) could have asserted in any forum arising from or
related in any way to the acts, failures to act, transactions, facts, events, matters, disclosures,

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statements, occurrences, representations, or omissions asserted or that could have been
asserted in the NJ Carpenters Class Action against the NJ Carpenters Released Parties.
Notwithstanding the foregoing, “NJ Carpenters Claims” shall not include (a) any rights or
claims against the Debtors that any NJ Carpenters Class Member may possess or be entitled
to as a holder of RMBS pursuant to the RMBS Trust Settlement or any other distribution in
the Plan in connection with the claims asserted in connection with the RMBS Trust
Settlement, or (b) claims against any NJ Carpenters Non-Settling Defendant.

        190. “NJ Carpenters Claims Distribution” means a distribution in the amount of
$100 million in Cash in full and final satisfaction of the NJ Carpenters Claims, on terms as
set forth in the NJ Carpenters Settlement.

      191. “NJ Carpenters Class Action” means the class action entitled New Jersey
Carpenters Health Fund, et al. v. Residential Capital, LLC, et al., Civ. No. 08-8781(HB)
pending in the District Court.

        192. “NJ Carpenters Class Members” means the named plaintiffs in the NJ
Carpenters Class Action and all other persons or entities who purchased or otherwise
acquired beneficial interests in any of the following pass-through certificates and who were
allegedly damaged thereby: RALI Series 2007-QS1, RALI Series 2007-QO4, RALI Series
2007-QH4, RALI Series 2006-QO7, RALI Series 2007-QS5, RALI Series 2006-QS7, RALI
Series 2007-QO2, RALI Series 2006-QS11, RALI Series 2007-QS4, RALI Series 2006-
QA4, RALI Series 2006-QA6, RALI Series 2006-QA7, RALI Series 2006-QA8, RALI
Series 2006-QA10, RALI Series 2006-QA11, RALI Series 2007-QA1, RALI Series 2007-
QA2, RALI Series 2007-QO3, RALI Series 2007-QA3, RALI Series 2007-QA5, RALI
Series 2007-QH8, RALI Series 2007-QH9, RALI Series 2007-QO5, RALI Series 2007-
QS11, RALI Series 2007-QS6, RALI Series 2006-QS8, RALI Series 2006-QS9, RALI
Series 2007-QS7, RALI Series 2007-QH2, RALI Series 2007-QH5, RALI Series 2007-
QH6, RALI Series 2006-QS18, RALI Series 2006-QO10, RALI Series 2006-QO3, RALI
Series 2006-QO6, RALI Series 2007-QH3, RALI Series 2007-QS2, RALI Series 2006-
QO9, RALI Series 2006-QO8, RALI Series 2006-QO5, RALI Series 2006-QA5, RALI
Series 2006-QA9, RALI Series 2006-QH1, RALI Series 2006-QO4, RALI Series 2006-
QS5, RALI Series 2006-QS16, RALI Series 2006-QS17, RALI Series 2007-QH1, RALI
Series 2007-QO1, RALI Series 2007-QS3, RALI Series 2007-QA4, RALI Series 2007-
QH7, RALI Series 2007-QS8, RALI Series 2007-QS10, RALI Series 2006-QS12, RALI
Series 2006-QS13, RALI Series 2006-QS6, RALI Series 2007-QS9 and RALI Series 2006-
QS15. Notwithstanding the foregoing, “NJ Carpenters Class Members” shall not include (a)
the NJ Carpenters Class Opt-Outs, (b) the Private Securities Claimants, or (c) the NJ
Carpenters Defendants, and their respective officers, affiliates and directors at all relevant
times, members of their immediate families and their legal representatives, executors,
estates, administrators, successors and assigns, insurers, or any entity in which any
defendants have or had a controlling interest, provided that any investment company or
pooled investment fund (including, but not limited to, mutual fund families, exchange-
traded funds, fund of funds, and hedge funds) in which any of the NJ Carpenters Defendants
have or may have a direct or indirect interest, or as to which its affiliates may act as
investment advisors, but in which any of the NJ Carpenters Defendants or any of their


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respective affiliates is not a majority owner or does not hold a majority beneficial interest,
shall not be deemed an excluded person or entity by definition.

      193. “NJ Carpenters Class Opt-Outs” means any persons or entities who exclude
themselves from the NJ Carpenters Class Action and the NJ Carpenters Settlement in the
manner contemplated by the NJ Carpenters Notice.

      194. “NJ Carpenters Defendants” means the NJ Carpenters Non-Settling
Defendants and the NJ Carpenters Settling Defendants.

       195. “NJ Carpenters Non-Settling Defendants” means Goldman, Sachs & Co.,
Deutsche Bank Securities Inc., Citigroup Global Markets Inc., and UBS Securities LLC, as
well as any other defendant(s) later brought into the NJ Carpenters Class Action (not
including the NJ Carpenters Released Parties).

        196. “NJ Carpenters Notice” means the Notice of Pendency of Class Action and
Proposed Settlement, Settlement Fairness Hearing and Motion for Reimbursement of
Litigation Expenses, attached as Exhibit A-1 to the NJ Carpenters Settlement.

       197. “NJ Carpenters Plan of Allocation” means the plan of allocation for the NJ
Carpenters Claims Distribution to be approved by and under the jurisdiction of the District
Court.

       198. “NJ Carpenters Released Parties” means (a) the NJ Carpenters Settling
Defendants, and (b) with respect to each of the foregoing, as applicable, their parents,
subsidiaries, and affiliates and all of their respective past, current, and future respective
directors, officers, employees, partners, insurers, co-insurers, reinsurers, agents, controlling
shareholders, shareholders, attorneys, accountants, auditors, advisors, investment advisors,
personal or legal representatives, predecessors, successors, divisions, joint ventures, assigns,
spouses, heirs, related or affiliated entities, and any entity in which any NJ Carpenters
Released Party has a controlling interest, and all of their respective property. For the
avoidance of doubt, the insurers, co-insurers, and reinsurers listed above do not include the
insurers that issued the GM Policies in their capacity as insurers under the GM Policies.

        199. “NJ Carpenters Settlement” means the Stipulation and Agreement of
Settlement with Certain Defendants, dated as of June 14, 2013, by and among the lead
plaintiffs in the NJ Carpenters Class Action and the NJ Carpenters Released Parties, which
is subject to the NJ Carpenters Approval.

      200. “NJ Carpenters Settling Defendants” means Residential Capital, LLC,
Residential Funding Company, LLC, Residential Accredit Loans, Inc., Bruce J. Paradis,
Kenneth M. Duncan, Davee L. Olson, Ralph T. Flees, Lisa R. Lundsten, James G. Jones,
David M. Bricker, James N. Young and Ally Securities.

      201. “Non-Debtor Subsidiaries” means Canada Mortgage Acceptance Corporation;
Cap Re of Vermont, LLC; Foreign Obligation Exchange, Inc. 2003-H11; Foreign Obligation
Exchange, Inc. 2003-H12; Foreign Obligation Exchange, Inc. 2003-H14; Foreign Obligation
Exchange, Inc. 2004-H11; Foreign Obligation Export, Inc.; Flume (No. 8) Limited; GMAC

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Residential Funding of Canada Limited; GMAC-RFC Auritec, S.A.; GMAC-RFC Espana
Hipoteacas SL; GMAC-RFC Europe Limited; GMAC-RFC Holdings Limited; GMAC-RFC
Property Finance Limited; Investments B.V. GXI; Investments B.V. GXII; Phoenix
Residential Securities, LLC; PreEmac 2 NL B.V.; and Viaduct (No. 7) Limited.

       202.   “Ocwen” means Ocwen Loan Servicing, LLC.

      203. “Ocwen APA” means that certain Asset Purchase Agreement, dated as of
November 2, 2012, as amended and supplemented, entered into by and among Ocwen,
ResCap, RFC, GMACM, ETS, ETS of Washington, Inc., EPRE LLC, GMACM Borrower
LLC and RFC Borrower LLC [Docket No. 2246, Ex. 1].

       204. “Order of Assessment” means the Order of Assessment of a Civil Money
Penalty Issued Upon Consent Pursuant to the Federal Deposit Insurance Act, as amended,
dated February 10, 2012.

       205. “Original RMBS Settlement Agreements” means, collectively, the Third
Amended and Restated RMBS Trust Settlement Agreement between the Debtors and the
Steering Committee Consenting Claimants, and the Third Amended and Restated RMBS
Trust Settlement Agreement between the Debtors and the Talcott Franklin Consenting
Claimants, filed with the Bankruptcy Court on March 15, 2013, as Exhibits 1 and 2,
respectively to the Declaration of LaShann M. DeArcy in further support of Debtors Motion
Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Settlement Agreements
[Docket No. 3220].

       206. “Original Settling RMBS Trusts” means those 392 RMBS Trusts covered in
the Original RMBS Settlement Agreements.

       207. “Other Priority Claim” means any Claim other than an Administrative Claim
or Priority Tax Claim that is entitled to priority in payment pursuant to section 507(a) of the
Bankruptcy Code.

      208. “Other Secured Claim” means any Secured Claim other than a Junior Secured
Notes Claim.

       209.   “Paulson” means funds and accounts managed by Paulson & Co. Inc.

       210. “Paydown Orders” means the Order Granting Debtors’ Amended Motion for
Entry Under 11 U.S.C. §§ 105 and 363 Authorizing the Debtors to Satisfy Certain Secured
Claims [Docket No. 3967] and the Stipulation And Order Regarding The Satisfaction Of Certain
Secured Claims [Docket No. 4404].

       211.   “Pension Plan” has the meaning set forth in Article IX.E.

      212. “Person” means a “person” as such term is defined in section 101(41) of the
Bankruptcy Code.

       213.   “Petition Date” means May 14, 2012.

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       214. “Plan” means this Joint Chapter 11 Plan proposed by Residential Capital,
LLC, et al. and the Official Committee of Unsecured Creditors, including all exhibits,
addenda, schedules or other attachments hereto, and the Plan Supplement, each of which is
incorporated herein by reference, as may be amended, modified, or supplemented from time
to time in accordance with the Plan Support Agreement.

       215. “Plan Documents” means, collectively, the Plan, including all exhibits thereto and
the Plan Supplement, the Disclosure Statement and the Confirmation Order.

       216.   “Plan Proponents” means the Debtors and the Creditors’ Committee.

         217. “Plan Supplement” means a compilation of documents and forms of
documents, schedules, and exhibits to the Plan to be Filed on notice to parties-in-interest,
and additional documents filed as supplements or amendments to the Plan Supplement
including the following: (i) the Assumption Schedule, (ii) the Liquidating Trust Agreement,
(iii) the RMBS Claims Trust Agreement, (iv) the Borrower Claims Trust Agreement, (v) the
Private Securities Claims Trust Agreement, (vi) the identities of the initial Liquidating Trust
Board, (vii) the identities of the initial Liquidating Trust Management, (viii) the identity of
the Borrower Claims Trustee and the initial members of the Borrower Claims Trust
Committee, (ix) the identity of the Private Securities Claims Trustee, (x) the amount of the
Borrower Trust True-Up, (xi) a cooperation agreement by and between the Liquidating
Trustees and the Kessler Settlement Class, (xii) the policy numbers for the GM Policies,
(xiii) the Liquidating Trust Causes of Action, (xiv) the stipulated amounts of the Allowed
Fee Claim, (xv) the Borrower-Related Causes of Action, (xvi) updated RMBS Trust Claims
Schedules, (xvii) estimated Ally Contract Claims, (xviii) the identity of the RMBS Claims
Trust Trustees, (xix) the material terms on which the Plan Proponents may pay over time
any post-petition interest owed to the Junior Secured Noteholders to the extent ordered by
the Bankruptcy Court, including the interest rate; and (xx) an initial list of Claims proposed
to be subordinated under the Plan. The Plan Proponents shall File the Assumption Schedule
no later than twenty-one (21) days before the commencement of the Confirmation Hearing,
and the remainder of the substantially complete versions of the materials comprising the
Plan Supplement no later than ten (10) days prior to the deadline to object to the Plan or
such later date as may be approved by the Bankruptcy Court, except as otherwise provided
under the Plan.

       218. “Plan Support Agreement” means the agreement to support the Plan together
with all exhibits attached thereto, including the term sheets, dated as of May 13, 2013, by
and among the Debtors, Ally, the Creditors’ Committee, and the Consenting Claimants, as
the same may be amended or modified in accordance with its terms. [Docket No. 3814, Ex.
3].

       219. “Plan Trustees” means, collectively, the Liquidating Trustees, the RMBS Claims
Trust Trustees, the Borrower Claims Trustee, and the Private Securities Claims Trustee.

        220. “Plan Trusts” means, collectively, the Liquidating Trust, the RMBS Claims
Trust, the Borrower Claims Trust, and the Private Securities Claims Trust.


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       221. “Postpetition Intercompany Balances” means any Claim against a Debtor held
by another Debtor based on “Intercompany Transactions” arising pursuant to the Cash
Management Order, which Claim is, pursuant to the Cash Management Order, accorded
administrative expense status and priority of the kind specified in sections 503(b) and 507(b)
of the Bankruptcy Code.

       222. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code, and any secured tax
claim arising under section 506(a) or 506(b) of the Bankruptcy Code.

        223. “Private Securities Claimants” means (i) AIG, (ii) Allstate, (iii) Asset
Management Funds d/b/a AMF Funds, AMF Intermediate Mortgage Fund, AMF Ultra Short
Mortgage Fund, (iv) Bank Hapoalim B.M., (v) Cambridge Place Investment Management,
Inc., in two capacities based on separate actions, (vi) Deutsche Zentra-Genossenschaftsbank,
New York Branch, d/b/a DZ Bank AG, New York, DH Holding Trust, (vii) Federal Home
Loan Bank of Boston, (viii) Federal Home Loan Bank of Chicago, (ix) Federal Home Loan
Bank of Indianapolis, (x) HSH Nordbank AG, HSH Nordbank AG Luxembourg Branch,
HSH Nordbank AG New York Branch, HSH Nordbank Securities S.A., (xi) Huntington
Bancshares Inc., (xii) IKB Deutsche Industriebank AG, IKB International S.A. in
liquidation, (xiv) John Hancock Life Insurance Company (U.S.A.), (xiv) MassMutual, (xv)
Principal Life Insurance Company, Principal Funds, Inc., Principal Variable Contracts
Funds, Inc., (xvi) Prudential, (xvii) Sealink Funding Limited, (xviii) Stiching Pensioenfonds
ABP, (xix) The Union Central Life Insurance Company/Ameritas Life Insurance
Corp./Acacia Life Insurance Company, and (xx) the Western and Southern Life Insurance
Company, Western-Southern Life Assurance Company, Columbus Life Insurance
Company, Integrity Life Insurance Company, National Integrity Life Insurance Company,
and Fort Washington Investment Advisors, Inc., all in their capacity as holders of Private
Securities Claims.

      224. “Private Securities Claims” means those securities litigation claims against
the Debtors, including claims against the Debtors and Ally, arising from the purchase or sale
of RMBS, held by the Private Securities Claimants.

        225. “Private Securities Claims Trust” means the trust established for the benefit
of the holders of the Private Securities Claims.

       226. “Private Securities Claims Trust Agreement” means that certain trust
agreement, the form of which shall be included in the Plan Supplement, that, among other
things, sets forth the criteria, methodology and procedures for making distributions to
holders of Private Securities Claims.

        227. “Private Securities Claims Trust Unit Distribution” means the number of
Units to be issued by the Liquidating Trust to the Private Securities Claims Trust on the
Initial Unit Distribution Date, which shall equal 9,545,578 Units, representing 9.55% of the
Total Initial Units Outstanding, subject to the adjustment as provided in Article IV.K.




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       228. “Private Securities Claims Trustee” means the Person selected to serve as trustee of
the Private Securities Claims Trust. The identity of the Person to serve as the Private
Securities Claims Trustee as of the Effective Date will be set forth in the Plan Supplement.

       229. “Pro Rata Share” means, with respect to any Claim, at any time, the
proportion that the amount of such Claim in a particular Class or group of Classes bears to
the aggregate amount of all Claims (including Disputed Claims) in such Class or group of
Classes, unless in each case the Plan provides otherwise. The amount of a Disputed Claim
shall be the amount of such Claim as estimated in accordance with the provisions of Article
VIII.D, and as such definition is used in Article III.D.1(d), Article III.D.2(d) and Article
III.D.3(d), the Claim amounts shall be determined as of the Initial Unit Distribution Record
Date.

        230. “Pro Rata Unit Share” means, with respect to a Unitholder at any time, the
fraction (which may be expressed as a percentage) equal to the number of Units held by such
Unitholder divided by the Total Units Outstanding at that time.

       231. “Professional” means any Person or Entity: (a) employed in the Chapter 11
Cases under a Final Order in accordance with sections 327, 328 or 1103 of the Bankruptcy
Code and compensated for services rendered prior to or on the Effective Date under sections
327, 328, 329, 330, or 331 of the Bankruptcy Code or (b) for which the Bankruptcy Court
has allowed compensation and reimbursement under section 503(b)(4) of the Bankruptcy
Code.

       232. “Professional Claim” means a Claim by a Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred from and after the Petition Date through and including the Effective Date under
sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

      233. “Proof of Claim” means a written proof of Claim Filed against any Debtor in
the Chapter 11 Cases.

       234. “Prudential” means Prudential Insurance Company of America and its
subsidiaries and affiliates.

       235. “Recognized Additional R+W Claims” has the meaning set forth in Article
IV.C.3.a.ii.2.

       236.   “Recognized Cure Claims” has the meaning set forth in Article IV.C.3.a.i.

       237. “Recognized Original R+W Claims” has the meaning set forth in Article
IV.C.3.a.ii.1.

      238. “Recognized RMBS Claims” means (i) Recognized Cure Claims, (ii)
Recognized Original R+W Claims, (iii) Recognized Additional R+W Claims, and (iv)
Recognized Unsecured Servicing Claims.



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       239.     “Recognized Unsecured Servicing Claims” has the meaning set forth in Article
IV.C.3.a.iii.

       240. “Registered Holder” means the registered holders of the Junior Secured Notes
and the Senior Unsecured Notes issued pursuant to the Indentures.

       241. “Rejection Damages Claim Bar Date” means the date that is (a) with respect
to an Executory Contract or Unexpired Lease that is rejected pursuant to the Plan, forty-five
(45) days after the Effective Date, or (b) with respect to an Executory Contract or Unexpired
Lease that is otherwise rejected, the applicable bar date established by the Bar Date Order or
other order of the Bankruptcy Court.

         242. “Released Claims” means Claims, Equity Interests, Causes of Action or
liabilities that: (i) have been discharged, terminated, or satisfied pursuant to the terms of the
Plan; (ii) have been released pursuant to the Plan; or (iii) are subject to exculpation pursuant
to the Plan.

       243. “Released Party” means the Liquidating Trust, and each Ally Released Party,
Debtor Released Party, and Exculpated Party, or the property or Estate of any Entity so
released, discharged or exculpated.

       244. “REMIC” means a real estate mortgage investment conduit as defined in
section 860D(a) of the Tax Code.

       245. “Representatives” means a person’s or entity’s former and current officers,
former and current directors, former and current principals, employees, agents, financial
advisors, attorneys, accountants, investment bankers, consultants, and other professionals,
each solely in its capacity as such; provided, that in the case of Ally and the Debtors,
“Representatives” shall not include an underwriter that is unaffiliated with Ally or the
Debtors against which an Investor has a pending or tolled Cause of Action. For the
avoidance of doubt, Lewis Kruger shall be deemed to be a Representative of the Debtors.

        246.    “ResCap” means Residential Capital LLC.

        247.    “ResCap Debtors” means ResCap, GMACM Holding, and RFC Holding.

      248. “ResCap Debtors Unit Distribution” means 30,413,337 Units, representing
30.41% of the Total Initial Units Outstanding, subject to the adjustment as provided in Article
IV.K.

      249. “ResCap Unsecured Claims” means the Senior Unsecured Notes Claims and
General Unsecured Claims, in each case against the ResCap Debtors.

        250. “Revolving Credit Facility” means that certain Amended and Restated Credit
Agreement, dated as of December 30, 2009 (as amended, supplemented or otherwise
modified), by and among AFI as initial lender and agent, Wells Fargo, N.A. as first priority
collateral agent, RFC and GMACM as borrowers, and ResCap and certain other affiliates of
the borrowers as guarantors.

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        251. “Revolving Credit Facility Claims” means any Claim held by Ally for default
interest or fees under the Revolving Credit Facility.

       252.    “RFC” means Residential Funding Company, LLC.

       253. “RFC Debtors” means each of the following Debtor subsidiaries of RFC
Holding: RFC; DOA Holding Properties, LLC; DOA Properties IX (Lots-Other), LLC;
EPRE LLC; Equity Investment I, LLC; GMAC Model Home Finance I, LLC; HFN REO
SUB II, LLC; Homecomings Financial Real Estate Holdings, LLC; Homecomings
Financial, LLC; RAHI A, LLC; RAHI B, LLC; RAHI Real Estate Holdings, LLC;
RCSFJV2004, LLC; Residential Accredit Loans, Inc.; Residential Asset Mortgage Products,
Inc.; Residential Asset Securities Corporation; Residential Funding Mortgage Exchange,
LLC; Residential Funding Mortgage Securities I, Inc.; Residential Funding Mortgage
Securities II, Inc.; Residential Funding Real Estate Holdings, LLC; RFC–GSAP Servicer
Advance, LLC; RFC Asset Holdings II, LLC; RFC Asset Management, LLC; RFC
Borrower LLC; RFC Construction Funding, LLC; RFC REO LLC; and RFC SFJV-2002,
LLC.

        254. “RFC Debtors Unit Distribution” means 32,995,746 Units, representing 33.00%
of the Total Initial Units Outstanding, subject to the adjustment as provided in Article IV.K.

       255.    “RFC Holding” means GMAC-RFC Holding Company, LLC.

       256.    “RFC Pool” has the meaning set forth in Article IV.C.2(a).

       257. “RFC Unsecured Claims” means the RMBS Trust Claims and General Unsecured
Claims, in each case against the RFC Debtors.

       258.    “RFC Weighted Claim” has the meaning set forth in Article IV.C.3(d).

        259. “RMBS” means residential mortgage-backed securities, notes and certificates
issued by the RMBS Trusts.

        260. “RMBS Claims Trust” means the trust established for the benefit of the RMBS
Trusts that have Recognized RMBS Claims, which shall be treated by all parties, including,
without limitation, the Debtors, the RMBS Claims Trust Trustees, and the RMBS Trustees as a
“qualified settlement fund” within the meaning of 468B of the Tax Code and the Treasury
Regulations thereunder.

       261. “RMBS Claims Trust Agreement” means that certain trust agreement, the form of
which shall be included in the Plan Supplement, that, among other things, sets forth the criteria,
methodology and procedures for making distributions to RMBS Trusts having Recognized
RMBS Claims.

       262. “RMBS Claims Trust Trustees” means the Persons selected to serve as trustees of
the RMBS Claims Trust, which may be one or more of the RMBS Trustees. The identity of the
Persons to serve as the RMBS Claims Trustees as of the Effective Date will be set forth in the
Plan Supplement.

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       263. “RMBS Cure Claims” means all claims of RMBS Trusts against the Debtors other
than RMBS R+W Claims, including, without limitation, all claims of RMBS Trusts against the
Debtors based on servicing obligations and other obligations of the Debtors as servicers and
otherwise that were outstanding as of the date of the closing of the sale of the Debtors’ servicing
platform to Ocwen, that became due and owing after such closing date, or that become due and
owning, as a result of pre-closing actions of the Debtors as servicers and were required to be
cured prior to the assumption and assignment to Ocwen pursuant to section 365(b)(1)(A) of the
Bankruptcy Code.

        264.   “RMBS R+W Claims” means claims of the RMBS Trusts against the Debtors
arising from any obligations or liability in respect of the origination and sale of mortgage loans
to the RMBS Trusts.

        265. “RMBS Settlement” means, as part of the Global Settlement, the settlement that
provides for the allowance, priority, and allocation of the RMBS Trust Claims, through approval
of the Original RMBS Settlement Agreements as expanded, modified and superseded as set forth
in Article IV.C of the Plan.

       266. “RMBS Trust Allocation Protocol” means the provisions set forth in Article
IV.C.3 of the Plan.

      267. “RMBS Trust Claims” means all the claims, including RMBS Cure Claims
and RMBS R+W Claims, of the RMBS Trusts against the Debtors which shall be Allowed
under Article IV.C.2(a) of the Plan as non-subordinated unsecured Claims.

      268. “RMBS Trust Claims Schedules” means Schedules 1-G, 1-R, 2-G, 2-R, 3-G, 3-R,
4-G and 4-R attached to the Plan, as amended and restated when filed as part of the Plan
Supplement, and as updated as of the Effective Date as contemplated by Article IV.C.

       269. “RMBS Trusts” means all residential mortgage backed securitization trusts,
net interest margin trusts and similar residential mortgage backed trusts for which the
Debtors act as sponsor, depositor, servicer, master servicer or in similar capacities, or a
Loan Group in such RMBS Trust, as applicable.

       270.    “RMBS Trustees” means BNY Mellon, DB, USB, HSBC, LDTC, and WFB.

       271. “Schedules” means the Debtors’ schedules of assets and liabilities and
statements of financial affairs, Filed under section 521 of the Bankruptcy Code and the
Bankruptcy Rules, as amended, supplemented, or modified.

       272. “Secured Claim” means any Claim that is (a) secured by a Lien on collateral,
which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Court order, to the extent of the value of such collateral, as determined in accordance with
section 506(a) of the Bankruptcy Code, or (b) subject to a valid right of setoff under section
553 of the Bankruptcy Code.

      273. “Senior Unsecured Noteholders” means the beneficial holders of Senior
Unsecured Notes.

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       274. “Senior Unsecured Notes” means the United States dollar denominated notes
maturing between June 2012 and June 2015, euro denominated notes that matured in May
2012, and U.K. sterling denominated notes maturing between May 2013 and July 2014, each
issued by ResCap pursuant to the Senior Unsecured Notes Indenture.

       275. “Senior Unsecured Notes Claim” means any Claim under or evidenced by the
Senior Unsecured Notes, which shall be deemed Allowed against the ResCap Debtors in an
amount of $1,003,327,213.90.

       276. “Senior Unsecured Notes Indenture” means that certain Indenture, dated as of
June 24, 2005, between ResCap, any guarantors party thereto, and the Senior Unsecured
Notes Indenture Trustee, as supplemented from time to time.

       277. “Senior Unsecured Notes Indenture Trustee” means Wilmington Trust, as
successor indenture trustee with respect to the Senior Unsecured Notes, and as paying agent,
calculation agent and registrar with respect to the United States Dollar Senior Unsecured
Notes, under the Senior Unsecured Notes Indenture, together with its respective successors
and assigns in such capacity.

       278. “Senior Unsecured Notes Indenture Trustee Charging Lien” means the Liens
and other priority in payment and rights available to the Senior Unsecured Notes Indenture
Trustee under the Senior Unsecured Notes Indenture or otherwise available to the Senior
Unsecured Notes Indenture Trustee under applicable law, for the payment of Senior
Unsecured Notes Indenture Trustee Fees and Expenses.

       279. “Senior Unsecured Notes Indenture Trustee Fees and Expenses” means the
reasonable fees, costs, expenses and indemnity claims of the Senior Unsecured Notes Indenture
Trustee, including, but not limited to, the fees, costs and expenses of the Senior Unsecured Notes
Indenture Trustees’ counsel and financial advisors.

       280. “Senior Unsecured Notes Indenture Trustee Reserve” means the reserve of Cash
to be funded from the initial Cash distribution issued on account of the Senior Unsecured
Notes Claims, and held by the Senior Unsecured Notes Indenture Trustee for the payment of
future projected accrued and unpaid, Senior Unsecured Notes Indenture Trustee Fees and
Expenses.

        281. “Servicing Agreement” means either a “Pooling and Servicing Agreement” or
an integrated set of “Servicing Agreements,” “Mortgage Loan Purchase Agreements,”
“Indentures,” and/or “Trust Agreements,” which, when combined, provide for, among other
things, the servicing of the mortgage loans held by an RMBS Trust.

       282. “Settlement Insurance Policies” means all directors & officers and errors &
omissions insurance policies with policy periods between November 2006 and the Effective Date
which provide coverage to Ally or its Representatives as well as to the Debtors and/or their
Representatives.

      283. “Settling Parties” means each of the following in its capacity as such: the
Debtors, the Creditors’ Committee, Ally, and the Consenting Claimants.

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       284. “Settling Private Securities Claimants” means each of AIG, Allstate, MassMutual
and Prudential.

       285.   “States” means the District of Columbia and the fifty states of the United States.

       286. “Steering Committee Consenting Claimants” means certain Investors in RMBS
backed by mortgage loans held by RMBS Trusts associated with securitizations sponsored by the
Debtors between 2004 and 2007 and represented by Kathy D. Patrick of Gibbs & Bruns LLP and
Keith H. Wofford of Ropes & Gray LLP.

      287. “Supporting Senior Unsecured Noteholders” means the holders of the Senior
Unsecured Notes that have executed or joined the Plan Support Agreement.

       288. “Talcott Franklin Consenting Claimants” means certain Investors in RMBS
backed by mortgage loans held by RMBS Trusts associated with securitizations sponsored by the
Debtors between 2004 and 2007 represented by Talcott Franklin of Talcott Franklin, P.C., Carter
Ledyard & Milburn LLP and Miller Johnson.

       289.   “Tax Code” means the Internal Revenue Code of 1986, as amended.

       290.   “Tax Lien” has the meaning set forth in Article II.C.

       291.   “Third Party Release” means the release set forth in Article IX.D.

        292. “Total Units Outstanding” means 100 million Units, which is the total number of
Units to be issued by the Liquidating Trust pursuant to the Plan.

      293.    “Treasury Regulations” means the Treasury regulations promulgated under the
Tax Code.

         294. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

       295.   “Unimpaired” means, with respect to any Class, a Class that is not Impaired.

       296. “Unit Distribution Date” means a date or dates established pursuant to the
Liquidating Trust Agreement or otherwise determined by the Liquidating Trust Board, as of
which a distribution of Units shall be made to Liquidating Trust Unit Beneficiaries that are
holders of Disputed Claims that became Allowed, in whole or in part.

      297. “Unit Issuance Percentage” means, in the case of the GMACM Debtors,
27.05%; in the case of the ResCap Debtors, 30.41%; in the case of the RFC Debtors,
33.00%; and in the case of the Private Securities Claims Trust, 9.55%.

      298. “United States” means the United States of America, its agencies,
departments, and agents.

       299.   “Unitholders” means holders of Units.

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       300. “Units” means units of beneficial interest issued by the Liquidating Trust,
which entitle the holders thereof to receive from the Liquidating Trust a Pro Rata Unit Share
of Distributable Cash.

        301. “Unknown” as used in the definition of NJ Carpenters Claims, means any and
all NJ Carpenter Claims that any NJ Carpenters Class Member does not know or suspect to exist
in his, her or its favor at the time of the release, which if known by him, her or it might have
affected his, her or its settlement with and release of the NJ Carpenters Released Parties, or
might have affected his, her or its decision not to object to the NJ Carpenters Settlement or not
exclude himself, herself or itself from the settlement class. With respect to any and all NJ
Carpenters Claims, the parties stipulated and agreed under the NJ Carpenters Settlement that,
upon the Effective Date, the NJ Carpenters Class Members shall expressly waive, and shall be
deemed to have waived, and by operation of the order approving the NJ Carpenters Settlement,
shall have expressly waived, to the fullest extent permitted by law, any and all provisions, rights
and benefits conferred by Cal. Civ. Code § 1542 (to the extent it applies to the Action), and any
law of any state or territory of the United States, or principle of common law, or the law of any
foreign jurisdiction, that is similar, comparable or equivalent to Cal. Civ. Code § 1542, which
provides:

       A general release does not extend to claims which the creditor does not know or
       suspect to exist in his or her favor at the time of executing the release, which if
       known by him or her must have materially affected his or her settlement with the
       debtor.

     302. “Unsecured Claims” means, collectively, the GMACM Unsecured Claims, the
ResCap Unsecured Claims and the RFC Unsecured Claims.

       303. “USB” means U.S. Bank National Association solely in its capacity as trustee,
indenture trustee, securities administrator, co-administrator, paying agent, grantor trustee, master
servicer, custodian and/or similar agency capacities in respect of certain of the RMBS Trusts.

     304.      “U.S. Trustee” means the United States Trustee for the Southern District of
New York.

       305. “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930, and, to the
extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

       306. “Voting Deadline” means the date set forth in the order of the Bankruptcy
Court approving the Disclosure Statement as the deadline for, among other things, voting to
accept or reject the Plan.

       307.    “Walter” means Walter Investment Management Corporation.

        308. “WFB” means Wells Fargo Bank, N.A. solely in its capacity as trustee, indenture
trustee, securities administrator, co-administrator, paying agent, grantor trustee, master servicer,
custodian, and/or similar agency capacities in respect of certain of the RMBS Trusts.



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       309. “Wilmington Trust” means Wilmington Trust, National Association, not
individually, but solely in its capacity as Senior Unsecured Notes Indenture Trustee.

B.     Rules of Construction

        For the purposes of the Plan: (1) any term used in capitalized form that is not defined
in the Plan, but that is defined in the Bankruptcy Code or the Bankruptcy Rules, has the
meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as
applicable; (2) in the appropriate context, each term, whether stated in the singular or the
plural, includes both the singular and the plural, and pronouns stated in the masculine,
feminine, or neutral gender include the masculine, feminine, and the neutral gender; (3)
unless otherwise stated herein, any reference in the Plan to an existing document or exhibit
having been Filed or to be Filed shall mean that document or exhibit, as it may thereafter be
amended, modified, or supplemented; (4) except as otherwise provided in the Plan, all
references in the Plan to “Articles” are references to Articles of the Plan; (5) except as
otherwise provided in the Plan, the words “herein,” “hereof,” and “hereto” refer to the Plan
in its entirety rather than to a particular portion of the Plan; (6) the words “includes” and
“including” are not limiting and mean that the things specifically identified are set forth for
purposes of illustration, clarity, or specificity and do not in any respect qualify, characterize,
or limit the generality of the class within which such things are included; (7) any reference
to an Entity or a Person as a holder of a Claim or Equity Interest includes that Entity’s or
Person’s successors, assigns, and affiliates; (8) captions and headings to Articles are inserted
for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (9) the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply; and (10) any immaterial effectuating provisions may be
interpreted by the Plan Proponents or the Liquidating Trust, as applicable, in a manner that
is consistent with the overall purpose and intent of the Plan, all without further order of the
Bankruptcy Court.

C.     Computation of Time

     Except as otherwise provided in the Plan, Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed in the Plan.

D.     Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the
Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of
the State of New York, without giving effect to the principles of conflict of laws that would
require application of the law of another jurisdiction, shall govern the rights, obligations,
construction, and implementation of the Plan, and any agreements, securities, instruments,
or other documents executed or delivered in connection with the Plan (except as otherwise
set forth in those documents, in which case the governing law of such documents shall
control); provided, however, that governance matters relating to the Debtors, the Liquidating
Trust, the Borrower Claims Trust, the RMBS Claims Trust, or the Private Securities Claims
Trust, as applicable, shall be governed by the laws of the State of incorporation or formation
thereof.

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                                       ARTICLE II.

     ADMINISTRATIVE CLAIMS, PROFESSIONAL CLAIMS, PRIORITY TAX
                  CLAIMS, AND U.S. TRUSTEE FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative
Claims, Professional Claims, Priority Tax Claims and U.S. Trustee Fees have not been
classified and, therefore, are excluded from the Classes of Claims and Equity Interests set
forth in Article III and shall have the following treatment:

A.     Administrative Claims

       1.     Treatment of Administrative Claims Other than Professional Claims.

        Unless otherwise agreed to by the holder of an Allowed Administrative Claim, or set
forth in an order of the Bankruptcy Court, the Liquidating Trust will pay each holder of an
Allowed Administrative Claim (other than holders of Professional Claims and Claims for
fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States
Code) the full unpaid amount of such Claim in Cash: (1) if the Administrative Claim is
Allowed before the Effective Date, on the Effective Date, or as soon as practicable thereafter
(or, if not then due, when such Allowed Administrative Claim is due, or as soon as
practicable thereafter); or (2) if the Administrative Claim is Allowed on or after the
Effective Date, on the date such Administrative Claim is Allowed, or as soon as practicable
thereafter (or, if not then due, when such Allowed Administrative Claim is due, or as soon
as practicable thereafter); provided, however, that Allowed Administrative Claims other
than Professional Claims that arise in the ordinary course of the Debtors’ business shall be
paid in the ordinary course of business in accordance with the terms and subject to the
conditions of any agreements governing, instruments evidencing, or other documents
relating to, such transactions; provided further, however, that accrued and unpaid
Postpetition Intercompany Balances shall be satisfied pursuant to the Cash Management
Order without further application or order of the Bankruptcy Court. On or after the
Effective Date, the Liquidating Trust may settle and pay any Administrative Claim in the
ordinary course of business without any further notice to or action, order, or approval of the
Bankruptcy Court.

       2.     Administrative Claims Bar Date

       Except as provided for herein or in any order of the Bankruptcy Court, and subject to
section 503(b)(1)(D) of the Bankruptcy Code, holders of Administrative Claims (other than
holders of Administrative Claims paid in the ordinary course of business, holders of
Professional Claims, holders of Claims for fees and expenses pursuant to section 1930 of
chapter 123 of title 28 of the United States Code, and holders of Postpetition Intercompany
Balances) must File and serve on the Plan Proponents or the Liquidating Trust, as
applicable, requests for the payment of such Administrative Claims not already Allowed by
Final Order in accordance with the procedures specified in the Confirmation Order, on or
before the Administrative Claim Bar Date or be forever barred, estopped, and enjoined from


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asserting such Claims against the Debtors, the Plan Trusts, or their assets or properties, and
such Claims shall be deemed discharged as of the Effective Date.

B.     Professional Claims

       1.     Final Fee Applications

      All final requests for Professional Claims must be Filed no later than seventy-five
(75) days after the Effective Date. After notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and prior Bankruptcy Court orders, the
Allowed amounts of such Professional Claims will be determined by the Bankruptcy Court.

       2.     Professional Claims

        The amount of Professional Claims owing to the Professionals will be paid in Cash to
such Professionals by the Liquidating Trust, or at the Liquidating Trust’s direction, without
interest or other earnings therefrom, when such Claims are approved by the Bankruptcy
Court; provided, that notwithstanding the foregoing, on the Effective Date, the Debtors shall
pay (1) Centerview’s full In-Court Transaction Fee (as defined in paragraph 3(b) of the
engagement letter by and between Centerview and the Debtors), (2) Moelis’ full
Restructuring Fee (as defined in paragraph 2 of the engagement letter between Moelis and
the Creditors’ Committee), and (3) FTI’s full Completion Fee (as defined in paragraph 3 of
the addendum to the engagement letter between FTI and the Debtors, as amended);
provided, further, that Centerview, Moelis, and FTI shall File final requests for Professional
Claims in accordance with Section II.B.1 above.

       3.     Post-Effective Date Fees and Expenses

       Except as otherwise specifically provided in the Plan, the Liquidating Trust shall pay
in Cash the reasonable legal, professional, or other fees and expenses incurred by the
Professionals from and after the Effective Date, in the ordinary course of business and
without any further notice to or action, order or approval of the Bankruptcy Court. Upon the
Effective Date, any requirement that Professionals comply with sections 327 through 331
and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and Professionals may be employed and paid in the
ordinary course of business without any further notice to or action, order, or approval of the
Bankruptcy Court.

C.     Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment or has been paid by any applicable Debtor prior to the Effective Date,
the Liquidating Trust shall pay each holder of an Allowed Priority Tax Claim, in full and
final satisfaction, settlement, release, and discharge of such Allowed Priority Tax Claim, in
accordance with Bankruptcy Code section 1129(a)(9)(C), the full unpaid amount of such
Allowed Priority Tax Claim in Cash on, or as soon as practicable after, the latest of: (1) the
Effective Date; (2) the date such Allowed Priority Tax Claim becomes Allowed; or (3) in
regular payments over a period of time not to exceed five (5) years after the Petition Date

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with interest at a rate determined in accordance with section 511 of the Bankruptcy Code,
provided, that such Allowed Priority Tax Claims shall not be treated in a manner less
favorable than the most favored nonpriority Unsecured Claim provided for by the Plan
(other than Cash payments made to a class of creditors under section 1122(b)), and
provided, further, that such election shall be without prejudice to the Liquidating Trust’s
right to prepay such Allowed Priority Tax Claim in full or in part without penalty. To the
extent a holder of an Allowed Priority Tax Claim holds a valid lien (a “Tax Lien”) for
outstanding and unpaid real property taxes against property of the Debtors or the
Liquidating Trust, as applicable, any liens imposed on account of such Claim shall remain
unimpaired until such Allowed Priority Tax Claim is paid in full.

D.     U.S. Trustee Fees

       On the Effective Date or as soon as practicable thereafter, the Liquidating Trust shall
pay all U.S. Trustee Fees that are due and owing on the Effective Date. For the avoidance
of doubt, nothing in the Plan shall release the Liquidating Trust from its obligation to pay all
U.S. Trustee Fees due and owing after the Effective Date before a Final Order is entered by
the Bankruptcy Court concluding or closing the Chapter 11 Cases.

                                         ARTICLE III.

                   CLASSIFICATION, TREATMENT, AND VOTING
                      OF CLAIMS AND EQUITY INTERESTS

A.     Classification of Claims and Equity Interests

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims and Equity Interests. A Claim or Equity Interest is placed in a particular Class
for the purposes of voting on the Plan and receiving distributions pursuant to the Plan only to the
extent that such Claim or Equity Interest has not been paid, withdrawn or otherwise settled
before (i) the Claims Record Date for voting purposes, or (ii) the time at which distributions are
made with respect to such Claims or Equity Interests pursuant to the Plan for distribution
purposes.

B.     Record Date for Claims

       As of the Claims Record Date, the transfer registers for each Class of Claims or
Equity Interests (other than for publicly traded securities), as maintained by the Debtors or
their agents, shall be deemed closed and there shall be no further changes made to reflect
any new record holders of any such Claims or Equity Interests. The Debtors and the
Liquidating Trust shall have no obligation to recognize any transfer of such Claims or
Equity Interests occurring on or after the Claims Record Date.

C.     Summary of Classification and Class Identification

      i.       Except for Claims addressed in Article II, all Claims and Equity Interests are
classified in the Classes set forth in this Article III in accordance with section 1122 of the
Bankruptcy Code. A Claim or Equity Interest is classified in a particular Class only to the

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extent that the Claim or Equity Interest qualifies within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Equity Interest
qualifies within the description of such other Classes. A Claim or Equity Interest is also
classified in a particular Class for the purpose of receiving distributions pursuant to the Plan
only to the extent that such Claim or Equity Interest is an Allowed Claim or Allowed Equity
Interest in that Class and has not been paid, released, or otherwise satisfied prior to the
Effective Date. In no event shall any holder of an Allowed Claim be entitled to receive
payments under this Plan that, in the aggregate, exceed the Allowed amount of such holder’s
Claim.

     ii.       Although the Plan applies to all of the Debtors, (a) the Plan constitutes fifty-
one (51) distinct chapter 11 plans, one for each Debtor; and (b) for voting purposes, each
class of the Debtor Groups will contain sub-classes for each of the Debtors within a
particular Debtor Group. The Plan groups the Debtors into three Debtor Groups (the
ResCap Debtors, the GMACM Debtors and the RFC Debtors) solely for purposes of
describing treatment under the Plan and making distributions under the Plan. Such grouping
shall not affect any Debtor’s status as a separate legal entity, change the organizational
structure of the Debtors’ business enterprise, constitute a change of control of any Debtor
for any purpose, cause a merger or consolidation of any legal entities, nor cause the transfer
of any assets; and, except as otherwise provided by or permitted in the Plan, all Debtors
shall continue to exist as separate legal entities. For voting purposes, each Class of the
Debtor Groups will contain sub-classes for each of the Debtors within a particular Debtor
Group (e.g., there will be three (3) sub-Classes for each Class of the ResCap Debtors,
twenty-one (21) sub-Classes for each Class of the GMACM Debtors (provided, that, in lieu
of Class GS-4A, the Plan for ETS contains a sub-Class, Class GS-4B, for ETS Unsecured
Claims), and twenty-seven (27) sub-Classes for each Class of the RFC Debtors, and many of
the sub-Classes may be vacant). Notwithstanding the foregoing, the Plan Proponents
reserve the right to seek approval of the Bankruptcy Court to consolidate any two or more
Debtors for purposes of administrative convenience, provided that such consolidation does
not materially and adversely impact the amount of distributions to any Person under the Plan
and is in accordance with the terms of the Plan Support Agreement.

     iii.      Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for the
purposes of Confirmation by acceptance of the Plan by an Impaired Class of Claims;
provided, however, that in the event no holder of a Claim with respect to a specific Class for
a particular Debtor timely submits a Ballot indicating acceptance or rejection of the Plan,
such Class will be deemed to have accepted the Plan. The Plan Proponents shall seek
Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect
to any rejecting Class of Claims or Equity Interests. The Plan Proponents reserve the right
to modify the Plan in accordance with Article XI.A hereof, including the right to withdraw
the Plan as to an individual Debtor at any time before the Effective Date.

    iv.       The following are tables assigning each Class a letter and number designation
for purposes of identifying each separate Class, a description of whether that Class is
Impaired, and the Class’ voting rights:



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          1.     ResCap Debtors

Class                  Designation               Impairment              Entitled to Vote
 R-1     Other Priority Claims                  Unimpaired       No (presumed to accept)
 R-2     Other Secured Claims                   Unimpaired       No (presumed to accept)
                                                Impaired/
R-3      Junior Secured Notes Claims                             Yes/No (presumed to accept)
                                                Unimpaired
R-4      ResCap Unsecured Claims                Impaired         Yes
R-5      Borrower Claims                        Impaired         Yes
R-6      Private Securities Claims              Impaired         Yes
R-7      NJ Carpenters Claims                   Impaired         Yes
         General Unsecured Convenience
R-8                                             Impaired         Yes
         Claims
R-9      Intercompany Balances                  Impaired         No (deemed to reject)
R-10     Equity Interests                       Impaired         No (deemed to reject)
R-11     FHFA Claims                            Impaired         Yes
R-12     Revolving Credit Facility Claims       Impaired         Yes


          2.     GMACM Debtors

 Class              Designation                 Impairment             Entitled to Vote
 GS-1     Other Priority Claims                Unimpaired        No (presumed to accept)
 GS-2     Other Secured Claims                 Unimpaired        No (presumed to accept)
 GS-3     Junior Secured Notes Claims          Impaired/         Yes/No (presumed to
                                               Unimpaired        accept)
GS-4A GMACM Unsecured Claims                   Impaired          Yes
GS-4B ETS Unsecured Claims                     Impaired          Yes
 GS-5  Borrower Claims                         Impaired          Yes
 GS-6  Private Securities Claims               Impaired          Yes
       General Unsecured Convenience
 GS-7                                          Impaired          Yes
       Claims
 GS-8 Intercompany Balances                    Impaired          No (deemed to reject)
 GS-9 Equity Interests                         Impaired          No (deemed to reject)
 GS-10 Revolving Credit Facility Claims        Impaired          Yes


          3.     RFC Debtors

 Class               Designation                Impairment               Entitled to Vote
 RS-1     Other Priority Claims                Unimpaired        No (presumed to accept)
 RS-2     Other Secured Claims                 Unimpaired        No (presumed to accept)
                                               Impaired/         Yes/No (presumed to
 RS-3     Junior Secured Notes Claims
                                               Unimpaired        accept)
 RS-4     RFC Unsecured Claims                 Impaired          Yes

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RS-5  Borrower Claims                             Impaired             Yes
RS-6  Private Securities Claims                   Impaired             Yes
RS-7  NJ Carpenters Claims                        Impaired             Yes
      General Unsecured Convenience
RS-8                                              Impaired             Yes
      Claims
RS-9 Intercompany Balances                        Impaired             No (deemed to reject)
RS-10 Equity Interests                            Impaired             No (deemed to reject)
RS-11 FHFA Claims                                 Impaired             Yes
RS-12 Revolving Credit Facility Claims            Impaired             Yes

 D.     Treatment of Claims and Equity Interests

         Except to the extent that a holder of an Allowed Claim or Equity Interest, as
 applicable, agrees to a less favorable treatment, such holder shall, in full and final
 satisfaction, settlement, release, and discharge of and in exchange for such holder’s Allowed
 Claim or Equity Interest, receive the treatment described below under the Plan.

        1.     Claims Against and Equity Interests in the ResCap Debtors

               (a)      Class R-1 – Other Priority Claims

                         (i)      Classification: Class R-1 consists of all Allowed Other
                                  Priority Claims against the ResCap Debtors.

                         (ii)     Treatment: In full and final satisfaction of the Other Priority
                                  Claims in Class R-1, on or as soon as practicable after the
                                  Effective Date, each holder of an Allowed Other Priority
                                  Claim in Class R-1 shall receive one of the following
                                  treatments on account of such Claim, as determined by the
                                  Plan Proponents prior to the Effective Date or the Liquidating
                                  Trust, following the Effective Date: (a) payment in full in
                                  Cash, or (b) treatment consistent with the provisions of
                                  section 1129(a)(9) of the Bankruptcy Code; provided, that
                                  Other Priority Claims that arise in the ordinary course of the
                                  Debtors’ business and that are not due and payable on or
                                  before the Effective Date will be paid in the ordinary course
                                  of business in accordance with the terms thereof.

                         (iii)    Voting: Class R-1 is Unimpaired. Pursuant to Bankruptcy
                                  Code section 1126(f), holders of Allowed Class R-1 Claims
                                  are conclusively presumed to accept the Plan.

               (b)      Class R-2 – Other Secured Claims

                         (i)      Classification: Class R-2 consists of all Allowed Other
                                  Secured Claims against the ResCap Debtors.


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                    (ii)     Treatment: In full and final satisfaction of the Other Secured
                             Claims in Class R-2, on or as soon as practicable after the
                             Effective Date, each holder of an Allowed Other Secured
                             Claim in Class R-2 shall receive one of the following
                             treatments on account of such Claim as determined by the
                             Plan Proponents prior to the Effective Date, or the Liquidating
                             Trust, following the Effective Date: (a) payment in full in
                             Cash, including any interest, at the non-default rate (or such
                             other rate as may be ordered by the Court), required to be paid
                             pursuant to section 506(b) of the Bankruptcy Code, or (b) the
                             collateral securing its Allowed Other Secured Claim.

                    (iii)    Voting: Class R-2 is Unimpaired. Pursuant to Bankruptcy
                             Code section 1126(f), holders of Allowed Class R-2 Claims
                             are conclusively presumed to accept the Plan.

          (c)      Class R-3 – Junior Secured Notes Claims

                    (i)      Classification: Class R-3 consists of all Allowed Junior
                             Secured Notes Claims against the ResCap Debtors.

                    (ii)     Treatment: In full and final satisfaction and release of the
                             Junior Secured Notes Claims in Class R-3, on or within one
                             (1) Business Day of the Effective Date, the Junior Secured
                             Notes Indenture Trustee shall receive the Junior Secured
                             Notes Distribution, which will thereafter be distributed
                             pursuant to Article VII.G.1 hereof.

                    (iii)    Voting: Class R-3 is Impaired. Holders of Allowed Class R-3
                             Claims are entitled to vote to accept or reject the Plan.

          (d)      Class R-4 – ResCap Unsecured Claims

                    (i)      Classification: Class R-4 consists of all Allowed ResCap
                             Unsecured Claims.

                    (ii)     Treatment: In full and final satisfaction of the ResCap
                             Unsecured Claims in Class R-4, as soon as practicable after
                             the Effective Date, each holder of an Allowed ResCap
                             Unsecured Claim in Class R-4 shall receive its Pro Rata Share
                             of the ResCap Debtors Unit Distribution.

                    (iii)    Voting: Class R-4 is Impaired. Holders of Allowed Class R-4
                             Claims are entitled to vote to accept or reject the Plan.

          (e)      Class R-5 – Borrower Claims



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                    (i)      Classification: Class R-5 consists of all Allowed Borrower
                             Claims against the ResCap Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Borrower
                             Claims in Class R-5, as soon as practicable after the Effective
                             Date, holders of Allowed Borrower Claims in Class R-5 shall
                             receive their allocated share of Cash available for distribution
                             from the Borrower Claims Trust, in accordance with the
                             methodology and procedures set forth in the Borrower Claims
                             Trust Agreement.

                    (iii)    Voting: Class R-5 is Impaired. Holders of Allowed Class R-5
                             Claims are entitled to vote to accept or reject the Plan.

          (f)      Class R-6 – Private Securities Claims

                    (i)      Classification: Class R-6 consists of all Allowed Private
                             Securities Claims against the ResCap Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Private
                             Securities Claims in Class R-6, as soon as practicable after the
                             Effective Date, holders of Allowed Private Securities Claims
                             in Class R-6 shall receive their allocated share of either (A)
                             Cash distributions from the Private Securities Claims Trust, or
                             (B) the Units transferred to the Private Securities Claims
                             Trust that constitute the Private Securities Claims Trust Unit
                             Distribution, in each case in accordance with the methodology
                             and procedures set forth in the Private Securities Claims Trust
                             Agreement.

                    (iii)    Voting: Class R-6 is Impaired. Holders of Allowed Class R-6
                             Claims are entitled to vote to accept or reject the Plan.

          (g)      Class R-7 – NJ Carpenters Claims

                    (i)      Classification: Class R-7 consists of all Allowed NJ
                             Carpenters Claims against the ResCap Debtors.

                    (ii)     Treatment: Subject to the NJ Carpenters Approval, in full and
                             final satisfaction of the NJ Carpenters Claims in Class R-7,
                             within ten (10) Business Days of the Effective Date, the lead
                             plaintiff, on behalf of holders of Allowed NJ Carpenters
                             Claims in Class R-7 shall receive the NJ Carpenters Claims
                             Distribution which will thereafter be distributed pursuant to
                             the NJ Carpenters Plan of Allocation. Absent the NJ
                             Carpenters Approval, Claims held by NJ Carpenters Class
                             Members, to the extent Allowed, shall be classified as


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                             General Unsecured Claims, which claims may be subject to
                             subordination.

                    (iii)    Voting: Class R-7 is Impaired. Holders of Allowed Class R-7
                             Claims are entitled to vote to accept or reject the Plan.

          (h)      Class R-8 – General Unsecured Convenience Claims

                    (i)      Classification: Class R-8 consists of all Allowed General
                             Unsecured Convenience Claims against the ResCap Debtors.

                    (ii)     Treatment: In full and final satisfaction of the General
                             Unsecured Convenience Claims in Class R-8, as soon as
                             practicable after the Effective Date, each holder of an
                             Allowed General Unsecured Convenience Claim in Class R-8
                             shall receive a distribution in Cash equal to 36.3% of such
                             holder’s Allowed Class R-8 Claim.

                    (iii)    Voting: Class R-8 is Impaired. Holders of Allowed Class R-8
                             Claims are entitled to vote to accept or reject the Plan.

          (i)      Class R-9 – Intercompany Balances

                    (i)      Classification: Class R-9 consists of all Intercompany
                             Balances against the ResCap Debtors.

                    (ii)     Treatment: On the Effective Date, Intercompany Balances
                             against the ResCap Debtors in Class R-9 shall be waived,
                             cancelled, and discharged. Holders of Intercompany Balances
                             in Class R-9 shall receive no recovery on account of their
                             Claims.

                    (iii)    Voting: Class R-9 is Impaired. Pursuant to Bankruptcy Code
                             section 1126(g), holders of Allowed Class R-9 Claims are
                             deemed to reject the Plan.

          (j)      Class R-10 – Equity Interests

                    (i)      Classification: Class R-10 consists of all Equity Interests in
                             the ResCap Debtors.

                    (ii)     Treatment: Holders of Equity Interests in Class R-10 shall
                             receive no recovery on account of such Equity Interests and
                             such Equity Interests shall be canceled on the Effective Date.

                    (iii)    Voting: Class R-10 is Impaired. Pursuant to Bankruptcy
                             Code section 1126(g), holders of Allowed Class R-10 Equity
                             Interests are deemed to reject the Plan.

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          (k)      Class R-11 – FHFA Claims

                    (i)      Classification: Class R-11 Consists of all FHFA Claims against
                             the ResCap Debtors.

                    (ii)     Treatment: Holders of FHFA Claims in Class R-11 shall waive
                             any recovery on account of such Claims.

                    (iii)    Voting: Class R-11 is Impaired. Holders of Allowed Class R-
                             11 Claims are entitled to vote to accept or reject the Plan.

          (l)      Class R-12 – Revolving Credit Facility Claims

                    (i)      Classification: Class R-12 consists of all Allowed Revolving
                             Credit Facility Claims against the ResCap Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Revolving
                             Credit Facility Claims in Class R-12, on the Effective Date,
                             any amounts paid under the Paydown Orders shall be
                             indefeasibly and finally approved and allowed; provided, that
                             on the Effective Date holders of Allowed Revolving Credit
                             Facility Claims in Class R-12 shall waive as against any
                             Debtor or Plan Trust any right to payment on account of the
                             Revolving Credit Facility Claims.

                    (iii)    Voting: Class R-12 is Impaired. Holders of Allowed Class R-
                             12 Claims are entitled to vote to accept or reject the Plan.

     2.   Claims Against and Equity Interests in the GMACM Debtors

          (a)      Class GS-1 – Other Priority Claims

                    (i)      Classification: Class GS-1 consists of all Allowed Other
                             Priority Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Other Priority
                             Claims in Class GS-1, on or as soon as practicable after the
                             Effective Date, each holder of an Allowed Other Priority
                             Claim in Class GS-1 shall receive one of the following
                             treatments on account of such Claim, as determined by the
                             Plan Proponents prior to the Effective Date, or the Liquidating
                             Trust, following the Effective Date: (a) payment in full in
                             Cash, or (b) treatment consistent with the provisions of
                             section 1129(a)(9) of the Bankruptcy Code; provided, that
                             Other Priority Claims that arise in the ordinary course of the
                             Debtors’ business and that are not due and payable on or
                             before the Effective Date will be paid in the ordinary course
                             of business in accordance with the terms thereof.

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                    (iii)    Voting: Class GS-1 is Unimpaired. Pursuant to Bankruptcy
                             Code section 1126(f), holders of Allowed Class GS-1 Claims
                             are conclusively presumed to accept the Plan.

          (b)      Class GS-2 – Other Secured Claims

                    (i)      Classification: Class GS-2 consists of all Allowed Other
                             Secured Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Other Secured
                             Claims in Class GS-2, on or as soon as practicable after the
                             Effective Date, each holder of an Allowed Other Secured
                             Claim in Class GS-2 shall receive one of the following
                             treatments on account of such Claim as determined by the
                             Plan Proponents prior to the Effective Date, or the Liquidating
                             Trust, following the Effective Date: (a) payment in full in
                             Cash, including any interest, at the non-default rate (or such
                             other rate as may be ordered by the Court), required to be paid
                             pursuant to section 506(b) of the Bankruptcy Code, or (b) the
                             collateral securing its Allowed Other Secured Claim.

                    (iii)    Voting: Class GS-2 is Unimpaired. Pursuant to Bankruptcy
                             Code section 1126(f), holders of Allowed Class GS-2 Claims
                             are conclusively presumed to accept the Plan.

          (c)      Class GS-3 – Junior Secured Notes Claims

                    (i)      Classification: Class GS-3 consists of all Allowed Junior
                             Secured Notes Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction and release of the
                             Junior Secured Notes Claims in Class GS-3, on or within one
                             (1) Business Day of the Effective Date, the Junior Secured
                             Notes Indenture Trustee shall receive the Junior Secured
                             Notes Distribution, which will thereafter be distributed
                             pursuant to Article VII.G.1 hereof.

                    (iii)    Voting: Holders of Allowed Class GS-3 Claims are unimpaired
                             and deemed to accept the Plan at the following GMACM
                             Debtors: Passive Asset Transactions, LLC; Residential
                             Mortgage Real Estate Holdings, LLC; Home Connects Lending
                             Services, LLC; GMACR Mortgage Products, LLC; ditech, LLC;
                             Residential Consumer Services, LLC; and GMAC Mortgage
                             USA Corporation. Holders of Allowed Class GS-3 Claims are
                             impaired and entitled to vote on the Plan at GMACM.

          (d)      Class GS-4A – GMACM Unsecured Claims


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                    (i)      Classification: Class GS-4A consists of all Allowed GMACM
                             Unsecured Claims (other than Allowed ETS Unsecured
                             Claims).

                    (ii)     Treatment: In full and final satisfaction of the GMACM
                             Unsecured Claims in Class GS-4A, as soon as practicable
                             after the Effective Date, each holder of an Allowed GMACM
                             Unsecured Claim in Class GS-4A shall receive its Pro Rata
                             Share of the GMACM Debtors Unsecured Unit Distribution,
                             provided, however, that, with respect to the distributions on
                             account of the Allowed RMBS Trust Claims, the holder shall
                             be the RMBS Claims Trust, and subsequent distributions of,
                             or on account of, such Units, shall be governed by Article
                             IV.C of the Plan.

                    (iii)    Voting: Class GS-4A is Impaired. Holders of Allowed Class
                             GS-4A Claims are entitled to vote to accept or reject the Plan.

          (e)      Class GS-4B – ETS Unsecured Claims

                    (i)      Classification: Class GS-4B consists of all Allowed ETS
                             Unsecured Claims.

                    (ii)     Treatment: In full and final satisfaction of the ETS Unsecured
                             Claims in Class GS-4B, as soon as practicable after the
                             Effective Date, each holder of an Allowed ETS Unsecured
                             Claim in Class GS-4B shall receive its Pro Rata Share of Cash
                             in an amount that is equal to the value, if any, of assets
                             available at ETS that exceed the amount of Allowed Claims
                             senior in right of payment to such Allowed ETS Unsecured
                             Claim against ETS.

                    (iii)    Voting: Class GS-4B is Impaired. Holders of Allowed Class
                             GS-4B Claims are entitled to vote to accept or reject the Plan.

          (f)      Class GS-5 – Borrower Claims

                    (i)      Classification: Class GS-5 consists of all Allowed Borrower
                             Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Borrower
                             Claims in Class GS-5, as soon as practicable after the
                             Effective Date, holders of Allowed Borrower Claims in Class
                             GS-5 shall receive their allocated share of Cash available for
                             distributions from the Borrower Claims Trust, in accordance
                             with the methodology and procedures set forth in the
                             Borrower Claims Trust Agreement.


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                    (iii)    Voting: Class GS-5 is Impaired. Holders of Allowed Class
                             GS-5 Claims are entitled to vote to accept or reject the Plan.

          (g)      Class GS-6 – Private Securities Claims

                    (i)      Classification: Class GS-6 consists of all Allowed Private
                             Securities Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Private
                             Securities Claims in Class GS-6, as soon as practicable after
                             the Effective Date, holders of Allowed Private Securities
                             Claims in Class GS-6 shall receive their allocated share of
                             either (A) Cash distributions from the Private Securities
                             Claims Trust, or (B) the Units transferred to the Private
                             Securities Claims Trust that constitute the Private Securities
                             Claims Trust Unit Distribution, in each case in accordance
                             with the methodology and procedures set forth in the Private
                             Securities Claims Trust Agreement.

                    (iii)    Voting: Class GS-6 is Impaired. Holders of Allowed Class
                             GS-6 Claims are entitled to vote to accept or reject the Plan.

          (h)      Class GS-7 – General Unsecured Convenience Claims

                    (i)      Classification: Class GS-7 consists of all Allowed General
                             Unsecured Convenience Claims against the GMACM
                             Debtors.

                    (ii)     Treatment: In full and final satisfaction of the General
                             Unsecured Convenience Claims in Class GS-7, as soon as
                             practicable after the Effective Date, each holder of an
                             Allowed General Unsecured Convenience Claim in Class GS-
                             7 shall receive a distribution in Cash equal to 30.1% of such
                             holder’s Allowed Class GS-7 Claim.

                    (iii)    Voting: Class GS-7 is Impaired. Holders of Allowed Class
                             GS-7 Claims are entitled to vote to accept or reject the Plan.

          (i)      Class GS-8 – Intercompany Balances

                    (i)      Classification: Class GS-8 consists of all Intercompany
                             Balances against the GMACM Debtors.

                    (ii)     Treatment: On the Effective Date, Intercompany Balances
                             against the GMACM Debtors in Class GS-8 shall be waived,
                             cancelled, and discharged. Holders of Intercompany Balances
                             in Class GS-8 shall receive no recovery on account of their
                             Claims.

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                    (iii)    Voting: Class GS-8 is Impaired. Pursuant to Bankruptcy Code
                             section 1126(g), holders of Allowed Class GS-8 Claims are
                             deemed to reject the Plan.

          (j)      Class GS-9 – Equity Interests

                    (i)      Classification: Class GS-9 consists of all Equity Interests in
                             the GMACM Debtors.

                    (ii)     Treatment: Holders of Equity Interests in Class GS-9 shall
                             receive no recovery on account of such Equity Interests and
                             such Equity Interests shall be canceled on the Effective Date.

                    (iii)    Voting: Class GS-9 is Impaired. Pursuant to Bankruptcy Code
                             section 1126(g), holders of Allowed Class GS-9 Equity
                             Interests are deemed to reject the Plan.

          (k)      Class GS-10 – Revolving Credit Facility Claims

                    (i)      Classification: Class GS-10 consists of all Allowed Revolving
                             Credit Facility Claims against the GMACM Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Revolving
                             Credit Facility Claims in Class GS-10, on the Effective Date,
                             any amounts paid under the Paydown Orders shall be
                             indefeasibly and finally approved and allowed; provided, that
                             on the Effective Date holders of Allowed Revolving Credit
                             Facility Claims in Class GS-10 shall waive as against any
                             Debtor or Plan Trust any right to payment on account of the
                             Revolving Credit Facility Claims.

                    (iii)    Voting: Class GS-10 is Impaired. Holders of Allowed Class
                             GS-10 Claims are entitled to vote to accept or reject the Plan.

     3.   Claims Against and Equity Interests in the RFC Debtors

          (a)      Class RS-1 – Other Priority Claims

                    (i)      Classification: Class RS-1 consists of all Allowed Other
                             Priority Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Other Priority
                             Claims in Class RS-1, on or as soon as practicable after the
                             Effective Date, each holder of an Allowed Other Priority
                             Claim in Class RS-1 shall receive one of the following
                             treatments on account of such Claim, as determined by the
                             Plan Proponents prior to the Effective Date, or the Liquidating
                             Trust, following the Effective Date: (a) payment in full in

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                             Cash, or (b) treatment consistent with the provisions of
                             section 1129(a)(9) of the Bankruptcy Code; provided, that
                             Other Priority Claims that arise in the ordinary course of the
                             Debtors’ business and that are not due and payable on or
                             before the Effective Date will be paid in the ordinary course
                             of business in accordance with the terms thereof.

                    (iii)    Voting: Class RS-1 is Unimpaired. Pursuant to Bankruptcy
                             Code section 1126(f), holders of Allowed Class RS-1 Claims
                             are conclusively presumed to accept the Plan.

          (b)      Class RS-2 – Other Secured Claims

                    (i)      Classification: Class RS-2 consists of all Allowed Other
                             Secured Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Other Secured
                             Claims in Class RS-2, on or as soon as practicable after the
                             Effective Date, each holder of an Allowed Other Secured
                             Claim in Class RS-2 shall receive one of the following
                             treatments on account of such Claim as determined by the
                             Plan Proponents prior to the Effective Date, or the Liquidating
                             Trust, following the Effective Date: (a) payment in full in
                             Cash, including any interest, at the non-default rate (or such
                             other rate as may be ordered by the Court), required to be paid
                             pursuant to section 506(b) of the Bankruptcy Code, or (b) the
                             collateral securing its Allowed Other Secured Claim.

                    (iii)    Voting: Class RS-2 is Unimpaired. Pursuant to Bankruptcy
                             Code section 1126(f), holders of Allowed Class RS-2 Claims
                             are conclusively presumed to accept the Plan.

          (c)      Class RS-3 – Junior Secured Notes Claims

                    (i)      Classification: Class RS-3 consists of all Allowed Junior
                             Secured Notes Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction and release of the
                             Junior Secured Notes Claims in Class RS-3, on or within one
                             (1) Business Day of the Effective Date, the Junior Secured
                             Notes Indenture Trustee shall receive the Junior Secured
                             Notes Distribution, which will thereafter be distributed
                             pursuant to Article VII.G.1 hereof.

                    (iii)    Voting: Holders of Allowed RS-3 Claims are unimpaired and
                             deemed to accept the Plan at the following RFC Debtors:
                             GMAC Model Home Finance I, LLC; DOA Holding Properties,
                             LLC; RFC Asset Holdings II, LLC; RFC Construction Funding,

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                             LLC; Residential Funding Real Estate Holdings, LLC;
                             Homecomings Financial Real Estate Holdings, LLC; Residential
                             Funding Mortgage Securities I, Inc.; RFC Asset Management,
                             LLC; RFC SFJV-2002, LLC; and RCSFJV2004, LLC. Holders
                             of Allowed RS-3 Claims are impaired and entitled to vote on the
                             Plan at RFC and Homecomings Financial, LLC.

          (d)      Class RS-4 – RFC Unsecured Claims

                    (i)      Classification: Class RS-4 consists of all Allowed RFC
                             Unsecured Claims.

                    (ii)     Treatment: In full and final satisfaction of the RFC Unsecured
                             Claims in Class RS-4, as soon as practicable after the
                             Effective Date, each holder of an Allowed RFC Unsecured
                             Claim in Class RS-4 shall receive its Pro Rata Share of the
                             RFC Debtors Unit Distribution; provided, however, that, with
                             respect to the distributions on account of the Allowed RMBS
                             Trust Claims, the holder shall be the RMBS Claims Trust, and
                             subsequent distributions of, or on account of, such Units,
                             shall be governed by Article IV.C of the Plan.

                    (iii)    Voting: Class RS-4 is Impaired. Holders of Allowed Class
                             RS-4 Claims are entitled to vote to accept or reject the Plan.

          (e)      Class RS-5 – Borrower Claims

                    (i)      Classification: Class RS-5 consists of all Allowed Borrower
                             Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Borrower
                             Claims in Class RS-5, as soon as reasonably practicable after
                             the Effective Date, holders of Allowed Borrower Claims in
                             Class RS-5 shall receive their allocated share of Cash
                             available for distributions from the Borrower Claims Trust, in
                             accordance with the methodology and procedures set forth in
                             the Borrower Claims Trust Agreement.

                    (iii)    Voting: Class RS-5 is Impaired. Holders of Allowed Class
                             RS-5 Claims are entitled to vote to accept or reject the Plan.

          (f)      Class RS-6 – Private Securities Claims

                    (i)      Classification: Class RS-6 consists of all Allowed Private
                             Securities Claims against the RFC Debtors

                    (ii)     Treatment: In full and final satisfaction of the Private
                             Securities Claims in Class RS-6, as soon as practicable after

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                             the Effective Date, holders of Allowed Private Securities
                             Claims in Class RS-6 shall receive their allocated share of
                             either (A) Cash distributions from the Private Securities
                             Claims Trust, or (B) the Units transferred to the Private
                             Securities Claims Trust that constitute the Private Securities
                             Claims Trust Unit Distribution, in each case in accordance
                             with the methodology and procedures set forth in the Private
                             Securities Claims Trust Agreement.

                    (iii)    Voting: Class RS-6 is Impaired. Holders of Allowed Class
                             RS-6 Claims are entitled to vote to accept or reject the Plan.

          (g)      Class RS-7 – NJ Carpenters Claims

                    (i)      Classification: Class RS-7 consists of all Allowed NJ
                             Carpenters Claims against the RFC Debtors.

                    (ii)     Treatment: Subject to the NJ Carpenters Approval, in full and
                             final satisfaction of the NJ Carpenters Claims in Class RS-7,
                             within ten (10) Business Days of the Effective Date, the lead
                             plaintiff, on behalf of holders of Allowed NJ Carpenters
                             Claims in Class RS-7 shall receive the NJ Carpenters Claims
                             Distribution which will thereafter be distributed pursuant to
                             the NJ Carpenters Plan of Allocation. Absent the NJ
                             Carpenters Approval, Claims held by NJ Carpenters Class
                             Members, to the extent Allowed, shall be classified as
                             General Unsecured Claims, which claims may be subject to
                             subordination.

                    (iii)    Voting: Class RS-7 is Impaired. Holders of Allowed Class
                             RS-7 Claims are entitled to vote to accept or reject the Plan.

          (h)      Class RS-8 – General Unsecured Convenience Claims

                    (i)      Classification: Class RS-8 consists of all Allowed General
                             Unsecured Convenience Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction of the General
                             Unsecured Convenience Claims in Class RS-8, as soon as
                             practicable after the Effective Date, each holder of an
                             Allowed General Unsecured Convenience Claim in Class RS-
                             8 shall receive a distribution in Cash equal to 9.0% of such
                             holder’s Allowed Class RS-8 Claim.

                    (iii)    Voting: Class RS-8 is Impaired. Holders of Allowed Class
                             RS-8 Claims are entitled to vote to accept or reject the Plan.

          (i)      Class RS-9 – Intercompany Balances

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                    (i)      Classification: Class RS-9 consists of all Intercompany
                             Balances against the RFC Debtors.

                    (ii)     Treatment: On the Effective Date, Intercompany Balances
                             against the RFC Debtors in Class RS-9 shall be waived,
                             cancelled, and discharged. Holders of Intercompany Balances
                             against the RFC Debtors in Class RS-9 shall receive no
                             recovery on account of their Claims.

                    (iii)    Voting: Class RS-9 is Impaired. Pursuant to Bankruptcy Code
                             section 1126(g), holders of Allowed Class RS-9 Claims are
                             conclusively deemed to reject the Plan.

          (j)      Class RS-10 – Equity Interests

                    (i)      Classification: Class RS-10 consists of all Equity Interests in
                             the RFC Debtors.

                    (ii)     Treatment: Holders of Equity Interests in Class RS-10 shall
                             receive no recovery on account of such Equity Interests and
                             such Equity Interests shall be canceled on the Effective Date.

                    (iii)    Voting: Class RS-10 is Impaired. Pursuant to Bankruptcy
                             Code section 1126(g), holders of Allowed Class RS-10 Equity
                             Interests are conclusively deemed to reject the Plan.

          (k)      Class RS-11 – FHFA Claims

                    (i)      Classification: Class RS-11 consists of all FHFA Claims against
                             the RFC Debtors.

                    (ii)     Treatment: Each holder of an Allowed FHFA Claim in Class
                             RS-11 shall receive a distribution in Cash equal to 2.0% of
                             such holder’s Allowed FHFA Claim in Class RS-11 on the
                             Effective Date.

                    (iii)    Voting: Class RS-11 is Impaired. Holders of Allowed Class
                             RS-11 Claims are entitled to vote to accept or reject the Plan.

          (l)      Class RS-12 – Revolving Credit Facility Claims

                    (i)      Classification: Class RS-12 consists of all Allowed Revolving
                             Credit Facility Claims against the RFC Debtors.

                    (ii)     Treatment: In full and final satisfaction of the Revolving
                             Credit Facility Claims in Class RS-12, on the Effective Date,
                             any amounts paid under the Paydown Orders shall be
                             indefeasibly and finally approved and allowed; provided, that

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                               on the Effective Date holders of Allowed Revolving Credit
                               Facility Claims in Class RS-12 shall waive as against any
                               Debtor or Plan Trust any right to payment on account of the
                               Revolving Credit Facility Claims.

                       (iii)   Voting: Class RS-12 is Impaired. Holders of Allowed Class
                               RS-12 Claims are entitled to vote to accept or reject the Plan.

E.     Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and Equity
Interests and the respective distributions and treatments under the Plan take into account the
relative priority and rights of the Claims and Equity Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether
arising under general principles of equitable subordination, section 510(b) of the Bankruptcy
Code, or otherwise. For purposes of Bankruptcy Rule 7001(8), the Plan provides for
subordination. The Plan Proponents, prior to the Effective Date, or the Liquidating Trust
(and the Borrower Trust with respect to Borrower Claims), following the Effective Date,
reserve the right to subordinate any Claim or Equity Interest, other than the Consenting
Claimants’ Allowed Claims, the NJ Carpenters Claims (assuming the NJ Carpenters
Approval), the Allowed Private Securities Claims, and the Ally Contract Claims, in
accordance with any contractual, legal, or equitable subordination relating thereto under the
Bankruptcy Code as long as such treatment is consistent with the Plan Support Agreement.
An initial list of Claims proposed to be subordinated under the Plan shall be set forth in the
Plan Supplement, without prejudice to the right of the Plan Proponents or Liquidating Trust
(and the Borrower Trust with respect to Borrower Claims), as the case may be, to seek to
subordinate additional Claims. Subordinated Claims shall not receive a distribution under
the Plan until all senior Allowed Claims are paid in full.

F.     Distributions on Account of Allowed Claims and Interests

        Except as otherwise provided in this Plan, on the Effective Date or as soon as
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the
date that such a Claim becomes an Allowed Claim, or as soon as reasonably practicable
thereafter), each holder of an Allowed Claim against the Debtors shall receive the
distributions that this Plan provides for Allowed Claims in the applicable Class from either
the Liquidating Trust, RMBS Claims Trust, Borrower Claims Trust, or Private Securities
Claims Trust, as applicable and as set forth below. Distributions on account of Disputed
Claims of Liquidating Trust Unit Beneficiaries that become Allowed shall be made from the
Disputed Claims Reserve pursuant to the Plan. Except as otherwise provided herein, holders
of Claims shall not be entitled to interest, dividends, or accruals on the distributions
regardless of whether such distributions are delivered on or at any time after the Effective
Date.

G.     Elimination of Vacant Classes



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       Any Class of Claims or Equity Interests that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Equity Interest that is
Allowed in an amount greater than zero for voting purposes shall be considered vacant,
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan, and
disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the
Bankruptcy Code with respect to that Class.

H.     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
       Code

`       Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of
Confirmation by acceptance of the Plan by an Impaired Class of Claims. The Plan Proponents
shall seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with
respect to any rejecting Class of Claims or Equity Interests.

                                       ARTICLE IV.

                           IMPLEMENTATION OF THE PLAN

A.     Global Settlement

       Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, the
Plan incorporates a compromise and settlement of numerous inter-Debtor, Debtor-Creditor
and inter-Creditor issues designed to achieve an economic settlement of Claims against the
Debtors and Ally and an efficient resolution of these Chapter 11 Cases. This Global
Settlement constitutes a settlement of the potential litigation of issues including substantive
consolidation, the validity and enforceability of Intercompany Balances, the allocation of the
Available Assets, the amount and allocation of certain disputed Unsecured Claims, in
addition to the resolution of extensive litigation, Claims, and potential Claims against Ally.
The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
each of the following compromises or settlements and all other compromises and
settlements provided for herein, and the Bankruptcy Court’s findings shall constitute its
determination that such compromises and settlements are in the best interests of the Debtors,
their Estates, Creditors, the RMBS Trusts, Investors, and other parties-in-interest, and are
fair, equitable, and within the range of reasonableness. Each provision of the Global
Settlement shall be deemed non-severable from each other and from the remaining terms of
the Plan. As set forth in detail herein, the Global Settlement will be implemented as
follows:

       a)      The Ally Contribution will be paid to the Estates in accordance with the Plan
and will be allocated by the Plan Proponents, consistent with the terms of Articles II and III
herein, as follows:

                  Entity                                   Allocation
                  ResCap Debtors                            $782.74 million
                  GMACM Debtors                             $462.32 million
                  RFC Debtors                               $462.32 million

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                  Private Securities Claims Trust           $235.00 million
                  Borrower Claims Trust                      $57.62 million
                  NJ Carpenters Claims Distribution         $100.00 million
                  TOTAL                                       $2.10 billion


       b)     Administrative Claims shall be allocated among the ResCap Debtors, the
GMACM Debtors and the RFC Debtors in accordance with the Plan Support Agreement.
Of the projected Administrative Claims of $1,086.2 million, $836.3 million shall be
allocated to the GMACM Debtors, and $249.8 million shall be allocated to the RFC
Debtors. Any variation in the amount of the Administrative Claims above or below
$1,086.2 million shall be borne or realized by the Liquidating Trust.

      c)     On the Effective Date, the Borrower Claims Trust will be funded with the
Borrower Claims Trust Assets for the benefit of holders of Borrower Claims. Holders of
Borrower Claims shall receive their allocated share of the Borrower Claims Trust Assets in
accordance with the methodology and procedures set forth in the Borrower Claims Trust
Agreement.

       d)      On or as soon as practicable after the Effective Date, the Private Securities
Claims Trust shall be funded with the Private Securities Claims Trust Unit Distribution, for
the benefit of Private Securities Claimants. Private Securities Claimants shall receive their
allocable share of Cash distributions received by the Private Securities Claims Trust from
the Liquidating Trust in respect of the Private Securities Claims Trust Unit Distribution, and
shall not be required to tender or surrender the RMBS underlying their Private Securities
Claims.

       e)      The RMBS Settlement is incorporated in the Plan and shall become effective
on the Effective Date.

        f)     The Monoline Claims Settlement is incorporated in the Plan and shall become
effective on the Effective Date.

        g)    A settlement of the Allowed amounts and treatment of the Claims held by the
Settling Private Securities Claimants for voting purposes is incorporated in the Plan and
shall become effective on the Effective Date.

      h)      Subject to the NJ Carpenters Approval, the amount of the NJ Carpenters
Claims Distribution is incorporated in the Plan and shall become effective on the Effective
Date.

        i)     Subject to approval of the Kessler Settlement Agreement by the Bankruptcy
Court, a settlement of the Allowed amount and treatment of the Claims of the Kessler Class
Claimants pursuant to the Kessler Settlement Agreement is incorporated in the Plan and
shall become effective on the Effective Date.




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       j)    A settlement of potential Claims, whether liquidated or unliquidated, of the
Senior Unsecured Noteholders and of the Senior Unsecured Notes Indenture Trustee shall
become effective on the Effective Date.

      k)      As agreed upon among the Consenting Claimants, the Junior Secured Notes
Claims shall be allocated among the Debtors;

      l)      Holders of the Junior Secured Notes Claims shall receive the Junior Secured
Notes Distribution on account of the Junior Secured Notes Claims;

      m)      The GMACM Debtors and the RFC Debtors shall waive and release all
subrogation claims against the ResCap Debtors.

        n)      Each Debtor agrees to compromise Intercompany Balances and such Claims shall
not be entitled to receive any recovery under the Plan.

B.     Ally Settlement

        Ally shall pay the Estates the Ally Contribution in accordance with the Plan. In exchange
for Ally’s contributions to the Chapter 11 Cases, including the Ally Contribution, Ally shall be
entitled to the following consideration:

       a)      Debtor Releases;

       b)      Third Party Releases;

         c)      Settlement of Debtors’ Rights to and Under Settlement Insurance Policies: The
Debtors (i) agree to permit Ally exclusively to recover under the Settlement Insurance Policies;
(ii) relinquish in favor of Ally and its Representatives all coverage that might otherwise belong
to, or inure to the benefit of, the Debtors under such Settlement Insurance Policies; (iii) shall, at
Ally’s discretion, assign, and seek an Order of the Bankruptcy Court permitting the assignment,
to Ally of any and all of the Debtors’ rights under the Settlement Insurance Policies with respect
to any claims made against the Debtors or their Representatives prior to or during the
bankruptcy, including each of the claims set forth on a schedule to Exhibit B to the Plan Support
Agreement; and (iv) shall cooperate fully with Ally, in order to help maximize Ally’s recovery
under the Settlement Insurance Policies with respect to claims against the Debtors or their
Representatives.

       The Debtors shall retain their rights as insureds under the existing Ally general liability
and workers’ compensation insurance policies for bodily injury and property damage claims to
the extent covered by those insurance policies. By the Effective Date, the Debtors shall be
required to have purchased their own insurance policies (including general liability and workers’
compensation insurance) to cover all risks of loss, damage or injury (including bodily injury and
property damage) occurring on or after the Effective Date. For the avoidance of doubt, there is
no obligation for Ally to provide insurance under the Plan, or otherwise.

       Notwithstanding anything to the contrary herein, nothing in the Plan or Confirmation
Order shall release, enjoin, or preclude any Representative of the Debtors from pursuing any

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rights a Representative of the Debtors may have (i) to indemnification or advancement from Ally
solely for any claims that are not released by the Plan and the Confirmation Order; or (ii) as an
“insured” under any insurance coverage purchased by Ally or covering Representatives of the
Debtors, or against any party (other than the Debtors) arising out of such policies of insurance,
solely for any claims that are not released herein and in the Confirmation Order. For the
avoidance of doubt, nothing in this Plan expands or reduces any existing indemnification rights
or rights as an “insured” for any Representative of the Debtors for claims that are not released by
the Plan.

        For the avoidance of doubt, the releases in the Plan shall not extend to any rights,
defenses, or counterclaims, under any directors & officers or errors & omissions insurance
policies sold by any of the Consenting Claimants or their affiliates and covering either Debtors
or any of the Ally Released Parties. Nor do the releases herein extend to any indemnity rights
against non-Ally Released Parties arising out of the Kessler Class Action or to any other
indemnity right against non-Ally Released Parties arising out of any other claims of Borrowers;
specifically, the releases do not extend to any indemnity rights RFC may have against any non-
Ally Released Party that is a successor in interest to CBNV and GNBT, including, but not
limited to, those indemnity rights extending out of the Client Contracts between RFC, on the one
hand, and either CBNV or GNBT, on the other hand, which incorporate by reference the
indemnity provisions of RFC’s AlterNet Seller Guide.

         No rights of the Consenting Claimants are released under the Plan in their capacity as
liability insurance or reinsurance carriers for Ally or the Debtors, to the extent applicable. In
addition, nothing herein or in the Confirmation Order shall impair any of the Debtors’ or any
Borrower or former Borrower’s rights or remedies (including the GM Insurance Rights) under or
with respect to insurance policies other than the Settlement Insurance Policies (as assigned in the
Plan), including but not limited to the GM Policies.

       With respect to the Settlement Insurance Policies, the Confirmation Order shall contain
language regarding the settlement of insurance that is reasonably acceptable to Ally, the Plan
Proponents, and the Consenting Claimants.

        d)     Release of Funds: On the Effective Date, the Debtors will (i) transfer the funds
held in the Ally Indemnity Escrow Account to Ally, and (ii) remit the Misdirected Funds to Ally,
and Ally shall release the approximately $1.787 million in Cash that was overfunded by the
Debtors prior to the Petition Date and which is currently held by Ally.

        e)      Regulatory Obligations: Through the Effective Date, the Debtors shall perform all
respective obligations under the DOJ/AG Settlement, the Consent Order, and the Order of
Assessment, including, for the avoidance of doubt, satisfying the settlement of the foreclosure
review obligations under the Consent Order, fulfilling all specific performance obligations, and
satisfying all monetary obligations in full in Cash; provided, however, that the Debtors shall not
be obligated to perform those obligations under the DOJ/AG Settlement and the Consent Order
that Ocwen or Walter is obligated to perform under the Ocwen APA. On and after the Effective
Date, the Liquidating Trust shall assume all rights and perform all obligations of the Debtors
under the Ocwen APA, the DOJ/AG Settlement, the Consent Order, and the Order of
Assessment (including as set forth above) other than those obligations under the DOJ/AG

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Settlement and the Consent Order that Ocwen or Walter is obligated to perform under the Ocwen
APA. For the avoidance of doubt, as of the Effective Date, Ally shall have no obligations under
the Consent Order and the Order of Assessment; any monetary obligations of Ally under the
DOJ/AG Settlement are governed by Article IX.D, IX.E and IX.I of the Plan. Nothing set forth
herein is intended to or shall be deemed to modify any right or obligation of Ocwen or Walter
with respect to the DOJ/AG Settlement and the Consent Order, each of which shall be governed
in all respects by the provisions of the Ocwen APA.

        f)     Treatment of Ally Contract Claims. On the Effective Date, the Ally Contract
Claims shall be presumptively Allowed in full and the Debtors shall pay such Claims in full in
Cash. The parties to the Ally Contracts shall perform under such contracts in accordance with
the terms of such contracts and orders of the Bankruptcy Court. For the avoidance of doubt, the
parties’ performance under each Ally Contract shall terminate in accordance with the terms of
such contract and orders of the Bankruptcy Court, subject to an agreement among the Debtors,
the Creditors’ Committee, and Ally to otherwise terminate such contract. Ally shall provide to
the Plan Proponents a good-faith estimate of the Ally Contract Claims on or about August 15,
2013; and every month thereafter until the Effective Date, provided, for the avoidance of doubt,
such estimate shall be non-binding on Ally and subject to change. Except with respect to the
Debtors’ and the Liquidating Trust’s obligations to Ally as specifically set forth in the Plan
(including their obligations to perform under the Ally Contracts in accordance with their terms),
on and after the Effective Date the Debtors and the Plan Trusts shall have no other obligations to
the Ally Released Parties. In the event that before Confirmation of the Plan, Ally identifies
claims that arose prior to the Petition Date under the Ally Contracts, the Plan Proponents and
Ally agree to negotiate in good faith with respect to the treatment of such claims under the Plan.
 Nothing herein will be deemed an assumption of the Ally Contracts.

        The consideration set forth above and the rights and obligations accorded elsewhere in
this Plan to Ally shall constitute the compromise and settlement under Bankruptcy Rule 9019
and section 1123 of the Bankruptcy Code in exchange for the consideration provided by Ally,
and shall further constitute the Bankruptcy Court’s finding that such consideration to Ally is:
(1) in exchange for the good, valuable and substantial consideration from the Ally Released
Parties; (2) in the best interests of the Debtors, the Estates, the Liquidating Trust and all holders
of Claims and Equity Interests; (3) a good faith settlement and compromise of the claims
released under the Plan; (4) fair, equitable and reasonable; (5) given and made after due notice
and opportunity for a hearing; (6) justified by truly unusual circumstances; (7) an essential
component and critical to the success of the Plan; (8) resulting in distributions to the creditors
that would otherwise have been unavailable; (9) the result of an identity of interest between the
Debtors and the Ally Released Parties regarding the Plan; and (10) a bar to the Debtors, the
Liquidating Trust, in the case of the Debtor Releases, and any party asserting a claim or cause of
action released against any of the Ally Released Parties in connection with the Third Party
Release.

C.     RMBS Settlement

       Entry of the Confirmation Order, pursuant to Bankruptcy Rule 9019 and section 1123 of
the Bankruptcy Code, shall constitute approval of the RMBS Settlement, on terms set forth
herein. The Global Settlement constitutes a good faith compromise and settlement of all

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objections to the Original RMBS Settlement Agreements by the Creditors’ Committee and
Consenting Claimants, as applicable, and all such objections shall be deemed withdrawn with
prejudice upon entry of the Confirmation Order.

       1.     Modification of Original RMBS Settlement Agreements. The Original RMBS
Settlement Agreements are hereby expanded to include all RMBS Trusts holding RMBS Trust
Claims and are otherwise modified as set forth herein.

        2.      Allowance of RMBS Trust Claims and Distribution of Units to the RMBS Claims
Trust for the benefit of the RMBS Trusts.

                (a)    Entry of the Confirmation Order shall constitute approval of the Allowed
amount of the RMBS Trust Claims as non-subordinated Unsecured Claims, subject only to the
Allowed Fee Claim, in the aggregate amounts of (i) $209.8 million against the GMACM
Debtors; (ii) $7,091.2 million against the RFC Debtors; and (iii) $0 against the ResCap Debtors.
On account of the Allowed RMBS Trust Claims, the RMBS Claims Trust shall receive (i) its Pro
Rata Share of the GMACM Debtors Unit Distribution (the “GMACM Pool”) and (ii) its Pro
Rata Share of the RFC Debtors Unit Distribution (the “RFC Pool”), provided, however, 5.7%
of the Allowed RMBS Trust Claims, including the Units to be distributed on account thereof
(and any Distributable Cash thereon), shall be directly allocated to counsel for the Institutional
Investors, without conveyance to the RMBS Claims Trust, the RMBS Trustees, or the RMBS
Trusts, as the Allowed Fee Claim, in accordance with Article IV.C.6 of this Plan.

               (b)    Notwithstanding anything to the contrary contained in the Plan, including
but not limited to the approval of the Allowed amounts of the Claims held by RMBS Trust
against the GMACM Debtors, the RFC Debtors and the ResCap Debtors described in the
preceding paragraph, the Units distributed to the RMBS Claims Trust shall be reallocated in
accordance with Section 3 below.

        3.     RMBS Trust Allocation Protocol. The Units distributed to the RMBS Claims
Trust, pursuant to Article IV.C.2(a) shall be re-allocated between the GMACM Pool and the
RFC Pool as provided in subparagraph (b) below, and subsequent distributions from the RMBS
Claims Trust of such Units or Distributable Cash received from the Liquidating Trust as
distributions on such Units, as so reallocated, shall be made to the RMBS Trusts pursuant to
subparagraphs (c) and (d) below. In no event shall the provisions of this paragraph 3 entitle the
RMBS Claims Trust to a distribution any more or any less than the Units described in Article
IV.C.2(a), Article III or other applicable provisions of the Plan.

               (a)         Recognized RMBS Trust Claims.

                     (i)      Recognized Cure Claims. For each RMBS Trust whose Servicing
                              Agreement was assumed by the applicable Debtor, the Recognized
                              cure claims for servicing damages against any of the GMACM
                              Debtors are listed on Schedule 1-G (the “GMACM Recognized Cure
                              Claims”) and the Recognized Cure Claims for Servicing Damages
                              against any of the RFC Debtors are listed on Schedule 1-R (the “RFC
                              Recognized Cure Claims”, together with the GMACM Recognized

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                      Cure Claims, the “Recognized Cure Claims”). The Recognized Cure
                      Claims do not include servicing damage claims arising under any
                      Servicing Agreement that was not assumed by the applicable Debtor
                      by the Effective Date pursuant to a Final Order, for any reason,
                      including the following: (a) prior to the Petition Date, the applicable
                      Debtors transferred all of its servicing obligations for the RMBS Trust
                      to a non-Debtor servicer; (b) prior to the Petition Date, the applicable
                      Debtor ceased servicing all mortgage loans in the RMBS Trust, either
                      because the RMBS Trust was wound up or otherwise; or (c) after the
                      Petition Date, the applicable Debtor chose not to assume the Servicing
                      Agreement.

              (ii)    Recognized R+W Claims

                      (1)   Recognized Original R+W Claims. For each of the Original
                            Settling RMBS Trusts, the Recognized R+W Claims against
                            GMACM are listed on Schedule 2-G (the “GMACM
                            Recognized Original R+W Claims”) and the Recognized R+W
                            claims against RFC are listed on Schedule 2-R (the “RFC
                            Recognized Original R+W Claims,” together with the GMACM
                            Recognized Original R+W Claims, the “Recognized Original
                            R+W Claims”).

                      (2)   Recognized Additional R+W Claims. For each of the Additional
                            Settling RMBS Trusts, the Recognized R+W Claims against
                            GMACM are listed on Schedule 3-G (the “GMACM
                            Recognized Additional R+W Claims”) and the Recognized
                            R+W Claims against RFC are listed on Schedule 3-R (the “RFC
                            Recognized Additional R+W Claims,” together with the
                            GMACM Recognized Additional R+W Claims, the
                            “Recognized Additional R+W Claims”).

              (iii)   Recognized Unsecured Servicing Claims. For each RMBS Trust
                      whose Servicing Agreement was not assumed by the applicable Debtor
                      by the Effective Date pursuant to a Final Order, the Recognized
                      Unsecured Claims for servicing damages against GMACM are listed
                      on Schedule 4-G (the “GMACM Recognized Unsecured Servicing
                      Claims”), and the Recognized Unsecured Claims for servicing
                      damages against RFC are listed on Schedule 4-R (the “RFC
                      Recognized Unsecured Servicing Claim,” together with the GMACM
                      Recognized Unsecured Servicing Claim, the “Recognized Unsecured
                      Servicing Claims”).

              (iv)    Effect of Monoline Insurance on Recognized Claims. If an RMBS
                      Trust (i) is an Insured RMBS Trust and (ii) has made policy claims
                      against its Monoline and as of the Effective Date has received full
                      payment of such claims, the Recognized Claim of such RMBS Trust

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                                 will be set to zero, unless (a) such Insured RMBS Trust is one for
                                 which the sum of the net unreimbursed insurance payments, the
                                 accrued and unpaid losses, and projected future policy payments is
                                 zero or close to zero, (b) such Insured RMBS Trust contains one or
                                 more unwrapped tranches of securities that rank senior or equal in
                                 priority to tranches insured by a Monoline, in which case the portion
                                 of such Insured RMBS Trust’s Claims allocable to such unwrapped
                                 tranches shall not be set to zero (or, when applicable to the following
                                 sentence, shall not be reduced) and any distribution on such
                                 unwrapped tranches shall be allocable only to such unwrapped
                                 tranches, or (c) the RMBS Trustees, with the advice of Duff,
                                 reasonably determine that, based on a particular RMBS Trust’s
                                 structure, it would be unfair or inequitable to set the Recognized Claim
                                 to zero or, when applicable to the following sentence, it would be
                                 unfair to reduce the Recognized Claim (each of (a), (b) or (c), an
                                 “Insured Exception”), in each case as determined by Duff. If an
                                 RMBS Trust (i) is an Insured RMBS Trust and (ii) has made policy
                                 claims against its Monoline and, as of the Effective Date has not
                                 received full payment of such claims, the Recognized Claims of such
                                 RMBS Trusts will be reduced to take into account the value of partial
                                 payments made (or expected to be made) by such Monoline, if any, on
                                 such claims, unless an Insured Exception applies as determined by
                                 Duff as of the Effective Date.

                        (v)      Necessity of a Timely Filed Proof of Claim. An RMBS Trust will not
                                 have any Recognized Claim unless a Proof of Claims asserting an
                                 RMBS R+W Claim or an RMBS Cure Claim, as applicable, was
                                 timely filed for that RMBS Trust.

               (b)     Reallocation of Units from the RFC Pool to the GMACM Pool. The
number of Units distributed to the GMACM Pool and the RFC Pool is a function of the approval
of the Allowed Amounts of the Unsecured Claims held by the RMBS Trusts against the Debtor
Groups as provided in Article IV.C.3(a), but, as an integral part of the RMBS Settlement, the
Units to be held in the GMACM Pool and the RFC Pool shall be determined based on the
amount of the GMACM Recognized Cure Claims, the RFC Recognized Cure Claims, the
GMACM Recognized Original R+W Claims, the RFC Recognized Original R+W Claims, the
GMACM Recognized Additional R+W Claims, the RFC Recognized Additional R+W Claims,
the GMACM Recognized Servicing Claims and the RFC Recognized Servicing Claims. Based
on calculations prepared by Duff (taking into account the allocation of the Allowed Fee Claim),
2,949,494 Units3 (together with any cash distributions, if any, on such Units made prior to the
reallocation of Units contemplated by this paragraph) shall be moved from the RFC Pool to the
GMACM Pool.

             (c)  Allocations of Units in the GMACM Pool to RMBS Trusts with Recognized
Claims against GMACM. For purposes of allocations of Units held in the GMACM Pool to
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    Subject to adjustment after the Unit Issuance Percentages are adjusted as contemplated by Art. IV.K.

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RMBS Trusts having Recognized Claims against GMACM, Duff shall calculate the aggregate
value of each such RMBS Trust’s Recognized Claims as of the Effective Date as follows: (i)
GMACM Recognized Cure Claims shall be valued at 100% of the GMACM Recognized Cure
Claims, if any, for such RMBS Trust shown on the applicable RMBS Trust Claims Schedules;
(ii) GMACM Recognized Original R+W Claims, GMACM Recognized Additional R+W Claims
and GMACM Recognized Unsecured Servicing Claims of such RMBS Trust, if any, will be
valued at 16.7%4 of the GMACM Recognized Original R+W Claims, GMACM Recognized
Additional R+W Claims, and GMACM Recognized Unsecured Servicing Claims shown on the
applicable RMBS Trust Claims Schedules; and (iii) the values so calculated will be summed for
each such RMBS Trust (the “GMACM Weighted Claim”). All distributions from the RMBS
Claims Trust from the GMACM Pool to RMBS Trusts with Recognized Claims against
GMACM will be based on the percentage that such RMBS Trust’s GMACM Weighted Claim
has to the total of all of the GMACM Weighted Claims.

              (d)    Allocations of Units in the RFC Pool to RMBS Trusts with Recognized
Claims against RFC. For purposes of allocations of Units held in the RFC Pool to RMBS Trusts
having Recognized Claims against RFC, Duff shall calculate the aggregate value of each such
RMBS Trust’s Recognized Claims as of the Effective Date as follows: (i) RFC Recognized Cure
Claims shall be valued at 100% of the RFC Recognized Cure Claims, if any, for such RMBS
Trust shown on the applicable RMBS Trust Claims Schedules, (ii) RFC Recognized Original
R+W Claims, RFC Recognized Additional R+W Claims and RFC Recognized Unsecured
Servicing Claims of such RMBS Trust, if any, will be valued at 5.34%5 of the RFC Recognized
Original R+W Claims, RFC Recognized Additional R+W Claims, and RFC Recognized
Unsecured Servicing Claims shown on the applicable RMBS Trust Claims Schedules, and (iii)
the values so calculated will be summed for each such RMBS Trust (the “RFC Weighted
Claim”). All distributions from the RMBS Claims Trust from the RFC Pool to RMBS Trusts
with Recognized Claims against RFC will be based on the percentage that such RMBS Trust’s
RFC Weighted Claim has to the total of all of the RFC Weighted Claims.

                (e)    Distributions as Subsequent Recoveries. All distributions from the
GMACM Pool or the RFC Pool on account of any Recognized RMBS Claim shall be treated as
“Subsequent Recoveries,” as that term is defined in the applicable governing agreement for that
RMBS Trust; provided that if the governing agreement for a particular RMBS Trust does not
include the term “Subsequent Recovery,” the distribution resulting from any Recognized Claim
shall be distributed as though it was unscheduled principal available for distribution on that
distribution date; provided, however, that should the Bankruptcy Court determine that a different
treatment is required to conform the distributions to the requirements of the governing
agreements, that determination shall govern and shall not constitute a material change to this
Plan. Notwithstanding the forgoing or anything to the contrary in any governing agreement, no
distributions from the GMACM Pool or the RFC Pool will be paid over to any Monoline.

       4.       Monoline Reservation. Each Insured RMBS Trust shall retain the ability to
enforce its rights, in the Bankruptcy Court or otherwise, against any Monoline (other than FGIC)

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    Subject to adjustment after the Unit Issuance Percentages are adjusted as contemplated by Art. IV.K.
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    Subject to adjustment after the Unit Issuance Percentages are adjusted as contemplated by Art. IV.K.

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that does not, in the future, perform in accordance with an insurance policy for the benefit of that
RMBS Trust.

        5.     RMBS Trustee Fees and Expenses. In addition to distributions made on account of
RMBS Trust Claims, the RMBS Trustees will be paid in full in Cash on the Effective Date for
their reasonable pre- and post-petition fees and expenses, pursuant to the provisions of and
subject to the procedures set forth in the Final Supplemental Order (I) Authorizing the Debtors
to Continue Implementing Loss Mitigation Programs; (II) Approving Procedures for
Compromise and Settlement of Certain Claims, Litigations and Causes of Action; (III) Granting
Limited Stay Relief to Permit Foreclosure and Eviction Proceedings, Borrower Bankruptcy
Cases, and Title Disputes to Proceed; and (IV) Authorizing and Directing the Debtors to Pay
Securitization Trustee Fees and Expenses [Docket No. 774], and the Order under 11 U.S.C. §§
105, 363, and 365, and Fed Bankr. P. 2002, 6004, 6006, and 9014 (I) Approving (A) Sale of
Debtors’ Assets Pursuant to Asset Purchase Agreement with Ocwen Loan Servicing, LLC; (B)
Sale of Purchased Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests;
(C) Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Thereto;
(D) Related Agreements; and (II) Granting Related Relief [Docket No. 2246] (the “Sale Order”),
which provisions and procedures will also apply to HSBC. The RMBS Trustees may be
reimbursed for their reasonable fees and expenses associated with making distributions and
taking other actions required under the Plan following the Effective Date in accordance with the
provisions of the applicable pooling and servicing agreements, including but not limited to
pooling and servicing agreements assumed by the Debtors and assigned to the purchaser/assignee
of same. For the avoidance of doubt, the foregoing shall not modify the terms of the Sale Order.

        6.      Allowed Fee Claim. The Plan Supplement sets forth the stipulated amounts of the
Allowed Fee Claim. On the Effective Date or as soon as practicable thereafter, the Liquidating
Trust shall distribute Units on account of the Allowed Fee Claim to counsel for the Institutional
Investors. For the avoidance of doubt, the amount of the Allowed Fee Claim shall reduce the
total Units (and Cash distributed thereon) by the Liquidating Trust on account of RMBS Trust
Claims to the RMBS Claims Trust, and shall have no impact on any other party entitled to a
distribution under this Plan. The Allowed Fee Claim payable to counsel for the Institutional
Investors may be reduced to separate claim stipulations for the convenience of the parties subject
to the terms of the Plan.

        7.      Affirmative Findings. The Confirmation Order shall include affirmative findings
that the Plan, including the RMBS Settlement and the FGIC Settlement Agreement, is in the best
interests of Investors, that the RMBS Trustees acted in good faith and in the best interests of the
Investors in entering into the Plan Support Agreement and performing their obligations
thereunder, including voting for the Plan, provided, however, the Confirmation Order shall
provide that such findings shall be binding solely in connection with the RMBS Trustees, the
RMBS Trusts (including the Investors in the RMBS of such RMBS Trusts), and the actions of
the RMBS Trusts and the RMBS Trustees with respect to the Plan Support Agreement and the
Plan, including the RMBS Settlement, and the FGIC Settlement Agreement.

       8.     Continuation of Governing Agreements. Except with respect to the Debtors and
the Liquidating Trust, all agreements, indentures, pooling and servicing agreements and other
documents governing the RMBS Trusts shall remain in full force and effect in accordance with

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their terms and conditions, except (i) to the extent modified by consent in connection with any
assumption and assignment thereof or (ii) as specifically provided in Article IV.C.3.e above.

D.     Settlement of Monoline Claims.

       1.       MBIA Settlement. Entry of the Confirmation Order, pursuant to Bankruptcy Rule
9019 and section 1123 of the Bankruptcy Code, shall constitute approval of Allowed non-
subordinated General Unsecured Claims held by MBIA in the amount of $719 million against
the ResCap Debtors, $1,450 million against the GMACM Debtors, and $1,450 million against
the RFC Debtors. In full and final satisfaction of MBIA’s General Unsecured Claims against the
Debtors, MBIA shall receive on account of its Allowed General Unsecured Claims (i) its Pro
Rata Share of the GMACM Debtors Unit Distribution, (ii) its Pro Rata Share of the RFC
Debtors Unit Distribution, and (iii) its Pro Rata Share of the ResCap Debtors Unit
Distribution, as applicable.

       2.      FGIC Settlement. As a condition precedent to Plan Consummation, the
Bankruptcy Court and the FGIC Rehabilitation Court each shall have approved, by no later than
September 16, 2013, the FGIC Settlement Agreement, which governs the amount and priority
of the General Unsecured Claims held by FGIC. Entry of an order substantially in the form
attached to the FGIC Settlement Agreement as Exhibit D (or such other form as agreed to by
FGIC, the Debtors, the RMBS Trustees, and counsel for the Institutional Investors), pursuant to
Bankruptcy Rule 9019, shall constitute approval, among other things, of the minimum Allowed
non-subordinated General Unsecured Claim amounts as set forth therein. Entry of the
Confirmation Order pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy
Code, shall constitute approval of Allowed non-subordinated General Unsecured Claims held
by FGIC in the amount of $337.5 million against the ResCap Debtors, $181.5 million against
the GMACM Debtors, and $415.0 million against the RFC Debtors, as implemented by the
Plan. In full and final satisfaction of FGIC’s General Unsecured Claims against the Debtors,
FGIC shall receive on account of its Allowed General Unsecured Claims: (i) its Pro Rata Share
of the GMACM Debtors Unit Distribution, (ii) its Pro Rata Share of the RFC Debtors Unit
Distribution, and (iii) its Pro Rata Share of the ResCap Debtors Unit Distribution, as applicable.

       3.      Assured Settlement. Entry of the Confirmation Order, pursuant to Bankruptcy
Rule 9019 and section 1123 of the Bankruptcy Code, shall constitute approval of Allowed non-
subordinated General Unsecured Claims held by Assured in the amount of $88,868,346 against
the GMACM Debtors and $57,950,560 against the RFC Debtors. In full and final satisfaction of
Assured’s General Unsecured Claims against the Debtors, Assured shall receive on account of its
Allowed General Unsecured Claims: (i) its Pro Rata Share of the GMACM Debtors Unit
Distribution, and (ii) its Pro Rata Share of the RFC Debtors Unit Distribution, as applicable.

        4.     Ambac Settlement. Subject to Bankruptcy Court approval of the Ambac Cure
Stipulation, entry of the Confirmation Order, pursuant to Bankruptcy Rule 9019 and section
1123 of the Bankruptcy Code, shall constitute approval of Allowed non-subordinated General
Unsecured Claims held by Ambac in the amount of $207,315,815 against the GMACM Debtors
and $22,800,000 against the RFC Debtors. In full and final satisfaction of Ambac’s General
Unsecured Claims against the Debtors, Ambac shall receive on account of its Allowed General


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Unsecured Claims: (i) its Pro Rata Share of the GMACM Debtors Unit Distribution, and (ii) its
Pro Rata Share of the RFC Debtors Unit Distribution, as applicable.

E.     Private Securities Claims Trust

        The Private Securities Claims Trust shall be established for the sole benefit of the holders
of Allowed Private Securities Claims, and shall be funded on the Effective Date with the Private
Securities Claims Trust Unit Distribution. The Private Securities Claims Trust shall be
administered by the Private Securities Claims Trustee, who shall distribute to holders of Allowed
Private Securities Claims in accordance with the Private Securities Claims Trust Agreement (a)
the Cash distributed by the Liquidating Trust in respect of the Units allocated to the Private
Securities Claims Trust to holders of Allowed Private Securities Claims, or (b) the Units
transferred to the Private Securities Claims Trust that constitute the Private Securities Claims
Trust Unit Distribution.

        1.      Private Securities Claims Trust Agreement. On or before the Effective Date, the
Private Securities Claims Trust Agreement, in a form reasonably acceptable to the Plan
Proponents, Ally and the Settling Private Securities Claimants, each in their individual capacity,
shall be executed, and all other necessary steps shall be taken to establish the Private Securities
Claims Trust and the interests therein, which shall be for the benefit of the holders of Allowed
Private Securities Claims. The Private Securities Claims Trust Agreement shall provide for the
distribution of the Private Securities Trust Assets in accordance with the allocation agreement,
executed by each of the Private Securities Claimants.

         2.      Purpose of the Private Securities Claims Trust. The Private Securities Claims
Trust shall be established to perform the following duties, to the extent necessary: (i) directing
the processing, liquidation and payment of the Allowed Private Securities Claims in accordance
with the Plan; and (ii) preserving, holding, and managing the assets of the Private Securities
Claims Trust for use in paying and satisfying Allowed Private Securities Claims. The Private
Securities Claims Trust Agreement shall include, among other things: (i) the terms,
methodology, criteria, and procedures for distributing either (a) the Cash distributed by the
Liquidating Trust in respect of the Units allocated to the Private Securities Claims Trust to
holders of Allowed Private Securities Claims, or (b) the Units transferred to the Private
Securities Claims Trust that constitute the Private Securities Claims Trust Unit Distribution; and
(ii) to the extent necessary, the establishment of appropriate disputed claims reserves.

        3.     Private Securities Claimants to Forego Other Recoveries. In consideration of the
Private Securities Claims Trust Unit Distribution transferred to the Private Securities Claims
Trust and in furtherance of the purposes of the Private Securities Claims Trust and the Plan, the
Private Securities Claimants shall agree to forego any other recovery from the Debtors or the
Liquidating Trust in respect of the Private Securities Claims, and neither the Debtors, Ally, nor
the Liquidating Trust shall have any further financial or other responsibility or liability therefor.
Private Securities Claimants instead shall be entitled to receive their allocated share of either (a)
the Cash available for distribution from the Private Securities Claims Trust in respect of the
Private Securities Claims Trust Unit Distribution, or (b) the Units transferred to the Private
Securities Claims Trust that constitute the Private Securities Claims Trust Unit Distribution, in


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each case in accordance with the Private Securities Claims Trust Agreement, as their sole source
of recovery in respect of the Private Securities Claims.

       4.      Administration of the Private Securities Claims Trust. The Private Securities
Claims Trust shall be administered by the Private Securities Claims Trustee. For the avoidance
of doubt, upon the Effective Date, the Private Securities Claims Trust shall be completely
independent of the Liquidating Trust and the Liquidating Trust shall have no authority over the
Private Securities Claims Trust. One or more candidates for the Private Securities Claims
Trustee shall be recommended on or before the Effective Date by the Settling Private Securities
Claimants, in each of their individual capacities, and the Private Securities Claims Trustee will
be designated with the consent of the Plan Proponents, which consent shall not be unreasonably
withheld.

        5.      Distributions to the Private Securities Claimants. To the extent the Private
Securities Claims Trust holds the Units distributed by the Liquidating Trust, the Cash
distributions received by the Private Securities Claims Trust in respect of the Units that it holds
shall be distributed to holders of Allowed Private Securities Claims in accordance with the
methodology, criteria and procedures established in the Private Securities Claims Trust
Agreement. To the extent the Private Securities Claims Trust has distributed the Units that
constitute the Private Securities Claims Trust Unit Distribution to Private Securities Claimants,
the Liquidating Trust shall make Cash distributions directly to the Private Securities Claimants.

       6.      Settlement of Allowed Claims of Settling Private Securities Claimants. Entry of
the Confirmation Order, pursuant to Bankruptcy Rule 9019 and section 1123 of the Bankruptcy
Code, shall constitute approval of the settlement of the Allowed Claim amounts for voting
purposes of each of the Settling Private Securities Claimants as follows: AIG shall have an
allowed claim of $1.168 billion for voting purposes, Allstate shall have an allowed claim of $140
million for voting purposes, MassMutual shall have an allowed claim of $218 million for voting
purposes, and Prudential shall have an allowed claim of $227 million for voting purposes.

       7.      Costs and Expenses of Private Securities Claims Trust. The reasonable costs and
expenses of administering the Private Securities Claims Trust, including the reasonable fees and
expenses of the Private Securities Claims Trustee and its retained professionals, shall be funded
on the Effective Date as agreed to by the Plan Proponents and Consenting Claimants.

        8.       Retention of Professionals by Private Securities Claims Trustee. The Private
Securities Claims Trustee may retain and reasonably compensate counsel and other professionals
to assist in its duties as Private Securities Claims Trustee on such terms as the Private Securities
Claims Trustee deems appropriate without Bankruptcy Court approval, but subject to the terms
and conditions provided for in the Private Securities Claims Trust Agreement. The Private
Securities Claims Trustee may retain professionals who represented parties in the Chapter 11
Cases, provided such retention is otherwise permissible under applicable law.

         9.     Indemnification of the Private Securities Claims Trustee. The Private Securities
Claims Trustee and its agents or professionals shall not be liable for any actions taken or omitted
in its capacity as, or on behalf of, the Private Securities Claims Trustee or the Private Securities
Claims Trust, except those acts arising out of its own willful misconduct, gross negligence, or

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bad faith, and each shall be entitled to indemnification or reimbursement for fees and expenses in
defending any and all of its actions or inactions in its or their capacity as, or on behalf of, the
Private Securities Claims Trustee except for any and all actions or inactions involving willful
misconduct, gross negligence, or bad faith. Any indemnification claim of the Private Securities
Claims Trustee (and the other parties entitled to indemnification under this subsection) shall be
satisfied solely from the assets of the Private Securities Claims Trust and no recourse may be had
to the Liquidating Trust, Ally, or the Debtors’ Estates. The Private Securities Claims Trustee
shall be entitled to rely, in good faith, on the advice of its retained professionals.

F.     Borrower Claims Trust

       The Borrower Claims Trust shall be established for the sole benefit of the holders of
Allowed Borrower Claims, and shall consist of the Borrower Claims Trust Assets. The Borrower
Claims Trust shall be administered by the Borrower Claims Trustee, subject to oversight and
supervision by the Borrower Claims Trust Committee, who shall administer and distribute the
Borrower Claims Trust Assets to holders of Allowed Borrower Claims in accordance with the
methodology and procedures set forth in the Borrower Claims Trust Agreement. The Borrower
Claims Trust shall be completely independent of the Liquidating Trust and the Liquidating
Trustees shall have no authority over the Borrower Claim Trust or the Borrower Claims Trustee.

        1.      Borrower Claims Trust Agreement. On or before the Effective Date, the Borrower
Claims Trust Agreement, in a form reasonably acceptable to the Plan Proponents, Ally and the
Kessler Class Claimants, shall be executed, and all other necessary steps shall be taken to
establish the Borrower Claims Trust and the interests therein, which shall be for the benefit of
the holders of Allowed Borrower Claims. In the event of any conflict between the terms of the
Plan with respect to the Borrower Claims Trust and the terms of the Borrower Claims Trust
Agreement, the Borrower Claims Trust Agreement shall govern. The Borrower Claims Trust
Agreement includes: (i) participation and qualification criteria for holders of Borrower Claims to
receive a distribution from the Borrower Claims Trust Assets, (ii) procedures for the prosecution
and settlement of objections to Borrower Claims, including those previously filed by the Debtors
or any other party, (iii) the establishment of reserves for Disputed Borrower Claims; and (iv) the
establishment of procedures to resolve Disputed Borrower Claims, inclusive of any
counterclaims or offsets in favor of the Debtors.

        2.     Purpose of the Borrower Claims Trust. The Borrower Claims Trust shall be
established to, among other things, (i) direct the processing, liquidation and payment of the
Allowed Borrower Claims in accordance with the Plan, and the distribution procedures
established under the Borrower Claims Trust Agreement, and (ii) preserve, hold, and manage the
assets of the Borrower Claims Trust for use in satisfying Allowed Borrower Claims.

        3.     Assumption of Certain Liabilities by the Borrower Claims Trust. In consideration
of the Borrower Claims Trust Assets transferred to the Borrower Claims Trust and in furtherance
of the purposes of the Borrower Claims Trust and the Plan, the Borrower Claims Trust shall
assume all liability for all Borrower Claims, and neither the Debtors, the Released Parties, nor
the Liquidating Trust shall have any further financial or other responsibility or liability therefor.



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        4.     Borrower Claims Trust Assets. The Borrower Claims Trust shall consist of the
Borrower Claims Trust Assets and any other assets held from time to time incidental to the
administration of the Borrower Claims Trust. On the Effective Date, the Liquidating Trust, in its
capacity as Disbursing Agent, shall fund the Borrower Claims Trust with the Cash portion of the
Borrower Claims Trust Assets free and clear of all Liens, Claims, and encumbrances, except to
the extent otherwise provided herein.

        5.     Administration of the Borrower Claims Trust. The Borrower Claims Trust shall
be administered by the Borrower Claims Trustee subject to the supervision and oversight of the
Borrower Claims Trust Committee. The Borrower Claims Trustee will be designated by counsel
for the Kessler Class Claimants with the consent of the Plan Proponents, which consent shall not
be unreasonably withheld.

         6.     Distributions from the Borrower Claims Trust. It is the intention that
distributions made from the Borrower Claims Trust on account of an Allowed Borrower Claim
will be comparable to the recovery that the holder of an Allowed Claim in the same amount
against the same Debtor Group would realize from distributions made by the Liquidating Trust
on Units issued in respect of such Allowed Claim, based on the value of the assets in the
Liquidating Trust available for distribution to holders of Units as of the Effective Date (without
in each case giving effect to any insurance proceeds, including proceeds from the GM Policies,
that may be received in respect of certain of the Allowed Borrower Claims or to the time delay in
receipt of distributions in respect of the Units issued by the Liquidating Trust). For the
avoidance of doubt, the comparable recovery percentages that the holder of an Allowed Claim in
the same amount against the same Debtor Group would realize from distributions made by the
Liquidating Trust on Units issued in respect of such Allowed Claim shall be established once and
finally and for all purposes, including for all future distributions by the Borrower Claims Trust,
at the time of and in connection with the Borrower Trust True-Up and confirmation of the Plan,
and neither the amount to be transferred to the Borrower Claims Trust nor the percentage
distributions from the Borrower Claims Trust shall be adjusted following the Effective Date
based on actual experience with respect to recoveries from the Liquidating Trust following the
Effective Date of the Plan.

        Except as otherwise provided herein or in the Kessler Settlement Agreement, to the
extent a Borrower recovers insurance proceeds on account of all or some of an Allowed
Borrower Claim, (i) if distributions on account of such Allowed Borrower Claim have not
been made, the amount of such Allowed Borrower Claim shall be reduced to the extent paid
by insurance proceeds, or (ii) if distributions on account of such Allowed Borrower Claim
have been made, the Borrower shall be required to return an amount equal to all
distributions received by the Borrower from the Borrower Claims Trust on account of such
Allowed Borrower Claim multiplied by a fraction, the numerator of which is the amount of
the insurance proceeds received and the denominator of which is the amount of its Allowed
Borrower Claim. Such Borrower shall thereafter continue to be entitled to its proportionate
share of any future distribution from the Borrower Claims Trust. For the avoidance of
doubt, the Kessler Settlement Class shall continue to be entitled to its proportionate share of
any such future distribution. Any Borrower who recovers insurance proceeds on account of
all or some of an Allowed Borrower Claim shall be required to notify the Borrower Claims
Trustee of such recovery within ten (10) Business Days of receipt.

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       If any Borrower Claim constitutes, in whole or in part, a Consent Order Borrower Claim,
the Allowed amount of such Borrower Claim shall be reduced to the extent paid pursuant to the
Consent Order or any settlement of the Debtors’ obligations thereunder, without further order of
the Bankruptcy Court.

        7.     U.S. Federal Income Tax Treatment of Borrower Claims Trust. All parties
(including, without limitation, the Debtors, the Borrower Claims Trustee, and the holders of
Borrower Claims) shall treat the Borrower Claims Trust as a “qualified settlement fund” within
the meaning of section 468B of the Tax Code and the Treasury Regulations thereunder.

        8.      Dissolution of the Borrower Claims Trust. The Borrower Claims Trustee and the
Borrower Claims Trust shall be discharged or dissolved, as applicable, at such time as (i) all
Borrower Claims have been resolved by Final Order, written agreement, or pursuant to the Plan,
and (ii) all distributions to be made by the Borrower Claims Trustee under the Plan and the
Borrower Claims Trust Agreement have been made. Any Cash or other remaining assets in the
Borrower Claims Trust shall be transferred to the Liquidating Trust upon dissolution of the
Borrower Claims Trust.

        9.     Costs and Expenses of Borrower Claims Trust. The reasonable costs and
expenses of administering the Borrower Claims Trust, including the reasonable fees and
expenses of the Borrower Claims Trustee and its retained professionals, shall be funded on the
Effective Date as agreed to by the Plan Proponents and Consenting Claimants. Such costs shall
not include fees and expenses incurred by the Kessler Class Claimants pursuit of GM Insurance
Rights.

       10.     Retention of Professionals by Borrower Claims Trustee. The Borrower Claims
Trustee may retain and reasonably compensate counsel and other professionals to assist in its
duties as Borrower Claims Trustee on such terms as the Borrower Claims Trustee deems
appropriate without Bankruptcy Court approval, but subject to the terms and conditions provided
for in the Borrower Claims Trust Agreement. The Borrower Claims Trustee may retain
professionals who represented parties in the Chapter 11 Cases, provided such retention is
otherwise permissible under applicable law.

        11.     Indemnification of the Borrower Claims Trustee and the Borrower Claims Trust
Committee. The Borrower Claims Trustee and members of the Borrower Claims Trust
Committee and their agents or professionals shall not be liable for any actions taken or omitted in
its capacity as, or on behalf of, the Borrower Claims Trustee or the Borrower Claims Trust,
except those acts arising out of its or their own willful misconduct, gross negligence, or bad
faith, and each shall be entitled to indemnification or reimbursement for fees and expenses in
defending any and all of its actions or inactions in its or their capacity as, or on behalf of, the
Borrower Claims Trust except for an action or inaction involving willful misconduct, gross
negligence, or bad faith. Any indemnification claim of the Borrower Claims Trustee and the
Borrower Claims Trust Committee (and the other parties entitled to indemnification under this
subsection) shall be satisfied solely from the Borrower Claims Trust Assets and no recourse may
be had to the Liquidating Trust, the Released Parties or any creditor in these Chapter 11 Cases.
The Borrower Claims Trustee and the members of the Borrower Claims Trust Committee shall
be entitled to rely, in good faith, on the advice of its retained professionals.

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      12.    Borrower Claims Trustee as Estate Representative under 1123(b)(3)(B). The
Borrower Claims Trustee is hereby appointed as the representative of the Estates with respect to
Borrower-Related Causes of Action pursuant to section 1123(b)(3)(B) of the Bankruptcy Code.

G.     Settlement of Claims of Kessler Class Claimants

        1.      Settlement of Allowed Amount of Kessler Class Claims. As provided in the
Kessler Settlement Agreement, as one element of, and in consideration for, an overall negotiated
settlement of numerous disputed claims and issues embodied in the Plan and subject to the entry
of the Kessler Settlement Approval Orders, the Kessler Settlement Class shall receive the
Allowed Kessler Claim against the RFC Debtors. The sole source of recovery of the Allowed
Kessler Claim shall be distributions from the Borrower Claims Trust and the GM Insurance
Rights, and not from any other assets or property of the Released Parties, the Liquidating Trust,
or the Private Securities Claims Trust.

        2.      Transfer of GM Insurance Rights. Subject to entry of the Kessler Settlement
Approval Orders, on the Effective Date, the Debtors shall, pursuant to section 1123(a)(5) of the
Bankruptcy Code, convey, transfer, and assign the GM Insurance Rights under the GM Policies
in accordance with the Kessler Settlement Agreement and the Kessler Settlement Approval
Orders, to (i) the Kessler Settlement Class with respect to indemnity for the Allowed Kessler
Claim, and (ii) except to the extent that any such GM Insurance Rights have been transferred by
the Debtors to other creditors on or before the Effective Date, the Liquidating Trust with respect
to any other GM Insurance Rights. For the avoidance of doubt, the (i) rights of the Kessler
Settlement Class in and to the GM Insurance Rights and proceeds thereof, and (ii) the rights of
any other creditor who has received from the Debtors an assignment of GM Insurance Rights
prior to the Effective Date, shall not be transferred to the Liquidating Trust and shall not
constitute Available Assets.

         3.      Discovery of Additional Insurance Policies. Subject to the entry of the Kessler
Settlement Approval Orders, if, after the Effective Date, the Liquidating Trust discovers any
additional insurance policies under which any of the Debtors are an insured and that provide
coverage for the Debtors’ liability to the Kessler Settlement Class, then the Liquidating Trust
will assign to the Kessler Settlement Class the insurance rights under such policies with respect
to the liability of the Debtors to the Kessler Settlement Class.

H.     NJ Carpenters Claims Settlement

        The NJ Carpenters Settlement, which is subject to the NJ Carpenters Approval,
contemplates the payment of the NJ Carpenters Claims Distribution in settlement of the NJ
Carpenters Claims, which amount shall be the sole source of recovery available in respect of
the NJ Carpenters Claims. If the NJ Carpenters Approval occurs, the NJ Carpenters Class
Members shall be entitled to the NJ Carpenters Claims Distribution. The NJ Carpenters
Class Opt-Outs shall not receive any portion of the NJ Carpenters Claims Distributions and
shall receive no consideration under the Plan other than in respect of their Allowed Claims
against the Estates, which Claims shall be classified as General Unsecured Claims and may
be subject to subordination. The reasonable costs of class notice and administration shall be
advanced by the Debtors prior to the Effective Date in accordance with applicable orders of

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the Bankruptcy Court and District Court, which costs will be deducted from the NJ
Carpenters Claims Distribution. Absent the NJ Carpenters Approval, the NJ Carpenters
Class Members will not receive any portion of the NJ Carpenters Claims Distribution, and,
to the extent any NJ Carpenters Class Members hold Allowed Claims, such Claims shall be
classified as General Unsecured Claims, which claims may be subject to subordination.

I.     Senior Unsecured Notes Settlement

       The Plan shall constitute a good faith compromise and settlement of claims that the
Senior Unsecured Notes Indenture Trustee, on behalf of the Senior Unsecured Noteholders,
has against the Ally Released Parties and any Debtor, both as described in the Disclosure
Statement. Distributions to the Senior Unsecured Noteholders shall be carried out consistent
with Article VII.G.1 of the Plan.

J.     JSN Adversary Proceeding and FGIC Settlement Appeal

        On the Effective Date, all claims, counterclaims, and/or issues raised in the JSN
Adversary Proceeding and the FGIC Settlement Appeal shall be automatically deemed finally
and irrevocably settled by the Plan. Within five (5) days of entry of the Confirmation Order, (i)
the parties to the JSN Adversary Proceeding shall execute, and within one (1) Business Day after
the funding of the Junior Secured Notes Claims Distribution the plaintiffs in the JSN Adversary
Proceeding shall file, a stipulation of dismissal in the JSN Adversary Proceeding; and (ii) the
parties to the FGIC Settlement Appeal shall execute, and within one (1) Business Day after the
funding of the Junior Secured Notes Claims Distribution the Ad Hoc Group shall file, a
stipulation voluntarily dismissing the FGIC Settlement Appeal in accordance with Bankruptcy
Rule 8001(c), in each of (i) and (ii) above, with prejudice and without costs awarded to any
party.

K.     Adjustment Mechanism

        The allocation of Units issuable pursuant to the Plan shall be determined in
accordance with the following adjustment mechanism. Prior to the Initial Unit Distribution
Date, a determination shall be made of the estimated amount of the General Unsecured
Claims against each of the Debtor Groups that are Disputed Claims, in accordance with the
provisions of Article VIII.D. Thereupon, the Unit Issuance Percentages shall be adjusted
such that all holders of Allowed Unsecured Claims and the Private Securities Claims Trust
shall share proportionately in the accretion or dilution of recoveries as a result of variances
in the Allowed amounts of Unsecured Claims from the amounts set forth in the Disclosure
Statement; and shall be further adjusted through an iterative mathematical process such that
all holders of Allowed Unsecured Claims against a Debtor Group receive Units in the same
ratio of number of Units to Allowed amount of Claim. For the purposes of this paragraph,
“proportionately” means in proportion to the recovery of the holders of Unsecured Claims in
the amounts set forth in the Disclosure Statement.

       The Debtor Group Unit Distributions shall be determined based on the respective
Unit Issuance Percentages, after adjustment, and shall include, with respect to each Debtor
Group, the Units to be issued to holders of Allowed Unsecured Claims against that Debtor

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Group as of the Initial Unit Distribution Record Date and the Units to be issued to the
Disputed Claims Reserve with respect to that Debtor Group.

L.     Cancellation of Securities, Indentures, and Other Documents Evidencing Claims
       and Equity Interests

        Subject to the assumption of Executory Contracts and Unexpired Leases as set forth
in the Plan, and except for purposes of evidencing a right to distributions under the Plan, on
the Effective Date, all notes, stock, instruments, certificates, indentures, guarantees, and
other documents or agreements evidencing a Claim against or Equity Interest in the Debtors
will be deemed automatically cancelled with respect to the Debtors and shall be of no
further force or effect as against the Debtors, whether such document is surrendered for
cancellation or not, and the obligations of Ally, the Debtors, or the Liquidating Trust,
thereunder or in any way related thereto will be discharged.

        Notwithstanding anything to the contrary herein, the Senior Unsecured Notes
Indenture will continue in effect for the limited purposes of: (i) allowing the Senior
Unsecured Noteholders to receive distributions on account of their Senior Unsecured Notes
Claims, and (ii) allowing the Senior Unsecured Notes Indenture Trustee to make
distributions in accordance with the terms of the Plan, to fund the Senior Unsecured Notes
Indenture Trustee Reserve, and to exercise its Senior Unsecured Notes Indenture Trustee
Charging Lien against distributions under the Plan and against the Senior Unsecured Notes
Indenture Trustee Reserve for payment of Senior Unsecured Notes Indenture Trustee Fees
and Expenses.

       Notwithstanding anything to the contrary herein, the First Priority Security Agreement
will continue in effect for the limited purposes of allowing the First Priority Collateral Agent to
exercise its First Priority Collateral Agent Lien for the payment of First Priority Collateral
Agent Fees and Expenses.

        Notwithstanding anything to the contrary herein, all JSN Documents shall be deemed
automatically canceled and discharged on the Effective Date, provided, however, that the JSN
Documents shall continue in effect solely for the purposes of (i) allowing the holders of Junior
Secured Notes Claims to receive distributions on account of their Junior Secured Notes Claims
as provided in the Plan, (ii) allowing the Junior Secured Notes Indenture Trustee to make the
distributions to be made on account of the Junior Secured Notes Claims; and (iii) permitting the
Junior Secured Notes Indenture Trustee to assert its Junior Secured Notes Indenture Trustee
Charging Lien against such distributions for payment of the Junior Secured Notes Indenture
Trustee Fees and the Junior Secured Notes Collateral Agent Fees and Expenses.

M.     Treatment of Intercreditor Agreement

        The Intercreditor Agreement shall be deemed automatically cancelled and discharged
upon the Effective Date. Upon the occurrence of the Effective Date, no Ally Party shall be
entitled to receive any portion of the Junior Secured Notes Distribution and no Person may
directly or indirectly interfere in any manner with the distribution of the Junior Secured


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Notes Distribution to the Junior Secured Noteholders in accordance with Article VII.G.1
hereof.

N.     Compensation Order

       Notwithstanding anything herein to the contrary, following the Effective Date, Ally and
the Liquidating Trust shall continue to comply with their respective obligations under the
Compensation Order.

O.     Corporate Action

        Except as otherwise provided in the Plan, the corporate or related actions to be taken
by or required of the Debtors in connection with each matter provided for by the Plan shall,
as of the Effective Date, be deemed to have occurred and be effective as provided in the
Plan, and shall be authorized, approved, and, to the extent taken prior to the Effective Date,
ratified in all respects without any requirement of further action by holders of Claims or
Equity Interests, directors of the Debtors, or any other Entity. On or prior to the Effective
Date, the appropriate officers of the Debtors shall be authorized and directed to issue,
execute, and deliver the agreements, securities, instruments, or other documents
contemplated by the Plan, or necessary or desirable to effect the transactions contemplated
by the Plan, in the name of and on behalf of the Debtors, prior to the Effective Date, or the
Liquidating Trust, following the Effective Date. Notwithstanding any requirements under
nonbankruptcy law, the authorizations and approvals contemplated by this provision shall be
effective.

        On the Effective Date, upon the appointment of the Liquidating Trust Board, the
persons acting as directors, managers, and officers of the Debtors prior to the Effective Date
as the case may be, will be released from all further authority, duties, responsibilities, and
obligations relating to and arising from operations of the Debtors or the Chapter 11 Cases,
including, for the avoidance of doubt, the continuing obligations related to the DOJ/AG
Settlement. Upon such release and discharge, the Liquidating Trust Board will be charged
with the authority, duties, responsibilities, and obligations relating to and arising from
operations of the Debtors and these Chapter 11 Cases, except to the extent such authority,
duties, responsibilities, and obligations are to be undertaken by the Private Securities Claims
Trustee, the RMBS Claims Trust Trustees, the Borrower Claims Trustee, or, with respect to
the NJ Carpenters Claims Distribution, in each case as provided in the Plan.

P.     Dissolution of the Debtors

       On and after the Effective Date, the Liquidating Trust Board shall be authorized, in its
sole and absolute discretion, to take all actions reasonably necessary to manage or dissolve the
Debtors and their subsidiaries, including the Non-Debtor Subsidiaries, under applicable laws,
including the laws of the jurisdictions in which they may be organized or registered,
notwithstanding any applicable consent requirements or other restrictions contained in any
financing agreements or other debt documents to which any Debtor is a party, and to pay all
reasonable costs and expenses in connection with such dissolutions, including the costs of
preparing or filing any necessary paperwork or documentation. The Liquidating Trust Board

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shall have no liability for using its discretion to dissolve or not dissolve any of the Debtors or
their subsidiaries. Whether or not dissolved, the Debtors shall have no authorization to
implement the provisions of this Plan from and after the Effective Date except as specifically
provided otherwise in the Plan. Notwithstanding the foregoing, the Liquidating Trust Board
shall not dissolve any Debtor to the extent such Debtor is required to hold Available Assets after
the Effective Date pursuant to Article VI.C of the Plan, and any such Debtors shall be authorized
to take such actions at the direction of the Liquidating Trust Board as may be necessary to
implement the provisions of the Plan with respect to such Available Assets.

Q.     Effectuating Documents; Further Transactions

        On the Effective Date, the Liquidating Trust Board will be authorized to take any
actions or effect transactions, including conversions, dissolutions, transfers, liquidations, or
other corporate transactions, as may be determined by the Liquidating Trust Board to be
necessary or appropriate to implement to terms of the Plan. After the Effective Date, the
Liquidating Trust Board may utilize the aforementioned authority without any further notice
to or action, order or approval of the Bankruptcy Court.

        On and after the Effective Date, the Liquidating Trust Board, directly or acting
through the Liquidating Trust Management, is authorized to and may issue, execute, deliver,
file, or record such contracts, securities, instruments, releases, and other agreements or
documents and take such actions as may be necessary or appropriate to effectuate,
implement, and further evidence the terms and conditions of the Plan in the name of and on
behalf of the Plan Proponents, without the need for any approvals, authorizations, or
consents, except for those expressly required by the Plan.

R.     Exemption from Certain Taxes and Fees

        Pursuant to Bankruptcy Code section 1146(a), any transfers of property pursuant to
the Plan shall not be subject to any stamp, real estate transfer, mortgage reporting, or other
similar tax or governmental assessment in the United States, and the Confirmation Order
shall direct and be deemed to direct the appropriate state or local governmental officials or
agents to forego the collection of any such tax or governmental assessment and to accept for
filing and recordation instruments or other documents pursuant to such transfers of property
without the payment of any such tax or governmental assessment.

S.     Preservation of Causes of Action

       Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled in the Plan (including pursuant to the Plan
Support Agreement), or by a Final Order, in accordance with section 1123(b) of the
Bankruptcy Code, the Borrower Claims Trust with respect to Borrower-Related Causes of
Action, and the Liquidating Trust with respect to all other Causes of Action, shall retain and
may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action
of the Debtors or the Debtors’ Estates, whether arising before or after the Petition Date,
including, without limitation, any Causes of Action specifically enumerated in the Plan
Supplement, and the Liquidating Trust’s and Borrower Claims Trust’s respective rights to

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commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
the occurrence of the Effective Date. The Liquidating Trust and the Borrower Claims Trust
may pursue their respective Causes of Action, as appropriate, in accordance with the best
interests of the respective Trust. No Entity may rely on the absence of a specific
reference in the Plan or the Disclosure Statement to any Cause of Action against such
Entity as any indication that the Liquidating Trust or Borrower Claims Trust, as the
case may be, will not pursue any and all available Causes of Action against such Entity.
The Liquidating Trust and the Borrower Claims Trust expressly reserve all rights to
prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided in the Plan. Unless any Causes of Action against an Entity are
expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or
a Bankruptcy Court order, the Liquidating Trust expressly reserves all Causes of Action
other than Borrower-Related Causes of Action, and the Borrower Claims Trust expressly
reserves all Borrower-Related Causes of Action, for later adjudication, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
Consummation. For the avoidance of doubt, the Plan does not release any Causes of Action
that the Plan Proponents or the Liquidating Trust or Borrower Claims Trust have or may
have now or in the future against any Entity other than the Released Parties (and only in
their capacity as Released Parties). The Liquidating Trustees and the Borrower Claims
Trustee, as applicable, are deemed representatives of the Estates for the purpose of
prosecuting, as applicable, the Liquidating Trust Causes of Action, Borrower-Related
Causes of Action and any objections to Claims pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code.

       Except as otherwise provided in the Plan or in a Final Order, the Liquidating Trust
reserves and shall retain Causes of Action notwithstanding the rejection of any Executory
Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. In
accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that the
Debtors may hold against any Entity that is not released under the Plan or a separate
settlement approved by Final Order shall vest in the Borrower Claims Trust with respect to
Borrower-Related Causes of Action and in the Liquidating Trust with respect to all other
Causes of Action. The Liquidating Trust and Borrower Claims Trust, as the case may be,
through their respective authorized agents or representatives, shall retain and may
exclusively enforce any and all such Causes of Action. The Liquidating Trust has the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any Causes of
Action other than Borrower-Related Causes of Action, or to decline to do any of the
foregoing, without the consent or approval of any third party or any further notice to or
action, order, or approval of the Bankruptcy Court. The Borrower Claims Trust has the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any Borrower-
Related Causes of Action, or to decline to do any of the foregoing, without the consent or
approval of any third party or any further notice to or action, order, or approval of the
Bankruptcy Court.


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                                         ARTICLE V.

                          TREATMENT OF EXECUTORY
                       CONTRACTS AND UNEXPIRED LEASES

A.     Rejection of Executory Contracts and Unexpired Leases

          Except as otherwise provided herein, each Executory Contract and Unexpired Lease not
previously assumed shall be deemed automatically rejected pursuant to sections 365 and 1123 of
the Bankruptcy Code as of the Effective Date, unless any such Executory Contract or Unexpired
Lease: (i) is expressly identified on the Assumption Schedule; (ii) has been previously assumed
by the Debtors by Final Order or has been assumed by the Debtors by order of the Bankruptcy
Court as of the Effective Date, which order becomes a Final Order after the Effective Date;
(iii) is the subject of a motion to assume pending as of the Effective Date; or (iv) is otherwise
assumed pursuant to the terms herein. The Confirmation Order will constitute an order of the
Bankruptcy Court approving such rejections pursuant to sections 365 and 1123 of the
Bankruptcy Code as of the Effective Date or as otherwise set forth in the Plan Supplement.

        All Proofs of Claim with respect to Claims arising from the rejection of Executory
Contracts or Unexpired Leases, including any Executory Contracts or Unexpired Leases
rejected or deemed rejected under the Plan, must be Filed in accordance with the procedures
set forth in the Bar Date Order by the Rejection Damages Claim Bar Date or such Claims
will be automatically disallowed, forever barred from assertion, and shall be unenforceable
against the Debtors, the Liquidating Trust, or their assets or properties without the need for
any objection by the Liquidating Trust or further notice to, or action, order, or approval of
the Bankruptcy Court. All Allowed Claims arising from the rejection of the Debtors’
Executory Contracts or Unexpired Leases will be classified as General Unsecured Claims
against the applicable Debtor Groups and treated in accordance with the terms of Article III.
The deadline to object to Claims arising from the rejection of Executory Contracts or
Unexpired Leases, if any, shall be the Claims Objection Deadline.

B.     Assumption of Executory Contracts and Unexpired Leases

        The Debtors will file the Assumption Schedule with the Bankruptcy Court at least
twenty-one (21) days before the commencement of the Confirmation Hearing. The Assumption
Schedule will include (a) the name of the non-Debtor counterparty, (b) the legal description of
the Executory Contract or Unexpired Lease to be assumed, and (c) the proposed amount to be
paid on account of an associated Cure Claim, if any. On or as soon as practicable thereafter, the
Debtors will serve a notice of filing of the Assumption Schedule upon each non-Debtor
counterparty listed thereon that will describe the procedures by which such parties may object to
the proposed assumption of their respective Executory Contract or Unexpired Lease or the
proposed Cure Claim amount, and explain how such disputes will be resolved by the
Bankruptcy Court if the parties are not able to resolve a dispute consensually. Objections, if
any, to the proposed assumption and/or Cure Claim must be filed with the Bankruptcy Court and
served so as to be actually received by the Debtors no later than fourteen (14) days from the date
of filing the Assumption Schedule. Any non-Debtor counterparty to an Executory Contract or


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Unexpired Lease that fails to object timely to the proposed assumption or Cure Claim amount
will be deemed to have assented to such assumption or Cure Claim amount.

        If an objection to the proposed Cure Claim is sustained by the Bankruptcy Court, the
Plan Proponents, prior to the Effective Date, or the Liquidating Trust, following the
Effective Date, may elect to reject such Executory Contract or Unexpired Lease in lieu of
assuming it on proper notice to the non-Debtor counterparty thereto, which non-Debtor
counterparties shall then be entitled to file Proofs of Claim asserting Claims arising from the
rejection thereof, if applicable, in accordance with the terms of the Plan and the Bar Date Order.

       The Plan Proponents, prior to the Effective Date, or the Liquidating Trust, following
the Effective Date, may settle any dispute on the amount of a Cure Claim without further
notice to any party or action, approval, or order of the Bankruptcy Court. If the Plan
Proponents, prior to the Effective Date, or the Liquidating Trust, following the Effective
Date, object to any request for payment of a Cure Claim, the Bankruptcy Court shall determine
the Allowed amount of such Cure Claim and any related issues. Unless the parties to the
Executory Contract or Unexpired Lease agree otherwise, all disputed defaults that are required to
be cured shall be cured by the later of (i) ten (10) days after entry of a Final Order determining
the amount, if any, of the Debtors’ liability with respect thereto and (ii) the Effective Date. The
Plan Proponents, prior to the Effective Date, or the Liquidating Trust, following the
Effective Date, reserve the right either to reject or nullify the assumption of any Executory
Contract or Unexpired Lease no later than thirty (30) days after a Final Order determining a
Cure Claim greater than that proposed by the Debtors.

     ASSUMPTION OF ANY EXECUTORY CONTRACT OR UNEXPIRED LEASE
PURSUANT TO THE PLAN OR OTHERWISE SHALL RESULT IN THE FULL
RELEASE AND SATISFACTION OF ANY CLAIMS OR DEFAULTS, WHETHER
MONETARY OR NONMONETARY, INCLUDING DEFAULTS OF PROVISIONS
RESTRICTING THE CHANGE IN CONTROL OR OWNERSHIP INTEREST
COMPOSITION OR OTHER BANKRUPTCY-RELATED DEFAULTS, ARISING
UNDER ANY ASSUMED EXECUTORY CONTRACT OR UNEXPIRED LEASE AT
ANY TIME BEFORE THE DATE OF THE DEBTORS OR THE LIQUIDATING TRUST
ASSUME SUCH EXECUTORY CONTRACT OR UNEXPIRED LEASE. ANY PROOFS
OF CLAIM FILED WITH RESPECT TO AN EXECUTORY CONTRACT OR
UNEXPIRED LEASE THAT HAS BEEN ASSUMED SHALL BE DEEMED
DISALLOWED AND EXPUNGED, WITHOUT FURTHER NOTICE TO OR ACTION,
ORDER OR APPROVAL OF THE BANKRUPTCY COURT.

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Assumption Schedule, nor anything contained in the Plan or each Debtor’s Schedules, shall
constitute an admission by the Debtors that any such contract or lease is or is not in fact an
Executory Contract or Unexpired Lease capable of assumption, that any Debtor has any liability
thereunder or that such Executory Contract or Unexpired Lease is necessarily a binding and
enforceable agreement. Further, the Plan Proponents expressly may (a) remove any Executory
Contract or Unexpired Lease from the Assumption Schedule and reject an Executory Contract or
Unexpired Lease pursuant to the terms of the Plan, up until the Effective Date and (b) contest


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any Claim (or cure amount) asserted in connection with assumption of any Executory Contract or
Unexpired Lease.

        The assumption of Executory Contracts and Unexpired Leases under the Plan shall
include the vesting of such contracts in the Liquidating Trust. The Confirmation Order will
constitute an order of the Bankruptcy Court approving the above-described assumptions,
assignments, and vesting.

        In the event a written objection is filed with the Bankruptcy Court as to whether a
contract or lease is executory or unexpired, the right of the Plan Proponents to move to assume or
reject such contract or lease shall be extended until the date that is thirty (30) days after the entry
of a Final Order by the Bankruptcy Court determining that the contract or lease is executory or
unexpired, in which case the deemed assumptions and rejections provided for in the Plan shall
not apply to such contract or lease.

C.     Contracts and Leases Entered Into After the Petition Date

        Counterparties to contracts and leases entered into after the Petition Date by a Debtor,
including any Executory Contract or Unexpired Lease assumed by a Debtor, must File a proof of
claim for an Administrative Claim against the appropriate Debtor by the Administrative Claims
Bar Date or have their rights with respect to such Administrative Claims forever waived and
released; provided that this provision shall not apply to any Ally Contract Claims. Executory
Contracts and Unexpired Leases entered into after the Petition Date by any Debtor will vest in
the Liquidating Trust. Accordingly, the Liquidating Trust shall be deemed a successor in interest
to the Debtors under, and a beneficiary of, such contracts and unexpired leases, and any rights,
obligations and benefits thereunder shall be transferred to the Liquidating Trust.

D.     Pre-existing Obligations to the Debtors Under Executory Contracts and Unexpired
       Leases

        Rejection of any Executory Contract or Unexpired Lease pursuant to this Plan or
otherwise shall not constitute a termination of pre-existing obligations owed to the Debtors under
such Executory Contract or Unexpired Lease. Notwithstanding any applicable non-bankruptcy
law to the contrary, the Debtors expressly reserve and do not waive any right to receive, or any
continuing obligation of a non-Debtor party to provide, warranties, indemnifications or
continued maintenance obligations on goods previously purchased, or services previously
received, by the contracting Debtors from non-Debtor parties to rejected Executory Contracts or
Unexpired Leases, and any such rights shall vest in the Liquidating Trust as of the Effective
Date.

E.     Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any consensual request, pursuant to Bankruptcy Code section
365(d)(4), to extend the deadline for assuming or rejecting Executory Contracts and
Unexpired Leases.



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F.     No Change in Control

       The consummation of the Plan or the assumption of any Executory Contract or
Unexpired Lease is not intended to, and shall not, constitute a change in ownership or
change in control under any employee benefit plan or program, financial instrument, loan or
financing agreement, Executory Contract or Unexpired Lease or contract, lease or
agreement in existence on the Effective Date to which a Debtor is a party.

                                          ARTICLE VI.

                                THE LIQUIDATING TRUST

A.     Generally; Creation and Conversion

        The powers, authority, responsibilities, and duties of the Liquidating Trust are set
forth in and will be governed by the Liquidating Trust Agreement, the form of which shall
be included in the Plan Supplement. The Liquidating Trust shall be a representative of the
Estates pursuant to section 1123(b)(3)(B).

       A predecessor to the Liquidating Trust was initially formed pursuant to a Declaration
of Trust as a common law trust under the laws of the State of Delaware. On or prior to the
Effective Date, the Delaware Trustee will file a Certificate of Conversion and a Certificate
of Trust in accordance with the Delaware Statutory Trust Act to convert the initial trust to a
Delaware statutory trust that will constitute the Liquidating Trust under the Plan.

B.     Purpose of the Liquidating Trust

        The Liquidating Trust shall be established for the purpose of liquidating and distributing
the Liquidating Trust Assets in accordance with Treasury Regulations Section 301.7701-4(d),
with no objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, its liquidating purpose described in this Plan and
set forth in the Liquidating Trust Agreement. The Liquidating Trust, acting through the
Liquidating Trust Board, Liquidating Trust Management, and their agents, shall wind down the
affairs of the Debtors and perform the assumed obligations under the DOJ/AG Settlement,
Consent Order, and Order of Assessment in accordance with the terms of the Plan.

C.     Transfer of Assets to the Liquidating Trust

        On the Effective Date, the Debtors are authorized and directed to transfer, grant, assign,
convey, set over, and deliver to the Liquidating Trustees, for the benefit of the Liquidating Trust,
in the form thereof existing on such date, all of the Debtors’ and Estates’ right, title and interest
in and to the Available Assets free and clear of any and all liens, claims, encumbrances and
interests (legal, beneficial or otherwise) of all other Persons and Entities to the maximum extent
contemplated by and permissible under section 1141 of the Bankruptcy Code.

       Notwithstanding the foregoing, (i) if on the Effective Date, any of the Available Assets
cannot be transferred to the Liquidating Trust or it is deemed impractical or inadvisable to do so,
as determined by the Liquidating Trust Manager, the Debtors shall continue to hold such

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Available Assets, as bailee for the account of the Liquidating Trust, until such time as the
Liquidating Trust may receive such Available Assets (and any proceeds of such assets retained
by the Debtors shall constitute Available Assets) and (ii) subject to the entry of the Kessler
Settlement Approval Order, the GM Insurance Rights to be assigned to the Kessler Settlement
Class or any other GM Insurance Rights that are assigned to any other Creditor pursuant to order
of the Bankruptcy Court prior to or at Confirmation, shall be excluded from the Available Assets
assigned to the Liquidating Trust.

        The Debtors and the Liquidating Trust, as successor in interest to the Estates, may (i)
execute and deliver any instruments, documents, books, and records (including those maintained
in electronic format and original documents as may be needed), and (ii) take, or cause to be
taken, all such further action in order to evidence, vest, perfect or effectuate the transfer of the
Available Assets to the Liquidating Trust and consummate transactions contemplated by and to
otherwise carry out the intent of the Plan. Upon the transfer of the Available Assets, the
Liquidating Trust shall succeed to all of the Debtors’ right, title and interest in the Available
Assets, and the Debtors will have no further rights or interest in or with respect to the
Liquidating Trust Assets or the Liquidating Trust.

D.     Liquidating Trust Expenses Set Aside and Administrative, Priority, Secured
       and Convenience Distribution Reserve

        The Liquidating Trust Expenses Set Aside shall be established on the Effective Date for
the purpose of maintaining Cash from time to time necessary, subject to the Liquidating Trust
Budget, to satisfy reasonable costs and expenses of the Liquidating Trust and other obligations
incurred or reasonably anticipated by the Liquidating Trust in accordance with the Plan
Documents, including, without limitation, fees and costs incurred in connection with (i) the
implementation of the Plan, including to the extent not paid on the Effective Date, funds for
making the payments provided in Article VII.B, (ii) the liquidation of the Liquidating Trust
Assets, (iii) the resolution of Disputed Claims, and other Causes of Action, (iv) the
winding down of the Estate and affairs of the Debtors, (v) the costs of performing under the
DOJ/AG Settlement, (vi) the reserves for potential liabilities and (vii) compensation for the
Liquidating Trust Board, Liquidating Trust Management, and the employees, professionals,
advisors and other agents of the Liquidating Trust. In its discretion, the Liquidating Trust
Board may reserve non-Cash assets in satisfaction of the aforesaid set-aside requirements,
which non-Cash assets may be monetized from time to time and the Cash so realized included
in the Liquidating Trust Expenses Set Aside, provided, however, that in connection with any
such reservation of non-Cash assets, the Liquidating Trust Board shall give due consideration to
the timing and amount of scheduled and anticipated payments and both the fair market value
and the timing of monetization of such non-Cash assets, so as to enable the Liquidating Trust to
pay its obligations as they become due. Any Cash released from the Liquidating Trust
Expenses Set Aside shall be available for distribution to the Unitholders, and any other assets
released from the Liquidating Trust Expenses Set Aside shall become general, unrestricted
assets of the Liquidating Trust.

        The Administrative, Priority, Secured and Convenience Distribution Reserve shall be
established on the Effective Date for the purpose of maintaining Cash from time to time
necessary to satisfy (i) Administrative Claims, Priority Tax Claims, Other Priority Claims, Other

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Secured Claims and Junior Secured Notes Claims that are (a) Allowed as of the Effective Date
but that cannot be paid on or promptly following the Effective Date, or (b) Disputed Claims as of
the Effective Date but that may become Allowed after the Effective Date, (ii) Professional
Claims that are Allowed or that may become Allowed on or after the Effective Date, and (iii)
General Unsecured Convenience Claims that are Allowed or that may become Allowed on or
after the Effective Date. In its discretion, the Liquidating Trust Board may reserve non-Cash
assets in satisfaction of the aforesaid reserve requirements, which non-Cash assets may be
monetized from time to time by the Administrative, Priority, Secured and Convenience
Distribution Reserve, provided, however, that in connection with any such reservation of non-
Cash assets, the Liquidating Trust Board shall give due consideration to the timing and amount
of scheduled and anticipated payments and both the fair market value and the timing of
monetization of such non-Cash assets, so as to enable the Liquidating Trust to pay its obligations
as they become due. Any Cash released from the Administrative, Priority, Secured and
Convenience Distribution Reserve shall be available for distribution to the Unitholders, and any
other assets released from the Administrative, Priority, Secured and Convenience Distribution
Reserve shall become general, unrestricted assets of the Liquidating Trust.

E.     Liquidating Trust Governance

       The affairs of the Liquidating Trust shall be managed by, or under the direction of, the
Liquidating Trust Board, which shall consist of five (5) Liquidating Trustees, one of whom shall
be selected by each of (i) MBIA, (ii) FGIC, (iii) the RMBS Trustees that are members of the
Creditors’ Committee, the Steering Committee Consenting Claimants and the Talcott Franklin
Consenting Claimants, jointly, (iv) Paulson, and (v) the holders of Private Securities Claims, and
such other Liquidating Trustees as agreed to by the Plan Proponents and the Consenting
Claimants. The Liquidating Trust Board shall be authorized and empowered to undertake, acting
through the management and agents of the Liquidating Trust, actions on behalf of the
Liquidating Trust, including without limitation (i) to hold, manage, dispose and convert to Cash,
the Liquidating Trust Assets, (ii) to maintain the Liquidating Trust Expenses Set Aside, the
Disputed Claims Reserve, and the Administrative, Priority, Secured and Convenience
Distribution Reserve, (iii) to appoint and supervise management and agents of the Trust and (iv)
to prepare and review periodic financial reports of the Liquidating Trust.

        The Liquidating Trust Board shall elect a Liquidating Trustee to act as the Chairman of
the Liquidating Trust Board and may designate one or more committees of the Liquidating Trust
Board. The Liquidating Trust Board shall appoint officers or other representative agents of the
Liquidating Trust, including a Liquidating Trust manager and a secretary, to serve as the
Liquidating Trust Management and carry out the purpose of the Liquidating Trust. The
Liquidating Trust Management shall be authorized to hire employees and engage advisors and
other professionals, subject to any limitations imposed by the Liquidating Trust Board.

F.     Financial Statements/Reporting

       The Liquidating Trust will provide or make available certain financial and other
information, including annual and quarterly financial statements, and will also provide other
information to the extent required to make the Units freely tradable in accordance with
applicable securities laws.

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G.     Tax Treatment

      1.      In General

      For all U.S. federal income tax purposes, all parties (including, without limitation, the
Debtors, the Liquidating Trust Board and the Unitholders) shall treat the transfer of the
Liquidating Trust Assets to the Liquidating Trust as:

                (a)    a transfer of the Liquidating Trust Assets (subject to any obligations
relating to those assets) directly to Unitholders, other than Liquidating Trust Assets that will be
distributed pursuant to Article VII.B of the Plan or that are allocable to Disputed Claims (based
on such Claims’ Pro Rata Share of such Liquidating Trust Assets), followed by

              (b)    the transfer by such Unitholders to the Liquidating Trust of such
Liquidating Trust Assets in exchange for the Units.

       Accordingly, those holders of Allowed Unsecured Claims receiving Units shall be treated
for U.S. federal income tax purposes as the grantors and owners of their respective share of the
Liquidating Trust Assets (other than such Liquidating Trust Assets that will be distributed
pursuant to Article VII.B of the Plan or that are allocable to Disputed Claims). The foregoing
treatment shall also apply, to the extent permitted by applicable law, for state and local income
tax purposes.

      2.      Tax Reporting.

                (a)     The Liquidating Trust shall file returns treating the Liquidating Trust as a
grantor trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with this
Article VI.G. The Liquidating Trust also shall annually send or otherwise make available to
each holder of Units a separate statement setting forth the holder’s share of items of income,
gain, loss, deduction, or credit and will instruct all such holders to report such items on their U.S.
federal income tax returns or to forward the appropriate information to their respective beneficial
holders with instructions to report such items on their U.S. federal income tax returns. The
Liquidating Trust Board also shall file (or cause to be filed) any other statements, returns, or
disclosures relating to the Liquidating Trust that are required by any Governmental Unit.

              (b)     As soon as possible after the Effective Date, the Liquidating Trust shall
make a good-faith valuation of the Liquidating Trust Assets, and such valuation shall be made
available from time to time, to the extent relevant, and shall be used consistently by all parties
(including, without limitation, the Debtors, the Liquidating Trust, the holders of Allowed
Unsecured Claims, and the Unitholders) for all U.S. federal income tax purposes.

               (c)     Allocation of Liquidating Trust taxable income and loss among the
Unitholders (other than taxable income and loss allocable to the Disputed Claims Reserve) shall
be made pro rata to the Unitholders.

              (d)    The Liquidating Trust shall (A) treat the Disputed Claims Reserve and
Liquidating Trust Assets allocable thereto as a “disputed ownership fund” governed by Treasury

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Regulation section 1.468B-9 by timely making an election and (B) to the extent permitted by
applicable law, report consistently with the foregoing for state and local income tax purposes.

               (e)    The Liquidating Trust shall be responsible for payment, out of the
Liquidating Trust Assets, of any taxes imposed on the Liquidating Trust or the Liquidating Trust
Assets, including the Disputed Claims Reserve. In the event, and to the extent, that any Cash
retained on account of Disputed Claims of Liquidating Trust Unit Beneficiaries in the Disputed
Claims Reserve is insufficient to pay the portion of any such taxes attributable to the taxable
income arising from the assets allocable to, or retained on account of, such Disputed Claims,
such taxes shall be (i) reimbursed from any subsequent Cash amounts retained on account of
such Disputed Claims or (ii) to the extent such Disputed Claims subsequently have been
resolved, deducted from any amounts otherwise distributable as a result of the resolution of such
Disputed Claims.

              (f)     The Liquidating Trust may request an expedited determination of taxes of
the Liquidating Trust, including the Disputed Claims Reserve, under section 505(b) of the
Bankruptcy Code for all returns filed for, or on behalf of, the Liquidating Trust for all taxable
periods through the dissolution of the Liquidating Trust.

H.     Duration

        The Liquidating Trust shall be dissolved as soon as practicable after the date that is
the earliest to occur of: (i) the distribution of all Liquidating Trust Assets available for
distribution pursuant to the Plan, (ii) the determination of the Liquidating Trust Board that
the administration of the Liquidating Trust Assets is not likely to yield sufficient additional
proceeds to justify further pursuit, or (iii) all the distributions required to be made by the
Liquidating Trust have been completed; provided, however, that in no event shall the
Liquidating Trust be dissolved later than three (3) years from the Effective Date, unless the
Bankruptcy Court, upon motion within the six (6) months prior to the third (3rd) anniversary
of the Effective Date (or within six (6) months prior to the end of an extension period),
determines that a fixed-period extension is necessary to facilitate or complete the recovery
and liquidation of the Liquidating Trust Assets (without the need for a favorable private
letter ruling from the Internal Revenue Service that any further extension would not
adversely affect the status of the trust as a Liquidating Trust for United States federal
income tax purposes).

I.    Conflicting Terms To the extent that the terms of the Plan with respect to the
Liquidating Trust are inconsistent with the terms set forth in the Liquidating Trust
Agreement, then the terms of the Liquidating Trust Agreement shall govern.

J.     Exculpation; Indemnification; Insurance

      The Liquidating Trust Agreement shall provide for the following with respect to
exculpation, indemnification, and insurance:

       1.     None of the Delaware Trustee, the Liquidating Trustees, the Liquidating Trust
Management or Liquidating Trust Agents, or their respective advisors or professionals, shall
be liable to the Liquidating Trust or any Unitholder for any damages arising out of the
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creation, operation or termination of the Liquidating Trust, including actions taken or omitted
in fulfillment of his or her duties with respect to the Liquidating Trust, except in the case of
such party’s gross negligence, bad faith or willful misconduct; provided, that in no event will
any such party be liable for punitive, exemplary, consequential or special damages under any
circumstances. Furthermore, no Liquidating Trustee shall be liable to the Liquidating Trust or
any Unitholder for any action taken in good faith reliance upon the advice of Liquidating
Trust Management.

       2.      None of the Delaware Trustee, the Liquidating Trustees, the Liquidating Trust
Management or the Liquidating Trust Agents, when acting in such capacities, shall be subject
to any personal liability whatsoever, whether in tort, contract or otherwise, to any person,
other than the Liquidating Trust or the Liquidating Trust Unit Beneficiaries, in connection
with the affairs of the Liquidating Trust to the fullest extent provided under section 3803 of
the Delaware Statutory Trust Act, and all persons claiming against any of the Delaware
Trustee, the Liquidating Trustees, the Liquidating Trust Management or Liquidating Trust
Agent, or otherwise asserting claims of any nature in connection with affairs of the
Liquidating Trust, shall look solely to the Liquidating Trust Assets for satisfaction of any
such claims.

       3.      The Liquidating Trust Board, the Delaware Trustee, the Liquidating Trust
Management and their respective affiliates, and their respective officers, directors, partners,
members, managers and employees shall be indemnified to the fullest extent permitted by
law by the Liquidating Trust against all liabilities arising out of the creation, operation or
termination of the Liquidating Trust, including actions taken or omitted in fulfillment of their
duties with respect to the Liquidating Trust, except for those acts that are determined by Final
Order to have arisen out of their own willful misconduct, gross negligence, or bad faith.

       4.     The Liquidating Trust will maintain customary insurance coverage for the
protection of the Liquidating Trustees, the Delaware Trustee and the Liquidating Trust
Management from and after the Effective Date.

                                         ARTICLE VII.

           PROVISIONS GOVERNING ISSUANCE OF UNITS AND OTHER
                            DISTRIBUTIONS

A.      Applicability

        The provisions of this Article VII shall govern distributions to the extent not otherwise
provided for in the Plan or in any indenture, trust agreement or plan of allocation recognized
under the Plan. To the extent the provisions of any such indenture, trust agreement or plan of
allocation address specific matters set forth in this Article VII, the provision of such indenture,
trust agreement or plan of allocation shall govern.

B.      Cash Distributions

       1.     Administrative, Priority, Secured and General Unsecured Convenience Claims.
On or as soon as practicable after the Effective Date, if the Debtors shall not otherwise have done
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so, the Liquidating Trust, in its capacity as Disbursing Agent, shall make Cash distributions to
holders of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed Other Priority
Claims, Allowed Other Secured Claims, Junior Secured Notes Claims, Allowed ETS Unsecured
Claims and Allowed General Unsecured Convenience Claims.

        2.      Borrower Claims Trust. On the Effective Date, the Debtors shall transfer the
Borrower-Related Causes of Action to the Borrower Claims Trust. On or as soon as practicable
after the Effective Date, if the Debtors shall not otherwise have done so, the Liquidating Trust, in
its capacity as Disbursing Agent, shall fund the Borrower Claims Trust with $57.6 million in
Cash, subject to the Borrower Trust True-Up, and shall also make a one-time cash payment to the
Borrower Claims Trust on the Effective Date in the amount set forth in the Borrower Claims Trust
Agreement, which amount represents the amount of the administrative fees and expenses of the
Borrower Claims Trust to be funded by the Liquidating Trust. Distributions to holders of
Borrower Claims will be made in accordance with methodology, criteria and procedures
established in the Borrower Claims Trust Agreement.

       3.      NJ Carpenters Claims Settlement. Assuming the NJ Carpenters Approval, if the
Debtors shall not otherwise have done so, the Liquidating Trust, in its capacity as Disbursing
Agent, shall fund the NJ Carpenters Claims Distribution with Cash within ten (10) Business
Days of the Effective Date. Distributions to holders of NJ Carpenters Claims will be made in
accordance with the methodology, criteria and procedures established in the NJ Carpenters Plan
of Allocation.

C.     Initial Issuance of Units and Distributions in Respect of Units by the Liquidating
       Trust

        On the Initial Unit Distribution Date, the Liquidating Trust shall issue Units to the RMBS
Claims Trust, the Private Securities Claims Trust, the Disputed Claims Reserve, and the holders
of Allowed Unsecured Claims (other than RMBS Trust Claims and ETS Unsecured Claims), in
each case, as of the Initial Unit Distribution Record Date, in accordance with the terms of the
Plan, including the RMBS Trust Allocation Protocol.

        Units shall entitle the holder thereof to receive a Pro Rata Unit Share of the distributions
of Distributable Cash paid by the Liquidating Trust, when and as such distributions are made.
Prior to making any distributions on the Units, the Liquidating Trust will (i) fund the Borrower
Claims Trust with the Borrower Claims Trust Assets, and the NJ Carpenters Claims Distribution,
and (ii) pay, or adequately reserve for the payment in full of, all Allowed Administrative Claims,
Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed Other Secured Claims,
and Junior Secured Notes Claims, and General Unsecured Convenience Claims, including
funding the Administrative, Priority, Secured and Convenience Distribution Reserve.
Distributions on account of Disputed Claims shall be made in accordance with Article VIII.D. of
the Plan.

        Units will be issued in global certificate form only and registered to DTC, with interests
in the certificate being held through DTC participants, for so long as the Units are eligible to be
held through DTC. Liquidating Trust Unit Beneficiaries must follow specified procedures to
designate a direct or indirect DTC participant to receive their Units. The Units shall be freely

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negotiable and transferrable, subject to restrictions under applicable securities laws. The Units
shall not be listed on any national security exchange or interdealer quotation system, and the
Liquidating Trust shall not take any action to promote or facilitate a trading market in the Units.

        On each Distribution Date, pursuant to the Liquidating Trust Agreement, the Liquidating
Trust (i) shall distribute to each Unitholder, on account of its Units, an amount equal to its
respective Pro Rata Unit Share of the Distributable Cash, and (ii) shall deposit into the Disputed
Claims Reserve the Pro Rata Unit Share of the Distributable Cash allocable to the Units held in
the Disputed Claims Reserve. The initial distribution of Distributable Cash to the Unitholders
shall be made by the Liquidating Trust on an initial Distribution Date as soon as practicable after
the Effective Date. Subsequent Distribution Dates shall be determined by the Liquidating Trust
Board from time to time, but shall occur no less frequently than at intervals provided in the
Liquidating Trust Agreement, provided that the Liquidating Trust shall not be required to make a
distribution if the aggregate Distributable Cash at the time would make the distribution
impracticable, as determined by the Liquidating Trust Board.

               Holders of Units shall not be entitled to interest on Cash distributions made in
respect of such Units, regardless of when such distributions are made.

D.     Fractional Units

                No fractional Units shall be issued or distributed under the Plan. The actual
distribution of Units shall be rounded to the next higher or lower whole number as follows:
(i) fractions less than one-half (½) shall be rounded to the next lower whole number and
(ii) fractions equal to or greater than one-half (½) shall be rounded to the next higher whole
number. The total amount of Units to be distributed hereunder shall be adjusted as necessary to
account for such rounding. No consideration shall be provided in lieu of fractional Units that are
rounded down.

E.     Timing and Calculation of Amounts to be Distributed

       1.      Distributions on Account of Claims Allowed as of the Effective Date

        Except as otherwise provided in the Plan, on the Effective Date or as soon as
practicable thereafter, each holder of an Allowed Claim against the Debtors as of the
Effective Date shall receive the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class. In the event that any payment or act under the Plan
is required to be made or performed on a date that is not a Business Day, then the making of
such payment or the performance of such act may be completed on the next succeeding
Business Day, but shall be deemed to have been completed as of the required date.

       2.      Distributions on Account of Claims Allowed After the Effective Date

        If and to the extent that there are Disputed Claims, distributions on account of any
such Disputed Claims shall be made to the extent such Claims are Allowed in accordance
with the provisions set forth in Article VIII with respect to dispute resolution. Except as
otherwise provided in the Plan, a Final Order, or as agreed to by the relevant parties,
distributions under the Plan on account of Disputed Claims that become Allowed after the

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Effective Date shall be made as soon as practicable after the Disputed Claim becomes an
Allowed Claim.

        Except as otherwise provided in the Plan, holders of Claims shall not be entitled to
interest on the distributions provided for in the Plan, regardless of whether such distributions
are delivered on or at any time after the Effective Date.

F.     Disbursing Agent

       1.     Generally

       All distributions under the Plan shall be made by the Liquidating Trust, as Disbursing
Agent, or by such other Person designated by the Liquidating Trust to act as a Disbursing
Agent. Except as otherwise ordered by the Bankruptcy Court, a Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties.

       2.     Rights and Powers of the Disbursing Agent

       The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, securities, instruments, and other documents necessary to perform its duties
under the Plan; (b) make all distributions contemplated by the Plan; (c) employ
professionals to represent it with respect to its responsibilities; and (d) exercise such other
powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court,
pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
implement the provisions of the Plan.

       3.     Expenses Incurred On or After the Effective Date

       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable
fees and expenses incurred by a Person designated by the Liquidating Trust as Disbursing
Agent on or after the Effective Date (including taxes) and any reasonable compensation and
expense reimbursement claims (including reasonable attorney fees and expenses) made by
the Disbursing Agent shall be paid in Cash by the Liquidating Trust from the Liquidating
Trust Expenses Set Aside.

G.     Delivery of Distributions and Undeliverable or Unclaimed Distributions

       1.     Delivery of Distributions

        If a Creditor holds more than one Allowed Claim in any one Class, all Allowed
Claims of the Creditor in a single Class will be aggregated into one Allowed Claim and one
distribution will be made with respect to the aggregated Allowed Claim.

      Distributions under this Plan to holders of Junior Secured Notes Claims shall be
made to the Junior Secured Notes Indenture Trustee, which, subject to the right of the Junior
Secured Notes Indenture Trustee to assert its Junior Secured Notes Indenture Trustee
Charging Lien against such distributions, shall transmit such distributions to the holders of
such Junior Secured Notes Claims as provided in the Junior Secured Notes Indenture.

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Notwithstanding any provision contained in this Plan to the contrary, the distribution
provisions contained in the Junior Secured Notes Indenture shall continue in effect to the
extent necessary to authorize the Junior Secured Notes Indenture Trustee to receive and
make distributions to the holders of Junior Secured Notes Claims and shall terminate
completely upon completion of all such distributions. Notwithstanding anything to the
contrary in this Plan, the Junior Secured Notes may continue to trade until the Junior
Secured Notes Distribution Record Date. As of the close of business on the Junior Secured
Notes Distribution Record Date, (i) the transfer books and records of the Junior Secured
Notes as maintained by the Junior Secured Notes Indenture Trustee or its agent shall be
closed, and (ii) any transfer of any Junior Secured Notes, Junior Secured Notes Claims or
any interest therein shall be prohibited. The Debtors, the Liquidating Trust and the Junior
Secured Notes Indenture Trustee shall have no obligation to recognize any transfer of any
Junior Secured Notes, Junior Secured Notes Claims or any interest therein occurring after
the close of business on the Junior Secured Notes Distribution Record Date, and shall
instead be entitled to recognize and deal for all purposes under this Plan with only those
holders of record as of the close of business on the Junior Secured Notes Distribution
Record Date. The Junior Secured Notes Indenture Trustee may assert its rights under the
Junior Secured Notes Indenture Trustee Charging Lien, including for the payment of any
and all accrued Junior Secured Notes Indenture Trustee Fees and Junior Secured Notes
Collateral Agent Fees and Expenses. The Junior Secured Notes Indenture Trustee may
withhold distribution of any Cash it receives on account of the Junior Secured Notes Claims
until such time as it determines that it has received sufficient payments to satisfy all accrued
and reasonably expected Junior Secured Notes Indenture Trustee Fees and Junior Secured
Notes Collateral Agent Fees and Expenses, and such payments shall be made in accordance
with the requirements of the Junior Secured Notes Indenture and the Junior Secured Notes
Security Agreement, as applicable.

        Distributions under the Plan to Senior Unsecured Noteholders shall be made to the
Senior Unsecured Notes Indenture Trustee for the benefit of the Senior Unsecured
Noteholders and shall be deemed completed when made to the Senior Unsecured Notes
Indenture Trustee. On the Effective Date, and subject to the provisions in paragraph IV.L,
the Senior Unsecured Notes, the Senior Unsecured Notes Indenture and all other related
documents will be deemed cancelled except as set forth herein. Notwithstanding the
foregoing, the Senior Unsecured Notes may continue to trade until the Senior Unsecured
Notes Indenture Trustee makes distributions of Units it has received to the Senior Unsecured
Noteholders. The Senior Unsecured Notes Indenture Trustee may (a) assert its rights under
the Senior Unsecured Notes Indenture Trustee Charging Lien, including for the payment of
any and all accrued Senior Unsecured Note Indenture Trustee Fees and Expenses and (b)
establish the Senior Unsecured Notes Indenture Trustee Reserve on any distribution of Units
or Cash. The Senior Unsecured Notes Indenture Trustee may withhold distribution of the
Units and any Cash it receives on account of such Units, until such time as it determines that
it has received sufficient payment to satisfy the accrued Senior Unsecured Note Indenture
Trustee Fees and Expenses and to fund the Senior Unsecured Notes Indenture Trustee
Reserve. At such time, the Senior Unsecured Notes Indenture Trustee shall distribute such
Units and any remaining Cash it has received on account of such Units to the Registered
Holders of the Senior Unsecured Notes, which distributions shall satisfy the Senior
Unsecured Notes Indenture Trustee’s obligations hereunder. The Senior Notes Indenture
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Trustee shall be reimbursed by the Liquidating Trust as a Disbursing Agent in accordance
with the Plan. Notwithstanding the foregoing, in the event that the Units are not registered
with DTC, the Senior Unsecured Notes Indenture Trustee shall not bear any responsibility
for the distribution of the Units to the Senior Unsecured Noteholders and such distributions
will be effected by the Disbursing Agent. Upon release by the Senior Unsecured Notes
Indenture Trustee of any funds remaining in the Senior Unsecured Notes Indenture Trustee
Reserve, such funds shall be delivered to the Senior Unsecured Noteholders.

        Subject to the NJ Carpenters Approval, the distributions under the Plan to holders of
NJ Carpenters Claims shall be made and deemed completed when made to the lead plaintiff
in the NJ Carpenters Class Action or as the District Court may otherwise order. The RMBS
Claims Trust Trustee shall be empowered to make distributions to holders of Recognized
RMBS Claims, and any distributions to holders of Recognized RMBS Claims, and any
distributions to the RMBS Claims Trust for the benefit of holders of Recognized RMBS
Claims by the Liquidating Trust, shall be deemed completed upon the funding of the RMBS
Claims Trust. The Borrower Claims Trustee shall be empowered to make distributions to
holders of Allowed Borrower Claims, and any distributions to or for the benefit of holders
of Allowed Borrower Claims by the Debtors or Liquidating Trust shall be deemed
completed upon the funding of the Borrower Claims Trust. The Private Securities Claims
Trustee shall be empowered to make distributions to holders of Allowed Private Securities
Claims, and distributions to holders of Allowed Private Securities Claims shall be deemed
completed upon the issuance of the Private Securities Claims Trust Unit Distribution to the
Private Securities Claims Trust.

       2.     Distributions to Holders of Disputed Claims

        Except as otherwise provided in the Plan or agreed to by the relevant parties: (a) no
partial payments and no partial distributions shall be made with respect to a Disputed Claim
until all such disputes in connection with such Disputed Claim have been resolved by
settlement or Final Order and (b) any Entity that holds both an Allowed Claim and a
Disputed Claim shall not receive any distribution on the Allowed Claim unless and until all
objections to the Disputed Claim have been resolved by settlement or Final Order or the
Claims have been Allowed or expunged. Any distributions arising from property distributed
to holders of Allowed Claims in a Class and made to such holders under the Plan shall be
made also, in the applicable amounts, to any holder of a Disputed Claim in such Class that
becomes an Allowed Claim after the date or dates that such distributions were earlier made
to holders of Allowed Claims in such Class.

       3.     Surrender of Junior Secured Notes and Senior Unsecured Notes

       a. Junior Secured Notes. On the Effective Date, or as soon as reasonably practicable
thereafter, the Junior Secured Notes Indenture Trustee, with the cooperation of the Debtors
or the Liquidating Trust, as applicable, shall direct DTC and any other applicable securities
depository to surrender the Junior Secured Notes to the Junior Secured Notes Indenture
Trustee. All distributions by the Junior Secured Notes Indenture Trustee to Registered
Holders of Junior Secured Notes Claims shall only be made to such holder after (i) the
surrender by each such holder of the debt securities representing such Junior Secured Notes

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Claim or appropriate instructions from the applicable securities depository have been
received by the Junior Secured Notes Indenture Trustee; or (ii) the loss, theft, mutilation, or
destruction of such debt securities has been established to the reasonable satisfaction of the
Junior Secured Notes Indenture Trustee, which satisfaction may require such Registered
Holder to submit a lost instrument affidavit and an indemnity bond holding the Debtors, the
Liquidating Trust, and the Junior Secured Notes Indenture Trustee harmless in respect of
such debt securities and distributions made in respect thereof. Each Registered Holder shall
be deemed to have surrendered such debt securities as of the date it has complied with the
foregoing conditions. Upon surrender of such debt securities, the Junior Secured Notes
Indenture Trustee shall cancel and destroy such debt securities. As soon as practicable after
the surrender date, the Junior Secured Notes Indenture Trustee shall distribute to the holder
thereof such holder’s pro rata share of the distribution, but subject to the rights of the Junior
Secured Notes Indenture Trustee to assert its Junior Secured Notes Indenture Trustee
Charging Lien against such distribution. Any Registered Holder that fails to surrender such
debt securities or, if applicable, satisfactorily explain the loss, theft, or destruction of such
debt securities to the Junior Secured Notes Indenture Trustee within one (1) year of the
Effective Date shall be deemed to have no further Claim against the Debtors, the
Liquidating Trust, or the Junior Secured Notes Indenture Trustee in respect of such Claim
and shall not be entitled to receive any distribution under the Plan. All property in respect of
such forfeited distributions, including interest thereon, shall, subject to the Junior Secured
Notes Indenture Trustee Charging Lien, be promptly returned to the Liquidating Trust by
the Junior Secured Notes Indenture Trustee and any such debt securities shall be cancelled.

        b. Senior Unsecured Notes. On the Effective Date, or as soon as reasonably
practicable thereafter, the Senior Unsecured Notes Indenture Trustee, with the cooperation
of the Debtors or the Liquidating Trust, as applicable, shall advise DTC and any other
applicable securities depository of the occurrence of such Effective Date and the
cancellation of the Debtors obligations with respect to the Senior Unsecured Notes, but not
to terminate the CUSIP or ISIN numbers of the Senior Unsecured Notes. At such time as
the Senior Unsecured Notes Indenture Trustee is prepared to release the Units it received on
account of the Senior Unsecured Notes Claims, it may request that such depositories
surrender the Senior Unsecured Notes, if deemed appropriate, or with the cooperation of the
Debtors or the Liquidating Trust, issue such other instructions to DTC and any other
securities depository, as appropriate to effectuate the distributions contemplated under the
Plan; provided, however, that nothing herein shall contravene the effectiveness of the Senior
Unsecured Notes as set out in Article IV.K. No distributions under the Plan shall be made
for or on behalf of a Registered Holder unless and until (i) such debt securities have been
received by the applicable Indenture Trustee or other appropriate instructions have been
issued or received by the applicable Indenture Trustee; or (ii) the loss, theft, or destruction
of such debt securities has been established to the reasonable satisfaction of the Senior
Unsecured Notes Indenture Trustee, which satisfaction may require such Registered Holder
to submit a lost instrument affidavit and an indemnity bond holding the Debtors, the
Liquidating Trust, and the Senior Unsecured Notes Indenture Trustee harmless in respect of
such debt securities and any distributions to be made in respect thereof. Each Registered
Holder shall be deemed to have surrendered such debt securities as of the date it has
complied with the foregoing conditions. On such surrender or deemed surrender date, the
Senior Unsecured Noteholders shall be entitled to receive distributions pursuant to the Plan.
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If required by the Senior Unsecured Notes Indenture Trustee, any Registered Holder that
fails to surrender such debt securities or, if applicable, satisfactorily explain the loss, theft,
or destruction of such debt securities to the Senior Unsecured Notes Indenture Trustee
within one (1) year of the Effective Date shall be deemed to have no further Claim against
the Debtors, the Liquidating Trust, or the Senior Unsecured Notes Indenture Trustee in
respect of such Claim and shall not be entitled to receive any distribution under the Plan. All
property in respect of such forfeited distributions, including interest thereon, shall be
promptly returned to the Liquidating Trust by such Indenture Trustee and any such debt
securities shall be cancelled.

      4.    Minimum Distributions; Foreign Exchange Rate; and Other Distribution
Limitations

       Other than with respect to Allowed General Unsecured Convenience Claims and
Allowed ETS Unsecured Claims, no Cash payment of less than $50 shall be made to a
holder of an Allowed Claim on account of such Allowed Claim. If a holder of an Allowed
Claim would be entitled to receive less than $50 as of the time of a particular distribution,
but would be entitled to receive more than $50 in combination with later distributions, the
Disbursing Agent will combine such distributions with later distributions to such holder of
an Allowed Claim so that such holder may eventually be entitled to a distribution of at least
$50 in value.

       Whenever any payment of Cash of a fraction of a dollar pursuant to the Plan would
otherwise be required, the actual payment shall reflect a rounding of such fraction to the
nearest whole dollar (up or down), with half dollars or less being rounded down.

       Except as otherwise provided in the Plan or a Bankruptcy Court order, as of the
Effective Date, any Claim asserted in currency other than United States dollars shall be
automatically deemed converted to the equivalent United States dollar value using the
exchange rate as of the Petition Date as quoted at 4:00 p.m. (EDT), mid-range spot rate of
exchange for the applicable currency as published in The Wall Street Journal, National
Edition, on the Petition Date.

       5.      Undeliverable Distributions and Unclaimed Property

        In the event that any distribution to a holder of an Allowed Claim is returned as
undeliverable, no distribution to such holder shall be made unless and until the Disbursing
Agent has determined the then current address of such holder, at which time such
distribution shall be made to such holder without interest; provided, however, that such
distributions shall be deemed unclaimed property under Bankruptcy Code section 347(b) at
the expiration of six (6) months from the applicable date of distribution. After such date, all
unclaimed property or interests in property shall revert to the Liquidating Trust
(notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property
laws to the contrary), and the Claim of any holder to such property or interest in property
shall be released, settled, compromised, and forever barred.




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H.     Compliance with Tax Requirements

        In connection with the Plan, to the extent applicable, the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed upon it by any
Governmental Unit, and all distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding the above, each holder of an
Allowed Claim that is to receive a distribution under the Plan shall have the sole and
exclusive responsibility for the satisfaction and payment of any taxes imposed on such
holder by any Governmental Unit, including income, withholding and other tax obligations,
on account of such distribution. The Disbursing Agent has the right, but not the obligation,
not to make a distribution until such holder has made arrangements satisfactory to the
Disbursing Agent for payment of any such withholding tax obligations and, if the
Disbursing Agent fails to withhold with respect to any such holder’s distribution, and is later
held liable for the amount of such withholding, the holder shall reimburse the Disbursing
Agent. Notwithstanding any provision in the Plan to the contrary, the Disbursing Agent shall
be authorized to take all actions necessary or appropriate to comply with such withholding
and reporting requirements, including liquidating a portion of the distribution to be made
under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions, or
establishing any other mechanisms it believes are reasonable and appropriate. The
Disbursing Agent may require, as a condition to the receipt of a distribution, that the holder
complete the appropriate Form W-8 or Form W-9, as applicable to each holder. If the holder
fails to comply with such a request within six months, such distribution shall be deemed an
unclaimed distribution. Finally, the Disbursing Agent reserves the right to allocate all
distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support, and other spousal awards, Liens, and encumbrances.

I.     Allocations

        Distributions in respect of Allowed Claims shall be allocated first to the principal
amount (as determined for federal income tax purposes) of such Claims, and then, to the
extent the consideration exceeds the principal amount of such Claims, to any portion of such
Claims for accrued but unpaid interest, provided, however, that distributions on the RMBS
Trust Claims shall be allocated pursuant to the RMBS Trust Allocation Protocol described
in Article IV herein.

J.     Setoffs and Recoupment

       The Liquidating Trust may, but shall not be required to, setoff against or recoup from
any Claims of any nature whatsoever that it may have against the claimant, including any
Causes of Action transferred to the Liquidating Trust by the Debtors, but neither the failure
to do so nor the Allowance of any Claim shall constitute a waiver or release by the Debtors
or the Liquidating Trust of any such Claim it may have against the holder of such Claim.

       Before the Liquidating Trust can set-off or recoup against the distribution to be made on
account of an Allowed Claim, the holder of the Claim shall be served with written notice of the
proposed setoff or recoupment at least thirty (30) days prior to the Liquidating Trust exercising

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any asserted setoff or recoupment right, and, if such claimant serves a written objection to such
asserted setoff or recoupment on or before thirty (30) days of receipt of such written notice, (i)
the objection shall be deemed to initiate a contested matter governed by, inter alia, Bankruptcy
Rule 9014 and Local Bankruptcy Rules 9014-1 and 9014-2, (ii) nothing herein shall affect the
respective burden of each party in connection with such contested matter, and (iii) the
Liquidating Trust shall not proceed with the asserted setoff or recoupment absent the
withdrawal of such objection or the entry of a Final Order overruling such objection.

K.     Claims Paid or Payable by Third Parties

       1.      Claims Paid by Third Parties

        Except as otherwise provided herein, including with respect to the Ally Contract
Claims, the Debtors, on or prior to the Effective Date, or the Liquidating Trust, after the
Effective Date, shall reduce a Claim, and such Claim shall be disallowed without a Claims
objection having to be Filed and without any further notice, action, order, or approval of the
Bankruptcy Court, to the extent that the holder of such Claim receives payment on account
of such Claim from a party that is not a Debtor, the Liquidating Trust, or other party making
distributions on account of the Claim pursuant to the Plan.

       2.      Claims Payable by Insurers

               (a)     Distributions. Except as otherwise provided herein, including with
respect to the rights of (i) the Kessler Settlement Class and (ii) other creditors who have
entered into a settlement agreement with the Debtors prior to the Effective Date, in and to
the GM Insurance Rights as provided herein and in the Kessler Settlement Agreement, and
the Ally Contract Claims:

                  (i)     No distributions under the Plan shall be made on account of an
                          Allowed Claim that is payable pursuant to one of the Debtors’
                          insurance policies, excluding the GM Policies, until the holder of
                          such Allowed Claim has exhausted all remedies with respect to
                          such insurance policy; and

                  (ii)    to the extent that one or more of the Debtors’ insurers agrees to
                          satisfy in full a Claim (if and to the extent adjudicated by a court of
                          competent jurisdiction), then immediately upon such insurers’
                          payment, such Claim may be expunged without an objection to
                          such Claim having to be Filed and without any further notice to or
                          action, order, or approval of the Bankruptcy Court,

provided, that if a Debtor or the Liquidating Trust believes a holder of an Allowed Claim
has recourse to an insurance policy and intends to withhold a distribution pursuant to this
Article VII.K, the Debtor, prior to the Effective Date, or Liquidating Trust, following the
Effective Date, shall provide written notice to such holder as to what the Debtor or
Liquidating Trust believes to be the nature and scope of applicable insurance coverage.



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               (b)    Insurance Neutrality. Except as set forth below in VII.K.2.(e), nothing
contained in this Plan, in the Disclosure Statement, in the Liquidating Trust Agreement, or
in the Borrower Claims Trust Agreement (including addendums, exhibits, schedules, or
supplements to the Plan, Disclosure Statement, Liquidating Trust Agreement, or Borrower
Claims Trust Agreement, and including any provision that purports to be preemptory or
supervening), shall in any way operate to, or have the effect of, impairing, altering,
supplementing, changing, expanding, decreasing, or modifying the rights under the GM
Policies of any of those insurers that issued the GM Policies (the “GM Insurers”). Except as
set forth below in VII.K.2.(e), for all issues of insurance coverage or otherwise, the
provisions, terms, and conditions of the GM Policies, as construed under applicable non-
bankruptcy law, shall control.

              (c)    Preservation of Insurance-Related Causes of Action.           Nothing
contained in this Plan, in the Disclosure Statement, in the Liquidating Trust Agreement, or
in the Borrower Claims Trust Agreement (including addendums, exhibits, schedules, or
supplements to the Plan, Disclosure Statement, Liquidating Trust Agreement, or Borrower
Claims Trust Agreement, and including any provision that purports to be preemptory or
supervening), shall in any way operate to, or have the effect of, impairing, reducing,
decreasing, or impeding any Cause of Action that the Debtors, the Liquidating Trust, or any
Entity may hold against any insurers under any policies of insurance.

              (d)    Settlement Insurance Policies. Nothing contained in this Article VII of
the Plan shall impair, reduce, decrease, or impede Ally’s rights under the Plan to recover
from the Settlement Insurance Policies or any of its other insurance policies.

              (e)     Defenses to Assignment of Rights. The GM Insurers shall be deemed
to have waived any defense to coverage that is based on the assertion that the transfer of the
insurance rights in this Plan are invalid, unenforceable or otherwise breach the terms of the
GM Policies. For the avoidance of doubt, as set forth in VII.K.2.(b), all other rights and
defenses shall remain unaffected by the Plan, the Disclosure Statement, and the Liquidating
Trust Agreement, and the Borrower Claims Trust Agreement.

L.     Allowed Unsecured Claims for Which More than One Debtor in a Debtor
       Group Is Jointly and/or Severally Liable

        Where a Creditor holds Allowed Unsecured Claims for which more than one Debtor
in a Debtor Group is jointly and/or severally liable, such creditor shall only receive one
recovery from the Debtor Group on account of such Claim. This provision shall not affect
distributions on account of such Creditor’s Allowed Claims, if any, against the Debtors in
another Debtor Group.

M.     Distributions Free and Clear

        Except as otherwise provided herein, any distributions under this Plan shall be free and
clear of any Liens, Claims, and encumbrances, and no other Entity, including the Debtors, the
Liquidating Trust, or the Disbursing Agent shall have any interest (legal, beneficial or otherwise)
in property of the Estate distributed pursuant to this Plan, except that (i) distributions on account

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of Senior Unsecured Note Claims shall remain subject to the Senior Unsecured Notes Indenture
Trustee Charging Lien, and (ii) distributions on account of Junior Secured Notes Claims shall
remain subject to the Junior Secured Notes Indenture Trustee Charging Lien.

                                         ARTICLE VIII.

                PROCEDURES FOR RESOLVING DISPUTED CLAIMS

A.     Resolution of Disputed Claims

       1.      Applicability

        The provisions of this Article VIII shall govern the resolution of Disputed Claims to the
extent not otherwise provided for in this Plan or in any other trust agreement (such as the RMBS
Claims Trust Agreement, the Private Securities Claims Trust Agreement or the Borrower Claims
Trust Agreement) or plan of allocation (such as the RMBS Trust Allocation Protocol) approved
under this Plan. To the extent the provisions of any such trust agreement or plan of allocation
address specifically matters set forth in this Article VIII, the provision of such trust agreement or
plan of allocation shall govern.

       2.      Allowance of Claims

       On or after the Effective Date, the Liquidating Trust shall have and shall retain any
and all rights and defenses that the Debtors had with respect to any Claim, except with
respect to any Claim (i) deemed Allowed as of the Effective Date or (ii) waived,
relinquished, exculpated, released, compromised, settled, or Allowed in the Plan or in a
Final Order. Except as otherwise provided in the Plan or in any order entered in the Chapter
11 Cases prior to the Effective Date, including the Confirmation Order, no Claim shall
become an Allowed Claim unless and until such Claim is deemed Allowed (a) under the
Plan or the Bankruptcy Code or (b) by Final Order of the Bankruptcy Court, including the
Confirmation Order.

       3.      Prosecution of Objections to Claims

        On the Effective Date, the Liquidating Trust will have the exclusive authority to:
(a) File, withdraw, or litigate to judgment, objections to Claims or Equity Interests (other
than Borrower Claims, Private Securities Claims, and the NJ Carpenters Claims); (b) settle
or compromise (or decline to do any of the foregoing) any Disputed Claim (other than
Borrower Claims, Private Securities Claims, and NJ Carpenters Claims) or Cause of Action
(other than the Borrower-Related Causes of Action) without any further notice to or action,
order, or approval by the Bankruptcy Court; and (c) administer and adjust the Claims
Register to reflect any such settlements or compromises without any further notice to or
action, order, or approval by the Bankruptcy Court.

       4.      Claims Estimation

      The Plan Proponents, prior to the Effective Date, or the Liquidating Trust or
Borrower Claims Trust (to the extent provided for in the Borrower Claims Trust

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Agreement), as applicable, following the Effective Date, may request that the Bankruptcy
Court estimate any disputed, contingent, or unliquidated Claim to the extent permitted by
Bankruptcy Code section 502(c) regardless of whether the Plan Proponents (prior to the
Effective Date) or the Liquidating Trust or Borrower Claims Trust (following the Effective
Date) has previously objected to such Claim or whether the Bankruptcy Court has ruled on
any such objection. Among other things, the Plan Proponents may request that the Bankruptcy
Court estimate the Recognized RMBS Claims in the amounts set out in the RMBS Trust Claims
Schedules for the purpose of implementing the RMBS Trust Allocation Protocol. The
Bankruptcy Court shall have jurisdiction to estimate any Claim at any time during litigation
concerning any objection to such Claim, including during the pendency of any appeal
relating to any such objection. Except as set forth below with respect to reconsideration under
section 502(j) of the Bankruptcy Code, in the event that the Bankruptcy Court estimates any
Disputed Claim, contingent Claim, or unliquidated Claim, that estimated amount shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim for all
purposes under this Plan, including for purposes of distributions. If the estimated amount
constitutes a maximum limitation on such Claim, the Liquidating Trust or Borrower Claims
Trust (to the extent provided for in the Borrower Claims Trust Agreement) may elect to pursue
any supplemental proceedings to object to any ultimate distribution on account of such Claim.
Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any holder of a Claim
that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
entitled to seek reconsideration of such estimation unless such holder has Filed a motion
requesting the right to seek such reconsideration on or before twenty-one (21) days after the date
on which such Claim is estimated. All of the aforementioned Claims and objection, estimation,
and resolution procedures are cumulative and not exclusive of one another. Claims may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

       5.      Expungement or Adjustment of Claims Without Objection

       Any Claim that has been paid, satisfied, or superseded may be expunged on the
Claims Register by the Debtors’ notice and claims agent, and any Claim that has been
amended may be adjusted thereon by the Debtors’ notice and claims agent, in both cases
without a Claims objection having to be Filed and without any further notice to or action,
order or approval of the Bankruptcy Court.

       6.      Deadline to File Claims Objections

       Any objections to Claims shall be Filed by no later than the applicable Claims
Objection Deadline.

B.     Disallowance of Claims

      Any Claims held by an Entity from which property is recoverable under Bankruptcy
Code sections 542, 543, or 550, or that is a transferee of a transfer avoidable under
Bankruptcy Code sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a), shall be
deemed disallowed pursuant to Bankruptcy Code section 502(d), and holders of such Claims
may not receive any distributions on account of such Claims until such time as such Causes

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of Action against that Entity have been settled or a Final Order with respect thereto has been
entered and all sums due, if any, by that Entity have been turned over or paid by such Entity
to the Debtors or the Liquidating Trust.

     EXCEPT AS OTHERWISE AGREED BY THE DEBTORS, THE LIQUIDATING
TRUST, OR THE BORROWER CLAIMS TRUST, AS APPLICABLE, OR ORDERED
BY THE BANKRUPTCY COURT, ANY AND ALL PROOFS OF CLAIM FILED AFTER
THE APPLICABLE BAR DATE SHALL BE DEEMED DISALLOWED, DISCHARGED,
RELEASED, AND EXPUNGED AS OF THE EFFECTIVE DATE WITHOUT ANY
FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT RECEIVE
ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH LATE
PROOF OF CLAIM IS DEEMED TIMELY FILED BY A FINAL ORDER OF THE
BANKRUPTCY COURT.

C.     Amendments to Claims

       On or after the Effective Date, a Claim may not be Filed or amended without prior
authorization of the Bankruptcy Court, the Liquidating Trustees, or the Borrower Claims
Trustee, as applicable, and any such new or amended Claim Filed without such prior
authorization shall be deemed disallowed in full and expunged without any further action.

D.     Disputed Claims Reserve

       The provisions of this Article VIII.D shall apply to Disputed Claims held by Liquidating
Trust Unit Beneficiaries.

        To effect distributions to holders of Allowed Unsecured Claims in a timely manner, prior
to the Effective Date, the Plan Proponents shall file a motion for an order establishing the
Disputed Claims Reserve with respect to unliquidated and/or Disputed Claims. The Disputed
Claims Reserve shall be issued a number of Units equal to the amount sufficient to provide the
distributions to which holders of Disputed Claims would be entitled under the Plan as of such
date as if the Disputed Claims were Allowed Claims either in the amounts of the Claims as filed
or in such amounts as estimated in accordance with Article VIII.A.4. The Disputed Claims
Reserve shall also hold the Cash distributed with respect to such Units, provided that in its
discretion, the Liquidating Trust Board may substitute non-Cash assets for Cash distributed in
respect of Units held in the Disputed Claims Reserve, which non-Cash assets may be monetized
from time to time by the Disputed Claim Reserve; provided, however, that distributions from the
Disputed Claims Reserve shall only be made in Units and Cash; and provided further that in
connection with any such substitution of non-Cash assets, the Liquidating Trust Board shall give
due consideration to the timing and amount of scheduled and anticipated payments and both the
fair market value and the timing of monetization of such non-Cash assets, so as to enable the
Liquidating Trust to distribute Cash in respect of Units that are released from the Disputed
Claims Reserve as such Cash distributions are due.

        Disputed Claims that become Allowed, in whole or in part, shall be satisfied exclusively
out of the Disputed Claims Reserve. The holder of a Disputed Claim that becomes Allowed, in

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whole or in part, shall receive a number of Units and amount of Cash equal to the number of
Units and amount of Cash such holder would have received in accordance with the provisions of
the Plan had such Claim been Allowed as of the Initial Unit Distribution Record Date. In the
event the Units, and the Cash distributed with respect thereto, remaining in the Disputed Claims
Reserve shall be insufficient to satisfy all the Disputed Claims that have become Allowed and
are due to be satisfied with distributions from the Disputed Claims Reserve on any Unit
Distribution Date, such Disputed Claims shall be satisfied Pro Rata from the Disputed Claims
Reserve. After all Units, and the Cash distributed with respect thereto, have been distributed
from the Disputed Claims Reserve, no further distributions shall be made in respect of Disputed
Claims.

       If a Disputed Claim is disallowed, in whole or in part, then on the Unit Distribution Date
next following the date of determination of such disallowance, unless the Liquidating Trust
Board determines otherwise, there shall be released from the Disputed Claims Reserve, (i) a
number of Units equal to the Units that would have been released from the Disputed Claims
Reserve to the holder thereof had such Claim been Allowed in the as-filed or estimated amount,
as applicable, of such Claim, or disallowed portion thereof if such Claim is disallowed in part,
which Units shall be cancelled and retired and (ii) Cash, in the amount of such distribution made
to the Disputed Claims Reserve in respect of such Units since the Effective Date, which shall
then be unreserved and unrestricted, and which shall be added to the Liquidating Trust Expenses
Set Aside or available for distribution to the Unitholders, as determined by the Liquidating Trust
Board.

        If the Liquidating Trust Board at any time determines that it is not necessary to hold in
the Disputed Claims Reserve all of the Units and Cash and other assets, if any, contained therein
in order to satisfy all Disputed Claims of Liquidating Trust Unit Beneficiaries, the Liquidating
Trust Board may, but shall not be required to, cancel such number of Units in the Disputed
Claims Reserve as it determines is not required for the satisfaction of Disputed Claims and
release from the Disputed Claims Reserve for distribution to Unitholders, or for deposit to the
Liquidating Trust’s Administrative Reserve, some or all of the Cash previously deposited to the
Disputed Claims Reserve in respect of such Units. Any non-Cash assets released from the
Disputed Claims Reserve shall become general, unrestricted assets of the Liquidating Trust. At
such time as all Disputed Claims of the Liquidating Trust Unit Beneficiaries have been resolved,
any remaining Units in the Disputed Claims Reserve shall be cancelled and any remaining Cash
in the Disputed Claims Reserve shall be released from the Disputed Claims Reserve for
application as aforesaid.

                                         ARTICLE IX.

                       SETTLEMENT, RELEASE, INJUNCTION,
                           AND RELATED PROVISIONS

A.     Compromise and Settlement of Claims, Equity Interests, and Controversies

       In accordance with section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019,
and in consideration for the distributions and other benefits provided pursuant to the Plan,
the provisions of the Plan shall constitute a good faith compromise of all Claims, Interests

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and controversies relating to the contractual, legal and subordination rights that a holder of a
Claim may have with respect to any Allowed Claim or Equity Interest, or any distribution to
be made on account of such Allowed Claim or Equity Interest. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Interests and controversies, as well as a finding by the
Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates and holders of Claims and Equity Interests and is fair, equitable and reasonable.
In accordance with the provisions of the Plan, pursuant to section 363 of the Bankruptcy
Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Liquidating Trust may
compromise and settle Claims against the Debtors and Causes of Action against other
Entities.

B.     Release of Liens

        Except as otherwise provided in the Plan or in any contract, instrument, release,
or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable distributions made pursuant to the Plan and, in
the case of any Secured Claim, satisfaction in full of the portion of the Secured Claim
that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens, pledges, or
other security interests against any property of the Estates shall be fully released and
discharged, and all of the right, title, and interest of any holder of such mortgages,
deeds of trust, Liens, pledges, or other security interests shall vest in the Liquidating
Trust.

C.     Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, including with respect to the Ally Released Parties, the Ally Contribution
provided to the Estates under the Plan and otherwise, on and as of the Effective Date of the
Plan, the Debtor Released Parties are deemed released and discharged by the Debtors, the
Estates and the Liquidating Trust from any and all Causes of Action whatsoever, whether
known or unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract, violations of federal or state securities laws, or otherwise, including those Causes
of Action based on avoidance liability under federal or state laws, veil piercing or alter-ego
theories of liability, a theory of debt recharacterization, or equitable subordination
liability, arising from or related in any way to the Debtors, including those that any of the
Debtors would have been legally entitled to assert against a Debtor Released Party in its
own right (whether individually or collectively) or that any holder of a Claim or Equity
Interest, the Liquidating Trust, or other Entity would have been legally entitled to assert on
behalf of any of those Debtors or any of their Estates, including those in any way related to
the Chapter 11 Cases or the Plan to the fullest extent of the law.
       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the Debtor
Release, which includes by reference each of the related provisions and definitions
contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding that the
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Debtor Release is: (1) in exchange for the good and valuable consideration provided by the
Debtor Released Parties; (2) a good faith settlement and compromise of the claims released
by the Debtors’ release; (3) in the best interests of the Debtors, the Estates, the Liquidating
Trust and all holders of Claims and Equity Interests; (4) fair, equitable and reasonable; (5)
given and made after due notice and opportunity for a hearing; and (6) a bar to the
Debtors, the Liquidating Trust and any holder of a Claim or Equity Interest or other
Entity who would have been legally entitled to assert such Claim or Equity Interest on
behalf of any of the Debtors or any of their Estates from asserting any Claim or Cause of
Action released pursuant to the Debtors’ release.

D.     Third Party Release

        On and as of the Effective Date of the Plan, except as provided by Article IX.E,
the holders of Claims and Equity Interests shall be deemed to provide a full and
complete discharge and release to the Ally Released Parties and their respective
property from any and all Causes of Action whatsoever, whether known or unknown,
asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, whether for tort, fraud, contract,
violations of federal or state securities laws, veil piercing or alter-ego theories of
liability, contribution, indemnification, joint liability, or otherwise, arising from or
related in any way to the Debtors, including those in any way related to RMBS issued
and/or sold by the Debtors or their affiliates and/or the Chapter 11 Cases or the Plan,
the Consent Order, and the Order of Assessment.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval, under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, of the
Third Party Release, and further, shall constitute the Bankruptcy Court’s finding that
this Third Party Release is: (1) in exchange for the good, valuable and substantial
consideration provided by the Ally Released Parties; (2) in the best interests of the
Debtors, the Estates, the Liquidating Trust and all holders of Claims and Equity
Interests; (3) fair, equitable and reasonable; (4) given and made after due notice and
opportunity for a hearing; (5) justified by truly unusual circumstances; (6) an essential
component and critical to the success of the Plan; (7) resulted in distributions to the
Creditors that would otherwise have been unavailable; (8) the result of an identity of
interest between the Debtors and the Ally Released Parties regarding the Plan; and (9) a
bar to any party asserting a claim or cause of action released pursuant to this Third Party
Release against any of the Ally Released Parties.
E.     Third Party Release Carve-Out

        Notwithstanding anything to the contrary herein, the Third Party Release shall not apply
to any claims held by: (i) the FHFA, as conservator for Fannie Mae, and/or Fannie Mae against
Ally Bank, including, without limitation, any claims of FHFA and/or Fannie Mae against Ally
Bank for continuing liabilities, obligations, and duties owed by Ally Bank to FHFA and/or
Fannie Mae under the Fannie Mae Contract, including the obligations and duties to honor all
selling and servicing representations and warranties related to the portfolio of loans sold and/or
serviced, or that were previously serviced, by Ally Bank; (ii) the FHFA and/or Freddie Mac (a)
against Ally Bank for any selling and servicing representation and warranty claims for loans sold
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to Freddie Mac directly by Ally Bank subsequent and pursuant to the May 1, 2012 and August 1,
2012 master selling and servicing agreements among Ally Bank and Freddie Mac, and (b)
against Ally Financial Inc. as guarantor for the limited time that the Debtors subserviced the Ally
Bank loans sold pursuant to the agreements set forth in clause (a) above, (iii) the United States
and the DOJ/AG Settling States with regard to any monetary obligation the Ally Released Parties
may have arising under the DOJ/AG Settlement or causes of action preserved under Article V
and Exhibits F and G of the DOJ/AG Settlement; and shall not apply to (iv) any liability or
obligation of AFI to the United States or the States arising under the Internal Revenue Code,
environmental laws, civil fraud laws, or criminal laws, including, but not limited to, any such
liability or obligation preserved under Article V and Exhibits F and G of the DOJ/AG
Settlement.

        Nothing herein is intended to expand any liabilities under any agreement set forth above
or applicable law; the carve outs set forth above in clauses (ii) and (iii) are limited to liabilities
under agreements referenced therein and Ally expressly reserves all rights, claims, and defenses
against persons and entities carved out under this Article IX.E. regarding any liability that is the
subject of this Article IX.E.

        For the avoidance of doubt, no party can assert claims, causes of actions or liabilities
against the Debtors or Liquidating Trust arising from claims that are carved out under Article
IX.E(i).

       Nothing in the Plan releases AFI or any other party from the obligations under the
Employees Retirement Plan for GMAC Mortgage Group, LLC (the “Pension Plan”) and ERISA.
Notwithstanding the foregoing, upon the Effective Date, the Debtors and the Plan Trusts shall be
released from all obligations under the Pension Plan and ERISA related thereto, except for any
Claims for fiduciary breaches or prohibited transactions (as defined in ERISA) relating to the
Pension Plan under applicable law.

F.     Ally Release

        Except with respect to the Ally Contract Claims, on and as of the Effective Date of
the Plan, the Ally Released Parties shall release the Creditors’ Committee, the Debtors, and
the Consenting Claimants and their respective successors and assigns, members, partners,
advisors, and Representatives, in their capacities as such, from any and all Causes of
Action whatsoever, whether known or unknown, asserted or unasserted, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise arising from or
related to the Debtors’ liquidation, including the negotiation, formulation, or preparation
of the Plan Support Agreement, the Plan, the Disclosure Statement, and any other Plan
Documents and related disclosures, as well as any counterclaims in commenced or tolled
litigation with the Debtors or the Consenting Claimants.

G.     Junior Secured Notes Releases

       On and as of the Effective Date, (i) each of the Consenting JSNs, the Junior Secured
Notes Indenture Trustee, the Junior Secured Notes Predecessor Indenture Trustee, the Ad
Hoc Group, and the Junior Secured Notes Collateral Agent, and each of their predecessors,

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successors, and assigns, group members (except any such member of the Ad Hoc Group
that voted to reject the Plan and has not changed its vote to accept the Plan by the
Confirmation Date), general partners, advisors, and Representatives, each solely in their
capacities as such, shall release (a) each other, and (b) the Debtors, the Creditors’
Committee, each of the Consenting Claimants, and the Ally Released Parties, and each of
their predecessors, successors and assigns, members, partners, advisors, and
Representatives, each solely in their capacities as such; and (ii) the Debtors, the Creditors’
Committee, each of the Consenting Claimants, and the Ally Released Parties and each of
their successors and assigns, group members, general partners, advisors, and
Representatives, each solely in their capacities as such, shall release the Consenting JSNs,
the Junior Secured Notes Indenture Trustee, the Junior Secured Notes Predecessor
Indenture Trustee, the Ad Hoc Group, and the Junior Secured Notes Collateral Agent and
each of their predecessors, successors, and assigns, members (except any such member of
the Ad Hoc Group that voted to reject the Plan and has not changed its vote to accept
the Plan by the Confirmation Date), partners, advisors, and Representatives, each solely
in their capacities as such, in the case of (i) and (ii) above from any and all Claims and
Causes of Action whatsoever, whether known or unknown, asserted or unasserted, foreseen
or unforeseen, existing or hereinafter arising, in law, equity, or otherwise arising from or
related to the Debtors, including, without limitation, any right to seek sanctions, take
discovery, or initiate any investigation or examination pursuant to Bankruptcy Rule 2004
or any other similar action, all of which shall be considered Released Claims under the
Plan; it being understood and agreed that the Claims and Causes of Action being released
pursuant to this Article IX.G are limited to those Claims and Causes of Action arising from
or related to the JSN Documents and each Person’s conduct and participation in the
Chapter 11 Cases and shall not include any Claims or Causes of Action that a Person holds
in any other capacity or arising under any other documents or facts and circumstances;
provided, however, that nothing in this release shall limit the rights of the Junior Secured
Notes Indenture Trustee to receive and make distributions as provided in the Junior
Secured Notes Indenture and as provided and preserved in the Plan. Notwithstanding
anything to the contrary contained in this Article IX.G., any Person (other than a Person
that is itself a member of the Ad Hoc Group or a Junior Secured Noteholder, in each case
that is also a Consenting JSN) that is a former, present or future parent, affiliate, member,
member firm, associated entity, shareholder, principal, limited partner, equity investor, or
managed entity (along with the respective attorneys, financial advisors, investment
advisors, employees, officers, directors, managers, agents and other authorized
representatives of each of the foregoing) of a Consenting Claimant or a Junior Secured
Noteholder that is a Consenting JSN, in each case solely in their capacities as such, shall be
the recipient of, but shall not itself grant to any other Person, the release provided for by this
Article IX.G. Notwithstanding the above, nothing contained in this Article IX.G in any
way limits Article IX.D.

H.     Exculpation

       The Exculpated Parties shall neither have, nor incur, any liability to any entity for
any pre-petition or post-petition act or omission taken in connection with, or related to,
formulating, negotiating, preparing, disseminating, soliciting, implementing, administering,
confirming, or effecting the consummation of any prepetition plan support agreements, the
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Plan Support Agreement, the Plan, the Disclosure Statement, the FGIC Settlement
Agreement, the Kessler Settlement Agreement, the RMBS Settlement, the settlement of the
Junior Secured Notes Claims as provided in this Plan, or any contract, instrument, release,
or other agreement or document created or entered into in connection with the Plan,
provided, however, that the foregoing provisions of this Exculpation shall have no effect on
the liability of any entity that results from any such act that is determined in a final, non-
appealable order to have constituted gross negligence or willful misconduct; provided,
however, that the Exculpated Parties shall be entitled to rely upon the advice of counsel
and financial advisors concerning his, her, or its duties pursuant to, or in connection with,
any prepetition plan support agreement, the Plan Support Agreement, the Plan, the
Disclosure Statement, the FGIC Settlement Agreement, the Kessler Settlement Agreement,
the RMBS Settlement, and the settlement of the Junior Secured Notes Claims as provided
in this Plan. Notwithstanding the foregoing or any other provision in this Plan to the
contrary, as to the DOJ-Represented Agencies, nothing in this paragraph shall release or
exculpate any of the Exculpated Parties from any liability or obligation to the DOJ-
Represented Agencies for any pre-petition act or omission, or from any liability or
obligations arising under the tax laws, the environmental laws, civil fraud laws, criminal
laws, or the police or regulatory powers of the United States, except (i) to the extent the
applicable Bar Date or the discharge, release or injunction provisions of the Plan bar the
United States from pursuing Claims against the Debtors or the Liquidating Trust and (ii)
to the extent the United States released or settled any causes of action against any of the
Exculpated Parties, including but not limited to under the DOJ/AG Settlement (including
exhibits). For the avoidance of doubt, nothing in the foregoing provisions shall release or
exculpate the Ally Released Parties from any claims or obligations to the United States and
the DOJ/AG Settling States arising under the DOJ/AG Settlement or causes of action
preserved under Article V and Exhibits F and G of the DOJ/AG Settlement.

I.     Injunction

       Except as otherwise provided in the Confirmation Order or herein and in
accordance with Article IX.E hereof, all Entities, including Investors, who have held, hold
or may hold Claims, Equity Interests, Causes of Action or liabilities that constitute
Released Claims, are permanently enjoined and precluded, from and after the effective
date of the Plan, from: (a) commencing or continuing in any manner or action or other
proceeding of any kind against any Released Party whether directly, derivatively or
otherwise, on account of or in connection with or with respect to any Released Claims; (b)
enforcing, attaching, collecting or recovering by any manner or means any judgment,
award, decree or order against any Released Party on account of or in connection with or
with respect to any Released Claims; (c) creating, perfecting or enforcing any lien (other
than any charging lien of a trustee under its respective indenture), claim or encumbrance
of any kind against any Released Party on account of or in connection with or with respect
to any Released Claims; (d) asserting any right to setoff, subrogation or recoupment of any
kind against any obligation due from any Released Party on account of or in connection
with or with respect to any Released Claims unless such holder has filed a motion
requesting the right to perform such setoff on or before the Confirmation Date, and
notwithstanding any indication in a Proof of Claim or Equity Interest or otherwise that
such holder asserts, has or intends to preserve any right of setoff pursuant to section 553 of
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the Bankruptcy Code or otherwise; (e) commencing or continuing in any manner or action
or other proceeding of any kind against any Released Party on account of or in connection
with or with respect to any Released Claims; and (f) seeking relief or collecting judgments
on an Investor-related securities claim in a manner that fails to conform with the terms of
the judgment reduction provision set forth in the Plan and the Confirmation Order;
provided, that nothing contained herein shall be construed to prevent any entity from
objecting to claims or defending against claims objections or collection actions whether by
asserting a right of setoff or otherwise to the extent permitted by law. Such injunction shall
extend to the successors of the Liquidating Trust, if any, and to their respective properties
and interests in property. Any person injured by any willful violation of this injunction
shall be entitled to recover actual damages, including costs and attorneys’ fees and, in
appropriate circumstances, may recover punitive damages from the willful violator.

       For the avoidance of doubt, nothing in Article IX.E shall expand or limit the
application of this Article IX.I to Claims, Equity Interests, Causes of Action or liabilities
against the Debtors or the Liquidating Trust.

J.     Waiver of Subrogation

        The GMACM Debtors and the RFC Debtors hereby release the ResCap Debtors from any
and all liability or responsibility to the GMACM Debtors and the RFC Debtors or any entity
claiming through or under the GMACM Debtors and the RFC Debtors by way of subrogation or
otherwise, whether known or unknown, asserted or unasserted, derivative or direct, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether for tort, fraud,
contract, violations of federal or state securities laws, or otherwise, including those subrogated
Causes of Action based on avoidance liability under federal or state laws, veil piercing or alter-
ego theories of liability, a theory of debt recharacterization, or equitable subordination liability,
arising from or related in any way to the Debtors, including those that any of the Debtors would
have been legally entitled to assert against a Released Party in its own right (whether
individually or collectively) or that any holder of a Claim or Equity Interest, the Liquidating
Trust, or other entity would have been legally entitled to assert on behalf of any of those Debtors
or any of their Estates, including those in any way related to the Chapter 11 Cases or the Plan to
the fullest extent of the law.

K.     Satisfaction and Release of Claims and Equity Interests

        The rights afforded herein and the treatment of all Claims and Equity Interests herein
shall be in exchange for and in complete satisfaction and release of all Claims of any nature
whatsoever, including any interest accrued on such Claims from and after the Petition Date,
against the Debtors, the Liquidating Trust, or any of their respective assets or properties arising
prior to the Effective Date. Except as otherwise expressly specified in the Plan, after the
Effective Date, any holder of such Claim or Equity Interest shall be precluded from asserting
against the Debtors, the Liquidating Trust, or any of their respective assets or properties, any
other or further Claim based on any document, instrument, act, omission, transaction, or other
activity of any kind or nature that occurred before the entry of the Confirmation Order.



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L.     Judgment Reduction for Co-Defendants in Securities Litigation

        A defendant against whom a judgment of a court of competent jurisdiction is obtained
(whether in a proceeding now pending or hereafter commenced) on an Investor-related securities
claim where such defendant has a claim for indemnity or contribution that is subject to the Third
Party Releases shall be entitled to a judgment credit in the underlying litigation in the amount
and on the terms that would be available if the Third Party Releases were treated as a bar order in
the underlying litigation, in accordance with, and to the extent permitted under, applicable
statutory or common law, as determined by a court of competent jurisdiction. (For the avoidance
of doubt, a defendant against whom a judgment of a court of competent jurisdiction is obtained
(whether in a proceeding now pending or hereafter commenced) on an Investor-related securities
claim where such defendant has or had a claim for indemnity or contribution against any Debtor
is not precluded from asserting that it is entitled to a judgment credit in the underlying litigation
in connection with such claim against the Debtors, and the plaintiff(s) in such action shall have
the right to oppose any such request for a judgment credit on any basis, including but not limited
to that no such right exists and with reference to Bankruptcy Code section 502(e)). For the
avoidance of doubt, judgment reduction in the NJ Carpenters Class Action shall be governed by
the terms of the Order and Final Judgment entered by the District Court granting final approval
to the NJ Carpenters Settlement. See Docket No. 5354. Notwithstanding the foregoing and
without limitation (i) no Ally Released Party shall be deemed to have admitted to such fault by
virtue of this provision; (ii) nothing herein shall create any right for a defendant that it does not
have under applicable statutory or common law, if any, to obtain discovery from any Ally
Released Party, or create an obligation for any Ally Released Party to participate in any
proceeding to determine fault that does not exist under applicable statutory or common law, if
any, in connection with such claim; and (iii) no finding in any proceeding to determine fault shall
create any claim against any Ally Released Party or obligation of any Ally Released Party to
satisfy any claim. For the avoidance of doubt, nothing in this Article IX.L affects the Third Party
Releases, and all parties’ rights under applicable law with respect to discovery and any Ally
Released Party’s participation in any proceeding to determine fault are preserved.

M.     Limitations

         For the avoidance of doubt, the releases set forth in this Article IX shall not extend to:
(i) any rights, defenses, or counterclaims under any directors & officers or errors & omissions
insurance policies sold by any of the Consenting Claimants, the Consenting JSNs, or their
affiliates and covering either the Debtors or any of the Ally Released Parties; (ii) any indemnity
rights against non-Ally Released Parties arising out of the Kessler Class Action or to any other
indemnity right against non-Ally Released Parties arising out of any other claims of Borrowers;
specifically, these releases do not extend to any indemnity rights RFC may have against any non-
Ally Released Party that is a successor in interest to CBNV and GNBT, including, but not
limited to, those indemnity rights extending out of the client contracts between RFC, on the one
hand, and either CBNV or GNBT, on the other hand, which incorporate by reference the
indemnity provisions of RFC’s AlterNet Seller Guide, and (iii) any indemnity rights held by the
Debtors’ Representatives against Ally arising from Claims not released by this Article IX.

        Notwithstanding anything in this Article IX or in the Plan to the contrary, on the
Effective Date, the Berkshire APA shall vest in the Liquidating Trust in accordance with the Plan

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and the Berkshire Sale Order. The Liquidating Trust shall assume and perform any and all
rights, benefits, duties and obligations of the Debtors under the Berkshire APA and the Berkshire
Sale Order in accordance with their terms, and such rights, benefits, duties and obligations shall
not be deemed to have been released or discharged by the occurrence of the Effective Date, by
any provisions of the Plan (including, but not limited to, the provisions of Article IX of the Plan),
or otherwise. Nothing in the Plan Documents shall, or shall be deemed or construed to, alter,
change, modify or amend the terms and provisions of the Berkshire APA or the rights of the
Debtors, the Liquidating Trust, and Berkshire Hathaway Inc. and its Affiliates, subsidiaries, and
related entities, as applicable, thereunder, which rights shall continue in full force and effect and
be enforceable following the Effective Date in accordance with the terms thereof. For the
avoidance of doubt, Berkshire Hathaway Inc., its Affiliates, subsidiaries, and related entities
shall not be required to file an Administrative Claim to preserve their rights or Claims arising
after the Effective Date from or related to the Berkshire APA.

                                          ARTICLE X.

                   CONDITIONS PRECEDENT TO CONFIRMATION
                      AND CONSUMMATION OF THE PLAN

A.     Conditions Precedent to Confirmation

       It shall be a condition to Confirmation of the Plan that the following conditions shall have
been satisfied or waived in accordance with the terms of the Plan:

       (a)     Court approval of the Disclosure Statement in a form and substance reasonably
acceptable to the Plan Proponents, Ally, and each of the Consenting Claimants, as containing
adequate information with respect to the Plan within the meaning of section 1125 of the
Bankruptcy Code;

       (b)    The Plan shall be reasonably acceptable to the Plan Proponents, Ally, and each of
the Consenting Claimants, in accordance with the terms of the Plan Support Agreement;

       (c)     The Confirmation Order shall be reasonably acceptable to the Plan Proponents,
Ally, each of the Consenting Claimants, the Junior Secured Notes Indenture Trustee, a majority
(by amount of holdings) of the Consenting JSNs, and the Ad Hoc Group;

        (d)     The Plan Supplement and any related documentation shall be reasonably
satisfactory to the Plan Proponents, Ally, and each of the Consenting Claimants;

      (e)    Court approval of the RMBS Settlement as part of the Plan pursuant to
Bankruptcy Rule 9019;

        (f)    No Plan modifications that have altered distributions to be made under the Plan
shall have occurred without the consent of the Plan Proponents, Ally, each of the Consenting
Claimants, the Junior Secured Notes Indenture Trustee, a majority (by amount of holdings) of the
Consenting JSNs, and the Ad Hoc Group;



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       (g)   Court approval of the Third Party Releases and Debtor Releases in the Plan,
without any modification thereto; and

       (h)     Court approval of the Exculpation, in a form reasonably satisfactory to the Plan
Proponents, Ally, each of the Consenting Claimants, the Junior Secured Notes Indenture Trustee,
a majority (by amount of holdings) of the Consenting JSNs, and the Ad Hoc Group.

B.     Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following conditions shall have
been satisfied or waived pursuant to Article X.C:

       (a)    the Bankruptcy Court shall have entered the Confirmation Order, which shall
grant final approval of the Plan, including all settlements therein, the Debtor Releases, the
Third Party Releases, the injunctions, and Exculpation;

       (b)    the Confirmation Order shall not have been stayed, modified, or vacated on
appeal;

        (c)    on or before September 16, 2013, the FGIC Rehabilitation Court shall have
entered an order substantially in the form attached to the FGIC Settlement Agreement as Exhibit
E (or such other form as agreed to by FGIC, the Debtors, and the RMBS Trustees) approving the
Plan Support Agreement (as it related to FGIC) and the FGIC Settlement Agreement, including
the settlement and release of all present and future claims against FGIC under or relating to the
FGIC Policies;

        (d)      the Bankruptcy Court shall have entered an order substantially in the form
attached to the FGIC Settlement Agreement as Exhibit D (or such other form as agreed to by
FGIC, the Debtors, and the RMBS Trustees and counsel for the Institutional Investors) approving
the FGIC Settlement Agreement, including the settlement and release of all present and future
claims against FGIC under or relating to the FGIC Policies and the allowance of FGIC’s General
Unsecured Claims against the Debtors, pursuant to a Bankruptcy Rule 9019 motion, which order
shall include a finding that the transactions contemplated by the FGIC Settlement Agreement are
in the best interests of the RMBS Trusts;

       (e)    Ally will have funded at least $1,950,000,000 of the Ally Contribution;

       (f)    the Liquidating Trust Agreement, the RMBS Claims Trust Agreement, the
Private Securities Claims Trust Agreement and the Borrower Claims Trust Agreement shall
have been executed;

       (g)    the Ally Contract Claims and any other claims held by Ally Allowed under
the Plan, will have been Allowed, deemed indefeasible, and approved by the Bankruptcy
Court without subordination of any kind, and satisfied as set forth herein;

      (h)     subject to Article VI.C, the Available Assets shall have been transferred to the
Liquidating Trust;


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        (i)    all material governmental and third party approvals and consents, including
Bankruptcy Court approval, and approvals Ally may be required to obtain, necessary in
connection with the transactions contemplated by this Plan, shall have been obtained and be
in full force and effect, and all applicable waiting periods shall have expired without any
action being taken or threatened by any competent authority that would restrain, prevent, or
otherwise impose materially adverse conditions on such transactions; and

       (j)    all other actions, documents, and agreements necessary to implement the Plan
as of the Effective Date will have been delivered and all conditions precedent thereto will
have been satisfied or waived.

C.     Waiver of Conditions

        The Plan Proponents shall have the right to waive one or more of the conditions to
Confirmation and Consummation of the Plan set forth in Articles X.A and X.B(b), and (e)
through (j), with the consent of Ally and the Consenting Claimants, and, solely with respect
to such waivers of the conditions set forth in Article X.B(c) and (d) with the consent of
FGIC and the RMBS Trustees, and, solely with respect to such waivers of the conditions set
forth in Article X.A(c), (f), (h) and Article X.B(a) and (b) with the consent of the Junior
Secured Notes Indenture Trustee, a majority (by amount of holdings) of the Consenting
JSNs, and the Ad Hoc Group, at any time without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate the Plan.

D.     Effect of Nonoccurrence of Conditions

        Each of the conditions to the Effective Date must be satisfied or duly waived, and the
Effective Date must occur on or before December 24, 2013. The Plan Proponents will use
best efforts for the Plan to become effective by December 19, 2013. If the Effective Date
has not occurred on or before December 24, 2013, then upon motion by the Plan Proponents
or Ally made before the Effective Date and a hearing, the Confirmation Order may be
vacated by the Bankruptcy Court; provided, however, that notwithstanding the Filing of
such motion to vacate, the Confirmation Order may not be vacated if the Effective Date
occurs before the Bankruptcy Court enters an order granting such motion. If the
Confirmation Order is vacated, then except as provided in any order of the Bankruptcy
Court vacating the Confirmation Order, the Plan will be null and void in all respects,
including the discharge of Claims and termination of Interests pursuant to the Plan and
section 1141 of the Bankruptcy Code and the assumptions, assignments or rejections of
Executory Contracts, and nothing contained in the Plan or Disclosure Statement shall: (1)
constitute a waiver or release of any Claims, Equity Interests or Causes of Action; (2)
prejudice in any manner the rights of any Debtor or any other Entity; or (3) constitute an
admission, acknowledgment, offer or undertaking of any sort by such Debtor or any other
Entity.




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                                         ARTICLE XI.

       MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.     Modification and Amendments

        Subject to the terms of the Plan Support Agreement, the Plan Proponents may amend,
modify, or supplement the Plan pursuant to Bankruptcy Code section 1127(a) at any time prior to
the Confirmation Date; provided that the Plan Proponents obtain the consent, which shall not be
unreasonably withheld, of (a) the Settling Parties, in accordance with the terms of the Plan
Support Agreement; and (b) the Junior Secured Notes Indenture Trustee and a majority (by
amount of holdings) of the Consenting JSNs; provided, further, that no Plan modifications may
adversely affect the treatment of the Junior Secured Notes Claims or the releases of, or
distributions to, the holders of Junior Secured Notes Claims absent the consent of the Junior
Secured Notes Indenture Trustee, a majority (by amount of holdings) of the Consenting JSNs,
and the Ad Hoc Group; provided, further, that, if the Confirmation Order has not been entered or
if the Confirmation Order has been entered and a stay of such order is in effect, the Plan
Proponents and Ally may agree to extend the deadline for the Effective Date of the Plan beyond
December 24, 2013, with the consent of each of the Consenting Claimants in accordance with
the terms of the Plan Support Agreement, with such consent to not be unreasonably withheld;
provided, however, that the Plan Proponents and Ally may not extend the deadline for the
Effective Date of the Plan beyond December 24, 2013 absent the consent of the Junior Secured
Notes Indenture Trustee, a majority (by amount of holdings) of the Consenting JSNs, and Ad
Hoc Group. After the Confirmation Date, but prior to Consummation of the Plan, the Plan
Proponents may, with the consent, which shall not be unreasonably withheld, of (a) the other
Settling Parties, in accordance with the terms of the Plan Support Agreement and (b) the Junior
Secured Notes Indenture Trustee, and a majority (by amount of holdings) of the Consenting
JSNs, amend, modify, or supplement the Plan without further order of the Bankruptcy Court to
remedy any defect or omission or reconcile any inconsistencies in the Plan or the Confirmation
Order; provided that no Plan modifications may adversely affect the treatment of the Junior
Secured Notes Claims or the releases of, or distributions to, the holders of Junior Secured Notes
Claims absent the consent of the Junior Secured Notes Indenture Trustee, a majority (by amount
of holdings) of the Consenting JSNs, and the Ad Hoc Group. At all times, the Plan Proponents
may amend, modify, or supplement the Plan without the consent of any other Entity to the extent
that such amendments, modifications, or supplements are non-material; provided that no Plan
modifications may adversely affect the treatment of the Junior Secured Notes Claims or the
releases of, or distributions to, the holders of Junior Secured Notes Claims absent the consent of
the Junior Secured Notes Indenture Trustee, a majority (by amount of holdings) of the
Consenting JSNs, and the Ad Hoc Group. For the avoidance of doubt, no modifications to the
Exculpation will discriminate unfairly against any individual Exculpated Party. At any time, at
the request of the RMBS Trustees, Art. IV.C.3 of the Plan may be amended as will be required to
preserve the REMIC tax status of the RMBS Trusts notwithstanding the distribution of Units to
the RMBS Claims Trust under the Plan to the RMBS Claims Trust on behalf of the RMBS
Trusts, and such amendment will be deemed non-material.




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B.      Effect of Confirmation on Modifications

      Pursuant to Bankruptcy Code section 1127(a), entry of a Confirmation Order shall
mean that all modifications or amendments to the Plan since the solicitation thereof are
approved and do not require additional disclosure or re-solicitation under Bankruptcy Rule
3019.

C.      Revocation or Withdrawal of the Plan

        Subject to the terms of the Plan Support Agreement and conditions to the Effective
Date, the Plan Proponents reserve the right to revoke or withdraw the Plan prior to the
Confirmation Date and to File subsequent chapter 11 plans. If the Plan Proponents revoke or
withdraw the Plan, or if Confirmation or Consummation does not occur, then: (i) the Plan
shall be null and void in all respects; (ii) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount certain of any Claim or Equity Interest or
Class of Claims or Equity Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected by the Plan, and any document or agreement executed pursuant
to the Plan shall be deemed null and void except as may be set forth in a separate order
entered by the Bankruptcy Court; and (iii) nothing contained in the Plan shall constitute a
waiver or release of any Claims or Equity Interests or prejudice in any manner the rights of
the Plan Proponents, the Settling Parties, or any other Entity, or constitute an admission,
acknowledgement, offer, or undertaking of any sort by the Plan Proponents or any other
Entity.

                                               ARTICLE XII.

                                  RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the
Effective Date, on and after the Effective Date, the Bankruptcy Court shall retain exclusive
jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and the Plan
pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction:6

        (a)    to allow, disallow, determine, liquidate, classify, estimate, or establish the
priority, secured, or unsecured status, or amount of any Claim or Equity Interest, including
the resolution of any request for payment of any Administrative Claim and the resolution of
any and all objections to the secured or unsecured status, priority, amount, or allowance of
Claims or Equity Interests;

      (b)     to determine, adjudicate, or decide any other applications, adversary
proceedings, contested matters, and any other matters pending on the Effective Date;

       (c)    to hear and determine any matter, case, controversy, suit, dispute, or Causes
of Action: (i) regarding the existence, nature, and scope of the releases, injunctions, and

6
 For the avoidance of doubt, the effectiveness of the NJ Carpenters Settlement and the related NJ Carpenters Claims
Distribution is subject to District Court approval.

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exculpation provided under the Plan, and (ii) enter such orders as may be necessary or
appropriate to implement such releases, injunctions, and other provisions;

      (d)      to ensure that distributions to holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan;

       (e)    Reserved;

      (f)    other than with respect to the GM Policies and the GM Insurers, to hear and
determine matters relating to insurance claims and settlements regarding insurance;

       (g)    to resolve disputes as to the ownership of any Claim or Equity Interest;

      (h)    to enter and implement such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, revoked, reversed, modified, or vacated;

       (i)    to issue such orders in aid of execution of the Plan, to the extent authorized by
section 1142 of the Bankruptcy Code;

       (j)   to consider any modifications of the Plan, to cure any defect or omission, or to
reconcile any inconsistency in any order of the Bankruptcy Court, including the
Confirmation Order;

        (k)    to hear and determine disputes arising in connection with the interpretation,
implementation, consummation, or enforcement of the Plan including, without limitation,
the allocation of RMBS Trust Claims, the RMBS Trust Allocation Protocol, the Monoline
Reservation, and the Kessler Settlement Agreement;

       (l)    to hear and determine any matters relating to the Liquidating Trust, the RMBS
Claims Trust, the Borrower Claims Trust, and/or the Private Securities Claims Trust,
including to hear and determine any actions brought against the Liquidating Trust Board,
Borrower Claims Trustee and/or the Private Securities Claims Trustee, as applicable, in
connection with the Plan, including any action or other dispute relating to distributions
under the Plan, provided, that if the Plan does not become effective, nothing herein shall be
deemed to transfer the venue or jurisdiction over any underlying litigation against Ally to
the Bankruptcy Court;

       (m) to hear and determine any issue for which the Plan requires a Final Order of
the Bankruptcy Court;

      (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

      (o)   to hear and determine all matters related to applications for allowance of
compensation or reimbursement of expenses to Professionals authorized pursuant to the
Bankruptcy Code or the Plan;



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       (p)    to resolve any matters related to (a) the assumption, assumption and
assignment, or rejection of any Executory Contract or Unexpired Lease to which a Debtor is
party or with respect to which a Debtor may be liable and to hear, determine, and, if
necessary, liquidate, any Claims arising therefrom, including Cure Claims pursuant to
section 365 of the Bankruptcy Code; (b) a potential contractual obligation under any
executory contract or unexpired lease that is assumed by the Debtors or the Liquidating
Trust amending, modifying, or supplementing, after the Effective Date, any Executory
Contracts or Unexpired Leases to the Assumption Schedule or otherwise; and (c) any
dispute regarding whether a contract or lease is or was executory or expired;

       (q)    to hear and determine any Causes of Action preserved under the Plan;

       (r)    to enter a final decree closing any of the Chapter 11 Cases;

       (s)   to issue injunctions, enter and implement other orders, or take such other
actions as may be necessary or appropriate to restrain interference by any entity with
consummation or enforcement of the Plan, the Confirmation Order, or any other order of the
Bankruptcy Court;

      (t)    to enforce the affirmative findings governing the RMBS Trustees that are
contemplated in Article IV herein;

       (u)    to enforce all orders previously entered by the Bankruptcy Court; and

       (v)    to hear any other matter not inconsistent with the Bankruptcy Code.

       Notwithstanding anything else contained herein, on and after the Effective Date, the
Bankruptcy Court shall retain non-exclusive jurisdiction to the extent permissible under
applicable law to hear and determine matters relating to the GM Policies and the GM
Insurers, including rights under the GM Policies.

                                      ARTICLE XIII.

                           MISCELLANEOUS PROVISIONS

A.     Immediate Binding Effect

        Subject to Article X.A of the Plan and notwithstanding Bankruptcy Rules 3020(e),
6004(h), 7062, or otherwise, upon the occurrence of the Effective Date, the terms of the Plan
shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Liquidating Trust, and any and all holders of Claims or Equity Interests (irrespective of
whether such Claims or Equity Interests are deemed to have accepted the Plan), all Entities
that are parties to or are subject to the settlements, compromises, releases, discharges, and
injunctions described in the Plan, each Entity acquiring property under the Plan, and any and
all non-Debtor parties to Executory Contracts and Unexpired Leases with any Debtor.

       Notwithstanding anything in Bankruptcy Rule 3020(e) to the contrary, (i) the entry of
the Confirmation Order shall constitute a Final Order and the period in which an appeal must be

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filed shall commence upon the entry thereof, and (ii) the Confirmation Order shall take effect
immediately upon its entry and the Plan Proponents are authorized to consummate the Plan
immediately after entry of the Confirmation Order and the satisfaction or waiver of all other
conditions to the Effective Date of the Plan, in accordance with the terms of the Plan.

B.     Additional Documents

       On or before the Effective Date, the Plan Proponents may File with the Bankruptcy
Court any and all agreements and other documents that may be necessary or appropriate in
order to effectuate and further evidence the terms and conditions of the Plan.

C.     Payment of Statutory Fees

        Notwithstanding the grouping of the Debtors described herein, on the Effective
Date, and thereafter as may be required, each of the Debtors shall (i) pay all the respective
fees payable pursuant to section 1930 of chapter 123 of title 28 of the United States Code,
together with interest, if any, pursuant to section 3717 of title 31 of the United States Code,
until the earliest to occur of the entry of (a) a final decree closing such Debtor’s Chapter 11
Case, (b) a Final Order converting such Debtor’s Chapter 11 Case to a case under chapter 7
of the Bankruptcy Code, or (c) a Final Order dismissing such Debtor’s Chapter 11 Case,
and (ii) be responsible for the filing of consolidated post-confirmation quarterly status
reports with the Bankruptcy Court in accordance with Rule 3021-1 of the Southern District
of New York Local Bankruptcy Rules, which status reports shall include reports on the
disbursements made by each of the Debtors.

D.     Dissolution of the Creditors’ Committee

        On the Effective Date, the Creditors’ Committee shall dissolve; provided, however,
that, following the Effective Date, the Creditors’ Committee shall continue in existence and
have standing and a right to be heard for the following limited purposes: (i) Claims and/or
applications for compensation by Professionals and requests for allowance of
Administrative Claims for substantial contribution pursuant to section 503(b)(3)(D) of the
Bankruptcy Code; (ii) any appeals to which the Creditors’ Committee is a party; (iii) any
adversary proceedings or contested matters as of the Effective Date to which the Creditors’
Committee is a party; and (iv) responding to creditor inquiries for one-hundred-twenty (120)
days following the Effective Date. Upon the dissolution of the Creditors’ Committee, the
current and former members of the Creditors’ Committee and their respective officers,
employees, counsel, advisors and agents, shall be released and discharged of and from all
further authority, duties, responsibilities and obligations related to and arising from and in
connection with the Chapter 11 Cases, and the retention or employment of the Creditors’
Committee’s respective attorneys, accountants and other agents shall terminate, except that
the Creditors’ Committee and their respective Professionals shall have the right to pursue,
review and object to any applications for compensation or reimbursement of expenses filed
in accordance with Article II hereof.




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E.     Access to Debtors’ Records after Effective Date.

        On the Effective Date, Debtors shall be deemed to have transferred, assigned and
conveyed to the Liquidating Trust, the RMBS Claims Trust, the Borrower Claims Trust, and the
Private Securities Claims Trust, as their interests may appear with respect to the Claims of their
respective beneficiaries, and the Liquidating Trust shall be authorized to take possession of, all
of the books and records of the Debtors, including, except as set forth in any Ally Contract, all
information and data on computers owned or leased by the Debtors or otherwise on premises
occupied by the Debtors, and all rights of access to data of the Debtors and their affiliates, that
were not otherwise transferred to a third party on or prior to the Effective Date. The Liquidating
Trust shall have the responsibility of storing and maintaining such books and records to and for
the benefit of each of the Liquidating Trust, the RMBS Claims Trust, the Borrower Claims Trust,
and the Private Securities Claims Trust as their interests may appear, and the respective Plan
Trusts shall enter into an agreement or protocol with respect to access to such books and
records. The Debtors shall cooperate with the Plan Trustees of the Plan Trusts to facilitate the
delivery and storage of such books and records in accordance herewith. For the purpose of this
Section, books and records include computer generated or computer maintained books and
records and computerized data, as well as electronically generated or maintained books and
records or data, along with books and records of the Debtors maintained by or in possession of
third parties, except as set forth in any Ally Contract, and all of the claims and rights of the
Debtors in and to books and records, wherever located. The Debtors or the Liquidating Trust, as
applicable, shall make available current and historic tax returns with supporting files to Ally as
necessary for Ally to address Ally’s audit requirements and to facilitate Ally filing its 2013 tax
returns.

F.     Substantial Consummation

       On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

G.     Reservation of Rights

       Except as otherwise provided in the Plan, the Plan shall have no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the Filing of the Plan, any
statement or provision contained in the Plan, or the taking of any action by the Plan
Proponents or Ally with respect to the Plan or the Disclosure Statement shall be or shall be
deemed to be an admission or waiver of any rights of the Plan Proponents or Ally with
respect to the holders of Claims or Equity Interests prior to the Effective Date.

H.     Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan
shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor or assign, Affiliate, officer, director, agent, representative, attorney, beneficiaries,
or guardian, if any, of each Entity.




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I.     Service of Documents

       All notices, requests and demands hereunder to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall
be deemed to have been duly given or made when actually delivered or, in the case of notice
by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

       (a)    if to the Debtors, (i) if by mail or courier to: Residential Capital LLC, Lewis
              Kruger, CRO, c/o Morrison & Foerster LLP, 1290 Avenue of the Americas, New
              York, New York 10104; with copies to: (a) Morrison & Foerster LLP, 1290
              Avenue of the Americas, New York, New York, 10104, Attn: Gary Lee, Lorenzo
              Marinuzzi, and Todd Goren; and (b) Curtis, Mallet-Prevost, Colt & Mosle LLP,
              101 Park Avenue, New York, New York 10178, Attn: Steven J. Reisman, Theresa
              A. Foudy, and Maryann Gallagher; and (ii) if by e-mail, to:
              Lewis.Kruger@gmacrescap.com,         glee@mofo.com,       lmarinuzzi@mofo.com,
              tgoren@mofo.com,          sreisman@curtis.com,      tfoudy@curtis.com,      and
              mgallagher@curtis.com.

       (b)    if to the Liquidating Trust: as provided in the Liquidating Trust Agreement for
              notices to the Liquidating Trust.

       (c)    if to the Borrower Claims Trust: as provided in the Borrower Claims Trust
              Agreement for notices to the Borrower Claims Trust.

       (d)    if to the Private Securities Claims Trust: as provided in the Private Securities
              Claims Trust Agreement for notices to the Private Securities Claims Trust.

       (e)    if to the RMBS Claims Trust: as provided in the RMBS Claims Trust Agreement
              for notices to the RMBS Claims Trust.

       (f)    if to Ally to: Ally Financial, Inc., 1177 Avenue of the Americas, New York, NY
              10036; Attn: William B. Solomon and Timothy Devine; with copies to: Kirkland
              & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.:
              Richard M. Cieri, and Ray C. Schrock.

       (g)    if to the Creditors’ Committee, (i) if by mail or courier to: Kramer Levin Naftalis
              & Frankel LLP, 1177 Avenue of the Americas, New York, New York 10036;
              Attn: Kenneth H. Eckstein, Douglas H. Mannal and Stephen D. Zide; and (ii) if by
              email to keckstein@kramerlevin.com, dmannal@kramerlevin.com and
              szide@kramerlevin.com.

       (h)    if to AIG, Allstate, MassMutual and/or Prudential, (i) if by mail or courier to:
              Quinn Emanuel Urquhart & Sullivan LLP, 51 Madison Avenue, 22nd Floor, New
              York, New York 10010; Attn: Susheel Kirpalani and Scott Shelley; and (ii) if by
              email           to         susheelkirpalani@quinnemanuel.com                and
              scottshelley@quinnemanuel.com.


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     (i)   if to FGIC, (i) if by mail or courier to: Jones Day, 222 East 41st Street, New
           York, New York 10017; Attn: Richard L. Wynne and Howard F. Sidman; and the
           Superintendent of Financial Services of the State of New York, as Rehabilitator of
           FGIC, c/o Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York
           10153; Attn: Gary T. Holtzer; and (ii) if by e-mail to: rlwynne@jonesday.com,
           hfsidman@jonesday.com, and gary.holtzer@weil.com.

     (j)   if to the Steering Committee Consenting Claimants, (i) if by mail or courier to:
           Gibbs & Bruns LLP, 1100 Louisiana, Suite 5300, Houston, Texas 77002; Attn:
           Kathy D. Patrick and Robert J. Madden; and Ropes & Gray LLP, 1211 Avenue of
           the Americas, New York, New York 10036; Attn: Keith H. Wofford and Ross
           Martin,     and    (ii) if     by   e-mail    to:   kpatrick@gibbsbruns.com,
           rmadden@gibbsbruns.com,            keith.wofford@ropesgray.com,             and
           ross.martin@ropesgray.com.

     (k)   if to the Talcott Franklin Consenting Claimants, (i) if by mail or courier to: (a)
           Talcott Franklin, P.C., 208 N. Market Street, Suite 200, Dallas, Texas 75202;
           Attn: Talcott J. Franklin, (b) Carter Ledyard & Milburn LLP, 2 Wall Street, New
           York, New York 10005, Attn: James Gadsden, and (c) Miller Johnson, 250
           Monroe Avenue, NW, Suite 800, P.O. Box 306, Grand Rapids, Michigan, Attn:
           Thomas Sarb; and (ii) if by e-mail to: tal@talcottfranklin.com, gadsden@clm.com
           and sarbt@millerjohnson.com.

     (l)   if to Wilmington Trust, (i) if by mail or courier to: Cleary Gottlieb Steen &
           Hamilton LLP, One Liberty Plaza, New York, New York 10006, Attn: Thomas J.
           Moloney and Sean A. O’Neal and Loeb & Loeb, 345 Park Avenue, New York,
           New York 10154, Attn: Walter H. Curchack; and (ii) if by e-mail to:
           tmoloney@cgsh.com, soneal@cgsh.com, and wcurchack@loeb.com.

     (m)   if to MBIA, (i) if by mail or courier to: Cadwalader, Wickersham & Taft LLP,
           One World Financial Center, New York, New York 10281, Attn: Gregory M.
           Petrick and Mark Ellenberg; (ii) if by e-mail to: Gregory.Petrick@cwt.com and
           Mark.Ellenberg@cwt.com.

     (n)   if to the Kessler Class Claimants, (i) if by mail or courier to: Polsinelli, 900 Third
           Avenue, 21st Floor, New York, New York 10022, Attn: Daniel J. Flanigan;
           Carlson Lynch, Ltd., PNC Park, 115 Federal Street Suite 210, Pittsburgh, PA
           15212, Attn: R. Bruce Carlson, Walters Bender Strohbehn & Vaughan, P.C., 2500
           City Center Square, 12th & Baltimore, P.O. Box 26188, Kansas City, MO 64196,
           Attn: R. Frederick Walters; and (ii) if by e-mail to: dflanigan@polsinelli.com,
           bcarlson@carlsonlynch.com, and fwalters@wbsvlaw.com.

     (o)   if to the RMBS Trustees (i) if by mail or courier to: BNY Mellon, c/o Dechert
           LLP, 1095 Avenue of the Americas, New York, New York 10036, Attn: Glenn E.
           Siegel; DB, c/o Morgan, Lewis & Bockius LLP, 101 Park Avenue, New York,
           NY 10178, Attn: James L. Garrity, Jr.; USB, c/o Seward & Kissel LLP, One
           Battery Park Plaza, New York, New York 10004, Attn: Arlene R. Alves; WFB,

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              c/o Alston & Bird LLP, 1 Atlantic Center, 1201 W. Peachtree Street, NW,
              Atlanta, Georgia 30309-3424, Attn: John C. Weitnauer; LDTC, Seward & Kissel
              LLP, One Battery Park Plaza, New York, New York 10004, Attn: Dale C.
              Christensen, Jr., HSBC, c/o John Kibler, Allen & Overy, 1221 Avenue of the
              Americas, New York, NY 10020; and (ii) if by e-mail to:
              glenn.siegel@dechert.com, jgarrity@morganlewis.com, alves@sewkis.com,
              kit.weitnauer@alston.com,             christensen@sewkis.com,          and
              John.Kibler@AllenOvery.com.

       (p)    if to Paulson, (i) if by mail or courier to: Paulson & Co., Inc., 1251 Avenue of the
              Americas, New York, New York 10020, Attn: Daniel J. Kamensky; and (ii) if by
              e-mail to: Daniel.Kamensky@paulsonco.com.

       After the Effective Date, the Liquidating Trust has authority to send a notice to any
Entity that, in order to continue to receive documents pursuant to Bankruptcy Rule 2002, it
must File a renewed request to receive documents with the Bankruptcy Court. After the
Effective Date, the Liquidating Trust is authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

J.     Further Assurances

       The Debtors or the Liquidating Trust, all holders of Claims receiving distributions
pursuant to the Plan, and all other Entities, as applicable, shall, from time to time, prepare,
execute, and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of the Plan or the Confirmation
Order.

K.     Term of Injunctions or Stays

       Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or
stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy
Code or any order of the Bankruptcy Court, and extant on the Confirmation Date (excluding
any injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan and
the Confirmation Order shall remain in full force and effect in accordance with their terms.

L.     Entire Agreement

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

M.     Exhibits and Related Documents

        All exhibits and documents Filed in relation to the Plan are incorporated into and are
a part of the Plan as if set forth in full in the Plan. After any exhibits and documents are
Filed, copies of such exhibits and documents shall be available upon written request to the

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Liquidating Trust’s counsel at the address above or by downloading such exhibits and
documents from the Debtors’ restructuring website, http://www.kccllc.net/rescap, or the
Bankruptcy Court’s website, http://www.nys.uscourts.gov (a PACER login and password
are required to access documents on the Bankruptcy Court’s website).

N.     Severability of Plan Provisions

        Except as otherwise provided herein, if, before Confirmation of the Plan, subject to
the terms of the Plan Support Agreement, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision
held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of the Plan, including the Third
Party Releases, Debtor Releases, Exculpation, including Article X.A, B and C, shall remain
in full force and effect and shall in no way be affected, impaired, or invalidated by such
holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have
been altered or interpreted in accordance with the foregoing, is valid and enforceable. The
Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may
not be deleted or modified without the Plan Proponents’ consent; and (c) nonseverable and
mutually dependent.

O.     Waiver or Estoppel Conflicts

       Each holder of a Claim or Equity Interest shall be deemed to have waived any right
to assert any argument, including the right to argue that its Claim or Equity Interest should
be Allowed in a certain amount, in a certain priority, secured, or not subordinated, by virtue
of an agreement made with the Plan Proponents, or their counsel, or any other Entity, if such
agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the
Bankruptcy Court prior to the Confirmation Date.

P.     Conflicts

        Except as set forth in the Plan or unless otherwise ordered by the Bankruptcy Court,
to the extent that the Disclosure Statement, any order of the Bankruptcy Court (other than
the Confirmation Order), or any exhibit to the Plan or document executed or delivered in
connection with the Plan is inconsistent with the terms of the Plan, the terms of the Plan
shall control.




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Dated: December 6, 2013                     Respectfully Submitted,
       New York, New York
                                            RESIDENTIAL CAPITAL, LLC for itself
                                            and its Debtor subsidiaries

                                            By: /s/ Lewis Kruger
                                            Name: Lewis Kruger
                                            Title: Chief Restructuring Officer

                                            THE OFFICIAL COMMITTEE OF
                                            UNSECURED CREDITORS

                                            By: /s/ John S. Dubel
                                            Name: John S. Dubel
                                            Title: Co-Chair

                                            By: /s/ Peter F. Finkel
                                            Name: Peter F. Finkel
                                            Title: Co-Chair




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                  A                   B                  C                  D                               E                               F
                                                                                                                                     GMACM Recognized
1               Name                Cohort        GMACM Servicer %     GMACM Claim                       Insurer                          Claim
2    ACE 1999-A [Total]          Subprime 1999                 9.00%                 $8                   MBIA                                       $0
3    ACE 2005-SL1 [Total]           CES 2005                  53.10%             $5,649                                                          $5,649
4    ACE 2006-SL1 [Total]           CES 2006                  29.54%             $4,645                                                          $4,645
5    ACE 2006-SL4 [Total]           CES 2006                 100.00%             $5,044                                                          $5,044
6    ACE 2007-HE4 [1A]           Subprime 2007                11.23%            $33,042                                                         $33,042
7    ACE 2007-HE4 [1F]           Subprime 2007                11.23%             $6,862                                                          $6,862
8    ACE 2007-HE4 [2A]           Subprime 2007                11.23%            $46,537                                                         $46,537
9    ACE 2007-HE4 [2F]           Subprime 2007                11.23%             $7,563                                                          $7,563
10   ACE 2007-SL1 [1]               CES 2007                  76.47%              $236                                                            $236
11   ACE 2007-SL1 [2]               CES 2007                  76.47%             $1,084                                                          $1,084
12   AHM 2004-4 [1]                ALT-A 2004                 14.48%             $5,141                                                          $5,141
13   AHM 2004-4 [2]                ALT-A 2004                 14.48%            $11,797                                                         $11,797
14   AHM 2004-4 [3]                ALT-A 2004                 14.48%            $11,131                                                         $11,131
15   AHM 2004-4 [4]                ALT-A 2004                 14.48%            $17,976                                                         $17,976
16   AHM 2004-4 [5]                ALT-A 2004                 14.48%            $11,743                                                         $11,743
17   AHM 2004-4 [6]                ALT-A 2004                 14.48%             $7,796                                                          $7,796
18   AHM 2004-4 [7]                ALT-A 2004                 14.48%             $4,404                   MBIA                                       $0
19   AHM 2006-2 [2_1]               CES 2006                   3.64%              $942                                                            $942
20   AHM 2006-2 [2_2]               CES 2006                   3.64%             $1,029                                                          $1,029
21   AHM 2006-2 [3]                 CES 2006                   3.64%             $2,687                                                          $2,687
22   AHM 2006-2 [4]                 CES 2006                   3.64%             $3,544                                                          $3,544
23   AHM 2006-2 [5]                 CES 2006                   3.64%              $847                    CIFG                                       $0
24   AHM 2007-A [11]                CES 2007                   8.24%             $2,338                                                          $2,338
25   AHM 2007-A [12]                CES 2007                   8.24%             $1,286                                                          $1,286
26   AHM 2007-A [13]                CES 2007                   8.24%             $5,731                                                          $5,731
27   AHM 2007-A [2]                 CES 2007                   8.24%             $1,999                                                          $1,999
28   AHM 2007-A [3]                 CES 2007                   8.24%             $2,227              Assured Guaranty                                $0
29   AHM 2007-A [4NP]               CES 2007                   8.24%             $3,527                                                          $3,527
30   AHM 2007-A [4SD]               CES 2007                   8.24%             $5,639                                                          $5,639
31   AHM 2007-SD2 [NP]           Subprime 2007                 5.00%             $8,512                                                          $8,512
32   AHM 2007-SD2 [P]            Subprime 2007                 5.00%             $2,450                                                          $2,450
33   AHM 2007-SD2 [REO]          Subprime 2007                 5.00%             $4,028                                                          $4,028
34   AHM 2007-SD2 [RP]           Subprime 2007                 5.00%              $564                                                            $564
35   AHM 2007-SD2 [SP]           Subprime 2007                 5.00%             $1,704                                                          $1,704
36   ALBT 2007-S1 [Total]           CES 2007                   5.00%                $17                                                             $17
37   ARMT 2004-5 [1]               ALT-A 2004                 13.09%             $1,127                                                          $1,127
38   ARMT 2004-5 [2]               ALT-A 2004                 13.09%             $2,199                                                          $2,199
39   ARMT 2004-5 [3]               ALT-A 2004                 13.09%             $1,662                                                          $1,662
40   ARMT 2004-5 [4]               ALT-A 2004                 13.09%             $1,400                                                          $1,400
41   ARMT 2004-5 [5]               ALT-A 2004                 13.09%             $1,077                                                          $1,077
42   ARMT 2004-5 [6]               ALT-A 2004                 13.09%             $1,350                                                          $1,350
43   ARMT 2004-5 [7A]              ALT-A 2004                 13.09%             $1,471                                                          $1,471
44   ARMT 2004-5 [7B]              ALT-A 2004                 13.09%             $3,265                                                          $3,265
45   ARMT 2005-1 [1]               ALT-A 2005                  2.92%              $556                                                            $556
46   ARMT 2005-1 [2]               ALT-A 2005                  2.92%              $937                                                            $937
47   ARMT 2005-1 [3]               ALT-A 2005                  2.92%              $496                                                            $496
48   ARMT 2005-1 [4]               ALT-A 2005                  2.92%              $586                                                            $586
49   ARMT 2005-1 [51]              ALT-A 2005                  2.92%              $496                                                            $496
50   ARMT 2005-1 [52]              ALT-A 2005                  2.92%             $1,403                                                          $1,403
51   ARMT 2005-10 [1]              ALT-A 2005                 13.49%             $2,546                                                          $2,546
52   ARMT 2005-10 [2]              ALT-A 2005                 13.49%             $5,982                                                          $5,982
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                  A                  B                C                  D                              E                            F
                                                                                                                              GMACM Recognized
 1             Name               Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
 53 ARMT 2005-10 [3]             ALT-A 2005               13.49%              $7,177                                                      $7,177
 54 ARMT 2005-10 [4]             ALT-A 2005               13.49%              $2,776                                                      $2,776
 55 ARMT 2005-10 [5]             ALT-A 2005               13.49%             $10,063                                                     $10,063
 56 ARMT 2005-10 [6]             ALT-A 2005               13.49%              $6,278                                                      $6,278
 57 ARMT 2005-11 [1]             ALT-A 2005               13.80%              $1,993                                                      $1,993
 58 ARMT 2005-11 [2]             ALT-A 2005               13.80%              $9,515                                                      $9,515
 59 ARMT 2005-11 [3]             ALT-A 2005               13.80%              $5,205                                                      $5,205
 60 ARMT 2005-11 [4]             ALT-A 2005               13.80%             $19,342                                                     $19,342
 61 ARMT 2005-11 [5]             ALT-A 2005               13.80%             $19,239                                                     $19,239
 62 ARMT 2005-9 [1]              ALT-A 2005               22.06%              $6,807                                                      $6,807
 63 ARMT 2005-9 [2]              ALT-A 2005               22.06%              $3,116                                                      $3,116
 64 ARMT 2005-9 [3]              ALT-A 2005               22.06%              $3,199                                                      $3,199
 65 ARMT 2005-9 [4]              ALT-A 2005               22.06%             $12,436                                                     $12,436
 66 ARMT 2005-9 [5]              ALT-A 2005               22.06%             $26,945                                                     $26,945
 67 BAFC 2005-6 [1]              Prime 2005                8.27%              $1,252                                                      $1,252
 68 BAFC 2005-6 [2]              Prime 2005                8.27%              $1,308                                                      $1,308
 69 BAFC 2005-8 [1]              Prime 2005                9.08%               $391                                                        $391
 70 BAFC 2005-8 [2]              Prime 2005                9.08%              $1,257                                                      $1,257
 71 BAFC 2005-8 [3]              Prime 2005                9.08%               $213                                                        $213
 72 BAFC 2005-8 [4]              Prime 2005                9.08%              $1,070                                                      $1,070
 73 BAFC 2006-1 [1]              ALT-A 2006                3.11%               $442                                                        $442
 74 BAFC 2006-1 [2]              ALT-A 2006                3.11%               $190                                                        $190
 75 BAFC 2006-1 [3]              ALT-A 2006                3.11%               $166                                                        $166
 76 BAFC 2006-2 [1]              ALT-A 2006                0.99%                 $39                                                         $39
 77 BAFC 2006-2 [2]              ALT-A 2006                0.99%               $269                                                        $269
 78 BAFC 2006-2 [3]              ALT-A 2006                0.99%                 $65                                                         $65
 79 BAFC 2006-2 [4]              ALT-A 2006                0.99%                 $54                                                         $54
 80 BAFC 2006-2 [5]              ALT-A 2006                0.99%                 $33                                                         $33
 81 BAFC 2006-2 [6]              ALT-A 2006                0.99%                 $30                                                         $30
 82 BAFC 2006-4 [Total]          ALT-A 2006               17.43%             $11,035                                                     $11,035
 83 BAFC 2006-5 [1]              Prime 2006                5.76%               $577                                                        $577
 84 BAFC 2006-5 [2]              Prime 2006                5.76%               $280                                                        $280
 85 BAFC 2006-5 [3]              Prime 2006                5.76%               $294                                                        $294
 86 BAFC 2006-5 [4]              Prime 2006                5.76%               $969                                                        $969
 87 BAFC 2007-3 [1]              Prime 2007                1.84%               $992                                                        $992
 88 BAFC 2007-3 [2]              Prime 2007                1.84%               $492                                                        $492
 89 BAFC 2007-3 [3]              Prime 2007                1.84%               $789                                                        $789
 90 BAFC 2007-3 [4]              Prime 2007                1.84%              $4,664                                                      $4,664
 91 BAFC 2007-4 [N]              Prime 2007               12.13%             $11,391                                                     $11,391
 92 BAFC 2007-4 [S]              Prime 2007               12.13%              $2,421                                                      $2,421
 93 BAFC 2007-4 [S4]             Prime 2007               12.13%              $4,260                                                      $4,260
 94 BAFC 2007-4 [S5]             Prime 2007               12.13%              $1,936                                                      $1,936
 95 BAFC 2007-4 [T2]             Prime 2007               12.13%             $12,523                                                     $12,523
 96 BAFC 2007-7 [1]              ALT-A 2007                0.71%               $326                                                        $326
 97 BAFC 2007-7 [2]              ALT-A 2007                0.71%               $126                                                        $126
 98 BAFC 2007-7 [3]              ALT-A 2007                0.71%              $1,332                                                      $1,332
 99 BALTA 2003-1 [1]             ALT-A 2003                4.50%                 $59                                                         $59
100 BALTA 2003-1 [2]             ALT-A 2003                4.50%                 $46                                                         $46
101 BALTA 2004-12 [I-1]          ALT-A 2004                0.92%               $775                                                        $775
102 BALTA 2004-12 [I-2]          ALT-A 2004                0.92%               $606                                                        $606
103 BALTA 2004-12 [II-1]         ALT-A 2004                0.92%                 $61                                                         $61
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                                                                                                                             GMACM Recognized
 1             Name              Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
104 BALTA 2004-12 [II-2]        ALT-A 2004                0.92%               $211                                                        $211
105 BALTA 2004-12 [II-3]        ALT-A 2004                0.92%               $121                                                        $121
106 BALTA 2004-12 [II-4]        ALT-A 2004                0.92%                 $67                                                         $67
107 BALTA 2004-4 [Total]        ALT-A 2004                9.05%              $3,704                                                      $3,704
108 BALTA 2004-6 [1]            ALT-A 2004                0.69%               $243                                                        $243
109 BALTA 2004-6 [2]            ALT-A 2004                0.69%                 $38                                                         $38
110 BALTA 2004-6 [3]            ALT-A 2004                0.69%               $236                                                        $236
111 BALTA 2005-10 [1]           ALT-A 2005                0.06%               $174                                                        $174
112 BALTA 2005-10 [TWO_FIVE]    ALT-A 2005                0.06%                 $65                                                         $65

113 BALTA 2005-10 [TWO_FOUR]    ALT-A 2005                0.06%                  $79                                                       $79
114 BALTA 2005-10 [TWO_ONE]     ALT-A 2005                0.06%                  $31                                                       $31

115 BALTA 2005-10 [TWO_THREE]   ALT-A 2005                0.06%               $157                                                        $157
116 BALTA 2005-10 [TWO_TWO]     ALT-A 2005                0.06%               $107                                                        $107
117 BALTA 2005-3 [1]            ALT-A 2005               16.03%              $4,314                                                      $4,314
118 BALTA 2005-3 [2]            ALT-A 2005               16.03%              $2,858                                                      $2,858
119 BALTA 2005-3 [3]            ALT-A 2005               16.03%             $15,750                                                     $15,750
120 BALTA 2005-3 [4]            ALT-A 2005               16.03%             $10,704                                                     $10,704
121 BALTA 2005-4 [I]            ALT-A 2005                0.61%               $423                                                        $423
122 BALTA 2005-4 [II1]          ALT-A 2005                0.61%               $219                                                        $219
123 BALTA 2005-4 [II2]          ALT-A 2005                0.61%               $210                                                        $210
124 BALTA 2005-4 [II3]          ALT-A 2005                0.61%              $1,228                                                      $1,228
125 BALTA 2005-4 [II4]          ALT-A 2005                0.61%               $103                                                        $103
126 BALTA 2005-4 [II5]          ALT-A 2005                0.61%                 $70                                                         $70
127 BALTA 2005-5 [1]            ALT-A 2005                0.31%               $431                                                        $431
128 BALTA 2005-5 [II-1]         ALT-A 2005                0.31%                 $56                                                         $56
129 BALTA 2005-5 [II-2]         ALT-A 2005                0.31%               $370                                                        $370
130 BALTA 2005-5 [II-3]         ALT-A 2005                0.31%               $144                                                        $144
131 BALTA 2005-5 [II-4]         ALT-A 2005                0.31%                 $51                                                         $51
132 BALTA 2005-5 [II-5]         ALT-A 2005                0.31%               $112                                                        $112
133 BALTA 2005-5 [II-6]         ALT-A 2005                0.31%                 $27                                                         $27
134 BALTA 2006-1 [I]            ALT-A 2006                7.43%             $22,311                                                     $22,311
135 BALTA 2006-1 [II-1]         ALT-A 2006                7.43%             $18,799                                                     $18,799
136 BALTA 2006-1 [II-2]         ALT-A 2006                7.43%              $3,599                                                      $3,599
137 BALTA 2006-1 [II-3]         ALT-A 2006                7.43%              $2,097                                                      $2,097
138 BALTA 2006-3 [I]            ALT-A 2006                4.09%             $16,135                                                     $16,135
139 BALTA 2006-3 [II1]          ALT-A 2006                4.09%              $6,238                                                      $6,238
140 BALTA 2006-3 [II2]          ALT-A 2006                4.09%              $5,980                                                      $5,980
141 BALTA 2006-3 [II3]          ALT-A 2006                4.09%              $6,467                                                      $6,467
142 BALTA 2006-3 [II4]          ALT-A 2006                4.09%               $851                                                        $851
143 BALTA 2006-3 [III1]         ALT-A 2006                4.09%              $4,708                                                      $4,708
144 BALTA 2006-3 [III2]         ALT-A 2006                4.09%              $2,202                                                      $2,202
145 BALTA 2006-3 [III3]         ALT-A 2006                4.09%              $1,623                                                      $1,623
146 BALTA 2006-3 [III4]         ALT-A 2006                4.09%              $2,523                                                      $2,523
147 BALTA 2006-3 [III5]         ALT-A 2006                4.09%              $2,980                                                      $2,980
148 BALTA 2006-3 [III6]         ALT-A 2006                4.09%              $3,498                                                      $3,498
149 BALTA 2006-4 [I1]           ALT-A 2006                0.19%               $891                                                        $891
150 BALTA 2006-4 [I2]           ALT-A 2006                0.19%               $929                                                        $929
151 BALTA 2006-4 [I3]           ALT-A 2006                0.19%               $633                                                        $633
152 BALTA 2006-4 [II1]          ALT-A 2006                0.19%                 $72                                                         $72
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                                                                                                                               GMACM Recognized
 1             Name               Cohort        GMACM Servicer %     GMACM Claim                      Insurer                       Claim
153 BALTA 2006-4 [II2]           ALT-A 2006                  0.19%               $572                                                       $572
154 BALTA 2006-4 [II3]           ALT-A 2006                  0.19%               $644                                                       $644
155 BALTA 2006-4 [III1]          ALT-A 2006                  0.19%               $144                                                       $144
156 BALTA 2006-4 [III2]          ALT-A 2006                  0.19%               $384                                                       $384
157 BALTA 2006-4 [III3]          ALT-A 2006                  0.19%               $547                                                       $547
158 BALTA 2006-5 [1]             ALT-A 2006                  0.20%              $1,116                                                     $1,116
159 BALTA 2006-5 [2]             ALT-A 2006                  0.20%               $403                                                       $403
160 BALTA 2006-8 [I]             ALT-A 2006                  0.52%              $1,710                                                     $1,710
161 BALTA 2006-8 [II]            ALT-A 2006                  0.52%              $1,325                                                     $1,325
162 BALTA 2006-8 [III]           ALT-A 2006                  0.52%               $559                                                       $559
163 BAYV 2003-AA [1D]          Subprime 2003                 2.77%                 $39                                                        $39
164 BAYV 2003-AA [1N]          Subprime 2003                 2.77%               $659                                                       $659
165 BAYV 2003-AA [2]           Subprime 2003                 2.77%               $104                                                       $104
166 BAYV 2004-A [1]            Subprime 2004                 4.00%              $1,496                                                     $1,496
167 BAYV 2004-A [2]            Subprime 2004                 4.00%               $873                                                       $873
168 BAYV 2006-B [1]            Subprime 2006                 4.63%              $1,758                                                     $1,758
169 BAYV 2006-B [2]            Subprime 2006                 4.63%              $4,072                                                     $4,072
170 BAYV 2006-D [1A]           Subprime 2006                 1.33%               $112                                                       $112
171 BAYV 2006-D [1F]           Subprime 2006                 1.33%               $751                                                       $751
172 BAYV 2006-D [2A]           Subprime 2006                 1.33%              $1,105                                                     $1,105
173 BAYV 2006-D [2F]           Subprime 2006                 1.33%               $107                                                       $107
174 BAYV 2007-A [1]            Subprime 2007                 5.00%              $4,424                                                     $4,424
175 BAYV 2007-A [2]            Subprime 2007                 5.00%              $4,757                                                     $4,757
176 BAYV 2007-B [1]            Subprime 2007                14.45%              $9,964                                                     $9,964
177 BAYV 2007-B [2]            Subprime 2007                14.45%             $13,739                                                    $13,739
178 BSABS 2003-AC3 [Total]       ALT-A 2003                  1.02%               $177                                                       $177
179 BSABS 2003-AC4 [Total]       ALT-A 2003                  0.14%                 $61                                                        $61
180 BSABS 2004-AC1 [Total]       ALT-A 2004                  1.36%               $228                                                       $228
181 BSABS 2004-AC2 [1]           ALT-A 2004                  0.24%                 $38                                                        $38
182 BSABS 2004-AC2 [2]           ALT-A 2004                  0.24%                 $20                                                        $20
183 BSABS 2004-AC7 [Total]       ALT-A 2004                  2.40%              $1,110                                                     $1,110
184 BSABS 2004-BO1 [1F]        Subprime 2004               100.00%            $218,097                                                   $218,097
185 BSABS 2004-BO1 [1S]        Subprime 2004               100.00%             $90,871                                                    $90,871
186 BSABS 2004-BO1 [2F]        Subprime 2004               100.00%            $136,469                                                   $136,469
187 BSABS 2005-AC3 [1]           ALT-A 2005                  0.03%                 $11                                                        $11
188 BSABS 2005-AC3 [2]           ALT-A 2005                  0.03%                 $13                                                        $13
189 BSABS 2005-AC7 [Total]       ALT-A 2005                  0.27%               $222                                                       $222
190 BSABS 2006-SD2 [Total]     Subprime 2006                 0.08%                 $98                                                        $98
191 BSABS 2007-SD2 [2NEG]      Subprime 2007                 0.01%                  $3                                                         $3
192 BSABS 2007-SD2 [2NO_NEG]   Subprime 2007                 0.01%                  $9                                                         $9
193 BSABS 2007-SD2 [I]         Subprime 2007                 0.01%                  $9                                                         $9
194 BSABS 2007-SD3 [A]         Subprime 2007                 0.71%              $1,199                 FGIC                                $1,199
195 BSABS 2007-SD3 [F]         Subprime 2007                 0.71%               $746                  FGIC                                 $746
196 BSARM 2001-4 [1]             Prime 2001                 51.63%              $1,211                                                     $1,211
197 BSARM 2001-4 [2]             Prime 2001                 51.63%               $263                                                       $263
198 BSARM 2002-11 [I1]           Prime 2002                 18.40%               $236                                                       $236
199 BSARM 2002-11 [I2]           Prime 2002                 18.40%               $304                                                       $304
200 BSARM 2002-11 [I3]           Prime 2002                 18.40%                 $23                                                        $23
201 BSARM 2002-11 [I4]           Prime 2002                 18.40%                 $29                                                        $29
202 BSARM 2002-11 [II1]          Prime 2002                 18.40%                 $72                                                        $72
203 BSARM 2002-11 [II2]          Prime 2002                 18.40%               $120                                                       $120
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                                                                                                                              GMACM Recognized
 1            Name                Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
204 BSARM 2003-1 [1]             Prime 2003                5.04%              $100                                                         $100
205 BSARM 2003-1 [2]             Prime 2003                5.04%                $47                                                          $47
206 BSARM 2003-1 [3]             Prime 2003                5.04%                $80                                                          $80
207 BSARM 2003-1 [4]             Prime 2003                5.04%                $11                                                          $11
208 BSARM 2003-1 [5]             Prime 2003                5.04%                $70                                                          $70
209 BSARM 2003-1 [6]             Prime 2003                5.04%              $107                                                         $107
210 BSARM 2003-1 [7]             Prime 2003                5.04%                $31                                                          $31
211 BSARM 2003-1 [8]             Prime 2003                5.04%                $11                                                          $11
212 BSARM 2003-3 [1]             Prime 2003               26.07%                $50                                                          $50
213 BSARM 2003-3 [2]             Prime 2003               26.07%              $346                                                         $346
214 BSARM 2003-3 [3]             Prime 2003               26.07%              $682                                                         $682
215 BSARM 2003-3 [4]             Prime 2003               26.07%              $122                                                         $122
216 BSARM 2003-4 [1]             Prime 2003                5.43%                $24                                                          $24
217 BSARM 2003-4 [2]             Prime 2003                5.43%              $120                                                         $120
218 BSARM 2003-4 [3]             Prime 2003                5.43%              $123                                                         $123
219 BSARM 2003-5 [I-1]           Prime 2003                4.00%                $81                                                          $81
220 BSARM 2003-5 [I-2]           Prime 2003                4.00%              $108                                                         $108
221 BSARM 2003-5 [I-3]           Prime 2003                4.00%                $60                                                          $60
222 BSARM 2003-5 [II]            Prime 2003                4.00%              $215                                                         $215
223 BSARM 2003-6 [I-1]           Prime 2003                2.88%                $59                                                          $59
224 BSARM 2003-6 [I-2]           Prime 2003                2.88%              $107                                                         $107
225 BSARM 2003-6 [I-3]           Prime 2003                2.88%                $25                                                          $25
226 BSARM 2003-6 [II]            Prime 2003                2.88%                $99                                                          $99
227 BSARM 2003-7 [1]             Prime 2003                1.94%                $20                                                          $20
228 BSARM 2003-7 [2]             Prime 2003                1.94%                $71                                                          $71
229 BSARM 2003-7 [3]             Prime 2003                1.94%                $26                                                          $26
230 BSARM 2003-7 [4]             Prime 2003                1.94%              $161                                                         $161
231 BSARM 2003-7 [5]             Prime 2003                1.94%                $31                                                          $31
232 BSARM 2003-7 [6]             Prime 2003                1.94%              $156                                                         $156
233 BSARM 2003-7 [7]             Prime 2003                1.94%                $27                                                          $27
234 BSARM 2003-7 [8]             Prime 2003                1.94%                $22                                                          $22
235 BSARM 2003-7 [9]             Prime 2003                1.94%              $113                                                         $113
236 BSARM 2004-1 [I-1]           Prime 2004                0.32%                $24                                                          $24
237 BSARM 2004-1 [I-2]           Prime 2004                0.32%                $45                                                          $45
238 BSARM 2004-1 [I-3]           Prime 2004                0.32%                $10                                                          $10
239 BSARM 2004-1 [I-4]           Prime 2004                0.32%                 $9                                                           $9
240 BSARM 2004-1 [I-5]           Prime 2004                0.32%                $17                                                          $17
241 BSARM 2004-1 [I-6]           Prime 2004                0.32%                 $5                                                           $5
242 BSARM 2004-1 [I-7]           Prime 2004                0.32%                 $9                                                           $9
243 BSARM 2004-1 [II-1]          Prime 2004                0.32%                $33                                                          $33
244 BSARM 2004-1 [II-2]          Prime 2004                0.32%                 $3                                                           $3
245 BSARM 2004-1 [II-3]          Prime 2004                0.32%                 $3                                                           $3
246 BSARM 2004-10 [I1]           Prime 2004               19.58%             $2,551                                                       $2,551
247 BSARM 2004-10 [I2]           Prime 2004               19.58%             $4,518                                                       $4,518
248 BSARM 2004-10 [I3]           Prime 2004               19.58%             $1,417                                                       $1,417
249 BSARM 2004-10 [I4]           Prime 2004               19.58%             $1,952                                                       $1,952
250 BSARM 2004-10 [I5]           Prime 2004               19.58%             $2,097                                                       $2,097
251 BSARM 2004-10 [II1]          Prime 2004               19.58%             $2,598                                                       $2,598
252 BSARM 2004-10 [II2]          Prime 2004               19.58%              $779                                                         $779
253 BSARM 2004-10 [II3]          Prime 2004               19.58%             $1,799                                                       $1,799
254 BSARM 2004-10 [III1]         Prime 2004               19.58%              $903                                                         $903
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                                                                                                                              GMACM Recognized
 1             Name               Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
255 BSARM 2004-10 [III2]         Prime 2004                19.58%             $1,427                                                      $1,427
256 BSARM 2004-12 [1]            Prime 2004                38.54%            $10,077                                                     $10,077
257 BSARM 2004-12 [2]            Prime 2004                38.54%            $25,736                                                     $25,736
258 BSARM 2004-12 [3]            Prime 2004                38.54%             $2,615                                                      $2,615
259 BSARM 2004-12 [4]            Prime 2004                38.54%             $1,968                                                      $1,968
260 BSARM 2004-5 [1]             Prime 2004               100.00%             $3,138                                                      $3,138
261 BSARM 2004-5 [2]             Prime 2004               100.00%            $14,054                                                     $14,054
262 BSARM 2004-5 [3]             Prime 2004               100.00%             $1,654                                                      $1,654
263 BSARM 2004-5 [4]             Prime 2004               100.00%             $1,116                                                      $1,116
264 BSARM 2004-9 [1]             Prime 2004                72.17%             $2,116                                                      $2,116
265 BSARM 2004-9 [2]             Prime 2004                72.17%             $5,679                                                      $5,679
266 BSARM 2004-9 [3]             Prime 2004                72.17%             $1,496                                                      $1,496
267 BSARM 2004-9 [4]             Prime 2004                72.17%              $499                                                        $499
268 BSARM 2004-9 [5]             Prime 2004                72.17%             $7,013                                                      $7,013
269 BSARM 2004-9 [6]             Prime 2004                72.17%              $907                                                        $907
270 BSARM 2004-9 [7]             Prime 2004                72.17%             $3,384                                                      $3,384
271 BSARM 2005-11 [1]            Prime 2005                70.51%             $1,484                                                      $1,484
272 BSARM 2005-11 [2]            Prime 2005                70.51%             $4,361                                                      $4,361
273 BSARM 2005-11 [3]            Prime 2005                70.51%             $3,122                                                      $3,122
274 BSARM 2005-11 [4]            Prime 2005                70.51%             $4,125                                                      $4,125
275 BSARM 2005-11 [5]            Prime 2005                70.51%             $5,476                                                      $5,476
276 BSARM 2005-12 [I-1]          Prime 2005                 8.76%             $2,846                                                      $2,846
277 BSARM 2005-12 [I-2]          Prime 2005                 8.76%             $6,221                                                      $6,221
278 BSARM 2005-12 [I-3]          Prime 2005                 8.76%             $2,542                                                      $2,542
279 BSARM 2005-12 [II-1]         Prime 2005                 8.76%              $531                                                        $531
280 BSARM 2005-12 [II-2]         Prime 2005                 8.76%             $1,249                                                      $1,249
281 BSARM 2005-12 [II-3]         Prime 2005                 8.76%             $2,497                                                      $2,497
282 BSARM 2005-12 [II-4]         Prime 2005                 8.76%              $374                                                        $374
283 BSARM 2005-12 [II-5]         Prime 2005                 8.76%              $623                                                        $623
284 BSARM 2006-2 [1]             Prime 2006                 0.36%                $38                                                         $38
285 BSARM 2006-2 [2]             Prime 2006                 0.36%              $411                                                        $411
286 BSARM 2006-2 [3]             Prime 2006                 0.36%              $145                                                        $145
287 BSARM 2006-2 [4]             Prime 2006                 0.36%              $203                                                        $203
288 CMLTI 2004-2 [1]             Prime 2004                 1.72%                $40                                                         $40
289 CMLTI 2004-2 [2]             Prime 2004                 1.72%                $11                                                         $11
290 CMLTI 2004-HYB4 [1]          ALT-A 2004                21.30%             $1,156                                                      $1,156
291 CMLTI 2004-HYB4 [2]          ALT-A 2004                21.30%              $560                                                        $560
292 CMLTI 2004-HYB4 [3]          ALT-A 2004                21.30%             $2,507                                                      $2,507
293 CMLTI 2004-HYB4 [4]          ALT-A 2004                21.30%             $2,211                                                      $2,211
294 CMLTI 2005-1 [I]             ALT-A 2005                24.89%             $2,721                                                      $2,721
295 CMLTI 2005-1 [II-1]          ALT-A 2005                24.89%             $3,022                                                      $3,022
296 CMLTI 2005-1 [II-2]          ALT-A 2005                24.89%             $2,292                                                      $2,292
297 CMLTI 2005-1 [III]           ALT-A 2005                24.89%             $2,749                                                      $2,749
298 CMLTI 2005-2 [I1]            ALT-A 2005                 0.01%                 $0                                                          $0
299 CMLTI 2005-2 [I2]            ALT-A 2005                 0.01%                 $2                                                          $2
300 CMLTI 2005-2 [I3]            ALT-A 2005                 0.01%                 $1                                                          $1
301 CMLTI 2005-2 [I4]            ALT-A 2005                 0.01%                 $2                                                          $2
302 CMLTI 2005-2 [I5]            ALT-A 2005                 0.01%                 $1                                                          $1
303 CMLTI 2005-2 [II1]           ALT-A 2005                 0.01%                 $0                                                          $0
304 CMLTI 2005-2 [II2]           ALT-A 2005                 0.01%                 $0                                                          $0
305 CMLTI 2005-3 [I]             ALT-A 2005                 6.02%             $1,290                                                      $1,290
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                                                                                                                                GMACM Recognized
 1             Name                Cohort        GMACM Servicer %     GMACM Claim                      Insurer                       Claim
306 CMLTI 2005-3 [II-1]           ALT-A 2005                 6.02%                $927                                                       $927
307 CMLTI 2005-3 [II-2]           ALT-A 2005                 6.02%               $6,077                                                     $6,077
308 CMLTI 2005-3 [II-3]           ALT-A 2005                 6.02%               $1,260                                                     $1,260
309 CMLTI 2005-3 [II-4]           ALT-A 2005                 6.02%               $3,316                                                     $3,316
310 CMLTI 2005-3 [III]            ALT-A 2005                 6.02%               $1,335                                                     $1,335
311 CMLTI 2005-5 [I-1]            ALT-A 2005                58.96%               $2,010                                                     $2,010
312 CMLTI 2005-5 [I-2]            ALT-A 2005                58.96%               $8,058                                                     $8,058
313 CMLTI 2005-5 [I-3]            ALT-A 2005                58.96%               $2,796                                                     $2,796
314 CMLTI 2005-5 [I-4]            ALT-A 2005                58.96%               $8,461                                                     $8,461
315 CMLTI 2005-5 [I-5]            ALT-A 2005                58.96%               $1,674                                                     $1,674
316 CMLTI 2005-5 [II-1]           ALT-A 2005                58.96%              $22,737                                                    $22,737
317 CMLTI 2005-5 [II-2]           ALT-A 2005                58.96%               $2,690                                                     $2,690
318 CMLTI 2005-5 [II-3]           ALT-A 2005                58.96%               $5,718                                                     $5,718
319 CMLTI 2005-5 [III-1]          ALT-A 2005                58.96%              $12,904                                                    $12,904
320 CMLTI 2005-5 [III-2]          ALT-A 2005                58.96%               $5,657                                                     $5,657
321 CMLTI 2005-5 [III-3]          ALT-A 2005                58.96%              $14,286                                                    $14,286
322 CMLTI 2005-5 [III-4]          ALT-A 2005                58.96%               $7,750                                                     $7,750
323 CMLTI 2005-5 [III-5]          ALT-A 2005                58.96%               $7,397                                                     $7,397
324 CMLTI 2005-8 [I-1]            Prime 2005                 3.33%                $296                                                       $296
325 CMLTI 2005-8 [I-2]            Prime 2005                 3.33%                $213                                                       $213
326 CMLTI 2005-8 [I-3]            Prime 2005                 3.33%                $500                                                       $500
327 CMLTI 2005-8 [I-4]            Prime 2005                 3.33%               $1,324                                                     $1,324
328 CMLTI 2005-8 [II]             Prime 2005                 3.33%               $1,178                                                     $1,178
329 CMLTI 2005-8 [III]            Prime 2005                 3.33%                $416                                                       $416
330 CMLTI 2005-SHL1 [1A]        Subprime 2005                9.00%               $2,802                                                     $2,802
331 CMLTI 2005-SHL1 [1F]        Subprime 2005                9.00%               $4,329                                                     $4,329
332 CMLTI 2005-SHL1 [2]         Subprime 2005                9.00%                $244                                                       $244
333 CMLTI 2006-4 [1]              ALT-A 2006                 0.07%                   $8                                                         $8
334 CMLTI 2006-4 [2]              ALT-A 2006                 0.07%                  $32                                                        $32
335 CMLTI 2006-AR3 [1-1]          Prime 2006                 0.22%                $137                                                       $137
336 CMLTI 2006-AR3 [1-2]          Prime 2006                 0.22%                $433                                                       $433
337 CMLTI 2006-AR3 [2-1]          Prime 2006                 0.22%                  $45                                                        $45
338 CMLTI 2006-AR3 [2-2]          Prime 2006                 0.22%                  $26                                                        $26
339 CMLTI 2006-AR3 [2-3]          Prime 2006                 0.22%                $135                                                       $135
340 CMLTI 2006-AR3 [2-4]          Prime 2006                 0.22%                  $90                                                        $90

341 CMLTI 2007-AMC2 [1A_GE36]   Subprime 2007               25.68%              $38,996                                                    $38,996

342 CMLTI 2007-AMC2 [1A_LE24]   Subprime 2007               25.68%              $64,005                                                    $64,005
343 CMLTI 2007-AMC2 [1F]        Subprime 2007               25.68%              $51,512                                                    $51,512

344 CMLTI 2007-AMC2 [2A_GE36]   Subprime 2007               25.68%               $8,608                                                     $8,608

345 CMLTI 2007-AMC2 [2A_LE24]   Subprime 2007               25.68%              $13,616                                                    $13,616
346 CMLTI 2007-AMC2 [2F]        Subprime 2007               25.68%              $14,597                                                    $14,597

347 CMLTI 2007-AMC2 [3A_GE36]   Subprime 2007               25.68%              $37,093                                                    $37,093

348 CMLTI 2007-AMC2 [3A_LE24]   Subprime 2007               25.68%             $117,616                                                   $117,616
349 CMLTI 2007-AMC2 [3F]        Subprime 2007               25.68%              $60,887                                                    $60,887
350 CMLTI 2007-AR1 [A]            ALT-A 2007                 0.02%                  $70                                                        $70
351 CMLTI 2007-AR1 [F]            ALT-A 2007                 0.02%                   $1                                                         $1
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                 A                 B                  C                  D                              E                            F
                                                                                                                              GMACM Recognized
 1             Name              Cohort        GMACM Servicer %     GMACM Claim                      Insurer                       Claim
352 CMLTI 2007-SHL1 [A]       Subprime 2007                5.00%             $14,663                                                     $14,663
353 CMLTI 2007-SHL1 [F]       Subprime 2007                5.00%              $6,915                                                      $6,915
354 CSFB 2002-34 [FOUR]         Prime 2002                 5.31%               $593                                                        $593
355 CSFB 2002-34 [ONE]          Prime 2002                 5.31%               $560                                                        $560
356 CSFB 2002-34 [THREE]        Prime 2002                 5.31%              $1,035                                                      $1,035
357 CSFB 2002-34 [TWO]          Prime 2002                 5.31%               $516                                                        $516
358 CSFB 2002-AR33 [FIVE]       ALT-A 2002                 3.62%                 $45                                                         $45
359 CSFB 2002-AR33 [FOUR]       ALT-A 2002                 3.62%                 $13                                                         $13
360 CSFB 2002-AR33 [ONE]        ALT-A 2002                 3.62%                 $28                                                         $28
361 CSFB 2002-AR33 [THREE]      ALT-A 2002                 3.62%               $141                                                        $141
362 CSFB 2002-AR33 [TWO]        ALT-A 2002                 3.62%                 $34                                                         $34
363 CSFB 2003-23 [EIGHT]        Prime 2003                 9.70%               $233                                                        $233
364 CSFB 2003-23 [FIVE]         Prime 2003                 9.70%               $704                                                        $704
365 CSFB 2003-23 [FOUR]         Prime 2003                 9.70%               $428                                                        $428
366 CSFB 2003-23 [ONE]          Prime 2003                 9.70%              $1,648                                                      $1,648
367 CSFB 2003-23 [SEVEN]        Prime 2003                 9.70%               $179                                                        $179
368 CSFB 2003-23 [SIX]          Prime 2003                 9.70%               $546                                                        $546
369 CSFB 2003-23 [THREE]        Prime 2003                 9.70%              $1,437                                                      $1,437
370 CSFB 2003-23 [TWO]          Prime 2003                 9.70%               $778                                                        $778
371 CSFB 2005-10 [1]            Prime 2005                 3.03%               $615                                                        $615
372 CSFB 2005-10 [10]           Prime 2005                 3.03%               $719                                                        $719
373 CSFB 2005-10 [11]           Prime 2005                 3.03%               $282                                                        $282
374 CSFB 2005-10 [12]           Prime 2005                 3.03%               $303                                                        $303
375 CSFB 2005-10 [2]            Prime 2005                 3.03%               $622                                                        $622
376 CSFB 2005-10 [3]            Prime 2005                 3.03%               $740                                                        $740
377 CSFB 2005-10 [4]            Prime 2005                 3.03%               $333                                                        $333
378 CSFB 2005-10 [5]            Prime 2005                 3.03%              $1,318                                                      $1,318
379 CSFB 2005-10 [6]            Prime 2005                 3.03%              $1,257                                                      $1,257
380 CSFB 2005-10 [7]            Prime 2005                 3.03%               $117                                                        $117
381 CSFB 2005-10 [8]            Prime 2005                 3.03%               $328                                                        $328
382 CSFB 2005-10 [9]            Prime 2005                 3.03%               $280                                                        $280
383 CSFB 2005-11 [1]            Prime 2005                 3.02%               $301                                                        $301
384 CSFB 2005-11 [2]            Prime 2005                 3.02%               $429                                                        $429
385 CSFB 2005-11 [3]            Prime 2005                 3.02%               $219                                                        $219
386 CSFB 2005-11 [4]            Prime 2005                 3.02%               $284                                                        $284
387 CSFB 2005-11 [5]            Prime 2005                 3.02%               $555                                                        $555
388 CSFB 2005-11 [6]            Prime 2005                 3.02%               $543                                                        $543
389 CSFB 2005-11 [7]            Prime 2005                 3.02%               $421                                                        $421
390 CSFB 2005-11 [8]            Prime 2005                 3.02%               $816                                                        $816
391 CSFB 2005-12 [1]            ALT-A 2005                 2.16%               $392                                                        $392
392 CSFB 2005-12 [2]            ALT-A 2005                 2.16%               $793                                                        $793
393 CSFB 2005-12 [3]            ALT-A 2005                 2.16%               $799                                                        $799
394 CSFB 2005-12 [4]            ALT-A 2005                 2.16%              $1,736                                                      $1,736
395 CSFB 2005-12 [5]            ALT-A 2005                 2.16%               $889                                                        $889
396 CSFB 2005-12 [6]            ALT-A 2005                 2.16%              $1,153                                                      $1,153
397 CSFB 2005-12 [7]            ALT-A 2005                 2.16%               $794                                                        $794
398 CSFB 2005-12 [8]            ALT-A 2005                 2.16%               $201                                                        $201
399 CSFB 2005-3 [1]             Prime 2005                27.68%              $1,683                                                      $1,683
400 CSFB 2005-3 [2]             Prime 2005                27.68%              $1,388                                                      $1,388
401 CSFB 2005-3 [3]             Prime 2005                27.68%              $8,890                                                      $8,890
402 CSFB 2005-3 [4]             Prime 2005                27.68%               $714                                                        $714
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                                                                                                                                GMACM Recognized
 1             Name                 Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
403 CSFB 2005-3 [5]                Prime 2005               27.68%              $1,803                                                      $1,803
404 CSFB 2005-3 [6]                Prime 2005               27.68%              $1,859                                                      $1,859
405 CSFB 2005-3 [7]                Prime 2005               27.68%              $1,600                                                      $1,600
406 CSFB 2005-4 [1]                Prime 2005               15.77%              $1,779                                                      $1,779
407 CSFB 2005-4 [2]                Prime 2005               15.77%              $2,458                                                      $2,458
408 CSFB 2005-4 [3]                Prime 2005               15.77%              $2,438                                                      $2,438
409 CSFB 2005-5 [1]                Prime 2005                2.54%               $128                                                        $128
410 CSFB 2005-5 [2]                Prime 2005                2.54%               $263                                                        $263
411 CSFB 2005-5 [3]                Prime 2005                2.54%               $138                                                        $138
412 CSFB 2005-5 [4]                Prime 2005                2.54%                 $92                                                         $92
413 CSFB 2005-5 [5]                Prime 2005                2.54%                 $56                                                         $56
414 CSFB 2005-5 [6]                Prime 2005                2.54%                 $94                                                         $94
415 CSFB 2005-5 [7]                Prime 2005                2.54%               $131                                                        $131
416 CSFB 2005-6 [1]                Prime 2005                5.02%              $1,528                                                      $1,528
417 CSFB 2005-6 [2]                Prime 2005                5.02%               $181                                                        $181
418 CSFB 2005-6 [3]                Prime 2005                5.02%               $400                                                        $400
419 CSFB 2005-6 [4]                Prime 2005                5.02%               $507                                                        $507
420 CSFB 2005-6 [5]                Prime 2005                5.02%              $1,067                                                      $1,067
421 CSFB 2005-6 [6]                Prime 2005                5.02%               $477                                                        $477
422 CSFB 2005-6 [7]                Prime 2005                5.02%               $477                                                        $477
423 CSFB 2005-6 [8]                Prime 2005                5.02%               $291                                                        $291
424 CSFB 2005-6 [9]                Prime 2005                5.02%               $341                                                        $341
425 CSFB 2005-8 [1]                ALT-A 2005                3.33%              $1,225                                                      $1,225
426 CSFB 2005-8 [2]                ALT-A 2005                3.33%               $648                                                        $648
427 CSFB 2005-8 [3]                ALT-A 2005                3.33%              $1,475                                                      $1,475
428 CSFB 2005-8 [4]                ALT-A 2005                3.33%               $301                                                        $301
429 CSFB 2005-8 [5]                ALT-A 2005                3.33%               $768                                                        $768
430 CSFB 2005-8 [6]                ALT-A 2005                3.33%               $131                                                        $131
431 CSFB 2005-8 [7]                ALT-A 2005                3.33%               $860                                                        $860
432 CSFB 2005-8 [8]                ALT-A 2005                3.33%               $535                                                        $535
433 CSFB 2005-8 [9]                ALT-A 2005                3.33%              $1,164                                                      $1,164
434 CSFB 2005-9 [1]                ALT-A 2005                2.60%               $959                                                        $959
435 CSFB 2005-9 [2]                ALT-A 2005                2.60%               $478                                                        $478
436 CSFB 2005-9 [3]                ALT-A 2005                2.60%               $482                                                        $482
437 CSFB 2005-9 [4]                ALT-A 2005                2.60%               $544                                                        $544
438 CSFB 2005-9 [5]                ALT-A 2005                2.60%              $1,163                                                      $1,163
439 CSMC 2006-1 [1]                Prime 2006                0.19%               $115                                                        $115
440 CSMC 2006-1 [2]                Prime 2006                0.19%                 $31                                                         $31
441 CSMC 2006-1 [3]                Prime 2006                0.19%                 $56                                                         $56
442 CSMC 2006-1 [4]                Prime 2006                0.19%                 $38                                                         $38
443 CSMC 2006-1 [5]                Prime 2006                0.19%                 $76                                                         $76
444 CSMC 2006-8 [1]                Prime 2006                2.50%              $2,012                                                      $2,012
445 CSMC 2006-8 [2]                Prime 2006                2.50%               $176                                                        $176
446 CSMC 2006-9 [1]                ALT-A 2006                0.09%                 $71                                                         $71
447 CSMC 2006-9 [2A]               ALT-A 2006                0.09%                 $53                                                         $53
448 CSMC 2006-9 [2B]               ALT-A 2006                0.09%                 $36                                                         $36
449 CSMC 2007-6 [Total]            ALT-A 2007                0.49%               $799                                                        $799
450 CSMC 2007-7 [1]                Prime 2007                0.21%                 $84                                                         $84
451 CSMC 2007-7 [2]                Prime 2007                0.21%                 $68                                                         $68
452 CSMC 2007-7 [3]                Prime 2007                0.21%                 $20                                                         $20
453 DBALT 2003-2XS [Total]         ALT-A 2003               95.38%             $29,435                                                     $29,435
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                                                                                                                                     GMACM Recognized
 1             Name                   Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
454 DBALT 2003-4XS [Total]           ALT-A 2003                  84.05%              $20,118                 MBIA                                    $0
455 DBALT 2005-3 [1]                 ALT-A 2005                   2.59%                  $80                                                        $80
456 DBALT 2005-3 [2]                 ALT-A 2005                   2.59%                  $77                                                        $77
457 DBALT 2005-3 [3]                 ALT-A 2005                   2.59%                  $57                                                        $57
458 DBALT 2005-3 [4]                 ALT-A 2005                   2.59%               $1,012                                                     $1,012
459 DBALT 2005-3 [5]                 ALT-A 2005                   2.59%                $121                                                       $121
460 DBALT 2005-4 [Total]             ALT-A 2005                  48.82%              $30,202                                                    $30,202
461 DBALT 2005-5 [1]                 ALT-A 2005                  52.13%              $39,251                                                    $39,251
462 DBALT 2005-5 [2]                 ALT-A 2005                  52.13%              $31,333                                                    $31,333
463 DBALT 2005-6 [1]                 ALT-A 2005                  61.14%              $40,028                                                    $40,028
464 DBALT 2005-6 [2]                 ALT-A 2005                  61.14%              $52,056                                                    $52,056
465 DBALT 2005-AR1 [1]               ALT-A 2005                  50.36%              $28,151                                                    $28,151
466 DBALT 2005-AR1 [2]               ALT-A 2005                  50.36%               $9,306                                                     $9,306
467 DBALT 2005-AR2 [1]               ALT-A 2005                  28.39%               $7,615                                                     $7,615
468 DBALT 2005-AR2 [2]               ALT-A 2005                  28.39%               $3,736                                                     $3,736
469 DBALT 2005-AR2 [3]               ALT-A 2005                  28.39%               $3,508                                                     $3,508
470 DBALT 2005-AR2 [4]               ALT-A 2005                  28.39%               $7,236                                                     $7,236
471 DBALT 2005-AR2 [5]               ALT-A 2005                  28.39%               $5,325                                                     $5,325
472 DBALT 2005-AR2 [6]               ALT-A 2005                  28.39%               $2,693                                                     $2,693
473 DBALT 2005-AR2 [7]               ALT-A 2005                  28.39%               $2,237                                                     $2,237
474 DBALT 2006-AB1 [Total]           ALT-A 2006                  14.64%              $38,623                  FSA                                    $0
475 DBALT 2006-AB3 [Total]           ALT-A 2006                   1.45%               $3,980                  FSA                                    $0
476 DBALT 2006-AF1 [A]               ALT-A 2006                  41.00%             $121,412                                                   $121,412
477 DBALT 2006-AF1 [F]               ALT-A 2006                  41.00%              $38,435                                                    $38,435
478 DBALT 2006-AR1 [1]               ALT-A 2006                  33.11%              $60,258                                                    $60,258
479 DBALT 2006-AR1 [2]               ALT-A 2006                  33.11%               $6,859                                                     $6,859
480 DBALT 2006-AR1 [3]               ALT-A 2006                  33.11%              $19,379                                                    $19,379
481 DBALT 2006-AR1 [4]               ALT-A 2006                  33.11%               $9,689                                                     $9,689
482 DBALT 2006-AR1 [5]               ALT-A 2006                  33.11%               $3,762                                                     $3,762
483 DBALT 2006-AR2 [Total]           ALT-A 2006                  46.14%             $104,986                                                   $104,986
484 DBALT 2006-AR3 [Total]           ALT-A 2006                  79.69%             $488,221                                                   $488,221
485 DBALT 2006-AR5 [I]               ALT-A 2006                  57.98%             $412,396                                                   $412,396
486 DBALT 2006-AR5 [II1]             ALT-A 2006                  57.98%               $9,212                                                     $9,212
487 DBALT 2006-AR5 [II2]             ALT-A 2006                  57.98%              $11,191                                                    $11,191
488 DBALT 2006-AR5 [II3]             ALT-A 2006                  57.98%              $17,920                                                    $17,920
489 DBALT 2006-AR6 [Total]           ALT-A 2006                  65.68%             $587,334                                                   $587,334
490 DBALT 2006-OA1 [Total]      Pay Option ARM 2006               6.11%              $25,097                                                    $25,097
491 DBALT 2007-1 [IA]                ALT-A 2007                  38.32%             $199,687                                                   $199,687
492 DBALT 2007-1 [IF]                ALT-A 2007                  38.32%             $203,903                                                   $203,903
493 DBALT 2007-1 [IIA]               ALT-A 2007                  38.32%              $23,365                                                    $23,365
494 DBALT 2007-1 [IIF]               ALT-A 2007                  38.32%              $16,469                                                    $16,469
495 DBALT 2007-3 [1]            Pay Option ARM 2007              94.63%             $118,392                                                   $118,392
496 DBALT 2007-3 [2]            Pay Option ARM 2007              94.63%             $273,873                                                   $273,873
497 DBALT 2007-AR3 [I]               ALT-A 2007                  25.88%             $124,115                 MBIA                                    $0
498 DBALT 2007-AR3 [IIA]             ALT-A 2007                  25.88%             $189,132                                                   $189,132
499 DBALT 2007-AR3 [IIF]             ALT-A 2007                  25.88%              $45,574                                                    $45,574
500 DBALT 2007-OA2 [Total]      Pay Option ARM 2007              11.92%              $28,338                                                    $28,338
501 DBALT 2007-OA3 [1]          Pay Option ARM 2007              32.60%              $35,069                                                    $35,069
502 DBALT 2007-OA3 [2]          Pay Option ARM 2007              32.60%              $81,056                                                    $81,056
503 DBALT 2007-OA3 [3]          Pay Option ARM 2007              32.60%              $12,839                                                    $12,839
504 DBALT 2007-OA3 [4]          Pay Option ARM 2007              32.60%              $54,210                                                    $54,210
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                                                                                                                                              GMACM Recognized
 1             Name                 Cohort          GMACM Servicer %     GMACM Claim                         Insurer                               Claim
505 DBALT 2007-OA4 [1]        Pay Option ARM 2007               13.87%            $113,181                                                              $113,181
506 DBALT 2007-OA4 [2]        Pay Option ARM 2007               13.87%             $13,991                                                               $13,991
507 DBALT 2007-OA4 [3]        Pay Option ARM 2007               13.87%             $18,371                                                               $18,371
508 DBALT 2007-OA5 [Total]    Pay Option ARM 2007               97.59%            $142,719                                                              $142,719
509 DMSI 2004-1 [ONE]              ALT-A 2004                   55.58%              $2,654                                                                $2,654
510 DMSI 2004-1 [THREE]            ALT-A 2004                   55.58%             $12,929                                                               $12,929
511 DMSI 2004-1 [TWO]              ALT-A 2004                   55.58%              $4,830                                                                $4,830
512 DMSI 2004-2 [Total]            ALT-A 2004                   30.30%              $7,078                                                                $7,078
513 DMSI 2004-4 [1]                ALT-A 2004                    6.46%              $1,210                                                                $1,210
514 DMSI 2004-4 [21]               ALT-A 2004                    6.46%               $995                                                                  $995
515 DMSI 2004-4 [22]               ALT-A 2004                    6.46%               $875                                                                  $875
516 DMSI 2004-4 [3]                ALT-A 2004                    6.46%               $585                                                                  $585
517 DMSI 2004-4 [4]                ALT-A 2004                    6.46%               $308                                                                  $308
518 DMSI 2004-4 [5]                ALT-A 2004                    6.46%               $319                                                                  $319
519 DMSI 2004-4 [6]                ALT-A 2004                    6.46%               $146                                                                  $146
520 DMSI 2004-4 [71]               ALT-A 2004                    6.46%               $229                                                                  $229
521 DMSI 2004-4 [72]               ALT-A 2004                    6.46%               $639                                                                  $639
522 DMSI 2004-5 [Total]            ALT-A 2004                   38.89%             $33,125                     FGIC                                      $33,125
523 FMRMT 2003-A [Total]              2003                      50.00%               $928                                                                  $928
524 FNBA 2004-AR1 [Total]          ALT-A 2004                  100.00%             $34,860                                                               $34,860
525 FNR 2002-66 [FIVE]           Subprime 2002                   4.50%              $1,297           FNMA/FNMA (Agency Wrap)                                  $0
526 FNR 2002-66 [FOUR]           Subprime 2002                   4.50%              $1,832           FNMA/FNMA (Agency Wrap)                                  $0
527 FNR 2002-66 [ONE]            Subprime 2002                   4.50%              $7,395           FNMA/FNMA (Agency Wrap)                                  $0
528 GMACM 2000-HE2 [1HEL]       Second Lien 2000               100.00%              $6,104                   MBIA                                             $0

529 GMACM 2000-HE2 [1HELOC]    Second Lien 2000                100.00%             $20,376                     MBIA                                          $0
530 GMACM 2000-HE2 [2HEL]      Second Lien 2000                100.00%               $342                      MBIA                                          $0

531 GMACM 2000-HE2 [2HELOC]    Second Lien 2000                100.00%              $3,470                     MBIA                                          $0
532 GMACM 2000-HE4 [1HEL]      Second Lien 2000                100.00%              $3,647                     MBIA                                          $0

533 GMACM 2000-HE4 [1HELOC]    Second Lien 2000                100.00%              $9,398                     MBIA                                          $0
534 GMACM 2000-HE4 [2HEL]      Second Lien 2000                100.00%               $326                      MBIA                                          $0

535 GMACM 2000-HE4 [2HELOC]    Second Lien 2000                100.00%              $2,510                     MBIA                                           $0
536 GMACM 2002-HE3 [Total]     Second Lien 2002                100.00%             $25,825                     MBIA                                           $0
537 GMACM 2003-AR1 [1]            Prime 2003                   100.00%              $7,513                                                                $7,513
538 GMACM 2003-AR1 [2]            Prime 2003                   100.00%              $2,448                                                                $2,448
539 GMACM 2003-AR2 [1]            Prime 2003                   100.00%              $1,233                                                                $1,233
540 GMACM 2003-AR2 [2]            Prime 2003                   100.00%              $3,276                                                                $3,276
541 GMACM 2003-AR2 [3]            Prime 2003                   100.00%              $2,824                                                                $2,824
542 GMACM 2003-AR2 [4]            Prime 2003                   100.00%              $2,964                                                                $2,964
543 GMACM 2003-GH1 [1]          Subprime 2003                  100.00%             $26,477            MBIA - Insurer Exception                           $26,477
544 GMACM 2003-GH1 [2]          Subprime 2003                  100.00%              $4,300            MBIA - Insurer Exception                            $4,300
545 GMACM 2003-GH1 [3]          Subprime 2003                  100.00%              $2,647            MBIA - Insurer Exception                            $2,647
546 GMACM 2003-GH2 [1A]         Subprime 2003                  100.00%              $4,618                                                                $4,618
547 GMACM 2003-GH2 [1F]         Subprime 2003                  100.00%             $25,122                                                               $25,122
548 GMACM 2003-GH2 [2A]         Subprime 2003                  100.00%              $2,166                                                                $2,166
549 GMACM 2003-GH2 [2F]         Subprime 2003                  100.00%              $7,995                                                                $7,995
550 GMACM 2003-J10 [Total]        Prime 2003                   100.00%              $2,797                                                                $2,797
551 GMACM 2003-J5 [Total]         Prime 2003                   100.00%              $1,968                                                                $1,968
552 GMACM 2003-J6 [Total]         Prime 2003                   100.00%              $6,092                                                                $6,092
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                                                                                                                                          GMACM Recognized
 1           Name               Cohort        GMACM Servicer %     GMACM Claim                             Insurer                             Claim
553 GMACM 2003-J7 [Total]      Prime 2003                100.00%              $6,901                                                                  $6,901
554 GMACM 2003-J8 [Total]      Prime 2003                100.00%              $8,902                                                                  $8,902
555 GMACM 2003-J9 [Total]      Prime 2003                100.00%             $11,469                                                                 $11,469
556 GMACM 2004-AR1 [I1]        Prime 2004                100.00%              $2,304                                                                  $2,304
557 GMACM 2004-AR1 [I2]        Prime 2004                100.00%             $10,597                                                                 $10,597
558 GMACM 2004-AR1 [I3]        Prime 2004                100.00%              $1,696                                                                  $1,696
559 GMACM 2004-AR1 [I4]        Prime 2004                100.00%              $4,369                                                                  $4,369
560 GMACM 2004-AR1 [II1]       Prime 2004                100.00%               $585                                                                    $585
561 GMACM 2004-AR1 [II2]       Prime 2004                100.00%              $2,719                                                                  $2,719
562 GMACM 2004-AR1 [II3]       Prime 2004                100.00%               $443                                                                    $443
563 GMACM 2004-AR1 [II4]       Prime 2004                100.00%              $1,152                                                                  $1,152
564 GMACM 2004-AR2 [1]         Prime 2004                100.00%              $2,032                                                                  $2,032
565 GMACM 2004-AR2 [2]         Prime 2004                100.00%              $5,591                                                                  $5,591
566 GMACM 2004-AR2 [3]         Prime 2004                100.00%              $9,104                                                                  $9,104
567 GMACM 2004-AR2 [4]         Prime 2004                100.00%              $2,886                                                                  $2,886
568 GMACM 2004-AR2 [5]         Prime 2004                100.00%              $2,767                                                                  $2,767
569 GMACM 2004-GH1 [Total]   Subprime 2004               100.00%             $44,352                                                                 $44,352
570 GMACM 2004-HE2 [Total]      CES 2004                 100.00%              $2,764     OLD REPUBLIC INSURANCE COMPANY (Pool Policy)                 $2,764
571 GMACM 2004-J1 [Total]      Prime 2004                100.00%             $11,919                MBIA - Insurer Exception                         $11,919
572 GMACM 2004-J2 [Total]      Prime 2004                100.00%             $15,485                MBIA - Insurer Exception                         $15,485
573 GMACM 2004-J3 [Total]      Prime 2004                100.00%              $7,021                                                                  $7,021
574 GMACM 2004-J4 [Total]      Prime 2004                100.00%             $17,413                                                                 $17,413
575 GMACM 2004-J5 [Total]      Prime 2004                100.00%             $12,857                                                                 $12,857
576 GMACM 2004-J6 [1]          Prime 2004                100.00%              $1,577                                                                  $1,577
577 GMACM 2004-J6 [2]          Prime 2004                100.00%              $2,569                                                                  $2,569
578 GMACM 2005-AA1 [1]         ALT-A 2005                100.00%             $26,002                                                                 $26,002
579 GMACM 2005-AA1 [2]         ALT-A 2005                100.00%             $13,734                                                                 $13,734
580 GMACM 2005-AF1 [Total]     ALT-A 2005                100.00%             $31,157                                                                 $31,157
581 GMACM 2005-AF2 [Total]     ALT-A 2005                100.00%            $100,100                                                                $100,100
582 GMACM 2005-AR1 [1]         Prime 2005                100.00%              $3,004                                                                  $3,004
583 GMACM 2005-AR1 [2]         Prime 2005                100.00%              $5,174                                                                  $5,174
584 GMACM 2005-AR1 [3]         Prime 2005                100.00%              $9,860                                                                  $9,860
585 GMACM 2005-AR1 [4]         Prime 2005                100.00%              $1,359                                                                  $1,359
586 GMACM 2005-AR1 [5]         Prime 2005                100.00%              $4,776                                                                  $4,776
587 GMACM 2005-AR2 [1]         Prime 2005                100.00%              $3,254                                                                  $3,254
588 GMACM 2005-AR2 [2]         Prime 2005                100.00%             $23,195                                                                 $23,195
589 GMACM 2005-AR2 [3]         Prime 2005                100.00%              $3,191                                                                  $3,191
590 GMACM 2005-AR2 [4]         Prime 2005                100.00%              $6,859                                                                  $6,859
591 GMACM 2005-AR3 [1]         Prime 2005                100.00%              $2,758                                                                  $2,758
592 GMACM 2005-AR3 [2]         Prime 2005                100.00%              $8,316                                                                  $8,316
593 GMACM 2005-AR3 [3]         Prime 2005                100.00%             $15,545                                                                 $15,545
594 GMACM 2005-AR3 [4]         Prime 2005                100.00%              $7,496                                                                  $7,496
595 GMACM 2005-AR3 [5]         Prime 2005                100.00%              $9,139                                                                  $9,139
596 GMACM 2005-AR4 [1]         Prime 2005                100.00%              $1,267                                                                  $1,267
597 GMACM 2005-AR4 [2]         Prime 2005                100.00%              $3,942                                                                  $3,942
598 GMACM 2005-AR4 [3]         Prime 2005                100.00%             $10,136                                                                 $10,136
599 GMACM 2005-AR4 [4]         Prime 2005                100.00%              $3,711                                                                  $3,711
600 GMACM 2005-AR4 [5]         Prime 2005                100.00%              $5,628                                                                  $5,628
601 GMACM 2005-AR5 [1]         Prime 2005                100.00%              $2,675                                                                  $2,675
602 GMACM 2005-AR5 [2]         Prime 2005                100.00%              $6,308                                                                  $6,308
603 GMACM 2005-AR5 [3]         Prime 2005                100.00%             $16,109                                                                 $16,109
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                                                                                                                                  GMACM Recognized
 1            Name                 Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
604 GMACM 2005-AR5 [4]            Prime 2005                  100.00%             $7,960                                                      $7,960
605 GMACM 2005-AR5 [5]            Prime 2005                  100.00%            $13,320                                                     $13,320
606 GMACM 2005-AR6 [1]            Prime 2005                  100.00%             $5,098                                                      $5,098
607 GMACM 2005-AR6 [2]            Prime 2005                  100.00%            $21,177                                                     $21,177
608 GMACM 2005-AR6 [3]            Prime 2005                  100.00%            $11,213                                                     $11,213
609 GMACM 2005-AR6 [4]            Prime 2005                  100.00%            $19,635                                                     $19,635
610 GMACM 2005-J1 [Total]         Prime 2005                  100.00%            $28,192                                                     $28,192
611 GMACM 2006-AR1 [1]            Prime 2006                  100.00%            $28,664                                                     $28,664
612 GMACM 2006-AR1 [2]            Prime 2006                  100.00%            $15,248                                                     $15,248
613 GMACM 2006-AR1 [3]            Prime 2006                  100.00%            $14,500                                                     $14,500
614 GMACM 2006-AR2 [1]            Prime 2006                  100.00%             $2,398                                                      $2,398
615 GMACM 2006-AR2 [2]            Prime 2006                  100.00%            $21,946                                                     $21,946
616 GMACM 2006-AR2 [3]            Prime 2006                  100.00%             $7,369                                                      $7,369
617 GMACM 2006-AR2 [4]            Prime 2006                  100.00%             $6,078                                                      $6,078
618 GMACM 2006-AR2 [5]            Prime 2006                  100.00%            $10,453                                                     $10,453
619 GMACM 2006-HE3 [Total]         CES 2006                   100.00%            $16,360                  FGIC                               $16,360
620 GMACM 2006-HE5 [1]             CES 2006                   100.00%             $9,278                  FGIC                                $9,278
621 GMACM 2006-HE5 [2]             CES 2006                   100.00%             $6,183                  FGIC                                $6,183
622 GMACM 2006-HLTV1 [Total]   Second Lien 2006               100.00%             $4,133                  FGIC                                $4,133
623 GMACM 2006-J1 [Total]         Prime 2006                  100.00%            $38,475                                                     $38,475
624 GMACM 2007-HE2 [Total]         CES 2007                   100.00%            $11,636                  FGIC                               $11,636
625 GMACM 2007-HE3 [1]             CES 2007                   100.00%             $1,290                                                      $1,290
626 GMACM 2007-HE3 [2]             CES 2007                   100.00%             $1,620                                                      $1,620
627 GPMF 2005-HE4 [1]          Second Lien 2005               100.00%            $13,827                                                     $13,827
628 GPMF 2005-HE4 [2]          Second Lien 2005               100.00%            $27,931                                                     $27,931
629 GPMF 2006-AR4 [P0]            ALT-A 2006                    1.23%             $1,353                                                      $1,353
630 GPMF 2006-AR4 [P1]            ALT-A 2006                    1.23%             $1,594                                                      $1,594
631 GPMF 2006-AR4 [P2LT3]         ALT-A 2006                    1.23%                $21                                                         $21
632 GPMF 2006-AR4 [P3GT]          ALT-A 2006                    1.23%             $2,640                                                      $2,640
633 GPMF 2006-AR5 [1_A1]          ALT-A 2006                    0.13%              $157                                                        $157
634 GPMF 2006-AR5 [1_A2]          ALT-A 2006                    0.13%              $236                                                        $236
635 GPMF 2006-AR5 [1_A3]          ALT-A 2006                    0.13%                 $2                                                          $2
636 GPMF 2006-AR5 [1_A4]          ALT-A 2006                    0.13%              $205                                                        $205
637 GPMF 2006-AR5 [2_A1]          ALT-A 2006                    0.13%                 $7                                                          $7
638 GPMF 2006-AR5 [2_A4]          ALT-A 2006                    0.13%              $126                                                        $126
639 GPMF 2006-AR6 [1_NOPP]        ALT-A 2006                    0.02%                $22                                                         $22
640 GPMF 2006-AR6 [1_PP1YR]       ALT-A 2006                    0.02%                $28                                                         $28
641 GPMF 2006-AR6 [1_PP2YR]       ALT-A 2006                    0.02%                 $0                                                          $0
642 GPMF 2006-AR6 [1_PP3YR]       ALT-A 2006                    0.02%                $25                                                         $25
643 GPMF 2006-AR6 [2_NOPP]        ALT-A 2006                    0.02%                 $1                                                          $1
644 GPMF 2006-AR6 [2_PP1YR]       ALT-A 2006                    0.02%                 $0                                                          $0
645 GPMF 2006-AR6 [2_PP3YR]       ALT-A 2006                    0.02%                $19                                                         $19
646 GPMF 2006-AR7 [1_NOPP]        ALT-A 2006                    1.49%             $1,277                   FSA                                    $0
647 GPMF 2006-AR7 [1_PP1YR]       ALT-A 2006                    1.49%             $1,873                   FSA                                    $0
648 GPMF 2006-AR7 [1_PP2YR]       ALT-A 2006                    1.49%                $15                   FSA                                    $0
649 GPMF 2006-AR7 [1_PP3YR]       ALT-A 2006                    1.49%             $1,880                   FSA                                    $0
650 GPMF 2006-AR7 [2_PP1YR]       ALT-A 2006                    1.49%                $49                                                         $49
651 GPMF 2006-AR7 [2_PP3YR]       ALT-A 2006                    1.49%             $1,150                                                      $1,150
652 GPMF 2006-AR8 [1_NOPP]        ALT-A 2006                    0.79%              $361                                                        $361
653 GPMF 2006-AR8 [1_PP1YR]       ALT-A 2006                    0.79%              $763                                                        $763
654 GPMF 2006-AR8 [1_PP2YR]       ALT-A 2006                    0.79%                $10                                                         $10
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                                                                                                                                              GMACM Recognized
 1             Name                 Cohort          GMACM Servicer %     GMACM Claim                         Insurer                               Claim
655 GPMF 2006-AR8 [1_PP3YR]        ALT-A 2006                   0.79%              $1,100                                                                 $1,100
656 GPMF 2006-AR8 [2_NOPP]         ALT-A 2006                   0.79%               $209                                                                   $209
657 GPMF 2006-AR8 [2_PP3YR]        ALT-A 2006                   0.79%               $202                                                                   $202
658 GPMF 2007-AR2 [1_NOPPP]   Pay Option ARM 2007              27.58%             $15,052                                                                $15,052
659 GPMF 2007-AR2 [1_PP1YR]   Pay Option ARM 2007              27.58%             $20,921                                                                $20,921
660 GPMF 2007-AR2 [1_PP2YR]   Pay Option ARM 2007              27.58%              $1,224                                                                 $1,224
661 GPMF 2007-AR2 [1_PP3YR]   Pay Option ARM 2007              27.58%             $31,918                                                                $31,918
662 GPMF 2007-AR2 [2_NOPPP]   Pay Option ARM 2007              27.58%             $20,313                                                                $20,313
663 GPMF 2007-AR2 [2_PP1YR]   Pay Option ARM 2007              27.58%             $29,772                                                                $29,772
664 GPMF 2007-AR2 [2_PP2YR]   Pay Option ARM 2007              27.58%              $1,667                                                                 $1,667
665 GPMF 2007-AR2 [2_PP3YR]   Pay Option ARM 2007              27.58%             $31,461                                                                $31,461
666 GRCAP 1991-4 [Total]           Prime 1999                   4.50%                 $12                                                                    $12
667 GSAA 2005-9 [1]                ALT-A 2005                  19.48%              $5,101                                                                 $5,101
668 GSAA 2005-9 [2]                ALT-A 2005                  19.48%             $25,616                                                                $25,616
669 GSAMP 2004-SD1 [Total]       Subprime 2004                  0.75%               $482                                                                   $482
670 GSAMP 2004-SEA1 [Total]      Subprime 2004                 49.85%             $18,529                                                                $18,529
671 GSMPS 2003-2 [G1]            Subprime 2003                  2.87%              $1,415                     FHLMC                                           $0
672 GSMPS 2003-2 [G2]            Subprime 2003                  2.87%               $887                      FHLMC                                           $0
673 GSMPS 2003-2 [G3]            Subprime 2003                  2.87%               $802                      FHLMC                                           $0
674 GSMPS 2003-2 [TWO]           Subprime 2003                  2.87%               $271                      FHLMC                                           $0
675 GSMPS 2003-3 [1]             Subprime 2003                 16.16%              $6,000                                                                 $6,000
676 GSMPS 2003-3 [2]             Subprime 2003                 16.16%              $2,585                                                                 $2,585
677 GSMPS 2004-1 [ARM]           Subprime 2004                  0.75%                 $26                     FHLMC                                           $0
678 GSMPS 2004-1 [C1_CHASE]      Subprime 2004                  0.75%               $166             CHASE (Pool Policy)/FHLMC                                $0
    GSMPS 2004-1
679 [C1_NONCHASE]               Subprime 2004                   0.75%               $349                      FHLMC                                          $0
680 GSMPS 2004-1 [C2_CHASE]     Subprime 2004                   0.75%               $111             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-1
681 [C2_NONCHASE]               Subprime 2004                   0.75%               $122                      FHLMC                                          $0
682 GSMPS 2004-1 [C3_CHASE]     Subprime 2004                   0.75%               $109             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-1
683 [C3_NONCHASE]               Subprime 2004                   0.75%                $96                      FHLMC                                          $0
684 GSMPS 2004-3 [G1_CHASE]     Subprime 2004                   4.54%               $510             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-3
685 [G1_NONCHASE]               Subprime 2004                   4.54%              $2,228                     FHLMC                                          $0
686 GSMPS 2004-3 [G2_CHASE]     Subprime 2004                   4.54%               $429             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-3
687 [G2_NONCHASE]               Subprime 2004                   4.54%              $1,868                     FHLMC                                          $0
688 GSMPS 2004-3 [G3_CHASE]     Subprime 2004                   4.54%               $383             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-3
689 [G3_NONCHASE]               Subprime 2004                   4.54%              $1,158                     FHLMC                                          $0
690 GSMPS 2004-3 [G4_CHASE]     Subprime 2004                   4.54%               $183             CHASE (Pool Policy)/FHLMC                               $0
    GSMPS 2004-3
691 [G4_NONCHASE]               Subprime 2004                   4.54%              $1,579                     FHLMC                                           $0
692 GSMPS 2004-3 [POOL2]        Subprime 2004                   4.54%               $777                      FHLMC                                           $0
693 GSMPS 2004-4 [ONEA]         Subprime 2004                  11.21%             $27,426                                                                $27,426
694 GSMPS 2004-4 [ONEB]         Subprime 2004                  11.21%              $5,023                                                                 $5,023
695 GSMPS 2004-4 [TWO]          Subprime 2004                  11.21%              $3,620                                                                 $3,620
696 GSMPS 2005-LT1 [A]          Subprime 2005                   3.44%               $909                                                                   $909
697 GSMPS 2005-LT1 [F]          Subprime 2005                   3.44%             $10,402                                                                $10,402
698 GSMPS 2005-RP1 [ONEA]       Subprime 2005                   1.35%              $2,756                                                                 $2,756
699 GSMPS 2005-RP1 [ONEB]       Subprime 2005                   1.35%               $287                                                                   $287
700 GSMPS 2005-RP1 [TWO]        Subprime 2005                   1.35%               $373                                                                   $373
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 1             Name              Cohort        GMACM Servicer %     GMACM Claim                      Insurer                       Claim
701 GSMPS 2005-RP2 [ONEA]     Subprime 2005                2.36%              $5,841                                                      $5,841
702 GSMPS 2005-RP2 [ONEB]     Subprime 2005                2.36%               $556                                                        $556
703 GSMPS 2005-RP2 [TWO]      Subprime 2005                2.36%               $444                                                        $444
704 GSMPS 2005-RP3 [ONEA]     Subprime 2005                2.23%              $5,875                                                      $5,875
705 GSMPS 2005-RP3 [ONEB]     Subprime 2005                2.23%               $698                                                        $698
706 GSMPS 2005-RP3 [TWO]      Subprime 2005                2.23%               $789                                                        $789
707 GSMPS 2006-RP1 [I_1]      Subprime 2006                5.92%             $18,101                                                     $18,101
708 GSMPS 2006-RP1 [I_234]    Subprime 2006                5.92%              $1,679                                                      $1,679
709 GSMPS 2006-RP1 [II]       Subprime 2006                5.92%              $1,593                                                      $1,593
710 GSMPS 2006-RP2 [1]        Subprime 2006                3.55%              $4,809                                                      $4,809
711 GSMPS 2006-RP2 [2]        Subprime 2006                3.55%               $260                                                        $260
712 GSR 2003-2F [1]             Prime 2003                32.89%               $215                                                        $215
713 GSR 2003-2F [2]             Prime 2003                32.89%                 $94                                                         $94
714 GSR 2003-2F [3]             Prime 2003                32.89%               $234                                                        $234
715 GSR 2004-10F [1]            Prime 2004                17.47%              $1,141                                                      $1,141
716 GSR 2004-10F [2]            Prime 2004                17.47%              $1,155                                                      $1,155
717 GSR 2005-5F [1]             Prime 2005                 4.61%              $1,585                                                      $1,585
718 GSR 2005-5F [2]             Prime 2005                 4.61%                 $91                                                         $91
719 GSR 2005-6F [1]             Prime 2005                 2.68%               $913                                                        $913
720 GSR 2005-6F [2]             Prime 2005                 2.68%                 $34                                                         $34
721 GSR 2005-7F [1]             Prime 2005                 5.84%                 $60                                                         $60
722 GSR 2005-7F [2]             Prime 2005                 5.84%               $383                                                        $383
723 GSR 2005-7F [3]             Prime 2005                 5.84%               $200                                                        $200
724 GSR 2005-8F [1]             Prime 2005                11.75%              $5,270                                                      $5,270
725 GSR 2005-8F [2]             Prime 2005                11.75%              $1,274                                                      $1,274
726 GSR 2005-8F [3]             Prime 2005                11.75%              $1,669                                                      $1,669
727 GSR 2005-9F [1]             Prime 2005                 0.29%               $158                                                        $158
728 GSR 2005-9F [2]             Prime 2005                 0.29%                 $32                                                         $32
729 GSR 2005-9F [3]             Prime 2005                 0.29%                  $6                                                          $6
730 GSR 2005-AR3 [1]            Prime 2005                 7.89%               $887                                                        $887
731 GSR 2005-AR3 [2]            Prime 2005                 7.89%              $1,129                                                      $1,129
732 GSR 2005-AR3 [3]            Prime 2005                 7.89%              $1,346                                                      $1,346
733 GSR 2005-AR3 [4]            Prime 2005                 7.89%              $1,862                                                      $1,862
734 GSR 2005-AR3 [5]            Prime 2005                 7.89%              $1,248                                                      $1,248
735 GSR 2005-AR3 [6]            Prime 2005                 7.89%              $2,485                                                      $2,485
736 GSR 2005-AR3 [7]            Prime 2005                 7.89%               $228                                                        $228
737 GSR 2005-AR3 [8]            Prime 2005                 7.89%               $478                                                        $478
738 GSR 2006-2F [1]             Prime 2006                 1.20%               $937                                                        $937
739 GSR 2006-2F [2]             Prime 2006                 1.20%               $117                                                        $117
740 GSR 2006-3F [1]             Prime 2006                 1.45%               $571                                                        $571
741 GSR 2006-3F [2]             Prime 2006                 1.45%               $264                                                        $264
742 GSR 2006-4F [1]             Prime 2006                18.88%              $9,339                                                      $9,339
743 GSR 2006-4F [2]             Prime 2006                18.88%              $3,658                                                      $3,658
744 GSR 2006-4F [3]             Prime 2006                18.88%              $2,908                                                      $2,908
745 GSR 2006-AR1 [1]            Prime 2006                15.22%              $2,877                                                      $2,877
746 GSR 2006-AR1 [2]            Prime 2006                15.22%             $21,882                                                     $21,882
747 GSR 2006-AR1 [3]            Prime 2006                15.22%              $2,059                                                      $2,059
748 GSR 2006-AR2 [1]            Prime 2006                15.01%              $1,084                                                      $1,084
749 GSR 2006-AR2 [2]            Prime 2006                15.01%              $2,665                                                      $2,665
750 GSR 2006-AR2 [3]            Prime 2006                15.01%              $4,764                                                      $4,764
751 GSR 2006-AR2 [4]            Prime 2006                15.01%              $4,082                                                      $4,082
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                                                                                                                                    GMACM Recognized
 1             Name                  Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
752 GSR 2006-AR2 [5]                Prime 2006                   15.01%              $6,145                                                     $6,145
753 GSR 2007-4F [1]                 Prime 2007                    2.73%              $1,913                                                     $1,913
754 GSR 2007-4F [2]                 Prime 2007                    2.73%               $222                                                       $222
755 GSRPM 2002-1A [Total]         Subprime 2002                   4.50%              $4,413                Ambac                                $4,413
756 GSRPM 2003-2 [Total]          Subprime 2003                  77.00%             $28,225                                                    $28,225
757 GSRPM 2004-1 [1A]             Subprime 2004                   4.50%               $594                                                       $594
758 GSRPM 2004-1 [1F]             Subprime 2004                   4.50%              $1,733                                                     $1,733
759 GSRPM 2004-1 [2]              Subprime 2004                   4.50%                 $96                                                        $96
760 HVMLT 2003-1 [Total]            ALT-A 2003                   95.95%              $4,320                                                     $4,320
761 HVMLT 2004-10 [1]               ALT-A 2004                   22.07%              $2,546                                                     $2,546
762 HVMLT 2004-10 [2]               ALT-A 2004                   22.07%              $1,850                                                     $1,850
763 HVMLT 2004-10 [3]               ALT-A 2004                   22.07%              $4,490                                                     $4,490
764 HVMLT 2004-10 [4]               ALT-A 2004                   22.07%              $2,794                                                     $2,794
765 HVMLT 2004-4 [1]                ALT-A 2004                   51.59%               $802                                                       $802
766 HVMLT 2004-4 [2]                ALT-A 2004                   51.59%              $3,849                                                     $3,849
767 HVMLT 2004-4 [3]                ALT-A 2004                   51.59%              $4,364                                                     $4,364
768 HVMLT 2004-5 [1]                ALT-A 2004                   40.64%              $3,905                                                     $3,905
769 HVMLT 2004-5 [2]                ALT-A 2004                   40.64%              $8,086                                                     $8,086
770 HVMLT 2004-5 [3]                ALT-A 2004                   40.64%              $1,789                                                     $1,789
771 HVMLT 2004-6 [1]                ALT-A 2004                   50.68%               $762                                                       $762
772 HVMLT 2004-6 [2]                ALT-A 2004                   50.68%              $2,224                                                     $2,224
773 HVMLT 2004-6 [3]                ALT-A 2004                   50.68%              $6,445                                                     $6,445
774 HVMLT 2004-6 [4]                ALT-A 2004                   50.68%              $5,068                                                     $5,068
775 HVMLT 2004-6 [5]                ALT-A 2004                   50.68%              $2,060                                                     $2,060
776 HVMLT 2004-7 [1]                ALT-A 2004                   22.34%               $803                                                       $803
777 HVMLT 2004-7 [2]                ALT-A 2004                   22.34%              $5,862                                                     $5,862
778 HVMLT 2004-7 [3]                ALT-A 2004                   22.34%              $2,426                                                     $2,426
779 HVMLT 2004-7 [4]                ALT-A 2004                   22.34%              $1,902                                                     $1,902
780 HVMLT 2004-8 [1]           Pay Option ARM 2004               10.69%              $4,112                                                     $4,112
781 HVMLT 2004-8 [2]           Pay Option ARM 2004               10.69%              $6,508                                                     $6,508
782 HVMLT 2004-8 [3]           Pay Option ARM 2004               10.69%              $1,525                                                     $1,525
783 HVMLT 2005-11 [1]          Pay Option ARM 2005              100.00%             $38,842                  XL                                     $0
784 HVMLT 2005-11 [2]          Pay Option ARM 2005              100.00%             $80,960                  XL                                     $0
785 HVMLT 2005-15 [1]          Pay Option ARM 2005               90.86%             $44,343                  XL                                     $0
786 HVMLT 2005-15 [2]          Pay Option ARM 2005               90.86%            $111,227                                                   $111,227
787 HVMLT 2005-15 [3]          Pay Option ARM 2005               90.86%             $59,111                                                    $59,111
788 HVMLT 2005-4 [1]                ALT-A 2005                    0.43%                 $33                                                        $33
789 HVMLT 2005-4 [2]                ALT-A 2005                    0.43%                 $35                                                        $35
790 HVMLT 2005-4 [3]                ALT-A 2005                    0.43%               $149                                                       $149
791 HVMLT 2005-4 [4]                ALT-A 2005                    0.43%                 $46                                                        $46
792 HVMLT 2005-4 [5]                ALT-A 2005                    0.43%                 $13                                                        $13
793 HVMLT 2005-6 [Total]            ALT-A 2005                   19.08%              $4,090                                                     $4,090
794 HVMLT 2005-7 [1]           Pay Option ARM 2005                5.87%              $4,090                                                     $4,090
795 HVMLT 2005-7 [2]           Pay Option ARM 2005                5.87%              $7,183                                                     $7,183
796 HVMLT 2006-10 [1]          Pay Option ARM 2006              100.00%            $282,913                  FSA                                    $0
797 HVMLT 2006-10 [2]          Pay Option ARM 2006              100.00%            $495,647                  FSA                                    $0
798 HVMLT 2006-13 [Total]           ALT-A 2006                    2.18%              $1,002                                                     $1,002
799 HVMLT 2006-14 [1]          Pay Option ARM 2006               23.22%             $73,479                                                    $73,479
800 HVMLT 2006-14 [2]          Pay Option ARM 2006               23.22%            $217,638                Ambac                              $217,638
801 HVMLT 2006-8 [1]           Pay Option ARM 2006                2.10%              $3,898                                                     $3,898
802 HVMLT 2006-8 [2]           Pay Option ARM 2006                2.10%              $7,618                                                     $7,618
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                                                                                                                                  GMACM Recognized
 1            Name                 Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
803 HVMLT 2006-SB1 [Total]   Pay Option ARM 2006              100.00%            $118,796                                                   $118,796
804 HVMLT 2007-3 [1]         Pay Option ARM 2007              100.00%            $178,553                                                   $178,553
805 HVMLT 2007-3 [2]         Pay Option ARM 2007              100.00%            $290,053                                                   $290,053
806 HVMLT 2007-4 [1]         Pay Option ARM 2007               89.07%             $94,977                                                    $94,977
807 HVMLT 2007-4 [2]         Pay Option ARM 2007               89.07%            $255,715                                                   $255,715
808 HVMLT 2007-6 [1]         Pay Option ARM 2007               85.17%             $94,711                                                    $94,711
809 HVMLT 2007-6 [2]         Pay Option ARM 2007               85.17%            $171,339                                                   $171,339
810 HVMLT 2007-7 [1]         Pay Option ARM 2007               25.54%             $57,364                                                    $57,364
811 HVMLT 2007-7 [2]         Pay Option ARM 2007               25.54%             $98,534                                                    $98,534
812 HVMLT 2007-A [Total]           CES 2007                     5.00%               $801                                                       $801
813 IMM 2002-9F [Total]           ALT-A 2002                   50.00%              $3,068                                                     $3,068
814 IMM 2003-2F [Total]           ALT-A 2003                   50.00%              $3,030                                                     $3,030
815 IMM 2004-10 [1A]              ALT-A 2004                   46.05%             $57,540                 FGIC                               $57,540
816 IMM 2004-10 [1F]              ALT-A 2004                   46.05%              $5,185                 FGIC                                $5,185
817 IMM 2004-10 [2A]              ALT-A 2004                   46.05%             $37,269                 FGIC                               $37,269
818 IMM 2004-10 [2F]              ALT-A 2004                   46.05%              $3,500                 FGIC                                $3,500
819 IMM 2004-10 [2S]              ALT-A 2004                   46.05%              $1,255                 FGIC                                $1,255
820 IMM 2004-10 [3A]              ALT-A 2004                   46.05%             $15,003                                                    $15,003
821 IMM 2004-10 [3F]              ALT-A 2004                   46.05%               $723                                                       $723
822 IMM 2004-10 [4A]              ALT-A 2004                   46.05%             $10,344                                                    $10,344
823 IMM 2004-11 [1A]              ALT-A 2004                   19.04%             $23,557                 FGIC                               $23,557
824 IMM 2004-11 [1F]              ALT-A 2004                   19.04%              $3,111                 FGIC                                $3,111
825 IMM 2004-11 [2A]              ALT-A 2004                   19.04%             $18,259                                                    $18,259
826 IMM 2004-11 [2F]              ALT-A 2004                   19.04%              $1,008                                                     $1,008
827 IMM 2004-11 [2S]              ALT-A 2004                   19.04%               $670                                                       $670
828 IMM 2004-4 [1]                ALT-A 2004                    8.04%              $4,995                                                     $4,995
829 IMM 2004-4 [2]                ALT-A 2004                    8.04%               $957                                                       $957
830 IMM 2004-5 [1_1ST_ARM]        ALT-A 2004                    2.63%              $1,592                                                     $1,592
831 IMM 2004-5 [1_1ST_FIX]        ALT-A 2004                    2.63%                 $99                                                        $99
832 IMM 2004-5 [1_2ND]            ALT-A 2004                    2.63%                 $59                                                        $59
833 IMM 2004-5 [2]                ALT-A 2004                    2.63%               $132                                                       $132
834 IMM 2004-7 [1]                ALT-A 2004                   50.00%             $55,671                                                    $55,671
835 IMM 2004-7 [2]                ALT-A 2004                   50.00%             $36,960                AMBAC                               $36,960
836 IMM 2004-8 [1]                ALT-A 2004                   46.81%             $25,125                 FGIC                               $25,125
837 IMM 2004-8 [2]                ALT-A 2004                   46.81%             $34,226                 FGIC                               $34,226
838 IMM 2004-8 [3]                ALT-A 2004                   46.81%              $4,049                                                     $4,049
839 IMM 2004-9 [1A]               ALT-A 2004                    9.00%               $452                                                       $452
840 IMM 2004-9 [1F]               ALT-A 2004                    9.00%                 $48                                                        $48
841 IMM 2004-9 [1S]               ALT-A 2004                    9.00%                  $3                                                         $3
842 IMM 2004-9 [2A]               ALT-A 2004                    9.00%               $426                 AMBAC                                 $426
843 IMM 2004-9 [2F]               ALT-A 2004                    9.00%                 $23                AMBAC                                   $23
844 IMM 2004-9 [2S]               ALT-A 2004                    9.00%                 $25                AMBAC                                   $25
845 IMM 2005-1 [1A]               ALT-A 2005                   48.73%             $42,144                                                    $42,144
846 IMM 2005-1 [1F]               ALT-A 2005                   48.73%              $1,168                                                     $1,168
847 IMM 2005-1 [2A]               ALT-A 2005                   48.73%             $37,825                                                    $37,825
848 IMM 2005-1 [2F]               ALT-A 2005                   48.73%               $913                                                       $913
849 IMM 2005-2 [1A]               ALT-A 2005                   90.84%            $146,147                                                   $146,147
850 IMM 2005-2 [1F]               ALT-A 2005                   90.84%             $17,648                                                    $17,648
851 IMM 2005-2 [2]                ALT-A 2005                   90.84%             $16,513                                                    $16,513
852 IMM 2005-4 [1]                ALT-A 2005                   46.24%            $129,156                                                   $129,156
853 IMM 2005-4 [2]                ALT-A 2005                   46.24%              $8,899                                                     $8,899
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                                                                                                                                     GMACM Recognized
 1             Name               Cohort          GMACM Servicer %     GMACM Claim                       Insurer                          Claim
854 IMM 2005-8 [1]               ALT-A 2005                   36.07%             $52,574                                                        $52,574
855 IMM 2005-8 [2]               ALT-A 2005                   36.07%             $19,499                                                        $19,499
856 IMM 2007-A [Total]           ALT-A 2007                   33.77%             $42,866             Assured Guaranty                                $0
857 IMSA 2002-2 [Total]          ALT-A 2002                   50.00%              $4,590                                                         $4,590
858 IMSA 2002-3 [Total]          ALT-A 2002                  100.00%              $3,434                                                         $3,434
859 IMSA 2003-1 [Total]          ALT-A 2003                   50.00%              $3,872                                                         $3,872
860 IMSA 2003-3 [Total]          ALT-A 2003                   50.00%              $8,633                                                         $8,633
861 IMSA 2004-1 [Total]          ALT-A 2004                   50.00%              $8,811                                                         $8,811
862 IMSA 2004-2 [Total]          ALT-A 2004                   50.00%             $13,746                                                        $13,746
863 IMSA 2004-4 [1]              ALT-A 2004                  100.00%             $69,852                                                        $69,852
864 IMSA 2004-4 [2]              ALT-A 2004                  100.00%             $77,199                                                        $77,199
865 IMSA 2006-1 [1A1]            ALT-A 2006                   32.62%             $17,477                                                        $17,477
866 IMSA 2006-1 [1A2_ARM]        ALT-A 2006                   32.62%             $42,215                                                        $42,215
867 IMSA 2006-1 [1A2_FIX]        ALT-A 2006                   32.62%             $22,733                                                        $22,733
868 IMSA 2006-1 [2_170]          ALT-A 2006                   32.62%             $12,778                                                        $12,778
869 IMSA 2006-1 [2_REG]          ALT-A 2006                   32.62%             $19,770                                                        $19,770
870 IMSA 2006-2 [11A2]           ALT-A 2006                   34.93%             $12,547                                                        $12,547
871 IMSA 2006-2 [11A3]           ALT-A 2006                   34.93%             $17,675                                                        $17,675
872 IMSA 2006-2 [11A5]           ALT-A 2006                   34.93%             $47,637                                                        $47,637
873 IMSA 2006-2 [11FIX]          ALT-A 2006                   34.93%              $1,511                                                         $1,511
874 IMSA 2006-2 [22REG]          ALT-A 2006                   34.93%             $23,379                                                        $23,379
875 IMSA 2006-2 [22SPEC]         ALT-A 2006                   34.93%             $10,440                                                        $10,440
876 IMSA 2006-4 [A1]             ALT-A 2006                    5.00%               $501                                                           $501
877 IMSA 2006-4 [A2]             ALT-A 2006                    5.00%               $642                                                           $642
878 IMSA 2006-4 [A3]             ALT-A 2006                    5.00%             $19,660                                                        $19,660
879 IMSA 2006-4 [F]              ALT-A 2006                    5.00%             $11,682                                                        $11,682
880 IMSA 2006-5 [1A2]            ALT-A 2006                    7.44%               $765                  Ambac                                    $765
881 IMSA 2006-5 [1A3]            ALT-A 2006                    7.44%               $506                  Ambac                                    $506
882 IMSA 2006-5 [1A5]            ALT-A 2006                    7.44%             $13,873                 Ambac                                  $13,873
883 IMSA 2006-5 [1F]             ALT-A 2006                    7.44%             $15,716                 Ambac                                  $15,716
884 IMSA 2006-5 [2A]             ALT-A 2006                    7.44%              $8,322                 Ambac                                   $8,322
885 IMSA 2006-5 [2CB]            ALT-A 2006                    7.44%              $1,381                 Ambac                                   $1,381
886 LMT 2006-7 [1]               ALT-A 2006                    0.43%               $254                                                           $254
887 LMT 2006-7 [2]               ALT-A 2006                    0.43%               $486                                                           $486
888 LMT 2006-7 [3]               ALT-A 2006                    0.43%               $301                                                           $301
889 LMT 2006-7 [4]               ALT-A 2006                    0.43%                 $83                                                            $83
890 LUM 2006-4 [Total]      Pay Option ARM 2006               81.76%            $130,531                                                       $130,531
891 LUM 2006-5 [Total]      Pay Option ARM 2006                4.38%              $9,922                                                         $9,922
892 LXS 2006-10N [1_A1]          ALT-A 2006                    0.46%                 $90                                                            $90
893 LXS 2006-10N [1_A2]          ALT-A 2006                    0.46%                 $95                                                            $95
894 LXS 2006-10N [1_A3]          ALT-A 2006                    0.46%                 $49                                                            $49
895 LXS 2006-10N [1_A4]          ALT-A 2006                    0.46%              $1,542                                                         $1,542
896 LXS 2006-10N [1_F]           ALT-A 2006                    0.46%               $451                                                           $451
897 LXS 2006-10N [2_A1]          ALT-A 2006                    0.46%               $484                                                           $484
898 LXS 2006-10N [2_A2]          ALT-A 2006                    0.46%                 $50                                                            $50
899 LXS 2006-10N [2_A4]          ALT-A 2006                    0.46%                  $2                                                             $2
900 LXS 2006-12N [1_A1]          ALT-A 2006                    0.03%                  $7                                                             $7
901 LXS 2006-12N [1_A2]          ALT-A 2006                    0.03%                 $60                                                            $60
902 LXS 2006-12N [1_A3]          ALT-A 2006                    0.03%                  $4                                                             $4
903 LXS 2006-12N [1_A4]          ALT-A 2006                    0.03%                 $82                                                            $82
904 LXS 2006-12N [1_F]           ALT-A 2006                    0.03%                 $34                                                            $34
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                                                                                                                                 GMACM Recognized
 1             Name                 Cohort        GMACM Servicer %     GMACM Claim                      Insurer                       Claim
905 LXS 2006-12N [2_A1]            ALT-A 2006                 0.03%                  $5                                                          $5
906 LXS 2006-12N [2_A2]            ALT-A 2006                 0.03%                  $7                                                          $7
907 LXS 2006-12N [2_A3]            ALT-A 2006                 0.03%                  $2                                                          $2
908 LXS 2006-12N [2_A4]            ALT-A 2006                 0.03%                 $58                                                         $58
909 LXS 2006-GP1 [1]               ALT-A 2006                50.00%             $37,662                                                     $37,662
910 LXS 2006-GP1 [2]               ALT-A 2006                50.00%             $40,493                                                     $40,493
911 LXS 2006-GP1 [3]               ALT-A 2006                50.00%             $83,833                                                     $83,833
912 LXS 2006-GP2 [1_1]             ALT-A 2006                50.00%             $31,995                                                     $31,995
913 LXS 2006-GP2 [1_2]             ALT-A 2006                50.00%             $40,471                                                     $40,471
914 LXS 2006-GP2 [1_3]             ALT-A 2006                50.00%             $50,886                                                     $50,886
915 LXS 2006-GP2 [2_1]             ALT-A 2006                50.00%             $11,618                                                     $11,618
916 LXS 2006-GP2 [2_2]             ALT-A 2006                50.00%             $14,848                                                     $14,848
917 LXS 2006-GP2 [2_3]             ALT-A 2006                50.00%             $31,808                                                     $31,808
918 LXS 2006-GP2 [3_1]             ALT-A 2006                50.00%              $8,625                                                      $8,625
919 LXS 2006-GP2 [3_2]             ALT-A 2006                50.00%              $9,601                                                      $9,601
920 LXS 2006-GP2 [3_3]             ALT-A 2006                50.00%             $21,190                                                     $21,190
921 LXS 2006-GP3 [1_1]             ALT-A 2006                50.00%             $12,385                                                     $12,385
922 LXS 2006-GP3 [1_2]             ALT-A 2006                50.00%             $12,839                                                     $12,839
923 LXS 2006-GP3 [1_3]             ALT-A 2006                50.00%             $32,315                                                     $32,315
924 LXS 2006-GP3 [2_1]             ALT-A 2006                50.00%              $5,911                                                      $5,911
925 LXS 2006-GP3 [2_2]             ALT-A 2006                50.00%             $14,213                                                     $14,213
926 LXS 2006-GP3 [2_3]             ALT-A 2006                50.00%             $18,255                                                     $18,255
927 LXS 2006-GP3 [3_1]             ALT-A 2006                50.00%             $25,386                                                     $25,386
928 LXS 2006-GP3 [3_2]             ALT-A 2006                50.00%             $30,702                                                     $30,702
929 LXS 2006-GP3 [3_3]             ALT-A 2006                50.00%             $41,661                                                     $41,661
930 LXS 2006-GP4 [1_1]             ALT-A 2006                 0.16%                  $9                                                          $9
931 LXS 2006-GP4 [1_2]             ALT-A 2006                 0.16%                 $41                                                         $41
932 LXS 2006-GP4 [1_3]             ALT-A 2006                 0.16%               $145                                                        $145
933 LXS 2006-GP4 [2_1]             ALT-A 2006                 0.16%                 $15                                                         $15
934 LXS 2006-GP4 [2_2]             ALT-A 2006                 0.16%                 $40                                                         $40
935 LXS 2006-GP4 [2_3]             ALT-A 2006                 0.16%                 $76                                                         $76
936 LXS 2006-GP4 [3_1]             ALT-A 2006                 0.16%               $142                                                        $142
937 LXS 2006-GP4 [3_2]             ALT-A 2006                 0.16%               $167                                                        $167
938 LXS 2006-GP4 [3_3]             ALT-A 2006                 0.16%               $185                                                        $185
939 MABS 2005-AB1 [Total]        Subprime 2005                0.48%              $1,275                  FGIC                                $1,275
940 MALT 2002-1 [Total]            ALT-A 2002                60.97%              $3,300                                                      $3,300
941 MALT 2002-2 [1]                ALT-A 2002                66.86%               $708                                                        $708
942 MALT 2002-2 [2]                ALT-A 2002                66.86%              $1,467                                                      $1,467
943 MALT 2002-2 [3]                ALT-A 2002                66.86%              $3,291                                                      $3,291
944 MALT 2002-2 [4]                ALT-A 2002                66.86%              $2,216                                                      $2,216
945 MALT 2002-2 [5]                ALT-A 2002                66.86%              $2,084                                                      $2,084
946 MALT 2002-3 [Total]            ALT-A 2002                55.67%             $17,415                  MBIA                                    $0
947 MALT 2003-2 [1]                ALT-A 2003                 6.05%               $328                                                        $328
948 MALT 2003-2 [2]                ALT-A 2003                 6.05%               $133                                                        $133
949 MALT 2003-2 [3]                ALT-A 2003                 6.05%                 $85                                                         $85
950 MALT 2003-2 [4]                ALT-A 2003                 6.05%                 $90                                                         $90
951 MALT 2003-2 [5]                ALT-A 2003                 6.05%                 $21                                                         $21
952 MALT 2003-2 [6]                ALT-A 2003                 6.05%                 $63                                                         $63
953 MALT 2003-2 [7]                ALT-A 2003                 6.05%                 $56                                                         $56
954 MALT 2003-3 [1]                ALT-A 2003                35.32%              $1,174                                                      $1,174
955 MALT 2003-3 [2]                ALT-A 2003                35.32%              $5,105                                                      $5,105
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                                                                                                                             GMACM Recognized
 1              Name             Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
956 MALT 2003-4 [1]             ALT-A 2003               10.89%              $464                                                         $464
957 MALT 2003-4 [2]             ALT-A 2003               10.89%              $158                                                         $158
958 MALT 2003-4 [3]             ALT-A 2003               10.89%              $308                                                         $308
959 MALT 2003-4 [4]             ALT-A 2003               10.89%              $307                                                         $307
960 MALT 2003-4 [5]             ALT-A 2003               10.89%              $133                                                         $133
961 MALT 2003-5 [EIGHT]         ALT-A 2003                4.50%                $48                                                          $48
962 MALT 2003-5 [FIVE]          ALT-A 2003                4.50%              $175                                                         $175
963 MALT 2003-5 [FOUR]          ALT-A 2003                4.50%              $459                                                         $459
964 MALT 2003-5 [ONE]           ALT-A 2003                4.50%              $136                                                         $136
965 MALT 2003-5 [SEVEN]         ALT-A 2003                4.50%              $182                                                         $182
966 MALT 2003-5 [SIX]           ALT-A 2003                4.50%              $189                                                         $189
967 MALT 2003-5 [THREE]         ALT-A 2003                4.50%              $163                                                         $163
968 MALT 2003-5 [TWO]           ALT-A 2003                4.50%                $81                                                          $81
969 MALT 2003-6 [1]             ALT-A 2003               22.25%             $1,342                                                       $1,342
970 MALT 2003-6 [2]             ALT-A 2003               22.25%              $351                                                         $351
971 MALT 2003-6 [3]             ALT-A 2003               22.25%              $829                                                         $829
972 MALT 2003-6 [4]             ALT-A 2003               22.25%              $294                                                         $294
973 MALT 2003-7 [1]             ALT-A 2003                6.43%              $676                                                         $676
974 MALT 2003-7 [2]             ALT-A 2003                6.43%                $78                                                          $78
975 MALT 2003-7 [3]             ALT-A 2003                6.43%              $552                                                         $552
976 MALT 2003-7 [4]             ALT-A 2003                6.43%              $196                                                         $196
977 MALT 2003-7 [5]             ALT-A 2003                6.43%              $115                                                         $115
978 MALT 2003-7 [6]             ALT-A 2003                6.43%              $501                                                         $501
979 MALT 2003-7 [7]             ALT-A 2003                6.43%              $785                                                         $785
980 MALT 2003-7 [8]             ALT-A 2003                6.43%              $300                                                         $300
981 MALT 2003-8 [1]             ALT-A 2003                3.16%                $23                                                          $23
982 MALT 2003-8 [2]             ALT-A 2003                3.16%                $47                                                          $47
983 MALT 2003-8 [3]             ALT-A 2003                3.16%                $89                                                          $89
984 MALT 2003-8 [4]             ALT-A 2003                3.16%                $66                                                          $66
985 MALT 2003-8 [5]             ALT-A 2003                3.16%                $63                                                          $63
986 MALT 2003-8 [6]             ALT-A 2003                3.16%                $87                                                          $87
987 MALT 2003-8 [7]             ALT-A 2003                3.16%                $46                                                          $46
988 MALT 2003-9 [1]             ALT-A 2003                7.80%                $78                                                          $78
989 MALT 2003-9 [2]             ALT-A 2003                7.80%                $37                                                          $37
990 MALT 2003-9 [3]             ALT-A 2003                7.80%                $79                                                          $79
991 MALT 2003-9 [4]             ALT-A 2003                7.80%              $144                                                         $144
992 MALT 2003-9 [5]             ALT-A 2003                7.80%              $162                                                         $162
993 MALT 2003-9 [6]             ALT-A 2003                7.80%                $37                                                          $37
994 MALT 2003-9 [7]             ALT-A 2003                7.80%                $73                                                          $73
995 MALT 2003-9 [8]             ALT-A 2003                7.80%                $39                                                          $39
996 MALT 2004-1 [1]             ALT-A 2004                8.15%              $381                                                         $381
997 MALT 2004-1 [2]             ALT-A 2004                8.15%              $163                                                         $163
998 MALT 2004-1 [3]             ALT-A 2004                8.15%              $160                                                         $160
999 MALT 2004-1 [4]             ALT-A 2004                8.15%              $363                                                         $363
1000 MALT 2004-10 [1]           ALT-A 2004               11.02%              $245                                                         $245
1001 MALT 2004-10 [2]           ALT-A 2004               11.02%              $667                                                         $667
1002 MALT 2004-10 [3]           ALT-A 2004               11.02%              $681                                                         $681
1003 MALT 2004-10 [4]           ALT-A 2004               11.02%              $343                                                         $343
1004 MALT 2004-10 [5]           ALT-A 2004               11.02%              $799                                                         $799
1005 MALT 2004-11 [1]           ALT-A 2004               18.18%              $932                                                         $932
1006 MALT 2004-11 [2]           ALT-A 2004               18.18%              $434                                                         $434
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                                                                                                                              GMACM Recognized
 1              Name              Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1007 MALT 2004-11 [3]            ALT-A 2004               18.18%             $2,523                                                       $2,523
1008 MALT 2004-11 [4]            ALT-A 2004               18.18%             $1,707                                                       $1,707
1009 MALT 2004-11 [5]            ALT-A 2004               18.18%              $947                                                         $947
1010 MALT 2004-11 [6]            ALT-A 2004               18.18%              $205                                                         $205
1011 MALT 2004-11 [7]            ALT-A 2004               18.18%              $755                                                         $755
1012 MALT 2004-11 [8]            ALT-A 2004               18.18%              $514                                                         $514
1013 MALT 2004-11 [9]            ALT-A 2004               18.18%              $478                                                         $478
1014 MALT 2004-12 [1]            ALT-A 2004               28.11%              $493                                                         $493
1015 MALT 2004-12 [2]            ALT-A 2004               28.11%             $1,229                                                       $1,229
1016 MALT 2004-12 [3]            ALT-A 2004               28.11%             $2,498                                                       $2,498
1017 MALT 2004-12 [4]            ALT-A 2004               28.11%              $779                                                         $779
1018 MALT 2004-12 [5]            ALT-A 2004               28.11%             $3,246                                                       $3,246
1019 MALT 2004-12 [6]            ALT-A 2004               28.11%             $1,614                                                       $1,614
1020 MALT 2004-13 [1]            ALT-A 2004               20.39%              $455                                                         $455
1021 MALT 2004-13 [10]           ALT-A 2004               20.39%             $1,032                                                       $1,032
1022 MALT 2004-13 [11]           ALT-A 2004               20.39%              $319                                                         $319
1023 MALT 2004-13 [12]           ALT-A 2004               20.39%              $332                                                         $332
1024 MALT 2004-13 [2]            ALT-A 2004               20.39%              $580                                                         $580
1025 MALT 2004-13 [3]            ALT-A 2004               20.39%              $260                                                         $260
1026 MALT 2004-13 [4]            ALT-A 2004               20.39%              $285                                                         $285
1027 MALT 2004-13 [5]            ALT-A 2004               20.39%              $253                                                         $253
1028 MALT 2004-13 [6]            ALT-A 2004               20.39%              $232                                                         $232
1029 MALT 2004-13 [7]            ALT-A 2004               20.39%              $274                                                         $274
1030 MALT 2004-13 [8]            ALT-A 2004               20.39%              $737                                                         $737
1031 MALT 2004-13 [9]            ALT-A 2004               20.39%             $1,011                                                       $1,011
1032 MALT 2004-2 [EIGHT]         ALT-A 2004                5.11%              $286                                                         $286
1033 MALT 2004-2 [FIVE]          ALT-A 2004                5.11%                $45                                                          $45
1034 MALT 2004-2 [FOUR]          ALT-A 2004                5.11%                $73                                                          $73
1035 MALT 2004-2 [ONE]           ALT-A 2004                5.11%                $76                                                          $76
1036 MALT 2004-2 [SEVEN]         ALT-A 2004                5.11%              $184                                                         $184
1037 MALT 2004-2 [SIX]           ALT-A 2004                5.11%              $123                                                         $123
1038 MALT 2004-2 [THREE]         ALT-A 2004                5.11%              $166                                                         $166
1039 MALT 2004-2 [TWO]           ALT-A 2004                5.11%              $169                                                         $169
1040 MALT 2004-3 [EIGHT]         ALT-A 2004                6.41%              $251                                                         $251
1041 MALT 2004-3 [FIVE]          ALT-A 2004                6.41%              $162                                                         $162
1042 MALT 2004-3 [FOUR]          ALT-A 2004                6.41%              $124                                                         $124
1043 MALT 2004-3 [ONE]           ALT-A 2004                6.41%              $148                                                         $148
1044 MALT 2004-3 [SEVEN]         ALT-A 2004                6.41%              $183                                                         $183
1045 MALT 2004-3 [SIX]           ALT-A 2004                6.41%              $146                                                         $146
1046 MALT 2004-3 [THREE]         ALT-A 2004                6.41%              $118                                                         $118
1047 MALT 2004-3 [TWO]           ALT-A 2004                6.41%              $206                                                         $206
1048 MALT 2004-4 [1]             ALT-A 2004                5.55%              $166                                                         $166
1049 MALT 2004-4 [10]            ALT-A 2004                5.55%                $62                                                          $62
1050 MALT 2004-4 [11]            ALT-A 2004                5.55%              $163                                                         $163
1051 MALT 2004-4 [2]             ALT-A 2004                5.55%                $54                                                          $54
1052 MALT 2004-4 [3]             ALT-A 2004                5.55%                $82                                                          $82
1053 MALT 2004-4 [4]             ALT-A 2004                5.55%                $97                                                          $97
1054 MALT 2004-4 [5]             ALT-A 2004                5.55%              $116                                                         $116
1055 MALT 2004-4 [6]             ALT-A 2004                5.55%              $141                                                         $141
1056 MALT 2004-4 [7]             ALT-A 2004                5.55%              $160                                                         $160
1057 MALT 2004-4 [8]             ALT-A 2004                5.55%                $70                                                          $70
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                                                                                                                              GMACM Recognized
 1              Name              Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1058 MALT 2004-4 [9]             ALT-A 2004                5.55%              $321                                                         $321
1059 MALT 2004-5 [1]             ALT-A 2004               11.45%              $135                                                         $135
1060 MALT 2004-5 [2]             ALT-A 2004               11.45%              $169                                                         $169
1061 MALT 2004-5 [3]             ALT-A 2004               11.45%              $128                                                         $128
1062 MALT 2004-5 [4]             ALT-A 2004               11.45%              $176                                                         $176
1063 MALT 2004-5 [5]             ALT-A 2004               11.45%              $123                                                         $123
1064 MALT 2004-5 [6]             ALT-A 2004               11.45%              $220                                                         $220
1065 MALT 2004-5 [7]             ALT-A 2004               11.45%              $209                                                         $209
1066 MALT 2004-6 [1]             ALT-A 2004               14.82%              $711                                                         $711
1067 MALT 2004-6 [10]            ALT-A 2004               14.82%             $1,046                                                       $1,046
1068 MALT 2004-6 [2]             ALT-A 2004               14.82%              $438                                                         $438
1069 MALT 2004-6 [3]             ALT-A 2004               14.82%              $400                                                         $400
1070 MALT 2004-6 [4]             ALT-A 2004               14.82%              $639                                                         $639
1071 MALT 2004-6 [5]             ALT-A 2004               14.82%              $348                                                         $348
1072 MALT 2004-6 [6]             ALT-A 2004               14.82%              $643                                                         $643
1073 MALT 2004-6 [7]             ALT-A 2004               14.82%             $1,930                                                       $1,930
1074 MALT 2004-6 [8]             ALT-A 2004               14.82%              $866                                                         $866
1075 MALT 2004-6 [9]             ALT-A 2004               14.82%              $459                                                         $459
1076 MALT 2004-7 [1]             ALT-A 2004                8.78%              $471                                                         $471
1077 MALT 2004-7 [10]            ALT-A 2004                8.78%                $81                                                          $81
1078 MALT 2004-7 [2]             ALT-A 2004                8.78%                $95                                                          $95
1079 MALT 2004-7 [3]             ALT-A 2004                8.78%              $115                                                         $115
1080 MALT 2004-7 [4]             ALT-A 2004                8.78%              $101                                                         $101
1081 MALT 2004-7 [5]             ALT-A 2004                8.78%                $63                                                          $63
1082 MALT 2004-7 [6]             ALT-A 2004                8.78%              $116                                                         $116
1083 MALT 2004-7 [7]             ALT-A 2004                8.78%              $182                                                         $182
1084 MALT 2004-7 [8]             ALT-A 2004                8.78%                $79                                                          $79
1085 MALT 2004-7 [9]             ALT-A 2004                8.78%              $351                                                         $351
1086 MALT 2004-8 [1]             ALT-A 2004               19.48%             $1,337                                                       $1,337
1087 MALT 2004-8 [2]             ALT-A 2004               19.48%             $1,192                                                       $1,192
1088 MALT 2004-8 [3]             ALT-A 2004               19.48%              $453                                                         $453
1089 MALT 2004-8 [4]             ALT-A 2004               19.48%              $439                                                         $439
1090 MALT 2004-8 [5]             ALT-A 2004               19.48%              $568                                                         $568
1091 MALT 2004-8 [6]             ALT-A 2004               19.48%              $470                                                         $470
1092 MALT 2004-8 [7]             ALT-A 2004               19.48%              $346                                                         $346
1093 MALT 2004-8 [8]             ALT-A 2004               19.48%              $382                                                         $382
1094 MALT 2004-9 [Total]         ALT-A 2004                8.33%             $3,288                                                       $3,288
1095 MALT 2005-1 [1]             ALT-A 2005               35.28%             $1,005                                                       $1,005
1096 MALT 2005-1 [2]             ALT-A 2005               35.28%             $1,824                                                       $1,824
1097 MALT 2005-1 [3]             ALT-A 2005               35.28%             $1,795                                                       $1,795
1098 MALT 2005-1 [4]             ALT-A 2005               35.28%              $713                                                         $713
1099 MALT 2005-1 [5]             ALT-A 2005               35.28%              $736                                                         $736
1100 MALT 2005-1 [6]             ALT-A 2005               35.28%             $6,063                                                       $6,063
1101 MALT 2005-1 [7]             ALT-A 2005               35.28%             $1,211                                                       $1,211
1102 MALT 2005-2 [1]             ALT-A 2005               28.87%             $4,717                                                       $4,717
1103 MALT 2005-2 [2]             ALT-A 2005               28.87%             $2,531                                                       $2,531
1104 MALT 2005-2 [3]             ALT-A 2005               28.87%              $692                                                         $692
1105 MALT 2005-2 [4]             ALT-A 2005               28.87%             $4,561                                                       $4,561
1106 MALT 2005-2 [5]             ALT-A 2005               28.87%             $1,325                                                       $1,325
1107 MALT 2005-2 [6]             ALT-A 2005               28.87%             $1,127                                                       $1,127
1108 MALT 2005-3 [1]             ALT-A 2005               24.62%             $2,130                                                       $2,130
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                 A                    B                C                  D                              E                            F
                                                                                                                               GMACM Recognized
 1              Name               Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1109 MALT 2005-3 [2]              ALT-A 2005               24.62%               $616                                                        $616
1110 MALT 2005-3 [3]              ALT-A 2005               24.62%               $863                                                        $863
1111 MALT 2005-3 [4]              ALT-A 2005               24.62%              $1,037                                                      $1,037
1112 MALT 2005-3 [5]              ALT-A 2005               24.62%               $748                                                        $748
1113 MALT 2005-3 [6]              ALT-A 2005               24.62%              $4,474                                                      $4,474
1114 MALT 2005-3 [7]              ALT-A 2005               24.62%               $598                                                        $598
1115 MALT 2005-4 [1]              ALT-A 2005               20.48%              $1,875                                                      $1,875
1116 MALT 2005-4 [2]              ALT-A 2005               20.48%              $3,653                                                      $3,653
1117 MALT 2005-4 [3]              ALT-A 2005               20.48%              $2,311                                                      $2,311
1118 MALT 2005-4 [4]              ALT-A 2005               20.48%              $1,152                                                      $1,152
1119 MALT 2005-4 [5]              ALT-A 2005               20.48%              $2,654                                                      $2,654
1120 MALT 2005-5 [1]              ALT-A 2005               13.07%               $528                                                        $528
1121 MALT 2005-5 [2]              ALT-A 2005               13.07%              $1,439                                                      $1,439
1122 MALT 2005-5 [3]              ALT-A 2005               13.07%              $3,251                                                      $3,251
1123 MALT 2005-5 [4]              ALT-A 2005               13.07%               $356                                                        $356
1124 MALT 2005-5 [5]              ALT-A 2005               13.07%               $971                                                        $971
1125 MALT 2005-6 [1]              ALT-A 2005                2.51%              $2,370                                                      $2,370
1126 MALT 2005-6 [2]              ALT-A 2005                2.51%               $295                                                        $295
1127 MALT 2006-1 [Total]          ALT-A 2006                0.72%               $459                                                        $459
1128 MALT 2006-3 [1]              ALT-A 2006                0.12%               $101                                                        $101
1129 MALT 2006-3 [2]              ALT-A 2006                0.12%                 $12                                                         $12
1130 MALT 2007-1 [GRP_3]          ALT-A 2007                0.62%                 $69                                                         $69
1131 MALT 2007-1 [POOL_1]         ALT-A 2007                0.62%               $190                                                        $190
1132 MALT 2007-HF1 [1]            ALT-A 2007                4.80%               $494                                                        $494
1133 MALT 2007-HF1 [2]            ALT-A 2007                4.80%              $1,905                                                      $1,905
1134 MALT 2007-HF1 [3]            ALT-A 2007                4.80%               $355                                                        $355
1135 MALT 2007-HF1 [4]            ALT-A 2007                4.80%              $3,043                                                      $3,043
1136 MALT 2007-HF1 [5]            ALT-A 2007                4.80%               $239                                                        $239
1137 MARM 2003-2 [1]              Prime 2003                6.62%                 $56                                                         $56
1138 MARM 2003-2 [2]              Prime 2003                6.62%                 $65                                                         $65
1139 MARM 2003-2 [3]              Prime 2003                6.62%               $102                                                        $102
1140 MARM 2003-2 [4]              Prime 2003                6.62%               $109                                                        $109
1141 MARM 2003-2 [5]              Prime 2003                6.62%                 $43                                                         $43
1142 MARM 2003-2 [6]              Prime 2003                6.62%                 $21                                                         $21
1143 MARM 2003-7 [FIVE]           ALT-A 2003                2.44%                 $12                                                         $12
1144 MARM 2003-7 [FOUR]           ALT-A 2003                2.44%                 $10                                                         $10
1145 MARM 2003-7 [ONE]            ALT-A 2003                2.44%                  $5                                                          $5
1146 MARM 2003-7 [THREE]          ALT-A 2003                2.44%                 $14                                                         $14
1147 MARM 2003-7 [TWO]            ALT-A 2003                2.44%                  $7                                                          $7
1148 MARM 2004-1 [1]              Prime 2004                2.64%                 $44                                                         $44
1149 MARM 2004-1 [2]              Prime 2004                2.64%                 $80                                                         $80
1150 MARM 2004-1 [3]              Prime 2004                2.64%               $158                                                        $158
1151 MARM 2004-1 [4]              Prime 2004                2.64%                 $84                                                         $84
1152 MARM 2004-1 [5]              Prime 2004                2.64%                 $63                                                         $63
1153 MARM 2004-1 [6]              Prime 2004                2.64%                 $78                                                         $78
1154 MARM 2004-10 [1]             Prime 2004               31.23%              $1,633                                                      $1,633
1155 MARM 2004-10 [2]             Prime 2004               31.23%              $2,662                                                      $2,662
1156 MARM 2004-10 [3]             Prime 2004               31.23%              $1,707                                                      $1,707
1157 MARM 2004-11 [1]             ALT-A 2004               34.51%             $10,878                                                     $10,878
1158 MARM 2004-11 [2]             ALT-A 2004               34.51%             $12,998                                                     $12,998
1159 MARM 2004-12 [1]             Prime 2004                7.61%               $199                                                        $199
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                 A                B                C                  D                              E                            F
                                                                                                                           GMACM Recognized
 1             Name            Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1160 MARM 2004-12 [2]         Prime 2004                7.61%               $359                                                        $359
1161 MARM 2004-12 [3]         Prime 2004                7.61%               $794                                                        $794
1162 MARM 2004-12 [4]         Prime 2004                7.61%               $362                                                        $362
1163 MARM 2004-12 [5]         Prime 2004                7.61%               $288                                                        $288
1164 MARM 2004-14 [1]         ALT-A 2004               36.97%             $11,246                                                     $11,246
1165 MARM 2004-14 [2]         ALT-A 2004               36.97%              $8,442                                                      $8,442
1166 MARM 2004-15 [1]         ALT-A 2004               37.61%              $1,980                                                      $1,980
1167 MARM 2004-15 [2]         ALT-A 2004               37.61%              $2,875                                                      $2,875
1168 MARM 2004-15 [3]         ALT-A 2004               37.61%               $983                                                        $983
1169 MARM 2004-15 [4]         ALT-A 2004               37.61%              $3,403                                                      $3,403
1170 MARM 2004-15 [5]         ALT-A 2004               37.61%               $563                                                        $563
1171 MARM 2004-15 [6]         ALT-A 2004               37.61%              $1,765                                                      $1,765
1172 MARM 2004-15 [7]         ALT-A 2004               37.61%              $1,799                                                      $1,799
1173 MARM 2004-15 [8]         ALT-A 2004               37.61%              $2,323                                                      $2,323
1174 MARM 2004-15 [9]         ALT-A 2004               37.61%              $1,853                                                      $1,853
1175 MARM 2004-2 [1]          ALT-A 2004               36.99%               $749                                                        $749
1176 MARM 2004-2 [2]          ALT-A 2004               36.99%              $1,014                                                      $1,014
1177 MARM 2004-2 [3]          ALT-A 2004               36.99%              $3,971                                                      $3,971
1178 MARM 2004-3 [1]          Prime 2004               48.47%               $622                                                        $622
1179 MARM 2004-3 [2]          Prime 2004               48.47%              $1,079                                                      $1,079
1180 MARM 2004-3 [3]          Prime 2004               48.47%              $1,379                                                      $1,379
1181 MARM 2004-3 [4]          Prime 2004               48.47%              $1,036                                                      $1,036
1182 MARM 2004-3 [5]          Prime 2004               48.47%               $861                                                        $861
1183 MARM 2004-3 [6]          Prime 2004               48.47%              $1,417                                                      $1,417
1184 MARM 2004-3 [7]          Prime 2004               48.47%               $593                                                        $593
1185 MARM 2004-3 [8]          Prime 2004               48.47%              $2,411                                                      $2,411
1186 MARM 2004-4 [1]          ALT-A 2004               58.20%              $1,132                                                      $1,132
1187 MARM 2004-4 [2]          ALT-A 2004               58.20%              $3,529                                                      $3,529
1188 MARM 2004-4 [3]          ALT-A 2004               58.20%              $1,604                                                      $1,604
1189 MARM 2004-4 [4]          ALT-A 2004               58.20%              $3,119                                                      $3,119
1190 MARM 2004-4 [5]          ALT-A 2004               58.20%               $746                                                        $746
1191 MARM 2004-5 [1]          Prime 2004               11.45%               $665                                                        $665
1192 MARM 2004-5 [2]          Prime 2004               11.45%               $215                                                        $215
1193 MARM 2004-5 [3]          Prime 2004               11.45%               $417                                                        $417
1194 MARM 2004-5 [4]          Prime 2004               11.45%               $298                                                        $298
1195 MARM 2004-5 [5]          Prime 2004               11.45%              $1,165                                                      $1,165
1196 MARM 2004-5 [6]          Prime 2004               11.45%               $709                                                        $709
1197 MARM 2004-5 [7]          Prime 2004               11.45%                 $76                                                         $76
1198 MARM 2004-5 [8]          Prime 2004               11.45%               $168                                                        $168
1199 MARM 2004-5 [9]          Prime 2004               11.45%               $374                                                        $374
1200 MARM 2004-6 [1]          Prime 2004               34.37%               $852                                                        $852
1201 MARM 2004-6 [2]          Prime 2004               34.37%              $1,510                                                      $1,510
1202 MARM 2004-6 [3]          Prime 2004               34.37%               $866                                                        $866
1203 MARM 2004-6 [4]          Prime 2004               34.37%              $5,072                                                      $5,072
1204 MARM 2004-6 [5]          Prime 2004               34.37%               $463                                                        $463
1205 MARM 2004-6 [6]          Prime 2004               34.37%               $862                                                        $862
1206 MARM 2004-7 [1]          Prime 2004               36.03%              $1,385                                                      $1,385
1207 MARM 2004-7 [2]          Prime 2004               36.03%              $1,633                                                      $1,633
1208 MARM 2004-7 [3]          Prime 2004               36.03%              $5,825                                                      $5,825
1209 MARM 2004-7 [4]          Prime 2004               36.03%              $1,349                                                      $1,349
1210 MARM 2004-7 [5]          Prime 2004               36.03%              $1,153                                                      $1,153
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                 A                   B                C                  D                              E                            F
                                                                                                                              GMACM Recognized
 1             Name               Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1211 MARM 2004-7 [6]             Prime 2004               36.03%             $11,037                                                     $11,037
1212 MARM 2004-8 [1]             ALT-A 2004               44.06%              $2,407                                                      $2,407
1213 MARM 2004-8 [2]             ALT-A 2004               44.06%              $2,623                                                      $2,623
1214 MARM 2004-8 [3]             ALT-A 2004               44.06%              $1,563                                                      $1,563
1215 MARM 2004-8 [4]             ALT-A 2004               44.06%              $2,989                                                      $2,989
1216 MARM 2004-8 [5]             ALT-A 2004               44.06%              $3,102                                                      $3,102
1217 MARM 2004-8 [6]             ALT-A 2004               44.06%               $588                                                        $588
1218 MARM 2004-8 [7]             ALT-A 2004               44.06%               $724                                                        $724
1219 MARM 2004-8 [8]             ALT-A 2004               44.06%              $3,367                                                      $3,367
1220 MARM 2004-9 [1]             Prime 2004               33.16%             $15,334                                                     $15,334
1221 MARM 2004-9 [2]             Prime 2004               33.16%             $12,853                                                     $12,853
1222 MARM 2005-1 [1]             ALT-A 2005               48.18%              $3,636                                                      $3,636
1223 MARM 2005-1 [10]            ALT-A 2005               48.18%              $8,282                                                      $8,282
1224 MARM 2005-1 [2]             ALT-A 2005               48.18%              $5,123                                                      $5,123
1225 MARM 2005-1 [3]             ALT-A 2005               48.18%              $3,120                                                      $3,120
1226 MARM 2005-1 [4]             ALT-A 2005               48.18%             $11,619                                                     $11,619
1227 MARM 2005-1 [5]             ALT-A 2005               48.18%             $16,162                                                     $16,162
1228 MARM 2005-1 [6]             ALT-A 2005               48.18%             $15,282                                                     $15,282
1229 MARM 2005-1 [7]             ALT-A 2005               48.18%             $16,948                                                     $16,948
1230 MARM 2005-1 [8]             ALT-A 2005               48.18%              $4,881                                                      $4,881
1231 MARM 2005-1 [9]             ALT-A 2005               48.18%              $2,246                                                      $2,246
1232 MARM 2005-2 [1]             ALT-A 2005               30.04%              $1,772                                                      $1,772
1233 MARM 2005-2 [2]             ALT-A 2005               30.04%              $2,440                                                      $2,440
1234 MARM 2005-2 [3]             ALT-A 2005               30.04%              $8,891                                                      $8,891
1235 MARM 2005-2 [4]             ALT-A 2005               30.04%              $4,649                                                      $4,649
1236 MARM 2005-2 [5]             ALT-A 2005               30.04%              $6,431                                                      $6,431
1237 MARM 2005-2 [6]             ALT-A 2005               30.04%              $2,286                                                      $2,286
1238 MARM 2005-2 [7]             ALT-A 2005               30.04%              $5,107                                                      $5,107
1239 MARM 2005-3 [1]             ALT-A 2005               50.36%              $7,075                                                      $7,075
1240 MARM 2005-3 [2]             ALT-A 2005               50.36%              $7,902                                                      $7,902
1241 MARM 2005-3 [3]             ALT-A 2005               50.36%             $10,644                                                     $10,644
1242 MARM 2005-3 [4]             ALT-A 2005               50.36%              $1,216                                                      $1,216
1243 MARM 2005-3 [5]             ALT-A 2005               50.36%              $1,228                                                      $1,228
1244 MARM 2005-6 [1]             Prime 2005               38.40%              $5,163                                                      $5,163
1245 MARM 2005-6 [2]             Prime 2005               38.40%              $1,423                                                      $1,423
1246 MARM 2005-6 [3]             Prime 2005               38.40%              $4,141                                                      $4,141
1247 MARM 2005-6 [4]             Prime 2005               38.40%              $3,983                                                      $3,983
1248 MARM 2005-6 [5]             Prime 2005               38.40%             $10,603                                                     $10,603
1249 MARM 2005-6 [6]             Prime 2005               38.40%              $4,703                                                      $4,703
1250 MARM 2005-6 [7]             Prime 2005               38.40%              $2,223                                                      $2,223
1251 MARM 2005-7 [1]             Prime 2005               48.64%             $10,498                                                     $10,498
1252 MARM 2005-7 [2]             Prime 2005               48.64%             $32,082                                                     $32,082
1253 MARM 2005-7 [3]             Prime 2005               48.64%              $4,397                                                      $4,397
1254 MARM 2005-8 [110YR]         ALT-A 2005                0.65%                 $12                                                         $12
1255 MARM 2005-8 [12YR]          ALT-A 2005                0.65%                  $3                                                          $3
1256 MARM 2005-8 [13YR]          ALT-A 2005                0.65%                 $10                                                         $10
1257 MARM 2005-8 [15YR]          ALT-A 2005                0.65%                 $83                                                         $83
1258 MARM 2005-8 [16M]           ALT-A 2005                0.65%                 $53                                                         $53
1259 MARM 2005-8 [17YR]          ALT-A 2005                0.65%                  $8                                                          $8
1260 MARM 2005-8 [22YR]          ALT-A 2005                0.65%                  $5                                                          $5
1261 MARM 2005-8 [23YR]          ALT-A 2005                0.65%                 $15                                                         $15
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                 A                   B                    C                  D                              E                            F
                                                                                                                                  GMACM Recognized
 1             Name                Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1262 MARM 2005-8 [25YR]           ALT-A 2005                    0.65%              $411                                                        $411
1263 MARM 2005-8 [26M]            ALT-A 2005                    0.65%                $19                                                         $19
1264 MARM 2005-8 [27YR]           ALT-A 2005                    0.65%              $546                                                        $546
1265 MARM 2005-8 [310YR]          ALT-A 2005                    0.65%              $360                                                        $360
1266 MARM 2006-OA2 [1]       Pay Option ARM 2006                4.19%            $18,858                   FSA                                    $0
1267 MARM 2006-OA2 [2]       Pay Option ARM 2006                4.19%            $12,218                   FSA                                    $0
1268 MARM 2006-OA2 [3]       Pay Option ARM 2006                4.19%             $3,129                                                      $3,129
1269 MARM 2006-OA2 [4]       Pay Option ARM 2006                4.19%            $14,782                   FSA                                    $0
1270 MARM 2007-2 [Total]          ALT-A 2007                    0.03%              $125                                                        $125
1271 MARP 2005-1 [1A]           Subprime 2005                   9.26%              $781                                                        $781
1272 MARP 2005-1 [1B]           Subprime 2005                   9.26%             $2,205                                                      $2,205
1273 MARP 2005-1 [1C]           Subprime 2005                   9.26%             $2,255                                                      $2,255
1274 MARP 2005-1 [1D]           Subprime 2005                   9.26%             $1,591                                                      $1,591
1275 MARP 2005-1 [1E]           Subprime 2005                   9.26%              $558                                                        $558
1276 MARP 2005-1 [1F]           Subprime 2005                   9.26%              $498                                                        $498
1277 MARP 2005-1 [2]            Subprime 2005                   9.26%              $402                                                        $402
1278 MARP 2005-2 [POOL1_A]      Subprime 2005                   0.89%             $1,125                                                      $1,125
1279 MARP 2005-2 [POOL1_B]      Subprime 2005                   0.89%              $148                                                        $148
1280 MARP 2005-2 [POOL1_C]      Subprime 2005                   0.89%              $105                                                        $105
1281 MARP 2005-2 [POOL1_D]      Subprime 2005                   0.89%                $96                                                         $96
1282 MARP 2005-2 [POOL2]        Subprime 2005                   0.89%                $87                                                         $87
1283 MARP 2006-1 [I_1]          Subprime 2006                   0.12%                $76                                                         $76
1284 MARP 2006-1 [I_234]        Subprime 2006                   0.12%                $26                                                         $26
1285 MARP 2006-1 [II]           Subprime 2006                   0.12%                 $3                                                          $3
1286 MARP 2006-2 [1]            Subprime 2006                   4.42%             $2,765                                                      $2,765
1287 MARP 2006-2 [2]            Subprime 2006                   4.42%                $88                                                         $88
1288 MASD 2004-1 [1A]           Subprime 2004                 100.00%            $10,688                                                     $10,688
1289 MASD 2004-1 [1F]           Subprime 2004                 100.00%            $28,471                                                     $28,471
1290 MASD 2004-2 [A]            Subprime 2004                  90.46%             $8,861                                                      $8,861
1291 MASD 2004-2 [F]            Subprime 2004                  90.46%            $15,775                                                     $15,775
1292 MASD 2005-1 [1]            Subprime 2005                   9.00%             $2,075                                                      $2,075
1293 MASD 2005-1 [2]            Subprime 2005                   9.00%             $2,056                                                      $2,056
1294 MASD 2005-2 [1]            Subprime 2005                  90.38%            $14,652                                                     $14,652
1295 MASD 2005-2 [2]            Subprime 2005                  90.38%            $20,837                                                     $20,837
1296 MASD 2005-3 [1]            Subprime 2005                  92.42%            $27,466                                                     $27,466
1297 MASD 2005-3 [2]            Subprime 2005                  92.42%            $31,603                                                     $31,603
1298 MASD 2006-1 [A]            Subprime 2006                  94.56%            $74,980                                                     $74,980
1299 MASD 2006-1 [F]            Subprime 2006                  94.56%            $33,179                                                     $33,179
1300 MASD 2006-2 [A]            Subprime 2006                   5.00%             $7,392                                                      $7,392
1301 MASD 2006-2 [F]            Subprime 2006                   5.00%             $3,019                                                      $3,019
1302 MASD 2006-3 [A]            Subprime 2006                   5.00%             $5,310                                                      $5,310
1303 MASD 2006-3 [F]            Subprime 2006                   5.00%             $3,508                                                      $3,508
1304 MASTR 2002-7 [1]             Prime 2002                    5.81%              $109                                                        $109
1305 MASTR 2002-7 [2]             Prime 2002                    5.81%              $117                                                        $117
1306 MASTR 2002-7 [3]             Prime 2002                    5.81%                $21                                                         $21
1307 MASTR 2002-8 [1]             Prime 2002                    2.20%                $23                                                         $23
1308 MASTR 2002-8 [2]             Prime 2002                    2.20%                $52                                                         $52
1309 MASTR 2003-10 [1]            Prime 2003                   18.15%                $82                                                         $82
1310 MASTR 2003-10 [2]            Prime 2003                   18.15%                $46                                                         $46
1311 MASTR 2003-10 [3]            Prime 2003                   18.15%              $923                                                        $923
1312 MASTR 2003-10 [4]            Prime 2003                   18.15%              $329                                                        $329
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                                                                                                                           GMACM Recognized
 1             Name            Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1313 MASTR 2003-10 [5]        Prime 2003               18.15%               $44                                                          $44
1314 MASTR 2003-10 [6]        Prime 2003               18.15%              $138                                                         $138
1315 MASTR 2003-11 [1]        Prime 2003                2.27%               $25                                                          $25
1316 MASTR 2003-11 [10]       Prime 2003                2.27%               $24                                                          $24
1317 MASTR 2003-11 [2]        Prime 2003                2.27%               $36                                                          $36
1318 MASTR 2003-11 [3]        Prime 2003                2.27%               $12                                                          $12
1319 MASTR 2003-11 [4]        Prime 2003                2.27%                $8                                                           $8
1320 MASTR 2003-11 [5]        Prime 2003                2.27%                $5                                                           $5
1321 MASTR 2003-11 [6]        Prime 2003                2.27%               $54                                                          $54
1322 MASTR 2003-11 [7]        Prime 2003                2.27%               $27                                                          $27
1323 MASTR 2003-11 [8]        Prime 2003                2.27%               $18                                                          $18
1324 MASTR 2003-11 [9]        Prime 2003                2.27%               $45                                                          $45
1325 MASTR 2003-12 [1]        Prime 2003                7.76%               $68                                                          $68
1326 MASTR 2003-12 [2]        Prime 2003                7.76%               $29                                                          $29
1327 MASTR 2003-12 [3]        Prime 2003                7.76%              $207                                                         $207
1328 MASTR 2003-12 [4]        Prime 2003                7.76%               $92                                                          $92
1329 MASTR 2003-12 [5]        Prime 2003                7.76%               $24                                                          $24
1330 MASTR 2003-12 [6]        Prime 2003                7.76%               $89                                                          $89
1331 MASTR 2003-2 [ONE]       Prime 2003               14.62%              $122                                                         $122
1332 MASTR 2003-2 [THREE]     Prime 2003               14.62%              $223                                                         $223
1333 MASTR 2003-2 [TWO]       Prime 2003               14.62%              $181                                                         $181
1334 MASTR 2003-3 [FIVE]      Prime 2003               14.24%               $83                                                          $83
1335 MASTR 2003-3 [FOUR]      Prime 2003               14.24%               $20                                                          $20
1336 MASTR 2003-3 [ONE]       Prime 2003               14.24%               $93                                                          $93
1337 MASTR 2003-3 [THREE]     Prime 2003               14.24%              $251                                                         $251
1338 MASTR 2003-3 [TWOC]      Prime 2003               14.24%              $114                                                         $114
1339 MASTR 2003-3 [TWOD]      Prime 2003               14.24%                $3                                                           $3
1340 MASTR 2003-3 [TWONC]     Prime 2003               14.24%              $212                                                         $212
1341 MASTR 2003-4 [EIGHT]     Prime 2003                0.38%                $1                                                           $1
1342 MASTR 2003-4 [FIVE]      Prime 2003                0.38%                $0                                                           $0
1343 MASTR 2003-4 [FOUR]      Prime 2003                0.38%                $2                                                           $2
1344 MASTR 2003-4 [ONE]       Prime 2003                0.38%                $2                                                           $2
1345 MASTR 2003-4 [SEVEN]     Prime 2003                0.38%                $0                                                           $0
1346 MASTR 2003-4 [SIX]       Prime 2003                0.38%                $9                                                           $9
1347 MASTR 2003-4 [THREE]     Prime 2003                0.38%                $1                                                           $1
1348 MASTR 2003-4 [TWO]       Prime 2003                0.38%                $6                                                           $6
1349 MASTR 2003-5 [1]         Prime 2003                1.07%               $21                                                          $21
1350 MASTR 2003-5 [2]         Prime 2003                1.07%               $32                                                          $32
1351 MASTR 2003-5 [3]         Prime 2003                1.07%                $2                                                           $2
1352 MASTR 2003-5 [4]         Prime 2003                1.07%               $31                                                          $31
1353 MASTR 2003-5 [5]         Prime 2003                1.07%               $16                                                          $16
1354 MASTR 2003-6 [EIGHT]     Prime 2003                7.84%              $131                                                         $131
1355 MASTR 2003-6 [FIVE]      Prime 2003                7.84%              $124                                                         $124
1356 MASTR 2003-6 [FOUR]      Prime 2003                7.84%               $58                                                          $58
1357 MASTR 2003-6 [NINE]      Prime 2003                7.84%              $123                                                         $123
1358 MASTR 2003-6 [ONE]       Prime 2003                7.84%               $35                                                          $35
1359 MASTR 2003-6 [SEVEN]     Prime 2003                7.84%               $54                                                          $54
1360 MASTR 2003-6 [SIX]       Prime 2003                7.84%              $510                                                         $510
1361 MASTR 2003-6 [THREE]     Prime 2003                7.84%              $605                                                         $605
1362 MASTR 2003-6 [TWO]       Prime 2003                7.84%               $32                                                          $32
1363 MASTR 2003-7 [1]         Prime 2003                2.84%               $81                                                          $81
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                                                                                                                               GMACM Recognized
 1             Name                Cohort       GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1364 MASTR 2003-7 [2]             Prime 2003                2.84%               $62                                                          $62
1365 MASTR 2003-7 [3]             Prime 2003                2.84%                $7                                                           $7
1366 MASTR 2003-7 [4]             Prime 2003                2.84%              $152                                                         $152
1367 MASTR 2003-7 [5]             Prime 2003                2.84%                $4                                                           $4
1368 MASTR 2003-8 [1]             Prime 2003                3.16%              $141                                                         $141
1369 MASTR 2003-8 [2]             Prime 2003                3.16%               $92                                                          $92
1370 MASTR 2003-8 [3]             Prime 2003                3.16%              $128                    MBIA                                   $0
1371 MASTR 2003-8 [4]             Prime 2003                3.16%               $16                                                          $16
1372 MASTR 2003-8 [5]             Prime 2003                3.16%               $14                                                          $14
1373 MASTR 2003-8 [6]             Prime 2003                3.16%                $5                                                           $5
1374 MASTR 2003-8 [7]             Prime 2003                3.16%                $8                                                           $8
1375 MASTR 2003-8 [8]             Prime 2003                3.16%               $51                                                          $51
1376 MASTR 2003-9 [1]             Prime 2003               26.56%              $424                                                         $424
1377 MASTR 2003-9 [2]             Prime 2003               26.56%              $431                                                         $431
1378 MASTR 2003-9 [3]             Prime 2003               26.56%               $38                                                          $38
1379 MASTR 2003-9 [4]             Prime 2003               26.56%               $53                                                          $53
1380 MASTR 2003-9 [5]             Prime 2003               26.56%              $288                                                         $288
1381 MASTR 2004-1 [1]             Prime 2004               12.12%              $140                                                         $140
1382 MASTR 2004-1 [2]             Prime 2004               12.12%               $10                                                          $10
1383 MASTR 2004-1 [3]             Prime 2004               12.12%               $38                                                          $38
1384 MASTR 2004-1 [4]             Prime 2004               12.12%               $23                                                          $23
1385 MASTR 2004-1 [5]             Prime 2004               12.12%               $92                                                          $92
1386 MASTR 2004-10 [1]            Prime 2004               12.11%              $135                                                         $135
1387 MASTR 2004-10 [2]            Prime 2004               12.11%              $215                                                         $215
1388 MASTR 2004-10 [3]            Prime 2004               12.11%              $201                                                         $201
1389 MASTR 2004-10 [4]            Prime 2004               12.11%              $134                                                         $134
1390 MASTR 2004-10 [5]            Prime 2004               12.11%              $160                                                         $160
1391 MASTR 2004-10 [6]            Prime 2004               12.11%              $125                                                         $125
1392 MASTR 2004-11 [1]            Prime 2004                6.07%               $56                                                          $56
1393 MASTR 2004-11 [2]            Prime 2004                6.07%              $120                                                         $120
1394 MASTR 2004-11 [3]            Prime 2004                6.07%               $62                                                          $62
1395 MASTR 2004-11 [4]            Prime 2004                6.07%              $175                                                         $175
1396 MASTR 2004-11 [5]            Prime 2004                6.07%              $165                                                         $165
1397 MASTR 2004-3 [1]             Prime 2004               10.46%               $50                                                          $50
1398 MASTR 2004-3 [2]             Prime 2004               10.46%               $41                                                          $41
1399 MASTR 2004-3 [3]             Prime 2004               10.46%              $160                                                         $160
1400 MASTR 2004-3 [4]             Prime 2004               10.46%              $225                                                         $225
1401 MASTR 2004-3 [5]             Prime 2004               10.46%               $48                                                          $48
1402 MASTR 2004-4 [ONE1]          Prime 2004                2.65%               $41                                                          $41
1403 MASTR 2004-4 [ONE2]          Prime 2004                2.65%               $35                                                          $35
1404 MASTR 2004-4 [ONE3]          Prime 2004                2.65%                $4                                                           $4
1405 MASTR 2004-4 [THREE]         Prime 2004                2.65%               $25                                                          $25
1406 MASTR 2004-4 [TWO]           Prime 2004                2.65%               $93                                                          $93
1407 MASTR 2004-5 [1]             Prime 2004                2.56%               $81                                                          $81
1408 MASTR 2004-5 [2]             Prime 2004                2.56%               $26                                                          $26
1409 MASTR 2004-6 [1]             Prime 2004                2.80%               $37                                                          $37
1410 MASTR 2004-6 [2A]            Prime 2004                2.80%               $34                                                          $34
1411 MASTR 2004-6 [2B]            Prime 2004                2.80%               $32                                                          $32
1412 MASTR 2004-6 [3]             Prime 2004                2.80%               $25                                                          $25
1413 MASTR 2004-6 [4]             Prime 2004                2.80%               $36                                                          $36
1414 MASTR 2004-6 [5]             Prime 2004                2.80%               $54                                                          $54
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                                                                                                                                 GMACM Recognized
 1              Name              Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1415 MASTR 2004-6 [6]            Prime 2004                    2.80%                 $20                                                        $20
1416 MASTR 2004-6 [7]            Prime 2004                    2.80%                 $49                                                        $49
1417 MASTR 2004-8 [1]            Prime 2004                    0.98%                  $6                                                         $6
1418 MASTR 2004-8 [2]            Prime 2004                    0.98%                 $16                                                        $16
1419 MASTR 2004-8 [3]            Prime 2004                    0.98%                  $3                                                         $3
1420 MASTR 2004-8 [4]            Prime 2004                    0.98%                  $9                                                         $9
1421 MASTR 2004-9 [1]            Prime 2004                    5.95%                 $41                                                        $41
1422 MASTR 2004-9 [2]            Prime 2004                    5.95%               $253                                                       $253
1423 MASTR 2004-9 [3]            Prime 2004                    5.95%               $167                                                       $167
1424 MASTR 2004-9 [4]            Prime 2004                    5.95%               $143                                                       $143
1425 MASTR 2004-9 [5]            Prime 2004                    5.95%                 $50                                                        $50
1426 MASTR 2004-9 [6]            Prime 2004                    5.95%                 $81                                                        $81
1427 MASTR 2004-9 [7]            Prime 2004                    5.95%                 $62                                                        $62
1428 MASTR 2004-9 [8]            Prime 2004                    5.95%               $109                                                       $109
1429 MHL 2007-1 [IA]             ALT-A 2007                  100.00%            $178,904                                                   $178,904
1430 MHL 2007-1 [IF]             ALT-A 2007                  100.00%            $119,589                                                   $119,589
1431 MHL 2007-1 [IIA]            ALT-A 2007                  100.00%            $336,195                                                   $336,195
1432 MHL 2007-1 [IIF]            ALT-A 2007                  100.00%            $140,308                                                   $140,308
1433 MLMI 2003-A2 [FOUR]         Prime 2003                    1.79%                  $4                                                         $4
1434 MLMI 2003-A2 [ONE]          Prime 2003                    1.79%                 $22                                                        $22
1435 MLMI 2003-A2 [THREE]        Prime 2003                    1.79%                 $23                                                        $23
1436 MLMI 2003-A2 [TWO]          Prime 2003                    1.79%                 $11                                                        $11
1437 MLMI 2003-A4 [1]            Prime 2003                   17.23%              $1,219                                                     $1,219
1438 MLMI 2003-A4 [2]            Prime 2003                   17.23%               $380                                                       $380
1439 MLMI 2003-A4 [3]            Prime 2003                   17.23%               $228                                                       $228
1440 MLMI 2003-A4 [4]            Prime 2003                   17.23%                 $26                                                        $26
1441 MLMI 2005-A6 [1]            ALT-A 2005                   16.10%             $14,288                                                    $14,288
1442 MLMI 2005-A6 [2]            ALT-A 2005                   16.10%             $21,898                                                    $21,898
1443 MMFT 2007-1A [Total]     Second Lien 2007               100.00%             $43,588                  FSA                                    $0
1444 MSSTR 2004-1 [1]            Prime 2004                    3.36%               $150                                                       $150
1445 MSSTR 2004-1 [2]            Prime 2004                    3.36%               $504                                                       $504
1446 MSSTR 2004-1 [3]            Prime 2004                    3.36%                 $46                                                        $46
1447 MSSTR 2004-1 [4]            Prime 2004                    3.36%                 $84                                                        $84
1448 MSSTR 2005-1 [1]            Prime 2005                    3.91%               $520                                                       $520
1449 MSSTR 2005-1 [2]            Prime 2005                    3.91%               $271                                                       $271
1450 MSSTR 2005-1 [3]            Prime 2005                    3.91%               $136                                                       $136
1451 MSSTR 2005-1 [4]            Prime 2005                    3.91%               $148                                                       $148
1452 MSSTR 2005-2 [FIVE]         Prime 2005                    1.37%                  $9                                                         $9
1453 MSSTR 2005-2 [FOUR]         Prime 2005                    1.37%                 $23                                                        $23
1454 MSSTR 2005-2 [ONE/TWO]      Prime 2005                    1.37%                 $66                                                        $66
1455 MSSTR 2005-2 [THREE]        Prime 2005                    1.37%                 $64                                                        $64
1456 NAA 2004-AP1 [Total]        ALT-A 2004                   21.49%              $7,349                                                     $7,349
1457 NAA 2004-AP2 [Total]        ALT-A 2004                  100.00%             $42,017                                                    $42,017
1458 NAA 2004-AR1 [1]            ALT-A 2004                  100.00%              $4,006                                                     $4,006
1459 NAA 2004-AR1 [2]            ALT-A 2004                  100.00%              $5,725                                                     $5,725
1460 NAA 2004-AR1 [3]            ALT-A 2004                  100.00%              $5,910                                                     $5,910
1461 NAA 2004-AR1 [4]            ALT-A 2004                  100.00%              $5,079                                                     $5,079
1462 NAA 2004-AR1 [5A]           ALT-A 2004                  100.00%             $10,358                                                    $10,358
1463 NAA 2004-AR1 [5B]           ALT-A 2004                  100.00%              $8,531                                                     $8,531
1464 NAA 2005-AP1 [1]            ALT-A 2005                   96.07%             $26,198                                                    $26,198
1465 NAA 2005-AP1 [2]            ALT-A 2005                   96.07%             $43,808                                                    $43,808
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                                                                                                                                         GMACM Recognized
 1              Name              Cohort          GMACM Servicer %     GMACM Claim                         Insurer                            Claim
1466 NAA 2005-AP2 [Total]        ALT-A 2005                  100.00%            $106,844                                                           $106,844
1467 NAA 2005-AP3 [Total]        ALT-A 2005                   99.55%            $126,894                                                           $126,894
1468 NAA 2005-S1 [Total]         ALT-A 2005                    9.00%               $344                                                               $344
1469 NAA 2005-S2 [Total]          CES 2005                   100.00%              $7,594                                                             $7,594
1470 NAA 2005-S3 [Total]          CES 2005                   100.00%              $4,173                                                             $4,173
1471 NAA 2005-S4 [Total]          CES 2005                     0.06%                  $7                                                                 $7
1472 NAA 2006-AR3 [Total]        ALT-A 2006                   86.48%            $218,790                                                           $218,790
1473 NAA 2006-AR4 [Total]        ALT-A 2006                   99.94%            $406,394                                                           $406,394
1474 NAA 2006-S1 [Total]          CES 2006                     0.30%                 $27                                                                $27
1475 NAA 2006-S2 [Total]          CES 2006                     5.00%               $535                                                               $535
1476 NAA 2007-1 [1]              ALT-A 2007                   61.99%            $379,281                    FSA                                          $0
1477 NAA 2007-1 [2]              ALT-A 2007                   61.99%            $359,435                   Ambac                                   $359,435
1478 NAA 2007-2 [Total]          ALT-A 2007                   99.85%            $351,848                                                           $351,848
1479 NAA 2007-S2 [Total]          CES 2007                    33.17%               $412               Assured Guaranty                                   $0
1480 NCHET 2004-A [1]          Subprime 2004                  71.68%            $100,293                 FNMA, FGIC                                $100,293
1481 NCHET 2004-A [2]          Subprime 2004                  71.68%             $65,649                    FGIC                                    $65,649
1482 NCHET 2004-A [3A]         Subprime 2004                  71.68%             $27,905                    FGIC                                    $27,905
1483 NCHET 2004-A [3B]         Subprime 2004                  71.68%             $37,659                    FGIC                                    $37,659
1484 NHELI 2007-1 [1]            ALT-A 2007                   99.92%            $331,387                                                           $331,387
1485 NHELI 2007-1 [2_1]          ALT-A 2007                   99.92%             $84,868                                                            $84,868
1486 NHELI 2007-1 [2_2]          ALT-A 2007                   99.92%            $385,132                                                           $385,132
1487 PRIME 2003-3 [Total]        Prime 2003                    3.16%               $184                    MBIA                                          $0
1488 PRIME 2004-1 [1]            Prime 2004                    1.72%                 $41                   Radian                                        $0
1489 PRIME 2004-1 [2]            Prime 2004                    1.72%                 $48                   Radian                                        $0
1490 PRIME 2004-CL1 [1]          Prime 2004                    0.14%                 $46                                                                $46
1491 PRIME 2004-CL1 [2]          Prime 2004                    0.14%                  $8                                                                 $8
1492 PRIME 2004-CL1 [3]          Prime 2004                    0.14%                 $14                                                                $14
1493 PRIME 2004-CL2 [Total]      Prime 2004                   12.24%              $1,023                                                             $1,023
1494 PRIME 2005-2 [1]          Subprime 2005                  10.66%               $969                                                               $969
1495 PRIME 2005-2 [2]          Subprime 2005                  10.66%               $981                                                               $981
1496 PRIME 2005-4 [1]            Prime 2005                    0.75%                 $76                                                                $76
1497 PRIME 2005-4 [2]            Prime 2005                    0.75%               $117                                                               $117
1498 PRIME 2005-5 [1]          Subprime 2005                   4.94%               $479                                                               $479
1499 PRIME 2005-5 [2]          Subprime 2005                   4.94%               $713                                                               $713
1500 PRIME 2006-1 [Total]        ALT-A 2006                   10.93%              $6,711                                                             $6,711
1501 PRIME 2006-CL1 [Total]      ALT-A 2006                   12.79%              $3,784                                                             $3,784
1502 RBSGC 2005-A [1]            ALT-A 2005                   11.01%               $532                                                               $532
1503 RBSGC 2005-A [2]            ALT-A 2005                   11.01%              $2,689                                                             $2,689
1504 RBSGC 2005-A [3]            ALT-A 2005                   11.01%              $1,613                                                             $1,613
1505 RBSGC 2005-A [4]            ALT-A 2005                   11.01%              $1,070                                                             $1,070
1506 RBSGC 2005-A [5]            ALT-A 2005                   11.01%              $1,291                                                             $1,291
1507 RBSGC 2007-B [1]            ALT-A 2007                    0.11%               $121                                                               $121
1508 RBSGC 2007-B [2]            ALT-A 2007                    0.11%                  $6                                                                 $6
1509 RBSGC 2007-B [3]            ALT-A 2007                    0.11%                 $24                                                                $24
1510 RYMS 1991-15 [Total]        Prime 1999                   10.70%                 $46             GEMICO (Pool Policy)                               $46
1511 RYMS 1991-16 [Total]        Prime 1999                   24.48%                 $60             GEMICO (Pool Policy)                               $60
1512 SACO 2005-GP1 [Total]    Second Lien 2005               100.00%              $4,458              Assured Guaranty                                   $0
1513 SACO 2005-WM1 [Total]        CES 2005                    20.77%              $3,748                                                             $3,748
1514 SACO 2005-WM3 [Total]        CES 2005                    20.77%              $4,948                                                             $4,948
1515 SACO 2006-1 [Total]      Second Lien 2006                16.36%               $491                      XL                                          $0
1516 SACO 2006-10 [Total]         CES 2006                    47.57%              $1,967                                                             $1,967
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                                                                                                                                  GMACM Recognized
 1               Name              Cohort          GMACM Servicer %     GMACM Claim                      Insurer                       Claim
1517 SACO 2006-12 [1]          Second Lien 2006               23.99%               $181                                                        $181
1518 SACO 2006-12 [2]          Second Lien 2006               23.99%               $444                   CIFG                                    $0
1519 SACO 2006-5 [1]               CES 2006                   41.41%              $1,384                                                      $1,384
1520 SACO 2006-5 [2]               CES 2006                   41.41%              $2,018                                                      $2,018
1521 SACO 2006-6 [A]               CES 2006                   26.65%                 $68                                                         $68
1522 SACO 2006-6 [F]               CES 2006                   26.65%              $2,044                                                      $2,044
1523 SACO 2006-7 [Total]           CES 2006                   17.72%               $464                                                        $464
1524 SACO 2006-9 [A]               CES 2006                   73.38%               $516                                                        $516
1525 SACO 2006-9 [F]               CES 2006                   73.38%              $2,820                                                      $2,820
1526 SACO 2007-1 [1A]              CES 2007                   73.83%               $179                                                        $179
1527 SACO 2007-1 [1F]              CES 2007                   73.83%              $1,035                                                      $1,035
1528 SACO 2007-1 [2A]              CES 2007                   73.83%                 $51                                                         $51
1529 SACO 2007-1 [2F]              CES 2007                   73.83%               $400                                                        $400
1530 SACO 2007-2 [1]               CES 2007                   62.19%              $1,272                                                      $1,272
1531 SACO 2007-2 [2]               CES 2007                   62.19%               $186                                                        $186
1532 SAIL 2005-5 [1A]           Subprime 2005                 10.93%             $14,582                  CIFG                                    $0
1533 SAIL 2005-5 [1F]           Subprime 2005                 10.93%              $3,142                  CIFG                                    $0
1534 SAIL 2005-5 [2A]           Subprime 2005                 10.93%             $17,946                  CIFG                                    $0
1535 SAIL 2005-5 [2F]           Subprime 2005                 10.93%              $3,025                  CIFG                                    $0
1536 SAIL 2005-5 [3A]           Subprime 2005                 10.93%             $14,442                  CIFG                                    $0
1537 SAIL 2005-5 [3F]           Subprime 2005                 10.93%              $3,146                  CIFG                                    $0
1538 SAIL 2005-5 [4A]           Subprime 2005                 10.93%             $18,278                  CIFG                                    $0
1539 SAIL 2005-5 [4F]           Subprime 2005                 10.93%              $3,139                  CIFG                                    $0
1540 SAIL 2005-9 [1A]           Subprime 2005                  0.66%              $1,669                                                      $1,669
1541 SAIL 2005-9 [1F]           Subprime 2005                  0.66%               $361                                                        $361
1542 SAIL 2005-9 [2A]           Subprime 2005                  0.66%               $792                                                        $792
1543 SAIL 2005-9 [2F]           Subprime 2005                  0.66%               $109                                                        $109
1544 SAIL 2005-9 [3A]           Subprime 2005                  0.66%              $3,653                                                      $3,653
1545 SAIL 2005-9 [3F]           Subprime 2005                  0.66%               $649                                                        $649
1546 SAIL 2006-2 [A]            Subprime 2006                  0.78%              $5,099                                                      $5,099
1547 SAIL 2006-2 [F]            Subprime 2006                  0.78%               $960                                                        $960
1548 SAIL 2006-3 [1A]           Subprime 2006                  2.30%             $10,918                                                     $10,918
1549 SAIL 2006-3 [1F]           Subprime 2006                  2.30%              $2,797                                                      $2,797
1550 SAIL 2006-3 [2A]           Subprime 2006                  2.30%              $4,317                                                      $4,317
1551 SAIL 2006-3 [2F]           Subprime 2006                  2.30%              $1,246                                                      $1,246
1552 SAIL 2006-3 [3A]           Subprime 2006                  2.30%             $12,467                                                     $12,467
1553 SAIL 2006-3 [3F]           Subprime 2006                  2.30%              $2,856                                                      $2,856
1554 SAMI 2003-AR1 [1]            Prime 2003                   4.06%               $306                                                        $306
1555 SAMI 2003-AR1 [2]            Prime 2003                   4.06%               $116                                                        $116
1556 SAMI 2003-AR1 [3]            Prime 2003                   4.06%               $181                                                        $181
1557 SAMI 2003-AR1 [4]            Prime 2003                   4.06%                 $49                                                         $49
1558 SAMI 2003-AR1 [5]            Prime 2003                   4.06%                 $27                                                         $27
1559 SAMI 2004-AR6 [1]            ALT-A 2004                   4.25%               $714                                                        $714
1560 SAMI 2004-AR6 [2]            ALT-A 2004                   4.25%               $291                                                        $291
1561 SAMI 2004-AR6 [3]            ALT-A 2004                   4.25%               $142                                                        $142
1562 SAMI 2005-AR1 [1]            ALT-A 2005                   8.56%              $3,278                                                      $3,278
1563 SAMI 2005-AR1 [2]            ALT-A 2005                   8.56%              $1,295                                                      $1,295
1564 SASC 1995-2A [1]             Prime 1999                  27.89%               $659                                                        $659
1565 SASC 1995-2A [2]             Prime 1999                  27.89%               $283                   FGIC                                 $283
1566 SASC 2001-8A [FOUR]          Prime 2001                   9.00%                 $96                                                         $96
1567 SASC 2001-8A [ONE]           Prime 2001                   9.00%                 $40                                                         $40
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                                                                                                                                                              GMACM Recognized
 1               Name            Cohort        GMACM Servicer %     GMACM Claim                                     Insurer                                        Claim
1568 SASC 2001-8A [THREE]       Prime 2001                  9.00%                $18                                                                                         $18
1569 SASC 2001-8A [TWO]         Prime 2001                  9.00%                $19                                                                                         $19
1570 SASC 2001-9 [FIVED]        Prime 2001                  4.50%                 $6                                                                                          $6
1571 SASC 2001-9 [FIVENR]       Prime 2001                  4.50%                $18                                                                                         $18
1572 SASC 2001-9 [FIVER]        Prime 2001                  4.50%                 $0                                                                                          $0
1573 SASC 2001-9 [FOURD]        Prime 2001                  4.50%                 $3                                 MBIA                                                     $0
1574 SASC 2001-9 [FOURNR]       Prime 2001                  4.50%                $39                                 MBIA                                                     $0
1575 SASC 2001-9 [FOURR]        Prime 2001                  4.50%                 $2                                 MBIA                                                     $0
1576 SASC 2001-9 [ONED]         Prime 2001                  4.50%                 $0                                 MBIA                                                     $0
1577 SASC 2001-9 [ONENR]        Prime 2001                  4.50%                $23                                 MBIA                                                     $0
1578 SASC 2001-9 [ONER]         Prime 2001                  4.50%                 $0                                 MBIA                                                     $0
1579 SASC 2001-9 [SIXD]         Prime 2001                  4.50%                $17                                 MBIA                                                     $0
1580 SASC 2001-9 [SIXNR]        Prime 2001                  4.50%                $23                                 MBIA                                                     $0
1581 SASC 2001-9 [SIXR]         Prime 2001                  4.50%                 $1                                 MBIA                                                     $0
1582 SASC 2001-9 [THREE]        Prime 2001                  4.50%                $38                                 MBIA                                                     $0
1583 SASC 2001-9 [TWONR]        Prime 2001                  4.50%                $44                                 MBIA                                                     $0
1584 SASC 2001-9 [TWOR]         Prime 2001                  4.50%                 $2                                 MBIA                                                     $0
1585 SASC 2002-12 [1]           Prime 2002                  9.00%              $252    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                $252
1586 SASC 2002-12 [2]           Prime 2002                  9.00%             $5,596   LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception               $5,596
1587 SASC 2002-12 [3]           Prime 2002                  9.00%              $483    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                $483
1588 SASC 2002-12 [4]           Prime 2002                  9.00%             $4,751   LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception               $4,751
1589 SASC 2002-4H [1]         Subprime 2002                20.87%              $925                                                                                        $925
1590 SASC 2002-4H [2]         Subprime 2002                20.87%              $108                                                                                        $108
1591 SASC 2005-RF1 [Total]    Subprime 2005                 2.90%              $822                                                                                        $822
1592 SASC 2005-RF2 [Total]    Subprime 2005                 9.50%             $6,817                                                                                      $6,817
1593 SASC 2005-RF4 [Total]    Subprime 2005                 7.49%             $7,184                                                                                      $7,184
1594 SASC 2005-RF6 [Total]    Subprime 2005                 6.70%             $3,115                                                                                      $3,115
1595 SASC 2005-S1 [1]            CES 2005                   7.22%              $230                       United Guaranty (Pool Policy)                                    $230
1596 SASC 2005-S1 [2]            CES 2005                   7.22%              $892                                                                                        $892
1597 SASC 2005-S2 [Total]        CES 2005                  22.81%             $2,494                                                                                      $2,494
1598 SASC 2005-S3 [Total]        CES 2005                  39.01%             $7,414                                                                                      $7,414
1599 SASC 2005-S4 [Total]        CES 2005                   0.03%                 $3                                                                                          $3
1600 SASC 2005-S5 [Total]        CES 2005                  14.25%             $1,359                                                                                      $1,359
1601 SASC 2005-S6 [Total]        CES 2005                 100.00%            $15,605                                                                                     $15,605
1602 SASC 2005-S7 [Total]        CES 2005                  86.77%             $2,166                      United Guaranty (Pool Policy)                                   $2,166
1603 SASC 2006-BC2 [1A]       Subprime 2006                 0.90%             $2,379                                                                                      $2,379
1604 SASC 2006-BC2 [1F]       Subprime 2006                 0.90%              $959                                                                                        $959
1605 SASC 2006-BC2 [2A]       Subprime 2006                 0.90%             $2,452                                                                                      $2,452
1606 SASC 2006-BC2 [2F]       Subprime 2006                 0.90%             $1,083                                                                                      $1,083
1607 SASC 2006-S1 [Total]        CES 2006                   4.40%              $218                                                                                        $218
1608 SASC 2007-TC1 [A]        Subprime 2007                 7.75%             $2,910                                                                                      $2,910
1609 SASC 2007-TC1 [F]        Subprime 2007                 7.75%             $1,667                                                                                      $1,667
1610 SASC 2008-RF1 [Total]    Subprime 2008                 5.00%             $1,303                                                                                      $1,303
1611 SASCO 2002-9 [2FR]         Prime 2002                 16.74%                $24                                                                                         $24
1612 SASCO 2002-9 [2L]          Prime 2002                 16.74%                 $4                                                                                          $4
1613 SASCO 2002-9 [A1-MI]       Prime 2002                 16.74%              $824                                                                                        $824
1614 SASCO 2002-9 [A1-NOMI]     Prime 2002                 16.74%              $767                                                                                        $767
1615 SASCO 2002-9 [B1-MI]       Prime 2002                 16.74%              $168                                                                                        $168
1616 SASCO 2002-9 [B1-NOMI]     Prime 2002                 16.74%              $648                                                                                        $648
1617 SASI 1993-6 [CIT1]         Prime 1999                  4.50%                 $5                                                                                          $5
1618 SASI 1993-6 [CWF1]         Prime 1999                  4.50%                 $6                                                                                          $6
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                                                                                                                                              GMACM Recognized
 1               Name             Cohort       GMACM Servicer %     GMACM Claim                             Insurer                                Claim
1619 SASI 1993-6 [GEC1]          Prime 1999                4.50%                  $2                                                                          $2
1620 SASI 1993-6 [ITT2]          Prime 1999                4.50%                  $4                                                                          $4
1621 SASI 1993-6 [ITT3]          Prime 1999                4.50%                  $8       GEMICO (Pool Policy)/FSA - Insurer Exception                       $8
1622 SASI 1993-6 [ITT4]          Prime 1999                4.50%                  $4                                                                          $4
1623 SASI 1993-6 [ITT5]          Prime 1999                4.50%                  $2                                                                          $2
1624 SASI 1993-6 [SASC3]         Prime 1999                4.50%                 $31       GEMICO (Pool Policy)/FSA - Insurer Exception                      $31
1625 SEMT 2004-10 [1]            Prime 2004                7.22%               $734                                                                        $734
1626 SEMT 2004-10 [2]            Prime 2004                7.22%               $737                                                                        $737
1627 SEMT 2004-11 [1]            Prime 2004               13.06%              $1,036                                                                      $1,036
1628 SEMT 2004-11 [2]            Prime 2004               13.06%               $205                                                                        $205
1629 SEMT 2004-11 [3]            Prime 2004               13.06%               $408                                                                        $408
1630 SEMT 2004-12 [1]            Prime 2004               14.63%              $1,842                                                                      $1,842
1631 SEMT 2004-12 [2]            Prime 2004               14.63%              $1,009                                                                      $1,009
1632 SEMT 2004-12 [3]            Prime 2004               14.63%              $1,015                                                                      $1,015
1633 SEMT 2004-3 [1]             Prime 2004               51.23%               $858                                                                        $858
1634 SEMT 2004-3 [2]             Prime 2004               51.23%              $8,038                                                                      $8,038
1635 SEMT 2004-4 [Total]         Prime 2004                2.82%               $510                                                                        $510
1636 SEMT 2004-5 [1]             Prime 2004                3.64%               $339                                                                        $339
1637 SEMT 2004-5 [2A]            Prime 2004                3.64%                 $88                                                                         $88
1638 SEMT 2004-5 [2B]            Prime 2004                3.64%                 $72                                                                         $72
1639 SEMT 2004-6 [1]             Prime 2004                0.11%                 $13                                                                         $13
1640 SEMT 2004-6 [2A]            Prime 2004                0.11%                  $3                                                                          $3
1641 SEMT 2004-6 [2B]            Prime 2004                0.11%                  $2                                                                          $2
1642 SEMT 2004-6 [3]             Prime 2004                0.11%                  $5                                                                          $5
1643 SEMT 2004-7 [1]             Prime 2004                0.79%                 $73                                                                         $73
1644 SEMT 2004-7 [2]             Prime 2004                0.79%                 $37                                                                         $37
1645 SEMT 2004-7 [3]             Prime 2004                0.79%                 $37                                                                         $37
1646 SEMT 2004-8 [1A]            Prime 2004                5.38%               $322                                                                        $322
1647 SEMT 2004-8 [1B]            Prime 2004                5.38%               $286                                                                        $286
1648 SEMT 2004-8 [2]             Prime 2004                5.38%               $697                                                                        $697
1649 SEMT 2004-9 [1]             Prime 2004                7.42%              $1,033                                                                      $1,033
1650 SEMT 2004-9 [2]             Prime 2004                7.42%               $675                                                                        $675
1651 SEMT 2005-1 [1]             Prime 2005               23.83%              $1,765                                                                      $1,765
1652 SEMT 2005-1 [2]             Prime 2005               23.83%               $592                                                                        $592
1653 SEMT 2005-2 [1]             Prime 2005               13.15%               $819                                                                        $819
1654 SEMT 2005-2 [2]             Prime 2005               13.15%               $513                                                                        $513
1655 SEMT 2005-3 [Total]         ALT-A 2005               23.86%              $2,931                                                                      $2,931
1656 SEMT 2005-4 [1]             Prime 2005                2.35%                 $94                                                                         $94
1657 SEMT 2005-4 [2]             Prime 2005                2.35%               $106                                                                        $106
1658 SEMT 2007-1 [1]             Prime 2007               25.14%              $1,758                                                                      $1,758
1659 SEMT 2007-1 [2]             Prime 2007               25.14%             $14,948                                                                     $14,948
1660 SEMT 2007-1 [3]             Prime 2007               25.14%              $2,183                                                                      $2,183
1661 SEMT 2007-1 [4]             Prime 2007               25.14%              $3,672                                                                      $3,672
1662 SEMT 2007-1 [5]             Prime 2007               25.14%              $5,910                                                                      $5,910
1663 SEMT 2007-2 [1]             Prime 2007                8.47%              $4,857                                                                      $4,857
1664 SEMT 2007-2 [2A]            Prime 2007                8.47%              $1,720                                                                      $1,720
1665 SEMT 2007-2 [2B]            Prime 2007                8.47%              $1,330                                                                      $1,330
1666 SEMT 2007-3 [1]             Prime 2007               27.27%             $11,325                                                                     $11,325
1667 SEMT 2007-3 [2A]            Prime 2007               27.27%              $3,631                                                                      $3,631
1668 SEMT 2007-3 [2B]            Prime 2007               27.27%              $2,169                                                                      $2,169
1669 SEMT 2007-3 [2C]            Prime 2007               27.27%              $2,059                                                                      $2,059
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                                                                                                                                                        GMACM Recognized
 1              Name                Cohort          GMACM Servicer %     GMACM Claim                                Insurer                                  Claim
1670 SEMT 2007-4 [1]              Prime 2007                    59.37%             $6,511                                                                           $6,511
1671 SEMT 2007-4 [2]              Prime 2007                    59.37%              $512                                                                             $512
1672 SEMT 2007-4 [3]              Prime 2007                    59.37%             $6,833                                                                           $6,833
1673 SEMT 2007-4 [4]              Prime 2007                    59.37%             $3,481                                                                           $3,481
1674 SEMT 2007-4 [5]              Prime 2007                    59.37%             $2,031                                                                           $2,031
1675 SMART 1993-3A [1]            Prime 1999                     4.50%                 $0                    GEMICO (Pool Policy)                                       $0
1676 SMART 1993-3A [2]            Prime 1999                     4.50%                 $0                    GEMICO (Pool Policy)                                       $0
1677 SMART 1993-3A [3]            Prime 1999                     4.50%                 $3                 GEMICO (Pool Policy)/FGIC                                     $3
1678 SMART 1993-6A [A]            Prime 1999                     4.50%                 $0                    GEMICO (Pool Policy)                                       $0
1679 SMART 1993-6A [B]            Prime 1999                     4.50%                 $6                 FGIC/GEMICO (Pool Policy)                                     $6
1680 SMSC 1992-2 [Total]          Prime 1999                     8.99%                $34           GEMICO (Pool Policy)/PMI (Pool Policy)                             $34
1681 SMSC 1992-3 [Total]          Prime 1999                    43.13%              $190     GEMICO (Pool Policy)/PMI (Pool Policy)/FSI (Pool Policy)                $190
1682 SMSC 1992-4 [Total]          Prime 1999                    44.51%              $522     GEMICO (Pool Policy)/PMI (Pool Policy)/FSI (Pool Policy)                $522
1683 SMSC 1992-6 [Total]          Prime 1999                    47.68%              $157     GEMICO (Pool Policy)/PMI (Pool Policy)/FSA (Pool Policy)                $157
1684 SMSC 1994-2 [Total]          Prime 1999                    26.35%                $90                                                                              $90
     Southwest Savings 1988-1
1685 [Total]                         1999                        4.50%                 $1                                                                               $1
1686 SVHE 2003-2 [1]             Subprime 2003                  53.42%             $5,317                                                                           $5,317
1687 SVHE 2003-2 [2]             Subprime 2003                  53.42%             $2,755                                                                           $2,755
1688 SVHE 2005-A [Total]         Subprime 2005                  45.96%             $7,273                                                                           $7,273
1689 SVHE 2005-B [Total]         Subprime 2005                  65.47%            $11,555                                                                          $11,555
1690 TMTS 2005-13SL [1]         Second Lien 2005               100.00%              $884                              FGIC                                           $884
1691 TMTS 2005-13SL [2]         Second Lien 2005               100.00%              $131                              FGIC                                           $131
1692 TMTS 2005-9HGS [1]         Second Lien 2005               100.00%             $6,828                                                                           $6,828
1693 TMTS 2005-9HGS [2]         Second Lien 2005               100.00%             $1,213                                                                           $1,213
1694 TMTS 2006-2HGS [F]         Second Lien 2006               100.00%            $15,864                             FGIC                                         $15,864
1695 TMTS 2006-2HGS [H]         Second Lien 2006               100.00%             $1,748                             FGIC                                          $1,748
1696 TMTS 2006-HF1 [F]          Second Lien 2006               100.00%             $3,952                                                                           $3,952
1697 TMTS 2006-HF1 [H]          Second Lien 2006               100.00%              $662                                                                             $662
1698 TRUMN 2004-1 [1]            Subprime 2004                   9.00%             $5,983                                                                           $5,983
1699 TRUMN 2004-1 [2]            Subprime 2004                   9.00%              $304                                                                             $304
1700 TRUMN 2005-1 [1]            Subprime 2005                   9.00%             $5,099                                                                           $5,099
1701 TRUMN 2005-1 [2]            Subprime 2005                   9.00%              $223                                                                             $223
1702 TRUMN 2006-1 [1A]           Subprime 2006                   5.00%             $2,045                                                                           $2,045
1703 TRUMN 2006-1 [1F]           Subprime 2006                   5.00%             $2,646                                                                           $2,646
1704 TRUMN 2006-1 [2]            Subprime 2006                   5.00%              $213                                                                             $213
1705                                                                        $17,790,612                                                                       $15,939,445
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                      A                  B                C                D                              E                               F

 1                Name                 Cohort       RFC Servicer %      RFC Claim                      Insurer                   RFC Recognized Claim
 2   AHM 2004-4 [1]                   ALT-A 2004               14.48%           $5,141                                                          $5,141
 3   AHM 2004-4 [2]                   ALT-A 2004               14.48%          $11,797                                                         $11,797
 4   AHM 2004-4 [3]                   ALT-A 2004               14.48%          $11,131                                                         $11,131
 5   AHM 2004-4 [4]                   ALT-A 2004               14.48%          $17,976                                                         $17,976
 6   AHM 2004-4 [5]                   ALT-A 2004               14.48%          $11,743                                                         $11,743
 7   AHM 2004-4 [6]                   ALT-A 2004               14.48%           $7,796                                                          $7,796
 8   AHM 2004-4 [7]                   ALT-A 2004               14.48%           $4,404                  MBIA                                        $0
 9   BAFC 2005-3 [1]                  Prime 2005               16.89%           $2,686                                                          $2,686
10   BAFC 2005-3 [2A]                 Prime 2005               16.89%            $887                                                            $887
11   BAFC 2005-3 [2B]                 Prime 2005               16.89%            $437                                                            $437
12   BAFC 2005-3 [2C]                 Prime 2005               16.89%            $399                                                            $399
13   BAFC 2005-4 [1]                  Prime 2005                6.30%            $274    Assured Guaranty - Insurer Exception                    $274
14   BAFC 2005-4 [2]                  Prime 2005                6.30%            $474    Assured Guaranty - Insurer Exception                    $474
15   BAFC 2005-5 [1]                  Prime 2005               16.22%           $1,247                                                          $1,247
16   BAFC 2005-5 [2]                  Prime 2005               16.22%           $1,167                                                          $1,167
17   BAFC 2005-5 [3]                  Prime 2005               16.22%            $592                                                            $592
18   BAFC 2005-6 [1]                  Prime 2005                6.36%            $962                                                            $962
19   BAFC 2005-6 [2]                  Prime 2005                6.36%           $1,006                                                          $1,006
20   BAFC 2005-7 [1]                  Prime 2005                2.11%            $150                                                            $150
21   BAFC 2005-7 [2]                  Prime 2005                2.11%            $133                                                            $133
22   BAFC 2005-7 [3]                  Prime 2005                2.11%            $239                                                            $239
23   BAFC 2005-7 [4]                  Prime 2005                2.11%            $192                                                            $192
24   BAFC 2005-8 [1]                  Prime 2005                9.20%            $396                                                            $396
25   BAFC 2005-8 [2]                  Prime 2005                9.20%           $1,273                                                          $1,273
26   BAFC 2005-8 [3]                  Prime 2005                9.20%            $216                                                            $216
27   BAFC 2005-8 [4]                  Prime 2005                9.20%           $1,084                                                          $1,084
28   BAFC 2006-1 [1]                  ALT-A 2006               13.02%           $1,852                                                          $1,852
29   BAFC 2006-1 [2]                  ALT-A 2006               13.02%            $794                                                            $794
30   BAFC 2006-1 [3]                  ALT-A 2006               13.02%            $694                                                            $694
31   BAFC 2006-5 [1]                  Prime 2006                5.76%            $577                                                            $577
32   BAFC 2006-5 [2]                  Prime 2006                5.76%            $280                                                            $280
33   BAFC 2006-5 [3]                  Prime 2006                5.76%            $294                                                            $294
34   BAFC 2006-5 [4]                  Prime 2006                5.76%            $969                                                            $969
35   BALTA 2003-1 [1]                 ALT-A 2003                4.50%              $59                                                             $59
36   BALTA 2003-1 [2]                 ALT-A 2003                4.50%              $46                                                             $46
37   BALTA 2005-4 [I]                 ALT-A 2005                0.03%              $20                                                             $20
38   BALTA 2005-4 [II1]               ALT-A 2005                0.03%              $11                                                             $11
39   BALTA 2005-4 [II2]               ALT-A 2005                0.03%              $10                                                             $10
40   BALTA 2005-4 [II3]               ALT-A 2005                0.03%              $59                                                             $59
41   BALTA 2005-4 [II4]               ALT-A 2005                0.03%               $5                                                              $5
42   BALTA 2005-4 [II5]               ALT-A 2005                0.03%               $3                                                              $3
43   BAYV 2004-C [1A]               Subprime 2004               4.00%           $1,160                                                          $1,160
44   BAYV 2004-C [1F]               Subprime 2004               4.00%            $935                                                            $935
45   BAYV 2004-C [1LONG_ARM]        Subprime 2004               4.00%              $98                                                             $98
46   BAYV 2004-D [A]                Subprime 2004               5.00%           $1,827                                                          $1,827
47   BAYV 2004-D [F]                Subprime 2004               5.00%           $1,554                                                          $1,554
48   BAYV 2005-B [1]                Subprime 2005               3.97%            $833                   FGIC                                     $833
49   BAYV 2005-B [2A]               Subprime 2005               3.97%           $1,088                                                          $1,088
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 1               Name                Cohort       RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
50   BAYV 2005-B [2F]             Subprime 2005               3.97%             $194                                        $194
51   BSARM 2005-12 [I-1]            Prime 2005                8.76%            $2,846                                      $2,846
52   BSARM 2005-12 [I-2]            Prime 2005                8.76%            $6,221                                      $6,221
53   BSARM 2005-12 [I-3]            Prime 2005                8.76%            $2,542                                      $2,542
54   BSARM 2005-12 [II-1]           Prime 2005                8.76%             $531                                        $531
55   BSARM 2005-12 [II-2]           Prime 2005                8.76%            $1,249                                      $1,249
56   BSARM 2005-12 [II-3]           Prime 2005                8.76%            $2,497                                      $2,497
57   BSARM 2005-12 [II-4]           Prime 2005                8.76%             $374                                        $374
58   BSARM 2005-12 [II-5]           Prime 2005                8.76%             $623                                        $623
59   CARR 2006-RFC1 [A_2YR]       Subprime 2006             100.00%          $273,060                                    $273,060
60   CARR 2006-RFC1 [A_3YR]       Subprime 2006             100.00%           $46,373                                     $46,373
61   CARR 2006-RFC1 [F]           Subprime 2006             100.00%           $49,752                                     $49,752
62   CARR 2007-RFC1 [1A_1]        Subprime 2007             100.00%          $292,254                                    $292,254
63   CARR 2007-RFC1 [1A_2]        Subprime 2007             100.00%           $69,967                                     $69,967
64   CARR 2007-RFC1 [2F]          Subprime 2007             100.00%          $108,421                                    $108,421
65   CMLTI 2007-AMC2 [1A_GE36]    Subprime 2007              25.68%           $38,996                                     $38,996
66   CMLTI 2007-AMC2 [1A_LE24]    Subprime 2007              25.68%           $64,005                                     $64,005
67   CMLTI 2007-AMC2 [1F]         Subprime 2007              25.68%           $51,512                                     $51,512
68   CMLTI 2007-AMC2 [2A_GE36]    Subprime 2007              25.68%            $8,608                                      $8,608
69   CMLTI 2007-AMC2 [2A_LE24]    Subprime 2007              25.68%           $13,616                                     $13,616
70   CMLTI 2007-AMC2 [2F]         Subprime 2007              25.68%           $14,597                                     $14,597
71   CMLTI 2007-AMC2 [3A_GE36]    Subprime 2007              25.68%           $37,093                                     $37,093
72   CMLTI 2007-AMC2 [3A_LE24]    Subprime 2007              25.68%          $117,616                                    $117,616
73   CMLTI 2007-AMC2 [3F]         Subprime 2007              25.68%           $60,887                                     $60,887
74   CSFB 2002-34 [FOUR]            Prime 2002                5.31%             $593                                        $593
75   CSFB 2002-34 [ONE]             Prime 2002                5.31%             $560                                        $560
76   CSFB 2002-34 [THREE]           Prime 2002                5.31%            $1,035                                      $1,035
77   CSFB 2002-34 [TWO]             Prime 2002                5.31%             $516                                        $516
78   CSFB 2002-AR33 [FIVE]          ALT-A 2002                3.62%               $45                                         $45
79   CSFB 2002-AR33 [FOUR]          ALT-A 2002                3.62%               $13                                         $13
80   CSFB 2002-AR33 [ONE]           ALT-A 2002                3.62%               $28                                         $28
81   CSFB 2002-AR33 [THREE]         ALT-A 2002                3.62%             $141                                        $141
82   CSFB 2002-AR33 [TWO]           ALT-A 2002                3.62%               $34                                         $34
83   CSFB 2003-23 [EIGHT]           Prime 2003                9.70%             $233                                        $233
84   CSFB 2003-23 [FIVE]            Prime 2003                9.70%             $704                                        $704
85   CSFB 2003-23 [FOUR]            Prime 2003                9.70%             $428                                        $428
86   CSFB 2003-23 [ONE]             Prime 2003                9.70%            $1,648                                      $1,648
87   CSFB 2003-23 [SEVEN]           Prime 2003                9.70%             $179                                        $179
88   CSFB 2003-23 [SIX]             Prime 2003                9.70%             $546                                        $546
89   CSFB 2003-23 [THREE]           Prime 2003                9.70%            $1,437                                      $1,437
90   CSFB 2003-23 [TWO]             Prime 2003                9.70%             $778                                        $778
91   DBALT 2005-AR2 [1]             ALT-A 2005               17.87%            $4,793                                      $4,793
92   DBALT 2005-AR2 [2]             ALT-A 2005               17.87%            $2,351                                      $2,351
93   DBALT 2005-AR2 [3]             ALT-A 2005               17.87%            $2,208                                      $2,208
94   DBALT 2005-AR2 [4]             ALT-A 2005               17.87%            $4,555                                      $4,555
95   DBALT 2005-AR2 [5]             ALT-A 2005               17.87%            $3,352                                      $3,352
96   DBALT 2005-AR2 [6]             ALT-A 2005               17.87%            $1,695                                      $1,695
97   DBALT 2005-AR2 [7]             ALT-A 2005               17.87%            $1,408                                      $1,408
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                    A                B                 C                D                        E                            F

  1               Name            Cohort         RFC Servicer %      RFC Claim                Insurer                RFC Recognized Claim
 98 DBALT 2007-RMP1 [A]          ALT-A 2007                100.00%          $26,508                                                $26,508
 99 DBALT 2007-RMP1 [F]          ALT-A 2007                100.00%          $78,434                                                $78,434
100 DMSI 2004-5 [Total]          ALT-A 2004                 38.89%          $33,125            FGIC                                $33,125
101 FMRMT 2003-A [Total]            2003                    50.00%            $928                                                   $928
102 FNR 2002-66 [FIVE]         Subprime 2002                 4.50%           $1,297   FNMA/FNMA (Agency Wrap)                           $0
103 FNR 2002-66 [FOUR]         Subprime 2002                 4.50%           $1,832   FNMA/FNMA (Agency Wrap)                           $0
104 FNR 2002-66 [ONE]          Subprime 2002                 4.50%           $7,395   FNMA/FNMA (Agency Wrap)                           $0
105 GRCAP 1991-4 [Total]         Prime 1999                  4.50%              $12                                                    $12
106 GSAMP 2004-SD1 [Total]     Subprime 2004                 0.75%            $482                                                   $482
107 GSR 2005-AR7 [1]             Prime 2005                  9.00%            $749                                                   $749
108 GSR 2005-AR7 [2]             Prime 2005                  9.00%           $2,845                                                 $2,845
109 GSR 2005-AR7 [3]             Prime 2005                  9.00%            $675                                                   $675
110 GSR 2005-AR7 [4]             Prime 2005                  9.00%            $863                                                   $863
111 GSR 2005-AR7 [5]             Prime 2005                  9.00%            $926                                                   $926
112 GSR 2005-AR7 [6]             Prime 2005                  9.00%           $4,856                                                 $4,856
113 GSR 2006-AR2 [1]             Prime 2006                 15.60%           $1,127                                                 $1,127
114 GSR 2006-AR2 [2]             Prime 2006                 15.60%           $2,771                                                 $2,771
115 GSR 2006-AR2 [3]             Prime 2006                 15.60%           $4,953                                                 $4,953
116 GSR 2006-AR2 [4]             Prime 2006                 15.60%           $4,244                                                 $4,244
117 GSR 2006-AR2 [5]             Prime 2006                 15.60%           $6,389                                                 $6,389
118 GSR 2007-AR1 [1]             Prime 2007                 15.91%           $1,937                                                 $1,937
119 GSR 2007-AR1 [2]             Prime 2007                 15.91%          $28,186                                                $28,186
120 GSR 2007-AR1 [3]             Prime 2007                 15.91%           $4,181                                                 $4,181
121 GSR 2007-AR1 [4]             Prime 2007                 15.91%           $1,583                                                 $1,583
122 GSR 2007-AR1 [5]             Prime 2007                 15.91%           $3,441                                                 $3,441
123 GSR 2007-AR1 [6]             Prime 2007                 15.91%           $2,327                                                 $2,327
124 GSR 2007-HEL1 [Total]     Second Lien 2007             100.00%            $238            MBIA                                      $0
125 GSRPM 2002-1A [Total]      Subprime 2002                 4.50%           $4,413           Ambac                                 $4,413
126 GSRPM 2004-1 [1A]          Subprime 2004                 4.50%            $594                                                   $594
127 GSRPM 2004-1 [1F]          Subprime 2004                 4.50%           $1,733                                                 $1,733
128 GSRPM 2004-1 [2]           Subprime 2004                 4.50%              $96                                                    $96
129 HALO 2007-AR2 [I]            ALT-A 2007                  0.33%              $22                                                    $22
130 HALO 2007-AR2 [II]           ALT-A 2007                  0.33%            $196                                                   $196
131 HALO 2007-AR2 [III]          ALT-A 2007                  0.33%              $95                                                    $95
132 HALO 2007-AR2 [IV]           ALT-A 2007                  0.33%              $53                                                    $53
133 IMM 2002-9F [Total]          ALT-A 2002                 50.00%           $3,068                                                 $3,068
134 IMM 2003-2F [Total]          ALT-A 2003                 50.00%           $3,030                                                 $3,030
135 IMM 2003-9F [Total]          ALT-A 2003                 56.09%           $3,874                                                 $3,874
136 IMM 2004-10 [1A]             ALT-A 2004                 46.05%          $57,540            FGIC                                $57,540
137 IMM 2004-10 [1F]             ALT-A 2004                 46.05%           $5,185            FGIC                                 $5,185
138 IMM 2004-10 [2A]             ALT-A 2004                 46.05%          $37,269            FGIC                                $37,269
139 IMM 2004-10 [2F]             ALT-A 2004                 46.05%           $3,500            FGIC                                 $3,500
140 IMM 2004-10 [2S]             ALT-A 2004                 46.05%           $1,255            FGIC                                 $1,255
141 IMM 2004-10 [3A]             ALT-A 2004                 46.05%          $15,003                                                $15,003
142 IMM 2004-10 [3F]             ALT-A 2004                 46.05%            $723                                                   $723
143 IMM 2004-10 [4A]             ALT-A 2004                 46.05%          $10,344                                                $10,344
144 IMM 2004-4 [1]               ALT-A 2004                  8.04%           $4,995                                                 $4,995
145 IMM 2004-4 [2]               ALT-A 2004                  8.04%            $957                                                   $957
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 1                Name             Cohort          RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
146 IMM 2004-5 [1_1ST_ARM]        ALT-A 2004                   2.63%            $1,592                                      $1,592
147 IMM 2004-5 [1_1ST_FIX]        ALT-A 2004                   2.63%               $99                                         $99
148 IMM 2004-5 [1_2ND]            ALT-A 2004                   2.63%               $59                                         $59
149 IMM 2004-5 [2]                ALT-A 2004                   2.63%             $132                                        $132
150 IMM 2004-7 [1]                ALT-A 2004                  50.00%           $55,671                                     $55,671
151 IMM 2004-7 [2]                ALT-A 2004                  50.00%           $36,960    AMBAC                            $36,960
152 IMM 2004-8 [1]                ALT-A 2004                  46.81%           $25,125     FGIC                            $25,125
153 IMM 2004-8 [2]                ALT-A 2004                  46.81%           $34,226     FGIC                            $34,226
154 IMM 2004-8 [3]                ALT-A 2004                  46.81%            $4,049                                      $4,049
155 IMM 2005-1 [1A]               ALT-A 2005                  48.73%           $42,144                                     $42,144
156 IMM 2005-1 [1F]               ALT-A 2005                  48.73%            $1,168                                      $1,168
157 IMM 2005-1 [2A]               ALT-A 2005                  48.73%           $37,825                                     $37,825
158 IMM 2005-1 [2F]               ALT-A 2005                  48.73%             $913                                        $913
159 IMM 2005-4 [1]                ALT-A 2005                  46.24%          $129,156                                    $129,156
160 IMM 2005-4 [2]                ALT-A 2005                  46.24%            $8,899                                      $8,899
161 IMM 2005-8 [1]                ALT-A 2005                  36.07%           $52,574                                     $52,574
162 IMM 2005-8 [2]                ALT-A 2005                  36.07%           $19,499                                     $19,499
163 IMSA 2002-2 [Total]           ALT-A 2002                  50.00%            $4,590                                      $4,590
164 IMSA 2003-1 [Total]           ALT-A 2003                  50.00%            $3,872                                      $3,872
165 IMSA 2003-3 [Total]           ALT-A 2003                  50.00%            $8,633                                      $8,633
166 IMSA 2004-1 [Total]           ALT-A 2004                  50.00%            $8,811                                      $8,811
167 IMSA 2004-2 [Total]           ALT-A 2004                  50.00%           $13,746                                     $13,746
168 IMSA 2006-1 [1A1]             ALT-A 2006                  32.62%           $17,477                                     $17,477
169 IMSA 2006-1 [1A2_ARM]         ALT-A 2006                  32.62%           $42,215                                     $42,215
170 IMSA 2006-1 [1A2_FIX]         ALT-A 2006                  32.62%           $22,733                                     $22,733
171 IMSA 2006-1 [2_170]           ALT-A 2006                  32.62%           $12,778                                     $12,778
172 IMSA 2006-1 [2_REG]           ALT-A 2006                  32.62%           $19,770                                     $19,770
173 IMSA 2006-2 [11A2]            ALT-A 2006                  34.93%           $12,547                                     $12,547
174 IMSA 2006-2 [11A3]            ALT-A 2006                  34.93%           $17,675                                     $17,675
175 IMSA 2006-2 [11A5]            ALT-A 2006                  34.93%           $47,637                                     $47,637
176 IMSA 2006-2 [11FIX]           ALT-A 2006                  34.93%            $1,511                                      $1,511
177 IMSA 2006-2 [22REG]           ALT-A 2006                  34.93%           $23,379                                     $23,379
178 IMSA 2006-2 [22SPEC]          ALT-A 2006                  34.93%           $10,440                                     $10,440
179 LMT 2006-7 [1]                ALT-A 2006                   0.43%             $254                                        $254
180 LMT 2006-7 [2]                ALT-A 2006                   0.43%             $486                                        $486
181 LMT 2006-7 [3]                ALT-A 2006                   0.43%             $301                                        $301
182 LMT 2006-7 [4]                ALT-A 2006                   0.43%               $83                                         $83
183 LUM 2006-3 [I_1]              ALT-A 2006                  28.35%           $20,643                                     $20,643
184 LUM 2006-3 [I_2]              ALT-A 2006                  28.35%           $19,897                                     $19,897
185 LUM 2006-3 [II_1]             ALT-A 2006                  28.35%            $6,123                                      $6,123
186 LUM 2006-3 [II_2]             ALT-A 2006                  28.35%           $19,036                                     $19,036
187 LUM 2006-3 [II_3]             ALT-A 2006                  28.35%            $9,286                                      $9,286
188 LUM 2006-5 [Total]       Pay Option ARM 2006              51.86%          $117,475                                    $117,475
189 LXS 2006-12N [1_A1]           ALT-A 2006                  16.77%            $4,146                                      $4,146
190 LXS 2006-12N [1_A2]           ALT-A 2006                  16.77%           $33,752                                     $33,752
191 LXS 2006-12N [1_A3]           ALT-A 2006                  16.77%            $2,499                                      $2,499
192 LXS 2006-12N [1_A4]           ALT-A 2006                  16.77%           $45,968                                     $45,968
193 LXS 2006-12N [1_F]            ALT-A 2006                  16.77%           $19,258                                     $19,258
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 1                Name             Cohort          RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
194 LXS 2006-12N [2_A1]           ALT-A 2006                  16.77%           $2,541                                       $2,541
195 LXS 2006-12N [2_A2]           ALT-A 2006                  16.77%           $3,791                                       $3,791
196 LXS 2006-12N [2_A3]           ALT-A 2006                  16.77%           $1,097                                       $1,097
197 LXS 2006-12N [2_A4]           ALT-A 2006                  16.77%          $32,334                                      $32,334
198 LXS 2006-GP1 [1]              ALT-A 2006                  50.00%          $37,662                                      $37,662
199 LXS 2006-GP1 [2]              ALT-A 2006                  50.00%          $40,493                                      $40,493
200 LXS 2006-GP1 [3]              ALT-A 2006                  50.00%          $83,833                                      $83,833
201 LXS 2006-GP2 [1_1]            ALT-A 2006                  50.00%          $31,995                                      $31,995
202 LXS 2006-GP2 [1_2]            ALT-A 2006                  50.00%          $40,471                                      $40,471
203 LXS 2006-GP2 [1_3]            ALT-A 2006                  50.00%          $50,886                                      $50,886
204 LXS 2006-GP2 [2_1]            ALT-A 2006                  50.00%          $11,618                                      $11,618
205 LXS 2006-GP2 [2_2]            ALT-A 2006                  50.00%          $14,848                                      $14,848
206 LXS 2006-GP2 [2_3]            ALT-A 2006                  50.00%          $31,808                                      $31,808
207 LXS 2006-GP2 [3_1]            ALT-A 2006                  50.00%           $8,625                                       $8,625
208 LXS 2006-GP2 [3_2]            ALT-A 2006                  50.00%           $9,601                                       $9,601
209 LXS 2006-GP2 [3_3]            ALT-A 2006                  50.00%          $21,190                                      $21,190
210 LXS 2006-GP3 [1_1]            ALT-A 2006                  50.00%          $12,385                                      $12,385
211 LXS 2006-GP3 [1_2]            ALT-A 2006                  50.00%          $12,839                                      $12,839
212 LXS 2006-GP3 [1_3]            ALT-A 2006                  50.00%          $32,315                                      $32,315
213 LXS 2006-GP3 [2_1]            ALT-A 2006                  50.00%           $5,911                                       $5,911
214 LXS 2006-GP3 [2_2]            ALT-A 2006                  50.00%          $14,213                                      $14,213
215 LXS 2006-GP3 [2_3]            ALT-A 2006                  50.00%          $18,255                                      $18,255
216 LXS 2006-GP3 [3_1]            ALT-A 2006                  50.00%          $25,386                                      $25,386
217 LXS 2006-GP3 [3_2]            ALT-A 2006                  50.00%          $30,702                                      $30,702
218 LXS 2006-GP3 [3_3]            ALT-A 2006                  50.00%          $41,661                                      $41,661
219 MANA 2007-A2 [1]              ALT-A 2007                   3.30%           $4,266                                       $4,266
220 MANA 2007-A2 [2]              ALT-A 2007                   3.30%           $4,340                                       $4,340
221 MANA 2007-A2 [3]              ALT-A 2007                   3.30%          $10,999                                      $10,999
222 MANA 2007-OAR3 [Total]   Pay Option ARM 2007              46.88%          $96,181                                      $96,181
223 MARM 2006-OA2 [1]        Pay Option ARM 2006               4.19%          $18,858      FSA                                  $0
224 MARM 2006-OA2 [2]        Pay Option ARM 2006               4.19%          $12,218      FSA                                  $0
225 MARM 2006-OA2 [3]        Pay Option ARM 2006               4.19%           $3,129                                       $3,129
226 MARM 2006-OA2 [4]        Pay Option ARM 2006               4.19%          $14,782      FSA                                  $0
227 MARM 2007-1 [11M0]            ALT-A 2007                   3.27%           $1,076                                       $1,076
228 MARM 2007-1 [11M1]            ALT-A 2007                   3.27%           $1,238                                       $1,238
229 MARM 2007-1 [11M2]            ALT-A 2007                   3.27%            $336                                         $336
230 MARM 2007-1 [11M3]            ALT-A 2007                   3.27%           $2,881                                       $2,881
231 MARM 2007-1 [11T0]            ALT-A 2007                   3.27%            $271                                         $271
232 MARM 2007-1 [11T1]            ALT-A 2007                   3.27%              $89                                          $89
233 MARM 2007-1 [11T2]            ALT-A 2007                   3.27%              $42                                          $42
234 MARM 2007-1 [11T3]            ALT-A 2007                   3.27%            $168                                         $168
235 MARM 2007-1 [12M0]            ALT-A 2007                   3.27%           $4,234      FSA                                  $0
236 MARM 2007-1 [12M1]            ALT-A 2007                   3.27%           $3,687      FSA                                  $0
237 MARM 2007-1 [12M2]            ALT-A 2007                   3.27%           $1,568      FSA                                  $0
238 MARM 2007-1 [12M3]            ALT-A 2007                   3.27%           $6,996      FSA                                  $0
239 MARM 2007-1 [12T0]            ALT-A 2007                   3.27%           $2,872      FSA                                  $0
240 MARM 2007-1 [12T1]            ALT-A 2007                   3.27%            $618       FSA                                  $0
241 MARM 2007-1 [12T2]            ALT-A 2007                   3.27%            $220       FSA                                  $0
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 1               Name                 Cohort       RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
242 MARM 2007-1 [12T3]               ALT-A 2007                3.27%            $1,356     FSA                                  $0
243 MARM 2007-1 [2]                  ALT-A 2007                3.27%            $2,692                                      $2,692
244 MASD 2007-1 [A]                Subprime 2007             100.00%          $228,989                                    $228,989
245 MASD 2007-1 [F]                Subprime 2007             100.00%           $78,179                                     $78,179
246 MASD 2007-2 [A]                Subprime 2007             100.00%          $199,813                                    $199,813
247 MASD 2007-2 [F]                Subprime 2007             100.00%           $55,788                                     $55,788
248 PRIME 2006-1 [Total]             ALT-A 2006               10.93%            $6,711                                      $6,711
249 RAAC 2004-RP1 [1A]             Subprime 2004             100.00%           $35,726                                     $35,726
250 RAAC 2004-RP1 [1F]             Subprime 2004             100.00%           $28,385                                     $28,385
251 RAAC 2004-RP1 [2A]             Subprime 2004             100.00%           $26,333                                     $26,333
252 RAAC 2004-RP1 [2F]             Subprime 2004             100.00%           $30,022                                     $30,022
253 RAAC 2004-SP1 [1]                ALT-A 2004              100.00%           $15,526                                     $15,526
254 RAAC 2004-SP1 [2]                ALT-A 2004              100.00%            $8,215                                      $8,215
255 RAAC 2004-SP2 [1]                Prime 2004              100.00%            $1,805                                      $1,805
256 RAAC 2004-SP2 [2]                Prime 2004              100.00%            $5,468                                      $5,468
257 RAAC 2004-SP3 [1]                ALT-A 2004              100.00%           $11,399                                     $11,399
258 RAAC 2004-SP3 [2]                ALT-A 2004              100.00%           $13,231                                     $13,231
259 RAAC 2005-RP1 [1]              Subprime 2005             100.00%          $109,256                                    $109,256
260 RAAC 2005-RP1 [2]              Subprime 2005             100.00%           $77,423                                     $77,423
261 RAAC 2005-RP2 [A]              Subprime 2005             100.00%          $110,752                                    $110,752
262 RAAC 2005-RP2 [F]              Subprime 2005             100.00%           $93,221                                     $93,221
263 RAAC 2005-RP3 [A]              Subprime 2005             100.00%          $172,072                                    $172,072
264 RAAC 2005-RP3 [F]              Subprime 2005             100.00%           $89,675                                     $89,675
265 RAAC 2005-SP1 [1]                Prime 2005              100.00%            $4,257                                      $4,257
266 RAAC 2005-SP1 [2]                Prime 2005              100.00%            $7,094                                      $7,094
267 RAAC 2005-SP1 [3]                Prime 2005              100.00%            $3,830                                      $3,830
268 RAAC 2005-SP1 [4]                Prime 2005              100.00%            $2,755                                      $2,755
269 RAAC 2005-SP2 [1A]               ALT-A 2005              100.00%           $31,377                                     $31,377
270 RAAC 2005-SP2 [1F]               ALT-A 2005              100.00%           $11,914                                     $11,914
271 RAAC 2005-SP2 [2A]               ALT-A 2005              100.00%           $51,271                                     $51,271
272 RAAC 2005-SP2 [2F]               ALT-A 2005              100.00%           $20,965                                     $20,965
273 RAAC 2005-SP3 [A]              Subprime 2005             100.00%           $46,045                                     $46,045
274 RAAC 2005-SP3 [F]              Subprime 2005             100.00%           $45,130                                     $45,130
275 RAAC 2006-RP1 [A]              Subprime 2006             100.00%          $144,788                                    $144,788
276 RAAC 2006-RP1 [F]              Subprime 2006             100.00%           $89,174                                     $89,174
277 RAAC 2006-RP2 [A]              Subprime 2006             100.00%          $259,369                                    $259,369
278 RAAC 2006-RP2 [F]              Subprime 2006             100.00%          $128,454                                    $128,454
279 RAAC 2006-RP3 [A]              Subprime 2006             100.00%          $253,430                                    $253,430
280 RAAC 2006-RP3 [F]              Subprime 2006             100.00%          $102,109                                    $102,109
281 RAAC 2006-RP4 [A]              Subprime 2006             100.00%          $206,098                                    $206,098
282 RAAC 2006-RP4 [F]              Subprime 2006             100.00%          $113,490                                    $113,490
283 RAAC 2006-SP1 [A]              Subprime 2006             100.00%          $129,663                                    $129,663
284 RAAC 2006-SP1 [F]              Subprime 2006             100.00%           $29,405                                     $29,405
285 RAAC 2006-SP2 [1F]             Subprime 2006             100.00%           $36,528                                     $36,528
286 RAAC 2006-SP2 [2F]             Subprime 2006             100.00%            $7,727                                      $7,727
287 RAAC 2006-SP2 [A]              Subprime 2006             100.00%          $110,167                                    $110,167
288 RAAC 2006-SP3 [A]              Subprime 2006             100.00%           $70,221                                     $70,221
289 RAAC 2006-SP3 [F1]             Subprime 2006             100.00%           $35,160                                     $35,160
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 1                Name                Cohort       RFC Servicer %      RFC Claim                 Insurer                     RFC Recognized Claim
290 RAAC 2006-SP3 [F2]             Subprime 2006             100.00%            $5,171                                                      $5,171
291 RAAC 2006-SP4 [A]              Subprime 2006             100.00%           $63,880                                                     $63,880
292 RAAC 2006-SP4 [F1]             Subprime 2006             100.00%           $30,597                                                     $30,597
293 RAAC 2006-SP4 [F2]             Subprime 2006             100.00%            $4,693                                                      $4,693
294 RAAC 2007-RP1 [A]              Subprime 2007             100.00%          $189,242                                                    $189,242
295 RAAC 2007-RP1 [F]              Subprime 2007             100.00%           $65,161                                                     $65,161
296 RAAC 2007-RP2 [A]              Subprime 2007             100.00%          $178,970                                                    $178,970
297 RAAC 2007-RP2 [F]              Subprime 2007             100.00%           $47,366                                                     $47,366
298 RAAC 2007-RP3 [A]              Subprime 2007             100.00%          $199,548                                                    $199,548
299 RAAC 2007-RP3 [F]              Subprime 2007             100.00%           $61,861                                                     $61,861
300 RAAC 2007-RP4 [A]              Subprime 2007             100.00%          $149,199                                                    $149,199
301 RAAC 2007-RP4 [F]              Subprime 2007             100.00%           $47,038                                                     $47,038
302 RAAC 2007-SP1 [A]              Subprime 2007             100.00%           $54,425                                                     $54,425
303 RAAC 2007-SP1 [F_1]            Subprime 2007             100.00%           $56,501                                                     $56,501
304 RAAC 2007-SP1 [F_2]            Subprime 2007             100.00%            $2,442                                                      $2,442
305 RAAC 2007-SP2 [A]              Subprime 2007             100.00%          $107,289                                                    $107,289
306 RAAC 2007-SP2 [F_1]            Subprime 2007             100.00%           $63,156                                                     $63,156
307 RAAC 2007-SP2 [F_2]            Subprime 2007             100.00%            $4,918                                                      $4,918
308 RAAC 2007-SP3 [A]              Subprime 2007             100.00%          $132,067                                                    $132,067
309 RAAC 2007-SP3 [F]              Subprime 2007             100.00%           $40,168                                                     $40,168
310 RALI 1999-QS4 [Total]            ALT-A 1999              100.00%            $1,726                                                      $1,726
311 RALI 2001-QS13 [Total]           ALT-A 2001              100.00%            $2,100                                                      $2,100
312 RALI 2001-QS16 [Total]           ALT-A 2001              100.00%            $5,913                                                      $5,913
313 RALI 2001-QS17 [Total]           ALT-A 2001              100.00%            $7,646   MBIA - Insurer Exception                           $7,646
314 RALI 2001-QS18 [Total]           ALT-A 2001              100.00%           $10,300                                                     $10,300
315 RALI 2001-QS19 [Total]           ALT-A 2001              100.00%            $2,906                                                      $2,906
316 RALI 2002-QS1 [Total]            ALT-A 2002              100.00%            $7,874                                                      $7,874
317 RALI 2002-QS10 [Total]           ALT-A 2002              100.00%            $5,121                                                      $5,121
318 RALI 2002-QS11 [Total]           ALT-A 2002              100.00%            $9,818                                                      $9,818
319 RALI 2002-QS12 [Total]           ALT-A 2002              100.00%           $15,554                                                     $15,554
320 RALI 2002-QS13 [Total]           ALT-A 2002              100.00%            $2,801                                                      $2,801
321 RALI 2002-QS14 [Total]           ALT-A 2002              100.00%            $7,157                                                      $7,157
322 RALI 2002-QS15 [1]               ALT-A 2002              100.00%            $7,140                                                      $7,140
323 RALI 2002-QS15 [2]               ALT-A 2002              100.00%            $7,124   MBIA - Insurer Exception                           $7,124
324 RALI 2002-QS16 [Total]           ALT-A 2002              100.00%            $2,540                                                      $2,540
325 RALI 2002-QS17 [1]               ALT-A 2002              100.00%            $9,831                                                      $9,831
326 RALI 2002-QS17 [2]               ALT-A 2002              100.00%           $10,023                                                     $10,023
327 RALI 2002-QS18 [Total]           ALT-A 2002              100.00%            $3,299                                                      $3,299
328 RALI 2002-QS19 [Total]           ALT-A 2002              100.00%           $31,379                                                     $31,379
329 RALI 2002-QS2 [Total]            ALT-A 2002              100.00%            $6,599                                                      $6,599
330 RALI 2002-QS3 [Total]            ALT-A 2002              100.00%           $16,049                                                     $16,049
331 RALI 2002-QS4 [Total]            ALT-A 2002              100.00%            $1,689                                                      $1,689
332 RALI 2002-QS5 [Total]            ALT-A 2002              100.00%           $16,270                                                     $16,270
333 RALI 2002-QS6 [Total]            ALT-A 2002              100.00%           $16,790                                                     $16,790
334 RALI 2002-QS7 [Total]            ALT-A 2002              100.00%            $7,847                                                      $7,847
335 RALI 2002-QS8 [Total]            ALT-A 2002              100.00%            $1,466                                                      $1,466
336 RALI 2002-QS9 [Total]            ALT-A 2002              100.00%            $9,272                                                      $9,272
337 RALI 2003-QA1 [1]                ALT-A 2003              100.00%            $5,622                                                      $5,622
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                     A                 B               C                D                        E                                 F

 1                Name              Cohort       RFC Servicer %      RFC Claim                Insurer                     RFC Recognized Claim
338 RALI 2003-QA1 [2]              ALT-A 2003              100.00%           $4,211                                                      $4,211
339 RALI 2003-QS1 [Total]          ALT-A 2003              100.00%          $27,394   MBIA - Insurer Exception                          $27,394
340 RALI 2003-QS10 [Total]         ALT-A 2003              100.00%          $26,644                                                     $26,644
341 RALI 2003-QS11 [Total]         ALT-A 2003              100.00%          $38,720                                                     $38,720
342 RALI 2003-QS12 [Total]         ALT-A 2003              100.00%           $4,216                                                      $4,216
343 RALI 2003-QS13 [Total]         ALT-A 2003              100.00%          $34,189                                                     $34,189
344 RALI 2003-QS14 [Total]         ALT-A 2003              100.00%           $3,467                                                      $3,467
345 RALI 2003-QS15 [Total]         ALT-A 2003              100.00%          $32,151                                                     $32,151
346 RALI 2003-QS16 [Total]         ALT-A 2003              100.00%           $5,258                                                      $5,258
347 RALI 2003-QS17 [1]             ALT-A 2003              100.00%           $6,415                                                      $6,415
348 RALI 2003-QS17 [2]             ALT-A 2003              100.00%          $23,142                                                     $23,142
349 RALI 2003-QS17 [3]             ALT-A 2003              100.00%           $8,545                                                      $8,545
350 RALI 2003-QS18 [Total]         ALT-A 2003              100.00%           $2,745                                                      $2,745
351 RALI 2003-QS19 [1]             ALT-A 2003              100.00%           $9,247                                                      $9,247
352 RALI 2003-QS19 [2]             ALT-A 2003              100.00%          $11,169                                                     $11,169
353 RALI 2003-QS19 [3]             ALT-A 2003              100.00%           $7,372                                                      $7,372
354 RALI 2003-QS2 [Total]          ALT-A 2003              100.00%          $18,273                                                     $18,273
355 RALI 2003-QS20 [1]             ALT-A 2003              100.00%           $1,028                                                      $1,028
356 RALI 2003-QS20 [2]             ALT-A 2003              100.00%           $3,749                                                      $3,749
357 RALI 2003-QS21 [Total]         ALT-A 2003              100.00%          $23,604                                                     $23,604
358 RALI 2003-QS22 [Total]         ALT-A 2003              100.00%          $14,282                                                     $14,282
359 RALI 2003-QS23 [Total]         ALT-A 2003              100.00%           $3,027                                                      $3,027
360 RALI 2003-QS3 [Total]          ALT-A 2003              100.00%           $2,633                                                      $2,633
361 RALI 2003-QS4 [Total]          ALT-A 2003              100.00%          $18,364                                                     $18,364
362 RALI 2003-QS5 [Total]          ALT-A 2003              100.00%           $7,189                                                      $7,189
363 RALI 2003-QS6 [Total]          ALT-A 2003              100.00%          $15,021                                                     $15,021
364 RALI 2003-QS7 [Total]          ALT-A 2003              100.00%          $13,808                                                     $13,808
365 RALI 2003-QS8 [Total]          ALT-A 2003              100.00%          $16,777   MBIA - Insurer Exception                          $16,777
366 RALI 2003-QS9 [Total]          ALT-A 2003              100.00%           $3,062                                                      $3,062
367 RALI 2004-QA1 [1_2YR]          ALT-A 2004              100.00%           $1,546                                                      $1,546
368 RALI 2004-QA1 [1_3YR]          ALT-A 2004              100.00%           $3,804                                                      $3,804
369 RALI 2004-QA1 [1_5YR]          ALT-A 2004              100.00%           $4,680                                                      $4,680
370 RALI 2004-QA1 [2_2YR]          ALT-A 2004              100.00%            $265                                                        $265
371 RALI 2004-QA1 [2_3YR]          ALT-A 2004              100.00%           $1,951                                                      $1,951
372 RALI 2004-QA1 [2_5YR]          ALT-A 2004              100.00%           $2,130                                                      $2,130
373 RALI 2004-QA2 [1]              ALT-A 2004              100.00%          $26,995                                                     $26,995
374 RALI 2004-QA2 [2]              ALT-A 2004              100.00%          $11,937                                                     $11,937
375 RALI 2004-QA3 [CB-I]           ALT-A 2004              100.00%           $6,031                                                      $6,031
376 RALI 2004-QA3 [CB-II]          ALT-A 2004              100.00%           $6,753                                                      $6,753
377 RALI 2004-QA3 [NB-I]           ALT-A 2004              100.00%           $3,328                                                      $3,328
378 RALI 2004-QA3 [NB-II]          ALT-A 2004              100.00%           $5,318                                                      $5,318
379 RALI 2004-QA4 [CBI]            ALT-A 2004              100.00%           $8,529                                                      $8,529
380 RALI 2004-QA4 [NBI]            ALT-A 2004              100.00%           $3,016                                                      $3,016
381 RALI 2004-QA4 [NBII]           ALT-A 2004              100.00%          $10,512                                                     $10,512
382 RALI 2004-QA4 [NBIII]          ALT-A 2004              100.00%           $1,118                                                      $1,118
383 RALI 2004-QA5 [1]              ALT-A 2004              100.00%           $4,956                                                      $4,956
384 RALI 2004-QA5 [2]              ALT-A 2004              100.00%           $3,893                                                      $3,893
385 RALI 2004-QA5 [3]              ALT-A 2004              100.00%          $19,911                                                     $19,911
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                     A                 B               C                D                  E                        F

 1                Name              Cohort       RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
386 RALI 2004-QA6 [1]              ALT-A 2004              100.00%           $15,625                                     $15,625
387 RALI 2004-QA6 [2]              ALT-A 2004              100.00%           $12,711                                     $12,711
388 RALI 2004-QA6 [3]              ALT-A 2004              100.00%           $32,930                                     $32,930
389 RALI 2004-QA6 [4]              ALT-A 2004              100.00%           $16,658                                     $16,658
390 RALI 2004-QA6 [5]              ALT-A 2004              100.00%           $13,794                                     $13,794
391 RALI 2004-QA6 [6]              ALT-A 2004              100.00%           $10,274                                     $10,274
392 RALI 2004-QS1 [Total]          ALT-A 2004              100.00%           $22,588                                     $22,588
393 RALI 2004-QS10 [Total]         ALT-A 2004              100.00%           $16,432                                     $16,432
394 RALI 2004-QS11 [Total]         ALT-A 2004              100.00%           $12,081                                     $12,081
395 RALI 2004-QS12 [Total]         ALT-A 2004              100.00%           $28,885                                     $28,885
396 RALI 2004-QS13 [CB]            ALT-A 2004              100.00%            $2,585                                      $2,585
397 RALI 2004-QS13 [NB]            ALT-A 2004              100.00%             $388                                        $388
398 RALI 2004-QS14 [Total]         ALT-A 2004              100.00%           $16,449                                     $16,449
399 RALI 2004-QS15 [Total]         ALT-A 2004              100.00%           $16,898                                     $16,898
400 RALI 2004-QS16 [1]             ALT-A 2004              100.00%           $34,217                                     $34,217
401 RALI 2004-QS16 [2]             ALT-A 2004              100.00%            $8,262                                      $8,262
402 RALI 2004-QS2 [AI]             ALT-A 2004              100.00%            $5,110                                      $5,110
403 RALI 2004-QS2 [CB]             ALT-A 2004              100.00%           $18,626                                     $18,626
404 RALI 2004-QS3 [CB]             ALT-A 2004              100.00%            $3,467                                      $3,467
405 RALI 2004-QS3 [I]              ALT-A 2004              100.00%             $359                                        $359
406 RALI 2004-QS3 [II]             ALT-A 2004              100.00%             $763                                        $763
407 RALI 2004-QS4 [Total]          ALT-A 2004              100.00%           $19,161                                     $19,161
408 RALI 2004-QS5 [Total]          ALT-A 2004              100.00%           $20,683                                     $20,683
409 RALI 2004-QS6 [Total]          ALT-A 2004              100.00%            $4,037                                      $4,037
410 RALI 2004-QS7 [Total]          ALT-A 2004              100.00%           $38,435                                     $38,435
411 RALI 2004-QS8 [Total]          ALT-A 2004              100.00%           $18,618                                     $18,618
412 RALI 2004-QS9 [Total]          ALT-A 2004              100.00%            $4,142                                      $4,142
413 RALI 2005-QA1 [Total]          ALT-A 2005              100.00%           $42,209                                     $42,209
414 RALI 2005-QA10 [1]             ALT-A 2005              100.00%            $8,842                                      $8,842
415 RALI 2005-QA10 [2]             ALT-A 2005              100.00%           $35,776                                     $35,776
416 RALI 2005-QA10 [3]             ALT-A 2005              100.00%           $93,696                                     $93,696
417 RALI 2005-QA10 [4]             ALT-A 2005              100.00%           $32,982                                     $32,982
418 RALI 2005-QA11 [1]             ALT-A 2005              100.00%            $5,903                                      $5,903
419 RALI 2005-QA11 [2]             ALT-A 2005              100.00%           $19,305                                     $19,305
420 RALI 2005-QA11 [3]             ALT-A 2005              100.00%           $14,092                                     $14,092
421 RALI 2005-QA11 [4]             ALT-A 2005              100.00%           $48,895                                     $48,895
422 RALI 2005-QA11 [5]             ALT-A 2005              100.00%           $26,203                                     $26,203
423 RALI 2005-QA11 [6]             ALT-A 2005              100.00%           $10,749                                     $10,749
424 RALI 2005-QA12 [1]             ALT-A 2005              100.00%           $20,273                                     $20,273
425 RALI 2005-QA12 [2]             ALT-A 2005              100.00%           $13,386                                     $13,386
426 RALI 2005-QA12 [3]             ALT-A 2005              100.00%           $17,307                                     $17,307
427 RALI 2005-QA12 [4]             ALT-A 2005              100.00%           $11,182                                     $11,182
428 RALI 2005-QA12 [5]             ALT-A 2005              100.00%           $11,681                                     $11,681
429 RALI 2005-QA13 [1]             ALT-A 2005              100.00%           $30,697                                     $30,697
430 RALI 2005-QA13 [2]             ALT-A 2005              100.00%          $125,662                                    $125,662
431 RALI 2005-QA13 [3]             ALT-A 2005              100.00%           $15,326                                     $15,326
432 RALI 2005-QA2 [A1I]            ALT-A 2005              100.00%            $6,769                                      $6,769
433 RALI 2005-QA2 [A1II]           ALT-A 2005              100.00%            $8,349                                      $8,349
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                     A                 B                   C                D                  E                        F

 1                Name              Cohort           RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
434 RALI 2005-QA2 [CBI]            ALT-A 2005                  100.00%           $15,783                                     $15,783
435 RALI 2005-QA2 [CBII]           ALT-A 2005                  100.00%           $23,797                                     $23,797
436 RALI 2005-QA2 [NBI]            ALT-A 2005                  100.00%            $9,841                                      $9,841
437 RALI 2005-QA2 [NBII]           ALT-A 2005                  100.00%           $12,513                                     $12,513
438 RALI 2005-QA3 [1]              ALT-A 2005                  100.00%           $23,393                                     $23,393
439 RALI 2005-QA3 [2]              ALT-A 2005                  100.00%           $15,900                                     $15,900
440 RALI 2005-QA3 [3]              ALT-A 2005                  100.00%           $20,612                                     $20,612
441 RALI 2005-QA3 [4]              ALT-A 2005                  100.00%            $9,969                                      $9,969
442 RALI 2005-QA3 [5]              ALT-A 2005                  100.00%            $2,825                                      $2,825
443 RALI 2005-QA3 [6]              ALT-A 2005                  100.00%            $1,541                                      $1,541
444 RALI 2005-QA3 [7]              ALT-A 2005                  100.00%            $8,432                                      $8,432
445 RALI 2005-QA3 [8]              ALT-A 2005                  100.00%            $4,674                                      $4,674
446 RALI 2005-QA4 [1]              ALT-A 2005                  100.00%           $21,141                                     $21,141
447 RALI 2005-QA4 [2]              ALT-A 2005                  100.00%           $14,839                                     $14,839
448 RALI 2005-QA4 [3]              ALT-A 2005                  100.00%           $27,683                                     $27,683
449 RALI 2005-QA4 [4]              ALT-A 2005                  100.00%           $16,288                                     $16,288
450 RALI 2005-QA4 [5]              ALT-A 2005                  100.00%            $4,009                                      $4,009
451 RALI 2005-QA5 [1]              ALT-A 2005                  100.00%            $9,060                                      $9,060
452 RALI 2005-QA5 [2]              ALT-A 2005                  100.00%            $8,923                                      $8,923
453 RALI 2005-QA6 [1]              ALT-A 2005                  100.00%           $33,022                                     $33,022
454 RALI 2005-QA6 [2]              ALT-A 2005                  100.00%           $22,030                                     $22,030
455 RALI 2005-QA6 [3]              ALT-A 2005                  100.00%           $26,899                                     $26,899
456 RALI 2005-QA6 [4]              ALT-A 2005                  100.00%           $17,229                                     $17,229
457 RALI 2005-QA6 [5]              ALT-A 2005                  100.00%            $6,423                                      $6,423
458 RALI 2005-QA7 [1]              ALT-A 2005                  100.00%           $20,986                                     $20,986
459 RALI 2005-QA7 [2]              ALT-A 2005                  100.00%           $75,529                                     $75,529
460 RALI 2005-QA8 [1]              ALT-A 2005                  100.00%           $21,455                                     $21,455
461 RALI 2005-QA8 [2]              ALT-A 2005                  100.00%           $11,588                                     $11,588
462 RALI 2005-QA8 [3]              ALT-A 2005                  100.00%           $34,161                                     $34,161
463 RALI 2005-QA8 [4]              ALT-A 2005                  100.00%           $14,590                                     $14,590
464 RALI 2005-QA8 [5]              ALT-A 2005                  100.00%            $9,940                                      $9,940
465 RALI 2005-QA8 [6]               ALT-A 2005                 100.00%            $7,200                                      $7,200
466 RALI 2005-QA9 [1]               ALT-A 2005                 100.00%           $24,489                                     $24,489
467 RALI 2005-QA9 [2]               ALT-A 2005                 100.00%           $12,696                                     $12,696
468 RALI 2005-QA9 [3]               ALT-A 2005                 100.00%           $80,020                                     $80,020
469 RALI 2005-QA9 [4]               ALT-A 2005                 100.00%           $43,548                                     $43,548
470 RALI 2005-QO1 [Total]      Pay Option Arm 2005             100.00%          $187,209                                    $187,209
471 RALI 2005-QO2 [Total]      Pay Option Arm 2005             100.00%          $115,989                                    $115,989
472 RALI 2005-QO3 [Total]      Pay Option Arm 2005             100.00%          $150,607                                    $150,607
473 RALI 2005-QO4 [1]          Pay Option Arm 2005             100.00%           $80,827                                     $80,827
474 RALI 2005-QO4 [2]          Pay Option Arm 2005             100.00%          $163,587                                    $163,587
475 RALI 2005-QO5 [Total]      Pay Option Arm 2005             100.00%          $457,420                                    $457,420
476 RALI 2005-QS1 [Total]           ALT-A 2005                 100.00%           $21,883                                     $21,883
477 RALI 2005-QS10 [1]              ALT-A 2005                 100.00%            $8,375                                      $8,375
478 RALI 2005-QS10 [2]              ALT-A 2005                 100.00%           $10,852                                     $10,852
479 RALI 2005-QS10 [3]              ALT-A 2005                 100.00%           $19,217                                     $19,217
480 RALI 2005-QS11 [Total]          ALT-A 2005                 100.00%           $33,353                                     $33,353
481 RALI 2005-QS12 [Total]          ALT-A 2005                 100.00%           $79,725                                     $79,725
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                     A                 B               C                D                  E                        F

 1                Name              Cohort       RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
482 RALI 2005-QS13 [1]             ALT-A 2005              100.00%           $54,440                                     $54,440
483 RALI 2005-QS13 [2]             ALT-A 2005              100.00%           $54,682                                     $54,682
484 RALI 2005-QS14 [1]             ALT-A 2005              100.00%           $21,593                                     $21,593
485 RALI 2005-QS14 [2]             ALT-A 2005              100.00%           $20,381                                     $20,381
486 RALI 2005-QS14 [3]             ALT-A 2005              100.00%           $59,582                                     $59,582
487 RALI 2005-QS15 [1]             ALT-A 2005              100.00%           $19,204                                     $19,204
488 RALI 2005-QS15 [2]             ALT-A 2005              100.00%            $9,740                                      $9,740
489 RALI 2005-QS15 [3]             ALT-A 2005              100.00%           $60,952                                     $60,952
490 RALI 2005-QS16 [Total]         ALT-A 2005              100.00%           $89,810                                     $89,810
491 RALI 2005-QS17 [Total]         ALT-A 2005              100.00%          $132,419                                    $132,419
492 RALI 2005-QS2 [Total]          ALT-A 2005              100.00%           $24,797                                     $24,797
493 RALI 2005-QS3 [1I1]            ALT-A 2005              100.00%           $13,530                                     $13,530
494 RALI 2005-QS3 [2]              ALT-A 2005              100.00%           $12,012                                     $12,012
495 RALI 2005-QS3 [3I2]            ALT-A 2005              100.00%           $29,396                                     $29,396
496 RALI 2005-QS4 [Total]          ALT-A 2005              100.00%           $24,839                                     $24,839
497 RALI 2005-QS5 [Total]          ALT-A 2005              100.00%           $31,485    Radian                                $0
498 RALI 2005-QS6 [Total]          ALT-A 2005              100.00%           $39,411                                     $39,411
499 RALI 2005-QS7 [1]              ALT-A 2005              100.00%           $35,825                                     $35,825
500 RALI 2005-QS7 [2]              ALT-A 2005              100.00%           $14,311                                     $14,311
501 RALI 2005-QS8 [Total]          ALT-A 2005              100.00%            $5,943                                      $5,943
502 RALI 2005-QS9 [Total]          ALT-A 2005              100.00%           $67,038                                     $67,038
503 RALI 2006-QA1 [1]              ALT-A 2006              100.00%           $37,220                                     $37,220
504 RALI 2006-QA1 [2]              ALT-A 2006              100.00%          $124,155                                    $124,155
505 RALI 2006-QA1 [3]              ALT-A 2006              100.00%           $35,940                                     $35,940
506 RALI 2006-QA10 [Total]         ALT-A 2006              100.00%          $206,725                                    $206,725
507 RALI 2006-QA11 [Total]         ALT-A 2006              100.00%          $212,485                                    $212,485
508 RALI 2006-QA2 [1]              ALT-A 2006              100.00%          $116,045                                    $116,045
509 RALI 2006-QA2 [2]              ALT-A 2006              100.00%           $18,656                                     $18,656
510 RALI 2006-QA2 [3]              ALT-A 2006              100.00%           $13,146                                     $13,146
511 RALI 2006-QA3 [Total]          ALT-A 2006              100.00%          $146,731                                    $146,731
512 RALI 2006-QA4 [1]              ALT-A 2006              100.00%          $124,563                                    $124,563
513 RALI 2006-QA5 [1]              ALT-A 2006              100.00%          $263,144                                    $263,144
514 RALI 2006-QA5 [2]              ALT-A 2006              100.00%           $38,479                                     $38,479
515 RALI 2006-QA6 [Total]          ALT-A 2006              100.00%          $275,962                                    $275,962
516 RALI 2006-QA7 [1]              ALT-A 2006              100.00%          $110,915                                    $110,915
517 RALI 2006-QA7 [2]              ALT-A 2006              100.00%          $164,795                                    $164,795
518 RALI 2006-QA8 [Total]          ALT-A 2006              100.00%          $391,941                                    $391,941
519 RALI 2006-QA9 [Total]          ALT-A 2006              100.00%          $146,306                                    $146,306
520 RALI 2006-QS1 [Total]          ALT-A 2006              100.00%           $74,113                                     $74,113
521 RALI 2006-QS10 [Total]         ALT-A 2006              100.00%          $163,499                                    $163,499
522 RALI 2006-QS11 [1]             ALT-A 2006              100.00%          $229,859                                    $229,859
523 RALI 2006-QS11 [2]             ALT-A 2006              100.00%           $12,095                                     $12,095
524 RALI 2006-QS12 [I]             ALT-A 2006              100.00%           $49,299                                     $49,299
525 RALI 2006-QS12 [II]            ALT-A 2006              100.00%          $144,264                                    $144,264
526 RALI 2006-QS13 [1]             ALT-A 2006              100.00%          $149,677                                    $149,677
527 RALI 2006-QS13 [2]             ALT-A 2006              100.00%           $29,001                                     $29,001
528 RALI 2006-QS14 [Total]         ALT-A 2006              100.00%          $258,553                                    $258,553
529 RALI 2006-QS15 [Total]         ALT-A 2006              100.00%          $184,129                                    $184,129
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 1                Name               Cohort        RFC Servicer %      RFC Claim                 Insurer                  RFC Recognized Claim
530 RALI 2006-QS16 [Total]           ALT-A 2006              100.00%          $272,656                                                 $272,656
531 RALI 2006-QS17 [Total]           ALT-A 2006              100.00%          $202,851                                                 $202,851
532 RALI 2006-QS18 [1]               ALT-A 2006              100.00%          $131,283                                                 $131,283
533 RALI 2006-QS18 [2]               ALT-A 2006              100.00%          $305,867                                                 $305,867
534 RALI 2006-QS18 [3]               ALT-A 2006              100.00%           $42,274                                                  $42,274
535 RALI 2006-QS2 [1]                ALT-A 2006              100.00%          $171,033                                                 $171,033
536 RALI 2006-QS2 [2]                ALT-A 2006              100.00%           $26,396                                                  $26,396
537 RALI 2006-QS2 [3]                ALT-A 2006              100.00%            $3,571                                                   $3,571
538 RALI 2006-QS3 [1]                ALT-A 2006              100.00%          $132,924                                                 $132,924
539 RALI 2006-QS3 [2]                ALT-A 2006              100.00%          $168,397                                                 $168,397
540 RALI 2006-QS4 [Total]            ALT-A 2006              100.00%          $215,106                                                 $215,106
541 RALI 2006-QS5 [Total]            ALT-A 2006              100.00%          $210,158                                                 $210,158
542 RALI 2006-QS6 [1]                ALT-A 2006              100.00%          $227,700                                                 $227,700
543 RALI 2006-QS6 [2]                ALT-A 2006              100.00%           $32,287                                                  $32,287
544 RALI 2006-QS7 [Total]            ALT-A 2006              100.00%          $190,078                                                 $190,078
545 RALI 2006-QS8 [Total]            ALT-A 2006              100.00%          $361,089                                                 $361,089
546 RALI 2006-QS9 [1]                ALT-A 2006              100.00%          $146,480                                                 $146,480
547 RALI 2006-QS9 [2]                ALT-A 2006              100.00%           $37,247                                                  $37,247
548 RALI 2007-QA1 [Total]            ALT-A 2007              100.00%          $200,937                                                 $200,937
549 RALI 2007-QA2 [Total]            ALT-A 2007              100.00%          $186,838                                                 $186,838
550 RALI 2007-QA3 [Total]            ALT-A 2007              100.00%          $498,890                                                 $498,890
551 RALI 2007-QA4 [Total]            ALT-A 2007              100.00%          $152,802                                                 $152,802
552 RALI 2007-QA5 [1]                ALT-A 2007              100.00%          $132,875                                                 $132,875
553 RALI 2007-QA5 [2]                ALT-A 2007              100.00%           $89,821                                                  $89,821
554 RALI 2007-QA5 [3]                ALT-A 2007              100.00%           $27,897                                                  $27,897
555 RALI 2007-QS1 [1]                ALT-A 2007              100.00%          $147,720                                                 $147,720
556 RALI 2007-QS1 [2]                ALT-A 2007              100.00%          $297,924                                                 $297,924
557 RALI 2007-QS10 [Total]           ALT-A 2007              100.00%          $173,468                                                 $173,468
558 RALI 2007-QS11 [Total]           ALT-A 2007              100.00%          $114,477                                                 $114,477
559 RALI 2007-QS2 [Total]            ALT-A 2007              100.00%          $215,179                                                 $215,179
560 RALI 2007-QS3 [Total]            ALT-A 2007              100.00%          $429,222                                                 $429,222
561 RALI 2007-QS4 [I]                ALT-A 2007              100.00%           $20,327                                                  $20,327
562 RALI 2007-QS4 [II]               ALT-A 2007              100.00%           $79,993                                                  $79,993
563 RALI 2007-QS4 [III]              ALT-A 2007              100.00%          $121,534                                                 $121,534
564 RALI 2007-QS4 [IV]               ALT-A 2007              100.00%           $21,489                                                  $21,489
565 RALI 2007-QS4 [V]                ALT-A 2007              100.00%           $36,469                                                  $36,469
566 RALI 2007-QS5 [Total]            ALT-A 2007              100.00%          $158,754                                                 $158,754
567 RALI 2007-QS6 [Total]            ALT-A 2007              100.00%          $295,237                                                 $295,237
568 RALI 2007-QS7 [1]                ALT-A 2007              100.00%          $186,880                                                 $186,880
569 RALI 2007-QS7 [2]                ALT-A 2007              100.00%           $96,097                                                  $96,097
570 RALI 2007-QS8 [Total]            ALT-A 2007              100.00%          $234,889                                                 $234,889
571 RALI 2007-QS9 [Total]            ALT-A 2007              100.00%          $268,099                                                 $268,099
572 RAMP 2001-RS2 [1]              Subprime 2001             100.00%           $21,615                                                  $21,615
573 RAMP 2001-RS2 [2]              Subprime 2001             100.00%           $15,529                                                  $15,529
574 RAMP 2002-RS2 [1]              Subprime 2002             100.00%           $57,455   AMBAC - Insurer Exception                      $57,455
575 RAMP 2002-RS2 [2]              Subprime 2002             100.00%           $11,582                                                  $11,582
576 RAMP 2002-RS3 [1]              Subprime 2002             100.00%           $66,644                                                  $66,644
577 RAMP 2002-RS3 [2]              Subprime 2002             100.00%           $21,774                                                  $21,774
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                   A                   B                C                D                         E                              F

 1               Name               Cohort        RFC Servicer %      RFC Claim                 Insurer                  RFC Recognized Claim
578 RAMP 2002-RZ2 [Total]         Subprime 2002             100.00%           $37,943                                                  $37,943
579 RAMP 2002-RZ3 [Total]         Subprime 2002             100.00%           $64,028                                                  $64,028
580 RAMP 2002-SL1 [1]             Subprime 2002             100.00%            $2,395                                                   $2,395
581 RAMP 2002-SL1 [2A]            Subprime 2002             100.00%               $68                                                      $68
582 RAMP 2002-SL1 [2B]            Subprime 2002             100.00%             $162                                                     $162
583 RAMP 2002-SL1 [2C]            Subprime 2002             100.00%             $404                                                     $404
584 RAMP 2002-SL1 [2D]            Subprime 2002             100.00%             $794                                                     $794
585 RAMP 2003-RS10 [1]            Subprime 2003             100.00%           $91,773                                                  $91,773
586 RAMP 2003-RS10 [2A]           Subprime 2003             100.00%          $131,465                                                 $131,465
587 RAMP 2003-RS10 [2B]           Subprime 2003             100.00%           $97,968                                                  $97,968
588 RAMP 2003-RS7 [1]             Subprime 2003             100.00%          $146,858   AMBAC - Insurer Exception                     $146,858
589 RAMP 2003-RS7 [2A]            Subprime 2003             100.00%           $76,149                                                  $76,149
590 RAMP 2003-RS7 [2B]            Subprime 2003             100.00%           $43,514                                                  $43,514
591 RAMP 2003-SL1 [1]             Subprime 2003             100.00%            $2,187                                                   $2,187
592 RAMP 2003-SL1 [2]             Subprime 2003             100.00%             $966                                                     $966
593 RAMP 2003-SL1 [3]             Subprime 2003             100.00%           $14,658                                                  $14,658
594 RAMP 2003-SL1 [4]             Subprime 2003             100.00%            $5,945                                                   $5,945
595 RAMP 2004-KR1 [1]             Subprime 2004             100.00%           $73,469                                                  $73,469
596 RAMP 2004-KR1 [2]             Subprime 2004             100.00%           $73,469                                                  $73,469
597 RAMP 2004-KR2 [1]             Subprime 2004             100.00%           $32,425                                                  $32,425
598 RAMP 2004-KR2 [2]             Subprime 2004             100.00%           $32,425                                                  $32,425
599 RAMP 2004-RS10 [1]            Subprime 2004             100.00%           $93,898                                                  $93,898
600 RAMP 2004-RS10 [2]            Subprime 2004             100.00%          $297,343                                                 $297,343
601 RAMP 2004-RS11 [A]            Subprime 2004             100.00%          $232,761                                                 $232,761
602 RAMP 2004-RS11 [F]            Subprime 2004             100.00%           $64,210                                                  $64,210
603 RAMP 2004-RS12 [1]            Subprime 2004             100.00%           $85,896                                                  $85,896
604 RAMP 2004-RS12 [2]            Subprime 2004             100.00%          $218,702                                                 $218,702
605 RAMP 2004-RS2 [1]             Subprime 2004             100.00%           $77,587                                                  $77,587
606 RAMP 2004-RS2 [2A]            Subprime 2004             100.00%          $108,621                                                 $108,621
607 RAMP 2004-RS2 [2B]            Subprime 2004             100.00%           $60,659                                                  $60,659
608 RAMP 2004-RS3 [1]             Subprime 2004             100.00%          $112,209                                                 $112,209
609 RAMP 2004-RS3 [2]             Subprime 2004             100.00%           $22,442                                                  $22,442
610 RAMP 2004-RS4 [1]             Subprime 2004             100.00%          $109,884                                                 $109,884
611 RAMP 2004-RS4 [2A]            Subprime 2004             100.00%           $96,148                                                  $96,148
612 RAMP 2004-RS4 [2B]            Subprime 2004             100.00%           $96,148                                                  $96,148
613 RAMP 2004-RS6 [1]             Subprime 2004             100.00%           $78,327                                                  $78,327
614 RAMP 2004-RS6 [2A]            Subprime 2004             100.00%          $136,738                                                 $136,738
615 RAMP 2004-RS6 [2B]            Subprime 2004             100.00%           $46,024                                                  $46,024
616 RAMP 2004-RS8 [1]             Subprime 2004             100.00%           $98,436                                                  $98,436
617 RAMP 2004-RS8 [2]             Subprime 2004             100.00%          $154,686                                                 $154,686
618 RAMP 2004-RZ1 [1]             Subprime 2004             100.00%           $49,836                                                  $49,836
619 RAMP 2004-RZ1 [2]             Subprime 2004             100.00%           $24,535                                                  $24,535
620 RAMP 2004-RZ3 [1]             Subprime 2004             100.00%           $25,473                                                  $25,473
621 RAMP 2004-RZ3 [2]             Subprime 2004             100.00%           $28,472                                                  $28,472
622 RAMP 2004-RZ4 [A]             Subprime 2004             100.00%           $23,415                                                  $23,415
623 RAMP 2004-RZ4 [F]             Subprime 2004             100.00%           $17,561                                                  $17,561
624 RAMP 2004-SL1 [EIGHT]         Subprime 2004             100.00%           $12,685                                                  $12,685
625 RAMP 2004-SL1 [FIVE]          Subprime 2004             100.00%            $3,050                                                   $3,050
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 1               Name              Cohort        RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
626 RAMP 2004-SL1 [FOUR]         Subprime 2004             100.00%            $4,674                                      $4,674
627 RAMP 2004-SL1 [NINE]         Subprime 2004             100.00%            $2,088                                      $2,088
628 RAMP 2004-SL1 [ONE]          Subprime 2004             100.00%           $11,185                                     $11,185
629 RAMP 2004-SL1 [SEVEN]        Subprime 2004             100.00%           $15,639                                     $15,639
630 RAMP 2004-SL1 [SIX]          Subprime 2004             100.00%            $1,682                                      $1,682
631 RAMP 2004-SL1 [THREE]        Subprime 2004             100.00%            $2,843                                      $2,843
632 RAMP 2004-SL1 [TWO]          Subprime 2004             100.00%             $422                                        $422
633 RAMP 2004-SL2 [1]            Subprime 2004             100.00%            $9,169                                      $9,169
634 RAMP 2004-SL2 [2]            Subprime 2004             100.00%            $8,752                                      $8,752
635 RAMP 2004-SL2 [3]            Subprime 2004             100.00%           $14,170                                     $14,170
636 RAMP 2004-SL2 [4]            Subprime 2004             100.00%            $9,762                                      $9,762
637 RAMP 2004-SL3 [1]            Subprime 2004             100.00%            $2,569                                      $2,569
638 RAMP 2004-SL3 [2]            Subprime 2004             100.00%            $6,155                                      $6,155
639 RAMP 2004-SL3 [3]            Subprime 2004             100.00%            $4,272                                      $4,272
640 RAMP 2004-SL3 [4]            Subprime 2004             100.00%            $3,444                                      $3,444
641 RAMP 2004-SL4 [1]            Subprime 2004             100.00%            $2,670                                      $2,670
642 RAMP 2004-SL4 [2]            Subprime 2004             100.00%            $1,433                                      $1,433
643 RAMP 2004-SL4 [3]            Subprime 2004             100.00%            $3,831                                      $3,831
644 RAMP 2004-SL4 [4]            Subprime 2004             100.00%            $2,384                                      $2,384
645 RAMP 2004-SL4 [5]            Subprime 2004             100.00%            $1,969                                      $1,969
646 RAMP 2005-EFC1 [1A]          Subprime 2005             100.00%          $164,391                                    $164,391
647 RAMP 2005-EFC1 [1F]          Subprime 2005             100.00%           $16,872                                     $16,872
648 RAMP 2005-EFC1 [2A]          Subprime 2005             100.00%          $134,891                                    $134,891
649 RAMP 2005-EFC1 [2F]          Subprime 2005             100.00%           $22,233                                     $22,233
650 RAMP 2005-EFC2 [A]           Subprime 2005             100.00%          $230,103                                    $230,103
651 RAMP 2005-EFC2 [F]           Subprime 2005             100.00%           $30,031                                     $30,031
652 RAMP 2005-EFC3 [1A]          Subprime 2005             100.00%          $133,739                                    $133,739
653 RAMP 2005-EFC3 [1F]          Subprime 2005             100.00%            $9,524                                      $9,524
654 RAMP 2005-EFC3 [2A]          Subprime 2005             100.00%          $116,027                                    $116,027
655 RAMP 2005-EFC3 [2F]          Subprime 2005             100.00%           $26,977                                     $26,977
656 RAMP 2005-EFC4 [A]           Subprime 2005             100.00%          $252,917                                    $252,917
657 RAMP 2005-EFC4 [F]           Subprime 2005             100.00%           $39,713                                     $39,713
658 RAMP 2005-EFC5 [A]           Subprime 2005             100.00%          $237,531                                    $237,531
659 RAMP 2005-EFC5 [F]           Subprime 2005             100.00%           $34,431                                     $34,431
660 RAMP 2005-EFC6 [1A]          Subprime 2005             100.00%          $171,337                                    $171,337
661 RAMP 2005-EFC6 [1F]          Subprime 2005             100.00%           $27,454                                     $27,454
662 RAMP 2005-EFC6 [2A]          Subprime 2005             100.00%           $77,262                                     $77,262
663 RAMP 2005-EFC6 [2F]          Subprime 2005             100.00%            $9,811                                      $9,811
664 RAMP 2005-RS1 [1]            Subprime 2005             100.00%           $78,713                                     $78,713
665 RAMP 2005-RS1 [2]            Subprime 2005             100.00%          $228,267                                    $228,267
666 RAMP 2005-RS2 [1A]           Subprime 2005             100.00%          $148,280                                    $148,280
667 RAMP 2005-RS2 [1F]           Subprime 2005             100.00%           $26,389                                     $26,389
668 RAMP 2005-RS2 [2A]           Subprime 2005             100.00%           $52,018                                     $52,018
669 RAMP 2005-RS2 [2F]           Subprime 2005             100.00%           $15,340                                     $15,340
670 RAMP 2005-RS3 [1AA]          Subprime 2005             100.00%           $64,787                                     $64,787
671 RAMP 2005-RS3 [1AF]          Subprime 2005             100.00%           $31,216                                     $31,216
672 RAMP 2005-RS3 [1BA]          Subprime 2005             100.00%           $77,094                                     $77,094
673 RAMP 2005-RS3 [1BF]          Subprime 2005             100.00%           $18,895                                     $18,895
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 1               Name              Cohort        RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
674 RAMP 2005-RS3 [2]            Subprime 2005             100.00%           $34,268                                     $34,268
675 RAMP 2005-RS4 [A]            Subprime 2005             100.00%          $137,203                                    $137,203
676 RAMP 2005-RS4 [F]            Subprime 2005             100.00%           $38,056                                     $38,056
677 RAMP 2005-RS5 [1A]           Subprime 2005             100.00%           $54,047                                     $54,047
678 RAMP 2005-RS5 [1F]           Subprime 2005             100.00%           $14,969                                     $14,969
679 RAMP 2005-RS5 [2A]           Subprime 2005             100.00%           $59,064                                     $59,064
680 RAMP 2005-RS5 [2F]           Subprime 2005             100.00%            $9,870                                      $9,870
681 RAMP 2005-RS6 [1A]           Subprime 2005             100.00%          $174,589                                    $174,589
682 RAMP 2005-RS6 [1F]           Subprime 2005             100.00%           $40,256                                     $40,256
683 RAMP 2005-RS6 [2A]           Subprime 2005             100.00%          $143,721                                    $143,721
684 RAMP 2005-RS6 [2F]           Subprime 2005             100.00%           $27,221                                     $27,221
685 RAMP 2005-RS7 [A]            Subprime 2005             100.00%          $111,079                                    $111,079
686 RAMP 2005-RS7 [F]            Subprime 2005             100.00%           $71,988                                     $71,988
687 RAMP 2005-RS8 [AG5]          Subprime 2005             100.00%           $51,002                                     $51,002
688 RAMP 2005-RS8 [AL5]          Subprime 2005             100.00%          $151,716                                    $151,716
689 RAMP 2005-RS8 [F]            Subprime 2005             100.00%           $68,419                                     $68,419
690 RAMP 2005-RZ1 [A]            Subprime 2005             100.00%           $20,873                                     $20,873
691 RAMP 2005-RZ1 [F]            Subprime 2005             100.00%           $11,095                                     $11,095
692 RAMP 2005-RZ2 [1A]           Subprime 2005             100.00%           $38,097                                     $38,097
693 RAMP 2005-RZ2 [1F]           Subprime 2005             100.00%            $9,124                                      $9,124
694 RAMP 2005-RZ2 [2A]           Subprime 2005             100.00%           $37,976                                     $37,976
695 RAMP 2005-RZ2 [2F]           Subprime 2005             100.00%            $9,245                                      $9,245
696 RAMP 2005-RZ3 [A]            Subprime 2005             100.00%          $109,061                                    $109,061
697 RAMP 2005-RZ3 [F]            Subprime 2005             100.00%           $28,535                                     $28,535
698 RAMP 2005-RZ4 [A]            Subprime 2005             100.00%           $95,731                                     $95,731
699 RAMP 2005-RZ4 [F]            Subprime 2005             100.00%           $29,128                                     $29,128
700 RAMP 2005-SL1 [1]              ALT-A 2005              100.00%            $2,852                                      $2,852
701 RAMP 2005-SL1 [2]              ALT-A 2005              100.00%            $2,132                                      $2,132
702 RAMP 2005-SL1 [3]              ALT-A 2005              100.00%            $3,080                                      $3,080
703 RAMP 2005-SL1 [4]              ALT-A 2005              100.00%            $5,776                                      $5,776
704 RAMP 2005-SL1 [5]              ALT-A 2005              100.00%            $5,307                                      $5,307
705 RAMP 2005-SL1 [6]              ALT-A 2005              100.00%            $2,638                                      $2,638
706 RAMP 2005-SL1 [7]              ALT-A 2005              100.00%            $9,567                                      $9,567
707 RAMP 2005-SL2 [1]              ALT-A 2005              100.00%            $6,333                                      $6,333
708 RAMP 2005-SL2 [2]              ALT-A 2005              100.00%            $4,513                                      $4,513
709 RAMP 2005-SL2 [3]              ALT-A 2005              100.00%            $5,386                                      $5,386
710 RAMP 2005-SL2 [4]              ALT-A 2005              100.00%            $6,347                                      $6,347
711 RAMP 2005-SL2 [5]              ALT-A 2005              100.00%            $4,940                                      $4,940
712 RAMP 2006-EFC1 [A]           Subprime 2006             100.00%          $217,597                                    $217,597
713 RAMP 2006-EFC1 [F]           Subprime 2006             100.00%           $48,157                                     $48,157
714 RAMP 2006-EFC2 [A]           Subprime 2006             100.00%          $138,253                                    $138,253
715 RAMP 2006-EFC2 [F]           Subprime 2006             100.00%           $48,326                                     $48,326
716 RAMP 2006-NC1 [A]            Subprime 2006             100.00%          $264,068                                    $264,068
717 RAMP 2006-NC1 [F]            Subprime 2006             100.00%           $66,452                                     $66,452
718 RAMP 2006-NC2 [A]            Subprime 2006             100.00%          $416,395                                    $416,395
719 RAMP 2006-NC2 [F]            Subprime 2006             100.00%          $118,081                                    $118,081
720 RAMP 2006-NC3 [A]            Subprime 2006             100.00%          $304,157                                    $304,157
721 RAMP 2006-NC3 [F]            Subprime 2006             100.00%           $92,153                                     $92,153
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 1                Name              Cohort        RFC Servicer %      RFC Claim             Insurer                   RFC Recognized Claim
722 RAMP 2006-RS1 [1A]            Subprime 2006             100.00%          $274,903                                              $274,903
723 RAMP 2006-RS1 [1F]            Subprime 2006             100.00%          $105,388                                              $105,388
724 RAMP 2006-RS1 [2A]            Subprime 2006             100.00%          $211,218                                              $211,218
725 RAMP 2006-RS1 [2F]            Subprime 2006             100.00%           $36,137                                               $36,137
726 RAMP 2006-RS2 [A]             Subprime 2006             100.00%          $257,572                                              $257,572
727 RAMP 2006-RS2 [F]             Subprime 2006             100.00%          $175,057                                              $175,057
728 RAMP 2006-RS3 [A]             Subprime 2006             100.00%          $162,773   MGIC (Pool Policy)                         $162,773
729 RAMP 2006-RS3 [F]             Subprime 2006             100.00%          $303,169   MGIC (Pool Policy)                         $303,169
730 RAMP 2006-RS4 [A]             Subprime 2006             100.00%          $411,722                                              $411,722
731 RAMP 2006-RS4 [F]             Subprime 2006             100.00%          $163,369                                              $163,369
732 RAMP 2006-RS5 [A]             Subprime 2006             100.00%           $94,564                                               $94,564
733 RAMP 2006-RS5 [F]             Subprime 2006             100.00%          $136,345                                              $136,345
734 RAMP 2006-RS6 [A]             Subprime 2006             100.00%          $171,851                                              $171,851
735 RAMP 2006-RS6 [F]             Subprime 2006             100.00%           $72,924                                               $72,924
736 RAMP 2006-RZ1 [A]             Subprime 2006             100.00%          $125,774                                              $125,774
737 RAMP 2006-RZ1 [F]             Subprime 2006             100.00%           $40,660                                               $40,660
738 RAMP 2006-RZ2 [A]             Subprime 2006             100.00%          $131,467                                              $131,467
739 RAMP 2006-RZ2 [F]             Subprime 2006             100.00%           $34,394                                               $34,394
740 RAMP 2006-RZ3 [A]             Subprime 2006             100.00%          $316,280                                              $316,280
741 RAMP 2006-RZ3 [F]             Subprime 2006             100.00%           $76,134                                               $76,134
742 RAMP 2006-RZ4 [A]             Subprime 2006             100.00%          $366,180                                              $366,180
743 RAMP 2006-RZ4 [F]             Subprime 2006             100.00%          $100,162                                              $100,162
744 RAMP 2006-RZ5 [A]             Subprime 2006             100.00%          $149,305                                              $149,305
745 RAMP 2006-RZ5 [F]             Subprime 2006             100.00%           $67,874                                               $67,874
746 RAMP 2007-RS1 [A]             Subprime 2007             100.00%           $75,482                                               $75,482
747 RAMP 2007-RS1 [F]             Subprime 2007             100.00%          $251,112                                              $251,112
748 RAMP 2007-RS2 [A]             Subprime 2007             100.00%          $132,959                                              $132,959
749 RAMP 2007-RS2 [F]             Subprime 2007             100.00%           $98,983                                               $98,983
750 RAMP 2007-RZ1 [A]             Subprime 2007             100.00%          $106,841                                              $106,841
751 RAMP 2007-RZ1 [F]             Subprime 2007             100.00%           $44,384                                               $44,384
752 RASC 2001-KS2 [1]             Subprime 2001             100.00%          $196,734                                              $196,734
753 RASC 2001-KS2 [2]             Subprime 2001             100.00%          $136,621                                              $136,621
754 RASC 2001-KS3 [1]             Subprime 2001             100.00%          $181,802                                              $181,802
755 RASC 2001-KS3 [2]             Subprime 2001             100.00%          $245,968                                              $245,968
756 RASC 2002-KS2 [1]             Subprime 2002             100.00%           $69,572                                               $69,572
757 RASC 2002-KS2 [2A]            Subprime 2002             100.00%           $85,384                                               $85,384
758 RASC 2002-KS2 [2B]            Subprime 2002             100.00%           $85,384                                               $85,384
759 RASC 2003-KS10 [1]            Subprime 2003             100.00%           $72,659                                               $72,659
760 RASC 2003-KS10 [2A]           Subprime 2003             100.00%           $64,344                                               $64,344
761 RASC 2003-KS10 [2B]           Subprime 2003             100.00%           $64,347                                               $64,347
762 RASC 2003-KS11 [1]            Subprime 2003             100.00%           $76,132                                               $76,132
763 RASC 2003-KS11 [2A]           Subprime 2003             100.00%           $99,923                                               $99,923
764 RASC 2003-KS11 [2B]           Subprime 2003             100.00%          $118,956                                              $118,956
765 RASC 2003-KS2 [1]             Subprime 2003             100.00%          $271,127                                              $271,127
766 RASC 2003-KS2 [2A]            Subprime 2003             100.00%           $30,707                                               $30,707
767 RASC 2003-KS2 [2B]            Subprime 2003             100.00%           $28,655                                               $28,655
768 RASC 2003-KS3 [1]             Subprime 2003             100.00%           $52,600                                               $52,600
769 RASC 2003-KS3 [2]             Subprime 2003             100.00%           $52,600                                               $52,600
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 1                Name             Cohort        RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
770 RASC 2003-KS6 [1]            Subprime 2003             100.00%           $80,951                                     $80,951
771 RASC 2003-KS6 [2]            Subprime 2003             100.00%           $39,889                                     $39,889
772 RASC 2003-KS7 [1]            Subprime 2003             100.00%          $108,714                                    $108,714
773 RASC 2003-KS7 [2A]           Subprime 2003             100.00%           $65,978                                     $65,978
774 RASC 2003-KS7 [2B]           Subprime 2003             100.00%           $50,233                                     $50,233
775 RASC 2003-KS8 [1]            Subprime 2003             100.00%           $54,952                                     $54,952
776 RASC 2003-KS8 [2A]           Subprime 2003             100.00%           $51,575                                     $51,575
777 RASC 2003-KS8 [2B]           Subprime 2003             100.00%           $51,575                                     $51,575
778 RASC 2004-KS1 [1]            Subprime 2004             100.00%           $56,396                                     $56,396
779 RASC 2004-KS1 [2A]           Subprime 2004             100.00%           $61,095                                     $61,095
780 RASC 2004-KS1 [2B]           Subprime 2004             100.00%           $61,095                                     $61,095
781 RASC 2004-KS10 [1A]          Subprime 2004             100.00%           $68,085                                     $68,085
782 RASC 2004-KS10 [1F]          Subprime 2004             100.00%           $16,601                                     $16,601
783 RASC 2004-KS10 [2A]          Subprime 2004             100.00%          $160,148                                    $160,148
784 RASC 2004-KS10 [2F]          Subprime 2004             100.00%           $16,004                                     $16,004
785 RASC 2004-KS11 [1A]          Subprime 2004             100.00%           $83,960                                     $83,960
786 RASC 2004-KS11 [1F]          Subprime 2004             100.00%            $5,570                                      $5,570
787 RASC 2004-KS11 [2A]          Subprime 2004             100.00%           $82,310                                     $82,310
788 RASC 2004-KS11 [2F]          Subprime 2004             100.00%            $7,220                                      $7,220
789 RASC 2004-KS12 [1A]          Subprime 2004             100.00%           $60,737                                     $60,737
790 RASC 2004-KS12 [1F]          Subprime 2004             100.00%            $6,182                                      $6,182
791 RASC 2004-KS12 [2A]          Subprime 2004             100.00%           $60,933                                     $60,933
792 RASC 2004-KS12 [2F]          Subprime 2004             100.00%            $5,985                                      $5,985
793 RASC 2004-KS2 [1]            Subprime 2004             100.00%           $61,126                                     $61,126
794 RASC 2004-KS2 [2A]           Subprime 2004             100.00%           $73,769                                     $73,769
795 RASC 2004-KS2 [2B]           Subprime 2004             100.00%           $73,777                                     $73,777
796 RASC 2004-KS3 [1]            Subprime 2004             100.00%           $44,340                                     $44,340
797 RASC 2004-KS3 [2A]           Subprime 2004             100.00%           $52,653                                     $52,653
798 RASC 2004-KS3 [2B]           Subprime 2004             100.00%           $52,653                                     $52,653
799 RASC 2004-KS5 [1]            Subprime 2004             100.00%           $62,989                                     $62,989
800 RASC 2004-KS5 [2A]           Subprime 2004             100.00%           $91,859                                     $91,859
801 RASC 2004-KS5 [2B]           Subprime 2004             100.00%           $91,859                                     $91,859
802 RASC 2004-KS6 [1]            Subprime 2004             100.00%           $44,587                                     $44,587
803 RASC 2004-KS6 [2A]           Subprime 2004             100.00%           $89,175                                     $89,175
804 RASC 2004-KS6 [2B]           Subprime 2004             100.00%           $89,175                                     $89,175
805 RASC 2004-KS8 [1]            Subprime 2004             100.00%           $42,743                                     $42,743
806 RASC 2004-KS8 [2]            Subprime 2004             100.00%           $85,486                                     $85,486
807 RASC 2005-AHL1 [A]           Subprime 2005             100.00%          $268,024                                    $268,024
808 RASC 2005-AHL1 [F]           Subprime 2005             100.00%            $8,421                                      $8,421
809 RASC 2005-AHL2 [A]           Subprime 2005             100.00%          $231,159                                    $231,159
810 RASC 2005-AHL2 [F]           Subprime 2005             100.00%           $49,897                                     $49,897
811 RASC 2005-AHL3 [A]           Subprime 2005             100.00%          $289,550                                    $289,550
812 RASC 2005-AHL3 [F]           Subprime 2005             100.00%           $56,710                                     $56,710
813 RASC 2005-EMX1 [1A]          Subprime 2005             100.00%           $60,049                                     $60,049
814 RASC 2005-EMX1 [1F]          Subprime 2005             100.00%           $22,817                                     $22,817
815 RASC 2005-EMX1 [2A]          Subprime 2005             100.00%           $66,320                                     $66,320
816 RASC 2005-EMX1 [2F]          Subprime 2005             100.00%           $16,545                                     $16,545
817 RASC 2005-EMX2 [A]           Subprime 2005             100.00%          $145,895                                    $145,895
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 1                Name             Cohort        RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
818 RASC 2005-EMX2 [F]           Subprime 2005             100.00%           $49,289                                     $49,289
819 RASC 2005-EMX3 [1A]          Subprime 2005             100.00%          $117,266                                    $117,266
820 RASC 2005-EMX3 [1F]          Subprime 2005             100.00%           $23,601                                     $23,601
821 RASC 2005-EMX3 [2A]          Subprime 2005             100.00%          $112,690                                    $112,690
822 RASC 2005-EMX3 [2F]          Subprime 2005             100.00%           $28,078                                     $28,078
823 RASC 2005-EMX4 [A]           Subprime 2005             100.00%          $198,256                                    $198,256
824 RASC 2005-EMX4 [F]           Subprime 2005             100.00%           $44,244                                     $44,244
825 RASC 2005-KS1 [1A]           Subprime 2005             100.00%          $172,606                                    $172,606
826 RASC 2005-KS1 [1F]           Subprime 2005             100.00%           $21,576                                     $21,576
827 RASC 2005-KS10 [1A]          Subprime 2005             100.00%          $283,412                                    $283,412
828 RASC 2005-KS10 [1F]          Subprime 2005             100.00%           $41,742                                     $41,742
829 RASC 2005-KS10 [2A]          Subprime 2005             100.00%          $232,734                                    $232,734
830 RASC 2005-KS10 [2F]          Subprime 2005             100.00%           $57,850                                     $57,850
831 RASC 2005-KS11 [1A]          Subprime 2005             100.00%          $262,312                                    $262,312
832 RASC 2005-KS11 [1F]          Subprime 2005             100.00%           $59,551                                     $59,551
833 RASC 2005-KS11 [2A]          Subprime 2005             100.00%          $252,943                                    $252,943
834 RASC 2005-KS11 [2F]          Subprime 2005             100.00%           $68,663                                     $68,663
835 RASC 2005-KS12 [A]           Subprime 2005             100.00%          $412,050                                    $412,050
836 RASC 2005-KS12 [F]           Subprime 2005             100.00%           $85,476                                     $85,476
837 RASC 2005-KS2 [1A]           Subprime 2005             100.00%           $73,765                                     $73,765
838 RASC 2005-KS2 [1F]           Subprime 2005             100.00%            $7,044                                      $7,044
839 RASC 2005-KS2 [2A]           Subprime 2005             100.00%           $73,232                                     $73,232
840 RASC 2005-KS2 [2F]           Subprime 2005             100.00%            $7,677                                      $7,677
841 RASC 2005-KS3 [A]            Subprime 2005             100.00%          $106,613                                    $106,613
842 RASC 2005-KS3 [F]            Subprime 2005             100.00%           $15,891                                     $15,891
843 RASC 2005-KS4 [A]            Subprime 2005             100.00%           $99,409                                     $99,409
844 RASC 2005-KS4 [F]            Subprime 2005             100.00%           $19,197                                     $19,197
845 RASC 2005-KS5 [A]            Subprime 2005             100.00%          $114,929                                    $114,929
846 RASC 2005-KS5 [F]            Subprime 2005             100.00%           $19,064                                     $19,064
847 RASC 2005-KS6 [A]            Subprime 2005             100.00%          $190,993                                    $190,993
848 RASC 2005-KS6 [F]            Subprime 2005             100.00%           $29,500                                     $29,500
849 RASC 2005-KS7 [A]            Subprime 2005             100.00%          $134,859                                    $134,859
850 RASC 2005-KS7 [F]            Subprime 2005             100.00%           $20,615                                     $20,615
851 RASC 2005-KS8 [A]            Subprime 2005             100.00%          $433,780                                    $433,780
852 RASC 2005-KS8 [F]            Subprime 2005             100.00%           $95,983                                     $95,983
853 RASC 2005-KS9 [A]            Subprime 2005             100.00%          $149,113                                    $149,113
854 RASC 2005-KS9 [F]            Subprime 2005             100.00%           $34,593                                     $34,593
855 RASC 2006-EMX1 [A]           Subprime 2006             100.00%          $179,723                                    $179,723
856 RASC 2006-EMX1 [F]           Subprime 2006             100.00%           $49,944                                     $49,944
857 RASC 2006-EMX2 [A]           Subprime 2006             100.00%          $289,024                                    $289,024
858 RASC 2006-EMX2 [F]           Subprime 2006             100.00%           $63,771                                     $63,771
859 RASC 2006-EMX3 [1A]          Subprime 2006             100.00%          $425,144                                    $425,144
860 RASC 2006-EMX3 [1F]          Subprime 2006             100.00%          $112,059                                    $112,059
861 RASC 2006-EMX4 [1A]          Subprime 2006             100.00%          $393,736                                    $393,736
862 RASC 2006-EMX4 [1F]          Subprime 2006             100.00%          $107,743                                    $107,743
863 RASC 2006-EMX5 [A]           Subprime 2006             100.00%          $347,207                                    $347,207
864 RASC 2006-EMX5 [F]           Subprime 2006             100.00%          $105,778                                    $105,778
865 RASC 2006-EMX6 [A]           Subprime 2006             100.00%          $450,853                                    $450,853
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                    A                     B                 C                D                  E                        F

 1                Name                 Cohort         RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
866 RASC 2006-EMX6 [F]              Subprime 2006               100.00%          $109,358                                    $109,358
867 RASC 2006-EMX7 [A]              Subprime 2006               100.00%          $346,669                                    $346,669
868 RASC 2006-EMX7 [F]              Subprime 2006               100.00%           $94,414                                     $94,414
869 RASC 2006-EMX8 [1A]             Subprime 2006               100.00%          $311,775                                    $311,775
870 RASC 2006-EMX8 [1F]             Subprime 2006               100.00%           $89,584                                     $89,584
871 RASC 2006-EMX8 [2A]             Subprime 2006               100.00%          $233,249                                    $233,249
872 RASC 2006-EMX8 [2F]             Subprime 2006               100.00%           $63,931                                     $63,931
873 RASC 2006-EMX9 [1A]             Subprime 2006               100.00%          $424,201                                    $424,201
874 RASC 2006-EMX9 [1F]             Subprime 2006               100.00%           $86,596                                     $86,596
875 RASC 2006-EMX9 [2A]             Subprime 2006               100.00%          $241,378                                    $241,378
876 RASC 2006-EMX9 [2F]             Subprime 2006               100.00%           $44,896                                     $44,896
877 RASC 2006-KS1 [A]               Subprime 2006               100.00%          $335,863                                    $335,863
878 RASC 2006-KS1 [F]               Subprime 2006               100.00%           $61,498                                     $61,498
879 RASC 2006-KS2 [A]               Subprime 2006               100.00%          $388,000                                    $388,000
880 RASC 2006-KS2 [F]               Subprime 2006               100.00%           $68,378                                     $68,378
881 RASC 2006-KS3 [1A]              Subprime 2006               100.00%          $368,298                                    $368,298
882 RASC 2006-KS3 [1F]              Subprime 2006               100.00%           $95,541                                     $95,541
883 RASC 2006-KS3 [2A]              Subprime 2006               100.00%          $144,739                                    $144,739
884 RASC 2006-KS3 [2F]              Subprime 2006               100.00%           $19,739                                     $19,739
885 RASC 2006-KS4 [A]               Subprime 2006               100.00%          $313,088                                    $313,088
886 RASC 2006-KS4 [F]               Subprime 2006               100.00%           $49,029                                     $49,029
887 RASC 2006-KS5 [A]               Subprime 2006               100.00%          $231,631                                    $231,631
888 RASC 2006-KS5 [F]               Subprime 2006               100.00%          $104,295                                    $104,295
889 RASC 2006-KS6 [A]               Subprime 2006               100.00%          $213,563                                    $213,563
890 RASC 2006-KS6 [F]               Subprime 2006               100.00%           $69,188                                     $69,188
891 RASC 2006-KS7 [A]               Subprime 2006               100.00%          $226,903                                    $226,903
892 RASC 2006-KS7 [F]               Subprime 2006               100.00%           $61,311                                     $61,311
893 RASC 2006-KS8 [A]               Subprime 2006               100.00%          $246,561                                    $246,561
894 RASC 2006-KS8 [F]               Subprime 2006               100.00%           $96,075                                     $96,075
895 RASC 2006-KS9 [1A]              Subprime 2006               100.00%          $557,639                                    $557,639
896 RASC 2006-KS9 [1F]              Subprime 2006               100.00%          $201,023                                    $201,023
897 RASC 2006-KS9 [2A]              Subprime 2006               100.00%          $112,480                                    $112,480
898 RASC 2006-KS9 [2F]              Subprime 2006               100.00%           $30,256                                     $30,256
899 RASC 2007-KS1 [A]               Subprime 2007               100.00%          $159,029                                    $159,029
900 RASC 2007-KS1 [F]               Subprime 2007               100.00%           $64,691                                     $64,691
901 RASC 2007-KS2 [1A]              Subprime 2007               100.00%          $362,163                                    $362,163
902 RASC 2007-KS2 [1F]              Subprime 2007               100.00%          $128,843                                    $128,843
903 RASC 2007-KS2 [2A]              Subprime 2007               100.00%          $111,776                                    $111,776
904 RASC 2007-KS2 [2F]              Subprime 2007               100.00%           $24,658                                     $24,658
905 RASC 2007-KS3 [1A]              Subprime 2007               100.00%          $517,135                                    $517,135
906 RASC 2007-KS3 [1F]              Subprime 2007               100.00%          $209,640                                    $209,640
907 RASC 2007-KS3 [2A]              Subprime 2007               100.00%          $112,899                                    $112,899
908 RASC 2007-KS3 [2F]              Subprime 2007               100.00%           $30,917                                     $30,917
909 RASC 2007-KS4 [A]               Subprime 2007               100.00%          $107,572                                    $107,572
910 RASC 2007-KS4 [F]               Subprime 2007               100.00%           $40,347                                     $40,347
911 RFMS2 1998-HI2 [Total]             CES 1999                 100.00%           $19,931                                     $19,931
912 RFMS2 2002-HI4 [Total]         Second Lien 2002             100.00%           $30,885                                     $30,885
913 RFMS2 2002-HI5 [Total]         Second Lien 2003             100.00%           $34,176                                     $34,176
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 1                Name                Cohort         RFC Servicer %      RFC Claim                Insurer                       RFC Recognized Claim
914 RFMS2 2002-HS1 [Total]            CES 2002                 100.00%           $2,969                                                        $2,969
915 RFMS2 2002-HS2 [Total]            CES 2002                 100.00%           $2,761                                                        $2,761
916 RFMS2 2003-HI1 [Total]        Second Lien 2003             100.00%          $29,000                                                       $29,000
917 RFMS2 2003-HI2 [Total]        Second Lien 2003             100.00%          $30,834                                                       $30,834
918 RFMS2 2003-HI4 [1]            Second Lien 2003             100.00%          $14,311                                                       $14,311
919 RFMS2 2003-HI4 [2]            Second Lien 2003             100.00%          $14,311                                                       $14,311
920 RFMS2 2003-HS3 [1]                CES 2003                 100.00%           $7,431             MBIA                                           $0
921 RFMS2 2003-HS3 [2A]               CES 2003                 100.00%           $2,050             MBIA                                           $0
922 RFMS2 2003-HS3 [2B]               CES 2003                 100.00%           $2,050             MBIA                                           $0
923 RFMS2 2004-HI1 [Total]        Second Lien 2004             100.00%          $25,768                                                       $25,768
924 RFMS2 2004-HS2 [1]                CES 2004                 100.00%           $7,986             MBIA                                           $0
925 RFMS2 2004-HS2 [2]                CES 2004                 100.00%           $6,534             MBIA                                           $0
926 RFMS2 2005-HI2 [Total]        Second Lien 2005             100.00%           $7,778                                                        $7,778
927 RFMS2 2005-HI3 [Total]        Second Lien 2005             100.00%           $3,921                                                        $3,921
928 RFMS2 2006-HI1 [Total]        Second Lien 2006             100.00%           $3,249                                                        $3,249
929 RFMS2 2006-HI3 [Total]        Second Lien 2006             100.00%           $3,029             FGIC                                       $3,029
930 RFMS2 2006-HI4 [Total]        Second Lien 2006             100.00%           $3,403             FGIC                                       $3,403
931 RFMS2 2006-HSA1 [Total]           CES 2006                 100.00%           $4,577             FGIC                                       $4,577
932 RFMS2 2006-HSA3 [Total]       Second Lien 2006             100.00%            $927              FSA                                            $0
933 RFMS2 2006-HSA4 [Total]       Second Lien 2006             100.00%           $1,791             MBIA                                           $0
934 RFMS2 2006-HSA5 [Total]       Second Lien 2006             100.00%           $1,081             MBIA                                           $0
935 RFMSI 2003-S10 [Total]           Prime 2003                100.00%           $2,703                                                        $2,703
936 RFMSI 2003-S11 [Total]           Prime 2003                100.00%           $1,785                                                        $1,785
937 RFMSI 2003-S12 [1]               Prime 2003                100.00%           $2,054                                                        $2,054
938 RFMSI 2003-S12 [2]               Prime 2003                100.00%           $4,320                                                        $4,320
939 RFMSI 2003-S12 [3]               Prime 2003                100.00%           $1,462                                                        $1,462
940 RFMSI 2003-S12 [4]               Prime 2003                100.00%           $1,473                                                        $1,473
941 RFMSI 2003-S13 [Total]           Prime 2003                100.00%           $5,298   MBIA - Insurer Exception                             $5,298
942 RFMSI 2003-S14 [Total]           Prime 2003                100.00%            $821                                                          $821
943 RFMSI 2003-S15 [Total]           Prime 2003                100.00%            $302                                                          $302
944 RFMSI 2003-S16 [Total]           Prime 2003                100.00%            $929                                                          $929
945 RFMSI 2003-S17 [Total]           Prime 2003                100.00%           $7,252                                                        $7,252
946 RFMSI 2003-S18 [Total]           Prime 2003                100.00%           $1,135                                                        $1,135
947 RFMSI 2003-S19 [Total]           Prime 2003                100.00%           $2,919                                                        $2,919
948 RFMSI 2003-S20 [1]               Prime 2003                100.00%           $2,116   Radian - Insurer Exception                           $2,116
949 RFMSI 2003-S20 [2]               Prime 2003                100.00%           $1,172                                                        $1,172
950 RFMSI 2003-S4 [Total]            Prime 2003                100.00%           $3,856   MBIA - Insurer Exception                             $3,856
951 RFMSI 2003-S6 [Total]            Prime 2003                100.00%            $902                                                          $902
952 RFMSI 2003-S7 [Total]            Prime 2003                100.00%           $5,501                                                        $5,501
953 RFMSI 2003-S9 [Total]            Prime 2003                100.00%           $3,025                                                        $3,025
954 RFMSI 2004-PS1 [Total]           Prime 2004                100.00%            $394                                                          $394
955 RFMSI 2004-S1 [Total]            Prime 2004                100.00%           $3,902                                                        $3,902
956 RFMSI 2004-S2 [Total]            Prime 2004                100.00%           $4,672   Radian - Insurer Exception                           $4,672
957 RFMSI 2004-S3 [Total]            Prime 2004                100.00%           $1,409                                                        $1,409
958 RFMSI 2004-S4 [1]                Prime 2004                100.00%           $3,195   MBIA - Insurer Exception                             $3,195
959 RFMSI 2004-S4 [2]                Prime 2004                100.00%           $1,577                                                        $1,577
960 RFMSI 2004-S5 [1]                Prime 2004                100.00%           $3,091                                                        $3,091
961 RFMSI 2004-S5 [2]                Prime 2004                100.00%            $971                                                          $971
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  1                Name              Cohort       RFC Servicer %      RFC Claim                     Insurer                   RFC Recognized Claim
 962 RFMSI 2004-S6 [ONE]            Prime 2004              100.00%           $3,443                                                         $3,443
 963 RFMSI 2004-S6 [THREE]          Prime 2004              100.00%           $3,036                                                         $3,036
 964 RFMSI 2004-S6 [TWO]            Prime 2004              100.00%           $3,848                                                         $3,848
 965 RFMSI 2004-S7 [Total]          Prime 2004              100.00%           $1,485                                                         $1,485
 966 RFMSI 2004-S8 [Total]          Prime 2004              100.00%           $5,917                                                         $5,917
 967 RFMSI 2004-S9 [1]              Prime 2004              100.00%          $15,162                                                        $15,162
 968 RFMSI 2004-S9 [2]              Prime 2004              100.00%           $3,711                                                         $3,711
 969 RFMSI 2004-SA1 [1]             Prime 2004              100.00%           $2,031                                                         $2,031
 970 RFMSI 2004-SA1 [2]             Prime 2004              100.00%           $6,500                                                         $6,500
 971 RFMSI 2004-SA1 [3]             Prime 2004              100.00%           $1,627                                                         $1,627
 972 RFMSI 2005-S1 [1]              Prime 2005              100.00%           $7,171                                                         $7,171
 973 RFMSI 2005-S1 [2]              Prime 2005              100.00%           $5,612                                                         $5,612
 974 RFMSI 2005-S3 [Total]          Prime 2005              100.00%           $2,906                                                         $2,906
 975 RFMSI 2005-S4 [Total]          Prime 2005              100.00%          $13,423                                                        $13,423
 976 RFMSI 2005-S5 [Total]          Prime 2005              100.00%           $7,208   Assured Guaranty - Insurer Exception                  $7,208
 977 RFMSI 2005-S6 [Total]          Prime 2005              100.00%          $10,478                                                        $10,478
 978 RFMSI 2005-S8 [Total]          Prime 2005              100.00%          $22,023                                                        $22,023
 979 RFMSI 2005-S9 [Total]          Prime 2005              100.00%          $26,310                                                        $26,310
 980 RFMSI 2005-SA1 [1]             Prime 2005              100.00%           $4,061                                                         $4,061
 981 RFMSI 2005-SA1 [2]             Prime 2005              100.00%           $4,051                                                         $4,051
 982 RFMSI 2005-SA1 [3]             Prime 2005              100.00%           $7,832                                                         $7,832
 983 RFMSI 2005-SA2 [1]             Prime 2005              100.00%           $4,787                                                         $4,787
 984 RFMSI 2005-SA2 [2]             Prime 2005              100.00%          $14,136                                                        $14,136
 985 RFMSI 2005-SA2 [3]             Prime 2005              100.00%           $7,575                                                         $7,575
 986 RFMSI 2005-SA2 [4]             Prime 2005              100.00%           $2,670                                                         $2,670
 987 RFMSI 2005-SA2 [5]             Prime 2005              100.00%           $3,929                                                         $3,929
 988 RFMSI 2005-SA2 [6]             Prime 2005              100.00%           $4,767                                                         $4,767
 989 RFMSI 2005-SA3 [1]             Prime 2005              100.00%          $16,436                                                        $16,436
 990 RFMSI 2005-SA3 [2]             Prime 2005              100.00%          $23,497                                                        $23,497
 991 RFMSI 2005-SA3 [3]             Prime 2005              100.00%          $11,743                                                        $11,743
 992 RFMSI 2005-SA3 [4]             Prime 2005              100.00%          $11,740                                                        $11,740
 993 RFMSI 2005-SA4 [I1]            Prime 2005              100.00%          $11,499                                                        $11,499
 994 RFMSI 2005-SA4 [I2]            Prime 2005              100.00%          $10,620                                                        $10,620
 995 RFMSI 2005-SA4 [I3]            Prime 2005              100.00%           $2,178                                                         $2,178
 996 RFMSI 2005-SA4 [II1]           Prime 2005              100.00%          $40,885                                                        $40,885
 997 RFMSI 2005-SA4 [II2]           Prime 2005              100.00%          $32,159                                                        $32,159
 998 RFMSI 2005-SA5 [1]             Prime 2005              100.00%          $14,199                                                        $14,199
 999 RFMSI 2005-SA5 [2]             Prime 2005              100.00%          $22,222                                                        $22,222
1000 RFMSI 2005-SA5 [3]             Prime 2005              100.00%          $11,456                                                        $11,456
1001 RFMSI 2006-S1 [1]              Prime 2006              100.00%          $21,194                                                        $21,194
1002 RFMSI 2006-S1 [2]              Prime 2006              100.00%           $8,419                                                         $8,419
1003 RFMSI 2006-S10 [1]             Prime 2006              100.00%          $60,510                                                        $60,510
1004 RFMSI 2006-S10 [2]             Prime 2006              100.00%          $23,829                                                        $23,829
1005 RFMSI 2006-S11 [Total]         Prime 2006              100.00%          $55,723                                                        $55,723
1006 RFMSI 2006-S12 [I]             Prime 2006              100.00%           $8,205                                                         $8,205
1007 RFMSI 2006-S12 [II]            Prime 2006              100.00%          $53,189                                                        $53,189
1008 RFMSI 2006-S12 [III]           Prime 2006              100.00%          $26,617                                                        $26,617
1009 RFMSI 2006-S2 [Total]          Prime 2006              100.00%          $25,261                                                        $25,261
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  1                Name              Cohort       RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
1010 RFMSI 2006-S3 [Total]          Prime 2006              100.00%          $45,852                                      $45,852
1011 RFMSI 2006-S4 [Total]          Prime 2006              100.00%          $24,878                                      $24,878
1012 RFMSI 2006-S5 [Total]          Prime 2006              100.00%          $71,905                                      $71,905
1013 RFMSI 2006-S6 [Total]          Prime 2006              100.00%          $64,279                                      $64,279
1014 RFMSI 2006-S7 [Total]          Prime 2006              100.00%          $50,920                                      $50,920
1015 RFMSI 2006-S8 [Total]          Prime 2006              100.00%          $42,400                                      $42,400
1016 RFMSI 2006-S9 [Total]          Prime 2006              100.00%          $45,215                                      $45,215
1017 RFMSI 2006-SA1 [1]             Prime 2006              100.00%          $32,246                                      $32,246
1018 RFMSI 2006-SA1 [2]             Prime 2006              100.00%           $7,173                                       $7,173
1019 RFMSI 2006-SA2 [1]             Prime 2006              100.00%          $12,698                                      $12,698
1020 RFMSI 2006-SA2 [2]             Prime 2006              100.00%          $73,524                                      $73,524
1021 RFMSI 2006-SA2 [3]             Prime 2006              100.00%          $18,547                                      $18,547
1022 RFMSI 2006-SA2 [4]             Prime 2006              100.00%          $17,044                                      $17,044
1023 RFMSI 2006-SA3 [1]             Prime 2006              100.00%           $3,604                                       $3,604
1024 RFMSI 2006-SA3 [2]             Prime 2006              100.00%          $22,919                                      $22,919
1025 RFMSI 2006-SA3 [3]             Prime 2006              100.00%          $14,729                                      $14,729
1026 RFMSI 2006-SA3 [4]             Prime 2006              100.00%          $10,297                                      $10,297
1027 RFMSI 2006-SA4 [1]             Prime 2006              100.00%           $4,014                                       $4,014
1028 RFMSI 2006-SA4 [2]             Prime 2006              100.00%          $27,471                                      $27,471
1029 RFMSI 2006-SA4 [3]             Prime 2006              100.00%          $10,430                                      $10,430
1030 RFMSI 2007-S1 [Total]          Prime 2007              100.00%          $52,765                                      $52,765
1031 RFMSI 2007-S2 [Total]          Prime 2007              100.00%          $45,718                                      $45,718
1032 RFMSI 2007-S3 [1]              Prime 2007              100.00%          $58,229                                      $58,229
1033 RFMSI 2007-S3 [2]              Prime 2007              100.00%           $5,789                                       $5,789
1034 RFMSI 2007-S4 [Total]          Prime 2007              100.00%          $49,101                                      $49,101
1035 RFMSI 2007-S5 [Total]          Prime 2007              100.00%          $61,629                                      $61,629
1036 RFMSI 2007-S6 [1]              Prime 2007              100.00%          $51,666                                      $51,666
1037 RFMSI 2007-S6 [2]              Prime 2007              100.00%          $41,356                                      $41,356
1038 RFMSI 2007-S7 [Total]          Prime 2007              100.00%          $43,499                                      $43,499
1039 RFMSI 2007-S8 [1]              Prime 2007              100.00%          $50,687                                      $50,687
1040 RFMSI 2007-S8 [2]              Prime 2007              100.00%           $7,453                                       $7,453
1041 RFMSI 2007-S9 [1]              Prime 2007              100.00%          $18,637                                      $18,637
1042 RFMSI 2007-S9 [2]              Prime 2007              100.00%           $4,175                                       $4,175
1043 RFMSI 2007-SA1 [1]             Prime 2007              100.00%           $2,427                                       $2,427
1044 RFMSI 2007-SA1 [2]             Prime 2007              100.00%          $30,719                                      $30,719
1045 RFMSI 2007-SA1 [3]             Prime 2007              100.00%           $9,557                                       $9,557
1046 RFMSI 2007-SA1 [4]             Prime 2007              100.00%           $6,366                                       $6,366
1047 RFMSI 2007-SA2 [1]             Prime 2007              100.00%           $4,021                                       $4,021
1048 RFMSI 2007-SA2 [2]             Prime 2007              100.00%          $40,609                                      $40,609
1049 RFMSI 2007-SA2 [3]             Prime 2007              100.00%           $5,852                                       $5,852
1050 RFMSI 2007-SA2 [4]             Prime 2007              100.00%          $11,922                                      $11,922
1051 RFMSI 2007-SA2 [5]             Prime 2007              100.00%           $5,087                                       $5,087
1052 RFMSI 2007-SA3 [1]             Prime 2007              100.00%           $1,320                                       $1,320
1053 RFMSI 2007-SA3 [2]             Prime 2007              100.00%          $40,754                                      $40,754
1054 RFMSI 2007-SA3 [3]             Prime 2007              100.00%          $12,257                                      $12,257
1055 RFMSI 2007-SA3 [4]             Prime 2007              100.00%           $8,504                                       $8,504
1056 RFMSI 2007-SA4 [1]             Prime 2007              100.00%           $2,452                                       $2,452
1057 RFMSI 2007-SA4 [2]             Prime 2007              100.00%           $1,215                                       $1,215
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  1                 Name            Cohort        RFC Servicer %      RFC Claim          Insurer            RFC Recognized Claim
1058 RFMSI 2007-SA4 [3]             Prime 2007              100.00%          $39,277                                      $39,277
1059 RFMSI 2007-SA4 [4]             Prime 2007              100.00%          $17,403                                      $17,403
1060 RFMSI 2007-SA4 [5]             Prime 2007              100.00%          $14,496                                      $14,496
1061 RFSC 2001-RM2 [1]              ALT-A 2001              100.00%           $3,453                                       $3,453
1062 RFSC 2001-RM2 [2]              ALT-A 2001              100.00%           $3,270                                       $3,270
1063 RFSC 2002-RM1 [1]              ALT-A 2002              100.00%           $2,429                                       $2,429
1064 RFSC 2002-RM1 [2]              ALT-A 2002              100.00%            $508                                         $508
1065 RFSC 2002-RM1 [3]              ALT-A 2002              100.00%           $1,078                                       $1,078
1066 RFSC 2003-RM1 [Total]          Prime 2003              100.00%           $2,806                                       $2,806
1067 RFSC 2003-RM2 [ONE]            Prime 2003              100.00%           $2,730                                       $2,730
1068 RFSC 2003-RM2 [THREE]          Prime 2003              100.00%           $1,680                                       $1,680
1069 RFSC 2003-RM2 [TWO]            Prime 2003              100.00%            $831                                         $831
1070 SACO 2005-WM1 [Total]           CES 2005                20.77%           $3,748                                       $3,748
1071 SACO 2005-WM3 [Total]           CES 2005                20.77%           $4,948                                       $4,948
1072 SACO 2006-10 [Total]            CES 2006                47.57%           $1,967                                       $1,967
1073 SAIL 2005-5 [1A]             Subprime 2005              10.93%          $14,582      CIFG                                 $0
1074 SAIL 2005-5 [1F]             Subprime 2005              10.93%           $3,142      CIFG                                 $0
1075 SAIL 2005-5 [2A]             Subprime 2005              10.93%          $17,946      CIFG                                 $0
1076 SAIL 2005-5 [2F]             Subprime 2005              10.93%           $3,025      CIFG                                 $0
1077 SAIL 2005-5 [3A]             Subprime 2005              10.93%          $14,442      CIFG                                 $0
1078 SAIL 2005-5 [3F]             Subprime 2005              10.93%           $3,146      CIFG                                 $0
1079 SAIL 2005-5 [4A]             Subprime 2005              10.93%          $18,278      CIFG                                 $0
1080 SAIL 2005-5 [4F]             Subprime 2005              10.93%           $3,139      CIFG                                 $0
1081 SAIL 2005-9 [1A]             Subprime 2005               0.66%           $1,669                                       $1,669
1082 SAIL 2005-9 [1F]             Subprime 2005               0.66%            $361                                         $361
1083 SAIL 2005-9 [2A]             Subprime 2005               0.66%            $792                                         $792
1084 SAIL 2005-9 [2F]             Subprime 2005               0.66%            $109                                         $109
1085 SAIL 2005-9 [3A]             Subprime 2005               0.66%           $3,653                                       $3,653
1086 SAIL 2005-9 [3F]             Subprime 2005               0.66%            $649                                         $649
1087 SARM 2007-3 [1]                Prime 2007                2.95%           $4,001                                       $4,001
1088 SARM 2007-3 [2]                Prime 2007                2.95%           $1,674                                       $1,674
1089 SARM 2007-3 [3]                Prime 2007                2.95%           $2,039                                       $2,039
1090 SARM 2007-3 [4]                Prime 2007                2.95%           $2,905                                       $2,905
1091 SARM 2007-6 [11]               ALT-A 2007                0.75%            $426                                         $426
1092 SARM 2007-6 [12]               ALT-A 2007                0.75%           $1,053                                       $1,053
1093 SARM 2007-6 [2]                ALT-A 2007                0.75%            $927                                         $927
1094 SASC 2001-9 [FIVED]            Prime 2001                4.50%               $6                                           $6
1095 SASC 2001-9 [FIVENR]           Prime 2001                4.50%              $18                                          $18
1096 SASC 2001-9 [FIVER]            Prime 2001                4.50%               $0                                           $0
1097 SASC 2001-9 [FOURD]            Prime 2001                4.50%               $3      MBIA                                 $0
1098 SASC 2001-9 [FOURNR]           Prime 2001                4.50%              $39      MBIA                                 $0
1099 SASC 2001-9 [FOURR]            Prime 2001                4.50%               $2      MBIA                                 $0
1100 SASC 2001-9 [ONED]             Prime 2001                4.50%               $0      MBIA                                 $0
1101 SASC 2001-9 [ONENR]            Prime 2001                4.50%              $23      MBIA                                 $0
1102 SASC 2001-9 [ONER]             Prime 2001                4.50%               $0      MBIA                                 $0
1103 SASC 2001-9 [SIXD]             Prime 2001                4.50%              $17      MBIA                                 $0
1104 SASC 2001-9 [SIXNR]            Prime 2001                4.50%              $23      MBIA                                 $0
1105 SASC 2001-9 [SIXR]             Prime 2001                4.50%               $1      MBIA                                 $0
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  1                 Name                    Cohort         RFC Servicer %      RFC Claim                               Insurer                             RFC Recognized Claim
1106 SASC 2001-9 [THREE]                   Prime 2001                  4.50%              $38                            MBIA                                                 $0
1107 SASC 2001-9 [TWONR]                   Prime 2001                  4.50%              $44                            MBIA                                                 $0
1108 SASC 2001-9 [TWOR]                    Prime 2001                  4.50%               $2                            MBIA                                                 $0
1109 SASC 2005-RF1 [Total]               Subprime 2005                 2.90%            $822                                                                               $822
1110 SASC 2005-RF2 [Total]               Subprime 2005                 9.50%           $6,817                                                                             $6,817
1111 SASC 2005-RF4 [Total]               Subprime 2005                 7.49%           $7,184                                                                             $7,184
1112 SASC 2005-RF6 [Total]               Subprime 2005                 6.70%           $3,115                                                                             $3,115
1113 SASC 2005-S1 [1]                       CES 2005                   7.22%            $230                 United Guaranty (Pool Policy)                                 $230
1114 SASC 2005-S1 [2]                       CES 2005                   7.22%            $892                                                                               $892
1115 SASC 2007-TC1 [A]                   Subprime 2007                 7.75%           $2,910                                                                             $2,910
1116 SASC 2007-TC1 [F]                   Subprime 2007                 7.75%           $1,667                                                                             $1,667
1117 SASCO 2002-9 [2FR]                    Prime 2002                  0.90%               $1                                                                                 $1
1118 SASCO 2002-9 [2L]                     Prime 2002                  0.90%               $0                                                                                 $0
1119 SASCO 2002-9 [A1-MI]                  Prime 2002                  0.90%              $44                                                                                $44
1120 SASCO 2002-9 [A1-NOMI]                Prime 2002                  0.90%              $41                                                                                $41
1121 SASCO 2002-9 [B1-MI]                  Prime 2002                  0.90%               $9                                                                                 $9
1122 SASCO 2002-9 [B1-NOMI]                Prime 2002                  0.90%              $35                                                                                $35
1123 SASI 1993-6 [CIT1]                    Prime 1999                  4.50%               $5                                                                                 $5
1124 SASI 1993-6 [CWF1]                    Prime 1999                  4.50%               $6                                                                                 $6
1125 SASI 1993-6 [GEC1]                    Prime 1999                  4.50%               $2                                                                                 $2
1126 SASI 1993-6 [ITT2]                    Prime 1999                  4.50%               $4                                                                                 $4
1127 SASI 1993-6 [ITT3]                    Prime 1999                  4.50%               $8        GEMICO (Pool Policy)/FSA - Insurer Exception                             $8
1128 SASI 1993-6 [ITT4]                    Prime 1999                  4.50%               $4                                                                                 $4
1129 SASI 1993-6 [ITT5]                    Prime 1999                  4.50%               $2                                                                                 $2
1130 SASI 1993-6 [SASC3]                   Prime 1999                  4.50%              $31        GEMICO (Pool Policy)/FSA - Insurer Exception                            $31
1131 SEMT 2004-10 [1]                      Prime 2004                  1.87%            $190                                                                               $190
1132 SEMT 2004-10 [2]                      Prime 2004                  1.87%            $191                                                                               $191
1133 SEMT 2004-11 [1]                      Prime 2004                  0.15%              $12                                                                                $12
1134 SEMT 2004-11 [2]                      Prime 2004                  0.15%               $2                                                                                 $2
1135 SEMT 2004-11 [3]                      Prime 2004                  0.15%               $5                                                                                 $5
1136 SEMT 2005-2 [1]                       Prime 2005                 14.64%            $912                                                                               $912
1137 SEMT 2005-2 [2]                       Prime 2005                 14.64%            $571                                                                               $571
1138 SEMT 2005-3 [Total]                   ALT-A 2005                 23.86%           $2,931                                                                             $2,931
1139 SMART 1993-3A [1]                     Prime 1999                  4.50%               $0                   GEMICO (Pool Policy)                                          $0
1140 SMART 1993-3A [2]                     Prime 1999                  4.50%               $0                   GEMICO (Pool Policy)                                          $0
1141 SMART 1993-3A [3]                     Prime 1999                  4.50%               $3                GEMICO (Pool Policy)/FGIC                                        $3
1142 SMART 1993-6A [A]                     Prime 1999                  4.50%               $0                   GEMICO (Pool Policy)                                          $0
1143 SMART 1993-6A [B]                     Prime 1999                  4.50%               $6                FGIC/GEMICO (Pool Policy)                                        $6
1144 SMSC 1992-3 [Total]                   Prime 1999                 43.13%            $190    GEMICO (Pool Policy)/PMI (Pool Policy)/FSI (Pool Policy)                   $190
1145 SMSC 1992-4 [Total]                   Prime 1999                 44.51%            $522    GEMICO (Pool Policy)/PMI (Pool Policy)/FSI (Pool Policy)                   $522
1146 SMSC 1992-6 [Total]                   Prime 1999                 47.68%            $157    GEMICO (Pool Policy)/PMI (Pool Policy)/FSA (Pool Policy)                   $157
1147 SMSC 1994-2 [Total]                   Prime 1999                 26.35%              $90                                                                                $90
1148 Southwest Savings 1988-1 [Total]         1999                     4.50%               $1                                                                                 $1
1149 TMTS 2005-11 [1A]                  Second Lien 2005               9.00%          $11,356                                                                            $11,356
1150 TMTS 2005-11 [1B]                  Second Lien 2005               9.00%           $1,257                                                                             $1,257
1151 TMTS 2005-11 [2A]                  Second Lien 2005               9.00%           $5,299                                                                             $5,299
1152 TMTS 2005-11 [2B]                  Second Lien 2005               9.00%           $1,308                                                                             $1,308
1153                                                                            $60,439,273                                                                        $60,217,472
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                                                                         Debtor’s Attributable
                                               Net Total Collateral         Portion of Net                                                                                                     GMACM Recognized
1           Name                Cohort               Losses                Collateral Losses   Losses Due to Breach       GMACM Claim                              Insurer                         Claim               GMACM Seller %

2    GMACM 2004-AR1 [I1]      Prime 2004                     $600,831                  $600,831               $278,249              $124,836                                                               $124,836              100.00%

3    GMACM 2004-AR1 [I2]      Prime 2004                    $4,474,288                $4,474,288             $2,214,276             $993,430                                                               $993,430              100.00%

4    GMACM 2004-AR1 [I3]      Prime 2004                     $382,755                  $382,755               $209,613               $94,043                                                                $94,043              100.00%

5    GMACM 2004-AR1 [I4]      Prime 2004                    $1,083,378                $1,083,378              $624,437              $280,152                                                               $280,152              100.00%

6    GMACM 2004-AR1 [II1]     Prime 2004                     $101,928                  $101,928                $52,432               $23,523                                                                $23,523              100.00%

7    GMACM 2004-AR1 [II2]     Prime 2004                    $1,118,424                $1,118,424              $584,567              $262,265                                                               $262,265              100.00%

8    GMACM 2004-AR1 [II3]     Prime 2004                      $82,717                   $82,717                $49,450               $22,186                                                                $22,186              100.00%

 9  GMACM 2004-AR1 [II4]      Prime 2004                     $592,588                  $592,588               $319,578              $143,378                                                               $143,378              100.00%
10  GMACM 2004-AR2 [1]        Prime 2004                     $404,752                  $404,752               $215,926                $96,875                                                                $96,875             100.00%
11  GMACM 2004-AR2 [2]        Prime 2004                    $1,678,932                $1,678,932              $892,546              $400,439                                                               $400,439              100.00%
12  GMACM 2004-AR2 [3]        Prime 2004                    $5,204,281                $5,204,281             $2,498,816            $1,121,088                                                             $1,121,088             100.00%
13  GMACM 2004-AR2 [4]        Prime 2004                     $679,112                  $679,112               $379,679              $170,342                                                               $170,342              100.00%
14  GMACM 2004-AR2 [5]        Prime 2004                     $715,516                  $715,516               $415,418              $186,376                                                               $186,376              100.00%
    GMACM 2004-GH1
15 [Total]                   Subprime 2004              $10,167,719                $10,167,719               $5,700,828            $2,557,664                                                             $2,557,664             100.00%
    GMACM 2004-HE1
16 [Total]                  Second Lien 2004            $93,657,753                $93,657,753           $52,420,025           $23,518,123                          FGIC                              $23,518,123                100.00%
    GMACM 2004-HE2
17 [Total]                      CES 2004                 $1,760,345                 $1,760,345             $694,873              $311,753       OLD REPUBLIC INSURANCE COMPANY (Pool Policy)               $311,753              100.00%
18 GMACM 2004-HE3 [Total]   Second Lien 2004            $80,341,434                $80,341,434           $45,075,604           $20,223,066                          FSA                                          $0              100.00%
    GMACM 2004-HE4
19 [Total]                  Second Lien 2004            $92,047,687                $92,047,687           $51,717,576           $23,202,971                          MBIA                                         $0              100.00%
    GMACM 2004-HE5
20 [Total]                     CES 2004                 $22,329,699                $22,329,699               $8,555,177            $3,838,260                       FGIC                                  $3,838,260             100.00%
    GMACM 2004-HLTV1
21 [1]                      Second Lien 2004            $22,575,910                $22,575,910           $12,392,387               $5,559,816                       FGIC                                  $5,559,816             100.00%

22 GMACM 2004-J1 [Total]      Prime 2004                    $2,087,993                $2,087,993             $1,118,351             $501,746               MBIA - Insurer Exception                        $501,746              100.00%

23 GMACM 2004-J2 [Total]      Prime 2004                    $3,228,005                $3,228,005             $1,669,643             $749,082               MBIA - Insurer Exception                        $749,082              100.00%

24 GMACM 2004-J3 [Total]      Prime 2004                    $2,371,419                $2,371,419             $1,378,753             $618,574                                                               $618,574              100.00%

25 GMACM 2004-J4 [Total]      Prime 2004                    $4,546,196                $4,546,196             $2,417,852            $1,084,764                                                             $1,084,764             100.00%

26  GMACM 2004-J5 [Total]      Prime 2004                $3,825,887                 $3,825,887            $2,009,520                $901,567                                                               $901,567              100.00%
27  GMACM 2004-J6 [1]          Prime 2004                 $805,553                   $805,553              $416,064                 $186,666                                                               $186,666              100.00%
28  GMACM 2004-J6 [2]          Prime 2004                $1,518,108                 $1,518,108             $843,240                 $378,318                                                               $378,318              100.00%
29  GMACM 2004-VF1 [1]      Second Lien 2004            $27,131,527                $27,131,527           $15,508,138               $6,957,690                       MBIA                                          $0             100.00%
30  GMACM 2004-VF1 [2]      Second Lien 2004            $18,333,382                $18,333,382           $10,601,107               $4,756,162                       MBIA                                          $0             100.00%
31  GMACM 2005-AA1 [1]         ALT-A 2005               $19,034,675                $19,034,675            $8,125,177               $3,645,342                                                             $3,645,342             100.00%
32  GMACM 2005-AA1 [2]         ALT-A 2005                $6,379,178                 $6,379,178            $2,689,326               $1,206,560                                                             $1,206,560             100.00%
    GMACM 2005-AF1
33 [Total]                    ALT-A 2005                $20,245,375                $20,245,375               $8,435,517            $3,784,575                                                             $3,784,575             100.00%
    GMACM 2005-AF2
34 [Total]                    ALT-A 2005                $48,473,380                $48,473,380           $21,027,865               $9,434,103                                                             $9,434,103             100.00%
35 GMACM 2005-AR1 [1]         Prime 2005                 $2,192,751                 $2,192,751             $956,109                 $428,956                                                               $428,956              100.00%
36 GMACM 2005-AR1 [2]         Prime 2005                 $4,131,487                 $4,131,487            $1,998,016                $896,405                                                               $896,405              100.00%
37 GMACM 2005-AR1 [3]         Prime 2005                 $5,680,616                 $5,680,616            $2,940,235               $1,319,130                                                             $1,319,130             100.00%
38 GMACM 2005-AR1 [4]         Prime 2005                  $558,393                   $558,393              $318,927                 $143,086                                                               $143,086              100.00%
39 GMACM 2005-AR1 [5]         Prime 2005                 $2,369,547                 $2,369,547            $1,328,150                $595,872                                                               $595,872              100.00%
40 GMACM 2005-AR2 [1]         Prime 2005                 $1,753,754                 $1,753,754             $831,946                 $373,251                                                               $373,251              100.00%
41 GMACM 2005-AR2 [2]         Prime 2005                $16,431,574                $16,431,574            $8,104,170               $3,635,917                                                             $3,635,917             100.00%
42 GMACM 2005-AR2 [3]         Prime 2005                 $1,762,743                 $1,762,743             $894,807                 $401,453                                                               $401,453              100.00%
                                  12-12020-mg                   Doc 6065-1                     Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                                  Schedule 2G – GMACM Original R+W Claims
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              A                     B                    C                      D                     E                     F                  G                    H                      I

                                                                       Debtor’s Attributable
                                                Net Total Collateral      Portion of Net                                                                     GMACM Recognized
 1           Name                Cohort               Losses             Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer             Claim               GMACM Seller %
43  GMACM 2005-AR2 [4]         Prime 2005                 $4,108,235              $4,108,235              $2,184,420             $980,035                                $980,035              100.00%
44  GMACM 2005-AR3 [1]         Prime 2005                 $1,356,862              $1,356,862               $629,106              $282,247                                $282,247              100.00%
45  GMACM 2005-AR3 [2]         Prime 2005                 $7,608,625              $7,608,625              $3,637,958            $1,632,161                              $1,632,161             100.00%
46  GMACM 2005-AR3 [3]         Prime 2005                 $8,876,679              $8,876,679              $4,561,903            $2,046,687                              $2,046,687             100.00%
47  GMACM 2005-AR3 [4]         Prime 2005                 $3,699,520              $3,699,520              $1,906,814             $855,488                                $855,488              100.00%
48  GMACM 2005-AR3 [5]         Prime 2005                 $4,354,598              $4,354,598              $2,351,603            $1,055,041                              $1,055,041             100.00%
49  GMACM 2005-AR4 [1]         Prime 2005                 $1,110,041              $1,110,041               $494,117              $221,684                                $221,684              100.00%
50  GMACM 2005-AR4 [2]         Prime 2005                 $4,329,496              $4,329,496              $2,035,432             $913,192                                $913,192              100.00%
51  GMACM 2005-AR4 [3]         Prime 2005                $11,070,297             $11,070,297              $5,378,449            $2,413,029                              $2,413,029             100.00%
52  GMACM 2005-AR4 [4]         Prime 2005                 $2,369,820              $2,369,820              $1,253,732             $562,484                                $562,484              100.00%
53  GMACM 2005-AR4 [5]         Prime 2005                 $3,387,889              $3,387,889              $1,826,907             $819,638                                $819,638              100.00%
54  GMACM 2005-AR5 [1]         Prime 2005                 $2,354,835              $2,354,835              $1,092,864             $490,311                                $490,311              100.00%
55  GMACM 2005-AR5 [2]         Prime 2005                 $6,399,212              $6,399,212              $2,999,445            $1,345,694                              $1,345,694             100.00%
56  GMACM 2005-AR5 [3]         Prime 2005                $12,943,405             $12,943,405              $6,530,963            $2,930,101                              $2,930,101             100.00%
57  GMACM 2005-AR5 [4]         Prime 2005                 $5,542,512              $5,542,512              $2,855,981            $1,281,329                              $1,281,329             100.00%
58  GMACM 2005-AR5 [5]         Prime 2005                 $9,239,127              $9,239,127              $4,901,424            $2,199,013                              $2,199,013             100.00%
59  GMACM 2005-AR6 [1]         Prime 2005                 $3,686,392              $3,686,392              $1,775,293             $796,481                                $796,481              100.00%
60  GMACM 2005-AR6 [2]         Prime 2005                $20,391,512             $20,391,512              $9,600,732            $4,307,346                              $4,307,346             100.00%
61  GMACM 2005-AR6 [3]         Prime 2005                 $8,117,086              $8,117,086              $4,133,890            $1,854,660                              $1,854,660             100.00%
62  GMACM 2005-AR6 [4]         Prime 2005                $12,402,357             $12,402,357              $6,700,126            $3,005,996                              $3,005,996             100.00%
    GMACM 2005-HE1
63 [Total]                   Second Lien 2005           $147,193,604            $147,193,604          $82,211,019           $36,883,785       FGIC                  $36,883,785                100.00%
    GMACM 2005-HE2
64 [Total]                      CES 2005                 $55,803,093             $55,803,093          $21,407,615               $9,604,477    FGIC                      $9,604,477             100.00%
    GMACM 2005-HE3
65 [Total]                   Second Lien 2005           $134,006,819            $134,006,819          $76,038,432           $34,114,467      AMBAC                  $34,114,467                100.00%

66   GMACM 2005-J1 [Total]      Prime 2005               $15,446,805             $15,446,805           $7,838,299            $3,516,635                              $3,516,635                100.00%
67   GMACM 2006-AR1 [1]         Prime 2006               $30,785,688             $30,785,688          $11,171,432            $5,012,037                              $5,012,037                100.00%
68   GMACM 2006-AR1 [2]         Prime 2006               $10,881,907             $10,881,907           $3,925,797            $1,761,300                              $1,761,300                100.00%
69   GMACM 2006-AR1 [3]         Prime 2006                $8,860,241              $8,860,241           $3,174,901            $1,424,412                              $1,424,412                100.00%
70   GMACM 2006-AR2 [1]         Prime 2006                $1,922,838              $1,922,838            $698,261              $313,273                                $313,273                 100.00%
71   GMACM 2006-AR2 [2]         Prime 2006               $21,724,017             $21,724,017           $7,876,429            $3,533,742                              $3,533,742                100.00%
72   GMACM 2006-AR2 [3]         Prime 2006                $7,447,843              $7,447,843           $2,709,007            $1,215,390                              $1,215,390                100.00%
73   GMACM 2006-AR2 [4]         Prime 2006                $3,250,542              $3,250,542           $1,165,581             $522,935                                $522,935                 100.00%
74   GMACM 2006-AR2 [5]         Prime 2006                $5,228,500              $5,228,500           $1,871,052             $839,443                                $839,443                 100.00%
75   GMACM 2006-HE1 [F]      Second Lien 2006           $137,295,455            $137,295,455          $67,757,341           $30,399,175       FGIC                  $30,399,175                100.00%

76 GMACM 2006-HE1 [H]        Second Lien 2006           $235,105,365            $235,105,365         $116,089,342           $52,083,216       FGIC                  $52,083,216                100.00%
    GMACM 2006-HE2
77 [Total]                      CES 2006                 $95,580,483             $95,580,483          $50,389,127           $22,606,966       FGIC                  $22,606,966                100.00%
    GMACM 2006-HE3
78 [Total]                      CES 2006                $166,732,648            $166,732,648          $88,110,893           $39,530,749       FGIC                  $39,530,749                100.00%
    GMACM 2006-HE4
79 [Total]                   Second Lien 2006           $157,062,316            $157,062,316          $77,618,563           $34,823,390       MBIA                           $0                100.00%
80 GMACM 2006-HE5 [1]            CES 2006               $151,469,850            $151,469,850          $80,315,827           $36,033,511       FGIC                  $36,033,511                100.00%
81 GMACM 2006-HE5 [2]            CES 2006               $118,223,865            $118,223,865          $62,490,354           $28,036,153       FGIC                  $28,036,153                100.00%
    GMACM 2006-HLTV1
82 [Total]                   Second Lien 2006            $64,995,996             $64,995,996          $32,067,616           $14,387,062       FGIC                  $14,387,062                100.00%

83 GMACM 2006-J1 [Total]       Prime 2006                $32,980,554             $32,980,554          $11,816,068               $5,301,252                              $5,301,252             100.00%
     GMACM 2007-HE1
84 [Total]                      CES 2007                $109,341,630            $109,341,630          $57,902,349           $25,977,755       MBIA                             $0              100.00%
    GMACM 2007-HE2
85 [Total]                      CES 2007                $310,380,896            $310,380,896         $164,421,022           $73,767,113       FGIC                  $73,767,113                100.00%
86 GMACM 2007-HE3 [1]           CES 2007                 $51,576,444             $51,576,444          $27,422,939           $12,303,238                             $12,303,238                100.00%
87 GMACM 2007-HE3 [2]           CES 2007                 $90,557,530             $90,557,530          $47,851,382           $21,468,412                             $21,468,412                100.00%
88                                                  $2,830,065,019          $2,830,065,019        $1,450,096,178          $650,582,312                            $534,641,276
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                                                                                                          Review     Due Diligence


            A                B                   C                         D                     E                    F                  G                     H                     I

                                                                  Debtor’s Attributable
                                        Net Total Collateral         Portion of Net
1       Name               Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
2 RAAC 2004-RP1 [1A]    Subprime 2004                $6,819,135                $6,819,135            $3,902,959           $1,751,054                               $1,751,054            100.00%

3 RAAC 2004-RP1 [1F]    Subprime 2004                $6,639,525                $6,639,525            $3,776,527           $1,694,330                               $1,694,330            100.00%

4 RAAC 2004-RP1 [2A]    Subprime 2004                $5,029,588                $5,029,588            $2,878,640           $1,291,495                               $1,291,495            100.00%

 5 RAAC 2004-RP1 [2F]   Subprime 2004              $7,000,217                $7,000,217            $3,982,035             $1,786,531                               $1,786,531            100.00%
 6 RAAC 2004-SP1 [1]      ALT-A 2004               $3,443,801                $3,443,801            $1,533,496              $688,000                                 $688,000             100.00%
 7 RAAC 2004-SP1 [2]      ALT-A 2004               $2,385,842                $2,385,842            $1,064,178              $477,441                                 $477,441             100.00%
 8 RAAC 2004-SP2 [1]      Prime 2004                  $62,679                   $62,679               $37,471                $16,811                                  $16,811            100.00%
 9 RAAC 2004-SP2 [2]      Prime 2004                 $777,491                 $777,491               $415,129              $186,247                                 $186,247             100.00%
10 RAAC 2004-SP3 [1]      ALT-A 2004               $4,006,286                $4,006,286            $1,593,367              $714,860                                 $714,860             100.00%
11 RAAC 2004-SP3 [2]      ALT-A 2004               $5,103,783                $5,103,783            $2,081,340              $933,788                                 $933,788             100.00%
12 RAAC 2005-RP1 [1]    Subprime 2005             $28,853,548               $28,853,548           $16,446,599             $7,378,729                               $7,378,729            100.00%
13 RAAC 2005-RP1 [2]    Subprime 2005             $16,004,981               $16,004,981            $9,156,110             $4,107,868                               $4,107,868            100.00%
14 RAAC 2005-RP2 [A]    Subprime 2005             $19,189,133               $19,189,133           $10,917,945             $4,898,311                               $4,898,311            100.00%
15 RAAC 2005-RP2 [F]    Subprime 2005             $23,781,826               $23,781,826           $13,540,728             $6,075,016                               $6,075,016            100.00%
16 RAAC 2005-RP3 [A]    Subprime 2005             $35,443,373               $35,443,373           $20,241,087             $9,081,117                               $9,081,117            100.00%
17 RAAC 2005-RP3 [F]    Subprime 2005             $22,234,270               $22,234,270           $12,644,501             $5,672,926                               $5,672,926            100.00%
18 RAAC 2005-SP1 [1]      Prime 2005               $1,810,272                $1,810,272            $1,034,980              $464,341                                 $464,341             100.00%
19 RAAC 2005-SP1 [2]      Prime 2005               $2,935,529                $2,935,529            $1,632,602              $732,463                                 $732,463             100.00%
20 RAAC 2005-SP1 [3]      Prime 2005               $1,459,339                $1,459,339              $855,574              $383,852                                 $383,852             100.00%
21 RAAC 2005-SP1 [4]      Prime 2005               $1,084,890                $1,084,890              $589,608              $264,526                                 $264,526             100.00%

22 RAAC 2005-SP2 [1A]    ALT-A 2005               $14,832,654               $14,832,654              $6,544,717           $2,936,272                               $2,936,272            100.00%

23 RAAC 2005-SP2 [1F]    ALT-A 2005                  $7,425,283                $7,425,283            $3,181,119           $1,427,202                               $1,427,202            100.00%

24 RAAC 2005-SP2 [2A]    ALT-A 2005               $13,829,955               $13,829,955              $5,822,909           $2,612,435                               $2,612,435            100.00%

25 RAAC 2005-SP2 [2F]     ALT-A 2005               $7,279,528                $7,279,528            $3,011,539          $1,351,120                                $1,351,120              100.00%
26 RAAC 2005-SP3 [A]    Subprime 2005             $23,432,636               $23,432,636           $13,390,917          $6,007,804                                $6,007,804              100.00%
27 RAAC 2005-SP3 [F]    Subprime 2005             $17,006,694               $17,006,694            $9,595,288          $4,304,904                                $4,304,904              100.00%
28 RAAC 2006-RP1 [A]    Subprime 2006             $45,526,317               $45,526,317           $25,301,872         $11,351,627                               $11,351,627              100.00%
29 RAAC 2006-RP1 [F]    Subprime 2006             $24,248,759               $24,248,759           $13,486,799          $6,050,821                                $6,050,821              100.00%
30 RAAC 2006-RP2 [A]    Subprime 2006             $75,097,864               $75,097,864           $41,732,934         $18,723,385                               $18,723,385              100.00%
31 RAAC 2006-RP2 [F]    Subprime 2006             $37,421,418               $37,421,418           $20,802,706          $9,333,086                                $9,333,086              100.00%
32 RAAC 2006-RP3 [A]    Subprime 2006             $81,624,323               $81,624,323           $45,359,002         $20,350,212                               $20,350,212              100.00%
33 RAAC 2006-RP3 [F]    Subprime 2006             $36,568,727               $36,568,727           $20,326,629          $9,119,495                                $9,119,495              100.00%
34 RAAC 2006-RP4 [A]    Subprime 2006             $78,725,340               $78,725,340           $43,758,758         $19,632,266                               $19,632,266              100.00%
35 RAAC 2006-RP4 [F]    Subprime 2006             $45,187,577               $45,187,577           $25,119,998         $11,270,029                               $11,270,029              100.00%
36 RAAC 2006-SP1 [A]    Subprime 2006             $65,485,752               $65,485,752           $36,390,248         $16,326,401                               $16,326,401              100.00%
37 RAAC 2006-SP1 [F]    Subprime 2006             $13,665,444               $13,665,444            $7,597,436          $3,408,572                                $3,408,572              100.00%

38 RAAC 2006-SP2 [1F]   Subprime 2006             $24,519,518               $24,519,518           $13,635,321             $6,117,455                               $6,117,455            100.00%

39 RAAC 2006-SP2 [2F]   Subprime 2006              $3,561,946                $3,561,946            $1,978,832            $887,799                                 $887,799               100.00%
40 RAAC 2006-SP2 [A]    Subprime 2006             $62,171,520               $62,171,520           $34,551,802         $15,501,586                               $15,501,586              100.00%
41 RAAC 2006-SP3 [A]    Subprime 2006             $54,051,175               $54,051,175           $30,041,812         $13,478,190                               $13,478,190              100.00%

42 RAAC 2006-SP3 [F1]   Subprime 2006             $21,404,457               $21,404,457           $11,904,874             $5,341,094                               $5,341,094            100.00%

43 RAAC 2006-SP3 [F2]   Subprime 2006              $2,106,430                $2,106,430            $1,170,396            $525,095                                 $525,095               100.00%
44 RAAC 2006-SP4 [A]    Subprime 2006             $48,399,580               $48,399,580           $26,903,141         $12,070,032                               $12,070,032              100.00%

45 RAAC 2006-SP4 [F1]   Subprime 2006             $17,905,552               $17,905,552              $9,960,491           $4,468,751                               $4,468,751            100.00%
                             12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                          Schedule 2R – RFC Original R+W Claims
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                                                                                                           Review     Due Diligence


            A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
1          Name             Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

46 RAAC 2006-SP4 [F2]    Subprime 2006             $1,892,536                 $1,892,536            $1,051,897            $471,931                                 $471,931               100.00%
47 RAAC 2007-RP1 [A]     Subprime 2007            $93,845,226                $93,845,226           $52,171,171         $23,406,476                               $23,406,476              100.00%
48 RAAC 2007-RP1 [F]     Subprime 2007            $32,137,949                $32,137,949           $17,868,775          $8,016,785                                $8,016,785              100.00%
49 RAAC 2007-RP2 [A]     Subprime 2007            $76,100,982                $76,100,982           $42,308,850         $18,981,768                               $18,981,768              100.00%
50 RAAC 2007-RP2 [F]     Subprime 2007            $23,211,063                $23,211,063           $12,902,159          $5,788,524                                $5,788,524              100.00%
51 RAAC 2007-RP3 [A]     Subprime 2007           $128,853,731               $128,853,731           $71,627,787         $32,135,642                               $32,135,642              100.00%
52 RAAC 2007-RP3 [F]     Subprime 2007            $41,064,220                $41,064,220           $22,826,633         $10,241,116                               $10,241,116              100.00%
53 RAAC 2007-RP4 [A]     Subprime 2007           $101,946,206               $101,946,206           $56,669,704         $25,424,732                               $25,424,732              100.00%
54 RAAC 2007-RP4 [F]     Subprime 2007            $28,154,434                $28,154,434           $15,656,458          $7,024,234                                $7,024,234              100.00%
55 RAAC 2007-SP1 [A]     Subprime 2007            $47,840,219                $47,840,219           $26,597,009         $11,932,687                               $11,932,687              100.00%
    RAAC 2007-SP1
56 [F_1]                 Subprime 2007             $32,200,315               $32,200,315           $17,923,545             $8,041,357                               $8,041,357            100.00%
   RAAC 2007-SP1
57 [F_2]                 Subprime 2007                $801,837                 $801,837              $445,919             $200,061                                 $200,061               100.00%
58 RAAC 2007-SP2 [A]     Subprime 2007             $75,409,301               $75,409,301           $41,917,585         $18,806,228                               $18,806,228              100.00%
   RAAC 2007-SP2
59 [F_1]                 Subprime 2007             $35,510,702               $35,510,702           $19,756,694             $8,863,795                               $8,863,795            100.00%
   RAAC 2007-SP2
60 [F_2]                 Subprime 2007              $1,997,163                $1,997,163            $1,110,407            $498,181                                 $498,181               100.00%
61 RAAC 2007-SP3 [A]     Subprime 2007             $99,400,235               $99,400,235           $55,263,713         $24,793,938                               $24,793,938              100.00%
62 RAAC 2007-SP3 [F]     Subprime 2007             $25,757,670               $25,757,670           $14,332,626          $6,430,300                                $6,430,300              100.00%
   RALI 2004-QA1
63 [1_2YR]                ALT-A 2004                   $424,756                  $424,756              $192,327              $86,287                                  $86,287             100.00%
   RALI 2004-QA1
64 [1_3YR]                ALT-A 2004                  $1,377,709                $1,377,709             $602,319             $270,229                                 $270,229             100.00%
   RALI 2004-QA1
65 [1_5YR]                ALT-A 2004                  $2,238,705                $2,238,705             $952,077             $427,147                                 $427,147             100.00%
   RALI 2004-QA1
66 [2_2YR]                ALT-A 2004                    $34,435                   $34,435               $15,794                $7,086                                  $7,086             100.00%
   RALI 2004-QA1
67 [2_3YR]                ALT-A 2004                   $330,910                  $330,910              $146,324              $65,648                                  $65,648             100.00%
   RALI 2004-QA1
68 [2_5YR]                ALT-A 2004                    $621,797                 $621,797               $260,873            $117,040                                 $117,040             100.00%
69 RALI 2004-QA2 [1]      ALT-A 2004                  $9,972,005                $9,972,005            $4,274,318           $1,917,663                               $1,917,663            100.00%
70 RALI 2004-QA2 [2]      ALT-A 2004                  $3,672,857                $3,672,857            $1,539,949            $690,895                                 $690,895             100.00%
   RALI 2004-QA3 [CB-
71 I]                     ALT-A 2004                  $2,235,760                $2,235,760             $975,031             $437,445                                 $437,445             100.00%
   RALI 2004-QA3 [CB-
72 II]                    ALT-A 2004                  $3,345,584                $3,345,584            $1,391,365            $624,233                                 $624,233             100.00%
   RALI 2004-QA3 [NB-
73 I]                     ALT-A 2004                   $675,215                  $675,215              $295,777             $132,699                                 $132,699             100.00%
   RALI 2004-QA3 [NB-
74 II]                    ALT-A 2004                  $2,862,380                $2,862,380            $1,203,089            $539,763                                 $539,763             100.00%

75 RALI 2004-QA4 [CBI]    ALT-A 2004                  $4,368,512                $4,368,512            $1,890,099            $847,989                                 $847,989             100.00%

76 RALI 2004-QA4 [NBI]    ALT-A 2004                  $1,462,619                $1,462,619             $653,359             $293,128                                 $293,128             100.00%
   RALI 2004-QA4
77 [NBII]                 ALT-A 2004                  $3,770,347                $3,770,347            $1,600,844            $718,215                                 $718,215             100.00%
   RALI 2004-QA4
78 [NBIII]                ALT-A 2004                  $514,134                 $514,134                 $212,298              $95,247                                  $95,247            100.00%
79 RALI 2004-QA5 [1]      ALT-A 2004                $2,186,564                $2,186,564                $980,316            $439,816                                 $439,816             100.00%
80 RALI 2004-QA5 [2]      ALT-A 2004                  $350,247                 $350,247                 $136,529              $61,253                                  $61,253            100.00%
81 RALI 2004-QA5 [3]      ALT-A 2004               $12,002,492               $12,002,492              $5,091,402           $2,284,246                               $2,284,246            100.00%
82 RALI 2004-QA6 [1]      ALT-A 2004                $6,095,206                $6,095,206              $2,719,305           $1,220,010                               $1,220,010            100.00%
83 RALI 2004-QA6 [2]      ALT-A 2004                $4,312,384                $4,312,384              $1,937,180            $869,111                                 $869,111             100.00%
84 RALI 2004-QA6 [3]      ALT-A 2004               $15,226,210               $15,226,210              $6,499,705           $2,916,078                               $2,916,078            100.00%
                            12-12020-mg               Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                       Schedule 2R – RFC Original R+W Claims
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                                                                                                        Review     Due Diligence


              A              B                 C                         D                     E                    F                  G                     H                     I

                                                                Debtor’s Attributable
                                      Net Total Collateral         Portion of Net
 1        Name            Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
85 RALI 2004-QA6 [4]     ALT-A 2004                $8,401,255                $8,401,255            $3,593,792           $1,612,346                               $1,612,346            100.00%
86 RALI 2004-QA6 [5]     ALT-A 2004                $4,852,056                $4,852,056            $2,140,539            $960,348                                 $960,348             100.00%
87 RALI 2004-QA6 [6]     ALT-A 2004                $4,998,795                $4,998,795            $2,144,216            $961,997                                 $961,997             100.00%
    RALI 2004-QS1
88 [Total]               ALT-A 2004                $7,116,080                $7,116,080            $2,999,267           $1,345,614                               $1,345,614            100.00%
   RALI 2004-QS10
89 [Total]               ALT-A 2004                $6,805,929                $6,805,929            $2,947,235           $1,322,270                               $1,322,270            100.00%
   RALI 2004-QS11
90 [Total]               ALT-A 2004                $6,117,274                $6,117,274            $2,597,569           $1,165,393                               $1,165,393            100.00%
   RALI 2004-QS12
91 [Total]               ALT-A 2004             $11,958,833               $11,958,833              $5,061,895           $2,271,008                               $2,271,008            100.00%

92 RALI 2004-QS13 [CB]   ALT-A 2004                $1,260,775                $1,260,775             $545,364             $244,676                                 $244,676             100.00%

93 RALI 2004-QS13 [NB]   ALT-A 2004                  $35,924                   $35,924               $13,945                $6,257                                  $6,257             100.00%
   RALI 2004-QS14
94 [Total]               ALT-A 2004                $7,191,774                $7,191,774            $3,089,872           $1,386,264                               $1,386,264            100.00%
   RALI 2004-QS15
95 [Total]               ALT-A 2004                $9,037,632                $9,037,632            $3,947,724           $1,771,137                               $1,771,137            100.00%

96 RALI 2004-QS16 [1]    ALT-A 2004             $16,387,668               $16,387,668              $7,062,848           $3,168,731                               $3,168,731            100.00%

97 RALI 2004-QS16 [2]    ALT-A 2004                $1,610,187                $1,610,187             $656,931             $294,731                                 $294,731             100.00%
98 RALI 2004-QS2 [AI]    ALT-A 2004                $1,051,770                $1,051,770             $440,154             $197,474                                 $197,474             100.00%

99 RALI 2004-QS2 [CB]    ALT-A 2004                $6,869,011                $6,869,011            $2,978,470           $1,336,284                               $1,336,284            100.00%

100 RALI 2004-QS3 [CB]   ALT-A 2004                $1,290,989                $1,290,989             $555,200             $249,089                                 $249,089             100.00%
101 RALI 2004-QS3 [I]    ALT-A 2004                  $166,274                 $166,274               $72,912              $32,712                                  $32,712             100.00%
102 RALI 2004-QS3 [II]   ALT-A 2004                   $99,279                   $99,279              $38,536              $17,289                                  $17,289             100.00%
    RALI 2004-QS4
103 [Total]              ALT-A 2004                $7,559,444                $7,559,444            $3,214,118           $1,442,007                               $1,442,007            100.00%
    RALI 2004-QS5
104 [Total]              ALT-A 2004                $8,197,861                $8,197,861            $3,502,121           $1,571,219                               $1,571,219            100.00%
    RALI 2004-QS6
105 [Total]              ALT-A 2004                $1,342,050                $1,342,050             $574,277             $257,648                                 $257,648             100.00%
    RALI 2004-QS7
106 [Total]              ALT-A 2004             $12,123,587               $12,123,587              $5,090,930           $2,284,034                               $2,284,034            100.00%
    RALI 2004-QS8
107 [Total]              ALT-A 2004                $7,532,047                $7,532,047            $3,196,591           $1,434,143                               $1,434,143            100.00%
    RALI 2004-QS9
108 [Total]              ALT-A 2004                $1,299,101                $1,299,101             $565,749             $253,822                                 $253,822             100.00%
    RALI 2005-QA1
109 [Total]              ALT-A 2005             $26,941,306               $26,941,306           $11,653,331             $5,228,240                               $5,228,240            100.00%

110 RALI 2005-QA10 [1]   ALT-A 2005                $1,195,787                $1,195,787             $541,955             $243,147                                 $243,147             100.00%

111 RALI 2005-QA10 [2]   ALT-A 2005             $20,472,692               $20,472,692              $9,027,565           $4,050,196                               $4,050,196            100.00%

112 RALI 2005-QA10 [3]   ALT-A 2005             $65,470,136               $65,470,136           $28,318,773         $12,705,152                               $12,705,152              100.00%

113 RALI 2005-QA10 [4]   ALT-A 2005             $18,173,357               $18,173,357              $7,590,261           $3,405,353                               $3,405,353            100.00%

114 RALI 2005-QA11 [1]   ALT-A 2005                $1,218,355                $1,218,355             $511,348             $229,415                                 $229,415             100.00%

115 RALI 2005-QA11 [2]   ALT-A 2005             $14,986,164               $14,986,164              $6,580,600           $2,952,371                               $2,952,371            100.00%

116 RALI 2005-QA11 [3]   ALT-A 2005                $9,539,923                $9,539,923            $4,192,399           $1,880,910                               $1,880,910            100.00%

117 RALI 2005-QA11 [4]   ALT-A 2005             $40,351,227               $40,351,227           $17,501,491             $7,852,004                               $7,852,004            100.00%
                              12-12020-mg               Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                         Schedule 2R – RFC Original R+W Claims
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                                                                                                          Review     Due Diligence


             A                 B                 C                         D                     E                    F                  G                     H                     I

                                                                  Debtor’s Attributable
                                        Net Total Collateral         Portion of Net
 1         Name             Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

118 RALI 2005-QA11 [5]     ALT-A 2005             $17,127,691               $17,127,691              $7,338,745           $3,292,511                               $3,292,511            100.00%

119 RALI 2005-QA11 [6]     ALT-A 2005                $7,072,234                $7,072,234            $2,983,690           $1,338,625                               $1,338,625            100.00%

120 RALI 2005-QA12 [1]     ALT-A 2005             $13,663,911               $13,663,911              $5,989,211           $2,687,046                               $2,687,046            100.00%

121 RALI 2005-QA12 [2]     ALT-A 2005                $9,063,150                $9,063,150            $3,986,207           $1,788,403                               $1,788,403            100.00%

122 RALI 2005-QA12 [3]     ALT-A 2005             $12,542,111               $12,542,111              $5,404,276           $2,424,616                               $2,424,616            100.00%

123 RALI 2005-QA12 [4]     ALT-A 2005                $6,730,375                $6,730,375            $2,864,356           $1,285,087                               $1,285,087            100.00%

124 RALI 2005-QA12 [5]     ALT-A 2005                $8,221,655                $8,221,655            $3,535,837           $1,586,345                               $1,586,345            100.00%

125 RALI 2005-QA13 [1]     ALT-A 2005             $17,704,658               $17,704,658              $7,761,434           $3,482,150                               $3,482,150            100.00%

126 RALI 2005-QA13 [2]     ALT-A 2005             $91,471,028               $91,471,028           $39,789,956         $17,851,672                               $17,851,672              100.00%

127 RALI 2005-QA13 [3]     ALT-A 2005                $7,954,710                $7,954,710            $3,438,993           $1,542,896                               $1,542,896            100.00%

128 RALI 2005-QA2 [A1I]    ALT-A 2005                $5,848,448                $5,848,448            $2,555,237           $1,146,401                               $1,146,401            100.00%

129 RALI 2005-QA2 [A1II]   ALT-A 2005                $6,665,344                $6,665,344            $2,814,867           $1,262,884                               $1,262,884            100.00%

130 RALI 2005-QA2 [CBI]    ALT-A 2005                $7,301,527                $7,301,527            $3,213,102           $1,441,551                               $1,441,551            100.00%

131 RALI 2005-QA2 [CBII]   ALT-A 2005             $14,465,864               $14,465,864              $6,059,443           $2,718,555                               $2,718,555            100.00%

132 RALI 2005-QA2 [NBI]    ALT-A 2005                $3,134,660                $3,134,660            $1,340,329            $601,336                                 $601,336             100.00%
    RALI 2005-QA2
133 [NBII]                 ALT-A 2005              $8,049,693                $8,049,693            $3,361,647          $1,508,195                                $1,508,195              100.00%
134 RALI 2005-QA3 [1]      ALT-A 2005             $14,930,793               $14,930,793            $6,512,869          $2,921,984                                $2,921,984              100.00%
135 RALI 2005-QA3 [2]      ALT-A 2005              $9,336,570                $9,336,570            $4,027,372          $1,806,871                                $1,806,871              100.00%
136 RALI 2005-QA3 [3]      ALT-A 2005             $12,146,690               $12,146,690            $5,092,551          $2,284,761                                $2,284,761              100.00%
137 RALI 2005-QA3 [4]      ALT-A 2005              $3,846,821                $3,846,821            $1,544,159            $692,783                                 $692,783               100.00%
138 RALI 2005-QA3 [5]      ALT-A 2005              $1,552,476                $1,552,476              $640,488            $287,354                                 $287,354               100.00%
139 RALI 2005-QA3 [6]      ALT-A 2005                $423,679                 $423,679               $166,185             $74,558                                   $74,558              100.00%
140 RALI 2005-QA3 [7]      ALT-A 2005              $4,366,990                $4,366,990            $1,911,028            $857,379                                 $857,379               100.00%
141 RALI 2005-QA3 [8]      ALT-A 2005              $2,574,749                $2,574,749            $1,130,786            $507,325                                 $507,325               100.00%
142 RALI 2005-QA4 [1]      ALT-A 2005             $16,434,753               $16,434,753            $7,148,455          $3,207,138                                $3,207,138              100.00%
143 RALI 2005-QA4 [2]      ALT-A 2005              $9,710,647                $9,710,647            $4,183,665          $1,876,992                                $1,876,992              100.00%
144 RALI 2005-QA4 [3]      ALT-A 2005             $20,726,459               $20,726,459            $8,822,301          $3,958,105                                $3,958,105              100.00%
145 RALI 2005-QA4 [4]      ALT-A 2005             $10,635,268               $10,635,268            $4,390,356          $1,969,723                                $1,969,723              100.00%
146 RALI 2005-QA4 [5]      ALT-A 2005              $2,133,333                $2,133,333              $905,640            $406,313                                 $406,313               100.00%
147 RALI 2005-QA5 [1]      ALT-A 2005              $4,607,314                $4,607,314            $2,041,698            $916,003                                 $916,003               100.00%
148 RALI 2005-QA5 [2]      ALT-A 2005              $5,503,446                $5,503,446            $2,433,842          $1,091,938                                $1,091,938              100.00%
149 RALI 2005-QA6 [1]      ALT-A 2005             $18,876,161               $18,876,161            $8,239,148          $3,696,475                                $3,696,475              100.00%
150 RALI 2005-QA6 [2]      ALT-A 2005             $11,142,143               $11,142,143            $4,837,290          $2,170,239                                $2,170,239              100.00%
151 RALI 2005-QA6 [3]      ALT-A 2005             $16,504,641               $16,504,641            $6,947,949          $3,117,181                                $3,117,181              100.00%
152 RALI 2005-QA6 [4]      ALT-A 2005             $13,007,415               $13,007,415            $5,584,134          $2,505,309                                $2,505,309              100.00%
153 RALI 2005-QA6 [5]      ALT-A 2005              $5,048,321                $5,048,321            $2,156,010            $967,289                                 $967,289               100.00%
154 RALI 2005-QA7 [1]      ALT-A 2005             $14,145,226               $14,145,226            $6,103,247          $2,738,208                                $2,738,208              100.00%
155 RALI 2005-QA7 [2]      ALT-A 2005             $56,305,543               $56,305,543           $23,866,311         $10,707,565                               $10,707,565              100.00%
156 RALI 2005-QA8 [1]      ALT-A 2005             $14,242,286               $14,242,286            $6,196,990          $2,780,265                                $2,780,265              100.00%
157 RALI 2005-QA8 [2]      ALT-A 2005              $7,489,280                $7,489,280            $3,263,902          $1,464,342                                $1,464,342              100.00%
158 RALI 2005-QA8 [3]      ALT-A 2005             $27,002,357               $27,002,357           $11,650,299          $5,226,880                                $5,226,880              100.00%
                                 12-12020-mg                    Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                                 Schedule 2R – RFC Original R+W Claims
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                                                                                                                  Review     Due Diligence


              A                   B                      C                         D                     E                    F                  G                     H                     I

                                                                          Debtor’s Attributable
                                                Net Total Collateral         Portion of Net
 1         Name                Cohort                 Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
159 RALI 2005-QA8 [4]         ALT-A 2005                  $10,109,165               $10,109,165            $4,296,019          $1,927,399                                $1,927,399              100.00%
160 RALI 2005-QA8 [5]         ALT-A 2005                   $7,133,298                $7,133,298            $3,031,023          $1,359,862                                $1,359,862              100.00%
161 RALI 2005-QA8 [6]         ALT-A 2005                   $4,106,014                $4,106,014            $1,705,086            $764,983                                 $764,983               100.00%
162 RALI 2005-QA9 [1]         ALT-A 2005                  $15,037,724               $15,037,724            $6,591,186          $2,957,121                                $2,957,121              100.00%
163 RALI 2005-QA9 [2]         ALT-A 2005                  $10,497,131               $10,497,131            $4,696,326          $2,106,996                                $2,106,996              100.00%
164 RALI 2005-QA9 [3]         ALT-A 2005                  $55,330,017               $55,330,017           $23,868,985         $10,708,765                               $10,708,765              100.00%
165 RALI 2005-QA9 [4]         ALT-A 2005                  $30,038,902               $30,038,902           $12,876,447          $5,776,988                                $5,776,988              100.00%
    RALI 2005-QO1
166 [Total]               Pay Option Arm 2005           $121,308,683               $121,308,683           $33,635,129         $15,090,323                               $15,090,323              100.00%
    RALI 2005-QO2
167 [Total]               Pay Option Arm 2005             $82,682,064               $82,682,064           $23,234,995         $10,424,327                               $10,424,327              100.00%
    RALI 2005-QO3
168 [Total]               Pay Option Arm 2005           $109,314,347               $109,314,347           $31,027,729         $13,920,519                               $13,920,519              100.00%
169 RALI 2005-QO4 [1]     Pay Option Arm 2005            $61,203,661                $61,203,661           $17,387,372          $7,800,804                                $7,800,804              100.00%
170 RALI 2005-QO4 [2]     Pay Option Arm 2005           $122,250,668               $122,250,668           $34,759,561         $15,594,797                               $15,594,797              100.00%
    RALI 2005-QO5
171 [Total]               Pay Option Arm 2005           $316,028,961               $316,028,961           $90,530,833         $40,616,450                               $40,616,450              100.00%
    RALI 2005-QS1
172 [Total]                   ALT-A 2005                  $14,250,968               $14,250,968              $5,880,447           $2,638,249                               $2,638,249            100.00%

173 RALI 2005-QS10 [1]        ALT-A 2005                     $7,139,268                $7,139,268            $3,035,316           $1,361,788                               $1,361,788            100.00%

174 RALI 2005-QS10 [2]        ALT-A 2005                     $6,385,476                $6,385,476            $2,645,377           $1,186,842                               $1,186,842            100.00%

175 RALI 2005-QS10 [3]        ALT-A 2005                  $13,346,092               $13,346,092              $5,662,553           $2,540,491                               $2,540,491            100.00%
    RALI 2005-QS11
176 [Total]                   ALT-A 2005                  $22,481,714               $22,481,714              $9,492,304           $4,258,700                               $4,258,700            100.00%
    RALI 2005-QS12
177 [Total]                   ALT-A 2005                  $55,651,247               $55,651,247           $23,510,977         $10,548,146                               $10,548,146              100.00%

178 RALI 2005-QS13 [1]        ALT-A 2005                  $36,963,357               $36,963,357           $15,660,116             $7,025,875                               $7,025,875            100.00%

179 RALI 2005-QS13 [2]        ALT-A 2005                  $38,007,610               $38,007,610           $16,065,219             $7,207,624                               $7,207,624            100.00%

180 RALI 2005-QS14 [1]        ALT-A 2005                     $6,198,189                $6,198,189            $2,510,097           $1,126,149                               $1,126,149            100.00%

181 RALI 2005-QS14 [2]        ALT-A 2005                  $17,029,066               $17,029,066              $7,355,305           $3,299,941                               $3,299,941            100.00%

182 RALI 2005-QS14 [3]        ALT-A 2005                  $32,326,250               $32,326,250           $13,627,334             $6,113,872                               $6,113,872            100.00%

183 RALI 2005-QS15 [1]        ALT-A 2005                  $13,730,503               $13,730,503              $5,887,828           $2,641,560                               $2,641,560            100.00%

184 RALI 2005-QS15 [2]        ALT-A 2005                     $5,782,111                $5,782,111            $2,474,503           $1,110,180                               $1,110,180            100.00%

185 RALI 2005-QS15 [3]        ALT-A 2005                  $35,509,146               $35,509,146           $15,129,077             $6,787,626                               $6,787,626            100.00%
    RALI 2005-QS16
186 [Total]                   ALT-A 2005                  $54,522,209               $54,522,209           $23,264,325         $10,437,486                               $10,437,486              100.00%
    RALI 2005-QS17
187 [Total]                   ALT-A 2005                  $76,335,380               $76,335,380           $32,761,396         $14,698,325                               $14,698,325              100.00%
    RALI 2005-QS2
188 [Total]                   ALT-A 2005                  $14,575,418               $14,575,418              $5,969,690           $2,678,288                               $2,678,288            100.00%

189 RALI 2005-QS3 [1I1]       ALT-A 2005                     $7,025,859                $7,025,859            $2,855,607           $1,281,162                               $1,281,162            100.00%
190 RALI 2005-QS3 [2]         ALT-A 2005                     $4,041,422                $4,041,422            $1,626,451            $729,703                                 $729,703             100.00%

191 RALI 2005-QS3 [3I2]       ALT-A 2005                  $19,944,801               $19,944,801              $8,446,713           $3,789,599                               $3,789,599            100.00%
    RALI 2005-QS4
192 [Total]                   ALT-A 2005                  $16,353,729               $16,353,729              $6,803,076           $3,052,184                               $3,052,184            100.00%
    RALI 2005-QS5
193 [Total]                   ALT-A 2005                  $15,166,179               $15,166,179              $6,391,048           $2,867,329   Radian                             $0             100.00%
                                12-12020-mg                    Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                                Schedule 2R – RFC Original R+W Claims
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                                                                                                                 Review     Due Diligence


             A                   B                      C                         D                     E                    F                  G                     H                     I

                                                                         Debtor’s Attributable
                                               Net Total Collateral         Portion of Net
 1        Name                Cohort                 Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RALI 2005-QS6
194 [Total]                  ALT-A 2005                  $23,875,505               $23,875,505           $10,023,050             $4,496,818                               $4,496,818            100.00%
195 RALI 2005-QS7 [1]        ALT-A 2005                  $23,830,136               $23,830,136            $9,996,874             $4,485,075                               $4,485,075            100.00%
196 RALI 2005-QS7 [2]        ALT-A 2005                   $9,594,338                $9,594,338            $4,020,657             $1,803,859                               $1,803,859            100.00%
    RALI 2005-QS8
197 [Total]                  ALT-A 2005                     $2,539,785                $2,539,785            $1,045,359            $468,998                                 $468,998             100.00%
    RALI 2005-QS9
198 [Total]                  ALT-A 2005                  $34,132,932               $34,132,932           $14,243,899          $6,390,492                                $6,390,492              100.00%
199 RALI 2006-QA1 [1]        ALT-A 2006                  $21,691,108               $21,691,108            $7,522,096          $3,374,771                                $3,374,771              100.00%
200 RALI 2006-QA1 [2]        ALT-A 2006                  $97,945,398               $97,945,398           $33,809,159         $15,168,402                               $15,168,402              100.00%
201 RALI 2006-QA1 [3]        ALT-A 2006                  $23,507,027               $23,507,027            $8,111,503          $3,639,207                                $3,639,207              100.00%
    RALI 2006-QA10
202 [Total]                  ALT-A 2006                $118,689,793               $118,689,793           $41,080,594         $18,430,714                               $18,430,714              100.00%
    RALI 2006-QA11
203 [Total]                  ALT-A 2006                $126,081,604               $126,081,604           $43,673,618         $19,594,068                               $19,594,068              100.00%
204 RALI 2006-QA2 [1]        ALT-A 2006                 $79,445,538                $79,445,538           $27,468,601         $12,323,725                               $12,323,725              100.00%
205 RALI 2006-QA2 [2]        ALT-A 2006                 $12,023,273                $12,023,273            $4,145,200          $1,859,734                                $1,859,734              100.00%
206 RALI 2006-QA2 [3]        ALT-A 2006                  $8,733,007                 $8,733,007            $2,996,302          $1,344,284                                $1,344,284              100.00%
    RALI 2006-QA3
207 [Total]                  ALT-A 2006                $102,957,233               $102,957,233           $35,632,752         $15,986,552                               $15,986,552              100.00%
208 RALI 2006-QA4 [1]        ALT-A 2006                 $81,080,562                $81,080,562           $28,046,484         $12,582,990                               $12,582,990              100.00%
209 RALI 2006-QA5 [1]        ALT-A 2006                $152,159,428               $152,159,428           $52,652,688         $23,622,507                               $23,622,507              100.00%
210 RALI 2006-QA5 [2]        ALT-A 2006                 $21,306,252                $21,306,252            $7,291,892          $3,271,491                                $3,271,491              100.00%
    RALI 2006-QA6
211 [Total]                  ALT-A 2006                $184,902,914               $184,902,914           $64,155,515         $28,783,224                               $28,783,224              100.00%
212 RALI 2006-QA7 [1]        ALT-A 2006                 $69,089,680                $69,089,680           $23,940,669         $10,740,926                               $10,740,926              100.00%
213 RALI 2006-QA7 [2]        ALT-A 2006                $121,605,696               $121,605,696           $42,231,622         $18,947,120                               $18,947,120              100.00%
    RALI 2006-QA8
214 [Total]                  ALT-A 2006                $261,080,121               $261,080,121           $90,598,338         $40,646,736                               $40,646,736              100.00%
    RALI 2006-QA9
215 [Total]                  ALT-A 2006                  $91,185,526               $91,185,526           $31,531,071         $14,146,342                               $14,146,342              100.00%
    RALI 2006-QH1
216 [Total]              Pay Option Arm 2006           $113,291,465               $113,291,465           $41,425,929         $18,585,647      Ambac                    $18,585,647              100.00%
217 RALI 2006-QO1 [1]    Pay Option Arm 2006            $19,310,834                $19,310,834            $6,913,098          $3,101,546                                $3,101,546              100.00%
218 RALI 2006-QO1 [2]    Pay Option Arm 2006            $57,371,456                $57,371,456           $20,412,006          $9,157,800                                $9,157,800              100.00%
219 RALI 2006-QO1 [3]    Pay Option Arm 2006           $172,572,288               $172,572,288           $62,201,868         $27,906,725                               $27,906,725              100.00%

220 RALI 2006-QO10 [1]   Pay Option Arm 2006           $272,652,864               $272,652,864           $98,319,334         $44,110,743                               $44,110,743              100.00%

221 RALI 2006-QO10 [2]   Pay Option Arm 2006             $87,278,452               $87,278,452           $31,542,572         $14,151,502                               $14,151,502              100.00%
    RALI 2006-QO2
222 [Total]              Pay Option Arm 2006           $187,034,845               $187,034,845           $66,952,310         $30,038,000                               $30,038,000              100.00%
    RALI 2006-QO3
223 [Total]              Pay Option Arm 2006           $202,660,477               $202,660,477           $73,189,418         $32,836,264                               $32,836,264              100.00%
224 RALI 2006-QO4 [1]    Pay Option Arm 2006           $127,155,367               $127,155,367           $46,103,863         $20,684,392        XL                              $0              100.00%
225 RALI 2006-QO4 [2]    Pay Option Arm 2006           $132,433,134               $132,433,134           $47,842,604         $21,464,474        XL                              $0              100.00%
226 RALI 2006-QO5 [1]    Pay Option Arm 2006           $137,451,270               $137,451,270           $49,385,744         $22,156,800                               $22,156,800              100.00%
227 RALI 2006-QO5 [2]    Pay Option Arm 2006           $150,070,652               $150,070,652           $54,547,037         $24,472,403                               $24,472,403              100.00%
228 RALI 2006-QO5 [3]    Pay Option Arm 2006            $80,725,512                $80,725,512           $29,029,985         $13,024,236                               $13,024,236              100.00%
    RALI 2006-QO6
229 [Total]              Pay Option Arm 2006           $449,322,172               $449,322,172          $162,375,739         $72,849,501                               $72,849,501              100.00%
230 RALI 2006-QO7 [1]    Pay Option Arm 2006           $237,638,133               $237,638,133           $86,126,429         $38,640,424                               $38,640,424              100.00%
231 RALI 2006-QO7 [2]    Pay Option Arm 2006           $165,835,633               $165,835,633           $60,902,784         $27,323,894                               $27,323,894              100.00%
    RALI 2006-QO7
232 [3_PP_0YR]           Pay Option Arm 2006             $69,918,207               $69,918,207           $25,080,835         $11,252,459                               $11,252,459              100.00%
    RALI 2006-QO7
233 [3_PP_1YR]           Pay Option Arm 2006             $86,103,708               $86,103,708           $30,821,966         $13,828,204                               $13,828,204              100.00%
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                                                                          Debtor’s Attributable
                                                Net Total Collateral         Portion of Net
 1         Name                Cohort                 Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RALI 2006-QO7
234 [3_PP_3YR]            Pay Option Arm 2006                $2,344,547                $2,344,547             $848,647             $380,743                                 $380,743             100.00%
    RALI 2006-QO8
235 [1NO_PP]              Pay Option Arm 2006             $47,042,154               $47,042,154           $16,953,835             $7,606,299                               $7,606,299            100.00%
    RALI 2006-QO8
236 [1PP_1YR]             Pay Option Arm 2006             $92,833,297               $92,833,297           $33,412,625         $14,990,497                               $14,990,497              100.00%
    RALI 2006-QO8
237 [1PP_3YR]             Pay Option Arm 2006           $174,400,889               $174,400,889           $63,264,191         $28,383,334                               $28,383,334              100.00%
    RALI 2006-QO8
238 [2PP_3YR]             Pay Option Arm 2006           $182,121,631               $182,121,631           $65,554,796         $29,411,008                               $29,411,008              100.00%
    RALI 2006-QO9
239 [1NO_PP]              Pay Option Arm 2006             $32,457,431               $32,457,431           $11,654,960             $5,228,971                               $5,228,971            100.00%
    RALI 2006-QO9
240 [1PP_1YR]             Pay Option Arm 2006             $64,963,730               $64,963,730           $23,337,782         $10,470,442                               $10,470,442              100.00%
    RALI 2006-QO9
241 [1PP_23YR]            Pay Option Arm 2006                 $135,010                  $135,010               $50,891              $22,832                                  $22,832             100.00%
    RALI 2006-QO9
242 [1PP_3YR]             Pay Option Arm 2006           $123,969,045               $123,969,045           $44,996,922         $20,187,765                               $20,187,765              100.00%
    RALI 2006-QO9
243 [2PP_3YR]             Pay Option Arm 2006           $124,821,534               $124,821,534           $45,231,370         $20,292,950                               $20,292,950              100.00%
    RALI 2006-QS1
244 [Total]                   ALT-A 2006                  $52,154,309               $52,154,309           $17,857,760             $8,011,843                               $8,011,843            100.00%
    RALI 2006-QS10
245 [Total]                   ALT-A 2006                $100,557,075               $100,557,075           $34,479,649         $15,469,215                               $15,469,215              100.00%

246 RALI 2006-QS11 [1]        ALT-A 2006                $143,611,059               $143,611,059           $49,325,609         $22,129,821                               $22,129,821              100.00%

247 RALI 2006-QS11 [2]        ALT-A 2006                  $10,029,044               $10,029,044            $3,452,998             $1,549,180                               $1,549,180            100.00%
248 RALI 2006-QS12 [I]        ALT-A 2006                  $31,241,371               $31,241,371           $10,798,896             $4,844,900                               $4,844,900            100.00%

249 RALI 2006-QS12 [II]       ALT-A 2006                  $93,411,164               $93,411,164           $32,221,326         $14,456,024                               $14,456,024              100.00%

250 RALI 2006-QS13 [1]        ALT-A 2006                $108,835,479               $108,835,479           $37,447,821         $16,800,879                               $16,800,879              100.00%

251 RALI 2006-QS13 [2]        ALT-A 2006                     $9,318,118                $9,318,118            $3,141,170           $1,409,279                               $1,409,279            100.00%
    RALI 2006-QS14
252 [Total]                   ALT-A 2006                $163,538,308               $163,538,308           $56,348,772         $25,280,747                               $25,280,747              100.00%
    RALI 2006-QS15
253 [Total]                   ALT-A 2006                $121,625,404               $121,625,404           $41,928,540         $18,811,143                               $18,811,143              100.00%
    RALI 2006-QS16
254 [Total]                   ALT-A 2006                $167,277,151               $167,277,151           $57,498,540         $25,796,587                               $25,796,587              100.00%
    RALI 2006-QS17
255 [Total]                   ALT-A 2006                $126,729,837               $126,729,837           $43,573,311         $19,549,066                               $19,549,066              100.00%

256 RALI 2006-QS18 [1]        ALT-A 2006                  $82,781,770               $82,781,770           $28,518,587         $12,794,798                               $12,794,798              100.00%

257 RALI 2006-QS18 [2]        ALT-A 2006                $192,382,426               $192,382,426           $66,424,032         $29,800,989                               $29,800,989              100.00%

258 RALI 2006-QS18 [3]        ALT-A 2006                 $10,594,899                $10,594,899            $3,576,346          $1,604,520                                $1,604,520              100.00%
259 RALI 2006-QS2 [1]         ALT-A 2006                $128,102,001               $128,102,001           $43,946,639         $19,716,558                               $19,716,558              100.00%
260 RALI 2006-QS2 [2]         ALT-A 2006                  $7,195,416                 $7,195,416            $2,421,573          $1,086,433                                $1,086,433              100.00%
261 RALI 2006-QS2 [3]         ALT-A 2006                  $1,853,466                 $1,853,466              $623,939            $279,929                                 $279,929               100.00%
262 RALI 2006-QS3 [1]         ALT-A 2006                 $80,993,173                $80,993,173           $27,813,146         $12,478,304                               $12,478,304              100.00%
263 RALI 2006-QS3 [2]         ALT-A 2006                $103,895,014               $103,895,014           $35,837,503         $16,078,413                               $16,078,413              100.00%
    RALI 2006-QS4
264 [Total]                   ALT-A 2006                $143,712,269               $143,712,269           $49,376,733         $22,152,758                               $22,152,758              100.00%
    RALI 2006-QS5
265 [Total]                   ALT-A 2006                $139,833,975               $139,833,975           $48,072,553         $21,567,640                               $21,567,640              100.00%
266 RALI 2006-QS6 [1]         ALT-A 2006                $160,579,444               $160,579,444           $55,373,308         $24,843,107                               $24,843,107              100.00%
267 RALI 2006-QS6 [2]         ALT-A 2006                  $9,815,273                 $9,815,273            $3,328,583          $1,493,361                                $1,493,361              100.00%
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                                                                      Debtor’s Attributable
                                              Net Total Collateral       Portion of Net
 1        Name               Cohort                 Losses              Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RALI 2006-QS7
268 [Total]                 ALT-A 2006                $113,855,935             $113,855,935           $39,215,364         $17,593,883                               $17,593,883              100.00%
    RALI 2006-QS8
269 [Total]                 ALT-A 2006                $204,742,078             $204,742,078           $70,445,452         $31,605,190                               $31,605,190              100.00%
270 RALI 2006-QS9 [1]       ALT-A 2006                 $91,760,351              $91,760,351           $31,582,551         $14,169,439                               $14,169,439              100.00%
271 RALI 2006-QS9 [2]       ALT-A 2006                 $22,960,068              $22,960,068            $7,952,391          $3,567,822                                $3,567,822              100.00%
    RALI 2007-QA1
272 [Total]                 ALT-A 2007                $135,783,325             $135,783,325           $46,948,050         $21,063,135                               $21,063,135              100.00%
    RALI 2007-QA2
273 [Total]                 ALT-A 2007                $122,561,937             $122,561,937           $42,455,608         $19,047,611                               $19,047,611              100.00%
    RALI 2007-QA3
274 [Total]                 ALT-A 2007                $331,625,616             $331,625,616          $114,864,146         $51,533,535                               $51,533,535              100.00%
    RALI 2007-QA4
275 [Total]                 ALT-A 2007                  $87,240,592             $87,240,592           $30,295,539         $13,592,024                               $13,592,024              100.00%
276 RALI 2007-QA5 [1]       ALT-A 2007                  $92,481,593             $92,481,593           $32,014,734         $14,363,337                               $14,363,337              100.00%
277 RALI 2007-QA5 [2]       ALT-A 2007                  $59,632,841             $59,632,841           $20,595,938          $9,240,320                                $9,240,320              100.00%
278 RALI 2007-QA5 [3]       ALT-A 2007                  $16,883,932             $16,883,932            $5,755,079          $2,582,003                                $2,582,003              100.00%
    RALI 2007-QH1
279 [Total]                 ALT-A 2007                $202,655,058             $202,655,058           $69,834,430         $31,331,056                               $31,331,056              100.00%
    RALI 2007-QH2
280 [Total]                 ALT-A 2007                $134,525,243             $134,525,243           $46,343,223         $20,791,780                               $20,791,780              100.00%
    RALI 2007-QH3
281 [Total]                 ALT-A 2007                $139,167,011             $139,167,011           $47,962,922         $21,518,455                               $21,518,455              100.00%
    RALI 2007-QH4
282 [Total]                 ALT-A 2007                $154,380,286             $154,380,286           $53,069,172         $23,809,362                               $23,809,362              100.00%
283 RALI 2007-QH5 [1]       ALT-A 2007                $133,486,749             $133,486,749           $45,904,665         $20,595,022                               $20,595,022              100.00%
284 RALI 2007-QH5 [2]       ALT-A 2007                 $63,139,530              $63,139,530           $21,746,397          $9,756,471                                $9,756,471              100.00%
    RALI 2007-QH6
285 [Total]                 ALT-A 2007                $234,932,685             $234,932,685           $80,805,321         $36,253,121                               $36,253,121              100.00%
286 RALI 2007-QH7 [1]       ALT-A 2007                 $78,607,829              $78,607,829           $26,963,784         $12,097,239                               $12,097,239              100.00%
287 RALI 2007-QH7 [2]       ALT-A 2007                 $52,959,083              $52,959,083           $18,194,569          $8,162,951                                $8,162,951              100.00%
    RALI 2007-QH8
288 [Total]                 ALT-A 2007                $220,474,243             $220,474,243           $75,804,176         $34,009,369                               $34,009,369              100.00%
    RALI 2007-QH9
289 [Total]                 ALT-A 2007                $228,871,769             $228,871,769           $78,626,391         $35,275,549                               $35,275,549              100.00%
    RALI 2007-QO1
290 [Total]             Pay Option Arm 2007           $248,001,070             $248,001,070           $90,084,572         $40,416,236                               $40,416,236              100.00%
    RALI 2007-QO2
291 [Total]             Pay Option Arm 2007           $213,492,089             $213,492,089           $77,160,670         $34,617,957                               $34,617,957              100.00%
    RALI 2007-QO3
292 [Total]             Pay Option Arm 2007           $119,591,896             $119,591,896           $43,464,620         $19,500,302                               $19,500,302              100.00%
    RALI 2007-QO4
293 [1YPP]              Pay Option Arm 2007             $38,775,953             $38,775,953           $14,078,762             $6,316,404                               $6,316,404            100.00%
    RALI 2007-QO4
294 [3YPP]              Pay Option Arm 2007           $138,102,595             $138,102,595           $50,463,360         $22,640,270                               $22,640,270              100.00%
    RALI 2007-QO4
295 [NOPP]              Pay Option Arm 2007             $24,595,930             $24,595,930              $8,904,388           $3,994,933                               $3,994,933            100.00%
    RALI 2007-QO5
296 [Total]             Pay Option Arm 2007            $95,228,288              $95,228,288           $34,885,606         $15,651,347                               $15,651,347              100.00%
297 RALI 2007-QS1 [1]        ALT-A 2007               $101,160,880             $101,160,880           $34,622,541         $15,533,323                               $15,533,323              100.00%
298 RALI 2007-QS1 [2]        ALT-A 2007               $198,634,133             $198,634,133           $68,162,793         $30,581,080                               $30,581,080              100.00%
    RALI 2007-QS10
299 [Total]                 ALT-A 2007                $127,891,133             $127,891,133           $44,021,301         $19,750,055                               $19,750,055              100.00%
    RALI 2007-QS11
300 [Total]                 ALT-A 2007                  $90,763,338             $90,763,338           $31,312,099         $14,048,101                               $14,048,101              100.00%
    RALI 2007-QS2
301 [Total]                 ALT-A 2007                $126,979,943             $126,979,943           $43,545,056         $19,536,389                               $19,536,389              100.00%
    RALI 2007-QS3
302 [Total]                 ALT-A 2007                $253,087,310             $253,087,310           $86,963,337         $39,015,901                               $39,015,901              100.00%
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                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1         Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                  RFC Recognized Claim      RFC Seller %
303 RALI 2007-QS4 [I]      ALT-A 2007               $14,357,563               $14,357,563            $4,931,492          $2,212,502                                                  $2,212,502              100.00%
304 RALI 2007-QS4 [II]     ALT-A 2007               $62,213,846               $62,213,846           $21,532,637          $9,660,568                                                  $9,660,568              100.00%
305 RALI 2007-QS4 [III]    ALT-A 2007               $77,717,218               $77,717,218           $26,600,027         $11,934,041                                                 $11,934,041              100.00%
306 RALI 2007-QS4 [IV]     ALT-A 2007               $16,451,790               $16,451,790            $5,693,897          $2,554,554                                                  $2,554,554              100.00%
307 RALI 2007-QS4 [V]      ALT-A 2007                $9,930,565                $9,930,565            $3,352,607          $1,504,140                                                  $1,504,140              100.00%
    RALI 2007-QS5
308 [Total]                ALT-A 2007             $115,597,289               $115,597,289           $39,663,031         $17,794,728                                                 $17,794,728              100.00%
    RALI 2007-QS6
309 [Total]                ALT-A 2007             $217,738,744               $217,738,744           $74,873,512         $33,591,829                                                 $33,591,829              100.00%
310 RALI 2007-QS7 [1]      ALT-A 2007             $126,732,793               $126,732,793           $43,270,391         $19,413,161                                                 $19,413,161              100.00%
311 RALI 2007-QS7 [2]      ALT-A 2007              $74,333,014                $74,333,014           $25,646,653         $11,506,312                                                 $11,506,312              100.00%
    RALI 2007-QS8
312 [Total]                ALT-A 2007             $165,411,041               $165,411,041           $56,624,303         $25,404,363                                                 $25,404,363              100.00%
    RALI 2007-QS9
313 [Total]                ALT-A 2007             $192,460,010               $192,460,010           $66,118,025         $29,663,700                                                 $29,663,700              100.00%

314 RAMP 2004-KR1 [1]     Subprime 2004             $85,994,251               $85,994,251           $49,246,190         $22,094,190                                                 $22,094,190              100.00%

315 RAMP 2004-KR1 [2]     Subprime 2004             $58,544,562               $58,544,562           $33,472,339         $15,017,288                                                 $15,017,288              100.00%

316 RAMP 2004-KR2 [1]     Subprime 2004             $63,925,009               $63,925,009           $36,582,618         $16,412,707                                                 $16,412,707              100.00%

317 RAMP 2004-KR2 [2]     Subprime 2004             $44,383,741               $44,383,741           $25,377,712         $11,385,652                                                 $11,385,652              100.00%

318 RAMP 2004-RS1 [1]     Subprime 2004             $29,380,671               $29,380,671           $16,549,236             $7,424,776   AMBAC - Insurer Exception                     $7,424,776            100.00%

319 RAMP 2004-RS1 [2A]    Subprime 2004             $40,617,693               $40,617,693           $23,260,963         $10,435,978                                                 $10,435,978              100.00%

320 RAMP 2004-RS1 [2B]    Subprime 2004             $26,091,838               $26,091,838           $14,962,698             $6,712,980                                                 $6,712,980            100.00%

321 RAMP 2004-RS10 [1]    Subprime 2004             $38,819,123               $38,819,123           $21,998,496             $9,869,575                                                 $9,869,575            100.00%

322 RAMP 2004-RS10 [2]    Subprime 2004           $111,445,050               $111,445,050           $63,762,807         $28,607,037                                                 $28,607,037              100.00%

323 RAMP 2004-RS11 [A]    Subprime 2004             $84,515,889               $84,515,889           $48,320,131         $21,678,716                                                 $21,678,716              100.00%

324 RAMP 2004-RS11 [F]    Subprime 2004             $23,098,024               $23,098,024           $13,051,043             $5,855,320                                                 $5,855,320            100.00%

325 RAMP 2004-RS12 [1]    Subprime 2004             $34,409,734               $34,409,734           $19,480,480             $8,739,873                                                 $8,739,873            100.00%

326 RAMP 2004-RS12 [2]    Subprime 2004             $86,353,687               $86,353,687           $49,376,376         $22,152,597                                                 $22,152,597              100.00%

327 RAMP 2004-RS2 [1]     Subprime 2004             $19,921,568               $19,921,568           $11,238,778             $5,042,252                                                 $5,042,252            100.00%

328 RAMP 2004-RS2 [2A]    Subprime 2004             $34,571,030               $34,571,030           $19,823,789             $8,893,897                                                 $8,893,897            100.00%

329 RAMP 2004-RS2 [2B]    Subprime 2004             $19,205,710               $19,205,710           $11,015,030             $4,941,868                                                 $4,941,868            100.00%

330 RAMP 2004-RS3 [1]     Subprime 2004             $36,014,675               $36,014,675           $20,344,296             $9,127,421                                                 $9,127,421            100.00%

331 RAMP 2004-RS3 [2]     Subprime 2004                $7,531,579                $7,531,579            $4,315,797           $1,936,272                                                 $1,936,272            100.00%

332 RAMP 2004-RS4 [1]     Subprime 2004             $29,306,260               $29,306,260           $16,517,744             $7,410,648                                                 $7,410,648            100.00%

333 RAMP 2004-RS4 [2A]    Subprime 2004             $33,973,280               $33,973,280           $19,452,947             $8,727,520                                                 $8,727,520            100.00%

334 RAMP 2004-RS4 [2B]    Subprime 2004             $32,542,213               $32,542,213           $18,661,651             $8,372,507                                                 $8,372,507            100.00%

335 RAMP 2004-RS5 [1]     Subprime 2004             $17,682,494               $17,682,494           $10,112,627             $4,537,007           AMBAC                                 $4,537,007            100.00%
                              12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                           Schedule 2R – RFC Original R+W Claims
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                                                                                                            Review     Due Diligence


             A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1        Name               Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

336 RAMP 2004-RS5 [2A]    Subprime 2004             $28,685,460               $28,685,460           $16,425,900             $7,369,442                               $7,369,442            100.00%

337 RAMP 2004-RS5 [2B]    Subprime 2004             $30,019,687               $30,019,687           $17,163,648             $7,700,431                               $7,700,431            100.00%

338 RAMP 2004-RS6 [1]     Subprime 2004             $24,899,249               $24,899,249           $14,035,904             $6,297,176                               $6,297,176            100.00%

339 RAMP 2004-RS6 [2A]    Subprime 2004             $47,007,391               $47,007,391           $26,902,338         $12,069,672                               $12,069,672              100.00%

340 RAMP 2004-RS6 [2B]    Subprime 2004             $16,281,524               $16,281,524              $9,309,026           $4,176,473                               $4,176,473            100.00%

341 RAMP 2004-RS7 [1]     Subprime 2004             $31,207,692               $31,207,692           $17,577,847             $7,886,261    FGIC                       $7,886,261            100.00%

342 RAMP 2004-RS7 [2A]    Subprime 2004             $32,717,481               $32,717,481           $18,755,504             $8,414,614    FGIC                       $8,414,614            100.00%

343 RAMP 2004-RS7 [2B]    Subprime 2004             $29,376,753               $29,376,753           $16,841,812             $7,556,040    FGIC                       $7,556,040            100.00%

344 RAMP 2004-RS7 [3]     Subprime 2004                $6,748,701                $6,748,701            $3,765,712           $1,689,478    FGIC                       $1,689,478            100.00%

345 RAMP 2004-RS8 [1]     Subprime 2004             $36,234,187               $36,234,187           $20,469,412             $9,183,555                               $9,183,555            100.00%

346 RAMP 2004-RS8 [2]     Subprime 2004             $59,601,734               $59,601,734           $34,076,432         $15,288,313                               $15,288,313              100.00%

347 RAMP 2004-RS9 [1]     Subprime 2004             $25,645,428               $25,645,428           $14,596,583             $6,548,723   AMBAC                       $6,548,723            100.00%

348 RAMP 2004-RS9 [2]     Subprime 2004             $72,827,221               $72,827,221           $41,648,474         $18,685,492                               $18,685,492              100.00%

349 RAMP 2004-RZ1 [1]     Subprime 2004             $23,533,534               $23,533,534           $13,347,694             $5,988,412                               $5,988,412            100.00%

350 RAMP 2004-RZ1 [2]     Subprime 2004                $7,755,378                $7,755,378            $4,440,708           $1,992,313                               $1,992,313            100.00%

351 RAMP 2004-RZ2 [1]     Subprime 2004             $25,715,420               $25,715,420           $14,590,734             $6,546,099    FGIC                       $6,546,099            100.00%

352 RAMP 2004-RZ2 [2]     Subprime 2004             $10,299,774               $10,299,774              $5,881,618           $2,638,774    FGIC                       $2,638,774            100.00%

353 RAMP 2004-RZ3 [1]     Subprime 2004             $14,970,705               $14,970,705              $8,471,384           $3,800,667                               $3,800,667            100.00%

354 RAMP 2004-RZ3 [2]     Subprime 2004             $12,444,695               $12,444,695              $7,101,170           $3,185,923                               $3,185,923            100.00%

355 RAMP 2004-RZ4 [A]     Subprime 2004             $12,087,161               $12,087,161              $6,895,120           $3,093,480                               $3,093,480            100.00%

356 RAMP 2004-RZ4 [F]     Subprime 2004             $14,025,985               $14,025,985              $7,946,157           $3,565,025                               $3,565,025            100.00%
    RAMP 2004-SL1
357 [EIGHT]               Subprime 2004                 $716,664                  $716,664              $400,050             $179,482                                 $179,482             100.00%
    RAMP 2004-SL1
358 [FIVE]                Subprime 2004                  $32,908                   $32,908               $18,196                $8,164                                  $8,164             100.00%
    RAMP 2004-SL1
359 [FOUR]                Subprime 2004                  $78,823                   $78,823               $43,613              $19,567                                  $19,567             100.00%
    RAMP 2004-SL1
360 [NINE]                Subprime 2004                 $127,433                  $127,433               $70,463              $31,613                                  $31,613             100.00%
    RAMP 2004-SL1
361 [ONE]                 Subprime 2004                $4,147,997                $4,147,997            $2,365,239           $1,061,159                               $1,061,159            100.00%
    RAMP 2004-SL1
362 [SEVEN]               Subprime 2004                $1,307,687                $1,307,687             $734,790             $329,662                                 $329,662             100.00%

363 RAMP 2004-SL1 [SIX]   Subprime 2004                 $464,953                  $464,953              $263,403             $118,175                                 $118,175             100.00%
    RAMP 2004-SL1
364 [THREE]               Subprime 2004                  $17,161                   $17,161                $9,676                $4,341                                  $4,341             100.00%
    RAMP 2004-SL1
365 [TWO]                 Subprime 2004                  $16,279                   $16,279                $9,003               $4,039                                   $4,039             100.00%
366 RAMP 2004-SL2 [1]     Subprime 2004                 $118,389                  $118,389               $65,977              $29,600                                  $29,600             100.00%
                             12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                          Schedule 2R – RFC Original R+W Claims
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                                                                                                           Review     Due Diligence


            A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
 1        Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
367 RAMP 2004-SL2 [2]    Subprime 2004                  $495,833                 $495,833               $274,540            $123,172                                 $123,172             100.00%
368 RAMP 2004-SL2 [3]    Subprime 2004                $1,124,730                $1,124,730              $629,941            $282,622                                 $282,622             100.00%
369 RAMP 2004-SL2 [4]    Subprime 2004                $5,853,802                $5,853,802            $3,350,968           $1,503,404                               $1,503,404            100.00%
370 RAMP 2004-SL3 [1]    Subprime 2004                  $272,919                 $272,919               $155,993              $69,986                                  $69,986            100.00%
371 RAMP 2004-SL3 [2]    Subprime 2004                  $750,273                 $750,273               $421,457            $189,086                                 $189,086             100.00%
372 RAMP 2004-SL3 [3]    Subprime 2004                  $406,291                 $406,291               $227,291            $101,974                                 $101,974             100.00%
373 RAMP 2004-SL3 [4]    Subprime 2004                $1,699,613                $1,699,613              $970,892            $435,589                                 $435,589             100.00%
374 RAMP 2004-SL4 [1]    Subprime 2004                   $49,965                   $49,965               $27,628              $12,395                                  $12,395            100.00%
375 RAMP 2004-SL4 [2]    Subprime 2004                  $146,088                 $146,088                $81,723              $36,665                                  $36,665            100.00%
376 RAMP 2004-SL4 [3]    Subprime 2004                  $427,877                 $427,877               $239,051            $107,250                                 $107,250             100.00%
377 RAMP 2004-SL4 [4]    Subprime 2004                  $419,724                 $419,724               $236,139            $105,943                                 $105,943             100.00%
378 RAMP 2004-SL4 [5]    Subprime 2004                $1,397,490                $1,397,490              $798,230            $358,124                                 $358,124             100.00%
    RAMP 2005-EFC1
379 [1A]                 Subprime 2005             $69,173,063               $69,173,063           $39,476,680         $17,711,121                               $17,711,121              100.00%
    RAMP 2005-EFC1
380 [1F]                 Subprime 2005             $12,056,960               $12,056,960              $6,792,828           $3,047,587                               $3,047,587            100.00%
    RAMP 2005-EFC1
381 [2A]                 Subprime 2005             $61,435,263               $61,435,263           $35,036,182         $15,718,902                               $15,718,902              100.00%
    RAMP 2005-EFC1
382 [2F]                 Subprime 2005             $16,748,008               $16,748,008              $9,436,379           $4,233,610                               $4,233,610            100.00%

383 RAMP 2005-EFC2 [A]   Subprime 2005           $101,148,279               $101,148,279           $57,737,839         $25,903,949                               $25,903,949              100.00%

384 RAMP 2005-EFC2 [F]   Subprime 2005             $18,270,213               $18,270,213           $10,289,780             $4,616,486                               $4,616,486            100.00%
    RAMP 2005-EFC3
385 [1A]                 Subprime 2005             $65,312,627               $65,312,627           $37,251,145         $16,712,641                               $16,712,641              100.00%
    RAMP 2005-EFC3
386 [1F]                 Subprime 2005                $6,628,196                $6,628,196            $3,745,982           $1,680,626                               $1,680,626            100.00%
    RAMP 2005-EFC3
387 [2A]                 Subprime 2005             $47,266,394               $47,266,394           $26,935,661         $12,084,622                               $12,084,622              100.00%
    RAMP 2005-EFC3
388 [2F]                 Subprime 2005             $16,573,666               $16,573,666              $9,350,299           $4,194,990                               $4,194,990            100.00%

389 RAMP 2005-EFC4 [A]   Subprime 2005           $129,644,110               $129,644,110           $73,941,134         $33,173,520                               $33,173,520              100.00%

390 RAMP 2005-EFC4 [F]   Subprime 2005             $23,296,896               $23,296,896           $13,122,812             $5,887,520                               $5,887,520            100.00%

391 RAMP 2005-EFC5 [A]   Subprime 2005           $129,368,509               $129,368,509           $73,684,527         $33,058,394                               $33,058,394              100.00%

392 RAMP 2005-EFC5 [F]   Subprime 2005             $21,624,518               $21,624,518           $12,201,197             $5,474,039                               $5,474,039            100.00%
    RAMP 2005-EFC6
393 [1A]                 Subprime 2005             $91,772,118               $91,772,118           $52,375,503         $23,498,149                               $23,498,149              100.00%
    RAMP 2005-EFC6
394 [1F]                 Subprime 2005             $20,769,435               $20,769,435           $11,745,602             $5,269,637                               $5,269,637            100.00%
    RAMP 2005-EFC6
395 [2A]                 Subprime 2005             $33,689,926               $33,689,926           $19,163,039             $8,597,453                               $8,597,453            100.00%
    RAMP 2005-EFC6
396 [2F]                 Subprime 2005                $6,436,035                $6,436,035            $3,626,622           $1,627,076                               $1,627,076            100.00%
    RAMP 2005-EFC7
397 [1A]                 Subprime 2005             $78,138,224               $78,138,224           $44,506,718         $19,967,837       FGIC                    $19,967,837              100.00%
    RAMP 2005-EFC7
398 [1F]                 Subprime 2005             $26,092,878               $26,092,878           $14,753,924             $6,619,314    FGIC                       $6,619,314            100.00%
    RAMP 2005-EFC7
399 [2A]                 Subprime 2005             $44,058,681               $44,058,681           $25,177,022         $11,295,613       FGIC                    $11,295,613              100.00%
    RAMP 2005-EFC7
400 [2F]                 Subprime 2005                $5,066,696                $5,066,696            $2,876,303           $1,290,447    FGIC                       $1,290,447            100.00%
    RAMP 2005-NC1
401 [1A]                 Subprime 2005             $85,484,594               $85,484,594           $48,752,350         $21,872,630       FGIC                    $21,872,630              100.00%
                             12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                          Schedule 2R – RFC Original R+W Claims
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                                                                                                           Review     Due Diligence


            A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
 1        Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

402 RAMP 2005-NC1 [1F]   Subprime 2005             $25,271,470               $25,271,470           $14,311,132             $6,420,656    FGIC                       $6,420,656            100.00%
    RAMP 2005-NC1
403 [2A]                 Subprime 2005             $61,696,843               $61,696,843           $35,165,697         $15,777,009       FGIC                    $15,777,009              100.00%

404 RAMP 2005-NC1 [2F]   Subprime 2005             $27,149,460               $27,149,460           $15,360,535             $6,891,469    FGIC                       $6,891,469            100.00%

405 RAMP 2005-RS1 [1]    Subprime 2005             $40,013,212               $40,013,212           $22,557,518         $10,120,378                               $10,120,378              100.00%

406 RAMP 2005-RS1 [2]    Subprime 2005             $99,244,735               $99,244,735           $56,626,381         $25,405,295                               $25,405,295              100.00%

407 RAMP 2005-RS2 [1A]   Subprime 2005             $61,905,028               $61,905,028           $35,349,657         $15,859,542                               $15,859,542              100.00%

408 RAMP 2005-RS2 [1F]   Subprime 2005             $16,029,124               $16,029,124              $9,062,453           $4,065,849                               $4,065,849            100.00%

409 RAMP 2005-RS2 [2A]   Subprime 2005             $19,011,637               $19,011,637           $10,847,277             $4,866,606                               $4,866,606            100.00%

410 RAMP 2005-RS2 [2F]   Subprime 2005                $8,736,196                $8,736,196            $4,929,380           $2,211,555                               $2,211,555            100.00%
    RAMP 2005-RS3
411 [1AA]                Subprime 2005             $27,193,008               $27,193,008           $15,511,184             $6,959,057                               $6,959,057            100.00%
    RAMP 2005-RS3
412 [1AF]                Subprime 2005             $20,917,142               $20,917,142           $11,794,843             $5,291,729                               $5,291,729            100.00%
    RAMP 2005-RS3
413 [1BA]                Subprime 2005             $35,292,207               $35,292,207           $20,079,811             $9,008,761                               $9,008,761            100.00%
    RAMP 2005-RS3
414 [1BF]                Subprime 2005             $12,710,329               $12,710,329              $7,166,615           $3,215,285                               $3,215,285            100.00%

415 RAMP 2005-RS3 [2]    Subprime 2005             $15,865,140               $15,865,140              $8,954,061           $4,017,219                               $4,017,219            100.00%

416 RAMP 2005-RS4 [A]    Subprime 2005             $67,024,304               $67,024,304           $38,201,775         $17,139,138                               $17,139,138              100.00%

417 RAMP 2005-RS4 [F]    Subprime 2005             $20,820,533               $20,820,533           $11,726,878             $5,261,237                               $5,261,237            100.00%

418 RAMP 2005-RS5 [1A]   Subprime 2005             $24,725,556               $24,725,556           $14,074,520             $6,314,501                               $6,314,501            100.00%

419 RAMP 2005-RS5 [1F]   Subprime 2005             $10,630,408               $10,630,408              $5,989,533           $2,687,190                               $2,687,190            100.00%

420 RAMP 2005-RS5 [2A]   Subprime 2005             $35,220,616               $35,220,616           $20,069,742             $9,004,244                               $9,004,244            100.00%

421 RAMP 2005-RS5 [2F]   Subprime 2005                $8,341,665                $8,341,665            $4,711,851           $2,113,961                               $2,113,961            100.00%

422 RAMP 2005-RS6 [1A]   Subprime 2005             $73,094,634               $73,094,634           $41,687,831         $18,703,150                               $18,703,150              100.00%

423 RAMP 2005-RS6 [1F]   Subprime 2005             $26,872,003               $26,872,003           $15,151,652             $6,797,754                               $6,797,754            100.00%

424 RAMP 2005-RS6 [2A]   Subprime 2005             $76,867,095               $76,867,095           $43,799,132         $19,650,380                               $19,650,380              100.00%

425 RAMP 2005-RS6 [2F]   Subprime 2005             $19,451,317               $19,451,317           $11,000,927             $4,935,541                               $4,935,541            100.00%

426 RAMP 2005-RS7 [A]    Subprime 2005             $51,845,493               $51,845,493           $29,504,222         $13,237,001                               $13,237,001              100.00%

427 RAMP 2005-RS7 [F]    Subprime 2005             $38,257,195               $38,257,195           $21,543,421             $9,665,406                               $9,665,406            100.00%
    RAMP 2005-RS8
428 [AG5]                Subprime 2005             $32,229,039               $32,229,039           $18,272,471             $8,197,902                               $8,197,902            100.00%
    RAMP 2005-RS8
429 [AL5]                Subprime 2005             $78,074,733               $78,074,733           $44,514,432         $19,971,298                               $19,971,298              100.00%

430 RAMP 2005-RS8 [F]    Subprime 2005             $35,390,738               $35,390,738           $19,958,347             $8,954,266                               $8,954,266            100.00%
    RAMP 2005-RS9
431 [1A_L]               Subprime 2005             $23,308,656               $23,308,656           $13,196,254             $5,920,469    FGIC                       $5,920,469            100.00%
                             12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                          Schedule 2R – RFC Original R+W Claims
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                                                                                        Subject toPg    202
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                                                                                                           Review     Due Diligence


            A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
 1        Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RAMP 2005-RS9
432 [1A_S]               Subprime 2005             $68,738,835               $68,738,835           $39,126,674         $17,554,092       FGIC                    $17,554,092              100.00%

433 RAMP 2005-RS9 [1F]   Subprime 2005             $36,660,035               $36,660,035           $20,716,523             $9,294,421    FGIC                       $9,294,421            100.00%
    RAMP 2005-RS9
434 [2A_L]               Subprime 2005                $8,853,973                $8,853,973            $5,024,373           $2,254,174    FGIC                       $2,254,174            100.00%
    RAMP 2005-RS9
435 [2A_S]               Subprime 2005             $72,725,684               $72,725,684           $41,447,661         $18,595,397       FGIC                    $18,595,397              100.00%

436 RAMP 2005-RS9 [2F]   Subprime 2005             $20,427,868               $20,427,868           $11,578,404             $5,194,624    FGIC                       $5,194,624            100.00%

437 RAMP 2005-RZ1 [A]    Subprime 2005             $14,682,916               $14,682,916              $8,343,085           $3,743,106                               $3,743,106            100.00%

438 RAMP 2005-RZ1 [F]    Subprime 2005             $11,482,144               $11,482,144              $6,485,526           $2,909,717                               $2,909,717            100.00%

439 RAMP 2005-RZ2 [1A]   Subprime 2005             $22,207,688               $22,207,688           $12,657,089             $5,678,574                               $5,678,574            100.00%

440 RAMP 2005-RZ2 [1F]   Subprime 2005                $6,706,532                $6,706,532            $3,798,736           $1,704,294                               $1,704,294            100.00%

441 RAMP 2005-RZ2 [2A]   Subprime 2005             $25,559,677               $25,559,677           $14,536,377             $6,521,712                               $6,521,712            100.00%

442 RAMP 2005-RZ2 [2F]   Subprime 2005                $7,677,029                $7,677,029            $4,343,140           $1,948,540                               $1,948,540            100.00%

443 RAMP 2005-RZ3 [A]    Subprime 2005             $64,551,652               $64,551,652           $36,794,419         $16,507,731                               $16,507,731              100.00%

444 RAMP 2005-RZ3 [F]    Subprime 2005             $18,799,079               $18,799,079           $10,624,279             $4,766,558                               $4,766,558            100.00%

445 RAMP 2005-RZ4 [A]    Subprime 2005             $83,856,750               $83,856,750           $47,825,142         $21,456,640                               $21,456,640              100.00%

446 RAMP 2005-RZ4 [F]    Subprime 2005             $25,495,934               $25,495,934           $14,411,718             $6,465,784                               $6,465,784            100.00%
447 RAMP 2005-SL1 [1]      ALT-A 2005                 $316,278                 $316,278               $122,880                $55,130                                  $55,130            100.00%
448 RAMP 2005-SL1 [2]      ALT-A 2005                 $214,194                 $214,194                $84,799                $38,045                                  $38,045            100.00%
449 RAMP 2005-SL1 [3]      ALT-A 2005               $2,366,444                $2,366,444            $1,046,003              $469,287                                 $469,287             100.00%
450 RAMP 2005-SL1 [4]      ALT-A 2005               $1,200,472                $1,200,472              $495,942              $222,503                                 $222,503             100.00%
451 RAMP 2005-SL1 [5]      ALT-A 2005               $1,303,177                $1,303,177              $522,877              $234,588                                 $234,588             100.00%
452 RAMP 2005-SL1 [6]      ALT-A 2005               $1,189,819                $1,189,819              $505,205              $226,659                                 $226,659             100.00%
453 RAMP 2005-SL1 [7]      ALT-A 2005               $7,735,437                $7,735,437            $3,359,197             $1,507,096                               $1,507,096            100.00%
454 RAMP 2005-SL2 [1]      ALT-A 2005                 $302,438                 $302,438               $117,395                $52,669                                  $52,669            100.00%
455 RAMP 2005-SL2 [2]      ALT-A 2005               $1,568,381                $1,568,381              $687,037              $308,238                                 $308,238             100.00%
456 RAMP 2005-SL2 [3]      ALT-A 2005               $1,526,436                $1,526,436              $632,898              $283,948                                 $283,948             100.00%
457 RAMP 2005-SL2 [4]      ALT-A 2005               $2,730,339                $2,730,339            $1,178,031              $528,521                                 $528,521             100.00%
458 RAMP 2005-SL2 [5]      ALT-A 2005               $3,089,817                $3,089,817            $1,359,518              $609,945                                 $609,945             100.00%

459 RAMP 2006-EFC1 [A]   Subprime 2006           $124,233,607               $124,233,607           $69,050,031         $30,979,138                               $30,979,138              100.00%

460 RAMP 2006-EFC1 [F]   Subprime 2006             $34,786,684               $34,786,684           $19,342,743             $8,678,077                               $8,678,077            100.00%

461 RAMP 2006-EFC2 [A]   Subprime 2006           $106,881,854               $106,881,854           $59,422,826         $26,659,914                               $26,659,914              100.00%

462 RAMP 2006-EFC2 [F]   Subprime 2006             $39,080,119               $39,080,119           $21,734,983             $9,751,350                               $9,751,350            100.00%

463 RAMP 2006-NC1 [A]    Subprime 2006           $123,559,915               $123,559,915           $68,662,265         $30,805,167                               $30,805,167              100.00%

464 RAMP 2006-NC1 [F]    Subprime 2006             $35,623,267               $35,623,267           $19,809,915             $8,887,673                               $8,887,673            100.00%

465 RAMP 2006-NC2 [A]    Subprime 2006           $183,384,446               $183,384,446          $101,918,958         $45,725,706                               $45,725,706              100.00%

466 RAMP 2006-NC2 [F]    Subprime 2006             $57,013,026               $57,013,026           $31,708,467         $14,225,931                               $14,225,931              100.00%
                             12-12020-mg               Doc 6065-1                 Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                      Schedule 2R – RFC Original R+W Claims
                                                                                                                                                         Appendix 1
                                                                                    Subject toPg    203
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                                                                                                       Review     Due Diligence


            A                 B                   C                       D                     E                  F                        G                          H                     I

                                                                 Debtor’s Attributable
                                         Net Total Collateral       Portion of Net
 1        Name              Cohort             Losses              Collateral Losses   Losses Due to Breach    RFC Claim                Insurer               RFC Recognized Claim      RFC Seller %

467 RAMP 2006-NC3 [A]    Subprime 2006           $129,874,502             $129,874,502           $72,179,832       $32,383,315                                          $32,383,315              100.00%

468 RAMP 2006-NC3 [F]    Subprime 2006             $42,661,703             $42,661,703           $23,727,964       $10,645,496                                          $10,645,496              100.00%

469 RAMP 2006-RS1 [1A]   Subprime 2006           $139,203,110             $139,203,110           $77,382,422       $34,717,446                                          $34,717,446              100.00%

470 RAMP 2006-RS1 [1F]   Subprime 2006             $59,740,546             $59,740,546           $33,218,548       $14,903,425                                          $14,903,425              100.00%

471 RAMP 2006-RS1 [2A]   Subprime 2006           $116,046,100             $116,046,100           $64,499,965       $28,937,761                                          $28,937,761              100.00%

472 RAMP 2006-RS1 [2F]   Subprime 2006             $24,143,676             $24,143,676           $13,425,806           $6,023,457                                          $6,023,457            100.00%

473 RAMP 2006-RS2 [A]    Subprime 2006           $150,057,328             $150,057,328           $83,401,888       $37,418,065                                          $37,418,065              100.00%

474 RAMP 2006-RS2 [F]    Subprime 2006             $88,757,924             $88,757,924           $49,365,294       $22,147,626                                          $22,147,626              100.00%

475 RAMP 2006-RS3 [A]    Subprime 2006             $76,965,669             $76,965,669           $42,772,864       $19,189,947      MGIC (Pool Policy)                  $19,189,947              100.00%

476 RAMP 2006-RS3 [F]    Subprime 2006           $135,543,094             $135,543,094           $75,385,807       $33,821,669      MGIC (Pool Policy)                  $33,821,669              100.00%

477 RAMP 2006-RS4 [A]    Subprime 2006           $246,474,867             $246,474,867          $136,983,995       $61,457,554                                          $61,457,554              100.00%

478 RAMP 2006-RS4 [F]    Subprime 2006             $93,300,680             $93,300,680           $51,879,066       $23,275,423                                          $23,275,423              100.00%

479 RAMP 2006-RS5 [A]    Subprime 2006             $58,016,723             $58,016,723           $32,246,505       $14,467,320                                          $14,467,320              100.00%

480 RAMP 2006-RS5 [F]    Subprime 2006             $76,811,839             $76,811,839           $42,719,206       $19,165,873                                          $19,165,873              100.00%

481 RAMP 2006-RS6 [A]    Subprime 2006           $109,297,956             $109,297,956           $60,744,923       $27,253,070                                          $27,253,070              100.00%

482 RAMP 2006-RS6 [F]    Subprime 2006             $35,952,810             $35,952,810           $19,994,292           $8,970,393                                          $8,970,393            100.00%

483 RAMP 2006-RZ1 [A]    Subprime 2006           $108,145,173             $108,145,173           $60,106,687       $26,966,727                                          $26,966,727              100.00%

484 RAMP 2006-RZ1 [F]    Subprime 2006             $34,897,714             $34,897,714           $19,414,969           $8,710,481                                          $8,710,481            100.00%

485 RAMP 2006-RZ2 [A]    Subprime 2006           $107,777,974             $107,777,974           $59,894,624       $26,871,585                                          $26,871,585              100.00%

486 RAMP 2006-RZ2 [F]    Subprime 2006             $23,618,253             $23,618,253           $13,137,432           $5,894,079                                          $5,894,079            100.00%

487 RAMP 2006-RZ3 [A]    Subprime 2006           $238,960,739             $238,960,739          $132,810,688       $59,585,210                                          $59,585,210              100.00%

488 RAMP 2006-RZ3 [F]    Subprime 2006             $48,544,187             $48,544,187           $27,002,010       $12,114,390                                          $12,114,390              100.00%

489 RAMP 2006-RZ4 [A]    Subprime 2006           $288,472,108             $288,472,108          $160,338,380       $71,935,445                                          $71,935,445              100.00%

490 RAMP 2006-RZ4 [F]    Subprime 2006             $72,876,036             $72,876,036           $40,532,889       $18,184,987                                          $18,184,987              100.00%

491 RAMP 2006-RZ5 [A]    Subprime 2006           $144,669,076             $144,669,076           $80,406,753       $36,074,305                                          $36,074,305              100.00%

492 RAMP 2006-RZ5 [F]    Subprime 2006             $62,065,277             $62,065,277           $34,517,197       $15,486,061                                          $15,486,061              100.00%

493 RAMP 2007-RS1 [A]    Subprime 2007             $41,524,708             $41,524,708           $23,086,412       $10,357,665                                          $10,357,665              100.00%

494 RAMP 2007-RS1 [F]    Subprime 2007           $139,125,561             $139,125,561           $77,365,399       $34,709,808                                          $34,709,808              100.00%

495 RAMP 2007-RS2 [A]    Subprime 2007           $111,193,752             $111,193,752           $61,805,501       $27,728,896                                          $27,728,896              100.00%

496 RAMP 2007-RS2 [F]    Subprime 2007             $67,903,369             $67,903,369           $37,768,301       $16,944,661                                          $16,944,661              100.00%
                              12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                           Schedule 2R – RFC Original R+W Claims
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                                                                                         Subject toPg    204
                                                                                                    Further      ofand265
                                                                                                            Review     Due Diligence


             A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1        Name               Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

497 RAMP 2007-RZ1 [A]     Subprime 2007           $105,384,995               $105,384,995           $58,575,326         $26,279,685                               $26,279,685              100.00%

498 RAMP 2007-RZ1 [F]     Subprime 2007             $39,569,044               $39,569,044           $22,008,943             $9,874,262                               $9,874,262            100.00%
499 RASC 2004-KS1 [1]     Subprime 2004             $19,904,485               $19,904,485           $11,217,544             $5,032,725                               $5,032,725            100.00%

500 RASC 2004-KS1 [2A]    Subprime 2004             $16,074,227               $16,074,227              $9,191,542           $4,123,764                               $4,123,764            100.00%

501 RASC 2004-KS1 [2B]    Subprime 2004             $15,599,526               $15,599,526              $8,929,061           $4,006,002                               $4,006,002            100.00%
    RASC 2004-KS10
502 [1A]                  Subprime 2004             $18,698,074               $18,698,074           $10,699,373             $4,800,249                               $4,800,249            100.00%

503 RASC 2004-KS10 [1F]   Subprime 2004                $7,347,386                $7,347,386            $4,150,557           $1,862,138                               $1,862,138            100.00%
    RASC 2004-KS10
504 [2A]                  Subprime 2004             $50,569,433               $50,569,433           $28,904,741         $12,968,045                               $12,968,045              100.00%

505 RASC 2004-KS10 [2F]   Subprime 2004                $8,156,741                $8,156,741            $4,604,414           $2,065,760                               $2,065,760            100.00%
    RASC 2004-KS11
506 [1A]                  Subprime 2004             $28,358,503               $28,358,503           $16,204,003             $7,269,889                               $7,269,889            100.00%

507 RASC 2004-KS11 [1F]   Subprime 2004                $2,921,401                $2,921,401            $1,650,087            $740,308                                 $740,308             100.00%
    RASC 2004-KS11
508 [2A]                  Subprime 2004             $27,117,556               $27,117,556           $15,501,315             $6,954,629                               $6,954,629            100.00%

509 RASC 2004-KS11 [2F]   Subprime 2004                $3,473,119                $3,473,119            $1,964,895            $881,546                                 $881,546             100.00%
    RASC 2004-KS12
510 [1A]                  Subprime 2004             $23,199,991               $23,199,991           $13,278,977             $5,957,582                               $5,957,582            100.00%

511 RASC 2004-KS12 [1F]   Subprime 2004                $3,429,187                $3,429,187            $1,942,014            $871,280                                 $871,280             100.00%
    RASC 2004-KS12
512 [2A]                  Subprime 2004             $21,371,105               $21,371,105           $12,211,553             $5,478,685                               $5,478,685            100.00%

513 RASC 2004-KS12 [2F]   Subprime 2004              $3,380,262                $3,380,262            $1,907,846              $855,951                                 $855,951             100.00%
514 RASC 2004-KS2 [1]     Subprime 2004             $23,454,882               $23,454,882           $13,228,959             $5,935,142                               $5,935,142            100.00%

515 RASC 2004-KS2 [2A]    Subprime 2004             $17,871,521               $17,871,521           $10,224,920             $4,587,387                               $4,587,387            100.00%

516 RASC 2004-KS2 [2B]    Subprime 2004             $17,777,457               $17,777,457           $10,172,945             $4,564,068                               $4,564,068            100.00%
517 RASC 2004-KS3 [1]     Subprime 2004             $15,563,536               $15,563,536            $8,759,851             $3,930,087                               $3,930,087            100.00%

518 RASC 2004-KS3 [2A]    Subprime 2004             $14,157,504               $14,157,504              $8,093,478           $3,631,120                               $3,631,120            100.00%

519 RASC 2004-KS3 [2B]    Subprime 2004             $14,075,780               $14,075,780              $8,048,290           $3,610,847                               $3,610,847            100.00%
520 RASC 2004-KS4 [1]     Subprime 2004             $16,176,240               $16,176,240              $9,153,243           $4,106,581   AMBAC                       $4,106,581            100.00%

521 RASC 2004-KS4 [2A]    Subprime 2004             $21,183,761               $21,183,761           $12,116,244             $5,435,925   AMBAC                       $5,435,925            100.00%

522 RASC 2004-KS4 [2B]    Subprime 2004             $20,412,175               $20,412,175           $11,686,311             $5,243,037   AMBAC                       $5,243,037            100.00%
523 RASC 2004-KS5 [1]     Subprime 2004             $24,177,040               $24,177,040           $13,581,714             $6,093,405                               $6,093,405            100.00%

524 RASC 2004-KS5 [2A]    Subprime 2004             $25,176,509               $25,176,509           $14,388,483             $6,455,360                               $6,455,360            100.00%

525 RASC 2004-KS5 [2B]    Subprime 2004             $24,431,449               $24,431,449           $13,976,509             $6,270,528                               $6,270,528            100.00%
526 RASC 2004-KS6 [1]     Subprime 2004             $19,572,769               $19,572,769           $11,033,061             $4,949,957                               $4,949,957            100.00%

527 RASC 2004-KS6 [2A]    Subprime 2004             $26,575,817               $26,575,817           $15,205,535             $6,821,928                               $6,821,928            100.00%

528 RASC 2004-KS6 [2B]    Subprime 2004             $26,639,291               $26,639,291           $15,240,631             $6,837,674                               $6,837,674            100.00%
529 RASC 2004-KS7 [1]     Subprime 2004             $17,950,455               $17,950,455           $10,117,443             $4,539,167    FGIC                       $4,539,167            100.00%
                              12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                           Schedule 2R – RFC Original R+W Claims
                                                                                                                                                   Appendix 1
                                                                                         Subject toPg    205
                                                                                                    Further      ofand265
                                                                                                            Review     Due Diligence


             A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1        Name               Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

530 RASC 2004-KS7 [2A]    Subprime 2004             $18,698,981               $18,698,981           $10,683,418             $4,793,091    FGIC                       $4,793,091            100.00%

531 RASC 2004-KS7 [2B]    Subprime 2004             $19,160,076               $19,160,076           $10,938,376             $4,907,477    FGIC                       $4,907,477            100.00%
532 RASC 2004-KS8 [1]     Subprime 2004             $21,103,817               $21,103,817           $11,915,800             $5,345,996                               $5,345,996            100.00%
533 RASC 2004-KS8 [2]     Subprime 2004             $27,836,805               $27,836,805           $15,937,260             $7,150,215                               $7,150,215            100.00%
534 RASC 2004-KS9 [1]     Subprime 2004             $12,933,296               $12,933,296            $7,285,102             $3,268,444    FGIC                       $3,268,444            100.00%
535 RASC 2004-KS9 [2]     Subprime 2004             $27,657,220               $27,657,220           $15,795,876             $7,086,783    FGIC                       $7,086,783            100.00%

536 RASC 2005-AHL1 [A]    Subprime 2005             $99,458,652               $99,458,652           $56,707,581         $25,441,726                               $25,441,726              100.00%

537 RASC 2005-AHL1 [F]    Subprime 2005                $4,415,699                $4,415,699            $2,500,106           $1,121,667                               $1,121,667            100.00%

538 RASC 2005-AHL2 [A]    Subprime 2005             $86,152,991               $86,152,991           $49,191,559         $22,069,680                               $22,069,680              100.00%

539 RASC 2005-AHL2 [F]    Subprime 2005             $20,881,172               $20,881,172           $11,748,861             $5,271,099                               $5,271,099            100.00%

540 RASC 2005-AHL3 [A]    Subprime 2005           $107,860,397               $107,860,397           $61,569,467         $27,622,999                               $27,622,999              100.00%

541 RASC 2005-AHL3 [F]    Subprime 2005             $22,149,846               $22,149,846           $12,465,105             $5,592,441                               $5,592,441            100.00%
    RASC 2005-EMX1
542 [1A]                  Subprime 2005             $22,395,515               $22,395,515           $12,759,631             $5,724,579                               $5,724,579            100.00%
    RASC 2005-EMX1
543 [1F]                  Subprime 2005             $15,177,222               $15,177,222              $8,535,066           $3,829,238                               $3,829,238            100.00%
    RASC 2005-EMX1
544 [2A]                  Subprime 2005             $23,087,315               $23,087,315           $13,122,770             $5,887,501                               $5,887,501            100.00%
    RASC 2005-EMX1
545 [2F]                  Subprime 2005                $9,790,923                $9,790,923            $5,502,829           $2,468,831                               $2,468,831            100.00%

546 RASC 2005-EMX2 [A]    Subprime 2005             $55,167,321               $55,167,321           $31,369,204         $14,073,721                               $14,073,721              100.00%

547 RASC 2005-EMX2 [F]    Subprime 2005             $29,793,128               $29,793,128           $16,829,542             $7,550,535                               $7,550,535            100.00%
    RASC 2005-EMX3
548 [1A]                  Subprime 2005             $57,614,160               $57,614,160           $32,847,804         $14,737,092                               $14,737,092              100.00%
    RASC 2005-EMX3
549 [1F]                  Subprime 2005             $13,386,691               $13,386,691              $7,601,417           $3,410,358                               $3,410,358            100.00%
    RASC 2005-EMX3
550 [2A]                  Subprime 2005             $50,687,020               $50,687,020           $28,840,420         $12,939,188                               $12,939,188              100.00%
    RASC 2005-EMX3
551 [2F]                  Subprime 2005             $14,470,596               $14,470,596              $8,204,078           $3,680,741                               $3,680,741            100.00%

552 RASC 2005-EMX4 [A]    Subprime 2005             $90,679,459               $90,679,459           $51,605,474         $23,152,677                               $23,152,677              100.00%

553 RASC 2005-EMX4 [F]    Subprime 2005             $32,002,070               $32,002,070           $18,246,900             $8,186,430                               $8,186,430            100.00%

554 RASC 2005-EMX5 [A]    Subprime 2005             $68,387,817               $68,387,817           $39,004,772         $17,499,401       FGIC                    $17,499,401              100.00%

555 RASC 2005-EMX5 [F]    Subprime 2005             $26,476,260               $26,476,260           $15,127,530             $6,786,931    FGIC                       $6,786,931            100.00%

556 RASC 2005-KS1 [1A]    Subprime 2005             $59,781,370               $59,781,370           $34,094,640         $15,296,482                               $15,296,482              100.00%

557 RASC 2005-KS1 [1F]    Subprime 2005             $13,865,151               $13,865,151              $7,820,617           $3,508,702                               $3,508,702            100.00%
    RASC 2005-KS10
558 [1A]                  Subprime 2005           $144,539,990               $144,539,990           $82,494,989         $37,011,187                               $37,011,187              100.00%

559 RASC 2005-KS10 [1F]   Subprime 2005             $26,771,885               $26,771,885           $15,182,221             $6,811,469                               $6,811,469            100.00%
    RASC 2005-KS10
560 [2A]                  Subprime 2005           $106,210,099               $106,210,099           $60,515,795         $27,150,272                               $27,150,272              100.00%

561 RASC 2005-KS10 [2F]   Subprime 2005             $34,680,249               $34,680,249           $19,620,541             $8,802,711                               $8,802,711            100.00%
                              12-12020-mg                 Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                           Schedule 2R – RFC Original R+W Claims
                                                                                                                                                   Appendix 1
                                                                                         Subject toPg    206
                                                                                                    Further      ofand265
                                                                                                            Review     Due Diligence


             A                 B                   C                         D                     E                    F                  G                     H                     I

                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1        Name               Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RASC 2005-KS11
562 [1A]                  Subprime 2005           $138,668,473               $138,668,473           $79,100,329         $35,488,181                               $35,488,181              100.00%

563 RASC 2005-KS11 [1F]   Subprime 2005             $37,848,181               $37,848,181           $21,478,313             $9,636,196                               $9,636,196            100.00%
    RASC 2005-KS11
564 [2A]                  Subprime 2005           $121,311,413               $121,311,413           $69,097,720         $31,000,533                               $31,000,533              100.00%

565 RASC 2005-KS11 [2F]   Subprime 2005             $42,055,273               $42,055,273           $23,802,338         $10,678,864                               $10,678,864              100.00%

566 RASC 2005-KS12 [A]    Subprime 2005           $238,777,556               $238,777,556          $136,181,105         $61,097,339                               $61,097,339              100.00%

567 RASC 2005-KS12 [F]    Subprime 2005             $58,006,933               $58,006,933           $32,888,726         $14,755,451                               $14,755,451              100.00%

568 RASC 2005-KS2 [1A]    Subprime 2005             $24,203,965               $24,203,965           $13,809,155             $6,195,446                               $6,195,446            100.00%

569 RASC 2005-KS2 [1F]    Subprime 2005                $3,839,594                $3,839,594            $2,163,731            $970,753                                 $970,753             100.00%

570 RASC 2005-KS2 [2A]    Subprime 2005             $28,000,231               $28,000,231           $15,959,793             $7,160,324                               $7,160,324            100.00%

571 RASC 2005-KS2 [2F]    Subprime 2005             $4,780,228                 $4,780,228            $2,693,225          $1,208,309                                $1,208,309              100.00%
572 RASC 2005-KS3 [A]     Subprime 2005            $43,157,888                $43,157,888           $24,619,996         $11,045,705                               $11,045,705              100.00%
573 RASC 2005-KS3 [F]     Subprime 2005            $10,087,998                $10,087,998            $5,684,513          $2,550,344                                $2,550,344              100.00%
574 RASC 2005-KS4 [A]     Subprime 2005            $45,767,673                $45,767,673           $26,102,336         $11,710,753                               $11,710,753              100.00%
575 RASC 2005-KS4 [F]     Subprime 2005            $10,453,781                $10,453,781            $5,888,363          $2,641,801                                $2,641,801              100.00%
576 RASC 2005-KS5 [A]     Subprime 2005            $49,800,836                $49,800,836           $28,410,599         $12,746,350                               $12,746,350              100.00%
577 RASC 2005-KS5 [F]     Subprime 2005             $9,999,097                 $9,999,097            $5,639,013          $2,529,930                                $2,529,930              100.00%
578 RASC 2005-KS6 [A]     Subprime 2005            $83,392,066                $83,392,066           $47,545,545         $21,331,199                               $21,331,199              100.00%
579 RASC 2005-KS6 [F]     Subprime 2005            $16,383,428                $16,383,428            $9,223,572          $4,138,134                                $4,138,134              100.00%
580 RASC 2005-KS7 [A]     Subprime 2005            $60,007,420                $60,007,420           $34,186,874         $15,337,862                               $15,337,862              100.00%
581 RASC 2005-KS7 [F]     Subprime 2005            $11,993,921                $11,993,921            $6,767,717          $3,036,320                                $3,036,320              100.00%
582 RASC 2005-KS8 [A]     Subprime 2005           $186,927,727               $186,927,727          $106,617,732         $47,833,800                               $47,833,800              100.00%
583 RASC 2005-KS8 [F]     Subprime 2005            $45,302,813                $45,302,813           $25,501,448         $11,441,166                               $11,441,166              100.00%
584 RASC 2005-KS9 [A]     Subprime 2005            $78,030,505                $78,030,505           $44,477,455         $19,954,708                               $19,954,708              100.00%
585 RASC 2005-KS9 [F]     Subprime 2005            $20,622,087                $20,622,087           $11,598,103          $5,203,462                                $5,203,462              100.00%

586 RASC 2006-EMX1 [A]    Subprime 2006             $87,539,690               $87,539,690           $48,654,675         $21,828,808                               $21,828,808              100.00%

587 RASC 2006-EMX1 [F]    Subprime 2006             $36,722,058               $36,722,058           $20,413,519             $9,158,478                               $9,158,478            100.00%

588 RASC 2006-EMX2 [A]    Subprime 2006           $136,678,579               $136,678,579           $75,965,994         $34,081,968                               $34,081,968              100.00%

589 RASC 2006-EMX2 [F]    Subprime 2006             $43,888,050               $43,888,050           $24,393,097         $10,943,907                               $10,943,907              100.00%
    RASC 2006-EMX3
590 [1A]                  Subprime 2006           $203,307,136               $203,307,136          $113,003,157         $50,698,606                               $50,698,606              100.00%
    RASC 2006-EMX3
591 [1F]                  Subprime 2006             $83,480,875               $83,480,875           $46,389,526         $20,812,554                               $20,812,554              100.00%
    RASC 2006-EMX4
592 [1A]                  Subprime 2006           $193,844,110               $193,844,110          $107,741,982         $48,338,192                               $48,338,192              100.00%
    RASC 2006-EMX4
593 [1F]                  Subprime 2006             $74,645,977               $74,645,977           $41,480,815         $18,610,272                               $18,610,272              100.00%

594 RASC 2006-EMX5 [A]    Subprime 2006           $173,858,045               $173,858,045           $96,635,569         $43,355,326                               $43,355,326              100.00%

595 RASC 2006-EMX5 [F]    Subprime 2006             $75,101,638               $75,101,638           $41,732,961         $18,723,397                               $18,723,397              100.00%

596 RASC 2006-EMX6 [A]    Subprime 2006           $211,998,050               $211,998,050          $117,837,431         $52,867,492                               $52,867,492              100.00%

597 RASC 2006-EMX6 [F]    Subprime 2006             $64,427,910               $64,427,910           $35,805,050         $16,063,853                               $16,063,853              100.00%
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                                                                                      Schedule 2R – RFC Original R+W Claims
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             A                B                   C                       D                     E                    F                  G                     H                     I

                                                                 Debtor’s Attributable
                                         Net Total Collateral       Portion of Net
 1        Name              Cohort             Losses              Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %

598 RASC 2006-EMX7 [A]   Subprime 2006           $164,270,635             $164,270,635           $91,312,400         $40,967,098                               $40,967,098              100.00%

599 RASC 2006-EMX7 [F]   Subprime 2006             $64,580,018             $64,580,018           $35,885,196         $16,099,810                               $16,099,810              100.00%
    RASC 2006-EMX8
600 [1A]                 Subprime 2006           $150,320,435             $150,320,435           $83,557,677         $37,487,959                               $37,487,959              100.00%
    RASC 2006-EMX8
601 [1F]                 Subprime 2006             $57,369,490             $57,369,490           $31,878,613         $14,302,266                               $14,302,266              100.00%
    RASC 2006-EMX8
602 [2A]                 Subprime 2006           $100,767,235             $100,767,235           $56,016,226         $25,131,551                               $25,131,551              100.00%
    RASC 2006-EMX8
603 [2F]                 Subprime 2006             $36,571,907             $36,571,907           $20,322,701             $9,117,733                               $9,117,733            100.00%
    RASC 2006-EMX9
604 [1A]                 Subprime 2006           $193,253,309             $193,253,309          $107,424,862         $48,195,917                               $48,195,917              100.00%
    RASC 2006-EMX9
605 [1F]                 Subprime 2006             $47,718,848             $47,718,848           $26,522,091         $11,899,075                               $11,899,075              100.00%
    RASC 2006-EMX9
606 [2A]                 Subprime 2006           $104,623,664             $104,623,664           $58,157,014         $26,092,010                               $26,092,010              100.00%
    RASC 2006-EMX9
607 [2F]                 Subprime 2006            $23,894,576              $23,894,576           $13,280,567          $5,958,296                                $5,958,296              100.00%
608 RASC 2006-KS1 [A]    Subprime 2006           $183,712,757             $183,712,757          $102,113,595         $45,813,029                               $45,813,029              100.00%
609 RASC 2006-KS1 [F]    Subprime 2006            $42,268,655              $42,268,655           $23,502,958         $10,544,548                               $10,544,548              100.00%
610 RASC 2006-KS2 [A]    Subprime 2006           $226,147,206             $226,147,206          $125,696,938         $56,393,642                               $56,393,642              100.00%
611 RASC 2006-KS2 [F]    Subprime 2006            $49,632,181              $49,632,181           $27,594,956         $12,380,414                               $12,380,414              100.00%

612 RASC 2006-KS3 [1A]   Subprime 2006           $206,326,258             $206,326,258          $114,670,060         $51,446,459                               $51,446,459              100.00%

613 RASC 2006-KS3 [1F]   Subprime 2006             $63,467,656             $63,467,656           $35,279,629         $15,828,125                               $15,828,125              100.00%

614 RASC 2006-KS3 [2A]   Subprime 2006             $70,218,894             $70,218,894           $39,027,597         $17,509,642                               $17,509,642              100.00%

615 RASC 2006-KS3 [2F]   Subprime 2006            $10,755,096              $10,755,096            $5,983,650          $2,684,551                                $2,684,551              100.00%
616 RASC 2006-KS4 [A]    Subprime 2006           $188,843,077             $188,843,077          $104,967,230         $47,093,306                               $47,093,306              100.00%
617 RASC 2006-KS4 [F]    Subprime 2006            $32,711,366              $32,711,366           $18,192,399          $8,161,978                                $8,161,978              100.00%
618 RASC 2006-KS5 [A]    Subprime 2006           $162,740,637             $162,740,637           $90,460,976         $40,585,109                               $40,585,109              100.00%
619 RASC 2006-KS5 [F]    Subprime 2006            $82,518,794              $82,518,794           $45,878,748         $20,583,394                               $20,583,394              100.00%
620 RASC 2006-KS6 [A]    Subprime 2006           $146,676,000             $146,676,000           $81,533,015         $36,579,599                               $36,579,599              100.00%
621 RASC 2006-KS6 [F]    Subprime 2006            $50,097,593              $50,097,593           $27,855,949         $12,497,507                               $12,497,507              100.00%
622 RASC 2006-KS7 [A]    Subprime 2006           $154,721,524             $154,721,524           $86,013,506         $38,589,761                               $38,589,761              100.00%
623 RASC 2006-KS7 [F]    Subprime 2006            $43,590,905              $43,590,905           $24,239,222         $10,874,871                               $10,874,871              100.00%
624 RASC 2006-KS8 [A]    Subprime 2006           $152,685,639             $152,685,639           $84,875,644         $38,079,262                               $38,079,262              100.00%
625 RASC 2006-KS8 [F]    Subprime 2006            $60,588,229              $60,588,229           $33,694,941         $15,117,158                               $15,117,158              100.00%

626 RASC 2006-KS9 [1A]   Subprime 2006           $339,361,287             $339,361,287          $188,623,868         $84,625,664                               $84,625,664              100.00%

627 RASC 2006-KS9 [1F]   Subprime 2006           $112,884,949             $112,884,949           $62,776,427         $28,164,500                               $28,164,500              100.00%

628 RASC 2006-KS9 [2A]   Subprime 2006             $66,759,570             $66,759,570           $37,105,728         $16,647,399                               $16,647,399              100.00%

629 RASC 2006-KS9 [2F]   Subprime 2006             $16,112,520             $16,112,520              $8,961,124           $4,020,388                               $4,020,388            100.00%
    RASC 2007-EMX1
630 [1A]                 Subprime 2007           $109,901,605             $109,901,605           $61,101,952         $27,413,250       FGIC                    $27,413,250              100.00%
    RASC 2007-EMX1
631 [1F]                 Subprime 2007             $45,782,549             $45,782,549           $25,454,210         $11,419,973       FGIC                    $11,419,973              100.00%
    RASC 2007-EMX1
632 [2A]                 Subprime 2007           $101,823,988             $101,823,988           $56,613,314         $25,399,433       FGIC                    $25,399,433              100.00%
    RASC 2007-EMX1
633 [2F]                 Subprime 2007            $33,712,435              $33,712,435           $18,743,316          $8,409,145       FGIC                     $8,409,145              100.00%
634 RASC 2007-KS1 [A]    Subprime 2007           $126,243,405             $126,243,405           $70,178,981         $31,485,638                               $31,485,638              100.00%
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              A                 B                    C                         D                     E                    F                  G                     H                     I

                                                                      Debtor’s Attributable
                                            Net Total Collateral         Portion of Net
 1         Name              Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
635 RASC 2007-KS1 [F]     Subprime 2007               $51,705,138               $51,705,138           $28,755,579         $12,901,125                               $12,901,125              100.00%

636 RASC 2007-KS2 [1A]    Subprime 2007             $272,979,848               $272,979,848          $151,742,641         $68,078,986                               $68,078,986              100.00%

637 RASC 2007-KS2 [1F]    Subprime 2007               $99,150,965               $99,150,965           $55,134,116         $24,735,794                               $24,735,794              100.00%

638 RASC 2007-KS2 [2A]    Subprime 2007               $77,219,880               $77,219,880           $42,931,493         $19,261,116                               $19,261,116              100.00%

639 RASC 2007-KS2 [2F]    Subprime 2007               $16,264,549               $16,264,549              $9,047,489           $4,059,135                               $4,059,135            100.00%

640 RASC 2007-KS3 [1A]    Subprime 2007             $369,146,091               $369,146,091          $205,226,688         $92,074,481                               $92,074,481              100.00%

641 RASC 2007-KS3 [1F]    Subprime 2007             $143,889,258               $143,889,258           $80,017,906         $35,899,849                               $35,899,849              100.00%

642 RASC 2007-KS3 [2A]    Subprime 2007               $74,234,491               $74,234,491           $41,276,336         $18,518,533                               $18,518,533              100.00%

643 RASC 2007-KS3 [2F]    Subprime 2007               $20,694,562               $20,694,562           $11,510,383          $5,164,107                                $5,164,107              100.00%
644 RASC 2007-KS4 [A]     Subprime 2007               $88,305,253               $88,305,253           $49,086,523         $22,022,556                               $22,022,556              100.00%
645 RASC 2007-KS4 [F]     Subprime 2007               $33,256,187               $33,256,187           $18,491,354          $8,296,103                                $8,296,103              100.00%
    RFMS2 2004-HI1
646 [Total]              Second Lien 2004             $29,067,274               $29,067,274           $15,797,164             $7,087,361                               $7,087,361            100.00%
    RFMS2 2004-HI2
647 [Total]              Second Lien 2004             $40,589,877               $40,589,877           $22,057,373             $9,895,989    FGIC                       $9,895,989            100.00%
    RFMS2 2004-HI3
648 [Total]              Second Lien 2004             $34,882,879               $34,882,879           $19,008,197             $8,527,984    FGIC                       $8,527,984            100.00%

649 RFMS2 2004-HS1 [1]      CES 2004                     $9,367,472                $9,367,472            $3,641,172           $1,633,604    FGIC                       $1,633,604            100.00%

650 RFMS2 2004-HS1 [2]      CES 2004                     $5,299,340                $5,299,340            $2,065,774            $926,805     FGIC                        $926,805             100.00%

651 RFMS2 2004-HS2 [1]      CES 2004                     $9,851,983                $9,851,983            $3,835,507           $1,720,791    MBIA                              $0             100.00%

652 RFMS2 2004-HS2 [2]      CES 2004                  $10,507,019               $10,507,019              $4,082,467           $1,831,589    MBIA                              $0             100.00%
    RFMS2 2004-HS3
653 [Total]                 CES 2004                  $11,688,112               $11,688,112              $4,539,215           $2,036,508    FGIC                       $2,036,508            100.00%
    RFMS2 2005-HI1
654 [Total]              Second Lien 2005             $42,101,490               $42,101,490           $23,090,697         $10,359,588       FGIC                    $10,359,588              100.00%
    RFMS2 2005-HI2
655 [Total]              Second Lien 2005             $47,190,282               $47,190,282           $26,028,238         $11,677,509                               $11,677,509              100.00%
    RFMS2 2005-HI3
656 [Total]              Second Lien 2005             $51,159,961               $51,159,961           $28,347,534         $12,718,056                               $12,718,056              100.00%

657 RFMS2 2005-HS1 [1]      CES 2005                  $59,788,118               $59,788,118           $22,920,616         $10,283,282       FGIC                    $10,283,282              100.00%

658 RFMS2 2005-HS1 [2]      CES 2005                  $44,010,796               $44,010,796           $17,154,290             $7,696,233    FGIC                       $7,696,233            100.00%

659 RFMS2 2005-HS2 [1]      CES 2005                  $44,966,151               $44,966,151           $17,412,906             $7,812,260    FGIC                       $7,812,260            100.00%

660 RFMS2 2005-HS2 [2]      CES 2005                  $34,972,923               $34,972,923           $13,693,958             $6,143,763    FGIC                       $6,143,763            100.00%
    RFMS2 2005-HSA1
661 [1]                     CES 2005                  $23,142,910               $23,142,910              $9,102,978           $4,084,030    FGIC                       $4,084,030            100.00%
    RFMS2 2005-HSA1
662 [2]                     CES 2005                  $16,251,358               $16,251,358              $6,396,187           $2,869,635    FGIC                       $2,869,635            100.00%
    RFMS2 2006-HI1
663 [Total]              Second Lien 2006             $63,288,600               $63,288,600           $31,213,000         $14,003,641                               $14,003,641              100.00%
    RFMS2 2006-HI2
664 [Total]              Second Lien 2006             $69,589,653               $69,589,653           $34,293,493         $15,385,697       FGIC                    $15,385,697              100.00%
    RFMS2 2006-HI3
665 [Total]              Second Lien 2006             $72,240,315               $72,240,315           $35,626,510         $15,983,752       FGIC                    $15,983,752              100.00%
    RFMS2 2006-HI4
666 [Total]              Second Lien 2006             $89,713,773               $89,713,773           $44,205,531         $19,832,710       FGIC                    $19,832,710              100.00%
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                                                                                             Schedule 2R – RFC Original R+W Claims
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               A                B                    C                         D                     E                    F                           G                               H                     I

                                                                      Debtor’s Attributable
                                            Net Total Collateral         Portion of Net
 1            Name           Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                   RFC Recognized Claim      RFC Seller %
    RFMS2 2006-HI5
667 [Total]              Second Lien 2006             $84,032,631               $84,032,631           $41,409,834         $18,578,426                FGIC                              $18,578,426              100.00%
    RFMS2 2006-HSA1
668 [Total]                 CES 2006                  $70,178,784               $70,178,784           $36,895,342         $16,553,010                FGIC                              $16,553,010              100.00%
    RFMS2 2006-HSA2
669 [1]                     CES 2006                  $41,461,652               $41,461,652           $21,711,823             $9,740,959             FGIC                                 $9,740,959            100.00%
    RFMS2 2006-HSA2
670 [2]                     CES 2006                  $32,433,678               $32,433,678           $16,922,877             $7,592,410             FGIC                                 $7,592,410            100.00%
    RFMS2 2006-HSA3
671 [Total]              Second Lien 2006             $15,362,129               $15,362,129              $7,599,899           $3,409,677              FSA                                        $0             100.00%
    RFMS2 2006-HSA4
672 [Total]              Second Lien 2006             $39,270,403               $39,270,403           $19,403,627             $8,705,392             MBIA                                        $0             100.00%
    RFMS2 2006-HSA5
673 [Total]              Second Lien 2006             $24,828,284               $24,828,284           $12,274,313             $5,506,842             MBIA                                        $0             100.00%
    RFMS2 2007-HI1
674 [Total]              Second Lien 2007             $91,281,474               $91,281,474           $44,979,154         $20,179,794                FGIC                              $20,179,794              100.00%
    RFMS2 2007-HSA1
675 [Total]              Second Lien 2007             $58,319,595               $58,319,595           $28,873,736         $12,954,135                MBIA                                        $0             100.00%
    RFMS2 2007-HSA2
676 [Total]                 CES 2007                  $45,700,053               $45,700,053           $24,889,271         $11,166,514                MBIA                                        $0             100.00%
    RFMS2 2007-HSA3
677 [1]                  Second Lien 2007             $48,838,299               $48,838,299           $24,128,088         $10,825,011                MBIA                                        $0             100.00%
    RFMS2 2007-HSA3
678 [2]                  Second Lien 2007             $10,140,903               $10,140,903              $5,070,197           $2,274,732             MBIA                                        $0             100.00%
    RFMSI 2004-PS1
679 [Total]                Prime 2004                     $146,369                  $146,369               $87,498              $39,256                                                     $39,256             100.00%
    RFMSI 2004-S1
680 [Total]                Prime 2004                    $1,124,681                $1,124,681             $623,808             $279,870                                                    $279,870             100.00%
    RFMSI 2004-S2
681 [Total]                Prime 2004                    $1,676,332                $1,676,332             $917,406             $411,592    Radian - Insurer Exception                      $411,592             100.00%
    RFMSI 2004-S3
682 [Total]                Prime 2004                      $265,438                 $265,438              $154,960              $69,522                                                     $69,522             100.00%
683 RFMSI 2004-S4 [1]      Prime 2004                    $1,457,421                $1,457,421             $806,238             $361,717    MBIA - Insurer Exception                        $361,717             100.00%
684 RFMSI 2004-S4 [2]      Prime 2004                      $492,188                 $492,188              $294,180             $131,983                                                    $131,983             100.00%
685 RFMSI 2004-S5 [1]      Prime 2004                    $1,535,168                $1,535,168             $843,206             $378,303                                                    $378,303             100.00%
686 RFMSI 2004-S5 [2]      Prime 2004                      $294,218                 $294,218              $173,104              $77,663                                                     $77,663             100.00%
    RFMSI 2004-S6
687 [ONE]                  Prime 2004                     $906,458                  $906,458              $517,651             $232,243                                                    $232,243             100.00%
    RFMSI 2004-S6
688 [THREE]                Prime 2004                     $528,878                  $528,878              $299,722             $134,470                                                    $134,470             100.00%
    RFMSI 2004-S6
689 [TWO]                  Prime 2004                    $1,613,495                $1,613,495             $837,100             $375,563                                                    $375,563             100.00%
    RFMSI 2004-S7
690 [Total]                Prime 2004                     $218,428                  $218,428              $130,546              $58,569                                                     $58,569             100.00%
    RFMSI 2004-S8
691 [Total]                Prime 2004                    $2,014,217                $2,014,217            $1,043,772            $468,286                                                    $468,286             100.00%
692 RFMSI 2004-S9 [1]      Prime 2004                    $5,050,274                $5,050,274            $2,615,694           $1,173,525                                                  $1,173,525            100.00%
693 RFMSI 2004-S9 [2]      Prime 2004                    $1,113,819                $1,113,819              $542,199            $243,256                                                    $243,256             100.00%

694 RFMSI 2004-SA1 [1]     Prime 2004                     $538,599                  $538,599              $258,924             $116,166                                                    $116,166             100.00%

695 RFMSI 2004-SA1 [2]     Prime 2004                    $2,186,473                $2,186,473            $1,155,425            $518,379                                                    $518,379             100.00%

696 RFMSI 2004-SA1 [3]     Prime 2004                      $366,289                 $366,289               $205,702              $92,288                                                     $92,288            100.00%
697 RFMSI 2005-S1 [1]      Prime 2005                    $5,020,073                $5,020,073            $2,571,451           $1,153,676                                                  $1,153,676            100.00%
698 RFMSI 2005-S1 [2]      Prime 2005                    $1,325,470                $1,325,470              $713,592            $320,151                                                    $320,151             100.00%
     RFMSI 2005-S2
699 [Total]                Prime 2005                    $5,312,528                $5,312,528            $2,672,784           $1,199,139    FGIC - Insurer Exception                      $1,199,139            100.00%
    RFMSI 2005-S3
700 [Total]                Prime 2005                     $499,929                  $499,929              $282,445             $126,718                                                    $126,718             100.00%
                              12-12020-mg               Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                         Schedule 2R – RFC Original R+W Claims
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             A                 B                 C                         D                     E                    F                                 G                              H                     I

                                                                  Debtor’s Attributable
                                        Net Total Collateral         Portion of Net
 1         Name             Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim                         Insurer                   RFC Recognized Claim      RFC Seller %
    RFMSI 2005-S4
701 [Total]                Prime 2005                $6,672,692                $6,672,692            $3,417,486           $1,533,247                                                       $1,533,247            100.00%
    RFMSI 2005-S5
702 [Total]                Prime 2005                $5,469,164                $5,469,164            $2,769,456           $1,242,510   Assured Guaranty - Insurer Exception                $1,242,510            100.00%
    RFMSI 2005-S6
703 [Total]                Prime 2005                $7,627,544                $7,627,544            $4,014,295           $1,801,004                                                       $1,801,004            100.00%
    RFMSI 2005-S7
704 [Total]                Prime 2005             $14,679,025               $14,679,025              $6,944,878           $3,115,804                  FGIC                                 $3,115,804            100.00%
    RFMSI 2005-S8
705 [Total]                Prime 2005             $12,223,392               $12,223,392              $6,021,888           $2,701,706                                                       $2,701,706            100.00%
    RFMSI 2005-S9
706 [Total]                Prime 2005             $17,604,957               $17,604,957              $8,233,430           $3,693,909                                                       $3,693,909            100.00%

707 RFMSI 2005-SA1 [1]     Prime 2005                $2,874,527                $2,874,527            $1,292,167            $579,728                                                         $579,728             100.00%

708 RFMSI 2005-SA1 [2]     Prime 2005                $2,469,303                $2,469,303            $1,297,181            $581,977                                                         $581,977             100.00%

709 RFMSI 2005-SA1 [3]     Prime 2005                $3,413,022                $3,413,022            $1,823,699            $818,198                                                         $818,198             100.00%

710 RFMSI 2005-SA2 [1]     Prime 2005                $3,652,574                $3,652,574            $1,727,506            $775,041                                                         $775,041             100.00%

711 RFMSI 2005-SA2 [2]     Prime 2005             $10,565,613               $10,565,613              $5,412,228           $2,428,183                                                       $2,428,183            100.00%

712 RFMSI 2005-SA2 [3]     Prime 2005                $4,141,131                $4,141,131            $2,178,149            $977,221                                                         $977,221             100.00%

713 RFMSI 2005-SA2 [4]     Prime 2005                $1,102,711                $1,102,711             $639,251             $286,798                                                         $286,798             100.00%

714 RFMSI 2005-SA2 [5]     Prime 2005                $2,774,800                $2,774,800            $1,272,274            $570,803                                                         $570,803             100.00%

715 RFMSI 2005-SA2 [6]     Prime 2005                $3,842,039                $3,842,039            $1,911,894            $857,767                                                         $857,767             100.00%

716 RFMSI 2005-SA3 [1]     Prime 2005             $12,796,549               $12,796,549              $6,036,584           $2,708,299                                                       $2,708,299            100.00%

717 RFMSI 2005-SA3 [2]     Prime 2005             $15,492,503               $15,492,503              $7,831,515           $3,513,591                                                       $3,513,591            100.00%

718 RFMSI 2005-SA3 [3]     Prime 2005                $5,906,129                $5,906,129            $2,979,226           $1,336,623                                                       $1,336,623            100.00%

719 RFMSI 2005-SA3 [4]     Prime 2005                $5,232,299                $5,232,299            $2,804,979           $1,258,447                                                       $1,258,447            100.00%

720 RFMSI 2005-SA4 [I1]    Prime 2005                $5,796,521                $5,796,521            $2,791,939           $1,252,597                                                       $1,252,597            100.00%

721 RFMSI 2005-SA4 [I2]    Prime 2005             $10,802,144               $10,802,144              $5,119,572           $2,296,884                                                       $2,296,884            100.00%

722 RFMSI 2005-SA4 [I3]    Prime 2005                $1,637,993                $1,637,993             $798,881             $358,416                                                         $358,416             100.00%

723 RFMSI 2005-SA4 [II1]   Prime 2005             $27,087,674               $27,087,674           $13,226,901             $5,934,218                                                       $5,934,218            100.00%

724 RFMSI 2005-SA4 [II2]   Prime 2005             $14,947,649               $14,947,649              $7,828,330           $3,512,162                                                       $3,512,162            100.00%

725 RFMSI 2005-SA5 [1]     Prime 2005             $10,653,187               $10,653,187              $4,915,295           $2,205,236                                                       $2,205,236            100.00%

726 RFMSI 2005-SA5 [2]     Prime 2005             $16,468,109               $16,468,109              $7,911,440           $3,549,449                                                       $3,549,449            100.00%

727 RFMSI 2005-SA5 [3]     Prime 2005              $6,272,819                $6,272,819              $3,114,023           $1,397,099                                                       $1,397,099            100.00%
728 RFMSI 2006-S1 [1]      Prime 2006             $16,090,685               $16,090,685              $5,767,133           $2,587,411                                                       $2,587,411            100.00%
729 RFMSI 2006-S1 [2]      Prime 2006              $9,469,261                $9,469,261              $3,404,087           $1,527,236                                                       $1,527,236            100.00%

730 RFMSI 2006-S10 [1]     Prime 2006             $57,211,783               $57,211,783           $20,607,014             $9,245,289                                                       $9,245,289            100.00%

731 RFMSI 2006-S10 [2]     Prime 2006                $6,495,275                $6,495,275            $2,316,494           $1,039,290                                                       $1,039,290            100.00%
                              12-12020-mg               Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
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              A                B                 C                         D                     E                    F                  G                     H                     I

                                                                  Debtor’s Attributable
                                        Net Total Collateral         Portion of Net
 1         Name             Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
    RFMSI 2006-S11
732 [Total]                Prime 2006             $44,443,729               $44,443,729           $15,997,010             $7,177,022                               $7,177,022            100.00%

733 RFMSI 2006-S12 [I]     Prime 2006                $1,399,478                $1,399,478             $492,168             $220,810                                 $220,810             100.00%

734 RFMSI 2006-S12 [II]    Prime 2006             $49,612,356               $49,612,356           $17,811,667             $7,991,163                               $7,991,163            100.00%

735 RFMSI 2006-S12 [III]   Prime 2006             $30,387,587               $30,387,587           $10,924,449             $4,901,229                               $4,901,229            100.00%
    RFMSI 2006-S2
736 [Total]                Prime 2006             $19,792,392               $19,792,392              $7,116,729           $3,192,904                               $3,192,904            100.00%
    RFMSI 2006-S3
737 [Total]                Prime 2006             $29,079,076               $29,079,076           $10,476,944             $4,700,457                               $4,700,457            100.00%
    RFMSI 2006-S4
738 [Total]                Prime 2006             $22,071,738               $22,071,738              $7,923,935           $3,555,055                               $3,555,055            100.00%
    RFMSI 2006-S5
739 [Total]                Prime 2006             $54,693,301               $54,693,301           $19,696,279             $8,836,690                               $8,836,690            100.00%
    RFMSI 2006-S6
740 [Total]                Prime 2006             $49,382,385               $49,382,385           $17,815,384             $7,992,831                               $7,992,831            100.00%
    RFMSI 2006-S7
741 [Total]                Prime 2006             $37,706,573               $37,706,573           $13,588,282             $6,096,351                               $6,096,351            100.00%
    RFMSI 2006-S8
742 [Total]                Prime 2006             $32,108,589               $32,108,589           $11,549,042             $5,181,451                               $5,181,451            100.00%
    RFMSI 2006-S9
743 [Total]                Prime 2006             $30,560,226               $30,560,226           $11,013,905             $4,941,363                               $4,941,363            100.00%

744 RFMSI 2006-SA1 [1]     Prime 2006             $29,541,450               $29,541,450           $10,667,671             $4,786,026                               $4,786,026            100.00%

745 RFMSI 2006-SA1 [2]     Prime 2006                $5,532,410                $5,532,410            $1,994,519            $894,837                                 $894,837             100.00%

746 RFMSI 2006-SA2 [1]     Prime 2006             $10,648,834               $10,648,834              $3,846,860           $1,725,885                               $1,725,885            100.00%

747 RFMSI 2006-SA2 [2]     Prime 2006             $75,768,791               $75,768,791           $27,429,233         $12,306,062                               $12,306,062              100.00%

748 RFMSI 2006-SA2 [3]     Prime 2006             $12,779,803               $12,779,803              $4,595,046           $2,061,557                               $2,061,557            100.00%

749 RFMSI 2006-SA2 [4]     Prime 2006                $9,641,939                $9,641,939            $3,437,387           $1,542,176                               $1,542,176            100.00%

750 RFMSI 2006-SA3 [1]     Prime 2006                $2,864,816                $2,864,816            $1,032,254            $463,119                                 $463,119             100.00%

751 RFMSI 2006-SA3 [2]     Prime 2006             $19,338,635               $19,338,635              $6,981,735           $3,132,339                               $3,132,339            100.00%

752 RFMSI 2006-SA3 [3]     Prime 2006             $10,738,786               $10,738,786              $3,876,633           $1,739,243                               $1,739,243            100.00%

753 RFMSI 2006-SA3 [4]     Prime 2006                $6,627,569                $6,627,569            $2,378,152           $1,066,953                               $1,066,953            100.00%

754 RFMSI 2006-SA4 [1]     Prime 2006                $3,006,723                $3,006,723            $1,089,925            $488,992                                 $488,992             100.00%

755 RFMSI 2006-SA4 [2]     Prime 2006             $24,095,438               $24,095,438              $8,718,913           $3,911,720                               $3,911,720            100.00%

756 RFMSI 2006-SA4 [3]     Prime 2006             $12,629,024               $12,629,024              $4,572,222           $2,051,317                               $2,051,317            100.00%
    RFMSI 2007-S1
757 [Total]                Prime 2007             $43,925,697               $43,925,697           $15,789,882             $7,084,094                               $7,084,094            100.00%
    RFMSI 2007-S2
758 [Total]                Prime 2007             $40,886,238               $40,886,238           $14,682,107             $6,587,093                               $6,587,093            100.00%
759 RFMSI 2007-S3 [1]      Prime 2007             $52,468,991               $52,468,991           $18,898,687             $8,478,852                               $8,478,852            100.00%
760 RFMSI 2007-S3 [2]      Prime 2007                $941,275                 $941,275              $333,011               $149,404                                 $149,404             100.00%
    RFMSI 2007-S4
761 [Total]                Prime 2007             $31,192,233               $31,192,233           $11,221,345             $5,034,430                               $5,034,430            100.00%
    RFMSI 2007-S5
762 [Total]                Prime 2007             $47,491,017               $47,491,017           $17,031,643             $7,641,207                               $7,641,207            100.00%
763 RFMSI 2007-S6 [1]      Prime 2007             $42,315,056               $42,315,056           $15,238,989             $6,836,937                               $6,836,937            100.00%
                            12-12020-mg               Doc 6065-1                   Filed    12/11/13 Entered 12/11/13 17:30:11
                                                                                       Schedule 2R – RFC Original R+W Claims
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             A               B                 C                         D                     E                    F                  G                     H                     I

                                                                Debtor’s Attributable
                                      Net Total Collateral         Portion of Net
 1         Name           Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer        RFC Recognized Claim      RFC Seller %
764 RFMSI 2007-S6 [2]    Prime 2007             $34,381,957               $34,381,957           $12,386,665             $5,557,249                               $5,557,249            100.00%
    RFMSI 2007-S7
765 [Total]              Prime 2007             $41,373,718               $41,373,718           $14,874,313             $6,673,326                               $6,673,326            100.00%
766 RFMSI 2007-S8 [1]    Prime 2007             $46,198,891               $46,198,891           $16,650,252             $7,470,097                               $7,470,097            100.00%
767 RFMSI 2007-S8 [2]    Prime 2007              $2,203,685                $2,203,685              $786,774              $352,984                                 $352,984             100.00%
768 RFMSI 2007-S9 [1]    Prime 2007             $15,336,106               $15,336,106            $5,530,596             $2,481,289                               $2,481,289            100.00%
769 RFMSI 2007-S9 [2]    Prime 2007                $799,247                 $799,247               $281,172              $126,147                                 $126,147             100.00%

770 RFMSI 2007-SA1 [1]   Prime 2007                $1,684,146                $1,684,146             $605,786             $271,785                                 $271,785             100.00%

771 RFMSI 2007-SA1 [2]   Prime 2007             $30,551,954               $30,551,954           $11,062,810             $4,963,304                               $4,963,304            100.00%

772 RFMSI 2007-SA1 [3]   Prime 2007             $10,757,394               $10,757,394              $3,884,554           $1,742,796                               $1,742,796            100.00%

773 RFMSI 2007-SA1 [4]   Prime 2007                $3,308,676                $3,308,676            $1,176,833            $527,983                                 $527,983             100.00%

774 RFMSI 2007-SA2 [1]   Prime 2007                $4,491,985                $4,491,985            $1,631,998            $732,192                                 $732,192             100.00%

775 RFMSI 2007-SA2 [2]   Prime 2007             $37,281,076               $37,281,076           $13,487,643             $6,051,200                               $6,051,200            100.00%

776 RFMSI 2007-SA2 [3]   Prime 2007                $7,103,673                $7,103,673            $2,579,153           $1,157,131                               $1,157,131            100.00%

777 RFMSI 2007-SA2 [4]   Prime 2007                $9,977,927                $9,977,927            $3,591,271           $1,611,216                               $1,611,216            100.00%

778 RFMSI 2007-SA2 [5]   Prime 2007                $2,762,880                $2,762,880             $985,100             $441,963                                 $441,963             100.00%

779 RFMSI 2007-SA3 [1]   Prime 2007                $1,508,913                $1,508,913             $545,098             $244,557                                 $244,557             100.00%

780 RFMSI 2007-SA3 [2]   Prime 2007             $43,483,069               $43,483,069           $15,730,477             $7,057,442                               $7,057,442            100.00%

781 RFMSI 2007-SA3 [3]   Prime 2007             $11,720,170               $11,720,170              $4,240,062           $1,902,294                               $1,902,294            100.00%

782 RFMSI 2007-SA3 [4]   Prime 2007                $5,258,106                $5,258,106            $1,879,383            $843,181                                 $843,181             100.00%

783 RFMSI 2007-SA4 [1]   Prime 2007                  $90,694                   $90,694               $31,893              $14,309                                  $14,309             100.00%

784 RFMSI 2007-SA4 [2]   Prime 2007                $1,095,730                $1,095,730             $393,866             $176,707                                 $176,707             100.00%

785 RFMSI 2007-SA4 [3]   Prime 2007             $38,283,077               $38,283,077           $13,832,317             $6,205,837                               $6,205,837            100.00%

786 RFMSI 2007-SA4 [4]   Prime 2007             $14,985,634               $14,985,634              $5,411,667           $2,427,932                               $2,427,932            100.00%

787 RFMSI 2007-SA4 [5]   Prime 2007             $11,620,169               $11,620,169              $4,173,654           $1,872,500                               $1,872,500            100.00%
788                                       $38,420,267,482           $38,420,267,482       $17,941,511,184 $      8,049,417,688                           $7,946,006,807
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                                 Schedule 3G
                                   12-12020-mg                 Doc 6065-1                   Filed   12/11/13 Entered 12/11/13 17:30:11
                                                                                               Schedule 3G – GMACM Additional R+W Claims
                                                                                                                                              Appendix 1
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                                                                                                                  Review     Due Diligence



             A               B                  C                      D                     E                     F                  G                       H                      I

                                                              Debtor’s Attributable
           Name           Cohort
                                       Net Total Collateral      Portion of Net                                                                        GMACM Recognized
 1                                           Losses             Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer                Claim               GMACM Seller %
 2 ARMT 2004-5 [1]       ALT-A 2004              $2,865,881                  $257,929              $114,320               $25,645                                    $25,645              4.50%
 3 ARMT 2004-5 [2]       ALT-A 2004              $8,036,747                  $723,307              $296,478               $66,507                                    $66,507              4.50%
 4 ARMT 2004-5 [3]       ALT-A 2004              $5,787,717                  $520,895              $212,714               $47,717                                    $47,717              4.50%
 5 ARMT 2004-5 [4]       ALT-A 2004              $5,572,235                  $501,501              $198,729               $44,580                                    $44,580              4.50%
 6 ARMT 2004-5 [5]       ALT-A 2004              $6,707,818                  $603,704              $269,447               $60,443                                    $60,443              4.50%
 7 ARMT 2004-5 [6]       ALT-A 2004              $9,091,981                  $818,278              $353,801               $79,366                                    $79,366              4.50%
 8 ARMT 2004-5 [7A]      ALT-A 2004              $6,451,231                  $580,611              $259,879               $58,297                                    $58,297              4.50%
 9 ARMT 2004-5 [7B]      ALT-A 2004             $11,295,496                $1,016,595              $453,430              $101,715                                  $101,715               4.50%
10 ARMT 2005-1 [1]       ALT-A 2005              $6,080,686                  $547,262              $234,375               $52,576                                    $52,576              4.50%
11 ARMT 2005-1 [2]       ALT-A 2005             $13,072,540                $1,176,529              $472,714              $106,041                                  $106,041               4.50%
12 ARMT 2005-1 [3]       ALT-A 2005              $7,465,549                  $671,899              $293,755               $65,896                                    $65,896              4.50%
13 ARMT 2005-1 [4]       ALT-A 2005             $13,142,774                $1,182,850              $499,137              $111,968                                  $111,968               4.50%
14 ARMT 2005-1 [51]      ALT-A 2005              $9,853,270                  $886,794              $395,392               $88,696                                    $88,696              4.50%
15 ARMT 2005-1 [52]      ALT-A 2005             $21,770,428                $1,959,338              $863,938              $193,802                                  $193,802               4.50%
16 ARMT 2005-10 [1]      ALT-A 2005             $10,702,109                  $963,190              $405,959               $91,066                                    $91,066              4.50%
17 ARMT 2005-10 [2]      ALT-A 2005             $30,610,085                $2,754,908            $1,156,765              $259,490                                  $259,490               4.50%
18 ARMT 2005-10 [3]      ALT-A 2005             $29,763,712                $2,678,734            $1,097,098              $246,105                                  $246,105               4.50%
19 ARMT 2005-10 [4]      ALT-A 2005             $18,143,593                $1,632,923              $699,953              $157,016                                  $157,016               4.50%
20 ARMT 2005-10 [5]      ALT-A 2005             $66,504,968                $5,985,447            $2,652,842              $595,096                                  $595,096               4.50%
21 ARMT 2005-10 [6]      ALT-A 2005              $6,870,091                  $618,308              $262,190               $58,816                                    $58,816              4.50%
22 ARMT 2005-11 [1]      ALT-A 2005              $6,741,236                  $606,711              $264,034               $59,229                                    $59,229              4.50%
23 ARMT 2005-11 [2]      ALT-A 2005             $34,391,270                $3,095,214            $1,321,417              $296,425                                  $296,425               4.50%
24 ARMT 2005-11 [3]      ALT-A 2005             $15,741,682                $1,416,751              $589,438              $132,225                                  $132,225               4.50%
25 ARMT 2005-11 [4]      ALT-A 2005             $83,082,789                $7,477,451            $3,231,419              $724,884                                  $724,884               4.50%
26 ARMT 2005-11 [5]      ALT-A 2005             $70,901,103                $6,381,099            $2,815,446              $631,572                                  $631,572               4.50%
27 ARMT 2005-9 [1]       ALT-A 2005             $16,726,292                $1,505,366              $637,631              $286,072                                  $286,072               9.00%
28 ARMT 2005-9 [2]       ALT-A 2005              $8,024,197                  $722,178              $301,985              $135,485                                  $135,485               9.00%
29 ARMT 2005-9 [3]       ALT-A 2005              $6,292,648                  $566,338              $223,675              $100,351                                  $100,351               9.00%
30 ARMT 2005-9 [4]       ALT-A 2005             $35,642,552                $3,207,830            $1,367,320              $613,445                                  $613,445               9.00%
31 ARMT 2005-9 [5]       ALT-A 2005             $67,754,304                $6,097,887            $2,683,166            $1,203,796                                 $1,203,796              9.00%
32 BAFC 2005-6 [1]       Prime 2005              $6,275,483                  $918,103              $469,068              $118,960                                  $118,960               8.27%
33 BAFC 2005-6 [2]       Prime 2005              $7,725,474                $1,130,237              $563,719              $142,965                                  $142,965               8.27%
34 BAFC 2005-8 [1]       Prime 2005              $2,842,891                  $519,680              $257,911               $57,476                                    $57,476              9.08%
35 BAFC 2005-8 [2]       Prime 2005              $7,195,865                $1,315,404              $691,122              $154,018                                  $154,018               9.08%
36 BAFC 2005-8 [3]       Prime 2005              $1,328,402                  $242,832              $122,362               $27,268                                    $27,268              9.08%
37 BAFC 2005-8 [4]       Prime 2005              $6,760,354                $1,235,793              $618,177              $137,762                                  $137,762               9.08%
38 BAFC 2006-1 [1]       ALT-A 2006             $20,430,173                $1,618,070              $542,291              $125,335                                  $125,335               4.08%
39 BAFC 2006-1 [2]       ALT-A 2006             $11,370,616                  $900,553              $302,457               $69,904                                    $69,904              4.08%
40 BAFC 2006-1 [3]       ALT-A 2006             $11,009,803                  $871,976              $293,888               $67,924                                    $67,924              4.08%
41 BAFC 2006-2 [1]       ALT-A 2006              $7,296,507                   $72,099               $24,363               $10,930                                    $10,930              0.99%
42 BAFC 2006-2 [2]       ALT-A 2006             $36,817,729                  $363,808              $122,649               $55,026                                    $55,026              0.99%
43 BAFC 2006-2 [3]       ALT-A 2006             $10,556,429                  $104,312               $35,208               $15,796                                    $15,796              0.99%
44 BAFC 2006-2 [4]       ALT-A 2006              $8,479,549                   $83,789               $28,253               $12,676                                    $12,676              0.99%
45 BAFC 2006-2 [5]       ALT-A 2006              $6,990,679                   $69,077               $23,369               $10,485                                    $10,485              0.99%
46 BAFC 2006-2 [6]       ALT-A 2006              $3,728,574                   $36,843               $12,395                $5,561                                     $5,561              0.99%
47 BAFC 2006-4 [Total]   ALT-A 2006             $38,933,269                $6,190,390            $2,098,458              $941,468                                  $941,468              15.90%
48 BAFC 2006-5 [1]       Prime 2006             $12,988,677                  $649,434              $234,012               $52,495                                    $52,495              2.50%
49 BAFC 2006-5 [2]       Prime 2006              $3,096,225                  $154,811               $55,701               $12,495                                    $12,495              2.50%
50 BAFC 2006-5 [3]       Prime 2006              $4,985,845                  $249,292               $89,921               $20,171                                    $20,171              2.50%
51 BAFC 2006-5 [4]       Prime 2006             $12,969,503                  $648,475              $232,499               $52,155                                    $52,155              2.50%
52 BAFC 2007-3 [1]       Prime 2007              $5,480,212                  $100,836               $35,550               $15,949                                    $15,949              1.84%
53 BAFC 2007-3 [2]       Prime 2007              $2,996,335                   $55,133               $19,387                $8,698                                     $8,698              1.84%
54 BAFC 2007-3 [3]       Prime 2007              $2,948,686                   $54,256               $19,122                $8,579                                     $8,579              1.84%
55 BAFC 2007-3 [4]       Prime 2007            $151,113,227                $2,780,483            $1,008,075              $452,271                                  $452,271               1.84%
56 BAFC 2007-4 [N]       Prime 2007             $38,065,966                  $920,136              $329,543              $147,849                                  $147,849               2.42%
57 BAFC 2007-4 [S]       Prime 2007              $1,547,409                   $37,404               $13,184                $5,915                                     $5,915              2.42%
58 BAFC 2007-4 [S4]      Prime 2007              $6,297,762                  $152,230               $53,587               $24,042                                    $24,042              2.42%
59 BAFC 2007-4 [S5]      Prime 2007              $2,747,930                   $66,423               $23,383               $10,491                                    $10,491              2.42%
60 BAFC 2007-4 [T2]      Prime 2007             $88,029,095                $2,127,853              $771,298              $346,041                                  $346,041               2.42%
61 BAFC 2007-7 [1]       ALT-A 2007             $21,387,152                  $151,849               $51,269               $23,002                                    $23,002              0.71%
62 BAFC 2007-7 [2]       ALT-A 2007              $7,399,944                   $52,540               $17,801                $7,986                                     $7,986              0.71%
63 BAFC 2007-7 [3]       ALT-A 2007            $113,350,506                  $804,789              $274,839              $123,306                                  $123,306               0.71%
64 BALTA 2005-4 [I]      ALT-A 2005             $40,360,845                  $257,319              $111,676               $47,810                                    $47,810              0.61%
                                    12-12020-mg                     Doc 6065-1                   Filed   12/11/13 Entered 12/11/13 17:30:11
                                                                                                    Schedule 3G – GMACM Additional R+W Claims
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              A               B                   C                         D                     E                   F                          G                              H                      I

                                                                   Debtor’s Attributable
             Name          Cohort
                                         Net Total Collateral         Portion of Net                                                                                     GMACM Recognized
 1                                             Losses                Collateral Losses   Losses Due to Breach    GMACM Claim                 Insurer                         Claim               GMACM Seller %
65 BALTA 2005-4 [II1]     ALT-A 2005              $21,587,644                     $137,631             $59,437              $25,446                                                   $25,446               0.61%
66 BALTA 2005-4 [II2]     ALT-A 2005              $15,573,544                      $99,289             $42,498              $18,194                                                   $18,194               0.61%
67 BALTA 2005-4 [II3]     ALT-A 2005             $124,064,736                     $790,971            $333,975             $142,980                                                  $142,980               0.61%
68 BALTA 2005-4 [II4]     ALT-A 2005               $8,986,500                      $57,293             $23,409              $10,022                                                   $10,022               0.61%
69 BALTA 2005-4 [II5]     ALT-A 2005               $8,181,787                      $52,163             $20,991               $8,987                                                    $8,987               0.61%
70 BALTA 2006-4 [I1]      ALT-A 2006             $211,487,030                     $394,358            $137,094              $61,507                                                   $61,507               0.19%
71 BALTA 2006-4 [I2]      ALT-A 2006             $322,987,098                     $602,271            $209,847              $94,147                                                   $94,147               0.19%
72 BALTA 2006-4 [I3]      ALT-A 2006             $222,914,989                     $415,668            $144,646              $64,895                                                   $64,895               0.19%
73 BALTA 2006-4 [II1]     ALT-A 2006              $19,143,852                      $35,697             $12,338               $5,535                                                    $5,535               0.19%
74 BALTA 2006-4 [II2]     ALT-A 2006             $195,195,049                     $363,978            $125,837              $56,456                                                   $56,456               0.19%
75 BALTA 2006-4 [II3]     ALT-A 2006             $189,772,159                     $353,866            $122,340              $54,887                                                   $54,887               0.19%
76 BALTA 2006-4 [III1]    ALT-A 2006              $40,077,281                      $74,732             $25,555              $11,465                                                   $11,465               0.19%
77 BALTA 2006-4 [III2]    ALT-A 2006             $124,048,980                     $231,313             $79,777              $35,792                                                   $35,792               0.19%
78 BALTA 2006-4 [III3]    ALT-A 2006             $139,721,884                     $260,538             $89,707              $40,247                                                   $40,247               0.19%
79 BALTA 2006-5 [1]       ALT-A 2006             $299,735,911                     $597,358            $207,858              $93,255                                                   $93,255               0.20%
80 BALTA 2006-5 [2]       ALT-A 2006              $89,092,727                     $177,557             $60,967              $27,353                                                   $27,353               0.20%
81 BALTA 2006-8 [I]       ALT-A 2006             $225,321,346                   $1,168,798            $406,322             $182,296                                                  $182,296               0.52%
82 BALTA 2006-8 [II]      ALT-A 2006             $144,847,591                     $751,361            $259,222             $116,299                                                  $116,299               0.52%
83 BALTA 2006-8 [III]     ALT-A 2006              $26,646,824                     $138,224             $46,434              $20,833                                                   $20,833               0.52%
    BSABS 2004-AC1
84 [Total]                ALT-A 2004                  $6,317,402                  $85,917              $37,276              $16,724                                                   $16,724               1.36%
   BSABS 2004-AC7
85 [Total]                ALT-A 2004               $14,497,964                   $347,951             $149,512              $67,078                                                   $67,078               2.40%
   BSABS 2007-SD2
86 [2NEG]                Subprime 2007             $20,203,400                     $2,030               $1,129                 $507                                                      $507               0.01%
   BSABS 2007-SD2
87 [2NO_NEG]             Subprime 2007             $44,981,385                     $4,520               $2,513               $1,128                                                    $1,128               0.01%
88 BSABS 2007-SD2 [I]    Subprime 2007             $37,098,031                     $3,728               $2,075                 $931                                                      $931               0.01%
89 BSABS 2007-SD3 [A]    Subprime 2007             $82,895,923                   $585,893             $325,838             $146,186            FGIC                                  $146,186               0.71%
90 BSABS 2007-SD3 [F]    Subprime 2007             $55,303,597                   $390,875             $217,412              $97,541            FGIC                                   $97,541               0.71%
   BSSLT 2007-SV1A
91 [Total]                 CES 2007              $525,306,659                $26,265,333           $13,848,235            $3,106,489   XL - Insurer Exception                       $3,106,489              2.50%

92 CSFB 2002-34 [FOUR]    Prime 2002                    $41,075                    $3,697               $1,133                 $508                                                      $508               9.00%

93 CSFB 2002-34 [ONE]     Prime 2002                  $5,468,199                 $492,138              $76,804              $34,458                                                   $34,458               9.00%
   CSFB 2002-34
94 [THREE]                Prime 2002                   $218,970                   $19,707               $4,692               $2,105                                                    $2,105               9.00%

95 CSFB 2002-34 [TWO]     Prime 2002                   $278,011                   $25,021               $5,454               $2,447                                                    $2,447               9.00%
    CSFB 2002-AR33
96 [FIVE]                 ALT-A 2002                   $993,832                   $89,445              $23,366              $10,483                                                   $10,483               9.00%
    CSFB 2002-AR33
97 [FOUR]                 ALT-A 2002                    $90,077                    $8,107               $1,793                 $804                                                      $804               9.00%
    CSFB 2002-AR33
98 [ONE]                  ALT-A 2002                   $110,894                    $9,980               $2,500               $1,122                                                    $1,122               9.00%
    CSFB 2002-AR33
99 [THREE]                ALT-A 2002                   $978,884                   $88,100              $22,987              $10,313                                                   $10,313               9.00%
    CSFB 2002-AR33
100 [TWO]                 ALT-A 2002                   $51,290                     $4,616               $1,021                 $458                                                      $458               9.00%
101 CSFB 2005-10 [1]      Prime 2005                $1,451,471                    $66,496              $38,847              $17,428                                                   $17,428               4.58%
102 CSFB 2005-10 [10]     Prime 2005               $19,404,020                   $888,955             $390,835             $175,347                                                  $175,347               4.58%
103 CSFB 2005-10 [11]     Prime 2005                $1,432,377                    $65,621              $35,288              $15,832                                                   $15,832               4.58%
104 CSFB 2005-10 [12]     Prime 2005                  $687,498                    $31,496              $18,829               $8,448                                                    $8,448               4.58%
105 CSFB 2005-10 [2]      Prime 2005                $2,019,510                    $92,520              $48,182              $21,617                                                   $21,617               4.58%
106 CSFB 2005-10 [3]      Prime 2005               $13,269,878                   $607,932             $284,846             $127,795                                                  $127,795               4.58%
107 CSFB 2005-10 [4]      Prime 2005               $12,337,507                   $565,218             $242,798             $108,931                                                  $108,931               4.58%
108 CSFB 2005-10 [5]      Prime 2005               $18,512,802                   $848,126             $403,674             $181,107                                                  $181,107               4.58%
109 CSFB 2005-10 [6]      Prime 2005                $9,624,418                   $440,923             $227,505             $102,070                                                  $102,070               4.58%
110 CSFB 2005-10 [7]      Prime 2005                   $89,462                     $4,099               $2,450               $1,099                                                    $1,099               4.58%
111 CSFB 2005-10 [8]      Prime 2005                $3,848,330                   $176,303              $82,222              $36,889                                                   $36,889               4.58%
112 CSFB 2005-10 [9]      Prime 2005                $4,292,991                   $196,675              $90,678              $40,683                                                   $40,683               4.58%
113 CSFB 2005-11 [1]      Prime 2005                $6,958,522                   $210,141              $92,148              $41,342                                                   $41,342               3.02%
114 CSFB 2005-11 [2]      Prime 2005                $7,786,460                   $235,144             $106,704              $47,872                                                   $47,872               3.02%
115 CSFB 2005-11 [3]      Prime 2005                $5,241,841                   $158,299              $70,659              $31,701                                                   $31,701               3.02%
116 CSFB 2005-11 [4]      Prime 2005               $10,697,461                   $323,054             $137,104              $61,511                                                   $61,511               3.02%
117 CSFB 2005-11 [5]      Prime 2005                $1,614,458                    $48,755              $25,178              $11,296                                                   $11,296               3.02%
                                    12-12020-mg                  Doc 6065-1                   Filed   12/11/13 Entered 12/11/13 17:30:11
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              A               B                  C                       D                     E                   F                G                          H                    I

                                                                Debtor’s Attributable
           Name            Cohort
                                        Net Total Collateral       Portion of Net                                                                       GMACM Recognized
 1                                            Losses              Collateral Losses   Losses Due to Breach    GMACM Claim         Insurer                   Claim             GMACM Seller %
118 CSFB 2005-11 [6]      Prime 2005               $3,324,262                  $100,390             $50,670             $22,733                                     $22,733              3.02%
119 CSFB 2005-11 [7]      Prime 2005               $8,684,883                  $262,276            $115,781             $51,945                                     $51,945              3.02%
120 CSFB 2005-11 [8]      Prime 2005               $3,383,953                  $102,192             $56,264             $25,243                                     $25,243              3.02%
121 CSFB 2005-12 [1]      ALT-A 2005              $12,949,547                  $434,310            $192,097             $86,184                                     $86,184              3.35%
122 CSFB 2005-12 [2]      ALT-A 2005              $17,002,560                  $570,243            $247,119            $110,870                                    $110,870              3.35%
123 CSFB 2005-12 [3]      ALT-A 2005              $29,504,667                  $989,546            $443,666            $199,050                                    $199,050              3.35%
124 CSFB 2005-12 [4]      ALT-A 2005              $42,745,795                $1,433,636            $618,068            $277,295                                    $277,295              3.35%
125 CSFB 2005-12 [5]      ALT-A 2005              $14,632,994                  $490,771            $199,058             $89,307                                     $89,307              3.35%
126 CSFB 2005-12 [6]      ALT-A 2005              $19,496,510                  $653,886            $276,164            $123,900                                    $123,900              3.35%
127 CSFB 2005-12 [7]      ALT-A 2005              $23,795,091                  $798,055            $356,134            $159,779                                    $159,779              3.35%
128 CSFB 2005-12 [8]      ALT-A 2005               $2,956,335                   $99,151             $41,049             $18,417                                     $18,417              3.35%
129 CSFB 2005-3 [1]       Prime 2005               $5,303,197                  $477,288            $219,413             $98,439                                     $98,439              9.00%
130 CSFB 2005-3 [2]       Prime 2005               $3,199,216                  $287,929            $134,929             $60,536                                     $60,536              9.00%
131 CSFB 2005-3 [3]       Prime 2005               $8,760,885                  $788,480            $420,638            $188,718                                    $188,718              9.00%
132 CSFB 2005-3 [4]       Prime 2005                 $205,581                   $18,502             $11,060              $4,962                                      $4,962              9.00%
133 CSFB 2005-3 [5]       Prime 2005                 $828,701                   $74,583             $40,243             $18,055                                     $18,055              9.00%
134 CSFB 2005-3 [6]       Prime 2005               $3,934,972                  $354,147            $164,698             $73,891                                     $73,891              9.00%
135 CSFB 2005-3 [7]       Prime 2005               $2,014,215                  $181,279             $90,597             $40,646                                     $40,646              9.00%
136 CSFB 2005-4 [1]       Prime 2005               $2,570,230                  $231,321            $122,240             $54,843                                     $54,843              9.00%
137 CSFB 2005-4 [2]       Prime 2005               $9,780,047                  $880,204            $437,869            $196,449                                    $196,449              9.00%
138 CSFB 2005-4 [3]       Prime 2005               $5,295,924                  $476,633            $255,345            $114,560                                    $114,560              9.00%
139 CSFB 2005-5 [1]       Prime 2005                 $824,696                   $20,947             $12,377              $5,553                                      $5,553              2.54%
140 CSFB 2005-5 [2]       Prime 2005               $4,648,598                  $118,074             $63,667             $28,564                                     $28,564              2.54%
141 CSFB 2005-5 [3]       Prime 2005               $3,135,891                   $79,652             $42,458             $19,049                                     $19,049              2.54%
142 CSFB 2005-5 [4]       Prime 2005               $3,081,455                   $78,269             $37,602             $16,870                                     $16,870              2.54%
143 CSFB 2005-5 [5]       Prime 2005                 $570,852                   $14,500              $8,400              $3,769                                      $3,769              2.54%
144 CSFB 2005-5 [6]       Prime 2005               $1,043,855                   $26,514             $15,628              $7,011                                      $7,011              2.54%
145 CSFB 2005-5 [7]       Prime 2005               $1,620,785                   $41,168             $21,419              $9,610                                      $9,610              2.54%
146 CSFB 2005-6 [1]       Prime 2005              $16,998,439                $1,296,396            $577,632            $259,153                                    $259,153              7.63%
147 CSFB 2005-6 [2]       Prime 2005                 $514,943                   $39,272             $20,651              $9,265                                      $9,265              7.63%
148 CSFB 2005-6 [3]       Prime 2005                 $494,240                   $37,693             $21,225              $9,523                                      $9,523              7.63%
149 CSFB 2005-6 [4]       Prime 2005                 $621,578                   $47,405             $28,340             $12,715                                     $12,715              7.63%
150 CSFB 2005-6 [5]       Prime 2005               $6,215,170                  $474,003            $246,563            $110,620                                    $110,620              7.63%
151 CSFB 2005-6 [6]       Prime 2005               $4,923,043                  $375,459            $175,819             $78,881                                     $78,881              7.63%
152 CSFB 2005-6 [7]       Prime 2005               $4,845,618                  $369,554            $168,315             $75,514                                     $75,514              7.63%
153 CSFB 2005-6 [8]       Prime 2005                 $675,350                   $51,506             $30,173             $13,537                                     $13,537              7.63%
154 CSFB 2005-6 [9]       Prime 2005               $1,407,217                  $107,322             $53,070             $23,810                                     $23,810              7.63%
155 CSFB 2005-8 [1]       ALT-A 2005              $18,737,911                  $634,318            $261,814            $117,462                                    $117,462              3.39%
156 CSFB 2005-8 [2]       ALT-A 2005              $10,875,217                  $368,149            $152,750             $68,531                                     $68,531              3.39%
157 CSFB 2005-8 [3]       ALT-A 2005              $16,052,037                  $543,396            $218,362             $97,968                                     $97,968              3.39%
158 CSFB 2005-8 [4]       ALT-A 2005               $7,580,456                  $256,615            $109,712             $49,222                                     $49,222              3.39%
159 CSFB 2005-8 [5]       ALT-A 2005              $17,883,411                  $605,392            $259,611            $116,474                                    $116,474              3.39%
160 CSFB 2005-8 [6]       ALT-A 2005                 $902,022                   $30,535             $11,853              $5,318                                      $5,318              3.39%
161 CSFB 2005-8 [7]       ALT-A 2005              $20,367,573                  $689,486            $305,346            $136,993                                    $136,993              3.39%
162 CSFB 2005-8 [8]       ALT-A 2005              $17,638,578                  $597,104            $266,709            $119,658                                    $119,658              3.39%
163 CSFB 2005-8 [9]       ALT-A 2005              $15,632,250                  $529,185            $216,605             $97,179                                     $97,179              3.39%
164 CSFB 2005-9 [1]       ALT-A 2005              $14,349,268                  $398,033            $160,186             $71,867                                     $71,867              2.77%
165 CSFB 2005-9 [2]       ALT-A 2005              $10,560,497                  $292,937            $118,089             $52,980                                     $52,980              2.77%
166 CSFB 2005-9 [3]       ALT-A 2005              $20,241,243                  $561,470            $246,781            $110,718                                    $110,718              2.77%
167 CSFB 2005-9 [4]       ALT-A 2005              $12,219,635                  $338,959            $138,008             $61,917                                     $61,917              2.77%
168 CSFB 2005-9 [5]       ALT-A 2005              $32,857,999                  $911,445            $389,253            $174,638                                    $174,638              2.77%
169 CSMC 2006-1 [1]       Prime 2006              $25,467,591                   $49,567             $17,791              $7,982                                      $7,982              0.19%
170 CSMC 2006-1 [2]       Prime 2006              $11,654,479                   $22,683              $8,232              $3,693                                      $3,693              0.19%
171 CSMC 2006-1 [3]       Prime 2006               $8,830,812                   $17,187              $6,160              $2,764                                      $2,764              0.19%
172 CSMC 2006-1 [4]       Prime 2006               $5,139,578                   $10,003              $3,565              $1,600                                      $1,600              0.19%
173 CSMC 2006-1 [5]       Prime 2006              $23,434,159                   $45,609             $16,496              $7,401                                      $7,401              0.19%
174 CSMC 2006-8 [1]       Prime 2006              $49,428,629                $1,236,817            $449,614            $201,718                                    $201,718              2.50%
175 CSMC 2006-8 [2]       Prime 2006               $1,942,102                   $48,596             $17,483              $7,844                                      $7,844              2.50%
176 CSMC 2006-9 [1]       ALT-A 2006              $53,725,288                   $46,718             $15,580              $6,990                                      $6,990              0.09%
177 CSMC 2006-9 [2A]      ALT-A 2006              $35,621,434                   $30,975             $10,507              $4,714                                      $4,714              0.09%
178 CSMC 2006-9 [2B]      ALT-A 2006              $31,966,184                   $27,797              $9,536              $4,278                                      $4,278              0.09%

179 CSMC 2007-6 [Total]   ALT-A 2007            $125,841,476                  $616,515             $211,192             $94,751                                     $94,751              0.49%
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                                                                                                       Schedule 3G – GMACM Additional R+W Claims
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              A                 B                    C                         D                     E                     F                          G                               H                      I

                                                                      Debtor’s Attributable
           Name              Cohort
                                            Net Total Collateral         Portion of Net                                                                                        GMACM Recognized
 1                                                Losses                Collateral Losses   Losses Due to Breach      GMACM Claim                   Insurer                        Claim               GMACM Seller %
180 CSMC 2007-7 [1]        Prime 2007                 $34,469,600                    $73,657               $26,739               $11,996                                                    $11,996                0.21%
181 CSMC 2007-7 [2]        Prime 2007                 $11,128,420                    $23,780                $8,538                $3,831                                                     $3,831                0.21%
182 CSMC 2007-7 [3]        Prime 2007                  $1,833,809                     $3,919                $1,392                  $624                                                       $624                0.21%
    FMRMT 2003-A
183 [Total]                   2003                       $4,608,187                $4,608,187            $2,123,221             $952,578                                                   $952,578              100.00%
184 FNR 2002-66 [FIVE]    Subprime 2002                  $3,342,601                  $300,834               $80,464              $18,050    FNMA/FNMA (Agency Wrap)                              $0                4.50%

185 FNR 2002-66 [FOUR]    Subprime 2002                  $5,410,998                 $486,990              $132,019               $29,615    FNMA/FNMA (Agency Wrap)                              $0                4.50%
186 FNR 2002-66 [ONE]     Subprime 2002                  $6,746,831                 $607,215              $130,877               $29,359    FNMA/FNMA (Agency Wrap)                              $0                4.50%
    GMACM 2000-HE2
187 [1HEL]               Second Lien 2000                $3,261,253                $3,261,253             $857,356              $384,651             MBIA                                        $0              100.00%
    GMACM 2000-HE2
188 [1HELOC]             Second Lien 2000             $11,154,982               $11,154,982              $2,954,923            $1,325,720            MBIA                                        $0              100.00%
    GMACM 2000-HE2
189 [2HEL]               Second Lien 2000                 $211,993                  $211,993               $55,565               $24,929             MBIA                                        $0              100.00%
    GMACM 2000-HE2
190 [2HELOC]             Second Lien 2000                $2,160,494                $2,160,494             $566,982              $254,375             MBIA                                        $0              100.00%
    GMACM 2000-HE4
191 [1HEL]               Second Lien 2000                $2,335,186                $2,335,186             $618,727              $277,590             MBIA                                        $0              100.00%
    GMACM 2000-HE4
192 [1HELOC]             Second Lien 2000                $6,255,211                $6,255,211            $1,676,626             $752,214             MBIA                                        $0              100.00%
    GMACM 2000-HE4
193 [2HEL]               Second Lien 2000                  $74,559                   $74,559               $19,811                $8,888             MBIA                                        $0              100.00%
    GMACM 2000-HE4
194 [2HELOC]             Second Lien 2000                 $594,789                  $594,789              $159,709               $71,653             MBIA                                        $0              100.00%
    GMACM 2001-HE2
195 [1AHEL]                 CES 2001                     $1,699,628                $1,699,628             $277,649              $124,566             FGIC                                  $124,566              100.00%
    GMACM 2001-HE2
196 [1AHELOC]               CES 2001                     $3,347,060                $3,347,060             $537,757              $241,263             FGIC                                  $241,263              100.00%
    GMACM 2001-HE2
197 [1BHEL]                 CES 2001                     $1,740,128                $1,740,128             $288,959              $129,641             FGIC                                  $129,641              100.00%
    GMACM 2001-HE2
198 [1BHELOC]               CES 2001                     $3,281,041                $3,281,041             $542,901              $243,571             FGIC                                  $243,571              100.00%
    GMACM 2001-HE2
199 [2A]                    CES 2001                     $1,392,622                $1,392,622             $226,167              $101,469             FGIC                                  $101,469              100.00%
    GMACM 2001-HE2
200 [2B]                    CES 2001                     $3,474,359                $3,474,359             $560,221              $251,342             FGIC                                  $251,342              100.00%

201 GMACM 2001-HE3 [1]   Second Lien 2001                $3,248,994                $3,248,994             $875,945              $392,991             FGIC                                  $392,991              100.00%

202 GMACM 2001-HE3 [2]   Second Lien 2001                $2,216,348                $2,216,348             $606,873              $272,272             FGIC                                  $272,272              100.00%
    GMACM 2001-HLT1
203 [1]                  Second Lien 2001             $29,889,371               $29,889,371              $7,887,113            $3,538,535           AMBAC                                 $3,538,535             100.00%
    GMACM 2001-HLT1
204 [2]                  Second Lien 2001                   $4,726                    $4,726                $1,636                  $734            AMBAC                                      $734              100.00%
    GMACM 2001-HLT2
205 [1]                  Second Lien 2001             $17,157,370               $17,157,370              $4,540,807            $2,037,222           Ambac                                 $2,037,222             100.00%
    GMACM 2001-HLT2
206 [2]                  Second Lien 2001                 $284,905                  $284,905               $87,885               $39,429            Ambac                                   $39,429              100.00%

207 GMACM 2002-HE1 [1]   Second Lien 2002                $2,251,324                $2,251,324             $589,633              $264,537             FGIC                                  $264,537              100.00%

208 GMACM 2002-HE1 [2]   Second Lien 2002                $4,592,570                $4,592,570            $1,314,323             $589,668             FGIC                                  $589,668              100.00%

209 GMACM 2002-HE1 [3]   Second Lien 2002                 $582,597                  $582,597              $161,533               $72,472             FGIC                                   $72,472              100.00%

210 GMACM 2002-HE1 [4]   Second Lien 2002                $4,165,981                $4,165,981            $1,192,240             $534,896             FGIC                                  $534,896              100.00%
    GMACM 2002-HE3
211 [Total]              Second Lien 2002             $18,212,606               $18,212,606              $5,191,004            $2,328,932            MBIA                                        $0              100.00%
    GMACM 2002-HE4
212 [Total]              Second Lien 2002                $8,301,994                $8,301,994            $2,336,034            $1,048,056            FGIC                                 $1,048,056             100.00%
    GMACM 2002-HLT1
213 [1]                  Second Lien 2002             $20,381,078               $20,381,078              $5,431,617            $2,436,882           AMBAC                                 $2,436,882             100.00%
    GMACM 2002-HLT1
214 [2]                  Second Lien 2002                  $35,889                   $35,889               $12,423                $5,574            AMBAC                                    $5,574              100.00%

215 GMACM 2003-AR1 [1]     Prime 2003                    $1,620,098                $1,620,098             $490,800              $220,196                                                   $220,196              100.00%

216 GMACM 2003-AR1 [2]     Prime 2003                    $1,288,654                $1,288,654             $422,951              $189,756                                                   $189,756              100.00%

217 GMACM 2003-AR2 [1]     Prime 2003                      $85,755                   $85,755               $27,618               $12,391                                                    $12,391              100.00%
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                                                                                                       Schedule 3G – GMACM Additional R+W Claims
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              A                 B                    C                         D                     E                     F                           G                               H                      I

                                                                      Debtor’s Attributable
             Name            Cohort
                                            Net Total Collateral         Portion of Net                                                                                         GMACM Recognized
 1                                                Losses                Collateral Losses   Losses Due to Breach      GMACM Claim                  Insurer                          Claim               GMACM Seller %

218 GMACM 2003-AR2 [2]     Prime 2003                    $1,023,963                $1,023,963             $313,933              $140,845                                                    $140,845              100.00%

219 GMACM 2003-AR2 [3]     Prime 2003                     $611,843                  $611,843              $235,676              $105,736                                                    $105,736              100.00%

220 GMACM 2003-AR2 [4]     Prime 2003                     $749,369                  $749,369              $322,554              $144,713                                                    $144,713              100.00%

221 GMACM 2003-GH1 [1]    Subprime 2003                  $6,048,652                $6,048,652            $2,599,898            $1,166,438   MBIA - Insurer Exception                       $1,166,438             100.00%

222 GMACM 2003-GH1 [2]    Subprime 2003                   $677,814                  $677,814              $287,069              $128,793    MBIA - Insurer Exception                        $128,793              100.00%

223 GMACM 2003-GH1 [3]    Subprime 2003                   $331,985                  $331,985              $138,867               $62,302    MBIA - Insurer Exception                         $62,302              100.00%
     GMACM 2003-GH2
224 [1A]                  Subprime 2003                   $604,524                  $604,524              $262,601              $117,815                                                    $117,815              100.00%
     GMACM 2003-GH2
225 [1F]                  Subprime 2003                  $5,420,479                $5,420,479            $2,374,840            $1,065,467                                                  $1,065,467             100.00%
    GMACM 2003-GH2
226 [2A]                  Subprime 2003                   $891,909                  $891,909              $378,811              $169,953                                                    $169,953              100.00%
    GMACM 2003-GH2
227 [2F]                  Subprime 2003                  $3,710,226                $3,710,226            $1,583,817             $710,576                                                    $710,576              100.00%
    GMACM 2003-HE1
228 [Total]              Second Lien 2003             $22,095,452               $22,095,452              $9,416,824            $4,224,836            FGIC                                  $4,224,836             100.00%
    GMACM 2003-HE2
229 [Total]                 CES 2003                     $8,395,094                $8,395,094            $1,931,450             $866,541             FGIC                                   $866,541              100.00%
    GMACM 2003-J10
230 [Total]                Prime 2003                      $96,499                   $96,499               $44,083               $19,778                                                     $19,778              100.00%
    GMACM 2003-J5
231 [Total]                Prime 2003                     $208,554                  $208,554               $55,391               $24,851                                                     $24,851              100.00%
    GMACM 2003-J6
232 [Total]                Prime 2003                     $823,235                  $823,235              $312,716              $140,299                                                    $140,299              100.00%
    GMACM 2003-J7
233 [Total]                Prime 2003                    $1,036,293                $1,036,293             $383,469              $172,042                                                    $172,042              100.00%
    GMACM 2003-J8
234 [Total]                Prime 2003                    $1,599,442                $1,599,442             $548,267              $245,979                                                    $245,979              100.00%
    GMACM 2003-J9
235 [Total]                Prime 2003                    $1,477,100                $1,477,100             $508,427              $228,105                                                    $228,105              100.00%
    GMACM 2010-1
236 [Total]               Subprime 2008               $21,539,078               $21,539,078           $11,050,362              $4,957,719                                                  $4,957,719             100.00%
    GMACM 2010-2
237 [Total]               Subprime 2008              $82,325,375                $82,325,375           $42,943,715          $19,266,599                                                  $19,266,599               100.00%
238 GPMF 2006-HE1 [F]    Second Lien 2006            $11,506,266                    $50,628               $24,949              $11,193              XL/CIFG                                      $0                 0.44%
239 GPMF 2006-HE1 [H]    Second Lien 2006           $206,142,777                   $907,028              $446,903             $200,502              XL/CIFG                                      $0                 0.44%
240 GSAA 2005-9 [1]         ALT-A 2005               $13,909,988                 $2,709,242            $1,170,003             $524,919                                                     $524,919                19.48%
241 GSAA 2005-9 [2]         ALT-A 2005               $84,712,227                $16,499,363            $7,038,882           $3,157,978                                                   $3,157,978                19.48%
    GSMPS 2004-4
242 [ONEA]                Subprime 2004               $40,267,514                  $3,624,076            $2,015,050             $904,048                                                    $904,048                9.00%
    GSMPS 2004-4
243 [ONEB]                Subprime 2004                  $7,279,879                 $655,189              $364,342              $163,461                                                    $163,461                9.00%

244 GSMPS 2004-4 [TWO]    Subprime 2004                $5,386,338                   $484,770              $268,983              $120,679                                                    $120,679                9.00%
245 GSMPS 2005-LT1 [A]    Subprime 2005                $1,543,356                    $53,091               $30,192               $13,546                                                     $13,546                3.44%
246 GSMPS 2005-LT1 [F]    Subprime 2005               $17,924,307                   $616,596              $350,508              $157,254                                                    $157,254                3.44%
     GSMPS 2005-RP1
247 [ONEA]                Subprime 2005               $64,961,109                   $876,975              $486,350              $218,200                                                    $218,200                1.35%
     GSMPS 2005-RP1
248 [ONEB]                Subprime 2005                  $6,680,812                  $90,191               $50,022               $22,442                                                     $22,442                1.35%
     GSMPS 2005-RP1
249 [TWO]                 Subprime 2005                  $7,666,964                 $103,504               $57,350               $25,730                                                     $25,730                1.35%
    GSMPS 2005-RP2
250 [ONEA]                Subprime 2005               $67,821,168                  $1,600,580             $887,640              $398,238                                                    $398,238                2.36%
    GSMPS 2005-RP2
251 [ONEB]                Subprime 2005                  $5,966,170                 $140,802               $78,259               $35,111                                                     $35,111                2.36%
    GSMPS 2005-RP2
252 [TWO]                 Subprime 2005                  $4,458,941                 $105,231               $58,420               $26,210                                                     $26,210                2.36%
    GSMPS 2005-RP3
253 [ONEA]                Subprime 2005               $68,125,751                  $1,519,204             $842,846              $378,141                                                    $378,141                2.23%
    GSMPS 2005-RP3
254 [ONEB]                Subprime 2005                  $7,087,511                 $158,051               $87,659               $39,328                                                     $39,328                2.23%
    GSMPS 2005-RP3
255 [TWO]                 Subprime 2005                  $7,290,466                 $162,577               $89,972               $40,366                                                     $40,366                2.23%
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             A                 B                   C                         D                     E                     F                  G                       H                      I

                                                                    Debtor’s Attributable
           Name              Cohort
                                          Net Total Collateral         Portion of Net                                                                        GMACM Recognized
 1                                              Losses                Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer                Claim               GMACM Seller %
    GSMPS 2006-RP1
256 [I_1]                 Subprime 2006             $75,908,429                  $3,795,421            $2,114,829             $948,813                                   $948,813               5.00%
    GSMPS 2006-RP1
257 [I_234]               Subprime 2006                $5,968,620                 $298,431              $166,282               $74,602                                    $74,602               5.00%

258 GSMPS 2006-RP1 [II]   Subprime 2006                $5,705,610                 $285,280              $158,955               $71,315                                    $71,315               5.00%

259 GSMPS 2006-RP2 [1]    Subprime 2006             $57,407,570                  $2,037,969            $1,135,522             $509,450                                   $509,450               3.55%

260 GSMPS 2006-RP2 [2]    Subprime 2006             $2,805,517                      $99,596               $55,500               $24,900                                    $24,900              3.55%
261 GSR 2003-2F [1]         Prime 2003                $235,423                      $77,431               $22,756               $10,210                                    $10,210             32.89%
262 GSR 2003-2F [2]         Prime 2003                $152,220                      $50,065               $17,426                $7,818                                     $7,818             32.89%
263 GSR 2003-2F [3]         Prime 2003                $283,628                      $93,286               $28,894               $12,963                                    $12,963             32.89%
264 GSR 2004-10F [1]        Prime 2004              $1,156,574                     $202,089              $108,137               $48,515                                    $48,515             17.47%
265 GSR 2004-10F [2]        Prime 2004              $1,561,362                     $272,818              $150,268               $67,417                                    $67,417             17.47%
266 GSR 2005-5F [1]         Prime 2005             $17,201,404                     $792,985              $438,407              $196,690                                  $196,690               4.61%
267 GSR 2005-5F [2]         Prime 2005                $717,087                      $33,058               $17,706                $7,944                                     $7,944              4.61%
268 GSR 2005-6F [1]         Prime 2005             $21,726,483                     $582,270              $299,324              $134,291                                  $134,291               2.68%
269 GSR 2005-6F [2]         Prime 2005                $448,577                      $12,022                $7,147                $3,206                                     $3,206              2.68%
270 GSR 2005-7F [1]         Prime 2005                $439,214                      $39,529               $22,399               $10,049                                    $10,049              9.00%
271 GSR 2005-7F [2]         Prime 2005              $4,689,799                     $422,082              $213,893               $95,963                                    $95,963              9.00%
272 GSR 2005-7F [3]         Prime 2005              $2,169,122                     $195,221              $105,721               $47,431                                    $47,431              9.00%
273 GSR 2005-8F [1]         Prime 2005             $20,994,365                   $1,889,493              $958,611              $430,078                                  $430,078               9.00%
274 GSR 2005-8F [2]         Prime 2005              $1,268,980                     $114,208               $68,277               $30,632                                    $30,632              9.00%
275 GSR 2005-8F [3]         Prime 2005             $11,544,153                   $1,038,974              $481,273              $215,922                                  $215,922               9.00%
276 GSR 2005-9F [1]         Prime 2005             $31,131,667                     $129,376               $61,966               $27,801                                    $27,801              0.42%
277 GSR 2005-9F [2]         Prime 2005              $9,248,135                      $38,433               $17,906                $8,033                                     $8,033              0.42%
278 GSR 2005-9F [3]         Prime 2005                $157,399                         $654                  $391                  $175                                       $175              0.42%
279 GSR 2005-AR3 [1]        Prime 2005              $1,425,750                     $112,449               $56,159               $25,196                                    $25,196              7.89%
280 GSR 2005-AR3 [2]        Prime 2005                $745,469                      $58,795               $29,515               $13,242                                    $13,242              7.89%
281 GSR 2005-AR3 [3]        Prime 2005             $12,517,955                     $987,291              $443,399              $198,930                                  $198,930               7.89%
282 GSR 2005-AR3 [4]        Prime 2005             $10,447,499                     $823,994              $386,555              $173,427                                  $173,427               7.89%
283 GSR 2005-AR3 [5]        Prime 2005             $12,833,097                   $1,012,146              $489,934              $219,808                                  $219,808               7.89%
284 GSR 2005-AR3 [6]        Prime 2005             $22,465,006                   $1,771,815              $883,318              $396,298                                  $396,298               7.89%
285 GSR 2005-AR3 [7]        Prime 2005              $1,434,708                     $113,155               $59,556               $26,720                                    $26,720              7.89%
286 GSR 2005-AR3 [8]        Prime 2005              $2,755,213                     $217,304              $119,203               $53,480                                    $53,480              7.89%
287 GSR 2005-AR7 [1]        Prime 2005             $10,108,175                     $285,143              $130,877               $58,718                                    $58,718              2.82%
288 GSR 2005-AR7 [2]        Prime 2005             $22,439,063                     $632,987              $328,933              $147,575                                  $147,575               2.82%
289 GSR 2005-AR7 [3]        Prime 2005              $4,867,724                     $137,314               $72,002               $32,303                                    $32,303              2.82%
290 GSR 2005-AR7 [4]        Prime 2005             $11,555,639                     $325,975              $153,495               $68,865                                    $68,865              2.82%
291 GSR 2005-AR7 [5]        Prime 2005              $8,005,227                     $225,821              $120,193               $53,924                                    $53,924              2.82%
292 GSR 2005-AR7 [6]        Prime 2005             $28,812,703                     $812,782              $445,151              $199,716                                  $199,716               2.82%
293 GSR 2006-2F [1]         Prime 2006             $36,964,538                     $443,574              $158,883               $71,283                                    $71,283              1.20%
294 GSR 2006-2F [2]         Prime 2006              $2,043,634                      $24,524                $8,721                $3,913                                     $3,913              1.20%
295 GSR 2006-3F [1]         Prime 2006             $27,159,105                     $392,660              $140,959               $63,241                                    $63,241              1.45%
296 GSR 2006-3F [2]         Prime 2006             $12,014,268                     $173,699               $62,304               $27,953                                    $27,953              1.45%
297 GSR 2006-4F [1]         Prime 2006             $25,672,018                   $4,846,877            $1,745,581              $783,151                                  $783,151              18.88%
298 GSR 2006-4F [2]         Prime 2006              $9,908,714                   $1,870,765              $673,984              $302,381                                  $302,381              18.88%
299 GSR 2006-4F [3]         Prime 2006              $8,540,082                   $1,612,368              $579,809              $260,130                                  $260,130              18.88%
300 GSR 2006-AR1 [1]        Prime 2006             $16,766,862                     $838,343              $303,943              $136,363                                  $136,363               5.00%
301 GSR 2006-AR1 [2]        Prime 2006            $104,809,030                   $5,240,452            $1,881,684              $844,213                                  $844,213               5.00%
302 GSR 2006-AR1 [3]        Prime 2006              $7,908,392                     $395,420              $141,120               $63,313                                    $63,313              5.00%
303 GSR 2006-AR2 [1]        Prime 2006                $989,484                      $49,474               $17,839                $8,003                                     $8,003              5.00%
304 GSR 2006-AR2 [2]        Prime 2006             $14,570,332                     $728,517              $262,691              $117,856                                  $117,856               5.00%
305 GSR 2006-AR2 [3]        Prime 2006             $28,968,272                   $1,448,414              $522,393              $234,370                                  $234,370               5.00%
306 GSR 2006-AR2 [4]        Prime 2006             $23,092,225                   $1,154,611              $415,788              $186,542                                  $186,542               5.00%
307 GSR 2006-AR2 [5]        Prime 2006             $26,171,161                   $1,308,558              $466,700              $209,384                                  $209,384               5.00%
308 GSR 2007-4F [1]         Prime 2007             $54,943,435                   $1,499,956              $538,086              $241,411                                  $241,411               2.73%
309 GSR 2007-4F [2]         Prime 2007              $3,075,367                      $83,958               $29,925               $13,426                                    $13,426              2.73%
310 GSR 2007-AR1 [1]        Prime 2007             $10,043,917                     $502,196              $181,370               $81,371                                    $81,371              5.00%
311 GSR 2007-AR1 [2]        Prime 2007            $152,459,019                   $7,622,951            $2,752,585            $1,234,941                                 $1,234,941              5.00%
312 GSR 2007-AR1 [3]        Prime 2007             $14,325,032                     $716,252              $257,560              $115,554                                  $115,554               5.00%
313 GSR 2007-AR1 [4]        Prime 2007              $5,623,720                     $281,186              $100,590               $45,130                                    $45,130              5.00%
314 GSR 2007-AR1 [5]        Prime 2007              $8,280,024                     $414,001              $147,185               $66,034                                    $66,034              5.00%
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              A                      B                     C                         D                     E                     F                  G                       H                      I

                                                                            Debtor’s Attributable
           Name                   Cohort
                                                  Net Total Collateral         Portion of Net                                                                        GMACM Recognized
 1                                                      Losses                Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer                Claim               GMACM Seller %
315 GSR 2007-AR1 [6]            Prime 2007                     $3,495,973                 $174,799               $61,468               $27,577                                    $27,577               5.00%

316 GSR 2007-HEL1 [Total]     Second Lien 2007              $4,473,052                     $223,653              $109,816               $24,634    MBIA                                 $0              2.50%
317 GSR 2007-OA2 [1]        Pay Option ARM 2007           $123,200,992                   $6,160,050            $2,273,934            $1,020,195                                 $1,020,195              5.00%
318 GSR 2007-OA2 [2]        Pay Option ARM 2007            $59,730,280                   $2,986,514            $1,101,160              $494,033                                  $494,033               5.00%

319 HVMLT 2003-1 [Total]        ALT-A 2003                       $880,638                 $468,235              $164,308               $73,716                                    $73,716              53.17%
320 HVMLT 2003-2 [1]            ALT-A 2003                     $1,857,620                   $2,972                $1,154                  $518                                       $518               0.16%
321 HVMLT 2003-2 [2]            ALT-A 2003                     $1,539,910                   $2,464                  $843                  $378                                       $378               0.16%
322 HVMLT 2003-2 [3]            ALT-A 2003                       $320,339                     $513                  $178                   $80                                        $80               0.16%
323 HVMLT 2004-4 [1]            ALT-A 2004                     $1,110,926                  $59,101               $25,292               $11,347                                    $11,347               5.32%
324 HVMLT 2004-4 [2]            ALT-A 2004                     $3,382,123                 $179,929               $74,562               $33,452                                    $33,452               5.32%
325 HVMLT 2004-4 [3]            ALT-A 2004                     $1,874,388                  $99,717               $43,221               $19,391                                    $19,391               5.32%
    HVMLT 2006-13
326 [Total]                      ALT-A 2006                $39,021,465                   $849,176              $291,405             $130,738                                    $130,738                2.18%
327 HVMLT 2007-7 [1]        Pay Option ARM 2007           $219,963,469                $26,527,594            $9,879,031           $4,432,204                                  $4,432,204               12.06%
328 HVMLT 2007-7 [2]        Pay Option ARM 2007           $367,807,400                $44,357,572           $16,497,081           $7,401,378                                  $7,401,378               12.06%
329 LMT 2005-1 [1AX]             Prime 2005                 $4,772,299                   $130,284               $63,535              $14,253                                     $14,253                1.37%
330 LMT 2005-1 [1DISC]           Prime 2005                 $3,502,828                    $95,627               $47,276              $10,605                                     $10,605                1.37%
331 LMT 2005-1 [1PAX]            Prime 2005                 $3,469,896                    $94,728               $46,274              $10,380                                     $10,380                1.37%
332 LMT 2005-1 [2AX]             Prime 2005                 $5,284,776                   $144,274               $68,968              $15,471                                     $15,471                1.37%
333 LMT 2005-1 [2DISC]           Prime 2005                 $3,444,404                    $94,032               $45,949              $10,307                                     $10,307                1.37%
334 LMT 2005-1 [2PAX]            Prime 2005                 $3,176,154                    $86,709               $42,582               $9,552                                      $9,552                1.37%
335 LMT 2005-1 [3]               Prime 2005                 $6,880,626                   $187,841               $85,707              $19,226                                     $19,226                1.37%
336 LMT 2005-1 [4AX]             Prime 2005                 $2,274,273                    $62,088               $29,700               $6,662                                      $6,662                1.37%
337 LMT 2005-1 [4PAX]            Prime 2005                 $1,033,567                    $28,216               $14,089               $3,161                                      $3,161                1.37%
338 LMT 2005-1 [5AX]             Prime 2005                 $6,182,660                   $168,787               $74,955              $16,814                                     $16,814                1.37%
339 LMT 2005-1 [5DISC]           Prime 2005                 $2,895,511                    $79,047               $34,963               $7,843                                      $7,843                1.37%
340 LMT 2005-1 [6AX]             Prime 2005                   $184,303                     $5,031                $2,685                 $602                                        $602                1.37%
341 LMT 2005-1 [6DISC]           Prime 2005                 $1,399,081                    $38,195               $20,469               $4,592                                      $4,592                1.37%
342 LMT 2005-1 [6PAX]            Prime 2005                   $126,814                     $3,462                $1,852                 $415                                        $415                1.37%
343 LMT 2006-7 [1]               ALT-A 2006                $43,260,724                 $2,119,775              $728,947             $163,520                                    $163,520                2.45%
344 LMT 2006-7 [2]               ALT-A 2006                $88,701,867                 $4,346,391            $1,493,451             $335,017                                    $335,017                2.45%
345 LMT 2006-7 [3]               ALT-A 2006                $36,380,967                 $1,782,667              $611,745             $137,229                                    $137,229                2.45%
346 LMT 2006-7 [4]               ALT-A 2006                 $6,521,560                   $319,556              $109,337              $24,527                                     $24,527                2.45%
347 LUM 2006-4 [Total]      Pay Option ARM 2006           $134,926,422                $16,015,766            $5,706,799           $2,560,342                                  $2,560,342               11.87%
348 LUM 2006-6 [Total]      Pay Option ARM 2006           $204,139,613               $158,534,823           $57,935,169          $13,508,325                                 $13,508,325               40.36%
349 LUM 2007-2 [1]               ALT-A 2007               $139,923,492                 $2,777,722              $950,751             $213,276                                    $213,276                0.99%
350 LUM 2007-2 [2]               ALT-A 2007                $46,579,284                   $924,679              $321,573              $72,137                                     $72,137                0.99%

351 LXS 2006-10N [1_A1]         ALT-A 2006                  $11,949,919                    $54,970               $19,158                $8,595                                     $8,595               0.46%

352 LXS 2006-10N [1_A2]         ALT-A 2006                  $12,825,318                    $58,996               $20,540                $9,215                                     $9,215               0.46%

353 LXS 2006-10N [1_A3]         ALT-A 2006                     $7,938,154                  $36,516               $12,616                $5,660                                     $5,660               0.46%

354 LXS 2006-10N [1_A4]         ALT-A 2006                $228,604,897                   $1,051,583             $364,615              $163,584                                   $163,584               0.46%
355 LXS 2006-10N [1_F]          ALT-A 2006                 $70,556,365                     $324,559             $112,285               $50,376                                    $50,376               0.46%

356 LXS 2006-10N [2_A1]         ALT-A 2006                  $36,924,484                   $169,853               $58,559               $26,272                                    $26,272               0.46%

357 LXS 2006-10N [2_A2]         ALT-A 2006                     $3,842,320                  $17,675                $6,090                $2,732                                     $2,732               0.46%

358 LXS 2006-10N [2_A4]         ALT-A 2006                       $117,743                     $542                  $187                   $84                                        $84               0.46%
359 MALT 2004-12 [1]            ALT-A 2004                       $101,129                   $5,056                $1,963                  $440                                       $440               2.50%
360 MALT 2004-12 [2]            ALT-A 2004                     $2,388,183                 $119,409               $51,116               $11,466                                    $11,466               2.50%
361 MALT 2004-12 [3]            ALT-A 2004                     $5,180,106                 $259,005              $108,376               $24,311                                    $24,311               2.50%
362 MALT 2004-12 [4]            ALT-A 2004                     $1,159,534                  $57,977               $22,763                $5,106                                     $5,106               2.50%
363 MALT 2004-12 [5]            ALT-A 2004                     $3,861,040                 $193,052               $80,355               $18,026                                    $18,026               2.50%
364 MALT 2004-12 [6]            ALT-A 2004                     $1,942,089                  $97,104               $38,802                $8,704                                     $8,704               2.50%
365 MALT 2004-4 [1]             ALT-A 2004                     $1,308,973                  $65,449               $26,476                $5,939                                     $5,939               2.50%
366 MALT 2004-4 [10]            ALT-A 2004                       $288,810                  $14,441                $5,760                $1,292                                     $1,292               2.50%
367 MALT 2004-4 [11]            ALT-A 2004                       $766,889                  $38,344               $16,274                $3,651                                     $3,651               2.50%
368 MALT 2004-4 [2]             ALT-A 2004                       $476,273                  $23,814                $9,952                $2,232                                     $2,232               2.50%
369 MALT 2004-4 [3]             ALT-A 2004                       $367,149                  $18,357                $7,126                $1,598                                     $1,598               2.50%
370 MALT 2004-4 [4]             ALT-A 2004                       $501,905                  $25,095               $10,195                $2,287                                     $2,287               2.50%
                                      12-12020-mg                  Doc 6065-1                   Filed   12/11/13 Entered 12/11/13 17:30:11
                                                                                                   Schedule 3G – GMACM Additional R+W Claims
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              A                B                   C                       D                     E                   F                G                          H                    I

                                                                  Debtor’s Attributable
           Name              Cohort
                                          Net Total Collateral       Portion of Net                                                                       GMACM Recognized
 1                                              Losses              Collateral Losses   Losses Due to Breach    GMACM Claim         Insurer                   Claim             GMACM Seller %
371 MALT 2004-4 [5]        ALT-A 2004                  $655,641                   $32,782             $13,479              $3,024                                      $3,024              2.50%
372 MALT 2004-4 [6]        ALT-A 2004                $1,280,753                   $64,038             $25,256              $5,666                                      $5,666              2.50%
373 MALT 2004-4 [7]        ALT-A 2004                $1,775,705                   $88,785             $37,714              $8,460                                      $8,460              2.50%
374 MALT 2004-4 [8]        ALT-A 2004                $1,296,430                   $64,821             $28,641              $6,425                                      $6,425              2.50%
375 MALT 2004-4 [9]        ALT-A 2004                  $970,557                   $48,528             $19,244              $4,317                                      $4,317              2.50%
376 MALT 2004-6 [1]        ALT-A 2004                  $711,599                   $64,044             $25,004              $5,609                                      $5,609              4.50%
377 MALT 2004-6 [10]       ALT-A 2004                $2,620,503                  $235,845             $98,390             $22,071                                     $22,071              4.50%
378 MALT 2004-6 [2]        ALT-A 2004                   $74,699                    $6,723              $2,610                $585                                        $585              4.50%
379 MALT 2004-6 [3]        ALT-A 2004                  $763,516                   $68,716             $26,864              $6,026                                      $6,026              4.50%
380 MALT 2004-6 [4]        ALT-A 2004                $1,102,081                   $99,187             $40,123              $9,001                                      $9,001              4.50%
381 MALT 2004-6 [5]        ALT-A 2004                  $605,915                   $54,532             $22,171              $4,973                                      $4,973              4.50%
382 MALT 2004-6 [6]        ALT-A 2004                $2,078,379                  $187,054             $81,031             $18,177                                     $18,177              4.50%
383 MALT 2004-6 [7]        ALT-A 2004                $4,838,506                  $435,466            $178,441             $40,029                                     $40,029              4.50%
384 MALT 2004-6 [8]        ALT-A 2004                $2,146,287                  $193,166             $77,904             $17,476                                     $17,476              4.50%
385 MALT 2004-6 [9]        ALT-A 2004                $1,188,107                  $106,930             $44,008              $9,872                                      $9,872              4.50%
386 MALT 2004-7 [1]        ALT-A 2004                $4,963,932                  $446,754            $183,960             $41,267                                     $41,267              4.50%
387 MALT 2004-7 [10]       ALT-A 2004                  $422,391                   $38,015             $15,427              $3,461                                      $3,461              4.50%
388 MALT 2004-7 [2]        ALT-A 2004                  $768,568                   $69,171             $27,900              $6,259                                      $6,259              4.50%
389 MALT 2004-7 [3]        ALT-A 2004                $1,382,732                  $124,446             $53,126             $11,918                                     $11,918              4.50%
390 MALT 2004-7 [4]        ALT-A 2004                  $596,620                   $53,696             $21,214              $4,759                                      $4,759              4.50%
391 MALT 2004-7 [5]        ALT-A 2004                  $118,139                   $10,633              $4,128                $926                                        $926              4.50%
392 MALT 2004-7 [6]        ALT-A 2004                  $342,018                   $30,782             $12,420              $2,786                                      $2,786              4.50%
393 MALT 2004-7 [7]        ALT-A 2004                  $907,688                   $81,692             $32,914              $7,383                                      $7,383              4.50%
394 MALT 2004-7 [8]        ALT-A 2004                  $394,654                   $35,519             $14,262              $3,199                                      $3,199              4.50%
395 MALT 2004-7 [9]        ALT-A 2004                $3,712,985                  $334,169            $139,584             $31,312                                     $31,312              4.50%
396 MALT 2004-8 [1]        ALT-A 2004                $4,255,942                  $383,035            $164,971             $37,007                                     $37,007              4.50%
397 MALT 2004-8 [2]        ALT-A 2004                $3,075,089                  $276,758            $115,271             $25,858                                     $25,858              4.50%
398 MALT 2004-8 [3]        ALT-A 2004                $1,047,024                   $94,232             $37,705              $8,458                                      $8,458              4.50%
399 MALT 2004-8 [4]        ALT-A 2004                  $781,886                   $70,370             $28,982              $6,501                                      $6,501              4.50%
400 MALT 2004-8 [5]        ALT-A 2004                  $981,912                   $88,372             $36,364              $8,157                                      $8,157              4.50%
401 MALT 2004-8 [6]        ALT-A 2004                  $701,074                   $63,097             $25,297              $5,675                                      $5,675              4.50%
402 MALT 2004-8 [7]        ALT-A 2004                  $483,952                   $43,556             $17,327              $3,887                                      $3,887              4.50%
403 MALT 2004-8 [8]        ALT-A 2004                  $900,527                   $81,047             $35,418              $7,945                                      $7,945              4.50%
404 MALT 2005-3 [1]        ALT-A 2005                $5,722,411                  $286,121            $114,043             $25,583                                     $25,583              2.50%
405 MALT 2005-3 [2]        ALT-A 2005                $1,648,426                   $82,421             $33,853              $7,594                                      $7,594              2.50%
406 MALT 2005-3 [3]        ALT-A 2005                $2,816,526                  $140,826             $60,018             $13,463                                     $13,463              2.50%
407 MALT 2005-3 [4]        ALT-A 2005                $1,649,965                   $82,498             $32,249              $7,234                                      $7,234              2.50%
408 MALT 2005-3 [5]        ALT-A 2005                $1,300,464                   $65,023             $26,070              $5,848                                      $5,848              2.50%
409 MALT 2005-3 [6]        ALT-A 2005               $10,665,943                  $533,297            $216,590             $48,586                                     $48,586              2.50%
410 MALT 2005-3 [7]        ALT-A 2005                $2,040,439                  $102,022             $43,433              $9,743                                      $9,743              2.50%
411 MALT 2005-4 [1]        ALT-A 2005                $5,008,845                  $450,796            $193,887             $43,493                                     $43,493              4.50%
412 MALT 2005-4 [2]        ALT-A 2005                $4,675,166                  $420,765            $179,990             $40,376                                     $40,376              4.50%
413 MALT 2005-4 [3]        ALT-A 2005                $4,463,070                  $401,676            $166,775             $37,412                                     $37,412              4.50%
414 MALT 2005-4 [4]        ALT-A 2005                $1,426,584                  $128,393             $51,075             $11,457                                     $11,457              4.50%
415 MALT 2005-4 [5]        ALT-A 2005                $5,163,310                  $464,698            $197,676             $44,343                                     $44,343              4.50%
416 MALT 2005-5 [1]        ALT-A 2005                  $401,371                   $20,069              $7,790              $1,747                                      $1,747              2.50%
417 MALT 2005-5 [2]        ALT-A 2005                $3,151,283                  $157,564             $62,943             $14,120                                     $14,120              2.50%
418 MALT 2005-5 [3]        ALT-A 2005               $20,915,721                $1,045,786            $437,240             $98,083                                     $98,083              2.50%
419 MALT 2005-5 [4]        ALT-A 2005                $2,466,671                  $123,334             $52,763             $11,836                                     $11,836              2.50%
420 MALT 2005-5 [5]        ALT-A 2005                $4,848,785                  $242,439            $100,128             $22,461                                     $22,461              2.50%

421 MALT 2006-1 [Total]     ALT-A 2006              $39,940,754                  $289,161             $98,398             $44,146                                     $44,146              0.72%
422 MALT 2007-HF1 [1]       ALT-A 2007               $4,875,690                  $234,152             $80,089             $35,932                                     $35,932              4.80%
423 MALT 2007-HF1 [2]       ALT-A 2007              $21,423,537                $1,028,851            $355,604            $159,541                                    $159,541              4.80%
424 MALT 2007-HF1 [3]       ALT-A 2007               $3,433,536                  $164,893             $56,475             $25,337                                     $25,337              4.80%
425 MALT 2007-HF1 [4]       ALT-A 2007              $30,547,035                $1,467,001            $502,523            $225,456                                    $225,456              4.80%
426 MALT 2007-HF1 [5]       ALT-A 2007               $3,424,738                  $164,471             $56,898             $25,527                                     $25,527              4.80%
427 MARP 2005-1 [1A]      Subprime 2005              $3,116,005                  $280,440            $155,472             $69,752                                     $69,752              9.00%
428 MARP 2005-1 [1B]      Subprime 2005              $8,534,564                  $768,111            $425,864            $191,063                                    $191,063              9.00%
429 MARP 2005-1 [1C]      Subprime 2005              $7,815,199                  $703,368            $390,091            $175,013                                    $175,013              9.00%
430 MARP 2005-1 [1D]      Subprime 2005              $5,771,741                  $519,457            $288,054            $129,235                                    $129,235              9.00%
431 MARP 2005-1 [1E]      Subprime 2005              $2,389,764                  $215,079            $119,215             $53,486                                     $53,486              9.00%
432 MARP 2005-1 [1F]      Subprime 2005              $1,885,178                  $169,666             $94,074             $42,206                                     $42,206              9.00%
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                                                                                                     Schedule 3G – GMACM Additional R+W Claims
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               A               B                   C                         D                     E                   F                G                          H                    I

                                                                    Debtor’s Attributable
              Name           Cohort
                                          Net Total Collateral         Portion of Net                                                                       GMACM Recognized
 1                                              Losses                Collateral Losses   Losses Due to Breach    GMACM Claim         Insurer                   Claim             GMACM Seller %
433 MARP 2005-1 [2]       Subprime 2005                $1,177,982                 $106,018              $58,741             $26,354                                     $26,354              9.00%
    MARP 2005-2
434 [POOL1_A]             Subprime 2005             $34,606,315                   $308,714             $171,155             $76,788                                     $76,788              0.89%
    MARP 2005-2
435 [POOL1_B]             Subprime 2005                $5,216,957                  $46,539              $25,770             $11,562                                     $11,562              0.89%
    MARP 2005-2
436 [POOL1_C]             Subprime 2005                $2,664,648                  $23,771              $13,170              $5,909                                      $5,909              0.89%
    MARP 2005-2
437 [POOL1_D]             Subprime 2005                $1,867,260                  $16,657               $9,234              $4,143                                      $4,143              0.89%

438 MARP 2005-2 [POOL2]   Subprime 2005              $2,116,394                    $18,880              $10,472              $4,698                                      $4,698              0.89%
439 MARP 2006-1 [I_1]     Subprime 2006             $29,350,392                    $50,882              $28,352             $12,720                                     $12,720              0.17%

440 MARP 2006-1 [I_234]   Subprime 2006              $9,640,696                     $16,713              $9,313              $4,178                                      $4,178              0.17%
441 MARP 2006-1 [II]      Subprime 2006                $847,986                      $1,470                $819                $368                                        $368              0.17%
442 MARP 2006-2 [1]       Subprime 2006             $33,429,970                  $1,478,572            $823,856            $369,621                                    $369,621              4.42%
443 MARP 2006-2 [2]       Subprime 2006                $636,005                     $28,130             $15,675              $7,033                                      $7,033              4.42%
444 MASTR 2002-7 [1]        Prime 2002                 $132,802                      $7,716              $2,365              $1,061                                      $1,061              5.81%
445 MASTR 2002-7 [2]        Prime 2002                 $510,491                     $29,659              $6,254              $2,806                                      $2,806              5.81%
446 MASTR 2002-7 [3]        Prime 2002                  $58,053                      $3,373              $1,034                $464                                        $464              5.81%

447 MASTR 2003-2 [ONE]     Prime 2003                    $93,832                    $8,445               $3,113              $1,397                                      $1,397              9.00%
    MASTR 2003-2
448 [THREE]                Prime 2003                    $96,997                    $8,730               $4,009              $1,799                                      $1,799              9.00%

449 MASTR 2003-2 [TWO]     Prime 2003                   $236,011                   $21,241               $6,522              $2,926                                      $2,926              9.00%
    MASTR 2003-4
450 [EIGHT]                Prime 2003                    $40,866                      $155                 $71                  $32                                        $32               0.38%

451 MASTR 2003-4 [FIVE]    Prime 2003                   $105,370                      $400                $133                  $60                                        $60               0.38%

452 MASTR 2003-4 [FOUR]    Prime 2003                    $59,845                      $227                $105                  $47                                        $47               0.38%

453 MASTR 2003-4 [ONE]     Prime 2003                    $43,095                      $164                 $75                 $34                                         $34               0.38%
454 MASTR 2003-4 [SIX]     Prime 2003                   $395,663                    $1,504                $691                $310                                        $310               0.38%
    MASTR 2003-4
455 [THREE]                Prime 2003                    $28,064                      $107                 $49                  $22                                        $22               0.38%

456 MASTR 2003-4 [TWO]     Prime 2003                    $125,915                     $478                 $220                 $99                                         $99              0.38%
457 MASTR 2004-1 [1]       Prime 2004                    $597,293                  $53,756              $29,137             $13,072                                     $13,072              9.00%
458 MASTR 2004-1 [2]       Prime 2004                     $12,151                   $1,094                 $654                $293                                        $293              9.00%
459 MASTR 2004-1 [3]       Prime 2004                    $167,481                  $15,073               $9,011              $4,043                                      $4,043              9.00%
460 MASTR 2004-1 [4]       Prime 2004                     $98,270                   $8,844               $5,287              $2,372                                      $2,372              9.00%
461 MASTR 2004-1 [5]       Prime 2004                    $425,699                  $38,313              $21,290              $9,552                                      $9,552              9.00%
462 MASTR 2004-10 [1]      Prime 2004                    $133,867                  $12,048               $7,203              $3,231                                      $3,231              9.00%
463 MASTR 2004-10 [2]      Prime 2004                    $157,957                  $14,216               $8,499              $3,813                                      $3,813              9.00%
464 MASTR 2004-10 [3]      Prime 2004                    $135,674                  $12,211               $7,296              $3,273                                      $3,273              9.00%
465 MASTR 2004-10 [4]      Prime 2004                    $161,112                  $14,500               $8,669              $3,889                                      $3,889              9.00%
466 MASTR 2004-10 [5]      Prime 2004                    $481,117                  $43,301              $20,832              $9,346                                      $9,346              9.00%
467 MASTR 2004-10 [6]      Prime 2004                    $244,873                  $22,039              $10,711              $4,806                                      $4,806              9.00%
468 MASTR 2004-11 [1]      Prime 2004                    $199,381                  $16,024               $8,116              $3,641                                      $3,641              8.04%
469 MASTR 2004-11 [2]      Prime 2004                    $179,597                  $14,434               $8,629              $3,871                                      $3,871              8.04%
470 MASTR 2004-11 [3]      Prime 2004                    $397,223                  $31,924              $14,532              $6,520                                      $6,520              8.04%
471 MASTR 2004-11 [4]      Prime 2004                  $1,041,153                  $83,676              $41,420             $18,583                                     $18,583              8.04%
472 MASTR 2004-11 [5]      Prime 2004                    $633,868                  $50,943              $27,332             $12,262                                     $12,262              8.04%
473 MASTR 2004-3 [1]       Prime 2004                     $80,694                   $7,262               $4,342              $1,948                                      $1,948              9.00%
474 MASTR 2004-3 [2]       Prime 2004                     $17,523                   $1,577                 $943                $423                                        $423              9.00%
475 MASTR 2004-3 [3]       Prime 2004                    $181,588                  $16,343               $9,770              $4,383                                      $4,383              9.00%
476 MASTR 2004-3 [4]       Prime 2004                    $429,194                  $38,627              $21,037              $9,438                                      $9,438              9.00%
477 MASTR 2004-3 [5]       Prime 2004                     $17,523                   $1,577                 $943                $423                                        $423              9.00%

478 MASTR 2004-4 [ONE1]    Prime 2004                   $112,309                    $2,976               $1,779               $798                                        $798               2.65%

479 MASTR 2004-4 [ONE2]    Prime 2004                   $112,199                    $2,973               $1,778               $797                                        $797               2.65%

480 MASTR 2004-4 [ONE3]    Prime 2004                     $6,633                      $176                $105                  $47                                        $47               2.65%
    MASTR 2004-4
481 [THREE]                Prime 2004                    $27,979                      $741                $443                $199                                        $199               2.65%
                                      12-12020-mg                    Doc 6065-1                   Filed   12/11/13 Entered 12/11/13 17:30:11
                                                                                                     Schedule 3G – GMACM Additional R+W Claims
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                                                                                                                        Review     Due Diligence



               A               B                   C                         D                     E                     F                  G                       H                      I

                                                                    Debtor’s Attributable
              Name           Cohort
                                          Net Total Collateral         Portion of Net                                                                        GMACM Recognized
 1                                              Losses                Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer                Claim               GMACM Seller %

482 MASTR 2004-4 [TWO]     Prime 2004                    $614,187                  $16,276                $7,904                $3,546                                     $3,546               2.65%
483 MASTR 2004-5 [1]       Prime 2004                    $816,208                  $26,873               $13,945                $6,256                                     $6,256               3.29%
484 MASTR 2004-5 [2]       Prime 2004                    $149,905                   $4,936                $2,951                $1,324                                     $1,324               3.29%
485 MASTR 2004-6 [1]       Prime 2004                    $278,696                   $7,803                $4,665                $2,093                                     $2,093               2.80%
486 MASTR 2004-6 [2A]      Prime 2004                    $288,103                   $8,067                $4,312                $1,935                                     $1,935               2.80%
487 MASTR 2004-6 [2B]      Prime 2004                    $205,871                   $5,764                $3,261                $1,463                                     $1,463               2.80%
488 MASTR 2004-6 [3]       Prime 2004                    $361,969                  $10,135                $4,916                $2,206                                     $2,206               2.80%
489 MASTR 2004-6 [4]       Prime 2004                    $189,702                   $5,312                $3,175                $1,425                                     $1,425               2.80%
490 MASTR 2004-6 [5]       Prime 2004                    $276,728                   $7,748                $4,632                $2,078                                     $2,078               2.80%
491 MASTR 2004-6 [6]       Prime 2004                    $137,108                   $3,839                $2,295                $1,030                                     $1,030               2.80%
492 MASTR 2004-6 [7]       Prime 2004                    $296,394                   $8,299                $4,961                $2,226                                     $2,226               2.80%
493 MASTR 2004-9 [1]       Prime 2004                     $63,233                   $3,762                $2,249                $1,009                                     $1,009               5.95%
494 MASTR 2004-9 [2]       Prime 2004                  $1,373,635                  $81,731               $39,841               $17,875                                    $17,875               5.95%
495 MASTR 2004-9 [3]       Prime 2004                    $271,308                  $16,143                $9,651                $4,330                                     $4,330               5.95%
496 MASTR 2004-9 [4]       Prime 2004                    $427,878                  $25,459               $12,524                $5,619                                     $5,619               5.95%
497 MASTR 2004-9 [5]       Prime 2004                     $44,948                   $2,674                $1,599                  $717                                       $717               5.95%
498 MASTR 2004-9 [6]       Prime 2004                     $94,639                   $5,631                $3,366                $1,510                                     $1,510               5.95%
499 MASTR 2004-9 [7]       Prime 2004                     $42,169                   $2,509                $1,500                  $673                                       $673               5.95%
500 MASTR 2004-9 [8]       Prime 2004                    $157,892                   $9,395                $5,616                $2,520                                     $2,520               5.95%

501 MLMI 2003-A2 [FOUR]    Prime 2003                   $435,763                   $22,261                $5,509                $2,472                                     $2,472               5.11%

502 MLMI 2003-A2 [ONE]     Prime 2003                   $259,220                   $13,242                $4,839                $2,171                                     $2,171               5.11%
     MLMI 2003-A2
503 [THREE]                Prime 2003                   $449,911                   $22,983               $10,565                $4,740                                     $4,740               5.11%

504 MLMI 2003-A2 [TWO]     Prime 2003                   $93,524                      $4,778                $2,196                 $985                                       $985               5.11%
505 MLMI 2003-A4 [1]       Prime 2003                $1,799,575                    $215,300               $55,354              $24,834                                    $24,834              11.96%
506 MLMI 2003-A4 [2]       Prime 2003                  $236,366                     $28,279               $12,047               $5,405                                     $5,405              11.96%
507 MLMI 2003-A4 [3]       Prime 2003                  $166,825                     $19,959                $8,684               $3,896                                     $3,896              11.96%
508 MLMI 2003-A4 [4]       Prime 2003                   $59,820                      $7,157                $3,290               $1,476                                     $1,476              11.96%
509 MLMI 2005-A6 [1]       ALT-A 2005               $58,935,786                  $2,946,789            $1,266,308             $568,126                                   $568,126               5.00%
510 MLMI 2005-A6 [2]       ALT-A 2005               $81,813,332                  $4,090,667            $1,755,805             $787,738                                   $787,738               5.00%

511 MSSTR 2005-2 [FIVE]    Prime 2005                    $78,709                    $1,078                  $645                  $289                                       $289               1.37%

512 MSSTR 2005-2 [FOUR]    Prime 2005                   $248,869                    $3,410                $1,836                  $824                                       $824               1.37%
     MSSTR 2005-2
513 [ONE/TWO]              Prime 2005                  $1,151,072                  $15,770                $7,978                $3,579                                     $3,579               1.37%
    MSSTR 2005-2
514 [THREE]                 Prime 2005                $387,723                       $5,312                $3,161                $1,418                                     $1,418              1.37%
515 RBSGC 2005-A [1]        ALT-A 2005              $1,937,065                     $174,336               $71,062               $15,941                                    $15,941              4.50%
516 RBSGC 2005-A [2]        ALT-A 2005             $12,389,758                   $1,115,078              $450,332              $101,020                                  $101,020               4.50%
517 RBSGC 2005-A [3]        ALT-A 2005             $10,077,956                     $907,016              $385,491               $86,475                                    $86,475              4.50%
518 RBSGC 2005-A [4]        ALT-A 2005              $4,265,948                     $383,935              $158,056               $35,456                                    $35,456              4.50%
519 RBSGC 2005-A [5]        ALT-A 2005              $4,996,566                     $449,691              $193,859               $43,487                                    $43,487              4.50%
520 RBSGC 2007-B [1]        ALT-A 2007             $92,699,545                     $104,962               $35,814               $16,068                                    $16,068              0.11%
521 RBSGC 2007-B [2]        ALT-A 2007              $3,256,816                       $3,688                $1,264                  $567                                       $567              0.11%
522 RBSGC 2007-B [3]        ALT-A 2007              $6,702,194                       $7,589                $2,523                $1,132                                     $1,132              0.11%
523 SACO 2007-1 [1A]         CES 2007              $21,616,008                   $1,080,800              $567,433              $254,578                                  $254,578               5.00%
524 SACO 2007-1 [1F]         CES 2007             $113,758,896                   $5,687,945            $2,972,443            $1,333,580                                 $1,333,580              5.00%
525 SACO 2007-1 [2A]         CES 2007               $5,622,055                     $281,103              $147,951               $66,378                                    $66,378              5.00%
526 SACO 2007-1 [2F]         CES 2007              $40,116,923                   $2,005,846            $1,051,016              $471,536                                  $471,536               5.00%
527 SAIL 2006-2 [A]       Subprime 2006           $315,828,955                   $2,463,466            $1,369,181              $614,280                                  $614,280               0.78%
528 SAIL 2006-2 [F]       Subprime 2006            $98,460,981                     $767,996              $426,756              $191,463                                  $191,463               0.78%
529 SARM 2004-4 [1AX]       ALT-A 2004              $1,309,089                         $729                  $311                  $140                                       $140              0.06%

530 SARM 2004-4 [1PAX]     ALT-A 2004                  $1,584,710                     $882                  $364                  $164                                       $164               0.06%
531 SARM 2004-4 [2AX]      ALT-A 2004                  $5,347,991                   $2,977                $1,221                  $548                                       $548               0.06%

532 SARM 2004-4 [2PAX]     ALT-A 2004                $2,744,710                     $1,528                  $624                  $280                                       $280               0.06%
533 SARM 2004-4 [3AX]      ALT-A 2004               $15,927,535                     $8,865                $3,633                $1,630                                     $1,630               0.06%

534 SARM 2004-4 [3PAX]     ALT-A 2004                  $6,812,790                   $3,792                $1,523                  $683                                       $683               0.06%
535 SARM 2004-4 [4AX]      ALT-A 2004                  $1,433,403                     $798                  $312                  $140                                       $140               0.06%
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                                                                                                       Schedule 3G – GMACM Additional R+W Claims
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                                                                      Debtor’s Attributable
            Name               Cohort
                                            Net Total Collateral         Portion of Net                                                                                                                            GMACM Recognized
 1                                                Losses                Collateral Losses   Losses Due to Breach      GMACM Claim                                        Insurer                                       Claim               GMACM Seller %

536 SARM 2004-4 [4PAX]       ALT-A 2004                  $1,209,370                     $673                  $263                  $118                                                                                           $118               0.06%
537 SARM 2004-4 [5AX]        ALT-A 2004                    $861,765                     $480                  $186                   $84                                                                                            $84               0.06%

538 SARM 2004-4 [5PAX]       ALT-A 2004                   $829,129                      $461                  $179                   $80                                                                                            $80               0.06%

539 SASC 2001-8A [FOUR]      Prime 2001                    $69,946                    $6,295                $1,929                  $866                                                                                           $866               9.00%
540 SASC 2001-8A [ONE]       Prime 2001                   $376,193                   $33,857                $5,626                $2,524                                                                                         $2,524               9.00%

541 SASC 2001-8A [THREE]     Prime 2001                    $17,693                    $1,592                  $358                  $160                                                                                           $160               9.00%

542 SASC 2001-8A [TWO]        Prime 2001                    $34,679                   $3,121                  $468                  $210                                                                                           $210               9.00%
543 SASC 2002-12 [1]          Prime 2002                     $7,334                     $660                   $99                   $44    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                    $44               9.00%
544 SASC 2002-12 [2]          Prime 2002                   $442,505                  $39,825                $5,974                $2,680    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                 $2,680               9.00%
545 SASC 2002-12 [3]          Prime 2002                    $41,941                   $3,775                  $566                  $254    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                   $254               9.00%
546 SASC 2002-12 [4]          Prime 2002                   $461,814                  $41,563                $6,235                $2,797    LEHMAN (Financial Guaranty )/FHLMC (Pool Policy) - Insurer Exception                 $2,797               9.00%
547 SASC 2002-4H [1]        Subprime 2002                $3,122,336                 $620,096              $178,872               $80,251                                                                                        $80,251              19.86%
548 SASC 2002-4H [2]        Subprime 2002                    $7,544                   $1,498                  $417                  $187                                                                                           $187              19.86%

549 SASC 2005-RF1 [Total]   Subprime 2005             $18,396,671                  $1,655,700             $918,144              $411,923                                                                                       $411,923               9.00%

550 SASC 2005-RF2 [Total]   Subprime 2005             $15,456,095                  $1,391,049             $770,853              $345,841                                                                                       $345,841               9.00%

551 SASC 2005-RF4 [Total]   Subprime 2005             $24,615,331                  $2,215,380            $1,229,652             $551,680                                                                                       $551,680               9.00%

552 SASC 2005-RF6 [Total]   Subprime 2005             $12,269,204                  $1,104,228             $612,965              $275,005                                                                                       $275,005               9.00%

553 SASC 2005-S7 [Total]      CES 2005              $177,035,883                $15,933,229              $6,182,751            $2,773,877                      United Guaranty (Pool Policy)                                  $2,773,877              9.00%
554 SASC 2006-BC2 [1A]      Subprime 2006           $153,649,039                 $1,383,285                $768,919              $344,974                                                                                      $344,974               0.90%
555 SASC 2006-BC2 [1F]      Subprime 2006            $69,603,333                   $626,631                $348,409              $156,313                                                                                      $156,313               0.90%
556 SASC 2006-BC2 [2A]      Subprime 2006           $159,700,421                 $1,437,765                $799,118              $358,522                                                                                      $358,522               0.90%
557 SASC 2006-BC2 [2F]      Subprime 2006            $72,420,451                   $651,993                $362,568              $162,665                                                                                      $162,665               0.90%

558 SASC 2008-RF1 [Total]   Subprime 2008             $22,474,726                  $1,123,736             $585,612              $262,734                                                                                       $262,734               5.00%
559 SASCO 2002-9 [2FR]        Prime 2002                   $1,312                         $10                   $3                    $1                                                                                             $1               0.80%
560 SASCO 2002-9 [2L]         Prime 2002                    $332                           $3                   $1                    $0                                                                                             $0               0.80%

561 SASCO 2002-9 [A1-MI]     Prime 2002                   $824,407                    $6,595                $1,463                  $656                                                                                           $656               0.80%
     SASCO 2002-9 [A1-
562 NOMI]                    Prime 2002                   $811,230                    $6,490                $1,469                  $659                                                                                           $659               0.80%

563 SASCO 2002-9 [B1-MI]     Prime 2002                   $225,011                    $1,800                  $397                  $178                                                                                           $178               0.80%
    SASCO 2002-9 [B1-
564 NOMI]                    Prime 2002                    $906,481                   $7,252                $1,627                  $730                                                                                           $730               0.80%
565 SASI 1993-6 [CIT1]       Prime 1999                    $297,737                  $26,796                $2,010                  $451                            GEMICO (Pool Policy                                            $451               4.50%
566 SASI 1993-6 [CWF1]       Prime 1999                    $408,373                  $36,754                $2,757                  $619                            GEMICO (Pool Policy                                            $619               4.50%
567 SASI 1993-6 [GEC1]       Prime 1999                    $134,479                  $12,103                  $908                  $204                            GEMICO (Pool Policy                                            $204               4.50%
568 SASI 1993-6 [ITT2]       Prime 1999                    $294,598                  $26,514                $1,998                  $448                                                                                           $448               4.50%
569 SASI 1993-6 [ITT3]       Prime 1999                    $527,944                  $47,515                $3,576                  $802                GEMICO (Pool Policy)/FSA - Insurer Exception                               $802               4.50%
570 SASI 1993-6 [ITT4]       Prime 1999                    $264,173                  $23,776                $1,783                  $400                                                                                           $400               4.50%
571 SASI 1993-6 [ITT5]       Prime 1999                    $139,669                  $12,570                  $952                  $214                                                                                           $214               4.50%
572 SASI 1993-6 [SASC3]      Prime 1999                  $2,041,944                 $183,775               $13,833                $3,103                GEMICO (Pool Policy)/FSA - Insurer Exception                             $3,103               4.50%
573 SEMT 2004-10 [1]         Prime 2004                  $4,908,266                 $220,872              $110,861               $24,869                                                                                        $24,869               4.50%
574 SEMT 2004-10 [2]         Prime 2004                  $3,477,050                 $156,467               $77,732               $17,437                                                                                        $17,437               4.50%
575 SEMT 2004-11 [1]         Prime 2004                  $4,686,120                 $135,897               $69,614               $15,616                                                                                        $15,616               2.90%
576 SEMT 2004-11 [2]         Prime 2004                    $917,875                  $26,618               $13,393                $3,004                                                                                         $3,004               2.90%
577 SEMT 2004-11 [3]         Prime 2004                  $1,316,313                  $38,173               $20,242                $4,541                                                                                         $4,541               2.90%
578 SEMT 2004-12 [1]         Prime 2004                  $4,758,130                 $295,004              $148,902               $33,402                                                                                        $33,402               3.10%
579 SEMT 2004-12 [2]         Prime 2004                  $1,959,642                 $121,498               $60,509               $13,574                                                                                        $13,574               3.10%
580 SEMT 2004-12 [3]         Prime 2004                    $743,687                  $46,109               $27,565                $6,183                                                                                         $6,183               3.10%

581 SEMT 2004-4 [Total]      Prime 2004                  $6,293,703                 $249,860              $127,733               $28,654                                                                                        $28,654               1.99%
582 SEMT 2004-5 [1]          Prime 2004                  $3,349,661                 $301,469              $155,376               $34,854                                                                                        $34,854               4.50%
583 SEMT 2004-5 [2A]         Prime 2004                  $1,114,087                 $100,268               $54,710               $12,273                                                                                        $12,273               4.50%
584 SEMT 2004-5 [2B]         Prime 2004                    $573,706                  $51,634               $26,621                $5,972                                                                                         $5,972               4.50%
585 SEMT 2004-6 [1]          Prime 2004                  $4,262,473                 $356,769              $170,343               $38,212                                                                                        $38,212               4.19%
586 SEMT 2004-6 [2A]         Prime 2004                  $1,092,058                  $91,405               $51,617               $11,579                                                                                        $11,579               4.19%
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              A                  B                    C                         D                     E                     F                  G                       H                      I

                                                                       Debtor’s Attributable
           Name               Cohort
                                             Net Total Collateral         Portion of Net                                                                        GMACM Recognized
 1                                                 Losses                Collateral Losses   Losses Due to Breach      GMACM Claim           Insurer                Claim               GMACM Seller %
587 SEMT 2004-6 [2B]        Prime 2004                      $371,776                  $31,118               $17,267                $3,873                                     $3,873               4.19%
588 SEMT 2004-6 [3]         Prime 2004                      $891,482                  $74,617               $41,038                $9,206                                     $9,206               4.19%
589 SEMT 2004-7 [1]         Prime 2004                    $3,202,518                 $282,142              $148,566               $33,327                                    $33,327               4.41%
590 SEMT 2004-7 [2]         Prime 2004                    $2,569,941                 $226,412              $119,449               $26,795                                    $26,795               4.41%
591 SEMT 2004-7 [3]         Prime 2004                    $1,434,948                 $126,419               $69,746               $15,646                                    $15,646               4.41%
592 SEMT 2004-8 [1A]        Prime 2004                    $2,322,790                 $180,469               $94,533               $21,206                                    $21,206               3.88%
593 SEMT 2004-8 [1B]        Prime 2004                    $1,600,920                 $124,383               $62,508               $14,022                                    $14,022               3.88%
594 SEMT 2004-8 [2]         Prime 2004                    $3,739,595                 $290,548              $148,836               $33,388                                    $33,388               3.88%
595 SEMT 2004-9 [1]         Prime 2004                    $5,430,098                 $488,709              $258,996               $58,099                                    $58,099               4.50%
596 SEMT 2004-9 [2]         Prime 2004                    $3,231,985                 $290,879              $146,504               $32,864                                    $32,864               4.50%
597 SEMT 2005-1 [1]         Prime 2005                    $3,965,273                 $356,875              $193,681               $43,447                                    $43,447               4.50%
598 SEMT 2005-1 [2]         Prime 2005                    $1,899,189                 $170,927               $82,809               $18,576                                    $18,576               4.50%

599 SEMT 2005-3 [Total]     ALT-A 2005                 $11,878,947                    $534,553             $214,656               $48,152                                    $48,152               4.50%
600 SEMT 2005-4 [1]         Prime 2005                  $2,017,483                     $47,414              $28,342               $12,716                                    $12,716               2.35%
601 SEMT 2005-4 [2]         Prime 2005                  $3,406,487                     $80,058              $45,872               $20,580                                    $20,580               2.35%
602 SEMT 2007-1 [1]         Prime 2007                  $4,256,044                    $140,875              $50,429               $11,312                                    $11,312               1.66%
603 SEMT 2007-1 [2]         Prime 2007                 $46,470,169                  $1,538,163             $553,937              $124,261                                   $124,261               1.66%
604 SEMT 2007-1 [3]         Prime 2007                  $5,579,093                    $184,668              $66,270               $14,866                                    $14,866               1.66%
605 SEMT 2007-1 [4]         Prime 2007                  $8,807,137                    $291,516             $104,039               $23,338                                    $23,338               1.66%
606 SEMT 2007-1 [5]         Prime 2007                 $11,572,514                    $383,050             $137,112               $30,757                                    $30,757               1.66%
607 SEMT 2007-2 [1]         Prime 2007                 $33,910,589                  $1,693,851             $596,292              $133,763                                   $133,763               2.50%
608 SEMT 2007-2 [2A]        Prime 2007                 $28,986,949                  $1,447,913             $523,111              $117,346                                   $117,346               2.50%
609 SEMT 2007-2 [2B]        Prime 2007                 $14,374,170                    $717,997             $257,667               $57,801                                    $57,801               2.50%
610 SEMT 2007-3 [1]         Prime 2007                 $23,052,570                  $1,152,628             $407,876               $91,496                                    $91,496               2.50%
611 SEMT 2007-3 [2A]        Prime 2007                 $20,762,575                  $1,038,129             $374,833               $84,084                                    $84,084               2.50%
612 SEMT 2007-3 [2B]        Prime 2007                 $11,161,856                    $558,093             $202,054               $45,325                                    $45,325               2.50%
613 SEMT 2007-3 [2C]        Prime 2007                  $6,570,995                    $328,550             $118,012               $26,473                                    $26,473               2.50%
614 SEMT 2007-4 [1]         Prime 2007                  $3,515,624                    $175,781              $62,106               $13,932                                    $13,932               2.50%
615 SEMT 2007-4 [2]         Prime 2007                    $502,778                     $25,139               $9,011                $2,021                                     $2,021               2.50%
616 SEMT 2007-4 [3]         Prime 2007                  $9,255,769                    $462,788             $167,178               $37,502                                    $37,502               2.50%
617 SEMT 2007-4 [4]         Prime 2007                  $3,066,130                    $153,307              $54,779               $12,288                                    $12,288               2.50%
618 SEMT 2007-4 [5]         Prime 2007                  $1,996,714                     $99,836              $35,520                $7,968                                     $7,968               2.50%

619 STAC 2007-1 [Total]       CES 2007                $90,453,636                 $4,522,682              $2,390,288              $536,199     XL                                  $0              2.50%
620 TMTS 2005-11 [1A]     Second Lien 2005           $152,143,074                $13,692,877              $7,446,816            $1,670,498                                 $1,670,498              4.50%
621 TMTS 2005-11 [1B]     Second Lien 2005            $16,793,870                 $1,511,448                $821,610              $184,307                                  $184,307               4.50%
622 TMTS 2005-11 [2A]     Second Lien 2005            $64,478,026                 $5,803,022              $3,174,218              $712,053                                  $712,053               4.50%
623 TMTS 2005-11 [2B]     Second Lien 2005            $16,004,638                 $1,440,417                $788,492              $176,878                                  $176,878               4.50%
624 TMTS 2005-13SL [2]    Second Lien 2005            $11,452,424                 $1,030,718                $534,001              $119,789    FGIC                          $119,789               4.50%
625                                              $12,257,417,470              $933,012,078          $371,330,508          $138,454,874                               $132,176,369
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             A              B                 C                       D                     E                    F                               G                                 H                   I

                                                             Debtor’s Attributable
                                     Net Total Collateral       Portion of Net
 1        Name           Cohort            Losses              Collateral Losses   Losses Due to Breach      RFC Claim                       Insurer                      RFC Recognized Claim    RFC Seller %
 2 ARMT 2004-5 [1]      ALT-A 2004              $2,865,881                 $257,929               $114,320            $25,645                                                           $25,645              4.50%
 3 ARMT 2004-5 [2]      ALT-A 2004              $8,036,747                 $723,307               $296,478            $66,507                                                           $66,507              4.50%
 4 ARMT 2004-5 [3]      ALT-A 2004              $5,787,717                 $520,895               $212,714            $47,717                                                           $47,717              4.50%
 5 ARMT 2004-5 [4]      ALT-A 2004              $5,572,235                 $501,501               $198,729            $44,580                                                           $44,580              4.50%
 6 ARMT 2004-5 [5]      ALT-A 2004              $6,707,818                 $603,704               $269,447            $60,443                                                           $60,443              4.50%
 7 ARMT 2004-5 [6]      ALT-A 2004              $9,091,981                 $818,278               $353,801            $79,366                                                           $79,366              4.50%
 8 ARMT 2004-5 [7A]     ALT-A 2004              $6,451,231                 $580,611               $259,879            $58,297                                                           $58,297              4.50%
 9 ARMT 2004-5 [7B]     ALT-A 2004             $11,295,496                $1,016,595              $453,430           $101,715                                                          $101,715              4.50%
10 ARMT 2005-1 [1]      ALT-A 2005              $6,080,686                 $547,262               $234,375            $52,576                                                           $52,576              4.50%
11 ARMT 2005-1 [2]      ALT-A 2005             $13,072,540                $1,176,529              $472,714           $106,041                                                          $106,041              4.50%
12 ARMT 2005-1 [3]      ALT-A 2005              $7,465,549                 $671,899               $293,755            $65,896                                                           $65,896              4.50%
13 ARMT 2005-1 [4]      ALT-A 2005             $13,142,774                $1,182,850              $499,137           $111,968                                                          $111,968              4.50%
14 ARMT 2005-1 [51]     ALT-A 2005              $9,853,270                 $886,794               $395,392            $88,696                                                           $88,696              4.50%
15 ARMT 2005-1 [52]     ALT-A 2005             $21,770,428                $1,959,338              $863,938           $193,802                                                          $193,802              4.50%
16 ARMT 2005-10 [1]     ALT-A 2005             $10,702,109                 $963,190               $405,959            $91,066                                                           $91,066              4.50%
17 ARMT 2005-10 [2]     ALT-A 2005             $30,610,085                $2,754,908            $1,156,765           $259,490                                                          $259,490              4.50%
18 ARMT 2005-10 [3]     ALT-A 2005             $29,763,712                $2,678,734            $1,097,098           $246,105                                                          $246,105              4.50%
19 ARMT 2005-10 [4]     ALT-A 2005             $18,143,593                $1,632,923              $699,953           $157,016                                                          $157,016              4.50%
20 ARMT 2005-10 [5]     ALT-A 2005             $66,504,968                $5,985,447            $2,652,842           $595,096                                                          $595,096              4.50%
21 ARMT 2005-10 [6]     ALT-A 2005              $6,870,091                 $618,308               $262,190            $58,816                                                           $58,816              4.50%
22 ARMT 2005-11 [1]     ALT-A 2005              $6,741,236                 $606,711               $264,034            $59,229                                                           $59,229              4.50%
23 ARMT 2005-11 [2]     ALT-A 2005             $34,391,270                $3,095,214            $1,321,417           $296,425                                                          $296,425              4.50%
24 ARMT 2005-11 [3]     ALT-A 2005             $15,741,682                $1,416,751              $589,438           $132,225                                                          $132,225              4.50%
25 ARMT 2005-11 [4]     ALT-A 2005             $83,082,789                $7,477,451            $3,231,419           $724,884                                                          $724,884              4.50%
26 ARMT 2005-11 [5]     ALT-A 2005             $70,901,103                $6,381,099            $2,815,446           $631,572                                                          $631,572              4.50%
27 BAFC 2005-3 [1]      Prime 2005              $3,157,294                 $135,809                $74,842            $33,578                                                           $33,578              4.30%
28 BAFC 2005-3 [2A]     Prime 2005                $114,250                    $4,914                $2,938             $1,318                                                            $1,318              4.30%
29 BAFC 2005-3 [2B]     Prime 2005                 $95,437                    $4,105                $2,454             $1,101                                                            $1,101              4.30%
30 BAFC 2005-3 [2C]     Prime 2005                $291,282                   $12,529                $7,490             $3,361                                                            $3,361              4.30%
31 BAFC 2005-4 [1]      Prime 2005              $1,389,038                   $87,509               $49,537            $22,225            Assured Guaranty                               $22,225              6.30%
32 BAFC 2005-4 [2]      Prime 2005              $2,791,134                 $175,841                $96,611            $43,344   Assured Guaranty - Insurer Exception                    $43,344              6.30%
33 BAFC 2005-5 [1]      Prime 2005              $3,434,972                 $557,152               $296,778           $133,149                                                          $133,149             16.22%
34 BAFC 2005-5 [2]      Prime 2005              $4,582,970                 $743,358               $383,141           $171,895                                                          $171,895             16.22%
35 BAFC 2005-5 [3]      Prime 2005              $1,950,683                 $316,401               $165,859            $74,412                                                           $74,412             16.22%
36 BAFC 2005-6 [1]      Prime 2005              $6,275,483                 $918,103               $469,068            $91,486                                                           $91,486              6.36%
37 BAFC 2005-6 [2]      Prime 2005              $7,725,474                $1,130,237              $563,719           $109,946                                                          $109,946              6.36%
38 BAFC 2005-7 [1]      Prime 2005              $5,630,681                 $146,398                $74,090            $33,240                                                           $33,240              2.60%
39 BAFC 2005-7 [2]      Prime 2005              $5,739,643                 $149,231                $74,033            $33,215                                                           $33,215              2.60%
40 BAFC 2005-7 [3]      Prime 2005              $5,582,041                 $145,133                $76,803            $34,457                                                           $34,457              2.60%
41 BAFC 2005-7 [4]      Prime 2005              $3,861,489                 $100,399                $52,907            $23,736                                                           $23,736              2.60%
42 BAFC 2005-8 [1]      Prime 2005              $2,842,891                 $519,680               $257,911            $58,235                                                           $58,235              9.20%
43 BAFC 2005-8 [2]      Prime 2005              $7,195,865                $1,315,404              $691,122           $156,053                                                          $156,053              9.20%
44 BAFC 2005-8 [3]      Prime 2005              $1,328,402                 $242,832               $122,362            $27,629                                                           $27,629              9.20%
45 BAFC 2005-8 [4]      Prime 2005              $6,760,354                $1,235,793              $618,177           $139,582                                                          $139,582              9.20%
46 BAFC 2006-1 [1]      ALT-A 2006             $20,430,173                $1,618,070              $542,291           $117,962                                                          $117,962              3.84%
47 BAFC 2006-1 [2]      ALT-A 2006             $11,370,616                 $900,553               $302,457            $65,792                                                           $65,792              3.84%
48 BAFC 2006-1 [3]      ALT-A 2006             $11,009,803                 $871,976               $293,888            $63,928                                                           $63,928              3.84%
49 BAFC 2006-5 [1]      Prime 2006             $12,988,677                 $649,434               $234,012            $52,495                                                           $52,495              2.50%
50 BAFC 2006-5 [2]      Prime 2006              $3,096,225                 $154,811                $55,701            $12,495                                                           $12,495              2.50%
51 BAFC 2006-5 [3]      Prime 2006              $4,985,845                 $249,292                $89,921            $20,171                                                           $20,171              2.50%
52 BAFC 2006-5 [4]      Prime 2006             $12,969,503                 $648,475               $232,499            $52,155                                                           $52,155              2.50%
53 BALTA 2005-4 [I]     ALT-A 2005             $40,360,845                 $257,319               $111,676             $2,293                                                            $2,293              0.03%
54 BALTA 2005-4 [II1]   ALT-A 2005             $21,587,644                 $137,631                $59,437             $1,220                                                            $1,220              0.03%
55 BALTA 2005-4 [II2]   ALT-A 2005             $15,573,544                   $99,289               $42,498               $873                                                              $873              0.03%
56 BALTA 2005-4 [II3]   ALT-A 2005            $124,064,736                 $790,971               $333,975             $6,857                                                            $6,857              0.03%
57 BALTA 2005-4 [II4]   ALT-A 2005              $8,986,500                   $57,293               $23,409               $481                                                              $481              0.03%
58 BALTA 2005-4 [II5]   ALT-A 2005              $8,181,787                   $52,163               $20,991               $431                                                              $431              0.03%
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                                                                         Debtor’s Attributable
                                               Net Total Collateral         Portion of Net
 1         Name                Cohort                Losses                Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                   RFC Recognized Claim      RFC Seller %
   BSSLT 2007-SV1A
59 [Total]                    CES 2007                  $525,306,659               $26,265,333           $13,848,235             $3,106,489     XL - Insurer Exception                       $3,106,489              2.50%
   CARR 2006-RFC1
60 [A_2YR]                 Subprime 2006                $174,666,031              $174,666,031           $97,100,470         $43,563,903                                                  $43,563,903              100.00%
   CARR 2006-RFC1
61 [A_3YR]                 Subprime 2006                 $27,826,914               $27,826,914           $15,476,142             $6,943,336                                                  $6,943,336            100.00%

62 CARR 2006-RFC1 [F]      Subprime 2006                 $34,351,720               $34,351,720           $19,112,196             $8,574,643                                                  $8,574,643            100.00%
   CARR 2007-RFC1
63 [1A_1]                  Subprime 2007                $219,949,374              $219,949,374          $122,310,482         $54,874,316                                                  $54,874,316              100.00%
   CARR 2007-RFC1
64 [1A_2]                  Subprime 2007                 $51,104,674               $51,104,674           $28,431,258         $12,755,619                                                  $12,755,619              100.00%

65 CARR 2007-RFC1 [2F]     Subprime 2007                 $70,320,717               $70,320,717           $39,129,645         $17,555,425                                                  $17,555,425              100.00%
66 FNR 2002-66 [FIVE]      Subprime 2002                  $3,342,601                  $300,834               $80,464             $18,050      FNMA/FNMA (Agency Wrap)                              $0                4.50%

67 FNR 2002-66 [FOUR]      Subprime 2002                    $5,410,998                $486,990               $132,019              $29,615    FNMA/FNMA (Agency Wrap)                               $0               4.50%
68 FNR 2002-66 [ONE]       Subprime 2002                    $6,746,831                $607,215               $130,877              $29,359    FNMA/FNMA (Agency Wrap)                               $0               4.50%
   GSR 2007-HEL1
69 [Total]                Second Lien 2007                $4,473,052                  $223,653               $109,816              $24,634              MBIA                                        $0               2.50%
70 HALO 2007-AR2 [I]         ALT-A 2007                   $3,666,399                   $12,194                 $4,151               $1,863                                                      $1,863               0.33%
71 HALO 2007-AR2 [II]        ALT-A 2007                  $57,031,784                  $189,684                $65,148              $29,229                                                     $29,229               0.33%

72 HALO 2007-AR2 [III]       ALT-A 2007                  $17,955,461                   $59,719                $20,226                $9,074                                                     $9,074               0.33%

73 HALO 2007-AR2 [IV]         ALT-A 2007                 $12,421,672                   $41,314               $13,997                 $6,280                                                      $6,280              0.33%
74 HVMLT 2007-2 [1]      Pay Option ARM 2007            $159,009,612               $16,346,188            $5,923,716             $2,657,661                                                  $2,657,661             10.28%
75 HVMLT 2007-2 [2]      Pay Option ARM 2007            $338,985,056               $34,847,664           $12,759,945             $5,724,720            AMBAC                                 $5,724,720             10.28%
76 LMT 2005-1 [1AX]           Prime 2005                  $4,772,299                  $130,284               $63,535                $14,253                                                     $14,253              1.37%

77 LMT 2005-1 [1DISC]        Prime 2005                     $3,502,828                 $95,627                $47,276              $10,605                                                     $10,605               1.37%
78 LMT 2005-1 [1PAX]         Prime 2005                     $3,469,896                 $94,728                $46,274              $10,380                                                     $10,380               1.37%
79 LMT 2005-1 [2AX]          Prime 2005                     $5,284,776                $144,274                $68,968              $15,471                                                     $15,471               1.37%

80 LMT 2005-1 [2DISC]        Prime 2005                     $3,444,404                 $94,032                $45,949              $10,307                                                     $10,307               1.37%
81 LMT 2005-1 [2PAX]         Prime 2005                     $3,176,154                 $86,709                $42,582               $9,552                                                      $9,552               1.37%
82 LMT 2005-1 [3]            Prime 2005                     $6,880,626                $187,841                $85,707              $19,226                                                     $19,226               1.37%
83 LMT 2005-1 [4AX]          Prime 2005                     $2,274,273                 $62,088                $29,700               $6,662                                                      $6,662               1.37%
84 LMT 2005-1 [4PAX]         Prime 2005                     $1,033,567                 $28,216                $14,089               $3,161                                                      $3,161               1.37%
85 LMT 2005-1 [5AX]          Prime 2005                     $6,182,660                $168,787                $74,955              $16,814                                                     $16,814               1.37%

86 LMT 2005-1 [5DISC]        Prime 2005                     $2,895,511                 $79,047                $34,963                $7,843                                                     $7,843               1.37%
87 LMT 2005-1 [6AX]          Prime 2005                      $184,303                   $5,031                 $2,685                  $602                                                      $602                1.37%

88 LMT 2005-1 [6DISC]        Prime 2005                   $1,399,081                   $38,195                 $20,469               $4,592                                                      $4,592              1.37%
89 LMT 2005-1 [6PAX]         Prime 2005                     $126,814                    $3,462                  $1,852                 $415                                                        $415              1.37%
90 LMT 2006-7 [1]            ALT-A 2006                  $43,260,724                $2,119,775                $728,947             $163,520                                                    $163,520              2.45%
91 LMT 2006-7 [2]            ALT-A 2006                  $88,701,867                $4,346,391              $1,493,451             $335,017                                                    $335,017              2.45%
92 LMT 2006-7 [3]            ALT-A 2006                  $36,380,967                $1,782,667                $611,745             $137,229                                                    $137,229              2.45%
93 LMT 2006-7 [4]            ALT-A 2006                   $6,521,560                  $319,556                $109,337              $24,527                                                     $24,527              2.45%
94 LUM 2006-3 [I_1]          ALT-A 2006                  $52,211,565               $14,804,384              $5,168,513           $2,318,842                                                  $2,318,842             28.35%
95 LUM 2006-3 [I_2]          ALT-A 2006                  $58,886,998               $16,697,177              $5,767,445           $2,587,551                                                  $2,587,551             28.35%
96 LUM 2006-3 [II_1]         ALT-A 2006                  $12,113,155                $3,434,638              $1,187,769             $532,890                                                    $532,890             28.35%
97 LUM 2006-3 [II_2]         ALT-A 2006                  $43,085,895               $12,216,836              $4,215,120           $1,891,104                                                  $1,891,104             28.35%
98 LUM 2006-3 [II_3]         ALT-A 2006                  $18,810,110                $5,333,533              $1,848,016             $829,108                                                    $829,108             28.35%

99 LUM 2006-5 [Total]    Pay Option ARM 2006            $151,787,226               $78,716,856           $28,697,131         $12,874,902                                                  $12,874,902               51.86%

100 LUM 2006-6 [Total]   Pay Option ARM 2006            $204,139,613              $158,534,823           $57,935,169         $12,484,155                                                  $12,484,155               37.30%
101 LUM 2007-2 [1]            ALT-A 2007                $139,923,492                $2,777,722              $950,751            $213,276                                                     $213,276                0.99%
102 LUM 2007-2 [2]            ALT-A 2007                 $46,579,284                  $924,679              $321,573             $72,137                                                      $72,137                0.99%
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              A                   B                      C                         D                     E                    F                  G                       H                     I

                                                                          Debtor’s Attributable
                                                Net Total Collateral         Portion of Net
 1         Name                 Cohort                Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer          RFC Recognized Claim      RFC Seller %

103 LXS 2006-12N [1_A1]       ALT-A 2006                  $12,759,272                  $2,139,730             $746,096             $334,734                                   $334,734              16.77%

104 LXS 2006-12N [1_A2]       ALT-A 2006                 $121,274,042               $20,337,657              $7,042,610           $3,159,651                                 $3,159,651             16.77%

105 LXS 2006-12N [1_A3]       ALT-A 2006                     $9,980,485                $1,673,727             $577,174             $258,948                                   $258,948              16.77%

106 LXS 2006-12N [1_A4]       ALT-A 2006                 $168,869,254               $28,319,374              $9,797,652           $4,395,694                                 $4,395,694             16.77%

107 LXS 2006-12N [1_F]        ALT-A 2006                  $73,996,865               $12,409,274              $4,285,596           $1,922,723                                 $1,922,723             16.77%

108 LXS 2006-12N [2_A1]       ALT-A 2006                     $8,758,782                $1,468,848             $511,009             $229,263                                   $229,263              16.77%

109 LXS 2006-12N [2_A2]       ALT-A 2006                  $13,334,144                  $2,236,136             $777,239             $348,707                                   $348,707              16.77%

110 LXS 2006-12N [2_A3]       ALT-A 2006                     $4,268,275                 $715,790              $247,722             $111,140                                   $111,140              16.77%

111 LXS 2006-12N [2_A4]        ALT-A 2006                $118,921,047               $19,943,060              $6,918,200           $3,103,834                                 $3,103,834             16.77%
112 LXS 2007-12N [1]      Pay Option ARM 2007            $264,852,925                $7,233,852              $2,637,953           $1,183,512                                 $1,183,512              2.73%
113 LXS 2007-12N [2]      Pay Option ARM 2007            $162,901,077                $4,449,271              $1,617,277             $725,587                                   $725,587              2.73%
114 LXS 2007-12N [3]      Pay Option ARM 2007             $81,972,681                $2,238,896                $826,252             $370,696                                   $370,696              2.73%
     LXS 2007-15N
115 [FOUR_0PP]            Pay Option ARM 2007             $48,148,709                  $7,461,372            $2,759,790           $1,238,174   Ambac                         $1,238,174             15.50%
    LXS 2007-15N
116 [FOUR_1YPP]           Pay Option ARM 2007             $89,905,345               $13,932,196              $5,207,304           $2,336,245   Ambac                         $2,336,245             15.50%
    LXS 2007-15N
117 [FOUR_2YPP]           Pay Option ARM 2007             $10,493,561                  $1,626,136             $601,141             $269,701    Ambac                          $269,701              15.50%
    LXS 2007-15N
118 [FOUR_3YPP]           Pay Option ARM 2007            $177,108,227               $27,445,605           $10,285,073             $4,614,374   Ambac                         $4,614,374             15.50%

119 LXS 2007-15N [ONE]    Pay Option ARM 2007             $98,993,775               $15,340,587              $5,723,555           $2,567,860                                 $2,567,860             15.50%
     LXS 2007-15N
120 [ONE_C]               Pay Option ARM 2007            $121,337,676               $18,803,113              $6,872,049           $3,083,129                                 $3,083,129             15.50%
    LXS 2007-15N
121 [THREE_0PP]           Pay Option ARM 2007             $19,659,149                  $3,046,483            $1,082,992            $485,882    Ambac                          $485,882              15.50%
    LXS 2007-15N
122 [THREE_1YPP]          Pay Option ARM 2007             $35,652,109                  $5,524,835            $1,958,517            $878,684    Ambac                          $878,684              15.50%
    LXS 2007-15N
123 [THREE_2YPP]          Pay Option ARM 2007                $5,993,859                 $928,839              $330,967             $148,487    Ambac                          $148,487              15.50%
    LXS 2007-15N
124 [THREE_3YPP]          Pay Option ARM 2007            $100,719,466               $15,608,008              $5,550,007           $2,489,998   Ambac                         $2,489,998             15.50%

125 LXS 2007-15N [TWO]    Pay Option ARM 2007            $245,466,610               $38,038,773           $14,228,602             $6,383,629                                 $6,383,629             15.50%

126 LXS 2007-2N [1_A1]    Pay Option ARM 2007                $1,082,320                 $383,899              $133,144              $59,735                                    $59,735              35.47%

127 LXS 2007-2N [1_A2]    Pay Option ARM 2007                $3,248,822                $1,152,357             $405,611             $181,976                                   $181,976              35.47%

128 LXS 2007-2N [1_A3]    Pay Option ARM 2007                 $330,561                  $117,250               $41,573              $18,652                                    $18,652              35.47%

129 LXS 2007-2N [1_A4]    Pay Option ARM 2007            $112,405,674               $39,870,292           $14,395,305             $6,458,420                                 $6,458,420             35.47%

130 LXS 2007-2N [2_A4]    Pay Option ARM 2007            $158,295,039               $56,147,250           $20,154,799             $9,042,404                                 $9,042,404             35.47%

131 LXS 2007-2N [3_A1]    Pay Option ARM 2007             $21,546,791                  $7,642,647            $2,705,692           $1,213,903                                 $1,213,903             35.47%

132 LXS 2007-2N [3_A2]    Pay Option ARM 2007             $51,753,618               $18,357,008              $6,578,430           $2,951,398                                 $2,951,398             35.47%

133 LXS 2007-2N [3_A3]    Pay Option ARM 2007                $7,631,789                $2,706,996             $975,613             $437,706                                   $437,706              35.47%

134 LXS 2007-2N [3_A4]    Pay Option ARM 2007            $154,186,537               $54,689,965           $19,598,987             $8,793,040                                 $8,793,040             35.47%
135 LXS 2007-4N [1A1]     Pay Option ARM 2007             $47,412,628                $6,936,467            $2,467,981             $1,107,254                                 $1,107,254             14.63%
136 LXS 2007-4N [1A2]     Pay Option ARM 2007            $156,586,498               $22,908,605            $8,298,792             $3,723,234                                 $3,723,234             14.63%
137 LXS 2007-4N [1A3]     Pay Option ARM 2007             $18,568,569                $2,716,582              $982,800               $440,931                                   $440,931             14.63%
138 LXS 2007-4N [2A2]     Pay Option ARM 2007             $99,970,709               $14,625,715            $5,230,289             $2,346,557                                 $2,346,557             14.63%
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                                                                      Debtor’s Attributable
                                              Net Total Collateral       Portion of Net
 1         Name               Cohort                Losses              Collateral Losses   Losses Due to Breach    RFC Claim            Insurer          RFC Recognized Claim      RFC Seller %
139 LXS 2007-4N [2A3]   Pay Option ARM 2007             $21,243,932              $3,107,987            $1,123,884             $504,228                                   $504,228             14.63%
140 LXS 2007-4N [2A4]   Pay Option ARM 2007            $235,948,818             $34,519,312           $12,406,217           $5,566,021                                 $5,566,021             14.63%
141 LXS 2007-4N [3A4]   Pay Option ARM 2007            $226,154,568             $33,086,413           $11,954,194           $5,363,222                                 $5,363,222             14.63%
142 MALT 2004-12 [1]         ALT-A 2004                    $101,129                  $5,056                $1,963                 $440                                       $440              2.50%
143 MALT 2004-12 [2]         ALT-A 2004                  $2,388,183                $119,409               $51,116              $11,466                                    $11,466              2.50%
144 MALT 2004-12 [3]         ALT-A 2004                  $5,180,106                $259,005              $108,376              $24,311                                    $24,311              2.50%
145 MALT 2004-12 [4]         ALT-A 2004                  $1,159,534                 $57,977               $22,763               $5,106                                     $5,106              2.50%
146 MALT 2004-12 [5]         ALT-A 2004                  $3,861,040                $193,052               $80,355              $18,026                                    $18,026              2.50%
147 MALT 2004-12 [6]         ALT-A 2004                  $1,942,089                 $97,104               $38,802               $8,704                                     $8,704              2.50%
148 MALT 2004-4 [1]          ALT-A 2004                  $1,308,973                 $65,449               $26,476               $5,939                                     $5,939              2.50%
149 MALT 2004-4 [10]         ALT-A 2004                    $288,810                 $14,441                $5,760               $1,292                                     $1,292              2.50%
150 MALT 2004-4 [11]         ALT-A 2004                    $766,889                 $38,344               $16,274               $3,651                                     $3,651              2.50%
151 MALT 2004-4 [2]          ALT-A 2004                    $476,273                 $23,814                $9,952               $2,232                                     $2,232              2.50%
152 MALT 2004-4 [3]          ALT-A 2004                    $367,149                 $18,357                $7,126               $1,598                                     $1,598              2.50%
153 MALT 2004-4 [4]          ALT-A 2004                    $501,905                 $25,095               $10,195               $2,287                                     $2,287              2.50%
154 MALT 2004-4 [5]          ALT-A 2004                    $655,641                 $32,782               $13,479               $3,024                                     $3,024              2.50%
155 MALT 2004-4 [6]          ALT-A 2004                  $1,280,753                 $64,038               $25,256               $5,666                                     $5,666              2.50%
156 MALT 2004-4 [7]          ALT-A 2004                  $1,775,705                 $88,785               $37,714               $8,460                                     $8,460              2.50%
157 MALT 2004-4 [8]          ALT-A 2004                  $1,296,430                 $64,821               $28,641               $6,425                                     $6,425              2.50%
158 MALT 2004-4 [9]          ALT-A 2004                    $970,557                 $48,528               $19,244               $4,317                                     $4,317              2.50%
159 MALT 2004-6 [1]          ALT-A 2004                    $711,599                 $64,044               $25,004               $5,609                                     $5,609              4.50%
160 MALT 2004-6 [10]         ALT-A 2004                  $2,620,503                $235,845               $98,390              $22,071                                    $22,071              4.50%
161 MALT 2004-6 [2]          ALT-A 2004                     $74,699                  $6,723                $2,610                 $585                                       $585              4.50%
162 MALT 2004-6 [3]          ALT-A 2004                    $763,516                 $68,716               $26,864               $6,026                                     $6,026              4.50%
163 MALT 2004-6 [4]          ALT-A 2004                  $1,102,081                 $99,187               $40,123               $9,001                                     $9,001              4.50%
164 MALT 2004-6 [5]          ALT-A 2004                    $605,915                 $54,532               $22,171               $4,973                                     $4,973              4.50%
165 MALT 2004-6 [6]          ALT-A 2004                  $2,078,379                $187,054               $81,031              $18,177                                    $18,177              4.50%
166 MALT 2004-6 [7]          ALT-A 2004                  $4,838,506                $435,466              $178,441              $40,029                                    $40,029              4.50%
167 MALT 2004-6 [8]          ALT-A 2004                  $2,146,287                $193,166               $77,904              $17,476                                    $17,476              4.50%
168 MALT 2004-6 [9]          ALT-A 2004                  $1,188,107                $106,930               $44,008               $9,872                                     $9,872              4.50%
169 MALT 2004-7 [1]          ALT-A 2004                  $4,963,932                $446,754              $183,960              $41,267                                    $41,267              4.50%
170 MALT 2004-7 [10]         ALT-A 2004                    $422,391                 $38,015               $15,427               $3,461                                     $3,461              4.50%
171 MALT 2004-7 [2]          ALT-A 2004                    $768,568                 $69,171               $27,900               $6,259                                     $6,259              4.50%
172 MALT 2004-7 [3]          ALT-A 2004                  $1,382,732                $124,446               $53,126              $11,918                                    $11,918              4.50%
173 MALT 2004-7 [4]          ALT-A 2004                    $596,620                 $53,696               $21,214               $4,759                                     $4,759              4.50%
174 MALT 2004-7 [5]          ALT-A 2004                    $118,139                 $10,633                $4,128                 $926                                       $926              4.50%
175 MALT 2004-7 [6]          ALT-A 2004                    $342,018                 $30,782               $12,420               $2,786                                     $2,786              4.50%
176 MALT 2004-7 [7]          ALT-A 2004                    $907,688                 $81,692               $32,914               $7,383                                     $7,383              4.50%
177 MALT 2004-7 [8]          ALT-A 2004                    $394,654                 $35,519               $14,262               $3,199                                     $3,199              4.50%
178 MALT 2004-7 [9]          ALT-A 2004                  $3,712,985                $334,169              $139,584              $31,312                                    $31,312              4.50%
179 MALT 2004-8 [1]          ALT-A 2004                  $4,255,942                $383,035              $164,971              $37,007                                    $37,007              4.50%
180 MALT 2004-8 [2]          ALT-A 2004                  $3,075,089                $276,758              $115,271              $25,858                                    $25,858              4.50%
181 MALT 2004-8 [3]          ALT-A 2004                  $1,047,024                 $94,232               $37,705               $8,458                                     $8,458              4.50%
182 MALT 2004-8 [4]          ALT-A 2004                    $781,886                 $70,370               $28,982               $6,501                                     $6,501              4.50%
183 MALT 2004-8 [5]          ALT-A 2004                    $981,912                 $88,372               $36,364               $8,157                                     $8,157              4.50%
184 MALT 2004-8 [6]          ALT-A 2004                    $701,074                 $63,097               $25,297               $5,675                                     $5,675              4.50%
185 MALT 2004-8 [7]          ALT-A 2004                    $483,952                 $43,556               $17,327               $3,887                                     $3,887              4.50%
186 MALT 2004-8 [8]          ALT-A 2004                    $900,527                 $81,047               $35,418               $7,945                                     $7,945              4.50%
187 MALT 2005-3 [1]          ALT-A 2005                  $5,722,411                $286,121              $114,043              $25,583                                    $25,583              2.50%
188 MALT 2005-3 [2]          ALT-A 2005                  $1,648,426                 $82,421               $33,853               $7,594                                     $7,594              2.50%
189 MALT 2005-3 [3]          ALT-A 2005                  $2,816,526                $140,826               $60,018              $13,463                                    $13,463              2.50%
190 MALT 2005-3 [4]          ALT-A 2005                  $1,649,965                 $82,498               $32,249               $7,234                                     $7,234              2.50%
191 MALT 2005-3 [5]          ALT-A 2005                  $1,300,464                 $65,023               $26,070               $5,848                                     $5,848              2.50%
192 MALT 2005-3 [6]          ALT-A 2005                 $10,665,943                $533,297              $216,590              $48,586                                    $48,586              2.50%
193 MALT 2005-3 [7]          ALT-A 2005                  $2,040,439                $102,022               $43,433               $9,743                                     $9,743              2.50%
194 MALT 2005-4 [1]          ALT-A 2005                  $5,008,845                $450,796              $193,887              $43,493                                    $43,493              4.50%
195 MALT 2005-4 [2]          ALT-A 2005                  $4,675,166                $420,765              $179,990              $40,376                                    $40,376              4.50%
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                                                                Debtor’s Attributable
                                      Net Total Collateral         Portion of Net
 1        Name            Cohort            Losses                Collateral Losses   Losses Due to Breach      RFC Claim                 Insurer                    RFC Recognized Claim    RFC Seller %
196 MALT 2005-4 [3]      ALT-A 2005              $4,463,070                   $401,676              $166,775             $37,412                                                   $37,412              4.50%
197 MALT 2005-4 [4]      ALT-A 2005              $1,426,584                   $128,393               $51,075             $11,457                                                   $11,457              4.50%
198 MALT 2005-4 [5]      ALT-A 2005              $5,163,310                   $464,698              $197,676             $44,343                                                   $44,343              4.50%
199 MALT 2005-5 [1]      ALT-A 2005                $401,371                     $20,069               $7,790              $1,747                                                    $1,747              2.50%
200 MALT 2005-5 [2]      ALT-A 2005              $3,151,283                   $157,564               $62,943             $14,120                                                   $14,120              2.50%
201 MALT 2005-5 [3]      ALT-A 2005             $20,915,721                  $1,045,786             $437,240             $98,083                                                   $98,083              2.50%
202 MALT 2005-5 [4]      ALT-A 2005              $2,466,671                   $123,334               $52,763             $11,836                                                   $11,836              2.50%
203 MALT 2005-5 [5]      ALT-A 2005              $4,848,785                   $242,439              $100,128             $22,461                                                   $22,461              2.50%
    RALI 1999-QS4
204 [Total]              ALT-A 1999                 $230,773                  $230,773               $30,724             $13,784                                                   $13,784            100.00%
    RALI 2001-QS13
205 [Total]              ALT-A 2001                 $346,324                  $346,324               $91,112             $40,877                                                   $40,877            100.00%
    RALI 2001-QS16
206 [Total]              ALT-A 2001                $2,113,267                $2,113,267             $548,624            $246,139                                                  $246,139            100.00%
    RALI 2001-QS17
207 [Total]              ALT-A 2001                $2,187,528                $2,187,528             $561,927            $252,107   MBIA - Insurer Exception                       $252,107            100.00%
    RALI 2001-QS18
208 [Total]              ALT-A 2001                $2,995,344                $2,995,344             $774,161            $347,325                                                  $347,325            100.00%
    RALI 2001-QS19
209 [Total]              ALT-A 2001                 $350,949                  $350,949               $91,637             $41,113                                                   $41,113            100.00%
    RALI 2002-QS1
210 [Total]              ALT-A 2002                $2,212,425                $2,212,425             $557,330            $250,045                                                  $250,045            100.00%
    RALI 2002-QS10
211 [Total]              ALT-A 2002                 $638,581                  $638,581              $159,531             $71,573                                                   $71,573            100.00%
    RALI 2002-QS11
212 [Total]              ALT-A 2002                $3,238,550                $3,238,550             $826,328            $370,730                                                  $370,730            100.00%
    RALI 2002-QS12
213 [Total]              ALT-A 2002                $3,791,820                $3,791,820             $954,960            $428,441                                                  $428,441            100.00%
    RALI 2002-QS13
214 [Total]              ALT-A 2002                 $671,875                  $671,875              $173,560             $77,867                                                   $77,867            100.00%
    RALI 2002-QS14
215 [Total]              ALT-A 2002                $2,318,529                $2,318,529             $575,862            $258,359                                                  $258,359            100.00%

216 RALI 2002-QS15 [1]   ALT-A 2002                $2,591,745                $2,591,745             $644,412            $289,114                                                  $289,114            100.00%

217 RALI 2002-QS15 [2]   ALT-A 2002                $1,167,494                $1,167,494             $289,364            $129,822   MBIA - Insurer Exception                       $129,822            100.00%
    RALI 2002-QS16
218 [Total]              ALT-A 2002                 $368,653                  $368,653               $92,674             $41,578                                                   $41,578            100.00%

219 RALI 2002-QS17 [1]   ALT-A 2002                $3,540,853                $3,540,853             $888,852            $398,781                                                  $398,781            100.00%

220 RALI 2002-QS17 [2]   ALT-A 2002                $1,984,272                $1,984,272             $501,596            $225,040                                                  $225,040            100.00%
    RALI 2002-QS18
221 [Total]              ALT-A 2002                 $793,671                  $793,671              $200,279             $89,855                                                   $89,855            100.00%
    RALI 2002-QS19
222 [Total]              ALT-A 2002                $6,987,448                $6,987,448            $1,724,906           $773,875                                                  $773,875            100.00%
    RALI 2002-QS2
223 [Total]              ALT-A 2002                $1,929,280                $1,929,280             $491,863            $220,673                                                  $220,673            100.00%
    RALI 2002-QS3
224 [Total]              ALT-A 2002                $4,018,979                $4,018,979            $1,015,285           $455,505                                                  $455,505            100.00%
    RALI 2002-QS4
225 [Total]              ALT-A 2002                 $489,411                  $489,411              $127,502             $57,203                                                   $57,203            100.00%
    RALI 2002-QS5
226 [Total]              ALT-A 2002                $4,104,647                $4,104,647            $1,053,114           $472,477                                                  $472,477            100.00%
    RALI 2002-QS6
227 [Total]              ALT-A 2002                $4,672,740                $4,672,740            $1,189,908           $533,850                                                  $533,850            100.00%
    RALI 2002-QS7
228 [Total]              ALT-A 2002                $3,061,206                $3,061,206             $770,981            $345,899                                                  $345,899            100.00%
    RALI 2002-QS8
229 [Total]              ALT-A 2002                 $401,401                  $401,401              $104,368             $46,825                                                   $46,825            100.00%
    RALI 2002-QS9
230 [Total]              ALT-A 2002                $3,469,375                $3,469,375             $890,621            $399,575                                                  $399,575            100.00%
231 RALI 2003-QA1 [1]    ALT-A 2003                $1,885,046                $1,885,046             $727,323            $326,312                                                  $326,312            100.00%
232 RALI 2003-QA1 [2]    ALT-A 2003                 $943,195                  $943,195              $363,770            $163,204                                                  $163,204            100.00%
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                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
 1         Name             Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim                   Insurer                    RFC Recognized Claim      RFC Seller %
    RALI 2003-QS1
233 [Total]               ALT-A 2003                  $4,991,061                $4,991,061            $1,901,733            $853,208    MBIA - Insurer Exception                        $853,208             100.00%
    RALI 2003-QS10
234 [Total]               ALT-A 2003                  $7,555,943                $7,555,943            $2,808,136           $1,259,864                                                  $1,259,864            100.00%
    RALI 2003-QS11
235 [Total]               ALT-A 2003                  $9,179,197                $9,179,197            $3,440,321           $1,543,492                                                  $1,543,492            100.00%
    RALI 2003-QS12
236 [Total]               ALT-A 2003                   $819,357                  $819,357              $308,398             $138,362                                                    $138,362             100.00%
    RALI 2003-QS13
237 [Total]               ALT-A 2003                  $8,449,079                $8,449,079            $3,088,336           $1,385,575                                                  $1,385,575            100.00%
    RALI 2003-QS14
238 [Total]               ALT-A 2003                   $778,491                  $778,491              $293,881             $131,849                                                    $131,849             100.00%
    RALI 2003-QS15
239 [Total]               ALT-A 2003                  $8,645,770                $8,645,770            $3,218,095           $1,443,791                                                  $1,443,791            100.00%
    RALI 2003-QS16
240 [Total]               ALT-A 2003                  $1,004,680                $1,004,680             $376,335             $168,842                                                    $168,842             100.00%

241 RALI 2003-QS17 [1]    ALT-A 2003                  $1,469,720                $1,469,720             $533,648             $239,420                                                    $239,420             100.00%

242 RALI 2003-QS17 [2]    ALT-A 2003                  $7,034,848                $7,034,848            $2,630,344           $1,180,098                                                  $1,180,098            100.00%

243 RALI 2003-QS17 [3]    ALT-A 2003                  $1,060,655                $1,060,655             $371,690             $166,758                                                    $166,758             100.00%
    RALI 2003-QS18
244 [Total]               ALT-A 2003                   $457,048                  $457,048              $168,075              $75,407                                                     $75,407             100.00%

245 RALI 2003-QS19 [1]    ALT-A 2003                  $1,997,437                $1,997,437             $730,074             $327,546                                                    $327,546             100.00%

246 RALI 2003-QS19 [2]    ALT-A 2003                  $2,732,604                $2,732,604            $1,005,819            $451,258                                                    $451,258             100.00%

247 RALI 2003-QS19 [3]    ALT-A 2003                  $2,921,132                $2,921,132            $1,110,872            $498,390                                                    $498,390             100.00%
    RALI 2003-QS2
248 [Total]               ALT-A 2003                  $4,246,654                $4,246,654            $1,586,257            $711,671                                                    $711,671             100.00%

249 RALI 2003-QS20 [1]    ALT-A 2003                    $78,920                   $78,920               $26,181              $11,746                                                     $11,746             100.00%

250 RALI 2003-QS20 [2]    ALT-A 2003                   $821,353                  $821,353              $302,944             $135,915                                                    $135,915             100.00%
    RALI 2003-QS21
251 [Total]               ALT-A 2003                  $6,586,508                $6,586,508            $2,493,625           $1,118,759                                                  $1,118,759            100.00%
    RALI 2003-QS22
252 [Total]               ALT-A 2003                  $5,473,878                $5,473,878            $2,054,235            $921,628                                                    $921,628             100.00%
    RALI 2003-QS23
253 [Total]               ALT-A 2003                   $740,798                  $740,798              $280,771             $125,967                                                    $125,967             100.00%
    RALI 2003-QS3
254 [Total]               ALT-A 2003                   $712,343                  $712,343              $272,950             $122,458                                                    $122,458             100.00%
    RALI 2003-QS4
255 [Total]               ALT-A 2003                  $5,001,964                $5,001,964            $1,869,223            $838,623                                                    $838,623             100.00%
    RALI 2003-QS5
256 [Total]               ALT-A 2003                   $911,196                  $911,196              $348,817             $156,496                                                    $156,496             100.00%
    RALI 2003-QS6
257 [Total]               ALT-A 2003                  $4,005,808                $4,005,808            $1,493,456            $670,035                                                    $670,035             100.00%
    RALI 2003-QS7
258 [Total]               ALT-A 2003                  $3,777,491                $3,777,491            $1,419,217            $636,728                                                    $636,728             100.00%
    RALI 2003-QS8
259 [Total]               ALT-A 2003                  $4,468,434                $4,468,434            $1,686,423            $756,610    MBIA - Insurer Exception                        $756,610             100.00%
    RALI 2003-QS9
260 [Total]               ALT-A 2003                   $602,679                  $602,679              $221,661              $99,448                                                     $99,448             100.00%

261 RAMP 2001-RS1 [1]    Subprime 2001             $14,132,854               $14,132,854              $3,949,951           $1,772,137           AMBAC                                  $1,772,137            100.00%

262 RAMP 2001-RS1 [2]    Subprime 2001             $11,341,710               $11,341,710              $3,165,463           $1,420,178           AMBAC                                  $1,420,178            100.00%

263 RAMP 2001-RS2 [2]    Subprime 2001             $11,907,960               $11,907,960              $3,327,456           $1,492,855                                                  $1,492,855            100.00%

264 RAMP 2001-RS3 [1]    Subprime 2001             $21,405,338               $21,405,338              $5,988,384           $2,686,675           AMBAC                                  $2,686,675            100.00%

265 RAMP 2001-RS3 [2]    Subprime 2001             $10,762,120               $10,762,120              $3,013,877           $1,352,169           AMBAC                                  $1,352,169            100.00%
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             A                 B                  C                         D                     E                    F                           G                                H                     I

                                                                   Debtor’s Attributable
                                         Net Total Collateral         Portion of Net
 1        Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                    RFC Recognized Claim      RFC Seller %

266 RAMP 2002-RS1 [1]    Subprime 2002             $15,650,018               $15,650,018              $4,381,800           $1,965,884   AMBAC - Insurer Exception                       $1,965,884            100.00%

267 RAMP 2002-RS1 [2]    Subprime 2002                $8,010,927                $8,010,927            $2,234,281           $1,002,405                                                   $1,002,405            100.00%

268 RAMP 2002-RS2 [1]    Subprime 2002             $13,420,166               $13,420,166              $3,769,842           $1,691,331   AMBAC - Insurer Exception                       $1,691,331            100.00%

269 RAMP 2002-RS2 [2]    Subprime 2002                $7,613,438                $7,613,438            $2,123,105            $952,526                                                     $952,526             100.00%

270 RAMP 2002-RS3 [1]    Subprime 2002             $13,633,615               $13,633,615              $3,839,770           $1,722,704                                                   $1,722,704            100.00%

271 RAMP 2002-RS3 [2]    Subprime 2002             $10,936,054               $10,936,054              $3,054,772           $1,370,517                                                   $1,370,517            100.00%

272 RAMP 2002-RS4 [1]    Subprime 2002             $11,211,680               $11,211,680              $3,164,609           $1,419,794           AMBAC                                   $1,419,794            100.00%

273 RAMP 2002-RS4 [2]    Subprime 2002             $14,059,649               $14,059,649              $3,916,317           $1,757,047           AMBAC                                   $1,757,047            100.00%

274 RAMP 2002-RS5 [1]    Subprime 2002                $9,234,594                $9,234,594            $2,615,195           $1,173,301            Ambac                                  $1,173,301            100.00%

275 RAMP 2002-RS5 [2]    Subprime 2002             $10,619,297               $10,619,297              $2,972,842           $1,333,759            Ambac                                  $1,333,759            100.00%

276 RAMP 2002-RS6 [1]    Subprime 2002             $16,016,644               $16,016,644              $4,543,938           $2,038,627            Ambac                                  $2,038,627            100.00%

277 RAMP 2002-RS6 [2]    Subprime 2002             $15,089,905               $15,089,905              $4,212,280           $1,889,830            Ambac                                  $1,889,830            100.00%
    RAMP 2002-RS7
278 [Total]              Subprime 2003                $9,011,820                $9,011,820            $3,840,950           $1,723,233            Ambac                                  $1,723,233            100.00%
    RAMP 2002-RZ2
279 [Total]              Subprime 2002             $13,272,629               $13,272,629              $3,732,358           $1,674,514                                                   $1,674,514            100.00%
    RAMP 2002-RZ3
280 [Total]              Subprime 2002             $24,688,747               $24,688,747              $6,961,306           $3,123,174                                                   $3,123,174            100.00%
    RAMP 2002-RZ4
281 [Total]              Subprime 2002             $21,679,381               $21,679,381              $6,121,335           $2,746,323            Ambac                                  $2,746,323            100.00%
282 RAMP 2002-SL1 [1]    Subprime 2002                $280,138                  $280,138                 $80,344              $36,046                                                      $36,046            100.00%

283 RAMP 2002-SL1 [2A]   Subprime 2002                  $10,996                   $10,996                $3,152                $1,414                                                      $1,414             100.00%

284 RAMP 2002-SL1 [2B]   Subprime 2002                  $59,376                   $59,376               $17,325                $7,773                                                      $7,773             100.00%

285 RAMP 2002-SL1 [2C]   Subprime 2002                  $98,547                   $98,547               $28,551              $12,809                                                      $12,809             100.00%

286 RAMP 2002-SL1 [2D]   Subprime 2002                 $232,276                  $232,276               $67,534              $30,299                                                      $30,299             100.00%

287 RAMP 2003-RS1 [1]    Subprime 2003             $10,364,254               $10,364,254              $4,417,266           $1,981,796                                                   $1,981,796            100.00%

288 RAMP 2003-RS1 [2]    Subprime 2003             $24,844,822               $24,844,822           $10,401,836             $4,666,760            Ambac                                  $4,666,760            100.00%

289 RAMP 2003-RS10 [1]   Subprime 2003             $22,668,886               $22,668,886              $9,708,179           $4,355,552                                                   $4,355,552            100.00%
    RAMP 2003-RS10
290 [2A]                 Subprime 2003             $40,179,464               $40,179,464           $16,827,111             $7,549,444                                                   $7,549,444            100.00%
    RAMP 2003-RS10
291 [2B]                 Subprime 2003             $30,464,898               $30,464,898           $12,771,782             $5,730,030                                                   $5,730,030            100.00%

292 RAMP 2003-RS11 [1]   Subprime 2003             $44,966,337               $44,966,337           $19,307,346             $8,662,196   AMBAC - Insurer Exception                       $8,662,196            100.00%
    RAMP 2003-RS11
293 [2A]                 Subprime 2003             $44,931,647               $44,931,647           $18,849,493             $8,456,782                                                   $8,456,782            100.00%
    RAMP 2003-RS11
294 [2B]                 Subprime 2003             $18,066,135               $18,066,135              $7,582,862           $3,402,033                                                   $3,402,033            100.00%

295 RAMP 2003-RS2 [1]    Subprime 2003             $22,021,385               $22,021,385              $9,365,718           $4,201,908           AMBAC                                   $4,201,908            100.00%

296 RAMP 2003-RS2 [2]    Subprime 2003             $43,181,011               $43,181,011           $18,073,396             $8,108,588           AMBAC                                   $8,108,588            100.00%

297 RAMP 2003-RS3 [1]    Subprime 2003             $12,523,691               $12,523,691              $5,329,499           $2,391,067           AMBAC                                   $2,391,067            100.00%

298 RAMP 2003-RS3 [2]    Subprime 2003             $40,909,244               $40,909,244           $17,115,331             $7,678,754           AMBAC                                   $7,678,754            100.00%
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                                                                 Debtor’s Attributable
                                         Net Total Collateral       Portion of Net
 1        Name              Cohort             Losses              Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                    RFC Recognized Claim      RFC Seller %

299 RAMP 2003-RS4 [1]    Subprime 2003             $17,709,588             $17,709,588              $7,595,867           $3,407,868           AMBAC                                   $3,407,868            100.00%

300 RAMP 2003-RS4 [2A]   Subprime 2003             $30,007,775             $30,007,775           $12,548,627             $5,629,912           AMBAC                                   $5,629,912            100.00%

301 RAMP 2003-RS4 [2B]   Subprime 2003             $16,547,928             $16,547,928              $6,930,760           $3,109,470           AMBAC                                   $3,109,470            100.00%

302 RAMP 2003-RS5 [1]    Subprime 2003             $25,876,571             $25,876,571           $11,083,386             $4,972,536            Ambac                                  $4,972,536            100.00%

303 RAMP 2003-RS5 [2A]   Subprime 2003             $23,850,396             $23,850,396              $9,979,780           $4,477,405            Ambac                                  $4,477,405            100.00%

304 RAMP 2003-RS5 [2B]   Subprime 2003             $15,570,469             $15,570,469              $6,520,512           $2,925,413            Ambac                                  $2,925,413            100.00%

305 RAMP 2003-RS6 [1]    Subprime 2003             $21,360,746             $21,360,746              $9,132,558           $4,097,301            Ambac                                  $4,097,301            100.00%

306 RAMP 2003-RS6 [2A]   Subprime 2003             $24,192,928             $24,192,928           $10,111,824             $4,536,647            Ambac                                  $4,536,647            100.00%

307 RAMP 2003-RS6 [2B]   Subprime 2003             $12,830,082             $12,830,082              $5,381,549           $2,414,419            Ambac                                  $2,414,419            100.00%

308 RAMP 2003-RS7 [1]    Subprime 2003             $29,695,244             $29,695,244           $12,798,855             $5,742,177   AMBAC - Insurer Exception                       $5,742,177            100.00%

309 RAMP 2003-RS7 [2A]   Subprime 2003             $27,743,671             $27,743,671           $11,609,845             $5,208,730                                                   $5,208,730            100.00%

310 RAMP 2003-RS7 [2B]   Subprime 2003             $16,165,393             $16,165,393              $6,772,625           $3,038,523                                                   $3,038,523            100.00%

311 RAMP 2003-RS8 [1]    Subprime 2003             $36,947,532             $36,947,532           $15,887,043             $7,127,685   Ambac - Insurer Exception                       $7,127,685            100.00%

312 RAMP 2003-RS8 [2A]   Subprime 2003             $28,788,872             $28,788,872           $12,056,797             $5,409,254                                                   $5,409,254            100.00%

313 RAMP 2003-RS8 [2B]   Subprime 2003             $19,171,160             $19,171,160              $8,027,028           $3,601,307                                                   $3,601,307            100.00%

314 RAMP 2003-RS9 [1]    Subprime 2003             $32,922,154             $32,922,154           $14,077,815             $6,315,979   AMBAC - Insurer Exception                       $6,315,979            100.00%

315 RAMP 2003-RS9 [2A]   Subprime 2003             $26,247,064             $26,247,064           $10,994,767             $4,932,777                                                   $4,932,777            100.00%

316 RAMP 2003-RS9 [2B]   Subprime 2003             $21,828,237             $21,828,237              $9,156,296           $4,107,951                                                   $4,107,951            100.00%

317 RAMP 2003-RZ1 [1]    Subprime 2003             $20,625,507             $20,625,507              $8,768,028           $3,933,756           AMBAC                                   $3,933,756            100.00%

318 RAMP 2003-RZ1 [2]    Subprime 2003             $14,228,063             $14,228,063              $6,028,644           $2,704,737           AMBAC                                   $2,704,737            100.00%
    RAMP 2003-RZ2
319 [Total]              Subprime 2003             $13,651,172             $13,651,172              $5,810,718           $2,606,965           AMBAC                                   $2,606,965            100.00%
    RAMP 2003-RZ3
320 [Total]              Subprime 2003             $27,865,310             $27,865,310           $11,886,240             $5,332,734   Ambac - Insurer Exception                       $5,332,734            100.00%
    RAMP 2003-RZ4
321 [Total]              Subprime 2003             $54,461,943             $54,461,943           $23,363,557         $10,482,006      AMBAC - Insurer Exception                    $10,482,006              100.00%

322 RAMP 2003-RZ5 [1]    Subprime 2003             $45,204,897             $45,204,897           $19,380,058             $8,694,819   AMBAC - Insurer Exception                       $8,694,819            100.00%

323 RAMP 2003-RZ5 [2]    Subprime 2003              $5,502,923              $5,502,923            $2,316,255          $1,039,182                                                    $1,039,182              100.00%
324 RAMP 2003-SL1 [1]    Subprime 2003                 $41,379                 $41,379               $17,794              $7,983                                                        $7,983              100.00%
325 RAMP 2003-SL1 [2]    Subprime 2003                 $30,341                 $30,341               $13,468              $6,042                                                        $6,042              100.00%
326 RAMP 2003-SL1 [3]    Subprime 2003              $1,728,793              $1,728,793              $756,647            $339,468                                                      $339,468              100.00%
327 RAMP 2003-SL1 [4]    Subprime 2003              $1,237,429              $1,237,429              $532,104            $238,727                                                      $238,727              100.00%
328 RASC 1999-RS1 [1]    Subprime 1999              $3,271,293              $3,271,293              $458,048            $205,502              AMBAC                                   $205,502              100.00%
329 RASC 1999-RS1 [2]    Subprime 1999              $1,172,316              $1,172,316              $165,441             $74,225              AMBAC                                    $74,225              100.00%
330 RASC 2001-KS1 [1]    Subprime 2001             $61,786,753             $61,786,753           $17,263,424          $7,745,195               FGIC                                 $7,745,195              100.00%
331 RASC 2001-KS1 [2]    Subprime 2001             $70,418,338             $70,418,338           $19,628,106          $8,806,105               FGIC                                 $8,806,105              100.00%
332 RASC 2001-KS2 [1]    Subprime 2001             $69,532,628             $69,532,628           $19,446,611          $8,724,677                                                    $8,724,677              100.00%
333 RASC 2001-KS2 [2]    Subprime 2001             $35,339,837             $35,339,837            $9,861,736          $4,424,445                                                    $4,424,445              100.00%
334 RASC 2001-KS3 [1]    Subprime 2001             $67,512,554             $67,512,554           $18,901,985          $8,480,332                                                    $8,480,332              100.00%
335 RASC 2001-KS3 [2]    Subprime 2001             $58,944,329             $58,944,329           $16,449,522          $7,380,040                                                    $7,380,040              100.00%
336 RASC 2002-KS1 [1]    Subprime 2002            $100,533,095            $100,533,095           $28,127,835         $12,619,488               Ambac                               $12,619,488              100.00%
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                                                                       Debtor’s Attributable
                                             Net Total Collateral         Portion of Net
 1            Name            Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer          RFC Recognized Claim      RFC Seller %

337 RASC 2002-KS1 [2A]     Subprime 2002               $26,926,165               $26,926,165              $7,504,015           $3,366,659   Ambac                         $3,366,659            100.00%

338 RASC 2002-KS1 [2B]     Subprime 2002               $26,840,858               $26,840,858            $7,478,771             $3,355,334   Ambac                         $3,355,334            100.00%
339 RASC 2002-KS2 [1]      Subprime 2002               $44,357,508               $44,357,508           $12,442,338             $5,582,226                                 $5,582,226            100.00%

340 RASC 2002-KS2 [2A]     Subprime 2002               $13,595,798               $13,595,798              $3,780,295           $1,696,021                                 $1,696,021            100.00%

341 RASC 2002-KS2 [2B]     Subprime 2002               $13,595,809               $13,595,809            $3,780,298             $1,696,022                                 $1,696,022            100.00%
342 RASC 2002-KS4 [1]      Subprime 2002               $44,324,760               $44,324,760           $12,464,047             $5,591,966   AMBAC                         $5,591,966            100.00%

343 RASC 2002-KS4 [2A]     Subprime 2002               $34,783,228               $34,783,228              $9,722,434           $4,361,948   AMBAC                         $4,361,948            100.00%

344 RASC 2002-KS4 [2B]     Subprime 2002               $34,337,116               $34,337,116            $9,588,426             $4,301,825   AMBAC                         $4,301,825            100.00%
345 RASC 2002-KS6 [1]      Subprime 2002               $37,450,633               $37,450,633           $10,542,953             $4,730,071   AMBAC                         $4,730,071            100.00%
346 RASC 2002-KS6 [2]      Subprime 2002               $37,116,528               $37,116,528           $10,352,413             $4,644,586   AMBAC                         $4,644,586            100.00%
     RASC 2002-KS8
347 [Total]                Subprime 2002               $41,213,623               $41,213,623           $11,524,230             $5,170,319   Ambac                         $5,170,319            100.00%

348 RASC 2003-KS10 [1]     Subprime 2003               $36,062,998               $36,062,998           $15,417,182             $6,916,883                                 $6,916,883            100.00%

349 RASC 2003-KS11 [1]     Subprime 2003               $25,208,245               $25,208,245           $10,734,647             $4,816,075                                 $4,816,075            100.00%

350 RASC 2003-KS11 [2A]    Subprime 2003               $25,164,232               $25,164,232           $10,548,434             $4,732,530                                 $4,732,530            100.00%

351 RASC 2003-KS11 [2B]    Subprime 2003               $30,336,825               $30,336,825           $12,726,069             $5,709,522                                 $5,709,522            100.00%
352 RASC 2003-KS2 [1]      Subprime 2003               $46,647,710               $46,647,710           $19,757,492             $8,864,153                                 $8,864,153            100.00%
353 RASC 2003-KS3 [1]      Subprime 2003                $9,847,245                $9,847,245            $4,133,359             $1,854,422                                 $1,854,422            100.00%
354 RASC 2003-KS3 [2]      Subprime 2003               $10,096,076               $10,096,076            $4,238,522             $1,901,603                                 $1,901,603            100.00%
355 RASC 2003-KS4 [1]      Subprime 2003               $36,794,295               $36,794,295           $15,614,612             $7,005,460                                 $7,005,460            100.00%

356 RASC 2003-KS4 [2A]     Subprime 2003                  $9,417,078                $9,417,078            $3,947,390           $1,770,988   Ambac                         $1,770,988            100.00%

357 RASC 2003-KS4 [2B]     Subprime 2003                $7,651,177                $7,651,177              $3,210,074           $1,440,192   Ambac                         $1,440,192            100.00%
358 RASC 2003-KS4 [3]      Subprime 2003                $6,571,861                $6,571,861              $2,755,127           $1,236,081   Ambac                         $1,236,081            100.00%
359 RASC 2003-KS5 [1]      Subprime 2003               $14,238,356               $14,238,356              $6,071,074           $2,723,773   Ambac                         $2,723,773            100.00%

360 RASC 2003-KS5 [2A]     Subprime 2003               $11,586,959               $11,586,959              $4,864,246           $2,182,333   Ambac                         $2,182,333            100.00%

361 RASC 2003-KS5 [2B]     Subprime 2003                $8,969,353                $8,969,353            $3,762,123             $1,687,868   Ambac                         $1,687,868            100.00%
362 RASC 2003-KS6 [1]      Subprime 2003               $14,977,681               $14,977,681            $6,287,095             $2,820,691                                 $2,820,691            100.00%
363 RASC 2003-KS6 [2]      Subprime 2003                $6,139,116                $6,139,116            $2,579,958             $1,157,492                                 $1,157,492            100.00%
364 RASC 2003-KS7 [1]      Subprime 2003               $39,857,359               $39,857,359           $16,990,338             $7,622,676                                 $7,622,676            100.00%
365 RASC 2003-KS8 [1]      Subprime 2003               $24,992,452               $24,992,452           $10,654,547             $4,780,138                                 $4,780,138            100.00%
366 RASC 2003-KS9 [1]      Subprime 2003               $24,200,958               $24,200,958           $10,346,274             $4,641,832   AMBAC                         $4,641,832            100.00%

367 RASC 2003-KS9 [2A]     Subprime 2003               $15,741,678               $15,741,678              $6,600,628           $2,961,356   AMBAC                         $2,961,356            100.00%

368 RASC 2003-KS9 [2B]     Subprime 2003               $16,172,199               $16,172,199              $6,791,726           $3,047,092   AMBAC                         $3,047,092            100.00%
369 RBSGC 2005-A [1]         ALT-A 2005                 $1,937,065                  $174,336                 $71,062              $15,941                                    $15,941              4.50%
370 RBSGC 2005-A [2]         ALT-A 2005                $12,389,758                $1,115,078                $450,332             $101,020                                   $101,020              4.50%
371 RBSGC 2005-A [3]         ALT-A 2005                $10,077,956                  $907,016                $385,491              $86,475                                    $86,475              4.50%
372 RBSGC 2005-A [4]         ALT-A 2005                 $4,265,948                  $383,935                $158,056              $35,456                                    $35,456              4.50%
373 RBSGC 2005-A [5]         ALT-A 2005                 $4,996,566                  $449,691                $193,859              $43,487                                    $43,487              4.50%
     RFMS2 1998-HI2
374 [Total]                  CES 1999                  $36,874,298               $36,874,298              $3,072,858           $1,378,631                                 $1,378,631            100.00%
    RFMS2 1999-HI1
375 [Total]               Second Lien 1999             $42,090,362               $42,090,362              $5,532,636           $2,482,205   AMBAC                         $2,482,205            100.00%
    RFMS2 1999-HI4
376 [Total]               Second Lien 1999             $38,836,252               $38,836,252              $5,101,035           $2,288,568   AMBAC                         $2,288,568            100.00%

377 RFMS2 1999-HI6 [I]    Second Lien 1999             $50,948,277               $50,948,277              $6,705,094           $3,008,225   AMBAC                         $3,008,225            100.00%
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             A                   B                    C                         D                     E                    F                         G                             H                     I

                                                                       Debtor’s Attributable
                                             Net Total Collateral         Portion of Net
 1         Name               Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim                 Insurer                  RFC Recognized Claim      RFC Seller %

378 RFMS2 1999-HI6 [II]   Second Lien 1999                $2,862,240                $2,862,240             $374,982             $168,235          AMBAC                                 $168,235             100.00%

379 RFMS2 1999-HI8 [I]    Second Lien 1999             $35,029,468               $35,029,468              $4,608,814           $2,067,734         AMBAC                                $2,067,734            100.00%

380 RFMS2 1999-HI8 [II]   Second Lien 1999                $1,800,747                $1,800,747             $235,886             $105,829          AMBAC                                 $105,829             100.00%

381 RFMS2 2000-HI1 [I]    Second Lien 2000             $75,959,397               $75,959,397           $19,939,787             $8,945,940         AMBAC                                $8,945,940            100.00%

382 RFMS2 2000-HI1 [II]   Second Lien 2000                $2,296,510                $2,296,510             $601,520             $269,870          AMBAC                                 $269,870             100.00%

383 RFMS2 2000-HI2 [I]    Second Lien 2000             $41,502,855               $41,502,855           $10,922,595             $4,900,397         AMBAC                                $4,900,397            100.00%

384 RFMS2 2000-HI2 [II]   Second Lien 2000                $1,818,101                $1,818,101             $476,469             $213,767          AMBAC                                 $213,767             100.00%

385 RFMS2 2000-HI3 [I]    Second Lien 2000             $53,370,254               $53,370,254           $14,052,633             $6,304,681         AMBAC                                $6,304,681            100.00%

386 RFMS2 2000-HI3 [II]   Second Lien 2000                $2,348,596                $2,348,596             $615,957             $276,348          AMBAC                                 $276,348             100.00%

387 RFMS2 2000-HI4 [1]    Second Lien 2000             $54,080,127               $54,080,127           $14,254,392             $6,395,200         AMBAC                                $6,395,200            100.00%

388 RFMS2 2000-HI4 [2]    Second Lien 2000                $2,662,269                $2,662,269             $697,261             $312,825          AMBAC                                 $312,825             100.00%

389 RFMS2 2000-HI5 [1]    Second Lien 2000            $112,703,754              $112,703,754           $29,624,691         $13,291,049            AMBAC                             $13,291,049              100.00%

390 RFMS2 2000-HI5 [2]    Second Lien 2000                $3,618,503                $3,618,503             $947,960             $425,300          AMBAC                                 $425,300             100.00%

391 RFMS2 2000-HL1 [1]    Second Lien 2000                $7,296,458                $7,296,458            $1,921,636            $862,137          AMBAC                                 $862,137             100.00%

392 RFMS2 2000-HL1 [2]    Second Lien 2000                 $920,867                  $920,867              $241,179             $108,205          AMBAC                                 $108,205             100.00%
    RFMS2 2001-HI1
393 [Total]               Second Lien 2001             $26,300,354               $26,300,354              $6,942,348           $3,114,668         AMBAC                                $3,114,668            100.00%

394 RFMS2 2001-HI2 [1]    Second Lien 2001             $19,416,931               $19,416,931              $5,120,768           $2,297,421         AMBAC                                $2,297,421            100.00%

395 RFMS2 2001-HI2 [2]    Second Lien 2001                 $995,853                  $995,853              $261,995             $117,544          AMBAC                                 $117,544             100.00%

396 RFMS2 2001-HI3 [1]    Second Lien 2001             $42,549,229               $42,549,229           $11,248,887             $5,046,787                                              $5,046,787            100.00%

397 RFMS2 2001-HI3 [2]    Second Lien 2001                $1,016,029                $1,016,029             $266,363             $119,503          AMBAC                                 $119,503             100.00%
    RFMS2 2001-HI4
398 [Total]               Second Lien 2001             $43,248,845               $43,248,845           $11,434,080             $5,129,874         AMBAC                                $5,129,874            100.00%
    RFMS2 2001-HS2
399 [Total]               Second Lien 2001                $4,334,878                $4,334,878            $1,146,006            $514,153          AMBAC                                 $514,153             100.00%

400 RFMS2 2001-HS3 [1]       CES 2001                      $270,299                  $270,299               $40,846              $18,325    Radian (Pool Policy)                         $18,325             100.00%

401 RFMS2 2001-HS3 [2]       CES 2001                      $776,407                  $776,407              $128,268              $57,547          AMBAC                                  $57,547             100.00%
    RFMS2 2002-HI1
402 [Total]               Second Lien 2002             $38,611,429               $38,611,429           $10,211,802             $4,581,502         AMBAC                                $4,581,502            100.00%

403 RFMS2 2002-HI2 [1]    Second Lien 2002             $19,495,372               $19,495,372              $5,159,585           $2,314,836         AMBAC                                $2,314,836            100.00%

404 RFMS2 2002-HI2 [2]    Second Lien 2002                $8,663,456                $8,663,456            $2,292,732           $1,028,629         AMBAC                                $1,028,629            100.00%
    RFMS2 2002-HI3
405 [Total]               Second Lien 2002             $33,128,765               $33,128,765              $8,773,820           $3,936,354         AMBAC                                $3,936,354            100.00%
    RFMS2 2002-HI4
406 [Total]               Second Lien 2002             $30,137,013               $30,137,013              $7,985,092           $3,582,493                                              $3,582,493            100.00%
    RFMS2 2002-HI5
407 [Total]               Second Lien 2003             $24,109,874               $24,109,874              $9,612,201           $4,312,492                                              $4,312,492            100.00%
    RFMS2 2002-HS1
408 [Total]                  CES 2002                     $3,966,719                $3,966,719             $652,114             $292,569                                                $292,569             100.00%
    RFMS2 2002-HS2
409 [Total]                  CES 2002                     $4,008,989                $4,008,989             $656,166             $294,387                                                $294,387             100.00%

410 RFMS2 2002-HS3 [1]       CES 2002                     $1,880,409                $1,880,409             $302,404             $135,673           FGIC                                 $135,673             100.00%
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             A                  B                    C                         D                     E                    F                            G                                H                     I

                                                                      Debtor’s Attributable
                                            Net Total Collateral         Portion of Net
 1         Name              Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim                    Insurer                     RFC Recognized Claim      RFC Seller %

411 RFMS2 2002-HS3 [2]      CES 2002                     $2,494,405                $2,494,405             $401,188             $179,992              FGIC                                    $179,992             100.00%
    RFMS2 2003-HI1
412 [Total]              Second Lien 2003             $22,605,058               $22,605,058              $9,045,679           $4,058,323                                                    $4,058,323            100.00%
    RFMS2 2003-HI2
413 [Total]              Second Lien 2003             $27,190,194               $27,190,194           $10,908,801             $4,894,209                                                    $4,894,209            100.00%

414 RFMS2 2003-HI3 [1]   Second Lien 2003             $13,712,040               $13,712,040              $5,522,202           $2,477,523            AMBAC                                   $2,477,523            100.00%

415 RFMS2 2003-HI3 [2]   Second Lien 2003             $13,661,274               $13,661,274              $5,495,842           $2,465,697            AMBAC                                   $2,465,697            100.00%

416 RFMS2 2003-HI4 [1]   Second Lien 2003             $17,360,918               $17,360,918              $6,995,740           $3,138,623                                                    $3,138,623            100.00%

417 RFMS2 2003-HI4 [2]   Second Lien 2003             $17,565,801               $17,565,801              $7,102,122           $3,186,351                                                    $3,186,351            100.00%

418 RFMS2 2003-HS1 [1]      CES 2003                     $5,840,571                $5,840,571            $1,373,509            $616,222              FGIC                                    $616,222             100.00%

419 RFMS2 2003-HS1 [2]      CES 2003                     $2,760,184                $2,760,184             $648,130             $290,782              FGIC                                    $290,782             100.00%

420 RFMS2 2003-HS2 [1]      CES 2003                     $6,709,170                $6,709,170            $1,549,221            $695,054                                                      $695,054             100.00%
    RFMS2 2003-HS2
421 [2A]                    CES 2003                     $2,458,502                $2,458,502             $574,447             $257,724              FGIC                                    $257,724             100.00%
    RFMS2 2003-HS2
422 [2B]                    CES 2003                     $3,276,965                $3,276,965             $767,758             $344,453              FGIC                                    $344,453             100.00%

423 RFMS2 2003-HS3 [1]      CES 2003                     $7,830,324                $7,830,324            $1,750,388            $785,307              MBIA                                          $0             100.00%
     RFMS2 2003-HS3
424 [2A]                    CES 2003                     $3,125,840                $3,125,840             $731,700             $328,275              MBIA                                          $0             100.00%
    RFMS2 2003-HS3
425 [2B]                    CES 2003                     $2,255,960                $2,255,960             $522,179             $234,274              MBIA                                          $0             100.00%

426 RFMS2 2003-HS4 [1]   Second Lien 2003                $3,968,733                $3,968,733            $1,656,970            $743,396             AMBAC                                    $743,396             100.00%

427 RFMS2 2003-HS4 [2]   Second Lien 2003                $2,722,738                $2,722,738            $1,143,638            $513,091             AMBAC                                    $513,091             100.00%
    RFMSI 2003-S10
428 [Total]                Prime 2003                     $742,602                  $742,602              $237,774             $106,677                                                      $106,677             100.00%
    RFMSI 2003-S11
429 [Total]                Prime 2003                     $400,858                  $400,858              $122,690              $55,044                                                       $55,044             100.00%

430 RFMSI 2003-S12 [1]     Prime 2003                     $481,977                  $481,977              $135,112              $60,618                                                       $60,618             100.00%

431 RFMSI 2003-S12 [2]     Prime 2003                     $585,071                  $585,071              $182,935              $82,073                                                       $82,073             100.00%

432 RFMSI 2003-S12 [3]     Prime 2003                     $125,951                  $125,951               $51,964              $23,313                                                       $23,313             100.00%

433 RFMSI 2003-S12 [4]     Prime 2003                     $536,950                  $536,950              $145,760              $65,395                                                       $65,395             100.00%
    RFMSI 2003-S13
434 [Total]                Prime 2003                    $1,196,219                $1,196,219             $367,697             $164,967    MBIA - Insurer Exception                          $164,967             100.00%
    RFMSI 2003-S14
435 [Total]                Prime 2003                      $51,038                   $51,038               $23,302              $10,455                                                       $10,455             100.00%
    RFMSI 2003-S15
436 [Total]                Prime 2003                      $68,054                   $68,054               $25,107              $11,264                                                       $11,264             100.00%
    RFMSI 2003-S16
437 [Total]                Prime 2003                     $164,724                  $164,724               $57,709              $25,891                                                       $25,891             100.00%
    RFMSI 2003-S17
438 [Total]                Prime 2003                    $1,063,034                $1,063,034             $421,652             $189,173                                                      $189,173             100.00%
    RFMSI 2003-S18
439 [Total]                Prime 2003                     $108,089                  $108,089               $49,473              $22,196                                                       $22,196             100.00%
    RFMSI 2003-S19
440 [Total]                Prime 2003                     $713,351                  $713,351              $290,683             $130,414                                                      $130,414             100.00%

441 RFMSI 2003-S20 [1]     Prime 2003                     $700,068                  $700,068              $214,590              $96,275    Radian - Insurer Exception                         $96,275             100.00%

442 RFMSI 2003-S20 [2]     Prime 2003                     $135,480                  $135,480               $62,277              $27,940                                                       $27,940             100.00%
    RFMSI 2003-S4
443 [Total]                Prime 2003                     $632,532                  $632,532              $229,566             $102,994    MBIA - Insurer Exception                          $102,994             100.00%
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             A                  B                  C                         D                     E                    F                                     G                                  H                     I

                                                                    Debtor’s Attributable
                                          Net Total Collateral         Portion of Net
 1         Name              Cohort             Losses                Collateral Losses   Losses Due to Breach      RFC Claim                             Insurer                       RFC Recognized Claim      RFC Seller %
    RFMSI 2003-S6
444 [Total]                Prime 2003                    $84,101                   $84,101               $35,666              $16,001                                                                  $16,001             100.00%
    RFMSI 2003-S7
445 [Total]                Prime 2003                   $977,344                  $977,344              $387,129             $173,685                                                                 $173,685             100.00%
    RFMSI 2003-S9
446 [Total]                 Prime 2003                 $157,566                  $157,566                 $57,650              $25,865                                                                  $25,865            100.00%
447 RFSC 2001-RM2 [1]       ALT-A 2001               $1,682,507                $1,682,507                $442,916             $198,713                                                                 $198,713            100.00%
448 RFSC 2001-RM2 [2]       ALT-A 2001                 $293,950                  $293,950                 $68,115              $30,560                                                                  $30,560            100.00%
449 RFSC 2002-RM1 [1]       ALT-A 2002                 $464,974                  $464,974                $114,210              $51,240                                                                  $51,240            100.00%
450 RFSC 2002-RM1 [2]       ALT-A 2002                 $106,095                  $106,095                 $23,935              $10,738                                                                  $10,738            100.00%
451 RFSC 2002-RP1 [1]     Subprime 2002             $10,269,748               $10,269,748              $2,864,075           $1,284,961                     AMBAC                                     $1,284,961            100.00%
452 RFSC 2002-RP1 [2]     Subprime 2002              $7,374,045                $7,374,045              $2,060,022             $924,224                     AMBAC                                       $924,224            100.00%
    RFSC 2002-RP2
453 [Total]               Subprime 2002             $18,486,483               $18,486,483              $5,162,881           $2,316,315                     AMBAC                                     $2,316,315            100.00%
    RFSC 2003-RM1
454 [Total]                Prime 2003                   $570,953                  $570,953              $214,879              $96,405                                                                  $96,405             100.00%
    RFSC 2003-RM2
455 [ONE]                  Prime 2003                   $441,669                  $441,669              $166,731              $74,803                                                                  $74,803             100.00%
    RFSC 2003-RM2
456 [THREE]                Prime 2003                   $239,703                  $239,703               $72,048              $32,324                                                                  $32,324             100.00%
    RFSC 2003-RM2
457 [TWO]                  Prime 2003                    $65,592                   $65,592               $28,952              $12,989                                                                  $12,989             100.00%

458 RFSC 2003-RP1 [1A]    Subprime 2003             $12,608,689               $12,608,689              $5,282,298           $2,369,891           AMBAC - Insurer Exception                           $2,369,891            100.00%

459 RFSC 2003-RP1 [1F]    Subprime 2003             $14,765,681               $14,765,681              $6,192,666           $2,778,325           AMBAC - Insurer Exception                           $2,778,325            100.00%

460 RFSC 2003-RP2 [1A]    Subprime 2003                $4,045,680                $4,045,680            $1,708,243            $766,399                      AMBAC                                      $766,399             100.00%

461 RFSC 2003-RP2 [1F]    Subprime 2003                $6,000,552                $6,000,552            $2,540,129           $1,139,623                     AMBAC                                     $1,139,623            100.00%

462 RFSC 2003-RP2 [2A]    Subprime 2003                $5,420,952                $5,420,952            $2,283,558           $1,024,513                     AMBAC                                     $1,024,513            100.00%

463 RFSC 2003-RP2 [2F]    Subprime 2003              $3,124,820                  $3,124,820            $1,315,976            $590,410                      AMBAC                                      $590,410             100.00%
464 SARM 2007-3 [1]         Prime 2007             $112,135,556                  $3,307,999            $1,202,388            $539,449                                                                 $539,449               2.95%
465 SARM 2007-3 [2]         Prime 2007              $27,299,124                   $805,324               $289,758            $129,999                                                                 $129,999               2.95%
466 SARM 2007-3 [3]         Prime 2007              $30,436,429                   $897,875               $322,935            $144,884                                                                 $144,884               2.95%
467 SARM 2007-3 [4]         Prime 2007              $40,833,489                  $1,204,588              $430,002            $192,920                                                                 $192,920               2.95%
468 SARM 2007-6 [11]        ALT-A 2007              $43,411,509                   $325,586               $112,817             $50,615                                                                  $50,615               0.75%
469 SARM 2007-6 [12]        ALT-A 2007             $105,887,379                   $794,155               $275,339            $123,530                                                                 $123,530               0.75%
470 SARM 2007-6 [2]         ALT-A 2007              $77,611,482                   $582,086               $199,506             $89,508                                                                  $89,508               0.75%
471 SASI 1993-6 [CIT1]      Prime 1999                 $297,737                     $26,796                $2,010                $451                GEMICO (Pool Policy                                  $451               4.50%

472 SASI 1993-6 [CWF1]     Prime 1999                   $408,373                   $36,754                $2,757                 $619                GEMICO (Pool Policy                                  $619               4.50%
473 SASI 1993-6 [GEC1]     Prime 1999                   $134,479                   $12,103                  $908                 $204                GEMICO (Pool Policy                                  $204               4.50%
474 SASI 1993-6 [ITT2]     Prime 1999                   $294,598                   $26,514                $1,998                 $448                                                                     $448               4.50%
475 SASI 1993-6 [ITT3]     Prime 1999                   $527,944                   $47,515                $3,576                 $802    GEMICO (Pool Policy)/FSA - Insurer Exception                     $802               4.50%
476 SASI 1993-6 [ITT4]     Prime 1999                   $264,173                   $23,776                $1,783                 $400                                                                     $400               4.50%
477 SASI 1993-6 [ITT5]     Prime 1999                   $139,669                   $12,570                  $952                 $214                                                                     $214               4.50%

478 SASI 1993-6 [SASC3]    Prime 1999                  $2,041,944                 $183,775               $13,833               $3,103    GEMICO (Pool Policy)/FSA - Insurer Exception                   $3,103               4.50%
479 SEMT 2004-10 [1]       Prime 2004                  $4,908,266                 $220,872              $110,861              $24,869                                                                  $24,869               4.50%
480 SEMT 2004-10 [2]       Prime 2004                  $3,477,050                 $156,467               $77,732              $17,437                                                                  $17,437               4.50%
481 SEMT 2004-11 [1]       Prime 2004                  $4,686,120                 $135,897               $69,614              $15,616                                                                  $15,616               2.90%
482 SEMT 2004-11 [2]       Prime 2004                   $917,875                   $26,618               $13,393               $3,004                                                                   $3,004               2.90%
483 SEMT 2004-11 [3]       Prime 2004                  $1,316,313                  $38,173               $20,242               $4,541                                                                   $4,541               2.90%
484 SEMT 2004-12 [1]       Prime 2004                  $4,758,130                 $295,004              $148,902              $33,402                                                                  $33,402               3.10%
485 SEMT 2004-12 [2]       Prime 2004                  $1,959,642                 $121,498               $60,509              $13,574                                                                  $13,574               3.10%
486 SEMT 2004-12 [3]       Prime 2004                   $743,687                   $46,109               $27,565               $6,183                                                                   $6,183               3.10%

487 SEMT 2004-4 [Total]    Prime 2004                  $6,293,703                 $249,860              $127,733              $28,654                                                                  $28,654               1.99%
488 SEMT 2004-5 [1]        Prime 2004                  $3,349,661                 $301,469              $155,376              $34,854                                                                  $34,854               4.50%
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             A                   B                    C                         D                     E                    F                  G                       H                     I

                                                                       Debtor’s Attributable
                                             Net Total Collateral         Portion of Net
 1        Name                Cohort               Losses                Collateral Losses   Losses Due to Breach      RFC Claim            Insurer          RFC Recognized Claim      RFC Seller %
489 SEMT 2004-5 [2A]        Prime 2004                    $1,114,087                 $100,268               $54,710              $12,273                                    $12,273               4.50%
490 SEMT 2004-5 [2B]        Prime 2004                     $573,706                   $51,634               $26,621               $5,972                                     $5,972               4.50%
491 SEMT 2004-6 [1]         Prime 2004                    $4,262,473                 $356,769              $170,343              $38,212                                    $38,212               4.19%
492 SEMT 2004-6 [2A]        Prime 2004                    $1,092,058                  $91,405               $51,617              $11,579                                    $11,579               4.19%
493 SEMT 2004-6 [2B]        Prime 2004                     $371,776                   $31,118               $17,267               $3,873                                     $3,873               4.19%
494 SEMT 2004-6 [3]         Prime 2004                     $891,482                   $74,617               $41,038               $9,206                                     $9,206               4.19%
495 SEMT 2004-7 [1]         Prime 2004                    $3,202,518                 $282,142              $148,566              $33,327                                    $33,327               4.41%
496 SEMT 2004-7 [2]         Prime 2004                    $2,569,941                 $226,412              $119,449              $26,795                                    $26,795               4.41%
497 SEMT 2004-7 [3]         Prime 2004                    $1,434,948                 $126,419               $69,746              $15,646                                    $15,646               4.41%
498 SEMT 2004-8 [1A]        Prime 2004                    $2,322,790                 $180,469               $94,533              $21,206                                    $21,206               3.88%
499 SEMT 2004-8 [1B]        Prime 2004                    $1,600,920                 $124,383               $62,508              $14,022                                    $14,022               3.88%
500 SEMT 2004-8 [2]         Prime 2004                    $3,739,595                 $290,548              $148,836              $33,388                                    $33,388               3.88%
501 SEMT 2004-9 [1]         Prime 2004                    $5,430,098                 $488,709              $258,996              $58,099                                    $58,099               4.50%
502 SEMT 2004-9 [2]         Prime 2004                    $3,231,985                 $290,879              $146,504              $32,864                                    $32,864               4.50%
503 SEMT 2005-1 [1]         Prime 2005                    $3,965,273                 $356,875              $193,681              $43,447                                    $43,447               4.50%
504 SEMT 2005-1 [2]         Prime 2005                    $1,899,189                 $170,927               $82,809              $18,576                                    $18,576               4.50%
505 SEMT 2005-2 [1]         Prime 2005                    $2,580,437                 $232,239              $124,685              $55,940                                    $55,940              14.65%
506 SEMT 2005-2 [2]         Prime 2005                    $1,311,288                 $118,016               $62,062              $27,844                                    $27,844              14.65%

507 SEMT 2005-3 [Total]     ALT-A 2005                 $11,878,947                   $534,553              $214,656              $48,152                                    $48,152               4.50%
508 SEMT 2007-1 [1]         Prime 2007                  $4,256,044                   $140,875               $50,429              $11,312                                    $11,312               1.66%
509 SEMT 2007-1 [2]         Prime 2007                 $46,470,169                  $1,538,163             $553,937             $124,261                                   $124,261               1.66%
510 SEMT 2007-1 [3]         Prime 2007                  $5,579,093                   $184,668               $66,270              $14,866                                    $14,866               1.66%
511 SEMT 2007-1 [4]         Prime 2007                  $8,807,137                   $291,516              $104,039              $23,338                                    $23,338               1.66%
512 SEMT 2007-1 [5]         Prime 2007                 $11,572,514                   $383,050              $137,112              $30,757                                    $30,757               1.66%
513 SEMT 2007-2 [1]         Prime 2007                 $33,910,589                  $1,693,851             $596,292             $133,763                                   $133,763               2.50%
514 SEMT 2007-2 [2A]        Prime 2007                 $28,986,949                  $1,447,913             $523,111             $117,346                                   $117,346               2.50%
515 SEMT 2007-2 [2B]        Prime 2007                 $14,374,170                   $717,997              $257,667              $57,801                                    $57,801               2.50%
516 SEMT 2007-3 [1]         Prime 2007                 $23,052,570                  $1,152,628             $407,876              $91,496                                    $91,496               2.50%
517 SEMT 2007-3 [2A]        Prime 2007                 $20,762,575                  $1,038,129             $374,833              $84,084                                    $84,084               2.50%
518 SEMT 2007-3 [2B]        Prime 2007                 $11,161,856                   $558,093              $202,054              $45,325                                    $45,325               2.50%
519 SEMT 2007-3 [2C]        Prime 2007                  $6,570,995                   $328,550              $118,012              $26,473                                    $26,473               2.50%
520 SEMT 2007-4 [1]         Prime 2007                  $3,515,624                   $175,781               $62,106              $13,932                                    $13,932               2.50%
521 SEMT 2007-4 [2]         Prime 2007                    $502,778                     $25,139               $9,011               $2,021                                     $2,021               2.50%
522 SEMT 2007-4 [3]         Prime 2007                  $9,255,769                   $462,788              $167,178              $37,502                                    $37,502               2.50%
523 SEMT 2007-4 [4]         Prime 2007                  $3,066,130                   $153,307               $54,779              $12,288                                    $12,288               2.50%
524 SEMT 2007-4 [5]         Prime 2007                  $1,996,714                     $99,836              $35,520               $7,968                                     $7,968               2.50%

525 STAC 2007-1 [Total]       CES 2007                 $90,453,636                $4,522,682              $2,390,288             $536,199     XL                                  $0              2.50%
526 TMTS 2005-11 [1A]     Second Lien 2005            $152,143,074               $13,692,877              $7,446,816           $1,670,498                                 $1,670,498              4.50%
527 TMTS 2005-11 [1B]     Second Lien 2005             $16,793,870                $1,511,448                $821,610             $184,307                                   $184,307              4.50%
528 TMTS 2005-11 [2A]     Second Lien 2005             $64,478,026                $5,803,022              $3,174,218             $712,053                                   $712,053              4.50%
529 TMTS 2005-11 [2B]     Second Lien 2005             $16,004,638                $1,440,417                $788,492             $176,878                                   $176,878              4.50%

530 TMTS 2005-13SL [2]    Second Lien 2005             $11,452,424                  $1,030,718             $534,001             $119,789     FGIC                          $119,789               4.50%
531                                              $11,905,079,662            $5,411,024,919         $1,960,463,194        $850,079,144                              $848,093,430
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                 A                     B                       C                      D                    E                    F
                                                                                                                         GMACM Recognized
1              Name                 Cohort             GMACM Servicer %             Claim               Insurer              Claim
2 ACE 2007-SL2 [Total]        CES 2007                                 65.80%            $1,356 Assured Guaranty                          $0
3 ACE 2007-SL3 [2ND_LIEN]     Second Lien 2007                          5.00%               $24 Assured Guaranty                          $0
4 ACE 2007-SL3 [HELOC]        Second Lien 2007                          5.00%                $6 Assured Guaranty                          $0
5 AHM 2005-1 [1]              ALT-A 2005                                1.72%            $1,209                                       $1,209
6 AHM 2005-1 [2]              ALT-A 2005                                1.72%              $778                                         $778
7 AHM 2005-1 [3]              ALT-A 2005                                1.72%              $809                                         $809
8 AHM 2005-1 [4]              ALT-A 2005                                1.72%              $372                                         $372
9 AHM 2005-1 [5]              ALT-A 2005                                1.72%              $337                                         $337
10 AHM 2005-1 [6]             ALT-A 2005                                1.72%            $2,917                                       $2,917
11 AHM 2005-1 [7]             ALT-A 2005                                1.72%            $1,537                                       $1,537
12 AHM 2005-1 [8]             ALT-A 2005                                1.72%            $1,086                                       $1,086
13 AHM 2005-1 [9]             ALT-A 2005                                1.72%              $401 FGIC                                    $401
14 AHM 2005-2 [1]             ALT-A 2005                                1.84%            $2,797                                       $2,797
15 AHM 2005-2 [2C]            ALT-A 2005                                1.84%            $1,783                                       $1,783
16 AHM 2005-2 [2NC]           ALT-A 2005                                1.84%            $2,152                                       $2,152
17 AHM 2005-2 [3]             ALT-A 2005                                1.84%            $5,058                                       $5,058
18 AHM 2005-2 [4]             ALT-A 2005                                1.84%            $2,285                                       $2,285
19 AHM 2005-2 [5]             ALT-A 2005                                1.84%            $4,690 Ambac                                 $4,690
20 AHM 2005-2 [6]             ALT-A 2005                                1.84%              $817 FGIC                                    $817
21 ALBT 2007-OA1 [Total]      Pay Option ARM 2007                     100.00%            $5,667                                       $5,667
22 BSABS 2001-2 [1]           CES 2001                                  9.00%              $704                                         $704
23 BSABS 2001-2 [2]           CES 2001                                  9.00%              $331                                         $331
24 BSABS 2001-2 [3]           CES 2001                                  9.00%              $130                                         $130
25 BSABS 2005-AC5 [1]         ALT-A 2005                                0.09%                $9 FGIC                                      $9
26 BSABS 2005-AC5 [2]         ALT-A 2005                                0.09%                $3                                           $3
27 BSSLT 2007-1 [1]           Second Lien 2007                         33.79%              $322 Ambac                                   $322
28 BSSLT 2007-1 [2]           Second Lien 2007                         33.79%              $434 Ambac                                   $434
29 BSSLT 2007-1 [3]           Second Lien 2007                         33.79%              $334 Ambac                                   $334
30 BSSLT 2007-SV1A [Total]    CES 2007                                 36.90%            $7,610 XL - Insurer Exception                $7,610
31 DBALT 2006-AB2 [Total]     ALT-A 2006                               31.18%           $86,443 Ambac                                $86,443
32 DBALT 2006-AB4 [Total]     ALT-A 2006                               48.17%          $309,438 FSA                                       $0
33 DBALT 2006-AR4 [Total]     ALT-A 2006                               20.26%              $671                                         $671
34 DBALT 2007-2 [1A]          ALT-A 2007                               34.32%           $63,434                                      $63,434
35 DBALT 2007-2 [1F]          ALT-A 2007                               34.32%           $20,633                                      $20,633
36 DBALT 2007-2 [2A]          ALT-A 2007                               34.32%           $58,500                                      $58,500
37 DBALT 2007-2 [2F]          ALT-A 2007                               34.32%           $53,337                                      $53,337
38 DBALT 2007-4 [I]           Pay Option ARM 2007                     100.00%           $40,391 FHLMC (Agency Wrap)                  $40,391
39 DBALT 2007-4 [II]          Pay Option ARM 2007                     100.00%           $38,796 FHLMC (Agency Wrap)                  $38,796
40 DBALT 2007-AB1 [Total]     ALT-A 2007                               22.99%           $76,671                                      $76,671
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1              Name                  Cohort             GMACM Servicer %             Claim            Insurer             Claim
41 DBALT 2007-AR1 [Total]     ALT-A 2007                                73.73%           $16,624                                  $16,624
42 DBALT 2007-AR2 [Total]     ALT-A 2007                                91.06%          $522,571                                 $522,571
43 DBALT 2007-BAR1 [A]        ALT-A 2007                                83.88%           $22,051                                  $22,051
44 DBALT 2007-BAR1 [F]        ALT-A 2007                                83.88%           $19,552                                  $19,552
45 GMACM 2001-HE2 [1AHEL]     CES 2001                                 100.00%            $1,343 FGIC                              $1,343
46 GMACM 2001-HE2 [1AHELOC]   CES 2001                                 100.00%            $2,503 FGIC                              $2,503
47 GMACM 2001-HE2 [1BHEL]     CES 2001                                 100.00%            $1,528 FGIC                              $1,528
48 GMACM 2001-HE2 [1BHELOC]   CES 2001                                 100.00%            $2,850 FGIC                              $2,850
49 GMACM 2001-HE2 [2A]        CES 2001                                 100.00%            $2,918 FGIC                              $2,918
50 GMACM 2001-HE2 [2B]        CES 2001                                 100.00%            $7,109 FGIC                              $7,109
51 GMACM 2001-HE3 [1]         Second Lien 2001                         100.00%            $4,292 FGIC                              $4,292
52 GMACM 2001-HE3 [2]         Second Lien 2001                         100.00%            $4,311 FGIC                              $4,311
53 GMACM 2001-HLT1 [1]        Second Lien 2001                         100.00%           $36,092 AMBAC                            $36,092
54 GMACM 2001-HLT1 [2]        Second Lien 2001                         100.00%            $3,281 AMBAC                             $3,281
55 GMACM 2001-HLT2 [1]        Second Lien 2001                         100.00%           $14,841 Ambac                            $14,841
56 GMACM 2001-HLT2 [2]        Second Lien 2001                         100.00%            $6,889 Ambac                             $6,889
57 GMACM 2002-HE1 [1]         Second Lien 2002                         100.00%            $4,825 FGIC                              $4,825
58 GMACM 2002-HE1 [2]         Second Lien 2002                         100.00%            $7,006 FGIC                              $7,006
59 GMACM 2002-HE1 [3]         Second Lien 2002                         100.00%            $1,021 FGIC                              $1,021
60 GMACM 2002-HE1 [4]         Second Lien 2002                         100.00%            $6,355 FGIC                              $6,355
61 GMACM 2002-HE4 [Total]     Second Lien 2002                         100.00%           $12,315 FGIC                             $12,315
62 GMACM 2002-HLT1 [1]        Second Lien 2002                         100.00%           $24,553 AMBAC                            $24,553
63 GMACM 2002-HLT1 [2]        Second Lien 2002                         100.00%            $2,714 AMBAC                             $2,714
64 GMACM 2003-HE1 [Total]     Second Lien 2003                         100.00%           $34,596 FGIC                             $34,596
65 GMACM 2003-HE2 [Total]     CES 2003                                 100.00%           $10,113 FGIC                             $10,113
66 GMACM 2004-HE1 [Total]     Second Lien 2004                         100.00%          $119,636 FGIC                            $119,636
67 GMACM 2004-HE3 [Total]     Second Lien 2004                         100.00%           $65,515 FSA                                   $0
68 GMACM 2004-HE4 [Total]     Second Lien 2004                         100.00%           $57,311 MBIA                                  $0
69 GMACM 2004-HE5 [Total]     CES 2004                                 100.00%           $12,913 FGIC                             $12,913
70 GMACM 2004-HLTV1 [1]       Second Lien 2004                         100.00%           $17,658 FGIC                             $17,658
71 GMACM 2004-VF1 [1]         Second Lien 2004                         100.00%           $23,912 MBIA                                  $0
72 GMACM 2004-VF1 [2]         Second Lien 2004                         100.00%           $23,912 MBIA                                  $0
73 GMACM 2005-HE1 [Total]     Second Lien 2005                         100.00%           $49,403 FGIC                             $49,403
74 GMACM 2005-HE2 [Total]     CES 2005                                 100.00%           $17,561 FGIC                             $17,561
75 GMACM 2005-HE3 [Total]     Second Lien 2005                         100.00%           $25,522 AMBAC                            $25,522
76 GMACM 2006-HE1 [F]         Second Lien 2006                         100.00%           $16,039 FGIC                             $16,039
77 GMACM 2006-HE1 [H]         Second Lien 2006                         100.00%           $25,827 FGIC                             $25,827
78 GMACM 2006-HE2 [Total]     CES 2006                                 100.00%            $9,206 FGIC                              $9,206
79 GMACM 2006-HE4 [Total]     Second Lien 2006                         100.00%           $16,009 MBIA                                  $0
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 1             Name                Cohort             GMACM Servicer %             Claim             Insurer             Claim
80 GMACM 2007-HE1 [Total]    CES 2007                                100.00%            $6,984 MBIA                                   $0
81 GMACM 2010-1 [Total]      Subprime 2008                           100.00%          $105,850                                  $105,850
82 GMACM 2010-2 [Total]      Subprime 2008                           100.00%            $1,625                                    $1,625
83 GPMF 2006-HE1 [F]         Second Lien 2006                        100.00%               $70 XL/CIFG                                $0
84 GPMF 2006-HE1 [H]         Second Lien 2006                        100.00%            $1,267 XL/CIFG                                $0
85 GSR 2007-OA2 [1]          Pay Option ARM 2007                       5.00%              $270                                      $270
86 GSR 2007-OA2 [2]          Pay Option ARM 2007                       5.00%              $153                                      $153
87 GSRPM 2003-1 [Total]      Subprime 2003                             2.50%            $1,121 Ambac                              $1,121
88 HVMLT 2003-2 [1]          ALT-A 2003                               59.98%            $1,158                                    $1,158
89 HVMLT 2003-2 [2]          ALT-A 2003                               59.98%            $2,054                                    $2,054
90 HVMLT 2003-2 [3]          ALT-A 2003                               59.98%              $529                                      $529
91 HVMLT 2004-1 [1]          Prime 2004                               67.73%              $783                                      $783
92 HVMLT 2004-1 [2]          Prime 2004                               67.73%              $623                                      $623
93 HVMLT 2004-1 [3]          Prime 2004                               67.73%              $460                                      $460
94 HVMLT 2004-1 [4]          Prime 2004                               67.73%              $384                                      $384
95 HVMLT 2007-2 [1]          Pay Option ARM 2007                      67.20%           $23,895                                   $23,895
96 HVMLT 2007-2 [2]          Pay Option ARM 2007                      67.20%           $65,048 AMBAC                             $65,048
97 IMM 2003-4 [1]            ALT-A 2003                               28.57%            $2,895 AMBAC                              $2,895
98 IMM 2003-4 [2]            ALT-A 2003                               28.57%              $137 AMBAC                                $137
99 IMM 2003-4 [3]            ALT-A 2003                               28.57%            $3,217                                    $3,217
100 IMM 2004-6 [1]           ALT-A 2004                                8.26%           $10,911                                   $10,911
101 IMM 2004-6 [2]           ALT-A 2004                                8.26%            $1,091 AMBAC                              $1,091
102 IMM 2005-5 [Total]       ALT-A 2005                               32.57%          $105,623 AMBAC                            $105,623
103 IMM 2005-6 [1A]          ALT-A 2005                               87.26%          $323,516 AMBAC                            $323,516
104 IMM 2005-6 [1F]          ALT-A 2005                               87.26%           $50,558 AMBAC                             $50,558
105 IMM 2005-6 [2A]          ALT-A 2005                               87.26%           $48,685                                   $48,685
106 IMM 2005-6 [2AS]         ALT-A 2005                               87.26%            $5,913                                    $5,913
107 IMM 2005-7 [Total]       ALT-A 2005                                4.50%           $29,377 Ambac                             $29,377
108 IMSA 2005-2 [1]          ALT-A 2005                                9.00%            $4,770 Ambac                              $4,770
109 IMSA 2005-2 [2]          ALT-A 2005                                9.00%              $968 Ambac                                $968
110 IMSA 2006-3 [A]          ALT-A 2006                                9.44%           $76,979 Ambac                             $76,979
111 IMSA 2006-3 [F1]         ALT-A 2006                                9.44%           $14,644 Ambac                             $14,644
112 IMSA 2006-3 [F2]         ALT-A 2006                                9.44%            $3,267 Ambac                              $3,267
113 LMT 2005-1 [1AX]         Prime 2005                                0.53%                $5                                        $5
114 LMT 2005-1 [1DISC]       Prime 2005                                0.53%                $3                                        $3
115 LMT 2005-1 [1PAX]        Prime 2005                                0.53%                $3                                        $3
116 LMT 2005-1 [2AX]         Prime 2005                                0.53%                $6                                        $6
117 LMT 2005-1 [2DISC]       Prime 2005                                0.53%                $4                                        $4
118 LMT 2005-1 [2PAX]        Prime 2005                                0.53%                $3                                        $3
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 1              Name                  Cohort             GMACM Servicer %             Claim                 Insurer             Claim
119 LMT 2005-1 [3]              Prime 2005                                0.53%                $4                                            $4
120 LMT 2005-1 [4AX]            Prime 2005                                0.53%                $3                                            $3
121 LMT 2005-1 [4PAX]           Prime 2005                                0.53%                $1                                            $1
122 LMT 2005-1 [5AX]            Prime 2005                                0.53%                $3                                            $3
123 LMT 2005-1 [5DISC]          Prime 2005                                0.53%                $1                                            $1
124 LMT 2005-1 [6AX]            Prime 2005                                0.53%                $1                                            $1
125 LMT 2005-1 [6DISC]          Prime 2005                                0.53%                $6                                            $6
126 LMT 2005-1 [6PAX]           Prime 2005                                0.53%                $1                                            $1
127 LUM 2007-2 [1]              ALT-A 2007                               18.14%            $4,689                                        $4,689
128 LUM 2007-2 [2]              ALT-A 2007                               18.14%            $1,003                                        $1,003
129 LXS 2007-15N [FOUR_0PP]     Pay Option ARM 2007                       6.24%            $5,567   Ambac                                $5,567
130 LXS 2007-15N [FOUR_1YPP]    Pay Option ARM 2007                       6.24%            $9,366   Ambac                                $9,366
131 LXS 2007-15N [FOUR_2YPP]    Pay Option ARM 2007                       6.24%            $1,220   Ambac                                $1,220
132 LXS 2007-15N [FOUR_3YPP]    Pay Option ARM 2007                       6.24%           $17,937   Ambac                               $17,937
133 LXS 2007-15N [ONE]          Pay Option ARM 2007                       6.24%            $8,091                                        $8,091
134 LXS 2007-15N [ONE_C]        Pay Option ARM 2007                       6.24%            $8,341                                        $8,341
135 LXS 2007-15N [THREE_0PP]    Pay Option ARM 2007                       6.24%            $2,465   Ambac                                $2,465
136 LXS 2007-15N [THREE_1YPP]   Pay Option ARM 2007                       6.24%            $4,554   Ambac                                $4,554
137 LXS 2007-15N [THREE_2YPP]   Pay Option ARM 2007                       6.24%              $740   Ambac                                  $740
138 LXS 2007-15N [THREE_3YPP]   Pay Option ARM 2007                       6.24%           $12,608   Ambac                               $12,608
139 LXS 2007-15N [TWO]          Pay Option ARM 2007                       6.24%           $20,517                                       $20,517
140 MANA 2007-AF1 [1]           ALT-A 2007                                0.03%               $54                                           $54
141 MANA 2007-AF1 [2]           ALT-A 2007                                0.03%                $2                                            $2
142 MANA 2007-AF1 [3]           ALT-A 2007                                0.03%               $35                                           $35
143 MHL 2004-1 [Total]          ALT-A 2004                              100.00%           $61,400                                       $61,400
144 MHL 2004-2 [Total]          ALT-A 2004                              100.00%           $49,797                                       $49,797
145 MHL 2005-1 [1]              ALT-A 2005                              100.00%           $74,308                                       $74,308
146 MHL 2005-1 [2]              ALT-A 2005                              100.00%           $11,255                                       $11,255
147 MHL 2005-2 [1]              ALT-A 2005                              100.00%           $65,041                                       $65,041
148 MHL 2005-2 [2]              ALT-A 2005                              100.00%            $7,668                                        $7,668
149 MHL 2005-3 [Total]          ALT-A 2005                              100.00%          $123,091                                      $123,091
150 MHL 2005-4 [Total]          ALT-A 2005                              100.00%          $164,351                                      $164,351
151 MHL 2005-5 [Total]          ALT-A 2005                              100.00%          $231,909                                      $231,909
152 MHL 2005-AR1 [Total]        Pay Option ARM 2005                     100.00%          $112,561                                      $112,561
153 MHL 2006-1 [1A1]            ALT-A 2006                              100.00%           $63,122                                       $63,122
154 MHL 2006-1 [1A2]            ALT-A 2006                              100.00%           $99,845                                       $99,845
155 MHL 2006-1 [TWO]            ALT-A 2006                              100.00%           $85,816                                       $85,816
156 MHL 2007-2 [Total]          Prime 2007                               23.04%              $813                                          $813
157 MSM 2005-10 [1]             Prime 2005                              100.00%              $152                                          $152
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 1             Name                 Cohort             GMACM Servicer %             Claim                 Insurer             Claim
158 MSM 2005-10 [2]           Prime 2005                              100.00%                  $19                                        $19
159 MSM 2005-10 [3]           Prime 2005                              100.00%                  $34                                        $34
160 MSM 2005-10 [4]           Prime 2005                              100.00%                  $93                                        $93
161 MSM 2005-11AR [1]         ALT-A 2005                               15.31%               $1,165                                     $1,165
162 MSM 2005-11AR [2]         ALT-A 2005                               15.31%                 $587                                       $587
163 MSM 2005-3AR [1]          ALT-A 2005                               15.31%                 $171                                       $171
164 MSM 2005-3AR [2]          ALT-A 2005                               15.31%                 $219                                       $219
165 MSM 2005-3AR [3]          ALT-A 2005                               15.31%                 $133                                       $133
166 MSM 2005-3AR [4]          ALT-A 2005                               15.31%                  $42                                        $42
167 MSM 2005-3AR [5]          ALT-A 2005                               15.31%                  $30                                        $30
168 MSM 2005-5AR [1A]         ALT-A 2005                               15.31%               $1,288                                     $1,288
169 MSM 2005-5AR [1F]         ALT-A 2005                               15.31%                 $778                                       $778
170 MSM 2005-5AR [2]          ALT-A 2005                               15.31%                 $337                                       $337
171 MSM 2005-5AR [3]          ALT-A 2005                               15.31%                 $300                                       $300
172 MSM 2005-5AR [4]          ALT-A 2005                               15.31%                 $352                                       $352
173 MSM 2005-6AR [11A]        ALT-A 2005                               15.31%                 $388                                       $388
174 MSM 2005-6AR [11F]        ALT-A 2005                               15.31%                 $249                                       $249
175 MSM 2005-6AR [2]          ALT-A 2005                               15.31%                 $132                                       $132
176 MSM 2005-6AR [3]          ALT-A 2005                               15.31%                 $152                                       $152
177 MSM 2005-6AR [4]          ALT-A 2005                               15.31%                  $45                                        $45
178 MSM 2005-6AR [5]          ALT-A 2005                               15.31%                 $283                                       $283
179 MSM 2005-6AR [6]          ALT-A 2005                               15.31%                  $67                                        $67
180 MSM 2005-7 [1]            Prime 2005                                6.25%                   $3                                         $3
181 MSM 2005-7 [2]            Prime 2005                                6.25%                   $3                                         $3
182 MSM 2005-7 [3]            Prime 2005                                6.25%                  $12                                        $12
183 MSM 2005-7 [4]            Prime 2005                                6.25%                   $8                                         $8
184 MSM 2005-7 [5]            Prime 2005                                6.25%                   $2                                         $2
185 MSM 2005-7 [6]            Prime 2005                                6.25%                  $19                                        $19
186 MSM 2005-7 [7]            Prime 2005                                6.25%                  $20                                        $20
187 MSM 2005-9AR [1A]         ALT-A 2005                               15.31%                 $164                                       $164
188 MSM 2005-9AR [1F]         ALT-A 2005                               15.31%                  $89                                        $89
189 MSM 2005-9AR [2]          ALT-A 2005                               15.31%                 $123                                       $123
190 MSM 2005-9AR [3]          ALT-A 2005                               15.31%                  $33                                        $33
191 MSM 2006-11 [1]           ALT-A 2006                               10.93%                  $30                                        $30
192 MSM 2006-11 [2]           ALT-A 2006                               10.93%                  $19                                        $19
193 MSM 2006-11 [3]           ALT-A 2006                               10.93%                  $14                                        $14
194 MSM 2006-12XS [Total]     ALT-A 2006                               10.93%                 $306                                       $306
195 MSM 2006-15XS [Total]     ALT-A 2006                               10.93%               $5,097 MBIA                                    $0
196 MSM 2006-17XS [Total]     ALT-A 2006                               10.93%               $3,914 MBIA                                    $0
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 1             Name                 Cohort             GMACM Servicer %             Claim                 Insurer             Claim
197 MSM 2006-1AR [1A]         ALT-A 2006                               10.93%              $3,054                                      $3,054
198 MSM 2006-1AR [1F]         ALT-A 2006                               10.93%              $1,505                                      $1,505
199 MSM 2006-1AR [2]          ALT-A 2006                               10.93%                $655                                        $655
200 MSM 2006-1AR [3]          ALT-A 2006                               10.93%                $364                                        $364
201 MSM 2006-1AR [4]          ALT-A 2006                               10.93%                $376                                        $376
202 MSM 2006-7 [1]            ALT-A 2006                               10.93%                 $26                                         $26
203 MSM 2006-7 [2]            ALT-A 2006                               10.93%                $102                                        $102
204 MSM 2006-7 [3]            ALT-A 2006                               10.93%                 $58                                         $58
205 MSM 2006-7 [4]            ALT-A 2006                               10.93%                 $77                                         $77
206 MSM 2007-1XS [1]          ALT-A 2007                               18.19%                $527                                        $527
207 MSM 2007-1XS [2]          ALT-A 2007                               18.19%              $1,107                                      $1,107
208 MSM 2007-2AX [1]          ALT-A 2007                               18.19%              $2,717                                      $2,717
209 MSM 2007-2AX [2]          ALT-A 2007                               18.19%              $7,735                                      $7,735
210 MSM 2007-3XS [1]          ALT-A 2007                               18.19%              $1,222                                      $1,222
211 MSM 2007-3XS [2]          ALT-A 2007                               18.19%              $2,850                                      $2,850
212 MSM 2007-6XS [1]          ALT-A 2007                               18.19%                $886                                        $886
213 MSM 2007-6XS [2]          ALT-A 2007                               18.19%              $1,087                                      $1,087
214 MSM 2007-7AX [1]          ALT-A 2007                               18.19%              $4,333                                      $4,333
215 MSM 2007-7AX [2]          ALT-A 2007                               18.19%             $21,285                                     $21,285
216 MSM 2007-8XS [Total]      ALT-A 2007                               18.19%              $6,310 MBIA                                     $0
217 NAA 2004-AP3 [Total]      ALT-A 2004                               40.74%             $21,150 Ambac                               $21,150
218 NAA 2005-AR3 [1]          ALT-A 2005                              100.00%             $20,682                                     $20,682
219 NAA 2005-AR3 [2]          ALT-A 2005                              100.00%              $5,982                                      $5,982
220 NAA 2005-AR3 [3]          ALT-A 2005                              100.00%             $10,426                                     $10,426
221 NAA 2005-AR4 [1]          ALT-A 2005                              100.00%              $1,790                                      $1,790
222 NAA 2005-AR4 [2]          ALT-A 2005                              100.00%              $1,387                                      $1,387
223 NAA 2005-AR4 [3]          ALT-A 2005                              100.00%              $6,044                                      $6,044
224 NAA 2005-AR4 [4]          ALT-A 2005                              100.00%              $5,816                                      $5,816
225 NAA 2005-AR4 [5]          ALT-A 2005                              100.00%             $12,353                                     $12,353
226 NAA 2005-AR5 [1]          ALT-A 2005                              100.00%              $6,555                                      $6,555
227 NAA 2005-AR5 [2]          ALT-A 2005                              100.00%             $14,768                                     $14,768
228 NAA 2005-AR5 [3]          ALT-A 2005                              100.00%             $54,530                                     $54,530
229 NAA 2005-AR6 [136]        ALT-A 2005                              100.00%                $855                                        $855
230 NAA 2005-AR6 [260]        ALT-A 2005                              100.00%              $1,043                                      $1,043
231 NAA 2005-AR6 [360]        ALT-A 2005                              100.00%                $970                                        $970
232 NAA 2005-AR6 [41]         ALT-A 2005                              100.00%                 $97                                         $97
233 NAA 2005-AR6 [412]        ALT-A 2005                              100.00%                $305                                        $305
234 NAA 2005-AR6 [424]        ALT-A 2005                              100.00%              $2,944                                      $2,944
235 NAA 2005-AR6 [436]        ALT-A 2005                              100.00%                $555                                        $555
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 1              Name                  Cohort             GMACM Servicer %             Claim                 Insurer             Claim
236 NAA 2005-AR6 [46]          ALT-A 2005                               100.00%              $868                                          $868
237 NAA 2005-AR6 [460]         ALT-A 2005                               100.00%              $324                                          $324
238 NAA 2006-AF1 [I]           ALT-A 2006                               100.00%            $5,653                                        $5,653
239 NAA 2006-AF1 [II]          ALT-A 2006                               100.00%              $324                                          $324
240 NAA 2006-AF1 [III]         ALT-A 2006                               100.00%            $2,235                                        $2,235
241 NAA 2006-AF1 [IV]          ALT-A 2006                               100.00%              $653                                          $653
242 NAA 2006-AF1 [V]           ALT-A 2006                               100.00%              $392                                          $392
243 NAA 2006-AF2 [1]           ALT-A 2006                                98.04%            $2,245                                        $2,245
244 NAA 2006-AF2 [2]           ALT-A 2006                                98.04%              $178                                          $178
245 NAA 2006-AF2 [3]           ALT-A 2006                                98.04%              $832                                          $832
246 NAA 2006-AF2 [4]           ALT-A 2006                                98.04%              $221                                          $221
247 NAA 2006-AF2 [5]           ALT-A 2006                                98.04%            $1,236                                        $1,236
248 NAA 2006-AP1 [Total]       ALT-A 2006                               100.00%            $3,284                                        $3,284
249 NAA 2006-AR1 [1]           ALT-A 2006                               100.00%              $348                                          $348
250 NAA 2006-AR1 [2]           ALT-A 2006                               100.00%            $1,168                                        $1,168
251 NAA 2006-AR1 [3]           ALT-A 2006                               100.00%              $289                                          $289
252 NAA 2006-AR1 [4]           ALT-A 2006                               100.00%              $193                                          $193
253 NAA 2006-AR1 [5]           ALT-A 2006                               100.00%            $2,477                                        $2,477
254 NAA 2006-AR2 [1]           ALT-A 2006                               100.00%              $399                                          $399
255 NAA 2006-AR2 [2]           ALT-A 2006                               100.00%            $1,578                                        $1,578
256 NAA 2006-AR2 [3]           ALT-A 2006                               100.00%            $2,515                                        $2,515
257 NAA 2006-S3 [Total]        CES 2006                                   5.00%                $2                                            $2
258 NAA 2006-S4 [Total]        CES 2006                                  78.04%              $206                                          $206
259 NAA 2006-S5 [Total]        CES 2006                                   5.00%               $57                                           $57
260 NAA 2007-3 [Total]         ALT-A 2007                               100.00%          $353,099   Ambac                              $353,099
261 NAA 2007-S1 [Total]        CES 2007                                   5.00%               $71                                           $71
262 NHELI 2006-AF1 [Total]     Subprime 2006                             99.56%            $5,884                                        $5,884
263 PFCA 2002-IFC1 [Total]     Subprime 2002                              4.50%              $133   Ambac                                  $133
264 PFCA 2002-IFC2 [Total]     Subprime 2002                              4.50%               $95   Ambac                                   $95
265 PFCA 2003-IFC4 [Total]     Subprime 2003                              4.50%              $110   Ambac                                  $110
266 PFCA 2003-IFC5 [Total]     Subprime 2003                              4.50%              $146   Ambac                                  $146
267 PFCA 2003-IFC6 [Total]     Subprime 2003                              4.50%              $268   Ambac                                  $268
268 SACO 2006-8 [Total]        Second Lien 2006                          72.68%            $4,852   Ambac                                $4,852
269 SARM 2004-4 [1AX]          ALT-A 2004                                 0.06%                $3                                            $3
270 SARM 2004-4 [1PAX]         ALT-A 2004                                 0.06%                $2                                            $2
271 SARM 2004-4 [2AX]          ALT-A 2004                                 0.06%                $4                                            $4
272 SARM 2004-4 [2PAX]         ALT-A 2004                                 0.06%                $2                                            $2
273 SARM 2004-4 [3AX]          ALT-A 2004                                 0.06%               $14                                           $14
274 SARM 2004-4 [3PAX]         ALT-A 2004                                 0.06%                $6                                            $6
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                                                                                                                       GMACM Recognized
 1              Name              Cohort               GMACM Servicer %           Claim                Insurer             Claim
275 SARM 2004-4 [4AX]      ALT-A 2004                                  0.06%                 $1                                         $1
276 SARM 2004-4 [4PAX]     ALT-A 2004                                  0.06%                 $1                                         $1
277 SARM 2004-4 [5AX]      ALT-A 2004                                  0.06%                 $1                                         $1
278 SARM 2004-4 [5PAX]     ALT-A 2004                                  0.06%                 $0                                         $0
279 STAC 2007-1 [Total]    $                2,007                      2.50%               $272 XL Capital                              $0
280 SVHE 2007-1 [1A]       Subprime 2007                               7.61%               $366                                       $366
281 SVHE 2007-1 [1F]       Subprime 2007                               7.61%               $168                                       $168
282 SVHE 2007-1 [2A]       Subprime 2007                               7.61%               $307                                       $307
283 SVHE 2007-1 [2F]       Subprime 2007                               7.61%               $345                                       $345
284 TMTS 2006-4SL [F]      Second Lien 2006                          100.00%            $22,408 AMBAC                              $22,408
285 TMTS 2006-4SL [H]      Second Lien 2006                          100.00%             $3,180 AMBAC                               $3,180
286 TMTS 2006-6 [1F]       Second Lien 2006                          100.00%            $25,153 AMBAC                              $25,153
287 TMTS 2006-6 [1H]       Second Lien 2006                          100.00%             $3,935 AMBAC                               $3,935
288 TMTS 2006-6 [2F]       Second Lien 2006                          100.00%             $3,170                                     $3,170
289 TMTS 2006-6 [2H]       Second Lien 2006                          100.00%                $62                                        $62
290                                                                               $4,883,119                                   $4,361,722
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                                                                            265 Servicing Claim
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 1             Name                 Cohort             RFC Servicer %         RFC Claim                 Insurer            RFC Recognized Claim
 2 BSSLT 2007-SV1A [Total]          CES 2007                      36.90%               $7,610     XL - Insurer Exception                  $7,610
 3 DBALT 2006-AR4 [Total]          ALT-A 2006                     20.26%                $671                                               $671
 4 DBALT 2007-OA1 [Total]     Pay Option ARM 2007                 60.86%              $21,218                                            $21,218
 5 GSRPM 2003-1 [Total]          Subprime 2003                     2.50%               $1,121            Ambac                            $1,121
 6 HVMLT 2007-2 [1]           Pay Option ARM 2007                 10.28%               $3,655                                             $3,655
 7 HVMLT 2007-2 [2]           Pay Option ARM 2007                 10.28%               $9,951            AMBAC                            $9,951
 8 IMM 2003-4 [1]                  ALT-A 2003                     28.57%               $2,895            AMBAC                            $2,895
 9 IMM 2003-4 [2]                  ALT-A 2003                     28.57%                $137             AMBAC                             $137
10 IMM 2003-4 [3]                  ALT-A 2003                     28.57%               $3,217                                             $3,217
11 IMM 2005-5 [Total]              ALT-A 2005                     32.57%             $105,623            AMBAC                          $105,623
12 IMM 2005-7 [Total]              ALT-A 2005                      4.50%              $29,377            Ambac                           $29,377
13 IMSA 2006-3 [A]                 ALT-A 2006                      9.44%              $76,979            Ambac                           $76,979
14 IMSA 2006-3 [F1]                ALT-A 2006                      9.44%              $14,644            Ambac                           $14,644
15 IMSA 2006-3 [F2]                ALT-A 2006                      9.44%               $3,267            Ambac                            $3,267
16 LMT 2005-1 [1AX]                Prime 2005                      0.53%                   $5                                                 $5
17 LMT 2005-1 [1DISC]              Prime 2005                      0.53%                   $3                                                 $3
18 LMT 2005-1 [1PAX]               Prime 2005                      0.53%                   $3                                                 $3
19 LMT 2005-1 [2AX]                Prime 2005                      0.53%                   $6                                                 $6
20 LMT 2005-1 [2DISC]              Prime 2005                      0.53%                   $4                                                 $4
21 LMT 2005-1 [2PAX]               Prime 2005                      0.53%                   $3                                                 $3
22 LMT 2005-1 [3]                  Prime 2005                      0.53%                   $4                                                 $4
23 LMT 2005-1 [4AX]                Prime 2005                      0.53%                   $3                                                 $3
24 LMT 2005-1 [4PAX]               Prime 2005                      0.53%                   $1                                                 $1
25 LMT 2005-1 [5AX]                Prime 2005                      0.53%                   $3                                                 $3
26 LMT 2005-1 [5DISC]              Prime 2005                      0.53%                   $1                                                 $1
27 LMT 2005-1 [6AX]                Prime 2005                      0.53%                   $1                                                 $1
28 LMT 2005-1 [6DISC]              Prime 2005                      0.53%                   $6                                                 $6
29 LMT 2005-1 [6PAX]               Prime 2005                      0.53%                   $1                                                 $1
30 LUM 2006-6 [Total]         Pay Option ARM 2006                 77.66%              $31,606                                            $31,606
31 LUM 2007-2 [1]                  ALT-A 2007                     18.14%               $4,689                                             $4,689
32 LUM 2007-2 [2]                  ALT-A 2007                     18.14%               $1,003                                             $1,003
33 LXS 2007-12N [1]           Pay Option ARM 2007                  2.73%                $258                                               $258
34 LXS 2007-12N [2]           Pay Option ARM 2007                  2.73%                $138                                               $138
35 LXS 2007-12N [3]           Pay Option ARM 2007                  2.73%                  $73                                                $73
36 LXS 2007-15N [FOUR_0PP]    Pay Option ARM 2007                 15.50%              $13,832            Ambac                           $13,832
37 LXS 2007-15N [FOUR_1YPP]   Pay Option ARM 2007                 15.50%              $23,270            Ambac                           $23,270
38 LXS 2007-15N [FOUR_2YPP]   Pay Option ARM 2007                 15.50%               $3,030            Ambac                            $3,030
39 LXS 2007-15N [FOUR_3YPP]   Pay Option ARM 2007                 15.50%              $44,565            Ambac                           $44,565
40 LXS 2007-15N [ONE]         Pay Option ARM 2007                 15.50%              $20,102                                            $20,102
41 LXS 2007-15N [ONE_C]       Pay Option ARM 2007                 15.50%              $20,724                                            $20,724
42 LXS 2007-15N [THREE_0PP]   Pay Option ARM 2007                 15.50%               $6,125            Ambac                            $6,125
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 1             Name                  Cohort             RFC Servicer %         RFC Claim           Insurer         RFC Recognized Claim
43 LXS 2007-15N [THREE_1YPP]   Pay Option ARM 2007                 15.50%              $11,315     Ambac                        $11,315
44 LXS 2007-15N [THREE_2YPP]   Pay Option ARM 2007                 15.50%               $1,838     Ambac                         $1,838
45 LXS 2007-15N [THREE_3YPP]   Pay Option ARM 2007                 15.50%              $31,324     Ambac                        $31,324
46 LXS 2007-15N [TWO]          Pay Option ARM 2007                 15.50%              $50,976                                  $50,976
47 LXS 2007-2N [1_A1]          Pay Option ARM 2007                 35.47%                  $18                                      $18
48 LXS 2007-2N [1_A2]          Pay Option ARM 2007                 35.47%                  $49                                      $49
49 LXS 2007-2N [1_A3]          Pay Option ARM 2007                 35.47%                   $5                                       $5
50 LXS 2007-2N [1_A4]          Pay Option ARM 2007                 35.47%               $1,420                                   $1,420
51 LXS 2007-2N [2_A4]          Pay Option ARM 2007                 35.47%               $1,892                                   $1,892
52 LXS 2007-2N [3_A1]          Pay Option ARM 2007                 35.47%                $260                                     $260
53 LXS 2007-2N [3_A2]          Pay Option ARM 2007                 35.47%                $575                                     $575
54 LXS 2007-2N [3_A3]          Pay Option ARM 2007                 35.47%                  $81                                      $81
55 LXS 2007-2N [3_A4]          Pay Option ARM 2007                 35.47%               $1,713                                   $1,713
56 LXS 2007-4N [1A1]           Pay Option ARM 2007                 14.62%                $294                                     $294
57 LXS 2007-4N [1A2]           Pay Option ARM 2007                 14.62%                $854                                     $854
58 LXS 2007-4N [1A3]           Pay Option ARM 2007                 14.62%                $102                                     $102
59 LXS 2007-4N [2A2]           Pay Option ARM 2007                 14.62%                $476                                     $476
60 LXS 2007-4N [2A3]           Pay Option ARM 2007                 14.62%                  $93                                      $93
61 LXS 2007-4N [2A4]           Pay Option ARM 2007                 14.62%               $1,086                                   $1,086
62 LXS 2007-4N [3A4]           Pay Option ARM 2007                 14.62%               $1,111                                   $1,111
63 MANA 2007-OAR4 [Total]      Pay Option ARM 2007                 63.96%              $14,370                                  $14,370
64 MHL 2007-2 [Total]               Prime 2007                     23.04%                $813                                     $813
65 MSM 2005-11AR [1]                ALT-A 2005                     15.31%               $1,165                                   $1,165
66 MSM 2005-11AR [2]                ALT-A 2005                     15.31%                $587                                     $587
67 MSM 2005-3AR [1]                 ALT-A 2005                     15.31%                $171                                     $171
68 MSM 2005-3AR [2]                 ALT-A 2005                     15.31%                $219                                     $219
69 MSM 2005-3AR [3]                 ALT-A 2005                     15.31%                $133                                     $133
70 MSM 2005-3AR [4]                 ALT-A 2005                     15.31%                  $42                                      $42
71 MSM 2005-3AR [5]                 ALT-A 2005                     15.31%                  $30                                      $30
72 MSM 2005-5AR [1A]                ALT-A 2005                     15.31%               $1,288                                   $1,288
73 MSM 2005-5AR [1F]                ALT-A 2005                     15.31%                $778                                     $778
74 MSM 2005-5AR [2]                 ALT-A 2005                     15.31%                $337                                     $337
75 MSM 2005-5AR [3]                 ALT-A 2005                     15.31%                $300                                     $300
76 MSM 2005-5AR [4]                 ALT-A 2005                     15.31%                $352                                     $352
77 MSM 2005-6AR [11A]               ALT-A 2005                     15.31%                $388                                     $388
78 MSM 2005-6AR [11F]               ALT-A 2005                     15.31%                $249                                     $249
79 MSM 2005-6AR [2]                 ALT-A 2005                     15.31%                $132                                     $132
80 MSM 2005-6AR [3]                 ALT-A 2005                     15.31%                $152                                     $152
81 MSM 2005-6AR [4]                 ALT-A 2005                     15.31%                  $45                                      $45
82 MSM 2005-6AR [5]                 ALT-A 2005                     15.31%                $283                                     $283
83 MSM 2005-6AR [6]                 ALT-A 2005                     15.31%                  $67                                      $67
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 1              Name                   Cohort             RFC Servicer %         RFC Claim           Insurer         RFC Recognized Claim
84 MSM 2005-7 [1]                     Prime 2005                      6.25%                   $3                                       $3
85 MSM 2005-7 [2]                     Prime 2005                      6.25%                   $3                                       $3
86 MSM 2005-7 [3]                     Prime 2005                      6.25%                  $12                                      $12
87 MSM 2005-7 [4]                     Prime 2005                      6.25%                   $8                                       $8
88 MSM 2005-7 [5]                     Prime 2005                      6.25%                   $2                                       $2
89 MSM 2005-7 [6]                     Prime 2005                      6.25%                  $19                                      $19
90 MSM 2005-7 [7]                     Prime 2005                      6.25%                  $20                                      $20
91 MSM 2005-9AR [1A]                  ALT-A 2005                     15.31%                $164                                     $164
92 MSM 2005-9AR [1F]                  ALT-A 2005                     15.31%                  $89                                      $89
93 MSM 2005-9AR [2]                   ALT-A 2005                     15.31%                $123                                     $123
94 MSM 2005-9AR [3]                   ALT-A 2005                     15.31%                  $33                                      $33
95 MSM 2006-11 [1]                    ALT-A 2006                     10.93%                  $30                                      $30
96 MSM 2006-11 [2]                    ALT-A 2006                     10.93%                  $19                                      $19
97 MSM 2006-11 [3]                    ALT-A 2006                     10.93%                  $14                                      $14
98 MSM 2006-12XS [Total]              ALT-A 2006                     10.93%                $306                                     $306
99 MSM 2006-15XS [Total]              ALT-A 2006                     10.93%               $5,097      MBIA                             $0
100 MSM 2006-17XS [Total]             ALT-A 2006                     10.93%               $3,914      MBIA                             $0
101 MSM 2006-1AR [1A]                 ALT-A 2006                     10.93%               $3,054                                   $3,054
102 MSM 2006-1AR [1F]                 ALT-A 2006                     10.93%               $1,505                                   $1,505
103 MSM 2006-1AR [2]                  ALT-A 2006                     10.93%                $655                                     $655
104 MSM 2006-1AR [3]                  ALT-A 2006                     10.93%                $364                                     $364
105 MSM 2006-1AR [4]                  ALT-A 2006                     10.93%                $376                                     $376
106 MSM 2006-7 [1]                    ALT-A 2006                     10.93%                  $26                                      $26
107 MSM 2006-7 [2]                    ALT-A 2006                     10.93%                $102                                     $102
108 MSM 2006-7 [3]                    ALT-A 2006                     10.93%                  $58                                      $58
109 MSM 2006-7 [4]                    ALT-A 2006                     10.93%                  $77                                      $77
110 MSM 2007-1XS [1]                  ALT-A 2007                     18.19%                $527                                     $527
111 MSM 2007-1XS [2]                  ALT-A 2007                     18.19%               $1,107                                   $1,107
112 MSM 2007-2AX [1]                  ALT-A 2007                     18.19%               $2,717                                   $2,717
113 MSM 2007-2AX [2]                  ALT-A 2007                     18.19%               $7,735                                   $7,735
114 MSM 2007-3XS [1]                  ALT-A 2007                     18.19%               $1,222                                   $1,222
115 MSM 2007-3XS [2]                  ALT-A 2007                     18.19%               $2,850                                   $2,850
116 MSM 2007-6XS [1]                  ALT-A 2007                     18.19%                $886                                     $886
117 MSM 2007-6XS [2]                  ALT-A 2007                     18.19%               $1,087                                   $1,087
118 MSM 2007-7AX [1]                  ALT-A 2007                     18.19%               $4,333                                   $4,333
119 MSM 2007-7AX [2]                  ALT-A 2007                     18.19%              $21,285                                  $21,285
120 MSM 2007-8XS [Total]              ALT-A 2007                     18.19%               $6,310     MBIA                              $0
121 PFCA 2002-IFC1 [Total]          Subprime 2002                     4.50%                $133      Ambac                          $133
122 PFCA 2002-IFC2 [Total]          Subprime 2002                     4.50%                  $95     Ambac                            $95
123 PFCA 2003-IFC4 [Total]          Subprime 2003                     4.50%                $110      Ambac                          $110
124 PFCA 2003-IFC5 [Total]          Subprime 2003                     4.50%                $146      Ambac                          $146
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 1              Name                Cohort             RFC Servicer %         RFC Claim           Insurer         RFC Recognized Claim
125 PFCA 2003-IFC6 [Total]        Subprime 2003                    4.50%                $268      Ambac                          $268
126 RALI 2006-QH1 [Total]      Pay Option Arm 2006               100.00%              $14,921     Ambac                        $14,921
127 RALI 2006-QO1 [1]          Pay Option Arm 2006               100.00%               $7,918                                   $7,918
128 RALI 2006-QO1 [2]          Pay Option Arm 2006               100.00%              $16,057                                  $16,057
129 RALI 2006-QO1 [3]          Pay Option Arm 2006               100.00%              $40,320                                  $40,320
130 RALI 2006-QO10 [1]         Pay Option Arm 2006               100.00%              $43,286                                  $43,286
131 RALI 2006-QO10 [2]         Pay Option Arm 2006               100.00%              $13,628                                  $13,628
132 RALI 2006-QO2 [Total]      Pay Option Arm 2006               100.00%              $45,747                                  $45,747
133 RALI 2006-QO3 [Total]      Pay Option Arm 2006               100.00%              $45,447                                  $45,447
134 RALI 2006-QO4 [1]          Pay Option Arm 2006               100.00%              $34,617       XL                              $0
135 RALI 2006-QO4 [2]          Pay Option Arm 2006               100.00%              $31,540       XL                              $0
136 RALI 2006-QO5 [1]          Pay Option Arm 2006               100.00%              $30,223                                  $30,223
137 RALI 2006-QO5 [2]          Pay Option Arm 2006               100.00%              $33,300                                  $33,300
138 RALI 2006-QO5 [3]          Pay Option Arm 2006               100.00%              $19,463                                  $19,463
139 RALI 2006-QO6 [Total]      Pay Option Arm 2006               100.00%              $97,257                                  $97,257
140 RALI 2006-QO7 [1]          Pay Option Arm 2006               100.00%              $44,405                                  $44,405
141 RALI 2006-QO7 [2]          Pay Option Arm 2006               100.00%              $32,312                                  $32,312
142 RALI 2006-QO7 [3_PP_0YR]   Pay Option Arm 2006               100.00%              $14,028                                  $14,028
143 RALI 2006-QO7 [3_PP_1YR]   Pay Option Arm 2006               100.00%              $17,534                                  $17,534
144 RALI 2006-QO7 [3_PP_3YR]   Pay Option Arm 2006               100.00%                $440                                     $440
145 RALI 2006-QO8 [1NO_PP]     Pay Option Arm 2006               100.00%               $8,739                                   $8,739
146 RALI 2006-QO8 [1PP_1YR]    Pay Option Arm 2006               100.00%              $17,415                                  $17,415
147 RALI 2006-QO8 [1PP_3YR]    Pay Option Arm 2006               100.00%              $30,833                                  $30,833
148 RALI 2006-QO8 [2PP_3YR]    Pay Option Arm 2006               100.00%              $30,119                                  $30,119
149 RALI 2006-QO9 [1NO_PP]     Pay Option Arm 2006               100.00%               $5,124                                   $5,124
150 RALI 2006-QO9 [1PP_1YR]    Pay Option Arm 2006               100.00%              $10,223                                  $10,223
151 RALI 2006-QO9 [1PP_23YR]   Pay Option Arm 2006               100.00%                  $14                                      $14
152 RALI 2006-QO9 [1PP_3YR]    Pay Option Arm 2006               100.00%              $18,051                                  $18,051
153 RALI 2006-QO9 [2PP_3YR]    Pay Option Arm 2006               100.00%              $17,779                                  $17,779
154 RALI 2007-QH1 [Total]           ALT-A 2007                   100.00%              $20,856                                  $20,856
155 RALI 2007-QH2 [Total]           ALT-A 2007                   100.00%              $14,115                                  $14,115
156 RALI 2007-QH3 [Total]           ALT-A 2007                   100.00%              $13,235                                  $13,235
157 RALI 2007-QH4 [Total]           ALT-A 2007                   100.00%              $10,545                                  $10,545
158 RALI 2007-QH5 [1]               ALT-A 2007                   100.00%              $11,485                                  $11,485
159 RALI 2007-QH5 [2]               ALT-A 2007                   100.00%               $5,050                                   $5,050
160 RALI 2007-QH6 [Total]           ALT-A 2007                   100.00%              $15,940                                  $15,940
161 RALI 2007-QH7 [1]               ALT-A 2007                   100.00%               $4,537                                   $4,537
162 RALI 2007-QH7 [2]               ALT-A 2007                   100.00%               $2,833                                   $2,833
163 RALI 2007-QH8 [Total]           ALT-A 2007                   100.00%              $14,767                                  $14,767
164 RALI 2007-QH9 [Total]           ALT-A 2007                   100.00%              $12,958                                  $12,958
165 RALI 2007-QO1 [Total]      Pay Option Arm 2007               100.00%              $36,246                                  $36,246
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 1             Name                 Cohort             RFC Servicer %         RFC Claim                   Insurer             RFC Recognized Claim
166 RALI 2007-QO2 [Total]      Pay Option Arm 2007               100.00%              $29,382                                               $29,382
167 RALI 2007-QO3 [Total]      Pay Option Arm 2007               100.00%              $10,708                                               $10,708
168 RALI 2007-QO4 [1YPP]       Pay Option Arm 2007               100.00%               $4,309                                                $4,309
169 RALI 2007-QO4 [3YPP]       Pay Option Arm 2007               100.00%              $14,682                                               $14,682
170 RALI 2007-QO4 [NOPP]       Pay Option Arm 2007               100.00%               $2,810                                                $2,810
171 RALI 2007-QO5 [Total]      Pay Option Arm 2007               100.00%               $8,360                                                $8,360
172 RAMP 2001-RS1 [1]             Subprime 2001                  100.00%              $51,054             AMBAC                             $51,054
173 RAMP 2001-RS1 [2]             Subprime 2001                  100.00%              $24,366             AMBAC                             $24,366
174 RAMP 2001-RS3 [1]             Subprime 2001                  100.00%              $70,395             AMBAC                             $70,395
175 RAMP 2001-RS3 [2]             Subprime 2001                  100.00%              $27,695             AMBAC                             $27,695
176 RAMP 2002-RS1 [1]             Subprime 2002                  100.00%              $66,834     AMBAC - Insurer Exception                 $66,834
177 RAMP 2002-RS1 [2]             Subprime 2002                  100.00%              $14,130                                               $14,130
178 RAMP 2002-RS4 [1]             Subprime 2002                  100.00%              $56,645             AMBAC                             $56,645
179 RAMP 2002-RS4 [2]             Subprime 2002                  100.00%              $27,910             AMBAC                             $27,910
180 RAMP 2002-RS5 [1]             Subprime 2002                  100.00%              $58,952             Ambac                             $58,952
181 RAMP 2002-RS5 [2]             Subprime 2002                  100.00%              $22,943             Ambac                             $22,943
182 RAMP 2002-RS6 [1]             Subprime 2002                  100.00%              $85,854             Ambac                             $85,854
183 RAMP 2002-RS6 [2]             Subprime 2002                  100.00%              $35,764             Ambac                             $35,764
184 RAMP 2002-RS7 [Total]         Subprime 2003                  100.00%              $43,776             Ambac                             $43,776
185 RAMP 2002-RZ4 [Total]         Subprime 2002                  100.00%              $66,238             Ambac                             $66,238
186 RAMP 2003-RS1 [1]             Subprime 2003                  100.00%              $61,843                                               $61,843
187 RAMP 2003-RS1 [2]             Subprime 2003                  100.00%              $82,457              Ambac                            $82,457
188 RAMP 2003-RS11 [1]            Subprime 2003                  100.00%             $175,913     AMBAC - Insurer Exception                $175,913
189 RAMP 2003-RS11 [2A]           Subprime 2003                  100.00%             $146,616                                              $146,616
190 RAMP 2003-RS11 [2B]           Subprime 2003                  100.00%              $58,436                                               $58,436
191 RAMP 2003-RS2 [1]             Subprime 2003                  100.00%             $137,950              AMBAC                           $137,950
192 RAMP 2003-RS2 [2]             Subprime 2003                  100.00%             $137,950              AMBAC                           $137,950
193 RAMP 2003-RS3 [1]             Subprime 2003                  100.00%              $79,732              AMBAC                            $79,732
194 RAMP 2003-RS3 [2]             Subprime 2003                  100.00%             $146,176              AMBAC                           $146,176
195 RAMP 2003-RS4 [1]             Subprime 2003                  100.00%             $117,291              AMBAC                           $117,291
196 RAMP 2003-RS4 [2A]            Subprime 2003                  100.00%              $93,833              AMBAC                            $93,833
197 RAMP 2003-RS4 [2B]            Subprime 2003                  100.00%              $50,435              AMBAC                            $50,435
198 RAMP 2003-RS5 [1]             Subprime 2003                  100.00%             $140,357              Ambac                           $140,357
199 RAMP 2003-RS5 [2A]            Subprime 2003                  100.00%              $67,326              Ambac                            $67,326
200 RAMP 2003-RS5 [2B]            Subprime 2003                  100.00%              $43,362              Ambac                            $43,362
201 RAMP 2003-RS6 [1]             Subprime 2003                  100.00%             $123,476              Ambac                           $123,476
202 RAMP 2003-RS6 [2A]            Subprime 2003                  100.00%              $67,351              Ambac                            $67,351
203 RAMP 2003-RS6 [2B]            Subprime 2003                  100.00%              $33,675              Ambac                            $33,675
204 RAMP 2003-RS8 [1]             Subprime 2003                  100.00%             $146,139     Ambac - Insurer Exception                $146,139
205 RAMP 2003-RS8 [2A]            Subprime 2003                  100.00%              $82,916                                               $82,916
206 RAMP 2003-RS8 [2B]            Subprime 2003                  100.00%              $55,430                                               $55,430
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                 A                      B                      C                   D                           E                         F

 1             Name                   Cohort             RFC Servicer %         RFC Claim                   Insurer             RFC Recognized Claim
207 RAMP 2003-RS9 [1]              Subprime 2003                   100.00%             $120,135     AMBAC - Insurer Exception                $120,135
208 RAMP 2003-RS9 [2A]             Subprime 2003                   100.00%              $91,531                                               $91,531
209 RAMP 2003-RS9 [2B]             Subprime 2003                   100.00%              $74,369                                               $74,369
210 RAMP 2003-RZ1 [1]              Subprime 2003                   100.00%              $59,951              AMBAC                            $59,951
211 RAMP 2003-RZ1 [2]              Subprime 2003                   100.00%              $37,469              AMBAC                            $37,469
212 RAMP 2003-RZ2 [Total]          Subprime 2003                   100.00%              $42,533              AMBAC                            $42,533
213 RAMP 2003-RZ3 [Total]          Subprime 2003                   100.00%              $70,082     Ambac - Insurer Exception                 $70,082
214 RAMP 2003-RZ4 [Total]          Subprime 2003                   100.00%             $129,302     AMBAC - Insurer Exception                $129,302
215 RAMP 2003-RZ5 [1]              Subprime 2003                   100.00%              $98,320     AMBAC - Insurer Exception                 $98,320
216 RAMP 2003-RZ5 [2]              Subprime 2003                   100.00%              $16,387                                               $16,387
217 RAMP 2004-RS1 [1]              Subprime 2004                   100.00%             $131,073     AMBAC - Insurer Exception                $131,073
218 RAMP 2004-RS1 [2A]             Subprime 2004                   100.00%             $141,460                                              $141,460
219 RAMP 2004-RS1 [2B]             Subprime 2004                   100.00%              $94,471                                               $94,471
220 RAMP 2004-RS5 [1]              Subprime 2004                   100.00%             $102,935             AMBAC                            $102,935
221 RAMP 2004-RS5 [2A]             Subprime 2004                   100.00%              $83,635                                               $83,635
222 RAMP 2004-RS5 [2B]             Subprime 2004                   100.00%              $83,635                                               $83,635
223 RAMP 2004-RS7 [1]              Subprime 2004                   100.00%              $96,836              FGIC                             $96,836
224 RAMP 2004-RS7 [2A]             Subprime 2004                   100.00%              $84,732              FGIC                             $84,732
225 RAMP 2004-RS7 [2B]             Subprime 2004                   100.00%              $76,259              FGIC                             $76,259
226 RAMP 2004-RS7 [3]              Subprime 2004                   100.00%              $30,261              FGIC                             $30,261
227 RAMP 2004-RS9 [1]              Subprime 2004                   100.00%              $76,745             AMBAC                             $76,745
228 RAMP 2004-RS9 [2]              Subprime 2004                   100.00%             $188,374                                              $188,374
229 RAMP 2004-RZ2 [1]              Subprime 2004                   100.00%              $48,173              FGIC                             $48,173
230 RAMP 2004-RZ2 [2]              Subprime 2004                   100.00%              $28,101              FGIC                             $28,101
231 RAMP 2005-EFC7 [1A]            Subprime 2005                   100.00%             $169,698              FGIC                            $169,698
232 RAMP 2005-EFC7 [1F]            Subprime 2005                   100.00%              $42,539              FGIC                             $42,539
233 RAMP 2005-EFC7 [2A]            Subprime 2005                   100.00%              $77,711              FGIC                             $77,711
234 RAMP 2005-EFC7 [2F]            Subprime 2005                   100.00%               $7,123              FGIC                              $7,123
235 RAMP 2005-NC1 [1A]             Subprime 2005                   100.00%             $218,843              FGIC                            $218,843
236 RAMP 2005-NC1 [1F]             Subprime 2005                   100.00%              $49,756              FGIC                             $49,756
237 RAMP 2005-NC1 [2A]             Subprime 2005                   100.00%             $175,407              FGIC                            $175,407
238 RAMP 2005-NC1 [2F]             Subprime 2005                   100.00%              $58,161              FGIC                             $58,161
239 RAMP 2005-RS9 [1A_L]           Subprime 2005                   100.00%              $55,653              FGIC                             $55,653
240 RAMP 2005-RS9 [1A_S]           Subprime 2005                   100.00%             $202,078              FGIC                            $202,078
241 RAMP 2005-RS9 [1F]             Subprime 2005                   100.00%              $80,546              FGIC                             $80,546
242 RAMP 2005-RS9 [2A_L]           Subprime 2005                   100.00%              $19,125              FGIC                             $19,125
243 RAMP 2005-RS9 [2A_S]           Subprime 2005                   100.00%             $183,544              FGIC                            $183,544
244 RAMP 2005-RS9 [2F]             Subprime 2005                   100.00%              $42,071              FGIC                             $42,071
245 RASC 1999-RS1 [1]              Subprime 1999                   100.00%               $6,659             AMBAC                              $6,659
246 RASC 1999-RS1 [2]              Subprime 1999                   100.00%               $4,378             AMBAC                              $4,378
247 RASC 2001-KS1 [1]              Subprime 2001                   100.00%             $181,210              FGIC                            $181,210
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                  A                        B                     C                   D                   E                    F

 1             Name                     Cohort             RFC Servicer %         RFC Claim           Insurer        RFC Recognized Claim
248 RASC 2001-KS1 [2]                Subprime 2001                   100.00%             $193,708      FGIC                       $193,708
249 RASC 2002-KS1 [1]                Subprime 2002                   100.00%             $261,115     Ambac                       $261,115
250 RASC 2002-KS1 [2A]               Subprime 2002                   100.00%             $105,690     Ambac                       $105,690
251 RASC 2002-KS1 [2B]               Subprime 2002                   100.00%             $105,690     Ambac                       $105,690
252 RASC 2002-KS4 [1]                Subprime 2002                   100.00%             $117,159     AMBAC                       $117,159
253 RASC 2002-KS4 [2A]               Subprime 2002                   100.00%             $154,437     AMBAC                       $154,437
254 RASC 2002-KS4 [2B]               Subprime 2002                   100.00%             $154,437     AMBAC                       $154,437
255 RASC 2002-KS6 [1]                Subprime 2002                   100.00%             $112,045     AMBAC                       $112,045
256 RASC 2002-KS6 [2]                Subprime 2002                   100.00%             $156,864     AMBAC                       $156,864
257 RASC 2002-KS8 [Total]            Subprime 2002                   100.00%             $168,071     Ambac                       $168,071
258 RASC 2003-KS4 [1]                Subprime 2003                   100.00%             $131,850                                 $131,850
259 RASC 2003-KS4 [2A]               Subprime 2003                   100.00%              $50,712     Ambac                        $50,712
260 RASC 2003-KS4 [2B]               Subprime 2003                   100.00%              $40,569     Ambac                        $40,569
261 RASC 2003-KS4 [3]                Subprime 2003                   100.00%              $40,569     Ambac                        $40,569
262 RASC 2003-KS5 [1]                Subprime 2003                   100.00%              $44,803     Ambac                        $44,803
263 RASC 2003-KS5 [2A]               Subprime 2003                   100.00%              $62,725     Ambac                        $62,725
264 RASC 2003-KS5 [2B]               Subprime 2003                   100.00%              $49,284     Ambac                        $49,284
265 RASC 2003-KS9 [1]                Subprime 2003                   100.00%              $80,447     AMBAC                        $80,447
266 RASC 2003-KS9 [2A]               Subprime 2003                   100.00%              $80,447     AMBAC                        $80,447
267 RASC 2003-KS9 [2B]               Subprime 2003                   100.00%              $80,447     AMBAC                        $80,447
268 RASC 2004-KS4 [1]                Subprime 2004                   100.00%              $52,020     AMBAC                        $52,020
269 RASC 2004-KS4 [2A]               Subprime 2004                   100.00%              $78,031     AMBAC                        $78,031
270 RASC 2004-KS4 [2B]               Subprime 2004                   100.00%              $78,031     AMBAC                        $78,031
271 RASC 2004-KS7 [1]                Subprime 2004                   100.00%              $41,951      FGIC                        $41,951
272 RASC 2004-KS7 [2A]               Subprime 2004                   100.00%              $80,905      FGIC                        $80,905
273 RASC 2004-KS7 [2B]               Subprime 2004                   100.00%              $80,905      FGIC                        $80,905
274 RASC 2004-KS9 [1]                Subprime 2004                   100.00%              $37,762      FGIC                        $37,762
275 RASC 2004-KS9 [2]                Subprime 2004                   100.00%             $113,284      FGIC                       $113,284
276 RASC 2005-EMX5 [A]               Subprime 2005                   100.00%             $182,713      FGIC                       $182,713
277 RASC 2005-EMX5 [F]               Subprime 2005                   100.00%              $41,064      FGIC                        $41,064
278 RASC 2007-EMX1 [1A]              Subprime 2007                   100.00%             $213,035      FGIC                       $213,035
279 RASC 2007-EMX1 [1F]              Subprime 2007                   100.00%              $76,479      FGIC                        $76,479
280 RASC 2007-EMX1 [2A]              Subprime 2007                   100.00%             $201,675      FGIC                       $201,675
281 RASC 2007-EMX1 [2F]              Subprime 2007                   100.00%              $56,812      FGIC                        $56,812
282 RFMS2 1999-HI1 [Total]          Second Lien 1999                 100.00%              $32,228     AMBAC                        $32,228
283 RFMS2 1999-HI4 [Total]          Second Lien 1999                 100.00%              $28,865     AMBAC                        $28,865
284 RFMS2 1999-HI6 [I]              Second Lien 1999                 100.00%              $36,926     AMBAC                        $36,926
285 RFMS2 1999-HI6 [II]             Second Lien 1999                 100.00%               $2,104     AMBAC                         $2,104
286 RFMS2 1999-HI8 [I]              Second Lien 1999                 100.00%              $25,083     AMBAC                        $25,083
287 RFMS2 1999-HI8 [II]             Second Lien 1999                 100.00%               $1,311     AMBAC                         $1,311
288 RFMS2 2000-HI1 [I]              Second Lien 2000                 100.00%             $104,627     AMBAC                       $104,627
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                 A                        B                     C                   D                   E                    F

 1             Name                    Cohort             RFC Servicer %         RFC Claim           Insurer        RFC Recognized Claim
289 RFMS2 2000-HI1 [II]            Second Lien 2000                 100.00%               $4,295     AMBAC                         $4,295
290 RFMS2 2000-HI2 [I]             Second Lien 2000                 100.00%              $57,536     AMBAC                        $57,536
291 RFMS2 2000-HI2 [II]            Second Lien 2000                 100.00%               $2,554     AMBAC                         $2,554
292 RFMS2 2000-HI3 [I]             Second Lien 2000                 100.00%              $72,664     AMBAC                        $72,664
293 RFMS2 2000-HI3 [II]            Second Lien 2000                 100.00%               $3,238     AMBAC                         $3,238
294 RFMS2 2000-HI4 [1]             Second Lien 2000                 100.00%              $72,512     AMBAC                        $72,512
295 RFMS2 2000-HI4 [2]             Second Lien 2000                 100.00%               $3,642     AMBAC                         $3,642
296 RFMS2 2000-HI5 [1]             Second Lien 2000                 100.00%             $146,553     AMBAC                       $146,553
297 RFMS2 2000-HI5 [2]             Second Lien 2000                 100.00%               $6,661     AMBAC                         $6,661
298 RFMS2 2000-HL1 [1]             Second Lien 2000                 100.00%               $9,977     AMBAC                         $9,977
299 RFMS2 2000-HL1 [2]             Second Lien 2000                 100.00%               $1,281     AMBAC                         $1,281
300 RFMS2 2001-HI1 [Total]         Second Lien 2001                 100.00%              $34,464     AMBAC                        $34,464
301 RFMS2 2001-HI2 [1]             Second Lien 2001                 100.00%              $25,340     AMBAC                        $25,340
302 RFMS2 2001-HI2 [2]             Second Lien 2001                 100.00%               $1,310     AMBAC                         $1,310
303 RFMS2 2001-HI3 [1]             Second Lien 2001                 100.00%              $54,530     AMBAC                        $54,530
304 RFMS2 2001-HI3 [2]             Second Lien 2001                 100.00%               $1,337     AMBAC                         $1,337
305 RFMS2 2001-HI4 [Total]         Second Lien 2001                 100.00%              $54,258     AMBAC                        $54,258
306 RFMS2 2001-HS2 [Total]         Second Lien 2001                 100.00%               $5,585     AMBAC                         $5,585
307 RFMS2 2001-HS3 [1]                 CES 2001                     100.00%               $2,260                                   $2,260
308 RFMS2 2001-HS3 [2]                 CES 2001                     100.00%                $778      AMBAC                          $778
309 RFMS2 2002-HI1 [Total]         Second Lien 2002                 100.00%              $46,247     AMBAC                        $46,247
310 RFMS2 2002-HI2 [1]             Second Lien 2002                 100.00%              $22,664     AMBAC                        $22,664
311 RFMS2 2002-HI2 [2]             Second Lien 2002                 100.00%              $10,073     AMBAC                        $10,073
312 RFMS2 2002-HI3 [Total]         Second Lien 2002                 100.00%              $36,431     AMBAC                        $36,431
313 RFMS2 2002-HS3 [1]                 CES 2002                     100.00%               $1,824      FGIC                         $1,824
314 RFMS2 2002-HS3 [2]                 CES 2002                     100.00%               $1,662      FGIC                         $1,662
315 RFMS2 2003-HI3 [1]             Second Lien 2003                 100.00%              $13,360     AMBAC                        $13,360
316 RFMS2 2003-HI3 [2]             Second Lien 2003                 100.00%              $13,360     AMBAC                        $13,360
317 RFMS2 2003-HS1 [1]                 CES 2003                     100.00%               $5,905      FGIC                         $5,905
318 RFMS2 2003-HS1 [2]                 CES 2003                     100.00%               $2,805      FGIC                         $2,805
319 RFMS2 2003-HS2 [1]                 CES 2003                     100.00%               $6,870                                   $6,870
320 RFMS2 2003-HS2 [2A]                CES 2003                     100.00%               $1,740      FGIC                         $1,740
321 RFMS2 2003-HS2 [2B]                CES 2003                     100.00%               $2,840      FGIC                         $2,840
322 RFMS2 2003-HS4 [1]             Second Lien 2003                 100.00%               $3,480     AMBAC                         $3,480
323 RFMS2 2003-HS4 [2]             Second Lien 2003                 100.00%               $3,480     AMBAC                         $3,480
324 RFMS2 2004-HI2 [Total]         Second Lien 2004                 100.00%              $27,528      FGIC                        $27,528
325 RFMS2 2004-HI3 [Total]         Second Lien 2004                 100.00%              $16,950      FGIC                        $16,950
326 RFMS2 2004-HS1 [1]                 CES 2004                     100.00%               $7,928      FGIC                         $7,928
327 RFMS2 2004-HS1 [2]                 CES 2004                     100.00%               $4,419      FGIC                         $4,419
328 RFMS2 2004-HS3 [Total]             CES 2004                     100.00%               $5,741      FGIC                         $5,741
329 RFMS2 2005-HI1 [Total]         Second Lien 2005                 100.00%              $12,289      FGIC                        $12,289
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 1             Name                    Cohort             RFC Servicer %         RFC Claim                   Insurer             RFC Recognized Claim
330 RFMS2 2005-HS1 [1]                 CES 2005                     100.00%              $11,344                FGIC                          $11,344
331 RFMS2 2005-HS1 [2]                 CES 2005                     100.00%               $6,188                FGIC                           $6,188
332 RFMS2 2005-HS2 [1]                 CES 2005                     100.00%               $6,901                FGIC                           $6,901
333 RFMS2 2005-HS2 [2]                 CES 2005                     100.00%               $4,437                FGIC                           $4,437
334 RFMS2 2005-HSA1 [1]                CES 2005                     100.00%               $3,440                FGIC                           $3,440
335 RFMS2 2005-HSA1 [2]                CES 2005                     100.00%               $1,946                FGIC                           $1,946
336 RFMS2 2006-HI2 [Total]         Second Lien 2006                 100.00%               $3,240                FGIC                           $3,240
337 RFMS2 2006-HI5 [Total]         Second Lien 2006                 100.00%               $2,862                FGIC                           $2,862
338 RFMS2 2006-HSA2 [1]                CES 2006                     100.00%               $2,918                FGIC                           $2,918
339 RFMS2 2006-HSA2 [2]                CES 2006                     100.00%               $1,459                FGIC                           $1,459
340 RFMS2 2007-HI1 [Total]         Second Lien 2007                 100.00%               $2,840                FGIC                           $2,840
341 RFMS2 2007-HSA1 [Total]        Second Lien 2007                 100.00%               $2,430                MBIA                               $0
342 RFMS2 2007-HSA2 [Total]            CES 2007                     100.00%               $1,975                MBIA                               $0
343 RFMS2 2007-HSA3 [1]            Second Lien 2007                 100.00%               $1,361                MBIA                               $0
344 RFMS2 2007-HSA3 [2]            Second Lien 2007                 100.00%                $547                 MBIA                               $0
345 RFMSI 2005-S2 [Total]             Prime 2005                    100.00%               $8,728      FGIC - Insurer Exception                 $8,728
346 RFMSI 2005-S7 [Total]             Prime 2005                    100.00%              $26,331                FGIC                          $26,331
347 RFSC 2002-RP1 [1]               Subprime 2002                   100.00%              $11,347               AMBAC                          $11,347
348 RFSC 2002-RP1 [2]               Subprime 2002                   100.00%              $11,635               AMBAC                          $11,635
349 RFSC 2002-RP2 [Total]           Subprime 2002                   100.00%              $82,515               AMBAC                          $82,515
350 RFSC 2003-RP1 [1A]              Subprime 2003                   100.00%              $78,140     AMBAC - Insurer Exception                $78,140
351 RFSC 2003-RP1 [1F]              Subprime 2003                   100.00%              $65,891     AMBAC - Insurer Exception                $65,891
352 RFSC 2003-RP2 [1A]              Subprime 2003                   100.00%              $19,461               AMBAC                          $19,461
353 RFSC 2003-RP2 [1F]              Subprime 2003                   100.00%              $27,428               AMBAC                          $27,428
354 RFSC 2003-RP2 [2A]              Subprime 2003                   100.00%              $34,685               AMBAC                          $34,685
355 RFSC 2003-RP2 [2F]              Subprime 2003                   100.00%              $20,091               AMBAC                          $20,091
356 STAC 2007-1 [Total]                  2007                         2.50%                $272               XL Capital                           $0
357 SVHE 2007-1 [1A]                Subprime 2007                     7.61%                $366                                                 $366
358 SVHE 2007-1 [1F]                Subprime 2007                     7.61%                $168                                                 $168
359 SVHE 2007-1 [2A]                Subprime 2007                     7.61%                $307                                                 $307
360 SVHE 2007-1 [2F]                Subprime 2007                     7.61%                $345                                                 $345
361                                                                                $12,886,997                                           $12,798,933
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      Schedule 5 – NERDS and Passive Foreign Investment Company Interests
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Non-Economic Residuals (NERDS)

        Deal Name                    Registered To
        1999-RS1                         RFC
        2001-HE2                   GMAC Mortgage
        2001-HS2                         RFC
        2001-HS3                         RFC
        2001-KS2                         RFC
        2001-KS3                         RFC
        2001-RS1                         RFC
        2001-RS3                         RFC
        2002-HE4                   GMAC Mortgage
        2002-KS2                         RFC
        2002-RP2                         RFC
        2002-RS3                         RFC
        2002-RS7                         RFC
        2002-RZ4                         RFC
        2003-GH1                   GMAC Mortgage
        2003-GH2                   GMAC Mortgage
        2003-HE2                   GMAC Mortgage
        2003-HS3                         RFC
        2003-J2                    GMAC Mortgage
        2003-J3                    GMAC Mortgage
        2003KS10                         RFC
        2003KS11                         RFC
        2003-KS2                         RFC
        2003-KS3                         RFC
        2003-KS4                         RFC
        2003-KS9                         RFC
        2003-RP2                         RFC
        2003RS10                         RFC
        2003RS11                         RFC
        2003-RS7                         RFC
        2003-RS8                         RFC
        2003-RS9                         RFC
        2003-RZ2                         RFC
        2003-RZ5                         RFC
        2003-SL1                         RFC
        2004-GH1                   GMAC Mortgage
        2004-HE2                   GMAC Mortgage
        2004-HE5                   GMAC Mortgage
        2004-HS2                         RFC
        2004-KS1                         RFC
        2004KS12                         RFC
        2004-KS2                         RFC
        2004-KS6                         RFC
        2004-KS8                         RFC
        2004-RS1                         RFC
        2004RS11                         RFC
        2004RS12                         RFC
        2004-RS2                         RFC
        2004-RS6                         RFC
        2004-RS9                         RFC
        2004-RZ2                         RFC
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         2004-S03                             RFC
         2004-SL1                             RFC
         2004-SL2                             RFC
         2004-SL3                             RFC
         2004-SL4                             RFC
         2004-SP1                             RFC
         2005-AA1                     GMAC Mortgage
         2005AHL2                             RFC
         2005EMX1                             RFC
         2005EMX2                             RFC
         2005-HE2                     GMAC Mortgage
         2005KS10                          RFC
         2005KS11                          RFC
         2005-KS7                          RFC
         2005-QA5                       PRAMWAVE
         2005QO3A                       PRAMWAVE
         2005-RS1                          RFC
         2005-RS4                          RFC
         2005-RZ3                          RFC
         2005-RZ4                          RFC
         2005-SA5                       PRAMWAVE
         2005-SL2                          RFC
         2006-AR1                     GMAC Mortgage
         2006EFC1                             RFC
         2006EMX1                             RFC
         2006-HE2                     GMAC Mortgage
         2006-HE3                     GMAC Mortgage
         2006-HE5                     GMAC Mortgage
         2006-KS5                             RFC
         2007-HE1                     GMAC Mortgage
         2007-HE2                     GMAC Mortgage
         2007-HE3                     GMAC Mortgage
         2007-SA1                       PRAMWAVE
         2007-SP3                          RFC
         2007-HEL1                         RFC
         1995-2                            RFC
         1995-3                            RFC
         2003-HE3                       Pramwave
         2003-HE4                       Pramwave
         2005-HS1                          RFC

Passive Foreign Investment Company (PFIC)

         Deal Name                      Deal Name      Registered To
         RAAC 2006 RX1
         PREFERENCE SHRS                    2006-RX1    Pramwave
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                             Schedule 6 – Securities
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Securities

                   Deal Name           Deal Id
               SER 2004 HI2 CERT      2004-HI2
             2003 HI4 CL A COMMON     2003-HI4
             1998 HI2 CL A COMMON     1998-HI2
                RFC06HI1 CERT         2006-HI1
             2003 HI2 CL A COMMON     2003-HI2
             2004 HI1 CL A COMMON     2004-HI1
                RFC06HI3 CERT         2006-HI3
                RFC06HI4 CERT         2006-HI4
                RFC06HSA2 SBII       2006-HSA2
                RFC05HI3 CERT         2005-HI3
                RFC06HI5 CERT         2006-HI5
                RFC05HI1 CERT         2005-HI1
                 RFC05HS2 SBII       2005-HS2 II
               SER 2005 HS1 SBII      2005-HS1
                   2006-HI2 I          06-HI2
                GMEN 2004-VFT         2004-VFT
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                           Schedule 7 – Common Land
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Common Land


       City                State   Parcel #
       Moreno Valley        CA     304350025-6
       Moreno Valley        CA     304240018-0
       Menifee              CA     335070049-9
       Corona               CA     290602021-8
       Orange Park          FL     06-04-25-007869-076-00
